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                    EXHIBIT 1
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK


    STATES OF NEW YORK,
    MASSACHUSETTS,
    WASHINGTON, COLORADO
    CONNECTICUT, DELAWARE,
    DISTRICT OF COLUMBIA,
    HAWAII, ILLINOIS, IOWA, NEW
    MEXICO, NORTH CAROLINA,
    OREGON, PENNSYLVANIA,
    RHODE ISLAND, VERMONT, and
    VIRGINIA,


                          Plaintiffs,


               v.                             CIVIL ACTION NO. 17-cv-5228


    DONALD TRUMP, in his official
    capacity as President of the United
    States; U.S. DEPARTMENT OF                DECLARATION OF SHOBA
                                              SIVAPRASAD WADHIA
    HOMELAND SECURITY; ELAINE
    C. DUKE, in her official capacity; U.S.
    CITIZENSHIP AND IMMIGRATION
    SERVICES; U.S. IMMIGRATION
    AND CUSTOMS ENFORCEMENT;
    and the UNITED STATES OF
    AMERICA,


                          Defendants.
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  I, Shoba Sivaprasad Wadhia, declare as follows:

         1.      I am presently the Samuel Weiss Faculty Scholar, Clinical Professor of Law and

  founding director of the Center for Immigrants’ Rights Clinic at Penn State Law in University

  Park. I have been employed by the Pennsylvania State University (“University”) since 2008.

  This declaration was prepared in my individual capacity and does not reflect the views of the

  University.

         2.      In 1999, I received my Juris Doctorate degree from the Georgetown University

  Law Center. Since that time, I have worked in the immigration field for nearly 20 years in the

  following settings: private practice, non-profit organizations, and institutions of higher

  education.

         3.      As a practitioner, I have practiced immigration law on behalf of individuals

  seeking a benefit before the immigration agency as well as those challenging removal or seeking

  relief from removal before an immigration judge or the appellate agency. In the non-profit sector,

  I have drafted, reviewed, and analyzed legislative proposals on immigration and convened or

  participated in meetings with government officials, organizational leaders, and the public on

  immigration topics.

         4.      As an academic researcher, my work focuses on the role of prosecutorial

  discretion in immigration law and the intersections of race, national security and immigration. In

  the area of prosecutorial discretion in immigration law, my scholarship has served as a

  foundation for scholars, advocates, and government officials seeking to understand or design a

  strong prosecutorial discretion policy. My book, Beyond Deportation: The Role of Prosecutorial

  Discretion in Immigration Cases, was published by New York University Press and is the first

  book on the topic.



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         5.      I have published more than 30 articles, book chapters, and essays on immigration

  law, including a number discussing the use of prosecutorial discretion in immigration cases. My

  work has been published in seventeen law journals, including but not limited to Emory Law

  Journal; Texas Law Review; Columbia Journal of Race and Law; Notice & Comment, Yale

  Journal on Regulation; Harvard Latino Law Review; Connecticut Public Interest Law

  Journal; Georgetown Immigration Law Journal; and Howard Law Journal. Some of my

  scholarly works have been cited by federal judges in their opinions and decisions.

         6.      I have delivered several academic lectures and papers over the past 15 years on a

  variety of topics, including the history of prosecutorial discretion in immigration cases.

         7.      As an educator, I teach law students in the doctrinal survey course in immigration

  law and a specialized course in asylum and refugee law. I also supervise students in an in-house

  law school clinic known as the Center for Immigrants’ Rights, which I founded.

         8.      Since the Fall 2008 semester, I have supervised more than 75 students on the

  following types of cases and projects: policy products on behalf of institutional clients, outreach

  and education with the community and local municipality, and legal support in individual cases.

         9.      I currently sit on the Board of Trustees of the American Immigration Council and

  previously served as a Commissioner on the American Bar Association’s Commission on

  Immigration.

         10.     I have received multiple awards and honors, including: Pro Bono Attorney of the

  Year by the American-Arab Anti-Discrimination Committee in 2003, leadership awards by the

  Department of Homeland Security’s Office of Civil Rights and Civil Liberties and Office of the

  Inspector General in 2008, recognition as the 2017 Honoree by the National Immigration Project




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  and the award for Excellence in Legal Advocacy by the American-Arab Anti-Discrimination

  Committee in 2017.

         11.     I spent nearly a decade researching the history of prosecutorial discretion in

  immigration cases, especially its historical use, legal foundation, and litigation challenging the

  use of such authority, before and while writing my book. The opinions expressed in this

  declaration are based largely on the research for my book as well as related articles which have

  been published in law journals.

         12.     More information about my experience and qualifications as an expert, a complete

  list of my publications, and other relevant information is contained in my curriculum vitae,

  which is attached as Exhibit A to this declaration.


                                    Summary of Expert Opinions

         13.     I have been asked for my expert opinion concerning the history and use of

  prosecutorial discretion, including specifically deferred action, by federal immigration

  authorities in the United States. I have also been asked for my expert opinion as to how the

  formation and termination of the Deferred Action for Childhood Arrivals (DACA) compares to

  prior uses of deferred action. A summary of my conclusions are as follows:

                 •       Prosecutorial discretion is a tool that has been part of the immigration

                         system for as long as the system has operated.

                 •       Deferred action is one form of prosecutorial discretion in immigration law

                         and enjoys a long history.

                 •       The Department of Homeland Security (“DHS”) and its predecessor,

                         Immigration and Naturalization Services (“INS”), have applied deferred

                         action and other forms of prosecutorial discretion to groups (while still

                                                   4
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                         requiring a case-by-case determination of each individual) based on

                         factors that are largely consistent with the eligibility criteria utilized for

                         DACA.

                 •       The method by which DACA has been terminated is inconsistent with

                         how deferred action has been used and applied historically.


                           Prosecutorial Discretion in Immigration Law

         14.     Prosecutorial discretion refers to the choice by the DHS and its predecessor

  agencies, including INS, of whether and how to enforce the full scope of immigration law

  against a person or group persons if at all.

         15.     When an individual enters the country without inspection, overstays a visa, or

  engages in conduct that makes her removable, she is subject to removal by DHS. This requires

  enforcement action (i.e., prosecution) by DHS to effectuate.

         16.     To illustrate, when DHS chooses not to file legally valid immigration charges

  against a person who is present in the United States without authorization discretion is being

  exercised favorably. In other words, the question of whether to use discretion is raised only

  where there is legally sufficient basis to bring immigration enforcement actions in the first place.

         17.     There are more than one dozen forms of prosecutorial discretion in federal

  immigration law. These forms have been outlined in several guidance documents issued by DHS

  and INS, including a memorandum published in 1976 by then-INS General Counsel Sam

  Bernsen (the “Bernsen Memo”), 1 a 2000 memorandum published by then-INS Commissioner



  1
   Memorandum from Sam Bernsen, General Counsel, Immigration and Naturalization Service, Legal
  Opinion Regarding Service Exercise of Prosecutorial Discretion (July 15, 1976),
  https://www.ice.gov/doclib/foia/prosecutorial-discretion/service-exercise-pd.pdf.


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  Doris Meissner (the “Meissner Memo”), 2 a 2011 memorandum by then-Immigrations and

  Customs Enforcement (“ICE”) Commissioner John Morton (the “Morton Memo”), 3 and more

  recently by then-DHS Secretary Jeh Johnson (the “Johnson Memo”). 4

            18.     The memoranda list at least 15 types of prosecutorial discretion. The most

  commonly utilized forms are:

                    •       Deciding whether to issue, serve, file, or cancel a Notice to Appear;

                    •       Deciding whom to stop, question, and arrest;

                    •       Deciding whom to detain or release;

                    •       Deciding whether to settle, dismiss, appeal, or join in a motion on a case;
                            and

                    •       Deciding whether to grant deferred action, parole, or a stay of removal.

            19.     Other forms of prosecutorial discretion include the use of “extended voluntary

  departure” 5 and “deferred enforcement departure.” 6 Formerly called extended voluntary

  departure, deferred enforcement departure can be utilized by the President to temporarily

  safeguard classes of individuals from removal. 7


  2
   Memorandum from Doris Meissner, Commissioner of Immigration and Naturalization Service, on
  Exercising Prosecutorial Discretion, (Nov. 17, 2000), http://library.niwap.org/wp-
  content/uploads/2015/IMM-Memo-ProsDiscretion.pdf.
  3
    Memorandum from John Morton, Director, U.S. Immigration and Customs Enforcement, on Exercising
  Prosecutorial Discretion Consistent with the Civil Immigration Enforcement Priorities of the Agency for
  the Apprehension, Detention, and Removal of Aliens, (June 17, 2011), http://www.ice.gov/doclib/secure-
  communities/pdf/prosecutorial-discretion-memo.pdf.
  4
   Memorandum from Jeh Charles Johnson, Secretary of U.S. Department of Homeland Security, on
  Policies for the Apprehension, Detention and Removal of Undocumented Immigrants, (Nov. 20, 2014),
  https://www.dhs.gov/sites/default/files/publications/14_1120_memo_prosecutorial_discretion.pdf.
  5
      Ira Kurzban, Kurzban’s Immigration Law Sourcebook 493 (11th ed. 2009).
  6
    Shoba S. Wadhia, The Role of Prosecutorial Discretion in Immigration Law, 9 Connecticut Pub. Int. L.
  J. 243, n.124 (2009), citing U.S. Citizenship and Immigration Services, Affirmative Asylum Procedures
  Manual 57 (Nov. 2007).
  7
      U.S. Citizenship and Immigration Services, Adjudicator’s Field Manual 38.2(a) (2007),


                                                       6
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            20.     Prosecutorial discretion may be exercised at any stage of the immigration

  enforcement process including right before an arrest, prior to the filing of charges, and even after

  a removal order has been entered. As ICE’s Principal Legal Advisor, William J. Howard,

  explained in a 2005 memo, there is a “universe of opportunities” to exercise prosecutorial

  discretion in federal immigration enforcement. 8

            21.     While there are multiple forms of prosecutorial discretion and stages at which it

  may be enforced, the outcome in any case is the same: a temporary reprieve from removal

  proceedings and/or deportation.

            22.     The concept behind prosecutorial discretion is entrenched in the prioritization of

  limited government resources and compassion for individuals without a lawful immigration

  status who present strong qualities or equities in their cases. When DHS makes the choice to not

  take enforcement actions against a mother caring for an ill child, for a student affected by a

  natural disaster back home, or for a Dreamer working and/or finishing school, prosecutorial

  discretion is being exercised favorably with respect to that individual.


                              Legal Basis for Use of Prosecutorial Discretion

            23.     Prosecutorial discretion in immigration law has been recognized repeatedly by

  federal courts and former agency heads. 9 The basis for this discretion is inherent to agency

  enforcement action as well as statutory authority.




  https://www.uscis.gov/ilink/docView/AFM/HTML/AFM/0-0-0-1/0-0-0-16606/0-0-0-16764.html.
  8
   Memorandum from William J. Howard, Principal Legal Advisor, U.S. Immigration and Customs
  Enforcement, on Prosecutorial Discretion (Oct. 24, 2005),
  http://www.asistahelp.org/documents/resources/DHS_NTA_discretion_7076BC4F57842.pdf; see also
  Shoba S. Wadhia, Beyond Deportation: The Role of Prosecutorial Discretion in Immigration Cases 27
  (2015).
  9
      See, e.g., Bernsen Memo, supra note 1, at 1-2.

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         24.     Discretion in agency action dates back to the New Deal, with the birth of the

  modern administrative state.

         25.     The Bernsen Memo published in 1976 is one of the first legal opinions issued on

  the use of prosecutorial discretion in immigration. The Bernsen Memo traces prosecutorial

  discretion back to common law and cites to the 1868 Confiscation Cases to describe the general

  authority of the Executive Branch to terminate a case. This same memo cites to a 1934 memo by

  the Attorney General to highlight the various sources for prosecutorial discretion and its

  extension to both civil and criminal contexts.

         26.     The Bernsen Memo also identifies the Take Care Clause, Article II, Section 3 to

  the U.S. Constitution, as a source of authority for prosecutorial discretion in immigration

  matters.

         27.     The Meissner Memo builds upon the Bernsen Memo and provides a broad

  overview regarding the use of prosecutorial discretion, including connections to criminal law.

  Standards guiding prosecutorial discretion in the criminal context historically have informed the

  use of such discretion in immigration.

         28.     A review of the immigration statute, the Immigration and Nationality Act, also

  makes clear that Congress authorizes DHS to utilize its discretion. Section 103 delegates the

  administration and enforcement of immigration law to DHS, 8 U.S.C. § 1103(a)(1), and section

  242 prohibits judicial review of three specific acts of prosecutorial discretion (commencement of

  proceedings, adjudication of cases, and execution of removal orders), id. § 1252(g).

         29.     The Homeland Security Act delegates the establishment of national immigration

  enforcement policies and priorities to the DHS Secretary. 6 U.S.C. § 202(5).




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          30.     The Supreme Court also explicitly recognized the use of discretion in immigration

  law. In Arizona v. United States 567 U.S. 387 (2012), the Court concluded that several anti-

  immigration provisions in an Arizona statute overreached into federal domain over immigration

  matters and explained that “a principal feature of the removal system is the broad discretion

  exercised by immigration officials” in relation to how “federal officials, as an initial matter, must

  decide whether it makes sense to pursue removal at all.” Id. at 396.


                               History of Use of Prosecutorial Discretion

          31.     Formal uses of prosecutorial discretion immigration law can be traced back to as

  early as September 20, 1909. On that date, the Department of Justice issued a letter concerning

  the initiation of proceedings to cancel naturalization. 10

          32.     In individual matters, prosecutorial discretion is exercised routinely, including

  whether to arrest, interrogate, file charging documents, or appeal a case. It is exercised at every

  stage, including after an order of removal has been obtained. Over time, INS and, then, DHS

  have taken greater care to ensure more uniformity in how prosecutorial discretion is exercised.

          33.     The Meissner Memo provides a broad overview regarding the use of prosecutorial

  discretion, including a list of 13 factors to consider when evaluating the “totality of the

  circumstances” of a particular case. These factors include, but are not limited to: (i) immigration

  status; (ii) length of residence in the United States, (iii) criminal history, (iv) humanitarian

  concerns, and (v) immigration history, (vi) likelihood of ultimately removing the alien, (vii)

  likelihood of achieving enforcement goal by other means, (viii) whether the alien is eligible or is


  10
    Bernsen Memo, supra note 1, at 4 (quoting Department of Justice Circular Letter Number 107 (Sep. 20,
  1909). (“In the opinion of the department, as a general rule, good cause is not shown for the institution of
  proceedings to cancel certificates of naturalization alleged to have been fraudulently or illegally procured
  unless some substantial results are to be achieved thereby in the way of betterment of the citizenship of
  the country.”).

                                                       9
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  likely to become eligible for other relief, (ix) effect of action on future admissibility, (x) current

  or past cooperation with law enforcement authorities, (xi) honorable U.S. military service, (xii)

  community attention, and (xiii) resources available to the INS.

            34.     In addition to these factors for consideration, the Meissner Memo calls for even-

  handed application of discretion: “Service officers are not only authorized by law but expected to

  exercise discretion in a judicious manner at all stages of the enforcement process.”

            35.     The Meissner Memo has been repeatedly reaffirmed in subsequent years, through

  both a 2003 memo from INS Associate Commissioner Johnny N. Williams, 11 shortly after DHS

  was formed, a 2007 memo from ICE Assistant Secretary Julie Myers, 12 and the 2011 Morton

  Memo, which details at least 16 factors for consideration and listing particular care for veterans,

  minors, and elderly individuals, among others. 13

            36.     Beyond the application of prosecutorial discretion in individual cases, there are

  many examples of the use of prosecutorial discretion on behalf of groups of people.

            37.     1956 (Eisenhower): Thousands of Hungarian “Freedom Fighters” were permitted

  to enter the United States by way of “parole.” Faced with the inaction of Congress to solidify an

  immigration statute for refugees, the administration moved to exercise prosecutorial discretion to

  admit refugees from Hungary. 14


  11
    Memorandum from Johnny N. Williams, Executive Associate Commissioner of the Office of Field
  Operations, U.S. Immigration and Naturalization Service, on Family Unity Benefits and Unlawful
  Presence (Jan. 27, 2003).
  12
    Memorandum from Julie L. Myers, Assistant Secretary, U.S. Immigration and Customs Enforcement,
  on Prosecutorial and Custody Discretion (Nov. 7, 2007), https://www.ice.gov/doclib/foia/prosecutorial-
  discretion/custody-pd.pdf.
  13
       Morton Memo at 5, supra note 3.
  14
    Shoba S. Wadhia, Beyond Deportation: The Role of Prosecutorial Discretion in Immigration Cases 29-
  30, (2015). (“Similar parole programs were applied in subsequent administrations to protect classes of
  individuals.”). Kate M. Manuel & Michael J. Garcia, Executive Discretion as to Immigration: Legal


                                                     10
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             38.     1956 (Eisenhower): An extended voluntary departure program was implemented

  for certain beneficiaries of an approved third-preference petition for skilled or other workers. 15

             39.     1981 (Reagan): Extended voluntary departure was issued to thousands of Polish

  nationals as refugees residing in the United States when Poland declared martial law. 16

             40.     1987 (Reagan): After Congress passed the Immigration Reform and Control Act

  of 1986 (IRCA), the “Family Fairness” executive action was announced to defer deportations for

  children of a parent eligible for permanent residency. 17

             41.     1990 (George H.W. Bush): The “Family Fairness” policy was expanded to defer

  deportations to spouses and children of immigrants who qualified for permanent residency under

  IRCA. 18




  Overview, U.S. Congressional Research Service (Nov. 10, 2014),
  https://fas.org/sgp/crs/homesec/R43782.pdf.
  15
       Immigration and Naturalization Service, Operations Instructions, O.I. § 242.10(a)(6)(i) (1956).
  16
    Stephen H. Legomsky & Cristina M. Rodriguez, Immigration and Refugee Law and Policy 1115-17
  (5th ed. 2009); David Reimers, Still the Golden Door: The Third World Comes to America 202 (1986).
  17
    64 Interpreter Releases 1191 (Oct. 26, 1987); see also American Immigration Council, Reagan-Bush
  Family Fairness: A Chronological History 1-2, (Dec. 2014),
  https://www.americanimmigrationcouncil.org/sites/default/files/research/reagan_bush_family_fairness_fi
  nal_0.pdf.
  18
    Marvine Howe, New Policy Aids Families of Aliens, N.Y. Times (Mar. 5, 1990),
  http://www.nytimes.com/1990/03/05/nyregion/new-policy-aids-families-of-aliens.html; 67 Interpreter
  Releases 204 (Feb. 26, 1990); 67 Interpreter Releases 153 (Feb. 5, 1990). (“President Bush’s policy
  followed a narrower 1987 executive order by President Reagan’s immigration commissioner that applied
  only to children.”). Immigration and Nationality Act of 1990, Pub. L. 101-649, Sec. 301, 104 Stat. 4978,
  http://www.justice.gov/eoir/IMMACT1990.pdf.


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            42.     2007 (George W. Bush): Deferred enforcement departure was announced for

  certain Liberians in light of armed conflict in in Liberia. 19 The policy has since been extended

  for 18 months at a time, most recently by President Obama in September 2016. 20

            43.     2011 (Obama): ICE Commissioner John Morton published several memoranda

  concerning prosecutorial discretion. One memo discussed the specific enforcement priorities of

  the federal government with regard to deportable immigrants with criminal records, noting that

  “particular care should be given when dealing with lawful permanent residents, juveniles, and

  the immediate family members of U.S. citizens.” 21 Another guidance memorandum dealt with

  the use of prosecutorial discretion for plaintiffs, victims, and witnesses in order to “avoid

  deterring individuals from reporting crimes and from pursuing actions to protect their civil

  rights.” 22

            44.     Several administrations have used prosecutorial discretion as an instrument for

  protecting victims of crime, domestic abuse, and sexual assault.


                                              Deferred Action

            45.     Deferred action is one of the most common forms of prosecutorial discretion in

  immigration law and enjoys a long history. It is one of the few forms of prosecutorial discretion



  19
    Deferred Enforcement Departure- Liberia, U.S. Citizenship and Immigration Services,
  http://www.uscis.gov/humanitarian/temporaryprotected-status-deferred-enforced-departure/ded-granted-
  country-liberia/ded-granted-country-liberia (last updated Sep. 28, 2016).
  20
    Memorandum from Barack Obama, President of the United States of America, on Deferred Enforced
  Departure for Liberians (Sep. 28, 2016), https://obamawhitehouse.archives.gov/the-press-
  office/2016/09/28/presidential-memorandum-deferred-enforced-departure-liberians.
  21
       Morton Memo, supra note 3, at 2.
  22
    Memorandum from John Morton, Director, U.S. Immigration and Customs Enforcement, on
  Prosecutorial Discretion: Certain Victims, Witnesses, and Plaintiffs (June 17, 2011),
  https://www.ice.gov/doclib/foia/prosecutorial-discretion/certain-victims-witnesses-plaintiffs.pdf.


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  to provide with it work authorization, the others being parole 23 and orders of supervision. 24

  Historically, decisions to grant deferred action have also rested on identifiable humanitarian

  factors for consideration.

          46.     For many years, deferred action was in operation through case-by-case

  determinations but not publicly understood. Previously described as “nonpriority,” it operated

  essentially in secret for much of the 20th Century.

          47.     In the early 1970s, as part of his effort to support his clients John Lennon and

  Yoko Ono, attorney Leon Wildes pursued Freedom of Information Act (FOIA) litigation to

  obtain deferred action records from INS.

          48.     Through these records, Wildes conducted groundbreaking research and revealed

  multiple facets of deferred action. Among these revelations was the fact that deferred action

  cases labeled as “tender age” involved individuals who were teenagers or young adults when INS

  granted deferred action. 25

          49.     Following Wildes’ litigation on behalf of Lennon and Ono, INS issued guidance

  on deferred action through “Operations Instructions.” These instructions contained factors for

  INS agents and officers to determine whether a case should be referred for deferred action. They

  included: (i) young or old age; (ii) years present in the United States; (iii) health condition


  23
    8 U.S.C. § 1182(d)(5)(A) (2013) (“The Attorney General may…in his discretion parole into the United
  States temporarily under such conditions as he may prescribe only on a case-by-case basis for urgent
  humanitarian reasons or significant public benefit any alien applying for admission to the United States,
  but such parole of such alien shall not be regarded as an admission.…”).
  24
    Shoba S. Wadhia, Demystifying Employment Authorization and Prosecutorial Discretion in
  Immigration Cases, 6 Colum. J. of Race and L. 1, 7-8 (2016). (“Unlike deferred action, which can be
  granted or processed at any stage of immigration enforcement, an order of supervision may be processed
  after the government orders removal.”); 8 U.S.C. § 1231(a)(3) (2006).
  25
    Shoba S. Wadhia, Beyond Deportation: The Role of Prosecutorial Discretion in Immigration Cases 64,
  (2015).


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  requiring care in the United States; (iv) impact of removal on family in United States; and (v)

  criminal or other problematic conduct. 26

             50.   The Operations Instructions required consideration for deferred action “[i]n every

  case where the district director determines that adverse action would be unconscionable because

  of the existence of appealing humanitarian factors, he shall recommend consideration for

  deferred action category….” 27

             51.   Since that time, INS and DHS have repeatedly issued guidance over the course of

  several administrations on the use of deferred action for both individuals and groups. In the last

  15 years, DHS has granted deferred action in thousands of cases for largely humanitarian

  reasons.

             52.   Deferred action can have a significant impact on the individual and his or her

  family, as individuals granted deferred action are able to apply for employment authorization

  upon the showing of “economic necessity.” 28

             53.   The United States Citizenship and Immigration Services (“USCIS”) Standard

  Operating Procedures for Handling Deferred Action Requests at USCIS Field Offices details that

  a request for deferred action can be formally filed by the individual, a legal representative, or

  USCIS officers. 29 A request must have at least four components: an explanation supporting the



  26
    Id. at 197, n.8(ii), citing (Legacy) Immigration and Naturalization Service, Operations Instructions, O.I.
  § 103.1(a)(1)(ii) (1975).
  27
       Id.
  28
    8 C.F.R. § 274.12(c)(14) (2008); Shoba S. Wadhia, The Aftermath of United States v. Texas:
  Rediscovering Deferred Action, Notice & Comment: A Blog from the Yale Journal on Regulation and the
  ABA Section of Administrative Law & Regulatory Practice (Aug. 10, 2016), http://yalejreg.com/nc/the-
  aftermath-of-united-states-v-texas-rediscovering-deferred-action-by-shoba-sivaprasad-wadhia/.
  29
    Shoba S. Wadhia, Standard Operating Procedure for Deferred Action (non-DACA), (Mar. 7, 2012),
  (Obtained under the Freedom of Information Act from U.S. Citizenship and Immigration Services;
  received Aug. 2015), http://works.bepress.com/shoba_wadhia/36/.

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  request with supplemental documentation, proof of identity and nationality, any documents

  utilized to enter the U.S., and biographical information. My understanding is that this policy still

  guides USCIS treatment of deferred action requests outside DACA. In addition, ICE has the

  authority to grant deferred action to individuals.


                                    Legal Basis for Deferred Action

          54.     The legal foundation for the use of deferred action is clear from opinions of

  federal courts, federal statutes, regulations, and memoranda published by DHS and INS.

          55.     Agency regulations that have been in place for nearly 30 years explicitly identify

  “deferred action” as one basis for the provision of work authorization. 8 C.F.R. § 274a.12(c)(14).

          56.     Federal immigration law provides that “[t]he denial of a request for an

  administrative stay of removal under this subsection shall not preclude the alien from applying

  for . . . deferred action[.]” 8 U.S.C. § 237(d)(2).

          57.     Shortly after the Operations Instructions were published in 1975, several Courts

  of Appeals recognized the ability of INS to offer deferred action to individuals who were facing

  removal or who were removable. 30

          58.     The Supreme Court in Reno v. American-Arab Anti-Discrimination Committee,

  525 U.S. 471 (1999), specifically mentioned “deferred action” when analyzing 8 U.S.C. §

  1252(g), which precludes judicial review over certain acts of prosecutorial discretion decisions.




  30
    Soon Bok Yoon v. INS, 538 F.2d 1211, 1211 (5th Cir. 1976); Vergel v. INS, 536 F.2d 755, 755 (8th Cir.
  1976); David v. INS, 548 F.2d 219, 223 (8th Cir. 1977).


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             59.    Memoranda published by DHS provide guidance on the use of prosecutorial

  discretion in immigration law and in doing so identify the grant of deferred action as one such

  use of discretion. 31


                                      Historical Use of Deferred Action

             60.    Long before DACA, thousands of individuals have been processed for and

  granted work authorization pursuant to deferred action. 32

             61.    Historically, many deferred action cases have been driven by factors that are

  relevant to the DACA population. Two factors in particular have long driven outcomes in

  deferred action cases: age and long term presence in the United States.

             62.    DHS and its predecessor agencies have often set criteria, similar to those put forth

  in DACA, for how deferred action should be applied to particular groups, while still requiring a

  case-by-case determination for each individual.

             63.    2003 (George W. Bush): INS Associate Director of Operations Williams Yates

  published memoranda directing officers to use prosecutorial discretion forms like deferred action

  to protect victims who were eligible for eligible for certain statutory protections such as a U

  visa. 33



  31
    Letter from 130+ Law Professors (Sep. 3, 2014), https://pennstatelaw.psu.edu/_file/Law-Professor-
  Letter.pdf.
  32
       Wadhia, supra note 25, at 2.
  33
    Memorandum from William Yates, Associate Director of Operations, U.S. Citizenship and Immigration
  Services, on Centralization of Interim Relief for U Nonimmigrant Status Applicants (Oct. 8, 2003),
  http://www.uscis.gov/sites/default/files/USCIS/Laws/Memoranda/Static_Files_Memoranda/Archives%20
  1998-2008/2003/ucntrl100803.pdf; Memorandum from William Yates, Associate Director of Operations,
  U.S. Citizenship and Immigration Services, on Assessment of Deferred Action Requests for Interim
  Relief from U Nonimmigrant Status Aliens in Removal Proceedings (May 6, 2004),
  http://www.uscis.gov/USCIS/Laws/Memoranda/Static_Files_Memoranda/Archives%201998-
  2008/2004/uprcd050604.pdf; see also Wadhia, supra note 25, at 61.


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         64.     2005 (George W. Bush): The President announced a “deferred action” program

  for foreign academic students affected by Hurricane Katrina. 34

         65.     2009 (Obama): USCIS announced deferred action for the widows of U.S.

  citizens. In announcing the decision, DHS Secretary Janet Napolitano said: “Granting deferred

  action to the widows and widowers of U.S. citizens who otherwise would have been denied the

  right to remain in the United States allows these individuals and their children an opportunity to

  stay in the country that has become their home while their legal status is resolved.” 35

         66.     Deferred action has been used to protect individuals applying for relief under the

  Violence Against Women Act (VAWA). VAWA was enacted by Congress in 1994 and twice

  amended to include statutory remedies for abused spouses, parents, and children; victims of

  crimes and domestic abuse; and victims of human trafficking.

         67.     One protection under VAWA allows abused spouses and children of U.S. citizens

  and green card holders (lawful permanent residents) or the abused parents of U.S. citizens to file

  petitions for themselves with USCIS.

         68.     The self-petition process is critical to victims of domestic violence and abuse

  because it allows them to achieve a positive immigration status without having to rely on their

  abuser. If the self-petition is ultimately approved, the petitioner may receive deferred action. 36




  34
    Shoba S. Wadhia, Response, In Defense of DACA, Deferred Action, and the DREAM Act, 91 Tex. L.
  Rev. 59, n. 46 (2013), citing Press Release, U.S. Citizenship and Immigration Services, USCIS
  Announces Interim Relief for Foreign Students Adversely Impacted by Hurricane Katrina (Nov. 25,
  2005), http://www.uscis.gov/files/pressrelese/F1Student_11_25_05_PR.pdf.
  35
    DHS Establishes Interim Relief for Widows of U.S. Citizens,
  https://www.dhs.gov/news/2009/06/09/dhs-establishes-interim-relief-widows-us-citizens.
  36
   William A. Kandel, Immigration Provisions of the Violence Against Women Act (VAWA), U.S.
  Congressional Research Service (May 15, 2012), https://fas.org/sgp/crs/misc/R42477.pdf


                                                   17
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            69.     Deferred action also has been used as a mechanism to keep immigrants who are

  the spouses, parents, and children of military members together.

            70.     The examples identified above are not exhaustive but demonstrate how DHS (and

  INS before it) has long used the instrument of deferred action and its authority under the INA to

  protect certain classes of people. 37


                                                  DACA

            71.     DACA falls in line with the long history described above. By its terms, DACA

  requires the individual to document entry into the United States before the age of sixteen and

  presence in the United States since June 15, 2007. 38 Long-term residence and tender age are two

  central facets of deferred action.

            72.     Beyond those characteristics, the totality of circumstances weighs in favor of

  DACA grantees receiving deferred action based on past guidance documents. Among other

  things, DACA grantees are either in school, have graduated from high school (or obtained an

  equivalent degree), or have served honorably in the military.

            73.     The idea of protecting those who came to the United States at a young age,

  residing in the United States for a long period of time, and with other equities from removal

  through deferred action longstanding and in fact customary.

            74.     The implementation of DACA, even on a wide scale, is entirely consistent with

  previous acts of prosecutorial discretion by Democratic and Republic administrations.




  37
       Wadhia, supra note 25, at 68.
  38
    Memorandum from Janet Napolitano, Secretary of Homeland Security, on Exercising Prosecutorial
  Discretion with Respect to Individuals Who Came to the United States as Children (June 15, 2012),
  https://www.dhs.gov/xlibrary/assets/s1-exercising-prosecutorial-discretion-individuals-who-came-to-us-
  as-children.pdf.

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          75.     The decision to and method by which DACA has been terminated raises serious

  legal questions and is wholly inconsistent with how deferred action has been used and applied

  historically.

          76.     Previous decisions to end deferred action programs or to change course on broad

  exercises of prosecutorial discretion have been triggered by new statutory protections through an

  Act of Congress that rendered the exercise of further prosecutorial discretion unnecessary,

  changes in country conditions, or other significant changes in circumstances. DACA’s

  termination does not meet any of these criteria.

          77.     Despite the great success of the DACA program and the contributions of its

  grantees to our schools, businesses, communities, and economy, this Administration has turned

  DACA grantees into among the most vulnerable immigrants. This switch from protecting those

  with the most compelling cases for deferred action to the most vulnerable for such a large group

  of immigrants is remarkable and also destabilizes the structure of prosecutorial discretion in the

  immigration system.


                                             Conclusion

          78.     Deferred action is a long-recognized form of prosecutorial discretion in

  immigration law and with a strong legal foundation. The operation of DACA is a lawful exercise

  of prosecutorial discretion. Categorically revoking deferred action from hundreds of thousands of

  beneficiaries without reason is not only unprecedented but is in tension with the history of both

  INS and DHS.




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  I declare under penalty of perjury under the laws of the United States that the foregoing is true and
  correct to the best of my knowledge.




                                                   SHOBA SIVAPRASAD WADHIA



  Dated this 15th day of December 2017.




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                    EXHIBIT A
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                               CURRICULUM VITAE
                              Shoba Sivaprasad Wadhia
                            Samuel Weiss Faculty Scholar
                          Penn State Law-University Park
                     Phone: 814-865-3823 | Email: ssw11@psu.edu
     EMPLOYMENT

     Pennsylvania State University School of Law, University Park, PA
     Samuel Weiss Faculty Scholar, Clinical Professor of Law
     Director/Founder, Center for Immigrants’ Rights, June 2008-present

     Direct an immigration clinic whose mission is to advance immigrants’ rights through legal
     excellence, advocacy, education, and collaboration with key stakeholders on immigration
     law and policy. Supervise law students representing clients on policy projects, community
     education and individual cases pertaining to U.S. immigration law and policy.

     Publications by the Center

     Press releases and stories about the Center’s work

     Teaching at Penn State Law:

     Center for Immigrants’ Rights Clinic (5 credits)

     Advanced Immigration Clinic (2 credits)

     Asylum and Refugee Law (3 credits)

     Immigration Law (3 credits)

     Scholarship at Penn State Law (see publication list below)

     Service at Penn State Law:

     Post-Election: Penn State Law’s Center for Immigrants’ Rights has been at the forefront
     of responding to immigration issues Post-Election at local and national levels. See:
     https://pennstatelaw.psu.edu/immigration-after-election for more details.

     Minority Mentor Program: Helped to develop and institutionalize the law school’s first
     minority mentor program, aimed at improving the climate of law school and academic
     performance. Received initial and renewal matching grant from Penn State’s Equal
     Opportunity Commission.

     Interdisciplinary Roundtable on Immigration: Co-founder/chair of Interdisciplinary
     Working Group on Immigration, whose objective is to build connections among research
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     and service organizations who work with or conduct research about immigrants and
     immigration, and to raise awareness of resources available among the local community of
     scholars and service providers.

     Academic Symposia Featuring Nationally Renowned Scholars and Legal Experts:
     Organized and moderated academic symposia annually from 2009-12 on national
     immigration topics, with featuring speakers from around the nation.

        •   Symposium: Immigration in a New Administration (2009)
        •   Symposium: Immigration Adjudications: Court Reform and Beyond (2010)
        •   Colloquium: 30th Anniversary of the Refugee Act (2010)
        •   Symposium: 10th Anniversary of 9/11 (2011)
        •   Symposium: Immigration Remedies for Victims of Domestic Abuse (2012)

     Faculty Committees: Serve(d) on the following academic committees:

        •   Diversity Committee (Chair) (2013-present)
        •   Strategic Planning Committee (2013-14)
        •   Academic Rules Committee (2012-13)
        •   Curriculum Committee (2009-12)
        •   Clinics Committee (2008-9)

     National Immigration Forum, Washington DC
     Deputy Director for Legal Affairs, January 2007- June 2008
     Senior Policy Associate/Counsel, July 2002-December 31, 2006

        •   Worked for national immigration advocacy organization on the multiple legislative
            efforts, including the creation of the Department of Homeland Security,
            comprehensive immigration reform, immigration enforcement, and post 9-11
            proposals affecting immigrants
        •   Provided legal and policy expertise on immigration issues to government officials,
            interested advocates, and the public
        •   Played a leadership role in working groups engaged in strategy and policy
            development on immigration law and policy reform with government officials
        •   Analyzed, prepared and/or drafted legislative and regulatory proposals on
            immigration law and policy for government officials and interested advocates

     Maggio Kattar, P.C., Washington DC
     Attorney, 2000-2002/Law Clerk, 1998-2000

        •   Represented clients in deportation (removal) proceedings before the VA and MD
            immigration courts
        •   Represented clients before Immigration and Naturalization Service (now
            Department of Homeland Security) during interviews for immigration benefits
        •   Interviewed clients and witnesses; prepared affidavits, evidentiary materials and
            legal briefs; conducted related legal research
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     EDUCATION

     Georgetown University Law Center, Washington, DC, J.D., May 1999

     Related Coursework/Activities
     Georgetown Immigration Law Journal- Senior Notes & Comments Editor
     Immigration and Refugee Law
     Advanced Seminar on Immigration Research

     Indiana University, A.B. with Honors, Political Science, May 1996

     PUBLICATIONS

     Books

     Beyond Deportation: The Role of Prosecutorial Discretion in Immigration Cases (New
     York University Press 2015), new on paperback May 1, 2017
        • Website: www.beyonddeportation.com
        • Reviews published by NYU Press: https://nyupress.org/books/9781479870059/
        • Review in Oxford University’s Border Criminologies, April 22, 2016.
        • Review in International Migration Review, Fall 2016.
        • Featured in Guernica Magazine, July 1, 2016
        • Review in Harvard Law Review, Recent Publications, June 2016
        • Review in The Federal Lawyer, October/November 2016
        • Review by Reader's Favorite, Book Review, August 2016
        • Review by International Migration Review, Book Review, Fall 2016
     Law Journals

     Emory Law Journal, Is Immigration Law National Security Law? 66 Emory Law Journal
     669 (2017).

     "Beyond Deportation: Understanding Immigration Prosecutorial Discretion and U.S. v.
     Texas," 36 IMMGR. & NAT'LITY L. REV. 94 (2015).

     “Demystifying Employment Authorization and Prosecutorial Discretion in Immigration
     Cases” Colum. J. Race & L. 1 (2016).

     "The Aftermath of United States v. Texas: Rediscovering Deferred Action," Notice and
     Comment, Yale Journal on Regulation (2016).

     The President and Deportation: DACA, DAPA, and the Sources and Limits of Executive
     Authority - Response to Hiroshi Motomura Washburn Law Journal (2016).

     "Executive Action and Immigration" Case W. Res. Journal of International Law 48 (2016).
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                                    3971
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     “The History of Prosecutorial Discretion in Immigration Law” American University Law
     Review Vol 64.5 (2015).

     “The Rise of Speed Deportation and the Role of Discretion,” Vol. 5 No. 1 Colum. J of Race
     & L. (2014).

     “Immigration Remarks for the 10th Annual Wiley A. Branton Symposium,” Vol. 57 No. 3
     HOW. L.J. (2014).

     “My Great FOIA Adventure and Discoveries of Deferred Action Cases at ICE,” 27
     Geo. Immig. L.J. (2013).

     “In Defense of DACA, Deferred Action, and the DREAM Act,” 91 Texas L. Rev. SEE
     ALSO 59 (2013).

     “The Immigration Prosecutor and the Judge: Examining the Role of the Judiciary in
     Prosecutorial Discretion Decisions,” 16 Harv. Latino L. Rev. 39 (2013).

     “Sharing Secrets: Examining Deferred Action and Transparency in Immigration Law,” 10
     U. N. H. L. Rev. 1 (2012).

     “Business As Usual: Immigration and the National Security Exception,” 114 Penn State L.
     Rev. 1485 (2010).

     “The Role of Prosecutorial Discretion in Immigration Law,” 9 Connecticut Pub. Int. L. J.
     243 (2010).

      “Under Arrest: Immigrants’ Rights and the Rule of Law,” 38 U. Memphis L. Rev. 853
     (2008).

     “The Policy and Politics of Immigrant Rights,” 16 Temple Pol. & Civil Rts. L. Rev. 387
     (2007).

     “Immigration: Mind Over Matter,” 5 U. Md. L. J. on Race, Religion, Gender & Class 201
     (2006).

     Book Chapters and Essays

     American Immigration Lawyers Association, Prosecutorial Discretion, Practice Advisory
     (w. A. Gallagher and A. Nunez) (2017)

     Carolina Academic Press, Book Chapter, Dreams Deferred: Deferred Action, Prosecutorial
     Discretion, and the Vexing Case(s) of DREAM Act Students in Law Professor and
     Accidental Historian (2017)
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                                    3972
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     American Immigration Lawyers Association, The Long and Winding Road of
     Prosecutorial Discretion, Practice Advisory (w. L. Wildes and P. Taurel) (2015)

     Who are the Players in Immigration Law? in What Every Lawyer Should Know About
     Immigration Law (American Bar Association 2014)

     Reflections on Prosecutorial Discretion One Year After the Morton Memo, in Emerging
     Issues Analysis (LexisNexis, June 2012)

     Prosecutorial Discretion in Immigration Agencies: A Year in Review, in Emerging Issues
     Analysis (LexisNexis, January 2012)

     The Term Illegal Alien, in Debates on U.S. Immigration, (Sage Publications, 2012)

     The Morton Memo and Prosecutorial Discretion: An Overview, American Immigration
     Council (July 2011)

     Reading the Morton Memo: Federal Priorities and Prosecutorial Discretion, American
     Immigration Council (December 2010)

     "Letter to Lahore," The Subcontinental Vol. 1, Issue 3 (with Sin Yen Ling), (2004)

     Obama-Biden Presidential Transition Team, Immigration Policy: Transition Blueprint for
     the Obama Administration, 2008 (contributor)

     Immigration Law Weekly, Concerns With The DOJ's Proposed Rule To Implement The St.
     Cyr. Ruling (w. Rob Randhava and Nancy Morawetz), September 13, 2003

     Florida Bar Association, 21st Annual Immigration Law Update, Extreme Hardship For
     Waivers of Inadmissibility, (w. Michael Maggio), 2000

     APPOINTMENTS/HONORS

     American-Arab Anti-Discrimination Committee, Excellence in Legal Advocacy Award,
     September 2017

     National Immigration Project of the National Lawyers Guild, 2017 Honoree, June 2017

     Penn State Law, Faculty Diversity Award, February 2017

     Global Connections, Spirit of Internationalization Award, March 15, 2016

     Named Samuel Weiss Faculty Scholar at Penn State Law, July 2013

     Appointed to American Bar Association Commission on Immigration: 2010-2014
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     Department of Homeland Security, Office of Inspector General, Leadership Plaque, June
     2008

     Department of Homeland Security, Office of Civil Rights and Civil Liberties, award for
     leadership as co-chair of NGO working group, June 2008

     Department of Homeland Security, Office of Civil Rights and Civil Liberties, Leadership
     Plaque, April 2006

     American-Arab Anti-Discrimination Committee, Pro Bono Attorney of the Year, June
     2003

     Indiana University, Political Science Department, William Jennings Bryan Prize, 1996

     Indiana University, Honors Division: Summer Research Grant, 1996

     American University, Washington Semester Program, Dean’s Scholarship, 1994

     Congressional Award: Silver, 1991; Bronze, 1989

     State/National Forensics League: over 25 trophies in related competitions, 1990-1993

     BAR ADMISSIONS

     State of Maryland

     State of New Jersey

     Court of Appeals for the Third Circuit

     Supreme Court of the United States

     MEMBERSHIPS

     American Bar Association (since 2008) (Commissioner, 2010-2014)

     American Civil Liberties Union, Pennsylvania Chapter, Board Member (2010-2011)

     American Constitution Society (since 2015)

     American Immigration Council, Board of Trustees (since 2016)

     American Immigration Lawyers Association (since 2001)

     National Immigration Project, National Lawyers Guild (since 2000)
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                                    3974
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     Pennsylvania Immigration Resource Center, Board Member (2008-2011)

     PRESENTATIONS (HIGHLIGHTS)

     2017

     Lecturer (Invited), Arlin Adams Center for Law and Society at Susquehanna University,
     Immigration in a New Administration, Selinsgrove, Pennsylvania, October 10, 2017

     2017-2018 Cannon Lecturer (Invited), Beyond Deportation: The Role of Prosecutorial
     Discretion in Immigration Cases in the Wake of the Trump Administration, University of
     Toledo School of Law, Toledo, Ohio, September 11, 2017

     Faculty Speaker, Student Orientation, Diversity and Inclusion in the Legal Profession,
     Penn State Law at University Park, August 15, 2017

     Panelist, International Student Orientation, Understanding International Student Visas
     and the U.S. Travel Ban, Office of Global Programs, Pennsylvania State University,
     August 12, 2017

     Panelist, National Council for State Legislatures (Invited), National Summit, Immigration
     in 2017, Boston, MA, August 6, 2017

     Discussant, Southeastern Association of Law Schools (SEALS), Workshop on National
     Security, Discussion Group: Trump’s Executive Actions on Immigration: Travel Ban,
     Extreme Vetting, Border Surveillance, and Mass Deportation, Boca Raton, FL, August 4,
     2017

     Moderator (Invited), Annual Conference, American Immigration Lawyers Association,
     Prosecutorial Discretion, New Orleans, LA, June 21, 2017

     Guest Speaker (Invited), Interfaith Initiative Centre County, Immigration in a New
     Administration, June 11, 2017

     Speaker (Invited), Annual Conference, Community Diversity Group Conference,
     Immigration, June 6, 2017

     Panelist (Invited), Career Professionals Conference, Pennsylvania State University,
     Immigration in a New Administration, May 9, 2017

     Keynote (Invited), Immigrant Justice Week Keynote Speaker, University of Wisconsin
     School of Law, Beyond Deportation: The Role of Prosecutorial Discretion in the Wake of
     Trump’s Executive Orders, April 2017

     Moderator, “All In at Penn State Law: Addressing Diversity and Implicit Bias in the
     Legal Academy, Penn State Law, March 16, 2017
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     Keynote (Invited), Sprit of Internationalization Awards Ceremony, Hosted by Global
     Connections, March 16, 2017
     Speaker (Invited), National Press Conference on Executive Order on Immigration,
     Hosted by Americas Voice, March 6, 2017

     Speaker (Invited), National Community Call on Executive Order on Immigration
     (Muslim Ban 2.0), Hosted by Muslim Advocates, March 6, 2017

     Organizer, Executive Orders on Immigration: Where Have We Been and What Lies
     Ahead? at Penn State Law, February 24, 2017

     Guest Speaker on Immigration for International Ministries at Penn State University,
     February 24, 2017

     Speaker (Invited), Post-Executive Order Briefing for Academics, American Immigration
     Council February 15, 2017

     Speaker, Information Session on Executive Orders on Immigration for Postdoctoral
     students, staff and faculty at Penn State, February 10, 2017

     Speaker, Information Session on Executive Orders on Immigration for Engineering
     faculty, staff and students at Penn State, February 7, 2017

     Organizer, Information Session, President Trump’s Executive Orders on Immigration,
     February 3, 2017

     2016

     Speaker (Invited), Post-Election Research Briefing for Academics, Muslim Registry,
     American Immigration Council, December 20, 2016

     Facilitator, Community Dialogue on Diversity, Immigration and Race Post-Election,
     State College, PA, November 18, 2016

     Panelist (Invited), Fall Conference, DC Chapter of the American Immigration Lawyers
     Association, Notices to Appear/Prosecutorial Discretion, November 16, 2016

     Panelist (Invited), Equal Justice Leadership and Training Conference, United States v.
     Texas and Prosecutorial Discretion, Washington D.C., October 26, 2016

     Keynote and Book Discussion (Invited), Spartan Scholars Awards Ceremony, Ocean
     Township High School, Ocean, NJ, October 24, 2016
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     Lecture and Book Discussion (Invited), Washington University School of Law
     (sponsored by the Immigration Law Society and American Constitution Society), St.
     Louis, MO, October 14, 2016

     Book Talk, University Women's Club (Invited), Book and Play Review Group, Schlow
     Centre Regional Library, State College, PA, September 26, 2016

     Immigration Issues after U.S. v. Texas, Center for Immigrants’ Rights Clinic, September
     1, 2016

     Immigration Issues after U.S. v. Texas, State College Municipal Building, A Panel
     Discussion, August 31, 2016

     Book Talk and Discussion of DAPA/DACA Case at Supreme Court, State College
     Sunrise Rotary, State College, PA, August 17, 2016

     Book Talk and Discussion of DAPA/DACA Case at the Supreme Court and Beyond;
     Brown University Bookstore, Providence, RI, August 4, 2016

     Panelist (Invited), American Immigration Lawyers Association’s Annual Conference,
     Humanitarian Remedies in Immigration Law, June 2016

     Guest Lecturer (Invited) United Nations Association of Centre County, May 2016

     Cornell University School of Law, invited to present my research and FOIA strategies to
     social scientists working on empirical research related to deferred action, April 2016

     Cornell University School of Law, present remarks on Beyond Deportation at a school
     sponsored public forum, April 2016

     Pennsylvania Bar Association, Law Form on Mass Incarceration, Pittsburgh, PA
     (representing Penn State Law), March 31, 2016

     Emory University School of Law, Discussion of Beyond Deportation (w. C. Kuck,
     sponsored by Immigration Law Society), February 2016

     Emory University School of Law, annual Thrower Symposium on National Security,
     Invited panelist on domestic terrorism, immigration and national security, February 2016
     Washington College of Law at American University, spoke about Beyond Deportation
     and Texas case (w. A. Frost, B. Johnson, P. Spiro) February 2016

     New York School of Law/City Bar Association of New York City/NYU Press: panel on
     Beyond Deportation and United States v. Texas (w. L. Benson, A. Kalhan, F. Anello),
     January 2016

     American Association for Law Schools, Annual Conference, (Invited) “Is Immigration
     Law Administrative Law,” January 2016
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     2015

     University of Cincinnati School of Law, Invited Speaker from Immigration and
     Nationality Law Review, Spoke about Beyond Deportation and United States v. Texas,
     November 2015

     Case Western Reserve University School of Law, annual symposium, Invited panelist on
     executive action and immigration, October 2015

     Chicago Bar Foundation/Mayor Brown/National Immigrant Justice Center: Panel
     Discussion on Beyond Deportation and United States v. Texas (w. G. Hereen, T. Magner,
     C. Valenzuela), October 2015

     American Civil Liberties Union, Washington D.C., Book Talk on Beyond Deportation,
     September 2015

     Department of Justice Office of Immigration Litigation, Washington D.C., Invited talk on
     Beyond Deportation to DOJ attorneys, September 2015

     Temple University, Beasley School of Law, Philadelphia, PA, Panel Discussion on
     Beyond Deportation (w. Jaya Ramji-Nogales, J. Family), September 2015

     Drexel School of Law, Philadelphia, PA, Panel Discussion on Beyond Deportation (w. B.
     Stock and A. Kalhan), September 2015

     National Press Club, Book Launch of Beyond Deportation (with S. Legomsky, F. Sharry
     and E. Quinn), June 2015

     Panelist, American Constitution Society, Going it Alone? Presidential Power and the
     DAPA Debate, June 2015

     Moderator, American Immigration Lawyers Association’s Annual Conference, The Long
     and Winding Road of Prosecutorial Discretion, June 2015

     Keynote Speaker, Pennsylvania Immigration Resource Center, Light of Liberty Awards,
     March 2015

     Keynote Speaker, Conference on Race, Class, Gender and Ethnicity: University of North
     Carolina School of Law-Chapel Hill, February 2015

     Presenter, CLE on Immigration and Executive Action, Centre County Bar Association,
     February 2015

     Opening Remarks and Panelist, American University Law Review, Symposium on
     Prosecutorial Discretion, January 2015
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     Panelist, American Association for Law School’s Academic Symposium on
     Congressional Dysfunction and Executive Lawmaking, January 2015

     2014

     Moderator, Penn State Law, Symposium “Shining the Light on Gender-Based Violence
     at
     Home and Abroad”, October 2014

     Facilitator, National Immigration Project, Continuing Legal Education Program on
     Challenges to Immigration Detention, September 2014

     Panelist, American Bar Association, Homeland Security Institute August 2014

     Presenter of and Commentator on Works-in-Progress, Immigration Law Professors
     Workshop, University of California Irvine- School of Law May 2014

     Presenter of and Commentator on Works-in-Progress, The Association of American Law
     Schools Annual Conference on Clinical Legal Education, April 2014

     2013

     Panelist, Tenth Annual Wiley A. Branton / Howard Law Journal Symposium, Howard
     University School of Law, October 2013

     Workshop and Presenter, Clinical Law Review Writers' Workshop 2013, New York
     University School of Law, September 2013

     Panelist, National Immigration Project, CLE Program on “Developments in Immigration
     Law & Removal Defense” (May 2013)

     2012

     Moderator, American Bar Association Section on Administrative Law and Regulatory
     Practice, Fall Conference, Understanding Prosecutorial Discretion in Immigration Law,
     (October 2012)

     Luncheon Speaker, Pennsylvania State University, Migration Studies Project,
     Immigration Law and the Administration’s Deferred Action for Childhood Arrivals
     Program, (September 2012)

     Organizer and Moderator, Penn State Law’s Symposium on Immigration Remedies for
     Victims of Domestic Abuse, (September 2012) (w. Centre County Women Resource
     Center’s Civil Legal Representation Project)

     Panelist, Immigration Law Teachers Workshop, Plenary on Prosecutorial Discretion
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                                    3979
                                                                      Wadhia Resume Page 12


     (June 2, 2012)

     Panelist, Press Conference, "The NSEERS Effect: A Decade of Racial Profiling, Fear,
     and Secrecy" (June 4, 2012)

     Speaker, Press Conference: “Law Professors Alongside DREAMers Discuss Details of
     Memo Outlining President’s Legal Authority to Grant Much Needed Relief for the Latino
     Community,” (June 1, 2012), http://act.americasvoiceonline.org/page/-
     /americasvoice/audio/DREAM%20060112.mp3

     Panelist, Foreign Policy Association, Immigration Policy: What Is It and What Should It
     Be? (May 24, 2012)

     Panelist, American Immigration Lawyers Association, CLE Audio Seminar on
     Cancellation of Removal Relief (April 26, 2012)

     2011

     Panelist, American Immigration Lawyers Association, CLE Webinar on Deferred Action
     (October 25, 2011)

     Penn State Law, Center for Immigrants’ Rights, The 9/11 Effect and its Legacy on U.S.
     Immigration Laws, Organizer and Moderator (September 2011)

     Panelist, 23nd Annual Minority Attorney Conference, Immigration Panel, Philadelphia,
     PA (March 17 & 18, 2011)

     Panelist, Maggio + Kattar Community Forum on Prosecutorial Discretion and Private
     Bills, Washington D.C. (January 26, 2011)

     2010

     Penn State Law, Center for Immigrants’ Rights, Fall Colloquium on the 30th Anniversary
     of the Refugee Act, Organizer and Moderator (November 2010)

     Presenter, Penn State University, Research Unplugged, Presentation on “Immigration
     Rights and Wrongs” (October 2010)

     Penn State Law, World on Trial, Jury Member and Foreperson (September 2010)

     Robert C. Byrd Center for Legislative Studies, Tom E. Moses Memorial Lecture on the
     U.S. Constitution (September 2010)

     Seton Hall Law School, National People of Color Legal Scholarship Conference,
     Moderator and Panelist (September 2010)
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                                    3980
                                                                      Wadhia Resume Page 13


     Panelist, Penn State University Dickinson School of Law, Symposium on Iqbal v.
     Ashcroft (2010)

     M.C. and Moderator, Penn State University Dickinson School of Law, Symposium on
     Immigration Adjudications and Court Reform (2010)

     2009

     Lecturer, Penn State University, Presidential Leadership Academy, Immigration (2009)

     Lecturer, Penn State University, School for International Affairs, Asylum Law (2009)

     University of Illinois School of Law, Big 10 Aspiring Scholars Conference, Abstract
     Presentation (2009)

     M.C. and Moderator, Penn State Dickinson School of Law, Symposium on Immigration
     Reform (2009)

     Panelist, Georgetown University Law Center, Panel on Counterterrorism and
     Immigration (2009)

     2008

     Panelist, University of Connecticut School of Law, Symposium on Immigration (2008)

     Panelist, University of Memphis School of Law, Symposium on Immigration Issues
     (2008)

     Older

     New England People of Color Conference, Moving Forward or Moving Backward?
     Criminal Justice and Immigration in the 21st Century, Commentator (2007)

     Panelist, Stanford Law School, Symposium on Immigration Reform and Policy (2007)

     Panelist, Temple University School of Law, Symposium on Immigration Reform (2006)

     Panelist, University of Texas School of Law, Symposium on Immigration and Civil
     Rights (2006)

     Panelist, University of Maryland School of Law, Symposium on Immigration Reform
     (2004)

     Instructor, District of Columbia Bar: Continuing Legal Education Series, Removal and
     Deportation (2002-03)
Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 36 of 1603 PageID #:
                                    3981
                                                                      Wadhia Resume Page 14


     Panelist, Columbia University Law School, Panel on Immigration Policy and Due
     Process (2005)

     Panelist, Catholic University Law School, Panel on Immigration Policy and Due Process
     (2005)

     Panelist, Georgetown University Law Center, Alumni Panel on Public Interest Law
     (2004)

     Arab Community Center for Economic and Social Services, Panel on Immigration Policy
     (2004)

     University of Michigan-Dearborn, Teach-In on Immigration Policy (2005)

     Illinois Coalition for Immigrant and Refugee Rights, Policy Summit, Panel on
     Immigration Policy and Due Process (2004)

     Speaker, New York University School of Law/Breakthrough: Forum on Immigration
     Policy (2004)

     Panelist, Japanese American Citizens League/Office of Chinese Americans Annual
     Leadership Conference: Panel on Immigration Policy and Due Process (2003-2005)

     National Lawyers Guild Annual Convention, Panels on Immigration Policy (2001-05)

     Panelist, Ethiopian Community Development Council: Panel on Department of
     Homeland Security and its Impact on the Asylum and Refugee Community (2003)

     MEDIA

     MSNBC The Last Word with Lawrence O’Donnell, November 20, 2014.

     USA Today, What's Next for Trump's travel ban? June, 2017

     New York Times Magazine, Is It Possible to Resist Deportation in Trump's America?
     May 2017

     Wisconsin Public Radio, Travel Ban Litigation, July 2017

     WPSU, Travel Ban Blocked, But Its Aftermath Reverberates At Penn State, May 2017

     The Hill, Immigrant detention centers marred by 'needless deaths' amid poor care –
     report, May 2017
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                                    3982
                                                                    Wadhia Resume Page 15


     ABC23 News, Immigration Concerns, May 2017

     WPSU, Featured Guest on Immigration Panel, Conversations Live, March 2017

     WPSU, Featured Guest, Digging Deeper on Immigration (w. Pennsylvania State
     University President Eric Barron), March 2017 (aired April 2017)

     Town & Gown, Lunch with Mimi, March 2017

     ABC23 New, Immigration Concerns, March 2017

     WJAC, Trump's executive order could be stopped before going into effect, March 2017

     Bloomberg BNA, Are Immigrants Protected Under Obama No Longer Safe?, February
     2017

     Law360, 3 Key Takeaways From The 9th Circ.'s Travel Ban Ruling, February 2017

     The Washington Post, Draft executive order would begin ‘extreme vetting’ of immigrants
     and visitors to the U.S., January 2017

     The Atlantic, Two Cases Could Limit or Enhance Trump's Ability to Engage in Mass
     Deportations, January 2017

     NBC News, Obama Leaves Behind a Mixed Legacy on Immigration, January 2017

     Centre Daily Times (Front Page), Teach-In Offers Overview of Immigrants' Rights,
     January 2017

     WTAJ-TV, Statewide 'teach-in' held on immigrants' rights, January 2017

     WJAC-TV, Penn State Law hosts 'Teach-In' on immigrants' rights, January 2017

     Centre Daily Times (Front Page), Borough Council Expresses Support for Immigrant
     Community, January 2017

     WTAJ-TV, Resolution approved to help immigrants, January 2017

     Statecollege.com, Borough Council Passes Immigration Enforcement Resolution, January
     2017

     The Guardian, Registry used to track Arabs and Muslims dismantled by Obama
     administration, December 2016

     Long Island Press, Obama Administration Dismantles Framework of Muslim-Focused
     Registry, December 2016
Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 38 of 1603 PageID #:
                                    3983
                                                                        Wadhia Resume Page 16


     Huffington Post, Obama Administration Makes Last-Minute Bid To Stall Trump’s
     Ability To Create Muslim Registry, December 2016

     The Atlantic, America Already Had a Muslim Registry, December 2016

     The Guardian, Muslims to march on White House in bid to dismantle discriminatory
     registry, December 2016

     PBS Newshour, Could President Trump really create a tracking system for U.S.
     Muslims? , December 2016

     Politifact, In context: “Dreamers” and background checks, December 2016

     VICE, This Small Town Is Helping Undocumented Immigrants, but Don't Call It a
     'Sanctuary City', December 2016

     Centre Daily Times (Front Page): Penn State supports DACA students, hopes to ease
     fears, December 2016

     Philadelphia Inquirer, Ebola scare over, Liberian immigrants lose right to stay in U.S.,
     November 2016

     Long Island Press, Trump Team Considering Resurrecting Ineffective & Discredited
     Bush-Era Muslim Registry, November 2016

     ATTN, Why Muslim Registries Haven't Worked in America, November 2016

     Medium, Musings on Dreamers, Mass Deportations and a “Muslim Registry” November
     2016

     New York Times, Trump Camp’s Talk of Registry and Japanese Internment Raises
     Muslims’ Fears, November 2016

     Vox, Donald Trump’s proposed “Muslim registry,” explained, November 2016

     The Christian Science Monitor, Will Trump's plan to register Muslims make it to The
     White House? , November 2016

     Penn State Research Magazine Profile on Clinic and Research, Spring 2016

     Penn State Probing Questions Video Project, February 2016

     National Public Radio, Take Note: Unauthorized Immigrants and the Use of Prosecutorial
     Discretion, September 18, 2015 (full length book interview)

     Minnesota Public Radio, Untangling Obama’s Immigration Policy, March 2, 2016
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                                    3984
                                                                      Wadhia Resume Page 17



     San Francisco Chronicle, Paris attacks stoke fears at home about Syrian refugees,
     November 17, 2015

     CNN National, States cannot refuse refugees, but they can make it difficult, November 16,
     2015

     Wall Street Journal Appeals Court to Again Consider Obama Immigrant Deportation
     Policy July 9, 2015

     Buzzfeed No Clear Indications About Ruling On Immigration Actions Case At Arguments,
     April 17, 2015

     Vox.com The government can’t enforce every law. Who gets to decide which ones it does?,
     March 31, 2015

     C-SPAN coverage, Association for American Law Schools, Academic Symposium on
     Executive Action, Jan. 5, 2015.

     Rachel Maddow Blog Judge takes aim at Obama’s immigration policy, Dec. 17, 2014.

     MSNBC Bush appointee rules Obama’s immigration action unconstitutional, Dec. 16,
     2014.

     Roll Call Obama’s Immigration Actions Test Presidential Power, November 20, 2014.

     The Roanoke Times Goodlatte signs legal brief fighting Obama immigration action
     Dec. 17, 2014.

     C-SPAN coverage, American Bar Association, Homeland Security Institute, August 2014.

     The Economist Blog Mini-DREAM and the rule of law, June 18, 2012.

     Dallas Morning News U.S. Immigration Enforcements ‘Prosecutorial Discretion’ History
     Dates to John Lennon, October 6, 2013.

     The Epoch Times Immigration’s Legal Labyrinth: The Agony of Discretion, November
     16, 2014.

     United We Dream, Speaker, Press Conference UWD & Legal Experts Define Success:
     Presidential Executive Action Must Be Broad, Bold and Inclusive, Oct. 29, 2014.

     National Immigration Law Center, Invited Speaker, Press Conference Law and Precedent
     Allow Broad Presidential Action on Immigration, August 14, 2014.

     America’s Voice, Invited Speaker, Press Conference: “Law Professors Alongside
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                                    3985
                                                                     Wadhia Resume Page 18


     DREAMers Discuss Details of Memo Outlining President’s Legal Authority to Grant
     Much Needed Relief for the Latino Community,” June 1, 2012.

     Original Op-Eds/Opinion Pieces

     American Constitution Society, Muslim Ban Litigation: An Unfinished Symphony, July
     20, 2017

     American Constitution Society, Reflections on Bona Fide Relationships, July 14, 2017

     American Immigration Council, ImmigrationImpact, Ending Deportation Priorities
     Breaks Away from Decades of History and Sound Policy, July 10, 2017.

     SCOTUS Blog, Immigration symposium: Delays, detentions and due process – Why
     Jennings matters, June 27, 2017.

     American Constitution Society, Musings on Today’s Travel Ban Decision by the
     Supreme Court, June 26, 2017.

     Medium, The Birth and Death of Deferred Action (and what the Future Holds), June 16,
     2017.

     American Immigration Council, ImmigrationImpact, The Dire State of Immigration
     Detention in Georgia, June 6, 2017.

     Yale Law Journal on Regulation, Notice and Comment, Prosecutorial Discretion at ICE:
     My Latest FOIA Adventure, May 26, 2017.

     Yale Law Journal on Regulation, Notice and Comment, Donald Trump’s Enforcement
     Plan and the Future of Discretion, April 25, 2017.

     Medium, Immigration Law and Policy After the Executive Orders: Five Key Points,
     March 25, 2017.

     American Constitution Society, Musings on Muslim Ban 2.0, March 13, 2017.

     The Conversation, Trump’s immigration executive orders: The demise of due process
     and discretion, March 6, 2017. (reprinted in Associated Press, Newsweek, Salon,
     Houston Chronicle, and additional outlets)

     Medium, Leaked DHS Memo Implementing the Executive Order on Border
     Enforcement, February 18, 2017.

     Medium, Leaked DHS Memo Implementing the Executive Order on Interior
     Enforcement (or Is Prosecutorial Discretion Dead?), February 18, 2017.
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                                    3986
                                                                       Wadhia Resume Page 19


     Medium, On This Day: The End of NSEERS, December 2016.

     Notice & Comment, Yale Journal on Regulation; Medium, Understanding the Final Rule
     Ending NSEERS, December 2016.

     Medium, Shutting Down Special Registration, December 2016.

     Medium, NSEERS or “Muslim” Registration Was a Failed Post 9–11 Program and Must
     Come to an End, November 2016.

     American Constitution Society, Medium, Musings on Dreamers, Mass Deportations and a
     “Muslim Registry”, November 2016.

     Medium, Immigration Law and Policy After the Election: Six Key Points, November 2016

     Supreme Court of the United States Blog (SCOTUS Blog), Symposium: A meditation on
     history, law and loss, June 23, 2016.

     American Constitution Society. Beyond Deportation: Prosecutorial Discretion Requests
     After U.S. v. Texas, June 28, 2016.

     American Constitution Society. Reflections on Judge Hanen’s Reprimand. May 23, 2016.

     American Immigration Council, ImmigrationImpact. Understanding Justice Kennedy's
     Upside Down Argument, April 20, 2016.

     ImmigrationProf Blog. U.S. v. Texas – TRUE OR FALSE?, April 19, 2016.

     American Constitution Society. Notice and Comment Rulemaking in U.S. v. Texas, April
     15, 2016.

     Yale Law Journal on Regulation, Notice and Comment, Employment Authorization and
     Prosecutorial Discretion: The Case for Immigration Unexceptionalism, February 10, 2016.

     The Patriot-News, Trump's Muslim ban reeks of failed post-9/11 anti-Muslim policies,
     December 10, 2015.

     The Hill, 9-11 Flashback and Future Immigration Policy, December 9, 2015.

     The Hill, On the Anniversary of Obama's Immigration Announcement, November 21,
     2015.

     Centre Daily Times, Syrian Refugees and Moral Courage, November 21, 2015.

     The Hill, Immigration Argument at the Fifth Circuit, July 14, 2015.
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                                    3987
                                                                       Wadhia Resume Page 20


     Centre Daily Times, State College Raid: Reflections One Year Later, June 9, 2015.

     American Constitution Society. A President’s Constitutional and Faithful Execution of
     Immigration Law, January 19, 2016.

     American Constitution Society. Book Talk. Beyond Deportation: The Role of Prosecutorial
     Discretion in Immigration Cases, January 27, 2016.

     From the Square. NYU Press Blog. The Refugee Dilemma and the Broader Immigration
     Debate, December 11, 2015.

     American Constitution Society. Seeking to Understand the Fifth Circuit Ruling on
     Deferred Action, November 11, 2015.

     Crimmigration. Beyond Deportation: The Relationship Between                  Immigration
     Prosecutorial Discretion and Criminal Activity, August 4, 2015.

     From the Square. NYU Press Blog, Book Notes: Beyond Deportation, July 28, 2015.

     ImmigrationProf Blog. Law Professor Blogs, Work authorization for dreamers, a week of
     wonders and woes, July 17, 2015.

     ImmigrationProf Blog. Law Professor Blogs, Beyond Deportation, July 10, 2015.

     Centre Daily Times Raids, rights and the rule of law, June 24, 2014.

     The Hill Relics of ‘deferred action’, November 20, 2014.

     The Hill- Op-Ed To file or not to file Vargas’s Notice to Appear, July 17, 2014.

     Centre Daily Times State College Raid: Reflections One Year Later, June 9, 2015.

     ImmigrationProf Blog. Law Professor Blogs, Immigration Prosecutorial Discretion and
     Deportation, April 30, 2014.

     AILA Slip Opinion Blog. American Immigration Lawyers Association, Ninth Circuit
     Upholds the Rule of Law and Limits Chevron Deference for Children who “Age-Out”
     During the Green Card Process, October 2012.

     ImmigrationProf Blog. Law Professor Blogs, Deferred Action in Immigration Law: The
     Next Generation, June 28, 2012.

     AILA Leadership Blog. American Immigration Lawyers Association, DHS Releases Long-
     Awaited Memo on Controversial 9/11 Program (w. Denyse Sabagh), May 2012.
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                                                                       Wadhia Resume Page 21


     AILA Slip Opinion Blog. American Immigration Lawyers Association, Musings on the
     Visa Waiver Program, No-Right Waivers and the Age of Youth, March 2012.

     AILA Slip Opinion Blog. American Immigration Lawyers Association, Board Offers New
     Standard for Administrative Closure, and Highlights the Importance of Decisional
     Independence, February 2012.

     ImmigrationProf Blog. Law Professor Blogs, Prosecutorial Discretion and Post 9-11,
     December 2011.

     AILA Slip Opinion Blog. American Immigration Lawyers Association, Third Circuit
     Reflects on Unlawful Presence, Chevron, and the Importance of Prosecutorial Discretion,
     September 2011.

     ImmigrationProf Blog. Law Professor Blogs, White House's Review of Removal Cases,
     September 2011.

     ImmigrationProf Blog. Law Professor Blogs, 9/11 Registration and the Morton Memo, July
     2011.

     ImmigrationProf Blog. Law Professor Blogs, (w. Leon Wildes) Prosecutorial Discretion
     and the Legacy of John Lennon, July 2011.

     Co-founder and contributor to “Race Matters” blog: http://endnseers.blogspot.com/

     Advocacy - Law Professor Letters

     Co-author of letter to the White House supporting the legal authority of executive action
     in immigration law, signed by 136 law professors and featured in national press, Sept. 3,
     2014
         • Washington Post Lawyer’s agree: Obama has broad authority to act on
            deportations, Sept. 3, 2014

     Co-author of letter supporting President Obama’s deferred action programs announced
     signed by 135 law professors and featured in national press and at congressional hearings,
     Nov. 25, 2014:
         • Associated Press Bigstory Legal Scholars: Obama’s immigration actions lawful,
            Nov. 25, 2014

     Co-author of letter to the White House defending the legality of extending deferred action
     to the parents of DACA (Deferred action for Childhood Arrivals) recipients, Nov. 3, 2014
         • NBC News Law Profs: Legal To Include More Immigrant Parents In Exec Action,
             Dec. 3, 2014

     Co-author of law professor letter challenging Texas v. U.S. (March 2015), signed by 104
     immigration law scholars and featured in national press
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        •   NBC News Legal Experts: Ruling Blocking Immigration Action 'Deeply Flawed',
            March 13, 2015
        •   Law 360: Law Profs. Call Executive Action Injunction 'Deeply Flawed', March 13,
            2015

     OTHER EXPERIENCE

     Howard University School of Law, Washington DC
     Adjunct Faculty, January 2008-May 2008
     Taught 3 unit course on immigration law and policy

     American University, Washington College of Law, Washington DC
     Adjunct Faculty, Spring 2005-August 2008
     Taught 3 unit course on asylum and refugee law

     Indiana University, Bloomington, Indiana
     Teaching Assistant, Fall 1995
     Taught undergraduate course on American Political Science

     Georgetown University Law Center, Washington DC
     Research Assistant for T. Alexander Aleinikoff, 1997-1998

     District of Columbia Superior Court, Washington DC
     Legal Intern, Fall 1997

     Advice Desk for Abused Women, Durban, South Africa
     Legal Intern/Trainer, Summer 1997
     Monitored women’s collectives in rural regions of Zululand; Lived in a shelter for and
     counseled abused women and children; Wrote legal analysis of the Advice Desk for
     Abused Women’s activities

     Indian Social Institute, New Delhi, India
     Legal Researcher, Summer 1996
     Published legal analysis of girl-child prostitution in India; Conducted field work in village
     and slum areas of Delhi; wrote white paper on human rights education methods for women

     Department of Justice, Civil Rights Division, Washington DC
     Washington Semester Intern, Fall 1994
     Read and absorbed Title II of the American with Disabilities Act (ADA); Reviewed and
     assessed complaints falling under Title II of ADA



     VOLUNTEER WORK AND COMMUNITY SERVICE
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                                    3990
                                                                   Wadhia Resume Page 23


        •   Georgetown University Law Center Mentor, Public Interest Law Scholars Program,
            2006-2009
        •   National Lawyers Guild, Washington DC Chapter, Immigration Comm. Chair,
            2001-2004
        •   Florida Immigrant Advocacy Center, Legal Volunteer, Spring 1996 (one week
            intensive)
        •   Council for Community Accessibility, Bloomington, IN, Volunteer, 1995
        •   Monmouth Medical Center, Long Branch, NJ, Hospital Volunteer, 1988-1993-
            500+ hours
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                     EXHIBIT 2
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                                                                                                                 Number of Form I-821D,Consideration of Deferred Action for Childhood Arrivals,
                                                                                                                                     by Fiscal Year, Quarter, Intake, Biometrics and Case Status
                                                                                                                                                          Fiscal Year 2012-2017 (September 30)


                                                                                                                       Requests by Intake, Biometrics and Case Status



                                                                                       Intake1                                      Biometrics6                                        Case Review8
                                                                           Requests       Total Requests        Average             Biometrics         Requests Under
                      Period                       Requests Accepted   2
                                                                           Rejected3        Received4        Accepted/Day5          Scheduled7            Review9           Approved   10
                                                                                                                                                                                                      Denied11       Pending12
Fiscal Year - Total 6
2012                                                         152,431           5,395              157,826               3,629              124,055               38,024             1,680                        -        150,751
2013                                                         427,616          16,351              443,967               1,697              445,013               77,747           470,352                   10,975         97,040
2014                                                         238,900          24,887              263,787                 952              209,670              101,568           158,336                   20,992        156,612
   2014 Initial                                              122,424          19,127              141,551                 488                    -                    -           136,101                   20,989         62,374
   2014 Renewal                                              116,476           5,760              122,236               1,370                    -                    -            22,235                       D          94,238
2015                                                         448,856          35,474              484,330               1,781              525,499               48,355           510,007                   21,355         74,106
   2015 Initial                                               85,303           7,477               92,780                 338                    -                    -            90,613                   19,070         37,994
   2015 Renewal                                              363,553          27,997              391,550               1,443                    -                    -           419,394                    2,285         36,112
2016                                                         260,701          12,317              273,018               1,035               68,140                    -           198,702                   14,427        121,678
   2016 Initial                                               73,362           1,204               74,566                 291                    -                    -            52,789                   11,398         47,169
   2016 Renewal                                              187,339          11,113              198,452                 744                    -                    -           145,913                    3,029         74,509
2017                                                         472,873          43,429              516,302               1,884                    -                    -           462,713                   13,193        118,645
   2017 Initial                                                45,557             42                45,599                194                    -                    -            47,445                    9,248         36,033
   2017 Renewal                                               427,316         43,387               470,703              1,602                    -                    -           415,268                    3,945         82,612
Total Cumulative                                            2,001,377        137,853             2,139,230              1,541            1,372,377                    -         1,801,790                   80,942        118,645
   Total Cumulative Initial                                   906,693         49,596               956,289                698                    -                    -           798,980                   71,680         36,033
   Total Cumulative Renewal                                 1,094,684         88,257             1,182,941              1,305                    -                    -         1,002,810                    9,262         82,612
  Fiscal Year 2017 by Quarter 13
Q1. October - December                                       110,186           4,141              114,327               1,777                     -                     -        121,919                     2,720        107,225
     Q1. October - December Initial                           15,326              15               15,341                 247                     -                     -         18,239                     2,091         42,165
     Q1. October - December Renewal                           94,860           4,126               98,986               1,530                     -                     -        103,680                       629         65,060
Q2. January - March                                          132,784          19,266              152,050               2,142                     -                     -        124,700                     4,137        111,172
     Q2. January - March Initial                              10,419               8               10,427                 168                     -                     -         17,220                     3,024         32,340
     Q2. January - March Renewal                             122,365          19,258              141,623               1,974                     -                     -        107,480                     1,113         78,832
Q3. April - June                                              94,562           8,590              103,152               1,525                     -                     -        102,509                     3,705         99,520
     Q3. April - June Initial                                 10,977               8               10,985                 177                     -                     -          5,827                     2,719         34,771
   Q3. April - June Renewal                                   83,585           8,582               92,167               1,348                     -                     -          96,682                      986         64,749
Q4. July - September                                         135,341          11,432              146,773               2,115                                                    113,585                     2,631        118,645
   Q4. July - September Initial                                8,835              11                8,846                 138                                                      6,159                     1,414         36,033
   Q4. July - September Renewal                              126,506          11,421              137,927               1,977                                                    107,426                     1,217         82,612

D - Data withheld to protect requestors' privacy.
- Represents zero.
1
    Refers to a request for USCIS to consider deferred removal action for an individual based on guidelines described in the Secretary of Homeland Security's memorandum issued June 15, 2012.
      Each request is considered on a case-by-case basis.
      See http://www.uscis.gov/childhoodarrivals.
2
    The number of new requests accepted at a Lockbox during the reporting period.
3
    The number of requests rejected at a Lockbox during the reporting period.
4
    The number of requests that were received at a Lockbox during the reporting period.
5
    The number of requests accepted per day at a Lockbox as of the end of the reporting period. Also note the average accepted per day for initial plus renewal will not equal the total average.
6
    Refers to capture of requestors' biometrics.
7
    The number of appointments scheduled to capture requestors' biometrics during the reporting period.
8
    Refers to consideration of deferring action on a case-by-case basis during the reporting period.
9
    The number of new requests received and entered into a case-tracking system during the reporting period.
10
     The number of requests approved during the reporting period.
11
     The number of requests that were denied, terminated, or withdrawn during the reporting period.
12
     The number of requests awaiting a decision as of the end of the reporting period.
13
     Data on biometrics scheduled is not available past January 31, 2016. Totals reflect up to January 31, 2016.
NOTE: 1. Some requests approved or denied may have been received in previous reporting periods.
            2. The report reflects the most up-to-date estimate available at the time the report is generated.
Source: Department of Homeland Security, U.S. Citizenship and Immigration Services, Biometrics Capture Systems, CIS Consolidated Operational Repository (CISCOR), September 30th, 2017
                                                                                                         Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 48 of 1603 PageID #:
                                                                                                                                             3993

                                                                            Number of Form I-821D,Consideration of Deferred Action for Childhood Arrivals,
                                                                                                by Fiscal Year, Quarter, Intake, Biometrics and Case Status
                                                                                                                    Fiscal Year 2012-2017 (September 30)

                                                                                                                   Requests by Intake, Biometrics and Case Status



                                                                                  Intake1                                      Biometrics6                                      Case Review8
                                                                     Requests     Total Requests            Average            Biometrics          Requests Under
                   Period                       Requests Accepted2 Rejected3        Received4            Accepted/Day5         Scheduled7             Review9          Approved10              Denied11            Pending12
                                                                Accepted to Date1                                           Approved to Date2                                                                Accepted to Date1                           Approved to Date2                                                                            Accepted to Date1                           Approved to Date2
           Top Countries of Origin                                                                                                                                      Residence                                                                                                                               .
                                                     Initials        Renewals          Total                Initials            Renewals                Total                                  Initials            Renewals       Total      Initials        Renewals        Total                                                       Initials         Renewals        Total      Initials         Renewals        Total
Mexico                                                     705,125       857,475            1,562,600           627,666               785,675            1,413,341 California                      246,140              256,248    502,388     224,737          238,464       463,201 Arkansas                                                5,668            5,149        10,817        5,124            4,815         9,939
El Salvador                                                 34,430        41,531               75,961            28,754                37,843               66,597 Texas                           142,635              138,005    280,640     125,239          128,812       254,051 Alabama                                                 4,861            4,600         9,461        4,304            4,270         8,574
Guatemala                                                   24,852        27,219               52,071            20,187                24,706               44,893 New York                         51,462               80,850    132,312      43,138           72,637       115,775 Missouri                                                3,983            4,801         8,784        3,569            4,374         7,943
Honduras                                                    22,634        26,167               48,801            18,486                23,590               42,076 Missing                          16,517              100,782    117,299       9,768           89,320        99,088 Nebraska                                                3,848            3,932         7,780        3,399            3,603         7,002
Peru                                                         9,816        13,169               22,985             9,147                12,189               21,336 Florida                          41,582               67,495    109,077      33,631           59,249        92,880 Kentucky                                                3,517            3,777         7,294        3,084            3,423         6,507
South Korea                                                  7,893        12,832               20,725             7,309                11,964               19,273 Illinois                         46,279               45,797     92,076      42,701           42,833        85,534 Iowa                                                    3,211            3,841         7,052        2,826            3,483         6,309
Brazil                                                       8,591         9,963               18,554             7,429                 9,136               16,565 New Jersey                       26,479               37,351     63,830      22,471           33,654        56,125 Idaho                                                   3,427            3,335         6,762        3,158            3,113         6,271
Ecuador                                                      7,774         9,442               17,216             6,750                 8,558               15,308 Arizona                          31,040               29,458     60,498      28,028           27,350        55,378 Louisiana                                               2,492            3,285         5,777        2,089            2,946         5,035
Colombia                                                     7,285         9,221               16,506             6,631                 8,537               15,168 North Carolina                   29,881               26,798     56,679      27,515           25,169        52,684 Rhode Island                                            1,508            2,616         4,124        1,264            2,338         3,602
Philippines                                                  5,112         6,804               11,916             4,692                 6,390               11,082 Georgia                          29,058               28,162     57,220      24,322           26,047        50,369 Hawaii                                                    856            2,974         3,830          617            2,623         3,240
Argentina                                                    5,249         6,357               11,606             4,833                 5,876               10,709 Washington                       19,978               21,345     41,323      18,037           19,713        37,750 Delaware                                                1,645            1,902         3,547        1,461            1,755         3,216
India                                                        3,782         4,869                8,651             3,205                 4,496                7,701 Colorado                         19,351               17,677     37,028      17,369           16,497        33,866 Mississippi                                             1,723            1,704         3,427        1,476            1,578         3,054
Jamaica                                                      4,430         4,387                8,817             3,464                 4,025                7,489 Virginia                         14,350               19,207     33,557      12,357           17,382        29,739 District of Columbia                                      987            1,783         2,770          787            1,558         2,345
Venezuela                                                    3,481         4,283                7,764             3,119                 3,954                7,073 Nevada                           14,326               14,690     29,016      13,160           13,741        26,901 Puerto Rico                                               571            1,966         2,537          357            1,610         1,967
Dominican Republic                                           3,812         3,752                7,564             3,169                 3,428                6,597 Maryland                         11,845               15,976     27,821       9,957           14,350        24,307 Unknown                                                   233            1,738         1,971          139            1,494         1,633
Uruguay                                                      2,636         2,980                5,616             2,395                 2,709                5,104 Massachusetts                     9,955               17,248     27,203       8,172           15,174        23,346 New Hampshire                                             476            1,038         1,514          381              904         1,285
Bolivia                                                      2,232         3,005                5,237             2,080                 2,768                4,848 Oregon                           12,219               11,758     23,977      11,356           11,020        22,376 Wyoming                                                   699              653         1,352          624              608         1,232
Unknown                                                      2,724         2,744                5,468             2,067                 2,305                4,372 Indiana                          10,841                9,946     20,787       9,894            9,293        19,187 Alaska                                                    216              757           973          151              644           795
Costa Rica                                                   2,287         2,834                5,121             2,065                 2,623                4,688 Pennsylvania                      7,476               13,151     20,627       6,084           11,711        17,795 South Dakota                                              316              487           803          259              435           694
Poland                                                       1,998         2,407                4,405             1,808                 2,226                4,034 Utah                             10,617                9,124     19,741       9,749            8,533        18,282 Maine                                                     146              555           701          105              501           606
Chile                                                        1,907         2,446                4,353             1,763                 2,251                4,014 Michigan                          7,569               10,936     18,505       6,563            9,801        16,364 Guam                                                      115              556           671           68              492           560
Pakistan                                                     1,947         2,415                4,362             1,697                 2,222                3,919 Tennessee                         9,430                8,822     18,252       8,407            8,165        16,572 North Dakota                                              151              511           662          106              431           537
Tobago                                                       2,441         1,715                4,156             2,094                 1,702                3,796 Wisconsin                         8,252                7,786     16,038       7,610            7,278        14,888 Virgin Islands                                            168              353           521          104              314           418
Nicaragua                                                    1,900         2,114                4,014             1,601                 1,948                3,549 Minnesota                         7,116                8,914     16,030       6,324            8,004        14,328 West Virginia                                             157              333           490          118              286           404
Guyana                                                       1,483         1,748                3,231             1,277                 1,621                2,898 Oklahoma                          7,567                7,152     14,719       6,915            6,742        13,657 Montana                                                    92              250           342           77              222           299
                                                                                                                                                                   Kansas                            7,397                6,926     14,323       6,849            6,497        13,346 Vermont                                                    66              278           344           45              245           290
D Data withheld to protect requestors' privacy.                                                                                                                    Connecticut                       5,854                8,558     14,412       5,038            7,752        12,790 Armed Forces-Pacific                                       33              118           151           19              109           128
- Represents zero.                                                                                                                                                 New Mexico                        7,498                6,422     13,920       6,858            6,063        12,921 Armed Forces-Europe, Middle East, Africa, Canada           28              105           133           17               91           108
                                                                                                                                                                   South Carolina                    7,257                6,650     13,907       6,454            6,171        12,625 Armed Forces-Americas (except Canada)                      19               76            95           12               73            85
1
  The number of requests that were accepted to date of the reporting period.
                                                                                                                                                                   Ohio                              5,474                7,908     13,382       4,524            6,992        11,516 Northern Mariana Islands                                   32               32            64           11               25            36
2
  The number of requests that were accepted to date of the reporting period.
                                                                                                                                                                                                                                                                                      Not Reported                                                4               37            41            2               33            35
3
  All fields with less than 10 or a blank in the state field are included in the field "not reported."
NOTE: 1) Some requests approved or denied may have been received in previous reporting periods.
       2) The report reflects the most up-to-date estimate data available at the time the report is generated.
Source: Department of Homeland Security, U.S. Citizenship and Immigration Services, Biometrics Capture Systems, CIS Consolidated Operational Repository (CISCOR), September 2017
Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 49 of 1603 PageID #:
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                     EXHIBIT 3
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                                                                   Page 1

  1                      UNITED STATES DISTRICT COURT
  2                    NORTHERN DISTRICT OF CALIFORNIA
  3                         SAN FRANCISCO DIVISION
  4
         THE REGENTS OF THE UNIVERSITY OF   ) Case No.
  5      CALIFORNIA and JANET NAPOLITANO,   ) 17-CV-05211-WHA
         in her official capacity as        )
  6      President of the University of     )
         California,                        )
  7                                         )
                   Plaintiffs,              )
  8                                         )
              v.                            )
  9                                         )
         U.S. DEPARTMENT OF HOMELAND        )
 10      SECURITY and ELAINE DUKE, in her   )
         official capacity as Acting        )
 11      Secretary of the Department of     )
         Homeland Security,                 )
 12                                         )
                   Defendants.              )
 13      -----------------------------------)
         AND RELATED CASES.                 )
 14      -----------------------------------)
 15                              - - -
 16                       Tuesday, October 17, 2017
 17                              - - -
 18
 19           Videotaped deposition of JAMES McCAMENT,
 20      taken at the offices of Gibson, Dunn & Crutcher,
 21      1050 Connecticut Avenue NW, Washington, D.C.,
 22      beginning at 9:14 a.m., before Nancy J. Martin, a
 23      Registered Merit Reporter, Certified Shorthand
 24      Reporter.
 25

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                                    3996


                                                                   Page 2

  1      A P P E A R A N C E S :
  2
  3                  STATE OF CALIFORNIA
                     DEPARTMENT OF JUSTICE
  4                  OFFICE OF THE ATTORNEY GENERAL
                     BUREAU OF CHILDREN'S JUSTICE
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  9
 10                  COVINGTON & BURLING LLP
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 13                  aberengaut@cov.com
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 14                  mcrowley@cov.com
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 15                  California and Janet Napolitano
 16
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 18                       HALEY MORRISSON, ATTORNEY AT LAW
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 19                  Washington, D.C.   20036
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 20                  edettmer@gibsondunn.com
                     hmorrisson@gibsondunn.com
 21                  Representing the Garcia Plaintiffs
 22
 23
 24
 25

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                                                                    Page 3

   1      A P P E A R A N C E S :     (CONTINUED)
   2
   3
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   4                  BY: JOSHUA ROSENTHAL, ESQ.
                           KAREN TUMLIN, ATTORNEY AT LAW
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   6                  Washington, D.C.   20005
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   7                  rosenthal@nilc.org
                      ktumlin@nilc.org
  8                   Representing Batalla Vidal Plaintiffs
  9
 10                   STATE OF NEW YORK
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 11                   BY: SANIA W. KHAN, ASSIST. ATTORNEY GENERAL
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 12                   120 Broadway
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 13                   (212) 416-8534
                      sania.khan@ag.ny.gov
 14                   Representing plaintiff states and New York,
                      et al. v. Trump, et al.
 15
 16
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 17                   OFFICE OF THE GENERAL COUNSEL
                      BY: REID COX, ASST. GEN. COUNSEL
 18                   Washington, D.C.    20528
                      (202) 447-3891
 19                   rene.browne@hq.dhs.gov
                      reid.cox@hq.dhs.gov
 20
 21                   U.S. DEPARTMENT OF JUSTICE
                      CIVIL DIVISION
 22                   BY: JOSHUA E. GARDNER, ASST. DIRECTOR
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 23                   Washington, D.C.   20530
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 24                   joshua.e.gardner@usdoj.gov
                      Representing the U.S. Department of Justice
 25                   and the Deponent

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                                                                   Page 4

  1      A P P E A R A N C E S :           (CONTINUED)
  2
                     U.S. DEPARTMENT OF JUSTICE
  3                  CIVIL DIVISION
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                     (202) 514-1280
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                     kate.bailey@usdoj.gov
  7
  8
                ALSO PRESENT:
  9
                     DAVID CAMPBELL, Legal Videographer
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25

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   1                              I N D E X
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   2
          TESTIMONY OF JAMES McCAMENT
   3
          BY MR. DETTMER                                            9
   4
          BY MS. CROWLEY                                            232
   5
          BY MR. LEE                                                244
   6
          BY MR. ROSENTHAL                                          284
   7
          BY MS. KHAN                                               296
  8
  9                            E X H I B I T S
 10       NUMBER        DESCRIPTION                                 PAGE
 11       Exhibit 6     Statement of Michael Dougherty              16
                        before the United States Senate,
 12                     Committee on the Judiciary, October
                        3, 2017, 4 pages
 13
          Exhibit 7     CQ Congressional Transcripts, 118           16
 14                     pages
 15       Exhibit 8     James McCament, Acting Director,            26
                        U.S. Citizenship and Immigration
 16                     Services, Experience and
                        Achievements, 1 page
 17
          Exhibit 9     U.S. Department of Homeland                 53
 18                     Security Organizational Chart, 25
                        pages
 19
          Exhibit 10    Declaration of James W. McCament,           56
 20                     3 pages
 21       Exhibit 11    "How Do I Request Consideration of          137
                        Deferred Action for Childhood
 22                     Arrivals?" 3 pages
 23       Exhibit 12    DACA Overview, 32 pages                     151
 24       Exhibit 13    "Don't Let Your Work Permit                 171
                        Expire," 2 pages
 25

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  1                            E X H I B I T S
  2                              (CONTINUED)
  3      NUMBER         DESCRIPTION                                      PAGE
  4      Exhibit 14     DACA Frequently Asked Questions,                 174
                        20 pages
  5
         Exhibit 15     USCIS Number of Form I-821D,                     182
  6                     Request by Intake Biometrics and
                        Case Status, 2 pages
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  8      15-A           of Form I-821D, Request by Intake
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 10      Exhibit 16     I-821D, Consideration of Deferred                189
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 11                     pages
 12      Exhibit 17     National Standard Operating                      215
                        Procedures, SOP, Deferred Action
 13                     for Childhood Arrivals, DACA.
 14      Exhibit 18     Department of Homeland Security,                 217
                        statement from Acting Secretary
 15                     Duke on rescission of deferred
                        action for childhood arrivals,
 16                     release date is September 5, 2017
 17      Exhibit 19     Letter dated July 21, 2017 from                  257
                        the Office of the Attorney General
 18                     of the State of California to the
                        President of the United States
 19
         Exhibit 20     Email string, DHS 7 - 9, 3 pages                 287
 20
         Exhibit 21     Question #20, DACA Adjurations                   292
 21                     3, 2 pages
 22
                                 EXHIBITS PREVIOUSLY MARKED
 23
                        NUMBER                                          PAGE
 24
                        Exhibit 3                                        193
 25

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                                                                   Page 7

  1      WASHINGTON, D.C., TUESDAY, OCTOBER 17, 2017; 9:14 A.M.
  2                                     -OoO-
  3                   THE VIDEOGRAPHER:       Good morning.     We are
  4      going on the record at 9:14 on October 17, 2017.
  5      Please note that the microphones are sensitive and may
  6      pick up whispering and private conversations.               Please
  7      turn off all cell phones or place them away from the
  8      microphones as they may interfere with the deposition
  9      audio.      Audio and video recording will continue to
 10      take place unless all parties agree to go off the
 11      record.
 12                   This is Media Unit 1 of the video recorded
 13      deposition of James McCament in the matter of the
 14      Regents of the University of California and Janet
 15      Napolitano, in her official capacity as president of
 16      the University of California, V. United States
 17      Department of Homeland Security and Elaine Duke in her
 18      official capacity as acting secretary of the
 19      Department of Homeland Security and other related
 20      cases.
 21                   This is in the U.S. District Court, Northern
 22      District of California, San Francisco Division.                 This
 23      deposition is being held at Gibson, Dunn located at
 24      1050 Connecticut Avenue, Northwest, Washington, D.C.,
 25      20036.      My name is David Campbell from the firm

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                                                                   Page 8

  1      Veritext.       And I'm the videographer.
  2                    The court reporter is Nancy Martin from the
  3      firm Veritext.       I am not authorized to administer an
  4      oath.       I'm not related to any party in this action,
  5      nor am I financially interested in the outcome.
  6                    Counsel, will you please identify yourselves
  7      for the record.          Then the witness will be sworn in,
  8      and we can proceed.
  9                    MR. DETTMER:      Ethan Dettmer from Gibson, Dunn
 10      on behalf of the plaintiffs in the Garcia action.
 11                    MS. MORRISON:       Haley Morrisson from Gibson,
 12      Dunn on behalf of the Garcia plaintiffs.
 13                    MS. CROWLEY:      Megan Crowley from Covington &
 14      Burling on behalf of the Regents of the University of
 15      California and President Napolitano.
 16                    MR. LEE:     Ronald Lee with the California
 17      Attorney General's office on behalf of the State of
 18      California.
 19                    MR. NEWMAN:      Michael Newman of the California
 20      Attorney General's office on behalf of the State of
 21      California.
 22                    MS. KHAN:     Sania Khan from the New York
 23      Attorney General's office on behalf of plaintiff
 24      states and New York, et al.
 25                    MR. ROSENTHAL:       Joshua Rosenthal of the

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                                                                   Page 9

  1      National Immigration Law Center on behalf of the
  2      plaintiffs, Batalla Vidal.
  3                   MS. TUMLIN:     Karen Tumlin of the National
  4      Immigration Law Center on behalf of the Batalla Vidal
  5      plaintiffs.
  6                   MS. ZENGOTITABENGOA:         Colleen Zengotitabengoa
  7      of USCIS.
  8                   MS. WESTMORELAND:       Rachel Westmoreland of the
  9      United States Department of Justice.
 10                   MR. COX:   Reid Cox, the General Counsel's
 11      Office of the Department of Homeland Security.
 12                   MR. GARDNER:     Josh Gardner of the Department
 13      of Justice, and the witness will reserve the right to
 14      read and sign.
 15
 16                              JAMES McCAMENT,
 17                  having been first duly sworn/affirmed,
 18                  was examined and testified as follows:
 19
 20                                  EXAMINATION
 21      BY MR. DETTMER:
 22             Q.    Thanks for being here today, Mr. McCament.
 23      We met briefly off the record.              My name is Ethan
 24      Dettmer, and I represent the plaintiffs in one of
 25      these cases, the Garcia case, which was filed in

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                                                                   Page 10

  1      San Francisco.        So let's start.          Can you give me --
  2      give us your full name.
  3             A.   Certainly.     James Wesley McCament.
  4             Q.   Are you a lawyer?
  5             A.   I am.
  6             Q.   All right.     Have you ever been deposed
  7      before?
  8             A.   I have not.
  9             Q.   Ever given testimony in a trial or an
 10      arbitration?
 11             A.   No, I've not.
 12             Q.   All right.     Given testimony before Congress;
 13      is that right?
 14             A.   I have.
 15             Q.   On how many occasions?
 16             A.   Once.
 17             Q.   And that was two weeks ago today, if I'm not
 18      mistaken?
 19             A.   That's correct.
 20             Q.   That was testimony for a hearing on the
 21      oversight of the administration's decision to end
 22      deferred action for childhood arrivals, and that was
 23      before the Senate committee on the judiciary; is that
 24      right?
 25             A.   Yes to both.

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                                                                  Page 11

  1             Q.    Okay.     Let me ask you what did you do to
  2      prepare for that testimony, the Senate testimony we
  3      just mentioned?
  4             A.    For the Senate testimony?
  5             Q.    Yes.
  6             A.    I met with members of the USCIS team.           I
  7      reviewed the -- there's a hearing book, which has
  8      standard materials regarding the DACA program, as well
  9      as possible questions to be asked by members of
 10      Congress on other topics.
 11             Q.    Okay.     The hearing -- I'm sorry.       I didn't
 12      mean to cut you off.
 13             A.    So the hearing book, and I'm sure just other
 14      materials with respect to statistics on the DACA
 15      program, the wind-down.
 16             Q.    Okay.     The hearing book that you just
 17      mentioned, was that assembled by members of your team?
 18             A.    It was.
 19             Q.    Okay.     Do you have an estimate of how much
 20      time you spent preparing for that testimony?
 21             A.    I was -- I would estimate it was several
 22      hours.      Actually, quite a few hours, I suppose.
 23      Probably about 8 to 12 hours, perhaps, over the
 24      two-week period from the time I was invited to testify
 25      to the hearing perhaps, approximately.

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                                                                  Page 12

  1             Q.   And the topic of that hearing was the
  2      rescission of the DACA program; right?
  3             A.   Right.
  4             Q.   And just so we're all on the same page, you
  5      know what I'm talking about when I talk about "DACA";
  6      right?
  7             A.   Yes.
  8             Q.   Deferred Action for Childhood Arrivals
  9      Program?
 10             A.   Yes.
 11             Q.   Let me ask you just a couple of questions
 12      around that testimony.
 13             A.   Uh-huh.
 14             Q.   First, do you agree that DACA holders are a
 15      benefit to our country?
 16             A.   Yes.     I believe that the DACA holders, as I
 17      stated in my testimony, as well, are folks who have
 18      requested DACA over these last five years, are in
 19      various sectors, educational, business, and so they
 20      contribute to the economy and contribute to the
 21      sectors in which they work.
 22             Q.   Okay.     And you agree that they make a
 23      valuable contribution to our society?
 24             A.   I agree, and I think, you know, all those --
 25      many in the immigrant system, those in the immigrant

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  1      system make contributions across all sectors of
  2      society.
  3             Q.   Do you also agree that it makes sense to
  4      regularize their status through some legal means?
  5             A.   I think that the regularization of status as
  6      being discussed in Congress now, in the immigration
  7      system any time there's a capacity within the right
  8      bounds of laws and protections for regularization of
  9      status, that's to the benefit of our immigration
 10      system.
 11             Q.   And, in your view, why is that?
 12             A.   So our immigration history, our system back
 13      to the founding of the nations, and our immigrants
 14      have made many great contributions.                And therefore, I
 15      think when immigrants are in a regularized status, it
 16      certainly contributes to society.
 17                  Secondly, for law enforcement purposes as
 18      well, it assists in the fact that the status is
 19      regularized, and therefore, we know, as we do with
 20      everyone in the immigrant system, we know who people
 21      are, they're identified, they're contributing to
 22      society.
 23             Q.   Okay.   Any other reasons you can think of as
 24      you sit here today?
 25             A.   For the regularization of status?

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  1             Q.   Right.
  2             A.   As I mentioned, the contribution to society,
  3      the legalization benefits overall, and I think
  4      generally, any time that we, as I said previously,
  5      that we have folks in the legal system, it helps us in
  6      USCIS, DHS, DOJ administer the immigration system more
  7      effectively.
  8             Q.   Let me switch gears a little bit.
  9             A.   Sure.
 10             Q.   Do you agree that rescinding DACA will create
 11      disruptions for the DACA holders?
 12             A.   To rescind DACA as we have, DHS, and USCIS
 13      have, absent another solution, leaves those DACA
 14      requesters and recipients without a future status as
 15      their employment authorization documents begin to
 16      expire.     But for that reason, the hope is that
 17      Congress will provide a permanent solution for that
 18      population.
 19             Q.   Can you identify the disruptions that you see
 20      for the DACA holders.        What are they, in your view?
 21             A.   So DACA is an act of prosecutorial
 22      discretion, deferring action on someone's case.                So
 23      absent legislative action or permanent action to your
 24      previous question regarding regularization of status,
 25      as DACA holders begin to expire, or their EAD begins

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  1      to expire, they would not be able to work, or lawfully
  2      work.
  3                   In addition, they are -- the status that they
  4      held, if they held a status prior to the grant of
  5      DACA, they revert to that.           And therefore, if that
  6      status begins to expire, then that's subject to law
  7      enforcement within appropriate bounds for ICE and
  8      other law enforcement agencies which are A, outside of
  9      my purview, USCIS, and B, subject to guidelines.
 10              Q.   And -- I'm sorry.
 11              A.   No.   Sorry.   So then I would say the other
 12      harm, to your question for DACA requesters and
 13      recipients as the benefits begin to expire, is that
 14      they are no longer -- they don't have that legal
 15      status, but they never really did.                 They had a
 16      deferred action that allowed them to have employment
 17      authorization.
 18                   If they don't, then that limits their options
 19      here in the United States, ultimately, for work, for
 20      employment and to really be in the legal immigration
 21      system, which I think is not wise and why we hope that
 22      there's a legislative solution, because that,
 23      statutorily, provides the only permanent protection or
 24      permanent status for them.
 25              Q.   Have you finished your answer?

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  1             A.   I have.
  2             Q.   One of the things I'll get to in a second,
  3      having not been in a deposition, it's important for us
  4      not to talk over each other.             I think I've violated
  5      that rule a couple times already.                  So I apologize.
  6      But if we can both try to make the court reporter's
  7      life easier --
  8             A.   Yes.
  9             Q.   -- then that would be good for us all.
 10                  So one of the harms, I mean to make it real
 11      simple, is that the DACA holders, once DACA has
 12      rescinded, are much more subject to removal from the
 13      country; right?
 14             A.   Because they no longer hold the status of or
 15      have received deferred action.              Once that deferred
 16      action has expired, they're subject to law enforcement
 17      within the actions and prioritization of ICE and
 18      others.
 19                  MR. DETTMER:     So I'm going to ask the court
 20      reporter to mark two exhibits.              It should be 6 and 7,
 21      I believe.
 22                  (Deposition Exhibits 6 and 7 were marked
 23                  for identification.)
 24                  MR. DETTMER:     Unfortunately, I don't have
 25      enough copies for everybody.             Maybe we can share.

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  1              Q.     So for the record, Exhibit 6 is a four-page
  2      document.        The title is "Statement of Michael
  3      Dougherty and James McCament" -- I'm leaving out the
  4      titles -- "for a hearing on oversight of the
  5      administration's decision to end deferred action for
  6      childhood arrivals," dated October 3, 2017.
  7                     And Exhibit 7 is a 118-page printout from the
  8      Internet.        The top line says, "CQ congressional
  9      Transcripts."           So let's start with Exhibit 6.
 10              A.     Sure.
 11              Q.     Do you recognize that document?
 12              A.     I do.
 13              Q.     And what is it?
 14              A.     It is the joint testimony by myself and
 15      Michael Dougherty, written testimony.
 16              Q.     Okay.     So you and Mr. Dougherty wrote this
 17      document, submitted it to Congress in advance of your
 18      testimony?
 19              A.     Yes.
 20              Q.     And how did this get written?           Did you two
 21      actually write it, or did someone write it for you and
 22      you edited?           How did this come to be?
 23              A.     So we edited it.         It was a joint product of
 24      the department.           In other words, Michael Dougherty's
 25      team.        And I was also provided with a draft to provide

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  1      edits.
  2                  And if I may go back to an earlier question.
  3             Q.   Sure.
  4             A.   You had asked with respect to preparation for
  5      the testimony, and I had referenced working with my
  6      own team, as I understood the question.               But to also
  7      note, Michael Dougherty and I met and did a joint prep
  8      with the department as well.             So just to clarify the
  9      answer.
 10             Q.   No, I appreciate that.            And that actually
 11      brings up another sort of rules of the road point that
 12      I think is important.        If during the course of the day
 13      something comes to you, "I left this out" or "I want
 14      to clarify something," please feel free to do that.
 15             A.   Good.   Thank you.
 16             Q.   Do you recognize Exhibit 7?            This is
 17      something printed from the Internet, and I don't want
 18      you to look at the whole thing and I'm not asking you
 19      to verify that the whole thing is true, but I will
 20      point you to a few sections that I want to talk about.
 21                  But you recognize that congressional
 22      testimony is typically reported; right?
 23             A.   I do.
 24             Q.   Okay.
 25             A.   Yes.

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  1             Q.   Any reason to doubt that this is an accurate
  2      transcription of what was said that day?
  3             A.   No reason to doubt, although as you noted,
  4      this is the CQ print, and the usual protocol is that
  5      edits are made to a transcript if there are any --
  6             Q.   Okay.     Is that something you either have done
  7      or plan on doing, go through the transcript and make
  8      corrections?
  9             A.   We have received the transcript recently.                  I
 10      don't believe that there are any -- I don't recall
 11      that there are any corrections that I would be making,
 12      but I don't believe that has formally gone back to the
 13      committee.     In fact, if I may, to your earlier point,
 14      amend.
 15             Q.   Sure.
 16             A.   I believe what we received is the CQ
 17      transcript.     Protocolwise, we would receive a formal
 18      transcript with a line by line annotation for review
 19      and editing, as with all congressional testimony.                  I
 20      do not know if we've received that as yet, but it is
 21      only two weeks since the testimony.                 So it may be that
 22      we have not, and that would be the space to really go
 23      line by line for review.
 24             Q.   Got it.
 25             A.   So to that, I don't believe we've received

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  1      that piece to look at.
  2             Q.   Got it.     So let me ask you to turn to Page 37
  3      of that Exhibit 7.        I'm actually going to turn over to
  4      the next page.        But just to identify the first speaker
  5      on Page 38 of this version, it's Senator Graham?
  6             A.   Uh-huh.
  7             Q.   And then you see the question he asks there
  8      for -- to Mr. Dougherty, and I'm reading the second
  9      sentence.     "Do you believe the dream act kids on a
 10      whole -- I mean there's always outliers in any large
 11      group -- add value to the country or they're a
 12      liability?"
 13                  And you see Mr. Dougherty's answer there.
 14      I'll read it for the record.              "They're a benefit to
 15      the country as are many immigrants coming in.               I
 16      served as the ombudsman.           I naturalized people to
 17      become U.S. citizens.         It means a great deal.        They're
 18      a valuable contribution to our society.              We need to
 19      regularize status through some legal means."
 20                  Senator Graham then asks, "Do you agree with
 21      that, Mr. McCament?"
 22                  And you answer, "I do, Senator."
 23             A.   Uh-huh.
 24             Q.   What I've just read, is that an accurate
 25      transcription of the testimony that you were at two

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  1      week ago?
  2             A.   It is what I recall, as written, yes.
  3             Q.   Thank you.     All right.          It probably makes
  4      sense --
  5                  And you can just leave those.
  6             A.   Okay.
  7             Q.   -- to go over a little bit more of the ground
  8      rules of a deposition given that you have not given
  9      one before.
 10             A.   Thank you.
 11             Q.   And I assume you've had some chance -- and
 12      we'll talk about this -- to talk with the lawyers
 13      representing you just to talk about how this happens,
 14      but I'll give you some rules of the road.
 15             A.   Thanks.
 16             Q.   So as you know, the court reporter is taking
 17      down everything we say, at least when we're on the
 18      record, and the videographer is also videotaping what
 19      we're doing here and recording our voices.                You've
 20      taken an oath.        It's the same oath that you'd take if
 21      you were testifying in a courtroom, and your testimony
 22      has the same effect as if you were in a courtroom.
 23      Does that make sense to you?
 24             A.   It does.
 25             Q.   Okay.     Can you think of any reason,

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  1      medication, anything like that, why you can't give
  2      your best testimony today?
  3             A.   No.
  4             Q.   So we've already talked about not talking
  5      over each other.        I'm sure we will do that, but we'll
  6      do our best not to, if that's fair.
  7             A.   Fair.
  8             Q.   If I ask you a question that isn't clear to
  9      you, which I'm sure I will do, please ask me to
 10      rephrase it.        I'll do my best to ask a very clear
 11      question so you understand what I'm asking, but please
 12      do feel free to ask me if you don't understand my
 13      question.     Will you do that?
 14             A.   I will.
 15             Q.   Now, one or more of the many lawyers in this
 16      room may make an objection to my questions.              Though I
 17      try very hard to ask unobjectionable questions, I
 18      won't always succeed.         Unless you're directed not to
 19      answer the question on the basis of privilege, you
 20      still answer the question.            The objections, for the
 21      most part, are just made for the record for a judge to
 22      consider later.
 23             A.   I see.
 24             Q.   So you can, you know, obviously wait until
 25      the objection is over, and then go ahead and answer

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  1      the question unless you've been directed not to.
  2             A.   Okay.
  3             Q.   If you need a break, let me know.           This is
  4      not an endurance test.          So feel free to ask.       I'll try
  5      to shoot to take a break every hour or so.
  6             A.   That would be good.           Thank you.
  7             Q.   All right.     So switching fields again, what
  8      did you do to prepare for the deposition today?
  9             A.   I met with my Department of Justice counsel
 10      and Department of Homeland Security counsel and our
 11      USCIS counsel yesterday.
 12             Q.   Okay.    Who was there?
 13             A.   Actually, the four -- for the purposes of the
 14      video and the transcript.            So Josh, Reid, Rachel, and
 15      Colleen, and in addition, two other folks, Amora Uiy,
 16      who also works with Colleen in the USCIS office of
 17      chief counsel.
 18             Q.   Okay.    Anybody else there?
 19             A.   And an advisor on my team, Jessica Shaw
 20      Nelson.
 21             Q.   She's a non-lawyer advisor?
 22             A.   She is a lawyer but on detail to my office as
 23      a non-lawyer.       Well, as an advisor.
 24             Q.   Got you.     And I'm not going to ask what
 25      exactly you talked about.            That's privileged.     How

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  1      long did you spend meeting to prepare for this?
  2             A.   I believe it was from 11:30 to about 4:30 or
  3      5:00, as I recall.
  4             Q.   And did you review documents?
  5             A.   Prior to or during?
  6             Q.   Good question.       Let's start with prior to.
  7      Did you review documents prior to the meeting?
  8             A.   I did not.
  9             Q.   Did you review documents during the meeting?
 10             A.   I did not review any documents that were sort
 11      of provided to refresh.          I did look at a couple of
 12      documents in the prep.
 13             Q.   Okay.   Can you explain that distinction that
 14      you just made?      I'm not sure I follow.
 15             A.   Sure.   I had looked at one document, which
 16      was the letter from the state attorney general in
 17      Texas, Ken Paxton.
 18             Q.   Okay.
 19             A.   Just happened -- I mean as part of the
 20      discussion.
 21             Q.   Okay.   Any other documents that you looked
 22      at?    Can you remember?
 23             A.   I don't recall any others as far as that.              I
 24      may exercise the point as we go along --
 25             Q.   Sure.

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  1             A.   -- if more comes to mind, but the Paxton
  2      letter I remember.
  3             Q.   Do you think there were other documents and
  4      you can't remember what they were, or you don't think
  5      there were and something may come to you?
  6             A.   I think the only thing to that question, the
  7      only other one that I recall is the Secretary's memo,
  8      which was to myself and Tom Homan and Kevin McAleenan
  9      and the others listed.
 10             Q.   The rescission memo?
 11             A.   The rescission memo.           And I believe those
 12      were the only two.
 13             Q.   Okay.   Did you bring any documents with you
 14      today?
 15             A.   I did not.
 16             Q.   Do you believe that your memory as to the
 17      issues surrounding the rescission of DACA are
 18      sufficiently refreshed to give a deposition today?
 19             A.   I believe my memory is pretty good, yes.
 20             Q.   Okay.   And how about as to the DACA program
 21      generally?
 22             A.   Generally good.        I don't ascribe to every
 23      detail, but yes.
 24                  MR. DETTMER:      Okay.       I'll ask the court
 25      reporter to mark this as Exhibit 8.

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  1                  (Deposition Exhibit 8 was marked for
  2                  identification.)
  3      BY MR. DETTMER:
  4             Q.   And while you're looking at that, for the
  5      record, Exhibit 8 is a one-page printout from the
  6      website USCIS.GOV.       The title is "James McCament
  7      Acting Director U.S. Citizenship and Immigration
  8      Services."
  9                  Do you recognize this document, Mr. McCament?
 10             A.   I do.
 11             Q.   Describe what it is, please.
 12             A.   It is an overview of my experience and
 13      achievements posted on the USCIS.GOV website.
 14             Q.   And is this accurate as you're sitting here
 15      today?
 16             A.   Yes.
 17             Q.   Actually, I am curious on one background,
 18      just an aside.      What do you teach at the Antonin
 19      Scalia Law School?
 20             A.   I teach homeland security law and policy.
 21             Q.   How long have you been doing that?
 22             A.   Since January of 2010, with the exception of
 23      a couple of semesters, including this one.
 24             Q.   And does that cover matters related to
 25      immigration?

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  1              A.   It does, and a seminar summary course on
  2      multiple DHS topics, but it includes immigration as
  3      one or two modules.
  4              Q.   Okay.   And have you taught anything related
  5      to DACA in that class?
  6              A.   No, I have not.
  7              Q.   Okay.   So let me focus on a period beginning
  8      in 2012.      That's when DACA was first initiated; right?
  9              A.   Yes.
 10              Q.   In 2012, if I'm reading this right, you were
 11      working as the chief of the USCIS Office of
 12      Legislative Affairs; is that correct?
 13              A.   Yes.
 14              Q.   Can you describe what that job was at the
 15      time?
 16              A.   Certainly.     The Office of Legislative Affairs
 17      in USCIS has, from my perspective, two main purposes,
 18      and that is this.         First, as with all legislative
 19      affairs, functions, and offices in various agencies
 20      and departments, liaising with Congress, managing
 21      hearings, managing provision of information to
 22      committees, general communications.                  Establishing
 23      meetings with members of Congress for leadership.                   And
 24      so that is what I would say is the traditional part of
 25      legislative affair operations representing the agency.

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  1                  Part 2, which is more unique, is responding
  2      to case work, and there is a significant amount of
  3      case work handled by USCIS, and therefore, of strong
  4      interest to members of Congress and their staff for
  5      their constituents.
  6             Q.   Can you explain what that means, "responding
  7      to case work"?
  8             A.   Certainly.     USCIS receives each year millions
  9      of cases which are filed with our agency.                Those
 10      trigger congressional inquiries when members of
 11      Congress and their staff receive questions about how a
 12      case is handled, where it is in the process, or other
 13      questions related to that case.                As a consequence --
 14      or consequence as an effect, I should say, better
 15      said, the immigration case work is handled usually by
 16      at least one person in a member of Congress' office,
 17      be it a senator or a congressman or more than one
 18      person.
 19                  Our role in USCIS, the second tranche I said
 20      that was a bit unique was to work across the country
 21      with the staffs, largely and members, as they have
 22      questions, utilizing approximately 140 to 150 or more
 23      congressional liaisons that work for USCIS but across
 24      the country work on those case inquiries.
 25                  So status of that case, where it is, and

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  1      generally, questions about why it has not been
  2      approved or other questions.             Not surprisingly, that
  3      requires a good amount of finesse and providing of
  4      information.     So those were the two branches or
  5      opportunities that we had in legislative affairs, the
  6      second a bit more unique.
  7             Q.   So you were in that job, if I'm reading this
  8      right, in 2012 when DACA was first put into effect
  9      through May of 2014; is that right?
 10             A.   Through May of 2014, at which time while
 11      still titled as the head of legislative affairs, I
 12      then began serving as, for a couple of months, the
 13      acting chief of staff, and then for a longer duration
 14      until 2015 as deputy chief of staff.
 15             Q.   In your role as chief of the office of
 16      legislative affairs, what do you remember your
 17      responsibilities being with respect to DACA
 18      specifically?
 19             A.   So DACA, the 2012 launch.              I can lay out a
 20      couple of different points, especially at the
 21      beginning, which, so in the -- first was the initial
 22      announcement of DACA in June of 2012, and then the
 23      2nd, August of 2012, at which point the program became
 24      operational.     In June 15 of 2012 I received
 25      notification the morning that Secretary Napolitano's

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  1      memo was to be released, advised that the memo was to
  2      be released, and this was to be announced.
  3                  In keeping with my role as the head of
  4      legislative affairs, normally there would be keen
  5      congressional interest.
  6                  And then from June until August as the
  7      program was being stood up, as I recall -- and this
  8      may bleed over past August 2012 with the actual
  9      operational launch of DACA, I did participate and lead
 10      at least one, but I believe there were more,
 11      congressional calls, conference calls to walk through
 12      the details of the DACA program.
 13                  And that is a fairly standard practice, not
 14      always, in legislative affairs work, certainly USCIS,
 15      to provide detailed information if it is of interest
 16      to Capitol Hill in a broader setting than one to one
 17      to each of the 535 members of Congress in order to
 18      avoid confusion and discuss the parameters.
 19                  So we had a couple of calls, I think it was
 20      in that interim walking through, and then after August
 21      and the launch there would have been, I believe, at
 22      least one other call with the launch.              But again,
 23      that's five years ago, and I did not go back to sort
 24      of try to reflect on that.
 25                  And then subsequent, as with all the many

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  1      benefits that USCIS administers, we would provide
  2      answers to questions, and whether DACA or other
  3      benefit types, and that's more in the standard
  4      process.
  5             Q.   The case work process that you mentioned,
  6      you'd get --
  7             A.   Correct.
  8             Q.   -- inquiries about specific cases, what's
  9      going on with the DACA presentation?
 10             A.   Correct.    Parameters, as with all the other
 11      benefit types.
 12             Q.   Did you have any other responsibilities or
 13      interactions with the DACA program in your role as
 14      chief of office of legislative affairs?
 15             A.   Not that I recall beyond those broad
 16      parameters.     Again, to emphasize, given the number of
 17      benefits, and in this case, requests with respect to
 18      DACA, over those years we would answer questions
 19      responsive to Congress and/or provide information if
 20      testimony was being drafted.             So I just want to sort
 21      of make that point as far as the broad scope after
 22      that, in my view, began to fall into the other
 23      categories at work to which we respond.
 24             Q.   Do you remember how you got the information
 25      to -- about DACA to give to Congress?

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  1             A.   As I recall -- again, five years ago, but I
  2      do, yes.     I do remember the process.
  3             Q.   Describe that, please.
  4             A.   Certainly.     Again, it was after the June
  5      announcement.       A script was prepared to lay out the
  6      parameters of DACA and explain the application
  7      process.     At that point, I would have to say that
  8      maybe -- I may be bleeding over into post August --
  9      right? -- because June to August USCIS was building
 10      the program, but I do recall that we had a PowerPoint
 11      slide deck to walk through each of the points of what
 12      was announced in the Secretary's memo.
 13             Q.   Do you remember in that time period, that
 14      June to August time period of 2012, who was
 15      responsible for the rollout of DACA?
 16             A.   Can you explain that a bit more as far as --
 17             Q.   Sure.    You just mentioned --
 18             A.   Please, sorry.
 19             Q.   That time period was when DACA was being
 20      rolled out; right?
 21             A.   If I may.
 22             Q.   Of course.
 23             A.   June to August was from the announcement to
 24      the forthcoming, it will be become operational in
 25      August.     The reason for that distinction is that all

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  1      the operational details would not have been announced
  2      until early August, as I recall.
  3             Q.   So my question is presumably, somebody was
  4      putting together those operational details so that the
  5      program would function in August; right?
  6             A.   Correct.
  7             Q.   Do you know who that was?
  8             A.   So I cannot name all specific names for this
  9      reason.     There were many people working on that in
 10      those two months.
 11             Q.   Was there somebody leading that effort?
 12             A.   So I pause because that's a broad question in
 13      the USCIS DHS operations perspective, and if I may.
 14             Q.   Please.
 15             A.   Because there was a working group working on
 16      the structure, how would this be received.              You know,
 17      how would you request DACA launching from the
 18      Secretary's memo.       And those various operational
 19      pieces, I don't recall specifically who led it, but
 20      that was being overseen by the front office of USCIS,
 21      and if I may explain that phrase.
 22             Q.   Sure.
 23             A.   And as I sit now in the deputy director
 24      position is in overseeing, you receive reports.                You
 25      are monitoring how something is being built.               So from

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  1      that perspective there's a working group level
  2      leadership.     There was a service center leadership,
  3      USCIS front office monitoring, and then I'm sure there
  4      was also department -- I mean, you know, there was
  5      departmental interest in hearing the details.               I don't
  6      know that part.      And then as we would drew closer,
  7      there's also the communication side as well.
  8                  If that answers the parameter side.
  9             Q.   That's fair.     Were you part of any of those
 10      working groups?      Did you consider yourself part --
 11             A.   With respect to the legislative piece, to ask
 12      questions how things were being unpacked, not with
 13      respect to the substantive.            In other words, if I may,
 14      the operational footprint, how a request would be
 15      received was not something that I necessarily would
 16      opine on because in the front office, as I recall at
 17      the time, political chief of staff was heavily
 18      involved, sort of, in monitoring, and then the
 19      operational folks in the service centers were working
 20      to build it.
 21             Q.   So what I'd love, if you remember, are names
 22      of some of the people who were heavily involved in
 23      that rollout process.        Do you remember any names?
 24             A.   So beginning with the -- and again, this is
 25      not going to be a probably fulsome, complete list.                 I

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  1      do remember some names.
  2              Q.     And who were they?
  3              A.     So the former director, Alejandro Mayorkas.
  4      The former political chief of staff, Rebecca Carson.
  5      I think the former deputy director, my predecessor,
  6      Lori Scialabba would have been involved.                    Again, going
  7      back, I may not be remembering sort of all the levels
  8      of involvement.
  9                     And then, as well, in the service centers --
 10      and I'm only, I think, best suited to speak to the
 11      leadership part that I recall because -- and if I may
 12      explain that.          USCIS, as I think all federal agencies,
 13      will provide -- when asked to do a task, will work
 14      through working groups to build, get the information
 15      needed, build a structure, have the various people.
 16      So I don't really recall offhand names of all of those
 17      folks per se.          From the leadership side Don Neufeld
 18      was the head of the service center operations at the
 19      time.        And Barbara Velarde, who was his deputy at the
 20      time.        I'm just recollecting back.              Those are the
 21      folks I remember in leadership at the time.
 22              Q.     Okay.
 23              A.     If another name pops in, I can tell you.               But
 24      as I said, there were many people on the working group
 25      level, many discussions, but from the leadership side

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  1      I'm comfortable I'm pretty correct.
  2             Q.   I appreciate that, and I do know, obviously,
  3      this was a while ago.        So based on the conversations
  4      about DACA that you were part of at that time, do you
  5      remember hearing a concern that undocumented people
  6      would be hesitant to sign up for DACA because they
  7      were giving sensitive information to the government?
  8      Do you remember that concern generally from that time
  9      period?
 10             A.   Generally, I do.        And that it was also coming
 11      from outside, meaning, if I may --
 12             Q.   Please.
 13             A.   That as I recall -- and again, over five
 14      years, public statements, internal working group
 15      statements, questions tend to blur a bit, but I
 16      believe there were even questions from the Hill,
 17      Capitol Hill and the public, what would happen to that
 18      information once provided.
 19             Q.   So you remember that issue being something
 20      that was discussed in these working groups, sort of
 21      how to address that concern?
 22                  MR. GARDNER:     Objection.            Mischaracterizes
 23      the witness' testimony.
 24                  THE WITNESS:     Could you restate the question?
 25      BY MR. DETTMER:

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  1             Q.   Sure.     So we just talked about this concern
  2      that was in the air at the time; right?
  3             A.   Uh-huh.
  4             Q.   I gather that you don't have specific
  5      recollection of specific comments that were made.
  6                  My question is -- maybe I'm rephrasing it all
  7      together -- what do you remember about the internal
  8      discussions at USCIS about that topic?
  9                  MR. GARDNER:      Objection to the extent it
 10      calls for disclosure of information subject to
 11      deliberative process privilege.
 12                  If you can answer that question without
 13      revealing deliberative information, you can answer.
 14      Otherwise, I'd instruct you not to answer.
 15                  THE WITNESS:      I don't believe I can.
 16      BY MR. DETTMER:
 17             Q.   Do you remember being concerned about that
 18      issue?
 19             A.   My personal --
 20             Q.   Yes.
 21             A.   -- concern?
 22                  No, I do not.
 23             Q.   And why not?
 24             A.   So from my perspective as head of legislative
 25      affairs, but also working in the immigration sphere,

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  1      at least from 2006 on, I saw that if -- my belief was
  2      that if we were asking for information and setting
  3      parameters on how it would be used, as in all the many
  4      benefit types and requests in this case, that we would
  5      keep our word, that DHS would keep our word, USCIS
  6      would keep our word.
  7                   I understand the concern and -- but my belief
  8      was if the program was being built and the assurance
  9      that was being provided, within parameters which was
 10      set out in our FAQs, that we would intend to keep
 11      that.
 12              Q.   So -- and we'll look at the FAQs.
 13              A.   Sure.
 14              Q.   Without pretending to quote from them, the
 15      basic word that was given was that that information
 16      would not be used for enforcement purposes, with some
 17      caveats?
 18              A.   With some caveats, and actually, yes, the
 19      immigration specifically, if I recall -- I don't have
 20      them in front of me.        But that FAQ by which we
 21      governed the program, rather uniquely among other
 22      elements that we administer, did say that the
 23      information provided for DACA request purposes would
 24      not be provided for immigration enforcement purposes
 25      but could be provided for other reasons.              National

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  1      security, identification of crimes.                I'm trying to
  2      remember off the top.
  3                  So that was set forth in the FAQ.
  4             Q.   And just so I make sure I understand your
  5      testimony, it was your belief that the government
  6      would keep its word with respect to those
  7      representations.
  8             A.   Yes.   Because we made the representations, or
  9      we in the USCIS, DHS as well, the caveats you noted.
 10      So outside of immigration enforcement proceeding
 11      purposes and also, of course, there was a caveat that
 12      this could be changed, but...
 13             Q.   And your belief was that because of that,
 14      what you just described, the concern that potential
 15      DACA applicants had about providing that information
 16      to the government was addressed?
 17             A.   Addressed, yes.       And understood.        So for that
 18      reason the FAQ was constructed to note that.
 19             Q.   Are you aware of steps that USCIS or DHS more
 20      generally took to, I guess, encourage people to apply
 21      for DACA?
 22             A.   Yes.
 23             Q.   And can you describe those to the extent
 24      you're aware of them.
 25             A.   So recollecting then and over the years,

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  1      simply put, promoting this as an available option.
  2              Q.     Why did DHS, USCIS do that?
  3                     MR. GARDNER:   Objection.            Calls for
  4      speculation.
  5                     THE WITNESS:   If I may ask, Counsel, so with
  6      your objection I may proceed but --
  7                     MR. GARDNER:   Right.
  8                     MR. DETTMER:   That's okay.
  9                     THE WITNESS:   So why did DHS and USCIS
 10      promote it?
 11      BY MR. DETTMER:
 12              Q.     Yes.
 13              A.     Well, it was a direction from our secretary
 14      that we would begin implementing this ability, this
 15      capacity for folks within those guidelines to request
 16      DACA.        And to be clear, to respond to your question,
 17      again looking across all the many benefit types, when
 18      there is direction given, it's incumbent, appropriate
 19      for us, USCIS or other agencies, to explain clearly to
 20      the public what those guidelines in this case would be
 21      and note to recipient requesters that this was now an
 22      available option.        I hope I'm explaining it clearly.
 23                     Because of the many benefit types and
 24      requests in this case that we administer, for that
 25      reason our website at USCIS has a very high level of

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  1      traffic.     For the purposes of the deposition I'll just
  2      say approximately, but certainly approximates the
  3      level of traffic with the IRS, and oftentimes goes
  4      above that as one of the busiest access points for
  5      information of federal agencies.
  6                  So I think that reflects, you know, our
  7      belief to try to put information out there so there is
  8      clarity about something that's been announced.
  9             Q.   Okay.     Maybe we can finish just a few
 10      questions about this exhibit and then we can take a
 11      break, if that works.
 12             A.   Thank you.
 13             Q.   So your next job, I think you mentioned after
 14      you were at the office of legislative affairs was sort
 15      of shading over to acting deputy chief of staff and
 16      then chief of staff for USCIS; is that right?
 17             A.   The reverse.
 18             Q.   Okay.
 19             A.   Acting chief of staff, then acting deputy.
 20             Q.   Okay.     And can you briefly describe what your
 21      job responsibilities were in those roles?
 22             A.   Certainly.     And I'll explain both.
 23             Q.   Thanks.
 24             A.   So with respect to acting chief of staff,
 25      from May 2014 to July 2014 I served in that role with

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  1      the departure of the former, then actually acting
  2      chief of staff until the new director of USCIS arrived
  3      following confirmation, along with his political chief
  4      of staff.     So from May until July I served in that
  5      acting chief of staff role.
  6             Q.   I'm sorry to interrupt.            Who is the
  7      director -- or the acting director at that time who
  8      you were reporting to?
  9             A.   The acting director at the time from May
 10      until July was Laurie Scialabba --
 11             Q.   Okay.
 12             A.   -- the permanent deputy director and acting.
 13                  So the responsibilities --
 14             Q.   Yes.    Sorry to interrupt you.
 15             A.   No, not at all.       So as acting chief of staff,
 16      it is a liaison role.        I believe more complexities to
 17      that as, I think, the way I envision it.               So as the
 18      liaison within the agency on behalf of the then acting
 19      director, information flow, items for her signature,
 20      tracking and liaising to make sure that requests from
 21      her, requests that needed to be carried out, gathering
 22      information, coordinating meetings.
 23                  So that is -- oftentimes chiefs of staffs are
 24      referred to as sort of keeping the trains running, and
 25      that is largely what that role entailed.               And also

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  1      liaising with the department and the Secretary's
  2      office.     Attending chief of staff meetings to keep the
  3      information flowing.
  4                  And then, finally, in addition, working
  5      within the inner agency, other departments, chiefs of
  6      staff who would have questions for USCIS or DHS.                So
  7      there was that liaison role.             So that was for those
  8      two months.     And then near the end of that, preparing
  9      for the transition to the incoming chief of staff.
 10             Q.   Okay.    And let me just interrupt again.           In
 11      that job that you've just described, do you remember
 12      any particular interactions with the DACA program?
 13             A.   I recall because that -- so that may -- well,
 14      that 2014 time period was coming up on the two-year
 15      anniversary of DACA.        And so I'm pausing because I'm
 16      trying to recollect.        So that was the first renewal
 17      period --
 18             Q.   Right.
 19             A.   -- for initial DACA requesters.           So I recall
 20      there being discussions, and I'm not recalling all the
 21      details.     But discussions or questions on how will the
 22      renewal process work and, you know, just questions
 23      about how the information would be taken in and
 24      adjustments to the process.
 25                  As far as those adjustments, I'm reflecting a

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  1      bit that when -- I recall when initial DACA, as we
  2      refer to it, initial versus renewal, of course, was
  3      built, I believe there were discussions about renewals
  4      as far as knowing that process would be coming, and
  5      the form was set to include both initial and renewals.
  6      So you could select one or the other.
  7                  I don't recall, because the program was so
  8      compressed in its stand up from June to August, many
  9      questions -- there may well have been -- on how the
 10      renewal process would work.             But it may be there were
 11      some points.        But then in coming into August of 2014,
 12      there were more discussions about how the renewal
 13      process would work, the level of information required,
 14      reverification, you know, of information.              So I recall
 15      that, and there being discussions, department meetings
 16      with USCIS.
 17                  I'm just, three years later, trying to recall
 18      the specifics.        I don't.     But there certainly were
 19      discussions.
 20             Q.   Okay.     I mean it's certainly the case that
 21      renewal of the program -- renewal of DACA status was
 22      an important aspect of the program; right?
 23             A.   It was a next step --
 24             Q.   Yeah.
 25             A.   -- as opposed to initial.

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  1              Q.     I mean it would seem, and I don't know if you
  2      would agree me on this, that, you know, without the
  3      ability to renew after two years, it would seem like
  4      not a particularly worthwhile effort.                    Is that fair?
  5              A.     I believe that's fair, and if I may.
  6              Q.     Please.
  7              A.     You raised the earlier question about the
  8      assurances of the use of information.
  9              Q.     Yeah.
 10              A.     And with respect to your question I recall --
 11      I do not recall the names or anything, but that being
 12      a discussion point.           If the information has been
 13      provided, we have the reassurances.                    Those are in the
 14      FAQs.        But also as folks expire what -- I don't want
 15      to put words in anyone's mouth.                   So at the time, but
 16      in essence to your point, initials have been launched,
 17      a two-year period was selected.
 18                     Other periods could have been selected, but
 19      two years was selected and -- as a policy choice.                     And
 20      if you don't have any renewals, you have shut off the
 21      pipeline.        So it doesn't seem to represent what has
 22      been represented.           I'm hoping I said that clearly.
 23              Q.     No.     I think that makes sense.           What you're
 24      saying is if there are -- if the program is set up and
 25      people sign up for it but then it's shut off after two

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  1      years, the applicants wouldn't be getting what they
  2      had bargained for?
  3             A.   And knowing too that, as I recall President
  4      Obama's public statements, when the program was
  5      launched by Secretary Napolitano, that it is only
  6      temporary; right?        It is a deferral of action, and I
  7      think you used the footnote that it's been since, that
  8      Congress should provide a legal status.             But
  9      nonetheless, it has been operational as initial
 10      renewal would demonstrate that, you know, it would
 11      fulfill the next step, still with the thought, as I
 12      recall in the either, so to speak, hoping to press for
 13      Congress to do something more permanent with the
 14      population.
 15             Q.   All right.     So I've interrupted you twice in
 16      your description of your chief of staff and deputy
 17      chief of staff roles.         So then you transitioned into
 18      deputy chief of staff?
 19             A.   So I returned to being the full head of leg
 20      affairs for three weeks.           The chief of staff arrived
 21      at the beginning of July, as did the director,
 22      Director Rodriguez and the political chief of staff.
 23      And at the end of July, early August, the director,
 24      chief of staff, and I think, actually, the deputy
 25      director as well, had asked if I would come back for

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  1      two months or three months -- I had said I would do it
  2      for two or three months, to just bridge the gap, help
  3      in the transition as she served as chief of staff and
  4      get acclimated.
  5                   I guess open opinions on my performance, but
  6      I was asked to stay until the following August in one-
  7      to two-month increments at a time.
  8                   So to your question as to why the leg
  9      affairs, legislative affairs chief position remained
 10      the official title, but I was in this acting role.
 11             Q.    You were wearing two hats?
 12             A.    I was.   And as acting deputy chief of staff,
 13      it largely reflects what I shared of the role of
 14      acting chief of staff but more of an administrative,
 15      administrator function, much less on the policy side.
 16      I'm no longer in an acting role that has a political
 17      title.      But still, with respect to internal processes,
 18      keeping the trains running, documents to be signed by
 19      the director, reviewed in the government what we refer
 20      to as sort of the executive secretary process to make
 21      sure things continue to run as well, as oversight on
 22      certain matters, like leadership conferences to be
 23      built and some other things.             Other duties assigned, I
 24      believe is more precise.
 25             Q.    Related duties as required.

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  1             A.   Yes.
  2             Q.   In that role, what interactions did you have
  3      with the DACA program?
  4             A.   So from August on to -- basically from August
  5      to August for DACA, what I recall, again, it would
  6      have been some of the after discussions as the renewal
  7      process was taking effect.           I think there would
  8      have -- I'm trying to -- I'm seeking to recall if
  9      there were any changes.         I think there were
 10      adjustments to the FAQs.          I just don't remember what
 11      those were, but they were sort of part of what was
 12      happening.
 13                  And then reviewing and assessing the intake
 14      of the DACA renewal requests and sort of the
 15      operational mechanics, not that I necessarily was, but
 16      sort of that was in the process along with other
 17      duties.
 18                  As well, from my head of legislative affairs,
 19      while I had a good deputy who was lucky or unlucky for
 20      him, having to serve as the acting head while I was in
 21      the front office.       If there were questions on DACA
 22      or -- I don't recall if there was testimony.               There
 23      might have been.      But, you know, just sort of if there
 24      were inquiries on DACA or any other benefits, I will
 25      say that kind of bleeds somewhat because of all the

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  1      different -- it was one of many types of, I won't say
  2      benefits but the requests that we received for DACA
  3      and the mechanics and questions from the Hill, from my
  4      view, would be across the same environment of any
  5      other type of element or benefit that we administered.
  6             Q.   Okay.    So am I fairly characterizing your
  7      role in that time period as being a liaison with the
  8      people who were actually working on the program with
  9      the director at the time?
 10             A.   Only in part --
 11             Q.   Okay.
 12             A.   -- because those in the structure, we'll say
 13      at the service centers and others would also liaise
 14      directly with the director.
 15             Q.   I see.
 16             A.   So I don't want to overstate the role in that
 17      sense because while being aware, and I'm sure
 18      participating in some meetings of course, but the role
 19      is also in the org chart, and I see at least the org
 20      chart of DHS that you have there, is such that the
 21      associate directors report directly through the deputy
 22      to the director.
 23             Q.   Okay.    Okay.   We may come back to that.          Just
 24      in the interest of time, your next role at USCIS was,
 25      if I'm reading this right, deputy associate director,

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  1      service center operations?
  2             A.   Yes.
  3             Q.   And what was that job?            What was your
  4      responsibility there?
  5             A.   As the deputy -- first acting and then early
  6      in the new year became a permanent senior executive
  7      service selection.       But never changed from that role.
  8      So as deputy associate director the No. 2, the deputy
  9      to the associate director or head of the service
 10      center operations, as noted in the biography that you
 11      have here in the Exhibit 8 that is facilitating
 12      overseeing the work of our five USCIS service centers
 13      in administrating the processing of applications and
 14      requests each year.
 15             Q.   Of all sorts of different applications and
 16      requests?
 17             A.   Yes.   We have for the service centers, I'd
 18      say, approximately tens of -- I think it's probably
 19      around 40 or so different benefit types, and I would
 20      say particularly coming from this role now, our field
 21      operations handle certain types of benefit types and
 22      requests.     Our service centers handle a bulk of
 23      intake, and, of course, the Asylum International by
 24      its name handles others.
 25                  But the service centers do, and they receive,

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   1      at this time, and I think the number is probably still
   2      accurate, more than 4 million applications of our
   3      approximately 7-1/2 to 8 million that we receive.
   4             Q.   Are the service centers responsible for
   5      receiving and processing DACA applications both
   6      initial and renewal?
   7             A.   They are, and there is a first piece to that
   8      where the documents are brought in to our first file
   9      with our lockbox, lockboxes, the lockbox for DACA.
  10             Q.   Can you explain what that means.
  11             A.   Yes.    The best way to walk into that is that
  12      the lockboxes are the parallel structure as when you
  13      file your taxes.       So when we file with the IRS, we
  14      send to the P.O. Box X, wherever that may be, and the
  15      lockboxes which are administered by a bank, receive
  16      the application and receive the payment and separate
  17      the two.     And so the cash or the payment is received
  18      in a secure environment.
  19                  USCIS now uses lockboxes and has for probably
  20      around 10 years, maybe a little less.                And so they
  21      then receive filings directly into the lockbox.
  22             Q.   Okay.
  23             A.   Who then, in that same structure, separate
  24      application fees from what's filed.                That then is sent
  25      on.    In that instance, it is sent on to the service

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   1      centers.
   2                   So with respect to DACA, the service center
   3      that processes initial and the service center that
   4      processes renewal then receives from the lockbox that
   5      filing.
   6              Q.   Okay.     Okay.   And you -- we'll talk more
   7      about that.         You served in that role until March of
   8      this year when you got your current position.                    Is that
   9      fair?
  10              A.   Yes.
  11                   MR. DETTMER:      All right.            Why don't we, if
  12      it's all right with everybody, take a break for
  13      10 minutes.
  14                   MR. GARDNER:      Sure.
  15                   MR. DETTMER:      Then we'll go back on the
  16      record.
  17                   THE VIDEOGRAPHER:         We are going off the
  18      record at 10:21 a.m.
  19                   (A recess was taken from 10:21 a.m.
  20                   to 10:35 a.m.)
  21                   THE VIDEOGRAPHER:         We are back on the record
  22      at 10:35 a.m.
  23      BY MR. DETTMER:
  24              Q.   Welcome back, Mr. McCament.                You realize
  25      you're still under oath; right?

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   1             A.    Yes.
   2                   MR. DETTMER:      Okay.       Great.
   3                   I am going to ask the court reporter to mark
   4      this as Exhibit 9.
   5                   (Deposition Exhibit 9 was marked for
   6                   identification.)
   7                   MR. DETTMER:      For the record, Exhibit 9 is a
   8      printout from DHS's website, and it is a whole series
   9      of organizational charts, the first one on the first
  10      page is U.S. Department of Homeland Security.
  11             Q.    And just to direct you, I'm not going to ask
  12      you about all of these, obviously.                   But the third page
  13      from the end is USCIS.           So I guess focusing on the
  14      first page and the third from the last page, do you
  15      understand those two pages to accurately represent the
  16      organizational structure of DHS, Page 1, and USCIS,
  17      page third from the end?
  18             A.    May I just review for --
  19             Q.    Yes, of course.
  20                   (The witness reviewed Exhibit 9.)
  21                   THE WITNESS:      Yes, with respect to the DHS
  22      chart.      I'll now review USCIS.
  23      BY MR. DETTMER:
  24             Q.    Thank you.
  25                   (The witness further reviewed Exhibit 9.)

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   1                  THE WITNESS:      And yes with respect to USCIS,
   2      as well.
   3      BY MR. DETTMER:
   4             Q.   Now, let me ask you, obviously, like any
   5      organizational chart, these have little boxes with
   6      titles in them to sort of indicate the general area of
   7      responsibility of each branch, to use a general term.
   8                  What I'd like to ask you to do is which of
   9      the boxes, for lack of a better term, on those two
  10      pages that you just looked at, have responsibility for
  11      the DACA program?
  12             A.   Which would you like me to begin with?
  13             Q.   Do you want to start with DHS?
  14             A.   Certainly.     And I'm sorry.           With respect to
  15      the administration or the oversight, you said?
  16             Q.   Either or both.        Maybe you can specify which
  17      is which.
  18             A.   The Secretary for sure.             Perhaps the Deputy
  19      Secretary.     It depends upon -- I'm sorry to ask.              So
  20      with respect to over the five years or just --
  21             Q.   Good question.       Why don't we talk about right
  22      now?
  23             A.   Okay.    So the rescission or that area?
  24             Q.   Yes.    In the past, you know, 2017.            If it's
  25      changed in 2017, let us know.

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   1              A.    Okay.     So for 2017, or for that period, the
   2      Secretary, probably just going through looking at the
   3      chart.       Less so the Deputy Secretary, probably from
   4      what I see.
   5                    With respect to administration or oversight,
   6      to your question, there's some role, office of the
   7      general counsel, the office of legislative affairs,
   8      office of public affairs, and I can explain that role.
   9      It's just not administrative.                But again, the point of
  10      communications on those topics.                  Office of policy.
  11      U.S. citizenship and immigration services.                  Customs
  12      and border protection.            Immigration and customs
  13      enforcement.          Citizenship and immigration services
  14      ombudsman, and office of partnership and engagement,
  15      and perhaps there's sort of, as well, the management
  16      director.
  17              Q.    Any others there that you can think of that
  18      would have responsibility for the DACA program in some
  19      form?
  20              A.    Not that I see.        I believe that's the list.
  21              Q.    Now, let me ask you the same question for
  22      USCIS.       It's on the third page from the end there.
  23              A.    So the same time line applies?
  24              Q.    Yes.
  25              A.    January 2017.       Director, Deputy Director,

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   1      Chief Counsel, Chief of Staff.                  Service center
   2      operations, management, policy and strategy.                     Let's
   3      see.     Legislative affairs, communications.
   4              Q.     Any others you can think of there?
   5              A.     Not that I see and that I can think of.
   6              Q.     Okay.   So we'll probably refer back to this
   7      document.        So keep it nearby.           Now, you signed a
   8      declaration, in California, lawsuit, I believe last
   9      week.        Do you remember doing that?
  10              A.     I did sign a declaration, and I believe it
  11      was in California.
  12                     MR. DETTMER:      I'll ask the court reporter to
  13      mark it as Exhibit 10.
  14                     (Deposition Exhibit 10 was marked for
  15                     identification.)
  16      BY MR. DETTMER:
  17              Q.     While you're looking over that, just for the
  18      record, it is a three-page document entitled
  19      "Declaration of James McCament."                   It's got an E-filing
  20      line at the top.         Document No. 71-5.
  21                     Is this the declaration you signed,
  22      Mr. McCament?
  23              A.     I believe so.       Let me just --
  24              Q.     Take your time to look at it.
  25              A.     Thank you.     Yes, I did sign it, but I'd just

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   1      like to review.
   2             Q.   Understood.     Let me know when you're
   3      finished.
   4                  (The witness reviewed Exhibit 10.)
   5      BY MR. DETTMER:
   6             Q.   So I want to ask you about Paragraph 5 of
   7      this declaration.      In Paragraph 5 you say, "In
   8      response to the discovery requests served in the
   9      various DACA cases pending here," meaning California,
  10      "and in the eastern district of New York, USCIS is in
  11      the process of searching, collecting, reviewing, and
  12      analyzing documents from more than approximately 70
  13      custodians, including more than 260,000 E-mails in
  14      addition to documents from approximately 30 shared
  15      drives or hard drives."
  16                  Were you involved in the process of
  17      determining which custodians had documents that were
  18      potentially responsive to the various discovery
  19      requests?
  20             A.   Yes.
  21             Q.   Did you determine who those custodians should
  22      be?
  23             A.   I did not determine the full list, but
  24      contributed.
  25             Q.   Okay.   Can you identify who those custodians

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   1      are or some subset of them?
   2             A.   I believe noting the number of 70, I could
   3      identify perhaps some subpart by recollection.
   4             Q.   Okay.   And I don't know if Exhibit 9, the org
   5      chart may be helpful to you in doing that.                    But maybe
   6      you can give me the list of the people who come to
   7      mind as we sit here.
   8             A.   Because I don't have the list in front of me,
   9      I'll say again, a subpart.
  10             Q.   Understood.
  11             A.   For myself, certainly I believe our chief of
  12      staff, Laura Reece, acting chief of staff.
  13             Q.   What's the name?
  14             A.   Laura Reece.      The chief counsel.
  15             Q.   If you can give me names, that would be
  16      great.
  17             A.   Certainly.     Chief counsel, Craig Symons.
  18                  REPORTER MARTIN:         Greg or Craig?
  19                  THE WITNESS:      I'm sorry.            Craig.   Sorry.
  20                  Craig Symons.       Our head of policy and
  21      strategy, I believe, Kathy Neubel.                   Don Neufeld, who
  22      is Donald Neufeld, who's head of the service center
  23      operations.
  24                  Jennifer Higgins, who was serving for a
  25      period, a short period of time as acting deputy

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   1      director while my acting deputy director was on
   2      vacation.
   3                  Tracy Renaud, who was the acting deputy
   4      director until our director arrived, and then I
   5      returned to that role.
   6                  I know there was -- I believe there were also
   7      several -- certainly to add up to the 70, several
   8      folks in the service operations.               Again, by
   9      recollection, Joe Moore, who was our chief financial
  10      officer.
  11                  And as well the -- I mentioned the service
  12      center operations team.
  13                  And Joe Moore and his team, the head of our
  14      office of intake and document production, Ernie
  15      DeStefano, and I believe several on his staff.
  16      BY MR. DETTMER:
  17             Q.   Ernie DeStefano?
  18             A.   Ernest DeStefano.        I believe also our office
  19      of performance and quality.            Michael Hoefer, and I
  20      believe, if I recall correctly, some of his staff.
  21                  As far as other names, my recollection is the
  22      parameters of the discovery request as it relates to
  23      DACA are quite broad, and for that reason with USCIS
  24      administration of DACA is, therefore, a broad
  25      response.     So those are the names.              Obviously, it's a

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   1      very small subset to the 70, but I don't want to
   2      misspeak as far as on the precise list.
   3             Q.    Understood.      Those 70 custodians that you
   4      referred to in your declaration to the 10, are they
   5      all within USCIS or are there people outside of the
   6      USCIS organization?
   7             A.    I believe that our search is focused upon the
   8      USCIS team, and as I sit, I think that may also
   9      include some -- I can't recall for sure the reason.
  10      We have our own OIT team, and the department has its
  11      own OIT team.
  12             Q.    OIT means?
  13             A.    Office of information technology to do the
  14      searches.      So I believe those are the custodians for
  15      USCIS.      It may include, and I apologize, I don't
  16      recollect precisely if it also scopes to the DHS or
  17      DHS as is separately and included.
  18             Q.    Who else is involved in the process of -- or
  19      was involved, I should say, in the process of
  20      identifying who those custodians should be?
  21             A.    So myself, our office of chief counsel, as
  22      responding to the request, was predominantly involved
  23      in asking for information for those that maybe have
  24      information that might be responsive.
  25             Q.    Now, the 30 shared drives or hard drives that

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   1      you mentioned, who was responsible for identifying
   2      which shared drives or hard drives were -- potentially
   3      contained responsive information?
   4             A.   So I believe the office of the chief counsel
   5      worked with those that were identified as custodians
   6      to determine what shared drive or hard drives would
   7      relate to their position or office.
   8             Q.   Okay.   And as far as you know, that work that
   9      is being described in that paragraph is ongoing?
  10             A.   Yes.
  11             Q.   Do you know whether there's a target end date
  12      for that work?
  13             A.   I understand from conversations that there
  14      is.
  15             Q.   And do you know what it is?
  16             A.   But it is, in essence, as soon as possible.
  17      And that is to say that that is fairly precise, in
  18      other words, trying to respond to the request as
  19      quickly as possible.
  20             Q.   Okay.   So the people whose names you just
  21      gave me, and I understand it's a subset of a total
  22      list, are those people who you think, based on your
  23      knowledge of how your department works, are people who
  24      are likely to have information that is responsive to,
  25      you know, the issues in this lawsuit?

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   1             A.   Likely to, yes.
   2             Q.   I mean I'm not asking if you've interviewed
   3      them or anything like that, but based on your
   4      understanding of how your department works --
   5             A.   Yes.
   6             Q.   -- they're likely to have information?
   7             A.   Yes.
   8             Q.   Okay.   All right.        Is there a written list
   9      somewhere of those 70 names that you're aware of?
  10             A.   I believe there is.           I can't speak to where,
  11      but there would be a list.
  12             Q.   Do you have one?
  13             A.   I do not have one with me for reference.
  14             Q.   Do you have one, you know, at your desk?
  15             A.   I don't believe so.           But again, working with
  16      the office of the chief counsel has been the lead on
  17      identifying and collaboration with anyone.
  18             Q.   When you searched for your own documents in
  19      connection with these various lawsuits that we're here
  20      for, where did you look?
  21             A.   I looked in two places.
  22             Q.   What were they?
  23             A.   Certainly.     So the first was hard copy
  24      documents --
  25             Q.   Okay.

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   1              A.   -- and located those.
   2              Q.   Do you have, like, an -- I don't know -- file
   3      where you keep things by topic?
   4              A.   I do.
   5              Q.   Okay.
   6              A.   And so that's where I looked for that list of
   7      documents or those documents.
   8              Q.   And how many hard copy documents did you have
   9      responsive -- or that you located as a result of that
  10      search?
  11              A.   I don't recall the approximate number but can
  12      speculate to there were not a lot of hard copy
  13      documents.
  14              Q.   So sort of a manila folder, something like
  15      that?
  16              A.   A stack on my desk --
  17              Q.   Okay.
  18              A.   -- of documents which were DACA related, as
  19      well as the hearing binder.
  20              Q.   Okay.   And then you said there were two
  21      places you looked?
  22              A.   The other is electronic.              And so I authorized
  23      the team to authorize OIT, the office of information
  24      technology, to search that.
  25              Q.   Your computer?

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   1             A.   My computer, right.
   2             Q.   And are you aware how they did that?            Did
   3      they, you know, take an image of your hard drive and
   4      do search terms, or do you know how that worked?
   5             A.   I'm not aware of the specifics.           Certainly
   6      OIT are the experts.
   7             Q.   Okay.
   8             A.   I do understand they have search terms.
   9             Q.   Okay.   So it wasn't a situation where you
  10      had, you know, a folder on your hard drive or the DACA
  11      folder and you just sent that information along.                  It
  12      was a download and search terms?
  13             A.   I authorized a search of my files,
  14      electronic --
  15             Q.   Okay.
  16             A.   -- to be sure every responsive document could
  17      be pulled.
  18             Q.   Anywhere else that you kept documents, at
  19      home or, I don't know, on your phone?              Did you have
  20      text messages or anything like that?
  21             A.   No.
  22             Q.   Okay.   And do you know, is that process that
  23      you've just described, is that a standardized process
  24      that was used here, or was that just something that
  25      you did?     Do you know?

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   1             A.   It's my understanding it's the standardized
   2      process.
   3             Q.   Okay.    Okay.
   4             A.   As far as -- let me ask a question back.             So
   5      as far as the process OIT used to search files
   6      electronically?
   7             Q.   Yeah.
   8             A.   That's my understanding they used their
   9      standard process.
  10             Q.   Okay.    Were you ever instructed -- I don't
  11      know if you're familiar with the term -- a "document
  12      hold memo" or a "document hold letter"?             Did you ever
  13      receive something like that when these lawsuits were
  14      filed?
  15             A.   I believe we did receive a document hold.               As
  16      deputy director or acting director we received those
  17      periodically.       I received them periodically.
  18             Q.   And do you know who else received them?            Do
  19      you know how broadly that was disseminated?
  20             A.   Not precisely.
  21             Q.   Generally?
  22             A.   It was -- sure.        It was an E-mail from the
  23      chief counsel's office triggered by folks, if I recall
  24      correctly, for this purpose, again, multiple
  25      litigation holds, but...

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   1             Q.    Okay.     Okay.   All right.            Let me switch
   2      gears.      I want to ask about -- I don't know if you
   3      need to refer to Exhibit 9.              Feel free to do it if
   4      it's helpful.         I want to ask about sort of the -- you
   5      know, your contacts and the way you operate in your
   6      current job.         Sort of the structure of hierarchy, I
   7      guess, of how you operate.
   8                   Am I right that you report directly to the
   9      Secretary of DHS?
  10             A.    I do not now.
  11             Q.    Okay.     Who do you report to now?
  12             A.    The director of USCIS.
  13             Q.    Got you.     Okay.     When did that change happen?
  14             A.    Monday, October 9 or Sunday, evening
  15      October 8 when I got sworn in.
  16             Q.    To be precise?
  17             A.    To be precise.
  18             Q.    And who is the current director?
  19             A.    Lee Francis Cissna.
  20             Q.    What was Lee Francis Cissna's job before the
  21      current one?
  22             A.    Director of immigration policy.
  23             Q.    Okay.     Okay.   So I want to talk about before
  24      that change occurred --
  25             A.    Sure.

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   1             Q.   -- when you were acting director.
   2                  You were reporting to the Secretary of DHS?
   3             A.   Yes.
   4             Q.   Okay.   And who were -- and again, in that
   5      time period, who were your direct reports?              Who was
   6      reporting directly to you?
   7             A.   Within USCIS?      Well, not --
   8             Q.   Yes.
   9             A.   The career leadership of USCIS.
  10             Q.   Is it just as reflected in this --
  11             A.   Yes.
  12             Q.   So the way this third page from the end of
  13      Exhibit 9 is set out, it looks like -- I mean just on
  14      my looking at this, the chief of staff, deputy
  15      director, and chief counsel would have reported
  16      directly to you.      But is it in fact the case that all
  17      those people whose lines go into the deputy director's
  18      would all report to you?
  19             A.   So ultimately report, yes.
  20             Q.   Okay.   Was the structure set up such that
  21      they reported through the deputy?
  22             A.   Yes.
  23             Q.   Okay.   Okay.    And has that structure been
  24      consistent in your experience at USCIS?
  25             A.   To report through the deputy director?

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   1             Q.   Yes.
   2             A.   Yes.     Over the years, I think that's correct.
   3             Q.   Okay.
   4             A.   I believe so.
   5             Q.   In that role when you were acting director,
   6      did you have contact with people in the White House?
   7             A.   At times.
   8             Q.   How often in that job, would you say?
   9             A.   It depended upon the topic.
  10             Q.   Let's talk about DACA --
  11             A.   Yes.
  12             Q.   -- since that's what we're here for.
  13             A.   Those communications -- so contact from the
  14      White House.        As I recall, for DACA came through the
  15      Secretary's office down to me, or to us.
  16             Q.   So do I understand your answer to mean that
  17      you didn't have direct contact from people at the
  18      White House?        There was a contact that you understood
  19      came from the White House to the Secretary's office
  20      and then was relayed to you?
  21             A.   Correct.     I don't recall separate from that
  22      coming through.
  23             Q.   Okay.
  24             A.   Other topics, there could be.
  25             Q.   So you don't remember any direct

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   1      communications you had with people in the White House
   2      as acting director on the topic of DACA?
   3             A.   As far as E-mail communication and
   4      conversation -- I mean E-mail contact.
   5             Q.   Well, I'm talking about communications
   6      generally.
   7             A.   Generally, that's true, yes.
   8             Q.   So you didn't have any phone conversations or
   9      face-to-face meetings with White House people about
  10      DACA while you were acting director?
  11             A.   There was a White House meeting, yes.
  12             Q.   Okay.
  13             A.   You mentioned phone conversations.           I don't
  14      recall any phone conversations.
  15             Q.   Okay.   And then E-mails that were forwarded
  16      from the White House through DHS through the
  17      Secretary's office to you?
  18             A.   So I don't recall any E-mails being forwarded
  19      through them over to me.
  20             Q.   Okay.
  21             A.   And I can explain further.
  22             Q.   Sure.
  23             A.   Outside of DACA.
  24             Q.   Okay.
  25             A.   Which is to say in other topics as deputy --

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   1      or acting director, sorry.            As acting director, there
   2      would be at times approaches from White House staff on
   3      questions on other non DACA topics.
   4             Q.   Okay.
   5             A.   So that's why I draw the distinction because
   6      I can see other topics where they were direct.                  I just
   7      don't recall direct E-mail conversations from the
   8      White House on.        There may have been, maybe in the
   9      E-mail.
  10             Q.   On DACA?
  11             A.   Right.
  12             Q.   How about indirect?           By "indirect," it sounds
  13      like stuff was forwarded to you.                Is that fair?
  14             A.   I think that's fair.           Again, this is a
  15      compressed time line.
  16             Q.   Yeah.
  17             A.   What I recall more is questions coming from
  18      the Secretary's office, perhaps phrased as "The White
  19      House is asking" or direct.             So I don't want to say
  20      there wasn't an E-mail that said, "We have this
  21      question."     From my recollection is it largely was
  22      from -- through the Secretary's office and questions
  23      on DACA.
  24             Q.   Got you.     Do you remember the identities of
  25      any of the people in the White House from whom those

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   1      communications originated?
   2             A.   As far as the E-mail type of conversation, we
   3      can speak to the -- later.
   4             Q.   Yes.
   5             A.   Again, I don't recall a direct E-mail sort of
   6      being forwarded on, but I don't want to misspeak that
   7      there isn't one.      Just, there was a lot of discussion
   8      with the Secretary, you know, through the Secretary's
   9      office, et cetera.       So I just don't recall one coming,
  10      like, forwarded on.        Might be.
  11             Q.   I'm sorry.
  12             A.   Sure.
  13             Q.   What I was going to ask was whether or not
  14      you actually got an E-mail forwarded, you know,
  15      regardless of how the communication came.             Was that
  16      ever tied to the identity of a White House staffer, so
  17      and so "wants to know about 'X'"?
  18             A.   Not that I recall.          Not worded that way.
  19             Q.   Okay.   Worded any way that gave you a name?
  20             A.   Not worded in a way that would give a name
  21      either.
  22             Q.   Okay.
  23             A.   Then again, that compares to other requests
  24      on other areas and issues.
  25             Q.   Okay.   Just based on conversations that you

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   1      had or however you might have -- are you aware of
   2      people in the White House who were engaged on this
   3      issue on DACA?
   4             A.   From those E-mail conversations or --
   5             Q.   From any source.
   6             A.   Largely, those two sitting in one of the
   7      meetings or a meeting, and I remember those names.
   8      But I don't recall sort of a reference to an "X"
   9      person "wants this."         And generally what I recall is
  10      if there was an ask, it was -- it may be "the White
  11      House is asking" type of question.                   Does that make
  12      sense?
  13             Q.   Yeah.     So it sounds like, with respect to
  14      anything other than in-person -- it sounds like you
  15      had one in-person meeting on this issue while you were
  16      acting Secretary?
  17             A.   That's what I recall.            Acting director.
  18             Q.   Sorry.     Acting director.             Thank you.
  19             A.   Please clarify.
  20             Q.   I gave you a promotion.
  21             A.   That's right.
  22             Q.   So you remember one meeting while you were
  23      acting director with White House people on the topic
  24      of DACA?
  25             A.   Yes.     I remember one meeting being held in

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   1      completion on discussion of DACA.
   2             Q.   Okay.   That you attended?
   3             A.   That I attended.
   4             Q.   Okay.   Are you aware of other meetings that
   5      you did not attend?
   6             A.   I'm not aware of other meetings that I did
   7      not attend, but there may well have been.
   8             Q.   Okay.
   9             A.   I mean that's not unusual.
  10             Q.   Understood.      And obviously, I'm, you know,
  11      just trying to get what you know.
  12             A.   Sure.
  13             Q.   Okay.   So let's talk, then, about that
  14      meeting.     Do you remember when it happened?
  15             A.   I believe it was August 24.
  16             Q.   August 24.     Where did it happen?
  17             A.   The Roosevelt Room.
  18             Q.   Okay.   Which is where?
  19             A.   In the White House, west wing.
  20             Q.   Okay.   Who was there that you remember?
  21             A.   That I recall, Acting Secretary Duke, General
  22      Kelly, the chief of staff, the attorney general, Jeff
  23      Sessions.     I'm reflecting around the table.                Rachel
  24      Brand with Department of Justice.                   OMB Director
  25      Mulvaney.     Deputy Secretary of State Sullivan.

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   1      Stephen Miller.      I think Rob Porter.           I believe I have
   2      that name right.
   3             Q.    What's Mr. Porter's role?
   4             A.    He is the staff -- I was going to say
   5      executive secretary, but it's that staff secretary
   6      or -- I probably have misapplied the title, but, in
   7      essence, who handles correspondence, I believe, for
   8      the White House, but I may have the title wrong.
   9                   Don McGhan.    Kierstjen Nielsen, the deputy
  10      chief of staff to -- or currently the deputy chief of
  11      staff.      I believe John Bash.
  12             Q.    Who's John Bash?
  13             A.    He's, I think, special counsel, and I believe
  14      also -- I have to double-check the title.               I believe
  15      special assistant to the President as well.               Marc
  16      Short, who is -- I'm sorry.
  17             Q.    Who is Mr. Short?
  18             A.    The head of the legislative, White House
  19      legislative affairs operation.              It may be a more
  20      expanded title, but I think that he is the head of
  21      legislative affairs.
  22             Q.    Anybody else you can remember?
  23             A.    Gene Hamilton, the senior counsel to the
  24      Secretary.      I believe Chad Wolf.           There may have been
  25      a couple of others as well.            I'm just trying to kind

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   1      of think through.        Danielle Cutrona.
   2             Q.   How do you spell Cutrona?
   3             A.   I believe C-u-t-r-o-n-a.
   4             Q.   And who is she?
   5             A.   She works for the attorney general directly.
   6             Q.   Anyone else you remember?
   7             A.   I believe Andrew Bremberg as well.
   8             Q.   Who is that?
   9             A.   He also, I believe, is a special assistant to
  10      the President, but I might have the title adjusted
  11      incorrectly.        I think there may have been one or two
  12      others, but I'm just not recalling at the moment.
  13             Q.   Okay.     Do you remember how long the meeting
  14      lasted?
  15             A.   Approximately.
  16             Q.   How long, about, did it last?
  17             A.   Approximately an hour to an hour and a half.
  18             Q.   How did you come to be there?           Did you get an
  19      E-mail invitation?        Did you get a phone call?
  20             A.   I did receive --
  21             Q.   Okay.     From whom?
  22             A.   As I recall, from the chief of staff.            DHS
  23      chief of staff.
  24             Q.   Okay.     And do you remember what that said?
  25      What did the E-mail say?

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   1             A.   I recall generally what it said.
   2             Q.   What did it say?
   3             A.   As I recall, that there would be a meeting in
   4      the EEOB, or White House.           I'm not sure which was said
   5      since they're adjacent.         And that I would be
   6      attending.     That was how I knew that was the case.
   7             Q.   Okay.   Anything else in that E-mail?              Did
   8      you -- well, anything else on that E-mail?
   9             A.   What I recall is that it was to discuss DACA.
  10             Q.   Was there an agenda attached?
  11             A.   No, not to that E-mail.
  12             Q.   Did you ever receive an agenda for that
  13      meeting?
  14             A.   I don't recall receiving an agenda.            I
  15      received an invite.
  16             Q.   Okay.   Did you receive any E-mail, whatever
  17      you were going to call it, anything like an agenda,
  18      anything that set forth what was to be discussed?
  19             A.   I don't recall receiving the agenda or a
  20      read-ahead before the meeting.
  21             Q.   You got a package of information at the
  22      meeting of some kind?
  23             A.   I recall receiving at the meeting what we
  24      would say is the read-ahead, but the agenda.               I don't
  25      recall receiving anything prior.               Could have been.      I

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   1      don't remember that.
   2              Q.   So you got a hard copy of it when you got
   3      there?
   4              A.   Yes, as I recall.
   5              Q.   What was that package?            What did it look
   6      like?
   7                   MR. GARDNER:     Objection.            Vague.
   8                   Are you asking for the content?                 Just so I'm
   9      clear.
  10      BY MR. DETTMER:
  11              Q.   I mean was it a sheet of paper?                 Was it a,
  12      you know, binder?        What was it?
  13              A.   A sheet of paper.
  14              Q.   Okay.    And did it -- I guess what I'm trying
  15      to get is the content in the sense of, you know, was
  16      it an agenda?        Was it a bunch of data?             What kind of
  17      information was it giving you?
  18                   MR. GARDNER:     Objection.            I'm not trying to
  19      be obstreperous.        I will allow him to answer the
  20      question, but I don't want him to get into privileged
  21      testimony.
  22                   So to the extent you can answer his question
  23      without divulging privileged information, please go
  24      ahead and answer.        Let's take it step by step.
  25                   MR. DETTMER:     Sure.

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   1                  THE WITNESS:     Sure.
   2                  It was an agenda.
   3      BY MR. DETTMER:
   4             Q.   Okay.   And it was one sheet of paper?
   5             A.   As I recall, yes.
   6             Q.   And do you know who put that agenda together?
   7             A.   My understanding was that the White House
   8      did.
   9             Q.   Who led the meeting?
  10             A.   General Kelly.      Yeah.       Right.
  11             Q.   Okay.   And who -- were there sort of
  12      presentations given during the meeting?
  13             A.   As I recall there were --
  14                  MR. GARDNER:     I'm sorry.            I'm going to lodge
  15      an objection at this point.
  16                  You can answer that question with a "yes" or
  17      "no," but the content of that information would be
  18      subject to privilege.
  19                  So again, we'll just take it step by step.
  20                  THE WITNESS:     Would you ask your question
  21      again.
  22      BY MR. DETTMER:
  23             Q.   Were there presentations given at the
  24      meeting?
  25             A.   I viewed that as more as discussions.

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   1             Q.   Okay.   So you said General Kelly led the
   2      meeting, which I take to mean he was sort of the
   3      moderator or the director of who was talking.                  Who
   4      sort of -- can you -- let me start over.
   5                  Who did the most talking at the meeting?
   6                  MR. GARDNER:     Objection.            At this point I do
   7      think we are getting into privileged information
   8      subject both to deliberative process privilege,
   9      potentially Presidential communications privilege.
  10                  MR. DETTMER:     I'm not asking for any
  11      substance.     I'm just asking for --
  12                  MR. GARDNER:     The identity of an individual?
  13      Is that what you're asking for?
  14                  MR. DETTMER:     Yeah.       Who did the
  15      most talking.
  16                  MR. GARDNER:     So you can answer as to the
  17      individuals.
  18                  THE WITNESS:     Multiple people spoke.
  19      BY MR. DETTMER
  20             Q.   Okay.   Who spoke at the meeting?
  21             A.   General Kelly, Acting Secretary Duke,
  22      Attorney General Sessions.           As I recall, Rachel Brand.
  23      I believe Deputy Secretary Sullivan, but I may be
  24      misremembering, I believe.           Don McGhan, Stephen
  25      Miller.     I think Marc Short as well.               Multiple folks

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   1      spoke.      So I may not be remembering someone.
   2             Q.    Did you speak at the meeting?
   3             A.    At the very end.
   4             Q.    Okay.    For how long?
   5             A.    Less than a minute.
   6             Q.    Okay.    Do you remember about how long the
   7      Attorney General spoke at that meeting?                 Can you
   8      approximate?
   9             A.    It's difficult to approximate, but I can
  10      explain that.
  11             Q.    Sure.
  12             A.    Multiple conversations, multiple times people
  13      spoke.      It's just a bit harder for me to approximate
  14      time lines over that hour and a half --
  15             Q.    And I understand.
  16             A.    -- people spoke.
  17             Q.    You know, we've all been at meetings with a
  18      lot of people.        Obviously, you and I are dominating
  19      this conversation for obvious reasons.
  20             A.    Right.
  21             Q.    You know, and we've all sort of seen meetings
  22      dominated by one person or another.                 Were there people
  23      who spoke for the bulk of the meeting at this meeting
  24      you were at, or was it sort of more evenly spread out
  25      among the participants?

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   1              A.     I would say somewhere in between.
   2              Q.     Okay.   And who were the people who spoke the
   3      most?        The ones that you just identified?
   4              A.     I would say almost all of those spoke, not
   5      necessarily equally but quite a bit.
   6              Q.     And who talked the most?              Obviously, General
   7      Kelly was leading the meeting.                Who else?
   8              A.     General Kelly.     Acting Secretary Duke, the
   9      attorney general.         As I recall, Don McGhan, Stephen
  10      Miller.        Marc Short, to your point, less so --
  11              Q.     Okay.
  12              A.     -- strategy.     And Director Mulvaney.
  13              Q.     Less so?
  14              A.     As I recall, probably less so than those
  15      others.
  16                     MR. DETTMER:     Okay.      In the interest of time,
  17      I mean I gather from our exchange that you're going to
  18      assert the privilege objections to all my questions
  19      about what did each one of these people say.
  20                     MR. GARDNER:     And just to be absolutely clear
  21      with you, that's right.           I'm really trying to give you
  22      as much latitude as reasonably possible.                    We would
  23      assert both the attorney-client privilege,
  24      deliberative process privilege, and potentially the
  25      Presidential communications privilege over the subject

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   1      matter, the substance of the deliberative nature of
   2      that meeting.     So that's correct.
   3                  MR. DETTMER:     Okay.       I appreciate that.
   4      Well, I don't appreciate that.
   5                  MR. GARDNER:     We're not going to resolve this
   6      right here, I imagine, but I appreciate you
   7      understanding our position.
   8                  MR. DETTMER:     Yeah.       And I just want to make
   9      sure there's not going to be -- because obviously,
  10      this is, you know, going to have to go to the judge.
  11                  MR. GARDNER:     Of course.            Of course.
  12                  MR. DETTMER:     You know I just -- in the
  13      interest of everybody's time --
  14                  MR. GARDNER:     I appreciate that.
  15                  MR. DETTMER:     -- there's not going to be any
  16      kind of waiver or argument that you guys are making
  17      for me not going through the motions of asking all
  18      these questions.
  19                  MR. GARDNER:     No.     In fact, if you want to
  20      ask the ultimate question of what substantively was
  21      decided, I can lodge the objections, instruct him not
  22      to answer, and you can him if he's going to follow my
  23      instruction, and I feel like that will really preserve
  24      your ability to bring this up should you choose to do
  25      so.

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   1                  MR. DETTMER:     Let us go through that process.
   2             Q.   So what was the -- actually, let me ask you a
   3      question I think you can answer within the scope of
   4      what your lawyer is telling you.
   5                  Was a decision actually reached at this
   6      meeting?
   7                  MR. GARDNER:     You can answer that with a
   8      "yes" or a "no" without going into detail.
   9                  THE WITNESS:     Not an ultimate decision.         So I
  10      guess no to that.
  11      BY MR. DETTMER:
  12             Q.   Okay.   A tentative decision?
  13             A.   In part, yes.
  14             Q.   Okay.
  15                  MR. GARDNER:     It's bigger than a bread box.
  16      It's two words.
  17                  THE WITNESS:     Right.       It's hard.
  18                  MR. GARDNER:     We're in this together, my
  19      friend.
  20                  THE WITNESS:     All three of us, actually.
  21      BY MR. DETTMER:
  22             Q.   Okay.   Well, then in order to preserve the
  23      fight for judicial resolution, what was the decision
  24      that was -- or the partial decision that was
  25      eventually reached at this meeting?

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   1                  MR. GARDNER:     Objection.            The disclosure of
   2      that information would be subject to the
   3      attorney-client privilege, the deliberative process
   4      privilege, and potentially the Presidential
   5      communications privilege.
   6                  I instruct the witness not to answer.
   7      BY MR. DETTMER:
   8             Q.   And sir, are you going to follow your
   9      attorney's instruction?
  10             A.   Yes.
  11             Q.   And just so we're clear, we're going to sort
  12      of wrap all of the sub questions into that.
  13                  MR. GARDNER:     That's perfectly acceptable.               I
  14      appreciate your professionalism.
  15                  MR. DETTMER:     No.     No.      Likewise.     And we'll
  16      get this worked out.        See what Judge Alsup wants to
  17      do.
  18             Q.   So apart from -- I guess the way we got to
  19      that whole series of questions and answers and
  20      objections was asking you about communications at the
  21      White House.       Apart from that meeting that I think
  22      we've explored as much as we can today, have you had
  23      any communications with -- actually, I'm going to have
  24      to clarify that.
  25                  I understand you've had communications with

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   1      the Department of Justice with respect to the various
   2      litigations that are going on about DACA.
   3             A.   Yes.
   4             Q.   So I want to put those to the side because
   5      those are likely privileged conversations.
   6             A.   Okay.
   7             Q.   Have you had conversations with the
   8      Department of Justice about DACA in your role as
   9      acting director outside of the context of those
  10      litigations?
  11             A.   And outside the context of the meeting.            I
  12      know you said, but just to try to parse.
  13             Q.   Yeah.
  14             A.   I don't recall any with DOJ apart from that
  15      meeting.
  16             Q.   Okay.   And when I say, "communications," I'm
  17      doing that broadly.       E-mail, phone call, face to face.
  18             A.   Not that I recall.
  19             Q.   Okay.   Let me ask the same question about
  20      members of Congress or Congressional staff.              Have you,
  21      in your role as acting director of USCIS, had
  22      communications with Congress, either members or their
  23      staff, about DACA?
  24             A.   Yes.
  25             Q.   I take it from your answer that --

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   1      frequently?
   2             A.   No.     The hearing.
   3             Q.   Okay.
   4             A.   I mean that was a conversation of DACA.
   5             Q.   Fair enough.      Actually, I don't know if I
   6      asked this.       Was that under oath?              Did you have to
   7      take an oath before that hearing?
   8             A.   It was not.
   9             Q.   Okay.     So let's put that to the side as well.
  10      Any other communications with Congress on the topic of
  11      DACA while you were acting director?
  12             A.   As acting director, I think yes.                I recall,
  13      yes, with respect to letters.
  14             Q.   What does that mean?
  15             A.   So congressional letters of members
  16      requesting consideration on DACA or acting on DACA or
  17      not acting on DACA.
  18             Q.   Okay.
  19             A.   As I recall.      But I also receive a lot of
  20      letters in that role.         So I may only be recalling
  21      after the fact of the rescission, as far as that
  22      communication.
  23             Q.   I'm sorry to interrupt.
  24             A.   No worries.
  25             Q.   Are those letters you're talking about, are

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   1      those sort of about individual applicants?
   2             A.   As I recall, that would be about a DACA,
   3      generally.     Perhaps on a subgroup of applicants.
   4             Q.   So I'm just trying to get clear on what the
   5      communication -- it may be just I'm not following.                   It
   6      sounds like maybe you've gotten some letters from
   7      members of Congress about the rescission of DACA.                   Is
   8      that --
   9             A.   As I recall, yes.         But I think perhaps to the
  10      Secretary and then down to me.               Sorry.   I'm just
  11      trying to -- there are a lot of letters.
  12             Q.   Understood.      All right.         So the letters, I
  13      think, would all be matters of public record; right?
  14             A.   Right.   If my recollection is correct.
  15             Q.   So let's put those to the side for current
  16      purposes.     Any sort of phone calls, meetings, or other
  17      types of discussions with either members of Congress
  18      or their staff on the topic of DACA while you were
  19      acting director?
  20             A.   So from --
  21             Q.   Putting aside the testimony.
  22             A.   I think we understand each other.             The -- as
  23      acting director from April to a week ago, I don't
  24      recall any phone conversations with members on DACA.
  25      I don't recall any on DACA.

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   1             Q.    Okay.
   2             A.    No.
   3             Q.    Okay.     I'm sure I'm going to come up with
   4      follow-up questions that I want to ask about the
   5      August 24 meeting.         Even in advance of a ruling, I
   6      don't know whether I can ask substantive questions.
   7                   Were there any follow-up conversations,
   8      communications that you had as a result of that
   9      meeting?
  10                   MR. GARDNER:      And you can answer that
  11      question with a "yes" or a "no."                 The substance of
  12      that could be potentially privileged.
  13                   THE WITNESS:      Sure.
  14                   So yes.
  15      BY MR. DETTMER
  16             Q.    How many follow-up communications did you
  17      have as a result of that August 24 meeting?
  18             A.    Can you clarify as far as from the White
  19      House?      Is that what you mean?
  20             Q.    Well, it's a fair question.             So let me start
  21      with that.         From the White House.
  22             A.    So one.
  23             Q.    Okay.     And what was the form of that
  24      communication?
  25             A.    So it was a proposed follow-up meeting.

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   1             Q.   Okay.    And was it a phone call or an E-mail
   2      invitation?     How did that come to you?
   3             A.   As I recall, it was an E-mail invitation.
   4             Q.   And you say, "proposed follow-up meeting."                   I
   5      take it from that answer that that meeting didn't
   6      happen?
   7             A.   It did and did not.          I'll explain.
   8                  MR. GARDNER:     Can you explain without
   9      divulging privileged information?                  Because I do want
  10      you to be able to provide responsive testimony.
  11                  THE WITNESS:     Absolutely.
  12                  MR. GARDNER:     Okay.
  13                  THE WITNESS:     I can explain the parameters
  14      without the discussion.
  15                  MR. GARDNER:     Okay.       Terrific.
  16                  THE WITNESS:     The parameter is invitation to
  17      a meeting at the Roosevelt Room.               We showed up, and
  18      the meeting was canceled.
  19      BY MR. DETTMER:
  20             Q.   I see.    What day did that happen?
  21             A.   Subsequent to August 24, prior to, I guess, I
  22      think prior to August 31.           Sorry.         Given the
  23      circumstances, we left.
  24             Q.   So you think within a week after that
  25      August 24 meeting?

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   1             A.   Yes.
   2             Q.   Okay.     The E-mail invitation that you
   3      received, what did it say?            Did it have an agenda on
   4      it?
   5             A.   I don't recall that.           I recall there was not
   6      an agenda.        It was an invitation to come to that
   7      meeting.
   8             Q.   Okay.     So it may have been --
   9             A.   So I think it was an e-vite or a calendar
  10      invite.     It may have been by E-mail.
  11             Q.   And did you have an understanding of who was
  12      supposed to be at that meeting?                Was it the same group
  13      or a different group?
  14             A.   So my understanding was a similar group, but
  15      not necessarily the same group, or the full group.
  16             Q.   Do you know any particular people who were
  17      either supposed to be at that meeting and not at the
  18      earlier one or vice versa?
  19             A.   No.     I know sort of the subset from what I
  20      understood the invite to be.
  21             Q.   And what was that?
  22             A.   So for those of us that arrived from the
  23      department, myself, Gene Hamilton and Elizabeth
  24      Newmann, the deputy chief of staff for the department.
  25      So for DHS, that's what I recall.

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   1             Q.   Okay.     And did other people show up at this
   2      meeting and then it was canceled or --
   3             A.   Yes.
   4             Q.   Who else was there?
   5             A.   So I recall for Director Mulvaney, Kathy
   6      Kraninger, who works as his -- one of his principal
   7      directors was there that I know.                It was a smaller
   8      group, and I believe General Kelly did not attend the
   9      meeting.     He was intended to, but the reason, once we
  10      arrived, that the meeting was then paused and then
  11      postponed, never began, I'm not sure why.
  12             Q.   Was an explanation given to you?
  13             A.   As I recall --
  14                  MR. GARDNER:      You can answer that with a
  15      "yes" or a "no."
  16                  THE WITNESS:      Yes.
  17      BY MR. DETTMER:
  18             Q.   Okay.     So when you were describing the
  19      August 24 meeting you said that there was sort of
  20      an -- and I'm going to put words in your mouth a
  21      little bit.        I think I'm getting this right.           You can
  22      correct me if I'm getting it wrong.                 There was a
  23      tentative sort of decision arrived at.                 Was there a
  24      final decision made, as far as you know, at the time
  25      of this canceled meeting?

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   1             A.   As far as I know, no.
   2             Q.   Okay.   Was the -- I'm just trying to ask
   3      these questions, you know, to get as much information
   4      as I can in advance of a judicial ruling.
   5                  MR. GARDNER:     Sure.
   6      BY MR. DETTMER:
   7             Q.   Was the reason for the cancellation that you
   8      were given, was it substantive having to do with, you
   9      know, what was going to happen with DACA, or was it
  10      just a scheduling issue?
  11                  MR. GARDNER:     You can answer that with a
  12      "yes" or "no" as well.         Objection.          Compound.
  13                  THE WITNESS:     So can you ask the first part.
  14      BY MR. DETTMER:
  15             Q.   Was the reason for the cancellation of the
  16      meeting given to you a substantive reason having to do
  17      with what was happening with DACA?
  18             A.   No.
  19             Q.   Okay.   Was it just a scheduling issue?
  20             A.   Yes.
  21             Q.   Okay.   Was that meeting, the follow-up
  22      meeting, rescheduled?
  23             A.   Not to my knowledge.
  24             Q.   Okay.   Did you have any other follow-up
  25      communications from the White House about either the

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   1      August 24 meeting or this canceled meeting?
   2             A.   No.
   3             Q.   Okay.   Did you have any follow-up
   4      communications from the August 24 meeting with anybody
   5      from the Department of Justice from Attorney General
   6      Session's office?
   7             A.   No.
   8             Q.   When did you find out that -- well, actually,
   9      let me step back and make sure the record is clean.
  10             A.   Sure.
  11                  MR. DETTMER:     So is our agreement about the
  12      exhaustion of -- in all the questioning that we had
  13      about the August 24th meeting, do I need to ask him
  14      all the questions about the follow-up meeting?
  15                  MR. GARDNER:     The meeting that did not
  16      happen, you mean?
  17                  MR. DETTMER:     Correct.
  18                  MR. GARDNER:     It didn't happen.       So there
  19      wouldn't be anything to ask.             Are you asking about the
  20      substance of a meeting that didn't happen?              I'm not
  21      trying to be cute with you.
  22                  MR. DETTMER:     No.     No, I understand.
  23                  MR. GARDNER:     I'm just trying to make sure I
  24      understand what you want to know, and then I'll try --
  25      I'm trying to be accommodating.

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   1                  MR. DETTMER:     Sure.
   2             Q.   Were there any substantive conversations
   3      about DACA at that -- before you all split up having
   4      gathered there at the White House?
   5                  MR. GARDNER:     You can answer that with a
   6      "yes" or "no."
   7                  THE WITNESS:     No.
   8      BY MR. DETTMER:
   9             Q.   So you all showed up.           Someone said, "The
  10      meeting is not happening" and you left?
  11             A.   Yes.
  12             Q.   Okay.   Well, I guess there's nothing
  13      substantive there, then.
  14                  MR. GARDNER:     That was why I was sort of
  15      inquiring.
  16      BY MR. DETTMER:
  17             Q.   Did you -- let me ask this, actually.            Was
  18      there sort of a read ahead document or some kind of
  19      package of information at that follow-up meeting that
  20      was canceled?
  21             A.   No.
  22             Q.   Did you ever get any sort of agenda or any
  23      kind of, you know, substantive information in
  24      connection with that meeting that was canceled?
  25             A.   Not that I recall.

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   1             Q.   Did you ever see minutes of the August 24
   2      meeting?
   3             A.   No.     I don't recall.
   4             Q.   Or any kind of, you know, written description
   5      of what was said at that meeting.
   6             A.   I don't recall receiving one.
   7             Q.   Okay.     Did you see people taking notes at
   8      that meeting?
   9             A.   Probably.
  10             Q.   Do you remember who?
  11             A.   I don't recall specifically.
  12             Q.   Was there somebody tasked with taking notes
  13      of that meeting, to your knowledge?
  14             A.   So I believe by position, yes.
  15             Q.   Who would that be?
  16             A.   Probably Mr. Porter.
  17             Q.   Okay.     And did you see Mr. --
  18             A.   Probably.
  19             Q.   Understood.      Did you see Mr. Porter taking
  20      notes at that meeting?
  21             A.   I did not focus on -- I did not see him
  22      taking notes.
  23             Q.   Okay.     You're just not sure whether he did or
  24      not?
  25             A.   I didn't focus on if people were taking

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   1      notes, frankly.
   2             Q.   Fair enough.     Just it's your understanding
   3      that given his role, that would be something he would
   4      do?
   5             A.   Possibly, yes.
   6             Q.   Okay.   Okay.    Did you ever have follow-up
   7      conversations with people within DHS about that
   8      August 24 meeting?
   9                  MR. GARDNER:     You can answer that again with
  10      a "yes" or "no" without getting into the substantive
  11      conversations.
  12                  THE WITNESS:     Yes.
  13      BY MR. DETTMER:
  14             Q.   Okay.   Who?
  15             A.   Gene Hamilton.      As I recall, the Secretary,
  16      Acting Secretary.      And I believe as well, as I recall
  17      correctly, members of my own team with the few folks
  18      that we were working on this.
  19             Q.   Okay.
  20             A.   As I recall.     It was a compressed time line.
  21             Q.   Understood.     Did you ever send any E-mails to
  22      anybody about that meeting?
  23             A.   About what occurred in the meeting?
  24             Q.   Yes.
  25             A.   I don't recall sending sort of a summary of

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   1      the meeting per se.
   2             Q.   Okay.
   3             A.   I don't recall.
   4             Q.   Did you take notes at the meeting?
   5             A.   I may have jotted one or two items.               Again, I
   6      was not focused on taking notes, watching the notes,
   7      more a conversation, discussion.
   8             Q.   Did you take the notes on your read-ahead
   9      document that you described?
  10             A.   If I did take notes, I think it would have
  11      been on that document.
  12             Q.   And was that document given to the lawyers in
  13      connection with this litigation, or a copy of it?
  14             A.   I provided all the hard copy documents that I
  15      had in response to our attorneys.                  So if -- so yes, if
  16      it was in that stack.        In other words, I looked, and
  17      those were the documents that I had.
  18             Q.   And you don't remember throwing that document
  19      away or anything like that?
  20             A.   No.
  21             Q.   Okay.   So we've talked about follow-up
  22      conversations with the White House, with the
  23      Department of Justice, with people on your own staff
  24      or within DHS.      Any other communications that we
  25      haven't talked about yet that you remember having as

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   1      follow-ups to either the August 24 meeting or the
   2      canceled meeting?
   3             A.   No.
   4             Q.   Okay.
   5             A.   Not outside those parameters.
   6             Q.   And obviously, this conversation we're having
   7      today.
   8             A.   Well, yes.     Correct.        Self-evident.
   9                  MR. DETTMER:      Okay.       So there, obviously, is
  10      another area where I would like to ask him about the
  11      conversations that he had with people within DHS about
  12      the substance of the meeting.              Are we okay that, you
  13      know, if we get a ruling that we can ask those
  14      questions that I haven't waived anything?
  15                  MR. GARDNER:      Well, depending on what the
  16      ruling is.
  17                  MR. DETTMER:      Of course.
  18                  MR. GARDNER:      Why don't we do this so we have
  19      a very clear record.         Why don't you ask the questions
  20      you want to ask, and I can, on a question-by-question
  21      basis -- I'm not saying you need to go through your
  22      entire list, but if you want to ask your ultimate
  23      question that you think I think might be privileged so
  24      we can get a real nice, clean record.
  25                  MR. DETTMER:      Sure.

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   1             Q.   So Mr. McCament, what did you discuss with
   2      people at DHS about the August 24 meeting?
   3                  MR. GARDNER:      Objection.            Calls for the
   4      disclosure of information subject to the deliberative
   5      process privilege.        I instruct the witness not to
   6      answer.
   7      BY MR. DETTMER:
   8             Q.   And you're going to follow your lawyer's
   9      instruction?
  10             A.   I do.
  11                  MR. DETTMER:      And, you know, obviously, I've
  12      got a whole bunch of follow-up questions.
  13                  MR. GARDNER:      I understand.            I think we will
  14      definitely agree that your subsidiary questions would
  15      be encompassed by the broader question.                   It would be
  16      unreasonable to think otherwise.
  17                  MR. DETTMER:      It sure wouldn't be a good use
  18      of our time.        All right.     I think we've been going for
  19      another hour.        Should we take a break and change?
  20                  THE VIDEOGRAPHER:         We are going off the
  21      record at 11:45 a.m.
  22                  (A recess was taken from 11:45 a.m.
  23                  to 12:00 p.m.)
  24                  THE VIDEOGRAPHER:         We are back on the record
  25      at 12:00 p.m.

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   1      BY MR. DETTMER:
   2             Q.   All right.     It won't surprise you to hear I
   3      have a few follow-up questions from our earlier
   4      discussion.        So one question, I think you mentioned
   5      that you had some communications with your staff
   6      following that August 24 meeting.                   Obviously not
   7      getting into the substance of them for now.                   One of
   8      the things that you, I think, mentioned was that they
   9      were working on various tasks related to DACA at the
  10      time; is that right?
  11             A.   Yes.
  12             Q.   What were they doing with respect to DACA at
  13      that time?     So I guess we're talking about, you know,
  14      the week following August 24?              What was your staff
  15      doing with respect to DACA at that time?
  16             A.   So with respect to the DACA program at large
  17      or the rescission --
  18             Q.   Let's start with that.             How about -- well,
  19      actually, why don't we start with the rescission.
  20      What tasks did they have?
  21                  MR. GARDNER:      So I had understood you to be
  22      asking about the DACA program more generally, which I
  23      have no objection to.         If the question is about issues
  24      relating to DACA rescission, I would object on the
  25      bases of deliberative process privilege.

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   1                     If you can answer that question without
   2      getting into deliberative process making, please
   3      answer the question.
   4                     THE WITNESS:   With respect to the rescission?
   5                     MR. GARDNER:   As I understood his question.
   6      BY MR. DETTMER:
   7              Q.     Yeah.
   8              A.     So outside the decision for rescission --
   9              Q.     Yeah.
  10              A.     -- but continuing to gather review data on
  11      DACA requesters, recipients, program parameters as
  12      being currently operated.
  13              Q.     So without giving me sort of -- and again,
  14      I'm asking the questions in this way --
  15              A.     Sure.
  16              Q.     -- just to try to get what we can, you know,
  17      in the absence of a ruling thus far.
  18                     Without giving sort of the substance, were
  19      they gathering data to inform the decision-making
  20      process on DACA rescission?
  21              A.     Yes.
  22                     MR. DETTMER:   Okay.       Were they -- so
  23      okay.        Let's put that to the side because I would like
  24      to ask all sorts of substantive questions about that.
  25      You're going to give an instruction, and you're going

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   1      to follow it.       Is that fair, and we can say we're set?
   2                  MR. GARDNER:      That's correct.       That's
   3      correct.
   4      BY MR. DETTMER:
   5             Q.   So let's put that to the side.
   6                  Were they drafting any sort of drafts of
   7      documents for release to the public in connection with
   8      that decision-making process?
   9             A.   Yes.
  10             Q.   Okay.    When did that work start?
  11             A.   As I recall?
  12             Q.   Yes.
  13             A.   During that week before the September 5.
  14             Q.   Okay.    So in September or in August?
  15             A.   So at the end of August --
  16             Q.   Okay.
  17             A.   -- into --
  18             Q.   Into September?
  19             A.   -- coming up to September 5.
  20             Q.   Okay.    So it was after the August 24 meeting.
  21      Was it --
  22             A.   As I recall, yes.
  23             Q.   -- do you remember did that work start before
  24      the canceled meeting or after?
  25             A.   I believe after, but I don't recall the

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   1      specific date of the canceled meeting post August 24.
   2             Q.   Fair enough.     Who was involved in drafting
   3      documents for release to the public?
   4             A.   At which part?
   5             Q.   What we were just talking about, that
   6      started, I think you said either at the very end of
   7      August or at the beginning of September.
   8             A.   Right.    So the USCIS team, then?
   9             Q.   Yeah.
  10             A.   For USCIS, myself, Jennifer Higgins, Craig
  11      Symons, Kathy Nuebel, Gillian Cristensen, I believe
  12      Don Neufeld as well.        And perhaps, I think, Ernest
  13      DeStefano and Joe Moore, as I recall sort of --
  14             Q.   And --
  15             A.   -- at USCIS.
  16             Q.   Okay.    And then I guess my next question
  17      is -- well, I have a couple of follow-ups to that.
  18      The documents that that team was working on, were they
  19      documents that were to be released by USCIS sort of
  20      under USCIS auspices, or were they for another agency
  21      or branch of government, or both?
  22             A.   Both, I guess is the right way to say.
  23             Q.   And were the documents that were being
  24      drafted by that team eventually released to the public
  25      in some form?

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   1             A.   Final versions were released --
   2             Q.   Okay.    When?
   3             A.   -- as I recall.
   4                  On September 5 --
   5             Q.   Okay.
   6             A.   -- or after.
   7             Q.   Okay.    Now, you sort of drew up a team of
   8      USCIS people.       Were there other government employees
   9      or officials who were also working on a similar
  10      project, drafting materials to be released to the
  11      public in connection with the DACA rescission that
  12      you're aware of?
  13             A.   Yes.
  14             Q.   Okay.    And who were those people?
  15             A.   So at the Department, DHS working with us on
  16      those materials.
  17             Q.   And who?
  18             A.   As I recall Jonathan Hoffman is definitely
  19      one.    And I'm pretty sure Gene Hamilton as well from
  20      the Department, working with us.
  21             Q.   Anybody else you can remember at DHS?
  22             A.   Not off the top.        I mean there's -- I don't
  23      recall their names.          There may well have been.
  24             Q.   Did that team that you've just described,
  25      USCIS and DHS, working on those documents, did they,

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   1      to your knowledge, communicate with other government
   2      officials about that project?
   3             A.   Not to my direct knowledge.
   4             Q.   Okay.
   5             A.   To my knowledge --
   6             Q.   Did you ever hear that, "Oh, we heard from"
   7      so and so "about, you know, what we're writing, and
   8      they gave us this feedback."             Anything like that?
   9             A.   I don't recall that, but I most likely did.
  10      But I just don't recall seeing that or hearing that.
  11      But most likely, I did.
  12             Q.   Did you have any communications with anybody
  13      at the White House or DOJ about that project?
  14             A.   No.
  15             Q.   Okay.   But you think there was some feedback
  16      that people got on the team that you heard about?
  17                  MR. GARDNER:     Objection because that
  18      mischaracterizes the witness' testimony.
  19                  THE WITNESS:     So if you can ask your question
  20      again.
  21      BY MR. DETTMER:
  22             Q.   Sure.   Maybe I'm just clarifying what I think
  23      you said, but I want to make sure I've got it right.
  24                  Did you get any feedback from anybody on that
  25      DHS, USCIS team drafting these documents --

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   1             A.   Uh-huh.
   2             Q.   -- that they got feedback from either people
   3      at DOJ or at the White House about that project?
   4             A.   I don't recall that being said for DOJ or the
   5      White House.        It would be a standard practice --
   6             Q.   Okay.
   7             A.   -- and some feedback.
   8             Q.   Okay.     Do you know whether the documents
   9      being worked on were shared with DOJ or the White
  10      House in that process?
  11             A.   I don't recall specifically that they were,
  12      but, again, there's a vetting process usually.
  13             Q.   Okay.     So that would be a standard operating
  14      procedure, to share those documents.                 You just don't
  15      know whether specifically it happened in this case.
  16             A.   Generally, it would be.             I don't recall
  17      specifically in this case.
  18                  MR. DETTMER:      Okay.       Okay.     And I hate to be
  19      a broken record, but obviously, I want to ask all
  20      sorts of substantive questions about that.                 We're just
  21      going to agree that I don't have to and --
  22                  MR. GARDNER:      Yeah.       Why don't you just,
  23      again, for the record, ask your sort of ultimate
  24      question so we can get a clear transcript.
  25                  MR. DETTMER:      Okay.

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   1             Q.   Why don't we start with this.               What were the
   2      documents that this team was working on that we've
   3      just been discussing?
   4                  MR. GARDNER:     And to be clear, are you asking
   5      for the final documents that were issued?                  Because
   6      I'll let him answer that question.
   7                  MR. DETTMER:     Okay.
   8                  MR. GARDNER:     To the extent there's a final
   9      document that became publicly issued, you can identify
  10      those documents.
  11                  THE WITNESS:     Yeah.       With respect to the
  12      final documents, there was, as I recall, a news
  13      release.
  14      BY MR. DETTMER:
  15             Q.   Okay.
  16             A.   For our purposes, also there was a script for
  17      calls that were held on the day of the announcement.
  18      I believe there were DACA rescission FAQs, as well, to
  19      supplement the FAQs that existed.                  And I believe there
  20      may have been a couple of other media -- related
  21      materials, but I'm just not recalling.                  Those were the
  22      core ones that I recall, as far as what we were
  23      working on for the communications.
  24             Q.   Did this team that you've just described, did
  25      it have any role in Secretary Duke's memo, rescission

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   1      memo?
   2                   MR. GARDNER:    Objection.            That calls for
   3      disclosure of information and subject to deliberative
   4      process privilege.
   5                   I would instruct the witness not to answer.
   6      BY MR. DETTMER:
   7              Q.   And you're going to --
   8              A.   And I will take Counsel's advice.
   9              Q.   Same question for her statement that she
  10      released in connection with the memo.
  11                   MR. GARDNER:    Same objection.            Same
  12      instruction.
  13                   THE WITNESS:    And same following of Counsel.
  14      BY MR. DETTMER:
  15              Q.   And were you consulted in any way in
  16      connection with those two documents that I just
  17      mentioned in advance of them being released?
  18              A.   Yes, with respect to her memo of direction to
  19      us.
  20              Q.   Okay.
  21              A.   And you asked the second -- sorry.                First was
  22      her memo, and the second --
  23              Q.   There was the statement that she released
  24      along with her memo?
  25              A.   Right.   I don't recall being consulted on

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   1      that one.     I might have been.
   2             Q.   You saw the document after it was released
   3      but --
   4             A.   I definitely saw it after it was released.              I
   5      don't recall seeing it before.              But certainly, the
   6      draft memo, yes.
   7             Q.   Do you remember when you were first consulted
   8      on the rescission memo?
   9             A.   Approximately, as I recall, so yes.           In that
  10      week after the August 24, as I recall.
  11             Q.   Okay.   So before the canceled meeting?
  12             A.   Again, apologies, but I'm not sure of the
  13      precise date during that week as far as that canceled
  14      meeting.     I think it was mid-week.
  15             Q.   Okay.   Do you remember, just as you sit here,
  16      regardless of the date, whether you were first
  17      consulted on the rescission memo before or after that
  18      canceled meeting?
  19             A.   I'm pretty sure before.
  20             Q.   Okay.
  21             A.   And I'm pretty certain it was after the 24th.
  22      It could have been before, but I don't think so.
  23             Q.   What was sort of the form of how you were
  24      consulted?     Did Secretary Duke come talk to you or was
  25      it one of her staff members?             How did that happen?

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   1                  MR. GARDNER:     And just to caution you, the
   2      substance of --
   3                  THE WITNESS:     Right.
   4                  MR. GARDNER:     -- what you contributed would
   5      be privileged, but he's asking you a process question
   6      which you can answer.        So just be cognizant of that.
   7                  THE WITNESS:     Okay.
   8                  So could you ask your question again?
   9      BY MR. DETTMER:
  10             Q.   How did it come about that you were consulted
  11      initially in connection with the rescission memo?
  12             A.   As I recall being provided a copy of the memo
  13      electronically.
  14             Q.   (Inaudible.)
  15             A.   Yes.
  16             Q.   And asked for your input?
  17             A.   Yes.
  18             Q.   And did you provide input?
  19             A.   As I recall, I did, yes.
  20             Q.   Via E-mail or a phone call or a meeting, or
  21      some combination?
  22             A.   As I recall, definitely E-mail.               I don't
  23      recall, by phone, a conversation.                  It could have been
  24      as well.
  25             Q.   And who was that E-mail exchange with?

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   1              A.   So I think with Gene Hamilton.
   2              Q.   Okay.
   3              A.   Possibly -- again, I'm trying to reflect --
   4      Chad Wolf as well, but it may have been just through
   5      Gene.
   6              Q.   Okay.    And what was the advice that you gave
   7      on that memo?
   8                   MR. GARDNER:     Objection.            Calls for
   9      disclosure of information subject to deliberative
  10      process privilege.
  11                   I instruct you not to answer.
  12                   THE WITNESS:     Yes, I will take advice of
  13      Counsel.
  14      BY MR. DETTMER:
  15              Q.   And obviously, I have a bunch of follow-up
  16      stuff.
  17              A.   Okay.
  18              Q.   The canceled follow-up meeting, a couple
  19      other questions about that.             So I think you described
  20      DHS/USCIS people who showed up to that meeting --
  21              A.   Right.
  22              Q.   -- and were told that it was canceled?
  23                   Did anybody from the Department of Justice
  24      show up at that meeting also?
  25              A.   I believe the attorney general was scheduled

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   1      to attend.
   2             Q.    Right.
   3             A.    I don't recall seeing him in the room because
   4      the meeting hadn't started.             So some folks were there
   5      and not in the room.
   6             Q.    Okay.
   7             A.    Others of us were there waiting.
   8             Q.    So who was in the room waiting?
   9             A.    The group from DHS.
  10             Q.    Right.
  11             A.    And as far as the others, we waited for a
  12      while until we were told that it was canceled.                   I
  13      believe, as I recall, I think the attorney general was
  14      there and then stepped out.             And then -- I'm trying to
  15      remember because it didn't occur.                   So our group, DHS,
  16      USCIS.      I think the attorney general.               I think Kathy
  17      Kraninger, and I'm not -- I don't recall Director
  18      Mulvaney, whether he was sitting there, had come in,
  19      had not come in.        Because we waited for a while before
  20      it ended -- or we were told it was over due to
  21      scheduling.
  22             Q.    Okay.    Can you remember anybody else who came
  23      in or --
  24             A.    I don't, because largely, it was our
  25      DHS/USCIS that sat for a while --

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   1             Q.   Got you.
   2             A.   -- waiting to hear.
   3             Q.   I may have asked this -- I don't think I
   4      did -- who told you that the meeting was canceled?
   5             A.   Someone came in from -- I think from either
   6      General Kelly's office or the Vice President's office.
   7      One of the staff came in and said, "I'm sorry.               We're
   8      not going to be able to hold the meeting.             Another
   9      matter."
  10             Q.   So it was just somebody relaying the message?
  11             A.   Yes.
  12             Q.   It wasn't a player, so to speak, in the --
  13             A.   Not that I recall, no.
  14             Q.   Not to use that term.
  15             A.   No, understood.
  16             Q.   Did you ever have any -- other than what you
  17      just mentioned, did you ever have any communications
  18      with the Vice President's office about DACA
  19      rescission?
  20             A.   No.
  21             Q.   Or the Vice President himself?
  22             A.   No.
  23             Q.   Are you aware of anybody -- did anybody tell
  24      you about, you know, "Vice President's office wants,"
  25      X, Y, or Z?        Did you ever get communications like

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   1      that?
   2              A.   I don't recall anyone sayings that.          Could
   3      have, but I don't recall.
   4              Q.   So when do you first remember learning that a
   5      final decision had been made on DACA rescission, that
   6      that was what was going to happen?
   7              A.   I think the final decision, during the week
   8      before September 5 for certain that it was going to be
   9      rescinded.
  10              Q.   Was it before or after the canceled meeting?
  11              A.   It was at that time.          I mean it was --
  12      September 5 was coming, and we were -- so it was
  13      around that time.        Sorry.
  14              Q.   No, I understand.        Sometimes our memory works
  15      in ways and you can connect something to an event,
  16      even if you don't remember when the event is.
  17              A.   Right.
  18              Q.   Do you remember was it sort of the same day
  19      as that canceled meeting, or your memory is not
  20      working that way?
  21              A.   I don't remember it that way because the
  22      meeting was canceled.
  23              Q.   Okay.    Did you ever -- were you ever
  24      consulted in connection with Attorney General
  25      Sessions, letter about DACA rescission?

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   1                   MR. GARDNER:     Object.       You can answer that
   2      with a "yes" or "no."         The contents of that we would
   3      assert privilege over.         So let's take it a step at a
   4      time.
   5                   THE WITNESS:     Okay.      So with respect to his
   6      actual letter?
   7      BY MR. DETTMER:
   8              Q.   Yes.
   9              A.   No.
  10              Q.   Did you ever see a draft of that letter
  11      before it was issued?
  12              A.   I don't recall seeing a draft of his letter.
  13      It could have been prior to the memo going.
  14              Q.   Okay.   How did you first get -- how did the
  15      final decision come to you?            How was it communicated
  16      to you that DACA was being rescinded?
  17              A.   That it was being finally decided and moving?
  18      From a couple different access points.              First was
  19      obviously her memo to us.
  20              Q.   You mean in draft form?
  21              A.   In draft form.     But there were multiple
  22      conversations about the possibilities operationally
  23      before the rescission.
  24              Q.   Okay.   So you think that when you -- when you
  25      got a draft of Secretary Duke's memo and were asked

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   1      to, you know, weigh in on it, at that point you said
   2      to yourself, "Well, it's final now, essentially?                The
   3      decision has been made"?
   4             A.   Right.    Conversations prior to, but yes, and
   5      it's set.
   6             Q.   Okay.    And that was before you saw Attorney
   7      General Sessions' letter, whether in draft or final;
   8      right?
   9             A.   Yes.
  10             Q.   By a week or so?
  11             A.   Probably, yeah.
  12             Q.   Okay.    So I'm going to obviously have to talk
  13      about this after lunch, but let me just ask generally,
  14      as you sit here today, what is your understanding of
  15      the reason for the rescission of the DACA program?
  16             A.   There's several.        First, the Secretary made a
  17      decision to rescind.
  18                  Second, the Supreme Court ruling, or divided
  19      ruling with respect to DAPA.             The Fifth Circuit
  20      ruling.     The district court before whom the DACA
  21      litigation would be -- or amendment would be filed,
  22      which leads to what I would say is a strong one,
  23      particularly is the Texas attorney general's letter or
  24      attorneys general letter with respect to amendment of
  25      their filing by September 5.

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   1                  Again, of course, as well, Attorney General
   2      Sessions' letter with respect to unconstitutionality
   3      and rescission, or lack of legality and decision and
   4      defense.
   5             Q.   Okay.    So just to recap, first, because
   6      Secretary Duke made the decision.
   7             A.   Right.
   8             Q.   Second, and I'll just sort of lump all these
   9      together, is the various decisions -- or the Supreme
  10      Court's 4-4 determination, Fifth Circuit's ruling, and
  11      the District Court's ruling in U.S. V. Texas?
  12             A.   Yes.
  13             Q.   The letter, I think that was signed by Texas
  14      Attorney General Paxton that was basically about that
  15      case; right?
  16             A.   Yes.
  17             Q.   And then Attorney General Sessions' letter.
  18             A.   Yes.
  19             Q.   Apart from those, any other reason that
  20      you're aware of for the rescission of DACA?
  21             A.   Not that I'm aware of.
  22             Q.   And so I guess the first one of those is
  23      really sort of a conclusion; right?                I mean because
  24      the Secretary said so isn't a reason.                It's an act.
  25             A.   Correct.    Yes.

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   1              Q.   Okay.     And then the second one is -- and a
   2      lump them together, the Supreme Court, Fifth Circuit,
   3      and District Court opinions in the U.S. V. Texas case.
   4              A.   These are not sequential in the list, but
   5      yes.     I mean the Secretary's is, but the others...
   6              Q.   Okay.     Fair enough.        So can you just sort of
   7      talk a little bit more about why those judicial
   8      decisions, in your view, are a reason for the
   9      rescission?
  10              A.   Yes.
  11              Q.   Please do.     And obviously, if you need a sip
  12      of water.
  13              A.   Thanks.     I think it needs to begin, though,
  14      with the State Attorneys General letter.
  15              Q.   So whatever order you think makes the most
  16      sense.
  17              A.   Right.     So if you're asking my opinion, sort
  18      of --
  19              Q.   Yeah.
  20              A.   What the State Attorneys General letter laid
  21      out with respect to the litigation and likelihood of
  22      success was a strong concern, from my view.
  23              Q.   Why?
  24              A.   Because the time line that was set for
  25      September 5 noted that the amendment would be before

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   1      the same district court judge who ended DAPA.               At the
   2      district court level ruled against DAPA and expanded
   3      DACA in that sense, if I said it correctly.
   4              Q.     I'm just going to repeat back to you what I
   5      think I'm understanding you saying, and if I get this
   6      wrong, please correct me.
   7              A.     Yes.
   8              Q.     But I just want to make sure I'm clear on
   9      what you're saying.
  10              A.     Sure.
  11              Q.     Your take is that the State Attorneys General
  12      letter made -- said that they would amend the
  13      complaint in front of this district court judge in
  14      Texas who had already ruled against DAPA and expanded
  15      DACA.        And that because that was their intent and they
  16      were going to do it on September 5, your belief is
  17      that it was likely that there would be a similar
  18      ruling against DACA.           Is that fair?
  19              A.     Yes.    That's fair.
  20              Q.     Okay.    And therefore, if all that happened,
  21      DACA would be found unconstitutional, improper.
  22      Whatever the result would be, it would be held to be
  23      enjoined?
  24              A.     That would appear to be likely, yes.
  25              Q.     And so if you could just sort of lay out why,

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   1      in your view, does that risk lead to a conclusion that
   2      it should be done away with proactively?
   3             A.   From my opinion?
   4             Q.   Yes.
   5             A.   Several points to that.            First, the Attorneys
   6      General letter, in addition to laying out those
   7      points, did indicate, as I recall -- I don't have it
   8      in front of me -- that DHS, although the letter, as I
   9      recall, was addressed to the Attorney General, but DHS
  10      should take action to wind down or rescind -- what
  11      terminology, I don't recall.             And nonetheless, that
  12      DACA, as currently being operated, and those with DACA
  13      would not have to be invalidated as I recall.
  14                  It was words to the effect of "Here are the
  15      concerns" and, you know, want DHS to end DACA, but
  16      those who currently have valid employment
  17      authorization documents or an allusion to that would
  18      not necessarily have to be rescinded.               And so DHS
  19      would have some control over winding down the program
  20      if they so chose was the way I read that letter.
  21                  So that's one point.          I may not be exactly
  22      remembering all the language in the letter.
  23             Q.   Sure.
  24             A.   But there's a much stronger point to that, or
  25      in my view, that's strong, but there's an additional

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   1      point, which is because the likelihood is very high,
   2      in my view, because I've been at USCIS since before
   3      DACA was stood up.       I was part of USCIS when Judge
   4      Hanen ruled, and understanding the operational impact,
   5      and again, from my personal opinion viewing this,
   6      there was a much stronger likelihood with that
   7      district court judge than a to-be-assigned district
   8      court judge or in another of the many district courts,
   9      if that makes sense.
  10                  There's an operational impact as well.
  11             Q.   What does that mean?
  12             A.   Sure.   So as we understood in gathering
  13      information, you know, checking our information in
  14      those weeks, the -- there are approximately 690,000 or
  15      so active DACA requesters, recipients.             Approximately
  16      800,000 who have applied and requested for DACA
  17      throughout the history of the program.             If you take
  18      that 690,000, my perspective from within USCIS and
  19      watching the district court actions before, that there
  20      was a good possibility that a ruling by that district
  21      court judge could act in the same way as happened with
  22      DAPA, but there's an important distinction to that.
  23             Q.   Which is?
  24             A.   That DAPA was never actually launched, that
  25      portion.     There were other pieces of Secretary

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   1      Johnson's element, but that was never launched.                     So
   2      the injunction halted the next steps.                  This is an
   3      active program, or at that time, particularly, in
   4      initials and renewals.
   5                     As an operational view, my view, that the
   6      judge could have ruled -- this is not speculating on
   7      whether he would have but what was presented, and that
   8      particular judge could have ruled to immediately
   9      invalidate all the employment authorization documents.
  10                     There were also approximately 100,000 --
  11      approximately, initials and renewals in our system
  12      being processed before September 5.                  Those too in
  13      theory, possibly, the judge could have ruled to
  14      immediately not only cease processing but require
  15      USCIS to perhaps rescind -- not rescind because they
  16      were being adjudicated for the initials.                  The renewals
  17      were being renewed.         We could have been required,
  18      could have, to pull those out of the system and refund
  19      100,000 application fees, and that it's not just the
  20      fees.        If you go from that group to 690,000, they
  21      could immediately have had everything invalidated.
  22      And that's over half a million people.                  So I'm saying
  23      that's, again, my personal perspective observing those
  24      factors.
  25              Q.     Okay.   Just to get this all on the table -- I

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   1      know I'd say we'd finish, but --
   2             A.   Sure.
   3             Q.   -- and we'll obviously talk about this after
   4      lunch, you also mentioned the AG's letter.              I think
   5      you've covered the other points that you mentioned.
   6             A.   Uh-huh.
   7             Q.   So what about the AG's letter, the U.S. AG's
   8      letter as a reason --
   9             A.   Certainly.
  10             Q.   -- in your mind for the rescission?
  11             A.   Certainly.     It definitely was.
  12             Q.   And why?     What about it?
  13             A.   Because the AG was providing guidance to the
  14      Department, that the Department of Justice did not
  15      feel that they could defend DACA, as I read the
  16      letter, against the Amended Complaint because it had
  17      some of the same -- or had the same failings -- that's
  18      not the word that was used in the AG's letter, and I
  19      apologize, but the same structural lack or lack of
  20      constitutionality that was applied to DAPA, the same
  21      underpinnings applied to DACA.
  22                  So therefore, you know, stating to the
  23      Secretary and recommending that she rescind the DACA
  24      memo of 2012 and implement an orderly and efficient
  25      wind-down.     It was also, I think -- I can't speak for

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   1      the Secretary but with respect to her memo, indicates
   2      that also was a factor, which certainly seems to tie
   3      with those other points.
   4                  MR. DETTMER:      Okay.       All right.   I'm only two
   5      minutes over.      Should we break now, have some food and
   6      then we'll come back in an hour?
   7                  MR. GARDNER:      That's fine.
   8                  MR. DETTMER:      Want to say 1:30 or 45 minutes.
   9                  THE VIDEOGRAPHER:         We're going off the record
  10      at 12:35 p.m.
  11                  (A recess was taken from 12:35 p.m.
  12                  to 1:38 p.m.)
  13                  THE VIDEOGRAPHER:         We are back on the record
  14      at 1:38 p.m.
  15      BY MR. DETTMER:
  16             Q.   All right.     Good afternoon.
  17             A.   Good afternoon.
  18             Q.   You know you're still under oath; right?
  19             A.   Yes.
  20             Q.   And on the record?
  21             A.   Yes.
  22             Q.   Are you aware of a meeting on the topic of
  23      DACA rescission that happened on August 21?
  24             A.   Yes.   If I have the date correct.
  25             Q.   Were you at that meeting?

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   1              A.     Can you specify as far as -- you mean as far
   2      as a White House meeting or at DHS?
   3              Q.     I'm not sure.      As far as I know, it was a DHS
   4      only meeting.          Are you aware --
   5              A.     Yes.
   6              Q.     -- of that?
   7              A.     Yes.
   8              Q.     Okay.    And were you at that meeting?
   9              A.     Yes.
  10              Q.     Who else was at that meeting?
  11              A.     As I recall, the acting secretary, the Chief
  12      of Staff.        I believe the Deputy Chief of Staff as
  13      well.        Gene Hamilton.     Joe Maher.            Nader Baroukh,
  14      Dimple Shah, myself, of course.                  I believe Kathy
  15      Nuebel, Craig Symons, I believe our chief of counsel.
  16      I think as well Tom Homan.              I'm trying to look around
  17      the room.        I think one of his advisors was there, if I
  18      recall correctly, John Feere.                I might be
  19      mispronouncing the last name.                I think Kevin McAleenan
  20      was there from customs and border protection.                     But
  21      certainly, it was someone from his team, or two
  22      people, I think, from his team.                  And, I believe, Kevin
  23      was there.        If not, it would have been Ron Vitiello.
  24      I'm not remembering exactly.
  25                     REPORTER MARTIN:        Ron Vitiello?

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   1                  THE WITNESS:     Sorry.       I apologize, Nancy.
   2      Ron Vitiello, who was the deputy -- acting Deputy
   3      Commissioner.       So if it weren't Kevin, it would be
   4      Ron.
   5                  And also -- those are the names I recall.                  I
   6      mean I don't recall the two names from CVP, but it
   7      might have been Julie Core, who's one of the executive
   8      commissioners.       Then probably a couple other people.
   9      It was a full room.
  10      BY MR. DETTMER:
  11             Q.   Okay.    How long did that meeting last?
  12             A.   What I recall, it was probably an hour.
  13      Somewhere between an hour and two hours.
  14             Q.   And where was it?
  15             A.   At the DHS headquarters.
  16             Q.   Who called that meeting?               Who was the
  17      motivator in making that meeting happen?
  18             A.   I don't know the motivator, but I think the
  19      scheduling invite would have come from the Secretary's
  20      office.
  21             Q.   Okay.    And did she lead the meeting?
  22             A.   Yes.
  23             Q.   And, you know, without getting into the
  24      substance, the topic was DACA rescission?
  25             A.   Yes.

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   1             Q.    Okay.    Were any decisions made at that
   2      meeting?
   3             A.    No, not that I recall.
   4             Q.    Was it sort of a preparatory-type meeting for
   5      the August 24 meeting?
   6             A.    So I don't -- no.        As I recall, it was not
   7      preparatory for that meeting.              It was to discuss the
   8      topic, potential DACA rescission.
   9             Q.    Who -- sorry.
  10             A.    Sorry.    So as I recollect, it may have been
  11      in preparation for a forthcoming meeting.                I don't
  12      remember it being set as that date for a meeting on
  13      the 24th, but it could have been.
  14             Q.    Who were the people who sort of spoke the
  15      most at that meeting?         Who were the primary
  16      contributors?
  17             A.    The Secretary.      I recall Joe Maher, Dimple.
  18      I think Nader was there.           If he was, I think he spoke.
  19      I'm pretty sure he was.          Myself.        I think Tom Homan
  20      spoke.      Again, if I'm not misremembering.            We've had
  21      several meetings with the three immigration agencies,
  22      non DACA issues over the years, over the months, but I
  23      think Kevin McAleenan or his team were there speaking,
  24      and I believe Kathy and Craig spoke as well.
  25             Q.    Was there anyone there who was not there sort

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   1      of under the DHS umbrella, from other agencies or --
   2              A.   No.     And I think I also -- if I didn't
   3      mention, Gene Hamilton was at the meeting, but I think
   4      he spoke as well.
   5              Q.   What was Gene's role again?
   6              A.   He was the senior counsel to the Secretary.
   7              Q.   Got you.     Okay.     Do you know Julie Kirchner?
   8              A.   Yes.
   9              Q.   To your knowledge, did Julie Kirchner have
  10      any role in all these discussions that we've been
  11      talking about today with respect to the rescission of
  12      DACA?
  13              A.   I don't recall her being at the meeting.            And
  14      if I may ask and answer in a couple points.              So with
  15      respect to the decisions we've discussed, she wasn't
  16      present.
  17              Q.   Okay.     Are you aware of her having any role
  18      in the decision-making process on DACA rescission?
  19              A.   Excepting her official title and role, I'm
  20      not aware of that.
  21              Q.   And what do you mean "excepting her official
  22      title and role"?
  23              A.   So she is a citizenship and immigration
  24      services ombudsman.
  25              Q.   And so you would expect somebody in that

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   1      position to have some role in the decision making?
   2             A.   Not necessarily, but I can explain.
   3             Q.   Please do.
   4             A.   So the ombudsman has by the definition the
   5      title of ombudsman, oversees partners with our agency,
   6      and so therefore, has opinions on our operations and
   7      involves themselves appropriately with the work or
   8      operations on decisions sometimes may, usually does
   9      not from a guidance perspective.
  10             Q.   Okay.   Well, just to go through the
  11      formalities, what was discussed at that August 21
  12      meeting?
  13                  MR. GARDNER:      Objection.            Calls for
  14      disclosure of information subject to deliberative
  15      process privilege as well as the attorney-client
  16      privilege.
  17                  I instruct the witness not to answer.
  18                  THE WITNESS:      And I follow my counsel's lead.
  19                  MR. DETTMER:      If I didn't say that I'm going
  20      to observe the formalities, you think I could have
  21      slipped that through?
  22                  MR. GARDNER:      I think so.            I'm still in a
  23      lunch coma right now.
  24                  THE WITNESS:      Looking at these different
  25      options to keep it going.

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   1      BY MR. DETTMER:
   2             Q.   Was there any follow-up to that August 21
   3      meeting that you were part of?
   4             A.   Yes.
   5             Q.   Can you describe that.
   6                  MR. GARDNER:     Objection.            Calls for
   7      disclosure of information and subject to the
   8      deliberative process privilege and potentially the
   9      attorney-client privilege.
  10                  I instruct the witness not to answer.
  11      BY MR. DETTMER:
  12             Q.   So --
  13             A.   I agree.   I concur, yes.
  14             Q.   So let me just back off of that just a little
  15      bit --
  16             A.   Sure.
  17             Q.   -- and ask you without divulging the
  18      substance of the follow-up conversations, how many
  19      were there, who were they with, when did they happen?
  20                  MR. GARDNER:     Objection.            Compound.   Can we
  21      do it question by question?            I'm not trying to --
  22                  MR. DETTMER:     No.     Sure.
  23             Q.   I'm trying to do it in a way that --
  24             A.   Understood.
  25             Q.   How many follow-up conversations do you

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   1      remember having?          Excuse me, follow-up communications
   2      do you remember having to that August 21 meeting?
   3              A.     A handful.     A few.
   4              Q.     Okay.    Less than five?
   5              A.     What is the time parameter when you say,
   6      "follow-up"?
   7              Q.     Well, you know, it's hard to say.                I mean it
   8      depends on what you mean by "follow-up."                      I mean --
   9              A.     That's why I was asking.
  10              Q.     -- if it's a communication that you
  11      understood was sort of a follow-up on that meeting,
  12      that's what I'm curious about.                  And I don't --
  13              A.     Right.
  14              Q.     I can't see it in your mind.
  15              A.     I can explain a bit of the parameters of why
  16      I asked the question.
  17              Q.     Sure.
  18              A.     So following any conversation with the
  19      Secretary or principal from that then role, or even
  20      this one, usually, on whatever the topic is there may
  21      be a variety of different types of communication or
  22      follow-up.        So it could be E-mail or calls asking for
  23      data.        Sometimes decisions are ultimately made.
  24      Sometimes they aren't.             So sorry.           I was trying to set
  25      the --

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   1             Q.    No.     No.   Understood.         And I'm sorry.   It is
   2      a little vague just by nature.
   3             A.    So I would say between the 21st and the 24th,
   4      meaning that that meeting then occurred at the White
   5      House.      There was, I think, a handful, maybe a
   6      couple -- I don't recall exactly -- follow-up on what
   7      was discussed.
   8             Q.    And do you remember who those communications,
   9      those follow-up communications were with?
  10             A.    Some.
  11             Q.    Tell me what you remember.
  12             A.    So follow-up on the discussions at the
  13      meeting for further information.
  14             Q.    Do you remember with whom?
  15             A.    So I recall Gene Hamilton would be one.                I
  16      don't recall if it came through other channels or not.
  17      It might have.
  18             Q.    Were those requests for additional data?                   Was
  19      that sort of the nature of the --
  20             A.    Additional data.          I think data would be
  21      correct overall.
  22             Q.    Okay.
  23             A.    If I may amend an earlier answer.             At the
  24      meeting as well, I believe on the 21st was Ambassador
  25      Nealon.      James Nealon as well.             Assistant secretary in

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   1      the policy office.
   2              Q.   Okay.     Do you remember whether Mr. Nealon
   3      made -- was a participant in the conversation?
   4              A.   I remember him speaking, but I don't remember
   5      the specifics given a lot of folks were discussing.
   6      So...
   7              Q.   Okay.     I think I'm going to sort of switch
   8      gears and take you back to earlier in your time at
   9      USCIS and ask you a few questions about earlier in the
  10      DACA program.        Sort of starting back in 2012-2013 time
  11      period --
  12              A.   Okay.
  13              Q.   -- and moving forward from there.
  14                   We had talked a little bit this morning about
  15      the roll-out of DACA --
  16              A.   Uh-huh.
  17              Q.    -- which you had some role in, it sounds,
  18      like, based on your position.               I'm going to show you a
  19      few of the documents that were put out by USCIS around
  20      the DACA program and just ask you a few questions
  21      about those if that makes sense.
  22              A.   Sure.
  23              Q.   Let me ask you one thing, though.           So for
  24      sort of a general question.              For the sort of official,
  25      you know, guidance documents that USCIS puts out, is

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   1      there a protocol that is generally followed in order
   2      to get those drafted and approved and released to
   3      people who have to sign off on them, that kind of
   4      thing?
   5             A.   Yes.
   6             Q.   And does that vary by the type of document,
   7      or is there sort of a general protocol that's
   8      followed?
   9             A.   A general protocol.
  10             Q.   Can you describe that?
  11             A.   With the caveat it's general.          It sometimes
  12      can change.
  13             Q.   Fair enough.
  14             A.   Yes.   It's probably better to explain it
  15      going backward, sort of from the point of publication,
  16      sort of working back.
  17                  So certainly, at the department level,
  18      usually if it's --
  19             Q.   DHS?
  20             A.   DHS.   If there is a -- I don't know if it's
  21      department initiative or department overseeing that
  22      initiative in particular, there would be clearance,
  23      what we'd call "clearance" by the public affairs, by
  24      the legislative affairs by the general counsel, but
  25      not always, but sort of a general review process that

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   1      happens at the department level before materials would
   2      be posted, cleared.
   3             Q.   So just to stop you a second there, because I
   4      want to hear the rest.         When you say, "clearance,"
   5      that means basically you have the final draft and it
   6      is circulated to those groups that you just mentioned,
   7      and they say, "Okay" or they say, "Change this"?
   8             A.   Right.    Generally.
   9             Q.   Right.
  10             A.   That's at the department level.
  11             Q.   Okay.
  12             A.   That may occur -- you're asking generally.
  13             Q.   Understood.
  14             A.   That may occur with the office of the
  15      executive secretariat to circulate those, or they may
  16      come directly from what we call "the components."
  17             Q.   Okay.
  18             A.   And that clearance process is also then made,
  19      in some fashion incorporate the office of the
  20      Secretary and the Deputy, not necessarily always,
  21      depending on the level, at the department level.
  22      Again, we're speaking to sort of these types of posted
  23      materials.
  24             Q.   Uh-huh.
  25             A.   Broadly, generally, then those are provided

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   1      up from the leadership at, in our case, USCIS, and
   2      therefore, those documents, that material, that piece
   3      of information would generally be reviewed by the
   4      office of the director and deputy director staff, at
   5      least, for clearance, and that would happen after,
   6      generally, construction at the -- if it's those types
   7      of materials -- office of communication, office of
   8      legislative affairs or public engagement.
   9             Q.   I will ask these questions -- some of these
  10      questions with more specific documents, but does it
  11      sometimes -- is it sometimes the case that posted
  12      documents are shared outside the Department before
  13      they're posted for clearance?
  14             A.   Yes.    Sometimes.
  15             Q.   How does that happen?           I mean is there
  16      somebody who's generally a decision maker?              How does
  17      that --
  18             A.   It really does vary.
  19             Q.   Okay.
  20             A.   But it definitely can be shared outside the
  21      department.
  22             Q.   Okay.    Is there -- and maybe there is no
  23      general answer to this, but who, typically, would make
  24      the decisions about the level of clearance that's
  25      necessary?     Would it be, like, a chief of staff or

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   1      what -- it just depends on the document or --
   2             A.   Generally, it's following the protocol I laid
   3      out.
   4             Q.   Okay.
   5             A.   Multiple levels of folks will review, and
   6      there's a general scribe those levels go up through
   7      the department, including, I mentioned the group that
   8      would include our own chief counsel and policy and
   9      other folks at the agency that it would go up through
  10      for review before posting to avoid surprises.
  11                  MR. DETTMER:     Okay.       All right.   Well, let's
  12      look at a few of these.
  13                  This is Exhibit 11.
  14                  (Deposition Exhibit 11 was marked for
  15                  identification.)
  16                  MR. DETTMER:     While you're looking at that,
  17      just for the record, Exhibit 11 is a three-page
  18      document.     Title up at the top, just for
  19      identification says, "General information.              How do I
  20      request considering of deferred action for childhood
  21      arrivals," and it says -- it's got the U.S.
  22      Citizenship and Immigration Services seal and name
  23      there.
  24                  I'll just note at the bottom of the page it
  25      says -- or the footer of each page it says, "October

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   1      2013."
   2             Q.   Do you think that's the publication date of
   3      this document?
   4             A.   Certainly of this document because it's on
   5      the footer.
   6             Q.   Okay.   So just, do you know what this
   7      document is?
   8             A.   Yes.
   9             Q.   What is it?
  10             A.   It's what we referred to as a "how do I."               It
  11      says it as well (indicating).
  12             Q.   And what's the purpose of this document, as
  13      far as you know?
  14             A.   For this document and for others is to
  15      explain general information with respect to one of our
  16      programs.
  17             Q.   Do you know whether there were similar
  18      documents for the DACA program before this, or do you
  19      think this is the first one?              Do you know?
  20             A.   I don't recollect.          I don't know for sure.
  21             Q.   Okay.
  22             A.   But, yeah, I don't know for sure.
  23             Q.   Let's see.     At this time you were -- remind
  24      me.    In October 2013 what was your job?
  25             A.   Chief of the office of legislative affairs.

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   1             Q.   Okay.   So this would not have been something
   2      that would be in your bailiwick at that point in time;
   3      right?
   4             A.   Not to create or --
   5             Q.   Okay.   Would it have been something -- or do
   6      you remember if this was something you received, were
   7      aware of?
   8             A.   I don't recall specifically, but quite
   9      probably as information regarding DACA.
  10             Q.   Turn to the second page of this Exhibit 11.
  11      If you look at sort of the first full question in the
  12      left-hand column, sort of halfway down the left-hand
  13      column.     One of the questions here is "Does this
  14      process," referring to DACA, "apply to me if I am
  15      currently in removal proceedings, have a final removal
  16      order or have a voluntary departure order."
  17                  And the response underneath that is, "This
  18      process is open to any individual who can demonstrate
  19      he or she meets the guidelines for consideration,
  20      including those who have never been in removal
  21      proceedings as well as those in removal proceedings
  22      with a final order or with a voluntary departure order
  23      as long as they are not in immigration detention."
  24                  Do you see where I read that there?
  25             A.   I do.

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   1             Q.   And I read that accurately?
   2             A.   Yes.
   3             Q.   So that's consistent with your understanding
   4      of how DACA worked before the rescission; right?
   5             A.   That is my understanding.
   6             Q.   So if an undocumented person was in removal
   7      proceedings but had met the eligibility criteria for
   8      DACA, they could be taken out of removal proceedings
   9      based on that?
  10             A.   According to as long as they are not in
  11      immigration detention.
  12             Q.   Okay.    If you look at the next column at the
  13      top, "Will USCIS conduct a background check when
  14      reviewing my request for consideration of deferred
  15      action for childhood arrivals."
  16                  Do you see there it says, "Yes.                 You must
  17      undergo biographic and biometric background checks
  18      before USCIS will exercise prosecutorial discretion,"
  19      and it goes on.
  20                  Are you familiar with that process the
  21      background check process under DACA, how it works?
  22             A.   Yes.    Generally.
  23             Q.   And is that a -- in your understanding, a
  24      rigorous background check process?
  25                  MR. GARDNER:     Objection.            Vague.

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   1                  THE WITNESS:      So --
   2      BY MR. DETTMER:
   3             Q.   You can answer if you can.
   4             A.   So could you ask the question again, please.
   5             Q.   Sure.     I can ask it a different way.
   6             A.   Please.
   7             Q.   Can you describe the background check
   8      process, what happens?
   9             A.   So as described here the biographic and
  10      biometric information is pulled, and we run that
  11      against the, in this instance as I recall, the TECS,
  12      Treasury Enforcement -- it's TECS now, it's the
  13      acronym, system to determine if there are any flags
  14      for information with respect to convictions, criminal
  15      records, other information.
  16             Q.   And just so we can understand that database
  17      that you just referred to, TECS, you said?
  18             A.   TECS, T-E-C-S.
  19             Q.   And do you know what that stands for?
  20             A.   Yes, I do.
  21             Q.   What does it stands for?
  22             A.   At one time it stood for the Treasury
  23      Enforcement, and I think it was Treasury Enforcement
  24      Customs System.        Subsequently, same system, it is now
  25      referred to as TECS by its acronym.

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   1             Q.   Got you.   I don't know how that works.           Is it
   2      a conglomeration of a whole bunch of different
   3      databases of convictions and --
   4             A.   It draws -- it's my understanding it draws
   5      from different databases of information but houses
   6      information in the system.
   7             Q.   Okay.   So is the idea if somebody has a
   8      conviction of some kind somewhere it will show up?
   9             A.   Yes, with a caveat.
  10             Q.   What's the caveat?
  11             A.   If it has been entered into the system.
  12             Q.   Okay.   Is there also a background check for
  13      gang affiliation?
  14             A.   So it's my understanding that with respect to
  15      gang affiliation, if there is information in the
  16      system that would come up, or a conviction for
  17      gang-related crimes, if it's in the system, it could
  18      come up.
  19             Q.   Looking a little further down that same
  20      column, there's a question, "Can I extend the period
  21      for which removal action will be deferred in my case."
  22      And this is looking at the date before the first set
  23      of renewals has come up; right?
  24             A.   Correct, based on the date.
  25             Q.   Yeah.   I don't know, nine months before the

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   1      first set of renewals more or less.
   2             A.   Uh-huh.
   3             Q.   So the answer is "Yes.             Unless terminated,
   4      individuals whose case is deferred pursuant to the
   5      consideration of deferred action for childhood
   6      arrivals, process will not be placed in removal
   7      proceedings or removed from the United States for a
   8      period of two years.         You may request consideration
   9      for an extension of that period of deferred action.
  10      You must also request an extension of your employment
  11      authorization at that time."
  12                  Do you know what the purpose was for putting
  13      the two-year renewal period in place?
  14             A.   I don't recall other than it was set as two
  15      years --
  16             Q.   Okay.
  17             A.   You mean the original; right?
  18             Q.   Yeah.     So you don't know what the reasoning
  19      was behind that period?
  20             A.   I don't recall, but it was a two-year period
  21      consistent for everyone.
  22             Q.   And was the idea that every two years DACA
  23      holders would have to go through these background
  24      checks again, and if they passed that background
  25      check, they were very likely to get a renewal of their

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   1      DACA status?
   2              A.   So with respect to your first question, would
   3      they go through that background check process each two
   4      years, yes, is the expectation or conduct.                     And if
   5      they met the qualifying criteria still, then it was
   6      very likely that they would.             The qualifying
   7      guidelines if I may point that out, yes.
   8              Q.   If they met the qualifying guidelines of
   9      DACA?
  10              A.   Right.   For renewal.
  11              Q.   And I think we talked about this perhaps a
  12      little bit this morning.          Was it your understanding
  13      that renewal was -- or the likelihood of renewal, if
  14      you meet the criteria, was a critical aspect of this
  15      program?
  16              A.   Sorry.   Explain that again.             Sorry.
  17              Q.   People would not sign up for this program and
  18      volunteer their personal information but for the
  19      prospect of likely renewal?
  20                   MR. GARDNER:    Objection.            Calls for
  21      speculation.
  22                   THE WITNESS:    I can speak to the way that
  23      initial was constructed, and that they had an
  24      expectation that if they qualified, they would receive
  25      it for two years.

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   1      BY MR. DETTMER:
   2             Q.   Right.
   3             A.   I'm sorry.     Maybe I'm not understanding the
   4      question.
   5             Q.   Maybe I'm not asking a clear question.
   6             A.   So that's the first time.
   7             Q.   Right.
   8             A.   Right.
   9             Q.   So did you have a concern -- let me just ask
  10      it about you -- when DACA was getting stood up that
  11      unless there was a renewal process that people would
  12      not sign up for the program?
  13             A.   So I don't recall -- again, I wasn't helping
  14      necessarily construct it; right?                I didn't recall
  15      thinking that there was -- post the first two years, I
  16      think we were all focused on how it would go the first
  17      two years.     It's an understandable concern once, a
  18      request.
  19             Q.   Did you ever hear concerns about that voiced
  20      by people in the legislature or their constituents,
  21      that people who were, you know, coming through their
  22      offices about that issue, about the likelihood of
  23      renewal?
  24             A.   So I cannot provide specifics, but yes,
  25      generally.

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   1             Q.   So just so I'm understanding, you're saying
   2      generally, you do recall that there were concerns
   3      raised by legislatures by the public that they wanted
   4      to know that renewal was something that was going to
   5      happen?
   6             A.   Was going to happen.            Within the time period
   7      coming up to the first renewal, I recall there was
   8      general concern.
   9             Q.   Do you remember being concerned about how to
  10      reassure legislators, people they're speaking for,
  11      that that in fact was going to happen?
  12             A.   So not -- well, so with respect to
  13      reassurance to them, my understanding is that would be
  14      on the basis of once we conducted the first renewal
  15      period that that would provide the reassurance that
  16      the renewal process would happen, if I understand the
  17      question correctly.
  18             Q.   Well, just --
  19             A.   Sorry.
  20             Q.   No.     No.   Maybe I'm not asking clear
  21      questions.        But just so I understand you, what you're
  22      saying is you thought that if the first renewal
  23      process in 2014 went smoothly and people were renewed
  24      in sufficient numbers, that that would give the
  25      reassurance that people were looking for?

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   1             A.   Slightly different --
   2             Q.   Okay.
   3             A.   -- but a part, which is leading up to the
   4      first renewal period, there was the question was it
   5      initial only or would there actually be a renewal
   6      process -- right? -- that was promised to be.               In
   7      order to address concerns as to whether that
   8      actually -- there would be a renewal process --
   9             Q.   No.     No, I appreciate it.
  10             A.   That there is to be a renewal process, the
  11      reassurance is when renewals start to occur.              That's a
  12      response that provides more reassurance.
  13             Q.   Okay.     Fair enough.        I guess, would you agree
  14      with me that this language that I just read in
  15      Exhibit 11 about "Can I extend the period for which
  16      removal action will be deferred," I mean that's an
  17      instance of the USCIS, you know, giving assurances --
  18             A.   Yes.
  19             Q.   -- that it will happen?
  20             A.   Yes.
  21             Q.   All right.     Are you aware --
  22             A.   Or could.
  23             Q.   Are you aware of other ones as well?            Do you
  24      remember?
  25             A.   Likely, because these are not the only

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   1      materials.     So...
   2             Q.   And did you address that question about
   3      renewals with people in the legislature in your job at
   4      the time?
   5             A.   Most likely.
   6             Q.   Okay.     So there are a couple other items on
   7      this Exhibit 11 I just wanted to ask you about.               The
   8      next item down -- again, this is pre the first
   9      renewal; right?
  10             A.   Uh-huh.
  11             Q.   "If USCIS does not exercise deferred action
  12      in my case, will I be placed in removal proceedings."
  13      Do you understand that question to be addressing the
  14      concern that, you know, here I'm giving my personal
  15      information to the people who are responsible for
  16      removals, at least DHS generally; right?
  17             A.   (Nods head.)
  18             Q.   And so do you understand this to be
  19      addressing the concern that DACA applicants may have
  20      about "Am I just signing myself up to get removed here
  21      if I sign up for this program"?
  22             A.   That would be my understanding of one way to
  23      advise on that process.
  24             Q.   And the answer, as you see, is "If your case
  25      does not involve a criminal offense, fraud, or a

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   1      threat to national security or public safety, your
   2      case will not be referred to ICE for removal
   3      proceedings except in exceptional circumstances."                  Do
   4      you understand that to be -- or to have been at the
   5      time the policy of DHS for DACA?
   6              A.   Yes.     Linked to what was said in our FAQs as
   7      well.
   8              Q.   Right.     Okay.    And just one more piece to
   9      follow up on that.
  10              A.   Sure.
  11              Q.   On the last page, the last question there,
  12      "What protections from disclosure are in place to
  13      protect information I share in my request for
  14      consideration of deferred action for childhood
  15      arrivals from being used for immigration enforcement
  16      purposes."      Sort of addressing a similar concern,
  17      obviously?
  18              A.   Right.     Right.
  19              Q.   This concern, is this something that you
  20      heard about from legislators in your role in the
  21      office of legislative affairs?
  22              A.   Yes.
  23              Q.   Okay.     And what were the types of concerns
  24      that you were hearing on this theme?                 Was it common?
  25              A.   I would say, "common," but again, it's across

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   1      multiple, different questions across multiple topics
   2      we received from the Hill.            So depending on the
   3      parameters of common, yes, they would ask it.
   4             Q.   What did you do in your job at the office of
   5      legislative affairs to address that concern?
   6             A.   I can speak to that generally and not
   7      specifically.
   8             Q.   Sure.
   9             A.   So generally, with respect to process, the
  10      role of the office of legislative affairs is to
  11      provide information about our policies and procedures
  12      as I explained.
  13                  So then for the second would be, again, to
  14      provide the specific references and information, point
  15      people to that, members of Congress and their staff.
  16             Q.   Such as this question and answer here as an
  17      example?
  18             A.   As an example, and our FAQs.
  19             Q.   Okay.     And in your experience in that job,
  20      did that information that you provided reassure the
  21      legislators and their staffs?
  22             A.   To the extent that they read, reviewed, and
  23      agreed, understood.        You know, we can only provide the
  24      information.        We can't speak to their confidence level
  25      or belief, but we would provide it to demonstrate that

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   1      we have answered that question.
   2             Q.   And I understand you had a number of
   3      conversations on that topic.
   4             A.   And DACA generally.
   5             Q.   And DACA generally.          Did you get feedback
   6      from the people that you're talking to that this was
   7      helpful, satisfactory, or not?
   8             A.   I would say helpful within limits.                  You know,
   9      it depends which member of Congress was either
  10      concerned about the information being protected or a
  11      member of Congress that was concerned that information
  12      would be precluded from review as well.                  That
  13      clarifies.
  14             Q.   So you had -- what you're saying is you had
  15      some members of Congress that were saying, "We need
  16      assurance that this information is not going to be
  17      used for enforcement purposes."               You had other members
  18      of Congress saying, "Why aren't we using this for
  19      enforcement purposes"?
  20             A.   Correct.   535 opinions.           Maybe not quite that
  21      many, sorry.     But yeah, many.
  22                  MR. DETTMER:     All right.            I'll ask the court
  23      reporter to mark this as Exhibit 12.
  24                  (Deposition Exhibit 12 was marked for
  25                  identification.)

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   1      BY MR. DETTMER:
   2             Q.   Exhibit 12, for the record, is a fairly
   3      lengthy document.        It has a table of contents on the
   4      front page.        It says, "Program Overview, DACA, How Do
   5      I Guide Initial Versus Renewal, DACA Tip Sheet," and
   6      then it goes on.
   7                  Do you know what this document
   8      is, Mr. McCament?
   9             A.   Yes.
  10             Q.   What is it?
  11             A.   It appears to be the package of information
  12      providing the overview on the program and the various
  13      materials that we utilized to discuss and present the
  14      program.
  15             Q.   Okay.     I see a couple places in here.         Dates.
  16      June 2014, if that helps you to place this in time.
  17             A.   Uh-huh.
  18             Q.   Would you have had any part in putting this
  19      document together?
  20             A.   I believe so.
  21             Q.   What would your role have been?          Let me ask
  22      it differently.
  23                  Do you remember helping to put this together?
  24             A.   So I remember seeing perhaps not all of this,
  25      but most of this information as part of promotional

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   1      materials in which the office of legislative affairs
   2      would have a review role.
   3             Q.   Okay.   And when you say, "promotional
   4      materials," can you explain that?                  What does that mean
   5      exactly?
   6             A.   I think that's a misstatement on my part.
   7      "Promotional" may sound a bit different.                  The
   8      presentation of the information regarding the DACA
   9      program.
  10             Q.   Okay.
  11             A.   And so you have listed all of the
  12      information, the frequently asked questions by topic,
  13      how do I, et cetera, all that's listed out.                     So,
  14      again, answering the questions, putting them on our
  15      website, making sure people are -- have access to that
  16      information.
  17             Q.   So these documents -- I see on Page 3 there's
  18      a notation of the "DACA toolkit."                  Have you heard that
  19      phrase?
  20             A.   Yes.
  21             Q.   Do you know how this package was
  22      disseminated?
  23             A.   I believe so.
  24             Q.   You mentioned the website.               Were there other
  25      ways as well?

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   1             A.   If I recall correctly, back in 2014 at the
   2      time of renewal, this also would have been packaged
   3      and provided by our customer service and public
   4      engagement team, or our public engagement to provide
   5      out to the public.
   6             Q.   Okay.   And do you know whether the public
   7      engagement team had sort of a plan for how it was
   8      going to be disseminated?           Did they have groups they
   9      sent it to, places where it would be most -- did they
  10      try to get as much exposure as they could to this?
  11                  MR. GARDNER:     Can we get sort of one
  12      question --
  13                  THE WITNESS:     Happy to answer.       Can you just
  14      sort of --
  15      BY MR. DETTMER:
  16             Q.   Sure.   Do you know, did the office of public
  17      engagement have a plan for maximizing the exposure of
  18      the public to this document?
  19             A.   Yes, to providing that information, as with
  20      all of our programs or benefits where we need to
  21      provide to try to provide it broadly.
  22             Q.   And do you know -- well, how much do you know
  23      about that plan?
  24             A.   That it is, as I recall, fairly reflective of
  25      how we work with other -- speak to our other programs

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   1      publicly.
   2             Q.   Did USCIS partner with, for example, advocacy
   3      groups to ensure that these were more broadly
   4      disseminated?
   5             A.   Yes, as I recall, as it was a toolkit for
   6      information dissemination.
   7             Q.   Okay.     So the "How Do I" guide in this
   8      Exhibit 12 is, I guess, an updated version of what we
   9      just looked at in Exhibit 11; right?
  10             A.   I believe so.
  11             Q.   And you'll see some of the same questions and
  12      answers that we looked at in Exhibit 11 are also in
  13      this version of the, "How Do I"; right?
  14             A.   It appears.
  15             Q.   At the end of it there's, again, the
  16      statement that the information -- I'm looking at --
  17      gosh, there's not a page number.                The last page of the
  18      "How Do I"?
  19             A.   Uh-huh.
  20             Q.   There's a statement that, "The information
  21      you provide in your request is protected from
  22      disclosure to U.S. Immigrations and Customs
  23      Enforcement, or ICE, and U.S. Customs and Border
  24      Protection, CBP, for the purpose of immigration and
  25      enforcement proceedings unless you meet the criteria

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   1      for an issuance of a notice to appear or referral to
   2      ICE under criteria explained in UC ICE's notice to
   3      appear guidance."      You understand that to be the
   4      policy at the time; right?
   5             A.   Yes.
   6             Q.   And still the policy today?
   7             A.   That's my understanding, yes.
   8             Q.   So I want to direct you to Page 8 of this
   9      document.     At the top it says, "Frequently Asked
  10      Questions."
  11             A.   Uh-huh.
  12             Q.   Are these the FAQs you're referring to?
  13             A.   I believe so.
  14             Q.   Okay.
  15             A.   I mean it appears.
  16             Q.   At least as of that time?
  17             A.   As of that time, yes.
  18             Q.   At the beginning of that part of this
  19      document it says, "What is deferred action for
  20      childhood arrivals," and I'll just read it.              "Over the
  21      past several years this administration has undertaken
  22      an unprecedented effort to transform the immigration
  23      enforcement system into one that focuses on national
  24      security, public safety, border security and the
  25      integrity of the immigration system."

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   1                   Based on your experience at the time at
   2      USCIS, is that consistent with your understanding at
   3      the time?
   4              A.   Of the perspective of the administration?
   5              Q.   Yeah.
   6              A.   That's my understanding of the perspective of
   7      the administration, yes.
   8              Q.   How about USCIS?
   9                   MR. GARDNER:    Objection.            Calls for
  10      speculation.
  11      BY MR. DETTMER:
  12              Q.   How about you, yourself?              Was that consistent
  13      with your understanding of what was happening at the
  14      time?
  15              A.   So my understanding, my view, observation,
  16      was the administration was undertaking an effort to
  17      transform the immigration system, really the way each
  18      administration does, and they will then delineate what
  19      they wish to focus on.         And so I think that's -- when
  20      they were focusing on those points, I wouldn't
  21      disagree with the administration's perspective on
  22      that, but every administration reviews the immigration
  23      system.
  24              Q.   In your view, was DACA -- did DACA further
  25      those goals in that sentence that I just read?

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   1             A.   So in my view, in part.
   2             Q.   Can you elaborate?
   3             A.   Sure.   So 1, DACA, as the request for
   4      deferred action, as you have asked, allowed people who
   5      did not have either a status or a benefit or an action
   6      of deferred action to receive that, No. 1.
   7                  No. 2, that then allowed them, if they
   8      qualified, to receive an employment authorization
   9      document, which meant that they were then able to be
  10      part, for that parameter of time under that grant for
  11      two years, to be within the immigration system.
  12                  So for those purposes I would say it brought
  13      them into the immigration system instead of being
  14      outside of the immigration system, however people may
  15      view that.     But they were now able to participate
  16      rather than being what would have been referred to as
  17      being in the shadows or other phrases that are used.
  18             Q.   And you yourself, based on your experience,
  19      you see that as a benefit?
  20             A.   A benefit from the step of, as was reflected
  21      in our own testimony, from the step of not having any
  22      ability to work or be in the system.               Again, for two
  23      years, that's a step.        It's not a permanent one, and
  24      statutorily is the only way to change that to become a
  25      real -- to become a long term immigration status

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   1      versus an action, a deferred action.
   2             Q.   And just to be clear, two years renewable,
   3      obviously?
   4             A.   Yes.     No guarantees, but certainly within
   5      those two years.
   6             Q.   Right.     And did you also see DACA as a
   7      benefit for USCIS, for DHS as far as bringing order to
   8      the immigration system?
   9             A.   A good question.         It had several facets to
  10      that, I think.        So first it added operational workload
  11      to the agency.
  12             Q.   Processing the application?
  13             A.   Processing among millions of requests or
  14      benefits already.        That requires more complexity of
  15      management, neither pro nor con, but it just adds to
  16      the workload.        It did address a segment of a
  17      population that, as was laid out, did not seem to have
  18      any other step.        Let me rephrase that.
  19                  Those requesters for DACA based upon
  20      Secretary Napolitano's memo, there were parameters,
  21      but it did mean those requesters who met those
  22      parameters could now come into the system, as I said
  23      earlier.     To me, I think that then allowed -- I'm not
  24      so sure if it's a benefit to DHS per se, but it
  25      brought another group of people into the legal

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   1      immigration system.        I think that's a benefit, though
   2      it was a limited one, and I shouldn't say -- let me
   3      qualify, not the benefit but the request and receiving
   4      DACA brought them into the system.
   5                  So I think that was a benefit, to have a
   6      portion of the population that previously was not, was
   7      able to now participate.           So that was sort of a broad
   8      goal in the immigration system.
   9             Q.   Okay.   Let me ask you to flip forward in the
  10      same document, Exhibit 12, Page 20.
  11             A.   Sure.
  12             Q.   This is still, I believe, the FAQs.
  13                  (The witness reviewed Exhibit 12.)
  14      BY MR. DETTMER:
  15             Q.   If you look at the right-hand column under
  16      "Renewal of DACA," it says, "USCIS encourages you to
  17      submit your request for renewal approximately 120 days
  18      or four months before your current period of deferred
  19      action under the DACA process expires."
  20                  Do you remember USCIS sending reminder
  21      notices to DACA holders to renew, send in their
  22      renewal application?
  23             A.   Yes, I do.
  24             Q.   What do you remember about that?
  25             A.   So I remember notices being sent out.            I

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   1      think this would have been 2014.               So we sent them out.
   2      I don't remember all the parameters, but I think it
   3      was around the 150 days or so prior.
   4             Q.   And do you remember that being a consistent
   5      practice of USCIS all the way through the rescission?
   6             A.   I think it was with a couple of parameters.
   7      1, I don't know when it actually began.                 I mean, in
   8      other words, the reminder for renewal probably was
   9      around this time that it started since there had been
  10      initials before.
  11             Q.   Right.
  12             A.   No. 2, we did adjust, if I recall correctly,
  13      and it was fairly recently.            So we sent renewal
  14      notices from our system, the CLAIMS 3 system, when
  15      CLAIMS was still managing the DACA processing.                   When
  16      it went into a different system, I think it was
  17      sometime in the -- probably -- I think it was this
  18      summer, we stopped sending those notices out, but we
  19      had not been sending them out.              So sorry it got so
  20      complicated.
  21                  So they were processed in CLAIMS 3, but DACA
  22      since 2016-ish, early, has been processed in our Ellis
  23      system, another electronic system.                 And I don't
  24      believe we sent notices out from Ellis.                 We did send
  25      them out from CLAIMS.        And so I think it was in late

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   1      spring, early summer -- it was early summer, I think,
   2      where we stopped sending them from CLAIMS now that all
   3      of the DACA notices are processing as occurring in
   4      Ellis.      A lot of acronyms, sorry.
   5             Q.    But the upshot being --
   6             A.    But the upshot -- sorry.
   7             Q.    Go ahead.
   8             A.    So the notices were sent around the time in
   9      the 2014, I think, when the first would have been sent
  10      until recently were sent out in early summer, I think.
  11             Q.    So you think the last ones were sent early
  12      this summer?
  13             A.    I believe the last ones were sent in July.
  14             Q.    And do you know why they stopped in -- July
  15      of '16?
  16             A.    July of '17.
  17             Q.    Do you know why they stopped then?
  18                   MR. GARDNER:     Objection.            You can answer that
  19      question with a "yes" or "no," but I think the inquiry
  20      into that, again, is implicating deliberative process
  21      privilege.      So you can answer that "yes" or "no."
  22                   THE WITNESS:     Yes.
  23      BY MR. DETTMER:
  24             Q.    Was there discussion -- you don't need to
  25      give me the substance of it, but was there discussion

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   1      of DACA rescission in July of this year?
   2             A.   Within USCIS or DHS?
   3             Q.   Yeah.
   4             A.   Not that I recall.
   5             Q.   Do you remember who made the decision to stop
   6      sending renewal notices out?
   7             A.   So it was an operational decision based upon
   8      the transition from the CLAIMS 3 printing mechanism to
   9      a different printing mechanism, and that construction,
  10      as I recall, wasn't programmed in because it was going
  11      to be very complex and costly to do so.
  12                  MR. GARDNER:     In light of that testimony,
  13      feel free to proceed.        I thought this was going
  14      somewhere slightly differently.
  15      BY MR. DETTMER:
  16             Q.   So what you're saying is there was some
  17      technical reason, based on the changeover of the
  18      systems, that it became complicated to send renewal
  19      notices from the new system?
  20             A.   To program it into the new system.
  21             Q.   And so the decision was made that they just
  22      wouldn't be sent anymore?
  23             A.   They would not be issued out, printed and
  24      mailed out.
  25             Q.   Do you know who made that decision?

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   1             A.    I think it was at least in part, as I recall,
   2      it would have been within the service centers.
   3             Q.    Okay.   Was there an effort made to figure out
   4      how to send them out with this new system and it just
   5      was too complicated?        How did that work?
   6             A.    So what I recall -- and I don't recall all
   7      the specifics.       I know it was fairly recent, but it
   8      was a mechanical.       So we switched from how we were
   9      previously printing the CLAIMS 3 system over to a new
  10      electronic print management system.                It was going to
  11      be very complicated, and I can't go into all the
  12      technical.      I don't understand it all either.
  13                   But to be able to transition over was going
  14      to be very complicated to sort of build that new
  15      module and put it in.        So it was not built into the
  16      claims, also knowing that most -- since February of
  17      '16, the DACA renewal, the cases request were put in
  18      the Ellis systems.       So those were just being ingested
  19      there.      There really wasn't as much of a need before.
  20                   Beyond that, I can't recall the technical
  21      specifics or if I knew that.
  22             Q.    Why was there no need anymore?            Maybe I'm
  23      just not understanding what that --
  24             A.    So as I understood, the claims system -- I
  25      hope I'm explaining it well, but the claims system

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   1      that processed prior, when they were switching over to
   2      how to print the centralized electronic printing
   3      module, as I recall, the comment was, and discussion
   4      was that it was going to be too costly to put in a new
   5      module.      So the last notification went out in July, I
   6      think, for the 180 days out, or I think it was for
   7      180 days out, and then I don't recall conversations
   8      about the next steps.        I think that's to your
   9      question.
  10             Q.    Yeah.
  11             A.    So that was sometime in July those reminder
  12      notices were sent out, and then the rescission
  13      occurred in September.         So -- but as far as -- I'm
  14      sorry.      I was trying to recall if there were any other
  15      technical discussions on that.
  16             Q.    So do you know, were there any renewal
  17      reminder notices sent out between July and September?
  18             A.    I don't believe so.         So the switchover -- so
  19      the last transmit of reminder notices went out in
  20      July, and I don't believe any went out in August --
  21             Q.    And to your understanding --
  22             A.    -- to my understanding.
  23             Q.    Well, sure.    But as far as you know, that set
  24      of facts doesn't have anything to do with the
  25      rescission itself, the decision to stop sending

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   1      renewal notices in July?
   2              A.   Not for the specific recession notice.             And I
   3      don't recall it.         I mean there could have been
   4      discussion or perception of -- with the attorney
   5      general at the end of June, but it was a mechanical
   6      decision as to why the switchover was happening with
   7      the notices.         So they went out in July, and then it
   8      would be maybe rescinded in September.
   9                   So I'm not trying to delink or link.             I'm
  10      just saying the next notices would have gone out
  11      probably at the end of August or the beginning of
  12      September.      Then rescission happened.
  13              Q.   So there was tranche sent out once a month.
  14      It wasn't like a continuous thing?
  15              A.   They were sent out regularly.             I believe they
  16      were sent out almost daily.              I think the last ones
  17      were sent out near the end of July, middle or end of
  18      July.
  19              Q.   Okay.     Okay.   I'm going to ask you to flip to
  20      the next page of this document.                 So it's Page 21 of
  21      Exhibit 12.
  22              A.   Sure.
  23              Q.   In the bottom of the right-hand column it
  24      says, "If my case is deferred under DACA, will I be
  25      able to travel outside the United States."

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   1                   It says, "Not automatically.          If USCIS has
   2      decided to defer action in your case and you want to
   3      travel outside the United States, you must apply for
   4      advance parole by filing a certain form and paying a
   5      fee."
   6                   That's something that somebody without DACA
   7      can't do; right?      An undocumented person without DACA
   8      can't apply for advance parole.
   9              A.   It's my understanding an undocumented
  10      person -- there are other options for advanced -- I
  11      mean people can request parole, not undocumented.
  12              Q.   So one of the benefits to an undocumented
  13      person receiving DACA status is that they're eligible
  14      for advanced parole?
  15              A.   If eligible under the parameters guideline.
  16                   MR. GARDNER:    I don't want to break your flow
  17      at all.      We've been going for about an hour.          Would
  18      now be a good time to take a break?
  19                   MR. DETTMER:    Sure.       We can take a break.
  20                   THE VIDEOGRAPHER:       We are going off the
  21      record at 2:38 p.m.
  22                   (A recess was taken from 2:38 p.m.
  23                   to 2:49 p.m.)
  24                   THE VIDEOGRAPHER:       We are back on the record
  25      at 2:49 p.m.

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   1      BY MR. DETTMER:
   2             Q.   Before the break we were talking about the
   3      cessation of the renewal notices going out in July.
   4             A.   Yes.
   5             Q.   And you mentioned that there may have been a
   6      discussion or perception with the attorney general's
   7      letter at the end of June in connection with that.                I
   8      just wasn't 100 percent clear on your testimony.
   9                  You remember Paxton's letter came out --
  10             A.   Right.    At the end of June.
  11             Q.   I don't remember exactly, end of June 2017.
  12             A.   Uh-huh.
  13             Q.   And do you remember discussions on the topic
  14      of that letter in connection with the cessation of
  15      renewal notices going out?
  16                  MR. GARDNER:     You can answer that question
  17      with a yes or no.       I think the content of that would
  18      be deliberative.       The content of those conversations.
  19                  THE WITNESS:     I don't remember, no.
  20      BY MR. DETTMER:
  21             Q.   You don't remember one way or the other?
  22             A.   No.
  23             Q.   So as I understand your testimony, there was
  24      this technical issue that would make it very expensive
  25      to switch over how the notices are going out?

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   1              A.   Right.
   2              Q.   And that happens in July?
   3              A.   To not switch them over to not -- the end of
   4      the last notices was in July, of those notices in
   5      July.
   6              Q.   So is it right that you -- "you" meaning you
   7      and USCIS -- were aware of this technical problem
   8      coming up before July?
   9              A.   Though not what I would view as a technical
  10      problem.      It was switching over to a different
  11      system -- or a different printing queue in the system.
  12              Q.   Fair enough.     So you were aware of the fact
  13      that -- before July, you were aware of the fact that
  14      it was going to be very expensive to keep sending out
  15      notices?
  16              A.   To make the switchover is what I recall, as
  17      part of many operational issues on many things.
  18              Q.   So there was sort of a cost benefit analysis
  19      of it's going to cost "X" amount to keep sending these
  20      out, and a decision is made not to do it?
  21              A.   That's what I recall.
  22              Q.   Okay.    And do you recall the Texas attorney
  23      general's letter being part of the mix of that
  24      conversation?
  25                   MR. GARDNER:     Objection.            Vague.

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   1                  THE WITNESS:     So if I may, you had earlier
   2      asked about if a decision on rescission or generally
   3      knowledge about rescission, and as I recall -- it may
   4      not be what came out in the testimony, but what I
   5      recall is stating that we were aware that the Texas
   6      attorney general's letter, which called for a
   7      wind-down or rescission.          I just don't recall in
   8      connection with deciding to end the notices that that
   9      was a factor discussed.         It might have been
  10      referenced.     I genuinely don't recall.
  11      BY MR. DETTMER:
  12             Q.   So it may have been.          May not have been.     You
  13      don't remember?
  14             A.   Right.    But it wasn't with respect to the
  15      rescission, it's going to end by -- it was the
  16      technical issue, the point of the cost of switching
  17      over and moving that was the reasoning.
  18             Q.   I'm not sure I ever got a clear answer to
  19      this question.       It may just be that I don't remember.
  20             A.   Sure.
  21             Q.   Who was the final decision maker on the
  22      question of "Are we going to switch over to this new
  23      system and keep sending out notices or not"?
  24             A.   So what I recall -- it was not a large issue
  25      at the time in that spring, summer, you know, to July

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   1      as it would have ultimately been an operational
   2      decision within the service centers -- service center
   3      operations.
   4             Q.   So would that be, like, the head of service
   5      center?
   6             A.   I believe it was Don -- it may have been --
   7      it may have been discussed with us, with myself.                  I
   8      didn't remember it at the time.               I don't remember
   9      that, but administering for the service centers,
  10      around 4 million applications and making changes in
  11      the system, I didn't recall that.
  12             Q.   Okay.
  13             A.   Hopefully, that's clear with respect to the
  14      operational side.
  15             Q.   I think so.     You don't remember being the
  16      decision maker on that issue of whether or not to keep
  17      sending notices out?
  18             A.   I don't remember that.
  19             Q.   Okay.
  20             A.   I don't recall that.          But yeah.
  21                  MR. DETTMER:     All right.            Let me show you,
  22      this has been marked as Exhibit 13.
  23                  (Deposition Exhibit 13 was marked for
  24                  identification.)
  25                  MR. DETTMER:     This is going back in time a

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   1      little bit again.
   2                  So this is a two-page document from USCIS's
   3      website, and it's got USCIS's crest and title at the
   4      top.
   5                  THE WITNESS:     Right.
   6                  MR. DETTMER:     And the title of document is
   7      "Don't Let Your Work Permit Expire.                Follow These DACA
   8      Renewal Tips."      And it says at the bottom, "Last
   9      reviewed" -- the "bottom" meaning the end of the
  10      document on the second page.             "Last review, updated
  11      6-5-2015."
  12             Q.   I want to direct your attention to the bottom
  13      of the first page.       It says, "Since March 27, 2015
  14      USCIS has been mailing renewal reminder notices to
  15      DACA recipients 180 days before the expiration date of
  16      their current period of deferred action.                Previously
  17      these reminder notices were mailed 100 days in
  18      advance.     The earlier notices are intended to ensure
  19      that DACA recipients are reminded before the start of
  20      the recommended renewal period and have sufficient
  21      time to prepare their renewal requests."
  22                  Do you see where I read that?
  23             A.   I do.
  24             Q.   Do you remember that switchover happening?
  25             A.   From 2015 on?

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   1             Q.   Yeah.     The change in time period of the
   2      renewal notices.
   3             A.   I do.     I think I generally recall when that
   4      was expanded.
   5             Q.   And is the description here of the reason for
   6      that change consistent with your recollection of why
   7      that change was made?
   8             A.   With respect to reminded before the start of
   9      recommended renewal period, and then sufficient time
  10      to prepare the renewal requests?
  11             Q.   Yeah.     To ensure -- as the document says, "To
  12      ensure that DACA recipients are reminded before the
  13      start of the recommended renewal period and have
  14      sufficient time."
  15             A.   That's my recollection in the discussions.
  16             Q.   And it was important in those conversations
  17      to the folks at USCIS making the decision that DACA
  18      applicants have sufficient time to do their renewals.
  19             A.   Yes, and I'd add, if I may --
  20             Q.   Please.
  21             A.   -- that as I recall, that also came from
  22      engagement with the public and the advocacy community
  23      requesting, I think, or at least coming from
  24      conversations leading to a decision by the leadership
  25      at the time to expand the notification.

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   1             Q.   So just so I'm clear on what you're saying,
   2      it was a reaction to sort of a request by the advocacy
   3      community?
   4             A.   And the general public.            So that's what I
   5      recall is as part of the monitoring working with
   6      respect to DACA or other requests for benefits, the
   7      decision was made to expand that.
   8                  MR. DETTMER:     Got it.        Okay.
   9                  (Deposition Exhibit 14 was marked for
  10                  identification.)
  11                  MR. DETTMER:     This has been marked as
  12      Exhibit 14.
  13             Q.   Exhibit 14 is, again, something printed from
  14      USCIS's website, and it is a 20-page document.               Title
  15      is "Frequently Asked Questions."               So this is another
  16      version of the FAQs that we were talking about
  17      earlier; right?
  18             A.   Yes, with the actual numbers --
  19             Q.   Okay.
  20             A.   -- I believe, yes.
  21             Q.   Yep.
  22                  And you're familiar with this document?
  23             A.   I'm familiar with as we've had the FAQs over
  24      the years, yes.
  25             Q.   Okay.   Do you -- did you have a role in

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   1      writing, revising these FAQs?
   2              A.   So yes, in part.
   3              Q.   Okay.   Can you explain what your role was?
   4              A.   Sure.   As far as I recall, there's a
   5      background piece to the FAQs, and then there's with
   6      respect to your drafting question.                 I'd like to
   7      provide both first with background.
   8              Q.   Okay.
   9              A.   The guidelines for DACA were set out as
  10      frequently asked questions, instead of regulation or
  11      some -- instead of regulation per se.                 So the
  12      frequently asked questions were drafted at the start
  13      of the launch of DACA.         I'm sure they were ready by
  14      August of 2015.       I believe there may have been some
  15      adjustments over time and with respect to being aware
  16      that those were being drafted and as part of the head
  17      of legislative affairs, I certainly recall seeing
  18      them.
  19                   So the second part is just I recall being in
  20      some of the discussions.          I don't really recall what I
  21      contributed because as the head of legislative
  22      affairs, that wasn't an operational role.
  23              Q.   Okay.   So is what you're saying that as the
  24      people responsible for drafting or revising these
  25      frequently asked questions would go through that

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   1      process, they may come and ask you, "What do you think
   2      about this" or get some input on that?
   3             A.   Or within the DACA working group, be
   4      elevating those up for the front office leadership or
   5      others to review.      That's why I don't want to over or
   6      understate the role.
   7             Q.   I appreciate that.         You don't have any
   8      specific recollection of commenting on any particular
   9      aspects of this document?
  10             A.   I don't recall commenting on specific
  11      iterations.     It's over five years.
  12             Q.   Sure.
  13             A.   So --
  14             Q.   Do you remember any specific subject matter
  15      that you weighed in on regardless of when it might
  16      have happened?
  17             A.   I don't recall weighing in specifically, and
  18      as I understand that, meaning sort of writing the
  19      question or influencing, I don't recall that.               USCIS
  20      does a lot of work on different topics, including
  21      guidelines at times or guidance documents.
  22             Q.   So let me ask you about a specific -- if
  23      you'll look at Page 4 of this document, the numbers
  24      are at the bottom right-hand corner.               It says, "4/20."
  25             A.   Uh-huh.

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   1             Q.   Question 9 says, at the bottom of the page,
   2      "If individuals meet the guidelines for consideration
   3      of DACA and are encountered by U.S. Customs and Border
   4      Protections, CBP or U.S. Immigration and Customs
   5      Enforcement, ICE, will they be placed into removal
   6      proceedings?"
   7                  Answer 9, "DACA is intended in part to allow
   8      CBP and ICE to focus on priority cases.             Under the
   9      direction of the Secretary of Homeland Security, if an
  10      individual meets the guidelines for DACA, CBP or ICE
  11      should exercise their discretion on a case-by-case
  12      basis to prevent qualifying individuals from being
  13      apprehended, placed into removal proceedings or
  14      removed.     If individuals believe that in light of this
  15      policy they should not have been apprehended or placed
  16      into removal proceedings, contact the Law Enforcement
  17      Support Center's hotline," and then it gives the phone
  18      number, 855- -- I won't read it -- "staffed 24 hours a
  19      day, seven days a week."
  20                  Do you see where I read that?
  21             A.   I do.
  22             Q.   Now, are you familiar with Law Enforcement
  23      Support Center's hotline?
  24             A.   I'm not.   I haven't dialed it or -- no.
  25             Q.   Is that something that's run by DHS?

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   1             A.   I actually don't know.
   2             Q.   Okay.
   3             A.   I know that there is a Law Enforcement
   4      Support Center hotline.         I'm not sure who the -- who
   5      runs it per se or how it feeds into other --
   6             Q.   Do you know whether it's still up and
   7      running?
   8             A.   As I don't know, candidly, who operates it, I
   9      don't know whether it's still up and running or not.
  10             Q.   Are you aware that at least, you know, before
  11      recently, that DACA holders who had been apprehended
  12      could call that number and be released?
  13                  MR. GARDNER:     Objection.            Vague.
  14                  THE WITNESS:     So I'm aware that because it's
  15      in the FAQ that they could call.               I'm not aware of the
  16      proceedings after that.         So what comes from that.
  17      BY MR. DETTMER:
  18             Q.   Okay.   So you don't know one way or the other
  19      what happened as a result of --
  20             A.   I don't.   I do not.
  21             Q.   Okay.   Do you know whether it was intended,
  22      as a matter of policy, that DACA recipients or people
  23      who meet the guidelines for consideration were
  24      supposed to be able to get out of removal proceedings
  25      by calling that phone number?

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   1             A.   I'm sorry.     Can you ask the question again?
   2      I was looking down at the answer, the FAQ as you were
   3      asking the question.         I think I may have processed it.
   4             Q.   And I guess what I'm getting at is obviously,
   5      the FAQs say that individuals who, in light of the
   6      DACA policy articulated in this Answer 9 who are --
   7      believe they should not have been apprehended or
   8      placed into removal proceedings on account of the fact
   9      that they meet the standards for DACA --
  10             A.   Right.
  11             Q.   -- it was the intent of USCIS that they be
  12      able to call this phone number and be able to get
  13      relief from that; is that correct?
  14             A.   It was the intention that -- my
  15      understanding, not having focused on this part over
  16      the years, but that they would be able to, as noted,
  17      look at the qualifications and meet the guidelines,
  18      and if they have been -- based on the last sentence,
  19      they've been apprehended or placed in removal
  20      proceedings, they could contact the Law Enforcement
  21      Support Center for potential relief.
  22                  I just can't speak to sort of how that -- the
  23      next steps from there or how relief was redressed or
  24      possibly --
  25             Q.   You don't know one way or the other?

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   1             A.   I do not.
   2             Q.   Do you know whether the Law Enforcement
   3      Support Center sits in the DHS org chart?             We can go
   4      back to the exhibit if that helps.
   5             A.   I do not know where it's located.           And given
   6      the role of USCIS, it's not on the law enforcement
   7      side per se.        So I do not want to misspeak.
   8             Q.   Sure.     So I just point out, and I think I
   9      know the answers.        If you look at the next page of
  10      this same exhibit, Page 5, Questions 13 and 14 are
  11      very similar.        13 says, "If I am about to be removed
  12      by ICE and believe I meet the guidelines for
  13      consideration of DACA, what steps should I take?"
  14                  And the answer is, "You should immediately
  15      contact the Law Enforcement Support Center's hotline."
  16                  And similarly, Question 14 asks the same
  17      question, "If I've been issued an ICE detainer
  18      followed by an arrest by a state or local law
  19      enforcement officer," and the same guidance is given.
  20             A.   Yes.
  21             Q.   And I take it your answer is the same.            You
  22      see that in here and you see that that's a
  23      recommendation that's given to people who are eligible
  24      for DACA or who are on DACA?
  25             A.   Yes.

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   1             Q.   But you're not sure exactly how that actually
   2      worked in practice?
   3             A.   I do not know, and I don't want to misspeak.
   4             Q.   Okay.     So let me ask you to turn to Page 16
   5      of this same exhibit, 14.            Question 51 at the top of
   6      that page asks how -- I'm sorry.                I'll wait for you to
   7      get there.        Don't mean to rush you.
   8             A.   Question?
   9             Q.   51.
  10             A.   Yes.
  11             Q.   "How will USCIS evaluate my request for
  12      renewal of DACA?"
  13                  The answer is "You may be considered for
  14      renewal of DACA if you meet the guidelines for
  15      consideration of initial DACA and you did not depart
  16      the United States on or after August 15, 2012 without
  17      advance parole, have continuously resided in the
  18      United States since you submitted your most recent
  19      request for DACA that was approved up to the present
  20      time, and have not been convicted of a felony,
  21      significant misdemeanor, or three or more misdemeanors
  22      and do not otherwise pose a threat to national
  23      security or public safety."
  24                  Now, do you know what the percentages are of
  25      people who applied for renewal who actually received

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   1      it?
   2                  MR. GARDNER:       Object- --
   3      BY MR. DETTMER:
   4             Q.   Do you know how common that is?
   5                  MR. GARDNER:       Sorry.      Objection.   Vague as to
   6      time frame.
   7                  THE WITNESS:       As far as overall approval rate
   8      for renewal?
   9      BY MR. DETTMER:
  10             Q.   Yeah.
  11             A.   I probably do know.           I just don't recollect.
  12             Q.   Can you ballpark it?
  13             A.   I'm sorry.       I'm just blanking.
  14             Q.   I was going to say, I don't mean it to be a
  15      memory test.        I actually brought some data that you
  16      can look at.
  17             A.   Sure.     Yep.    Happy to.
  18             Q.   All right.       Great.
  19             A.   We're dealing with a lot of numbers.            So I
  20      really don't want to speculate.
  21                  (Deposition Exhibit 15 was marked for
  22                  identification.)
  23                  MR. DETTMER:       I'm showing you Exhibit 15.
  24      And I apologize.        We actually have blown-up versions
  25      of this, if that's helpful.             It's hard for me to read

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   1      too.
   2                  Do you want the blown up version?              It's kind
   3      of huge.
   4                  MR. GARDNER:      No.     Thank you for asking.
   5                  THE WITNESS:      I think I'm all right, but I
   6      may reserve that.
   7                  (The witness reviewed the documents.)
   8      BY MR. DETTMER:
   9             Q.   While you're looking at that --
  10             A.   Yes.
  11             Q.   -- Exhibit 15 is a two-page document.                It's
  12      printed off of the website for USCIS.                 And it says, at
  13      the top, "Request by" -- I'm sorry.                 "Number of
  14      Form I-821D Consideration of Deferred Action for
  15      Childhood Arrival by Fiscal Year, Quarter, Intake,
  16      Biometrics and Case Status Fiscal Year 2012 through
  17      2017, June 30."
  18             A.   Uh-huh.
  19             Q.   So am I correct that this basically is the
  20      data for, you know, the measured categories here for
  21      the DACA program up through June 30 of this year?
  22             A.   Yes.    That's what it appears to reflect.
  23             Q.   And this is data that USCIS keeps track of?
  24             A.   Yes.
  25             Q.   Okay.     I should say these are data, to be

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   1      precise.
   2                  So if you look at sort of in the middle of
   3      the chart on the first page, there's a line that says,
   4      "Total Cumulative Renewal."            Do you see that?     It's
   5      just above the shaded line --
   6             A.   Sorry.    I was looking on the wrong side.
   7      Yes.
   8             Q.   Okay.    And am I reading this right that those
   9      numbers there are, you know, all of the renewal
  10      numbers reported for the whole period of the DACA
  11      program through June 30 of this year?
  12             A.   I believe that's correct based on how the
  13      table is structured.
  14             Q.   Okay.    And so the first numbered column there
  15      says, "Requests Accepted."           That's renewal requests;
  16      right?
  17             A.   So it actually has "Requests Accepted."            I
  18      believe it's both cumulative, initial cumulative,
  19      renewal.     I mean at the bottom tabulates that; right?
  20             Q.   Yes.
  21             A.   So I believe that's requests since it begins
  22      with 2012.     It would be initial on renewal.
  23             Q.   Well, there are two lines; right?           There's a
  24      "Total Cumulative Initial" line and there's a "Total
  25      Cumulative Renewal" line?

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   1             A.   Yes.
   2             Q.   And so those would be, I assume, separate;
   3      right?
   4             A.   Yes.    That's broken out by initial and
   5      renewal.     Sorry.     Now I understand your question, yes.
   6      I was looking at 2012 and 2013, which, of course,
   7      would have been the initials at the time.               That's why
   8      there wouldn't be an initial renewal.
   9             Q.   So if you look at the line item in the middle
  10      that says, "Total Cumulative Renewal," that would, I
  11      think, give you the figures for how many renewal
  12      applications were accepted, how many were approved,
  13      how many were denied; right?
  14             A.   Yes.    That appears, yes.
  15             Q.   So if you look at the columns there's a
  16      "Requests Accepted," "Requests Rejected," "Total
  17      Requests Received."        And the total requests received
  18      is, roughly, 1,045,000?
  19             A.   Yes, it appears.
  20             Q.   Okay.     And then accepted is almost -- let's
  21      see, 963,443, and rejected is 76,824.               Do you know
  22      what that means in that context, you know, accepted
  23      and rejected.       Would "rejected" mean there was some
  24      kind of clerical error in the application?               Do you
  25      know what that refers to?

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   1             A.   So I believe that refers to -- and I think
   2      there are also the footnotes here as well.                     So if you
   3      look -- so as far as the requests rejected -- I may
   4      have to borrow your chart.           I think it says 3.            Right.
   5      So we can cross reference.
   6             Q.   Sure.
   7             A.   So requests rejected, Footnote 3 notes the
   8      number of requests rejected at a lockbox during a
   9      period.
  10             Q.   And so I guess my question is does that mean
  11      to you that it was rejected for sort of a clerical
  12      reason.     It wasn't signed or it didn't come with a
  13      fee, as opposed to on the merits, so to speak?
  14                  MR. GARDNER:     Objection.            Compound.
  15                  THE WITNESS:     Could you break it apart?
  16      BY MR. DETTMER:
  17             Q.   Well, let me just ask it a different way.
  18      What does "rejected" mean in that context of that
  19      column?
  20             A.   So rejected at the lockbox.               There could be
  21      several reasons that it would be rejected at the
  22      lockbox.
  23             Q.   Can you identify them?
  24             A.   Certainly one would be the fee not being
  25      attached.

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   1                   Secondly, and I believe there's several
   2      identifying criteria, that if they were not included
   3      in the -- in the what's received at the lockbox, that
   4      it would be rejected and sent back.                I can't at this
   5      point recall the whole list, but there are several
   6      factors.      So in addition, I think if they didn't
   7      include their name, if they didn't include, I think
   8      their address, so on the actual form right, for
   9      whatever reason, I believe -- and again, I'll go off
  10      the ones I recall off the top -- in addition
  11      identifying specific information like date of birth.
  12                   I think there are several, and I believe
  13      there's more than that, but that's what I recall.                 So
  14      those could be some of the reasons that it would be
  15      stopped at the lockbox.
  16             Q.    Sort of required items that they left off?
  17             A.    Right.   Without which -- again, it's not an
  18      exhaustive, but as I recall, there are several factors
  19      without which the adjudication couldn't occur, the
  20      review of the request.
  21                   MR. DETTMER:    Okay.       One quick housekeeping
  22      thing.      Maybe we ought to put Exhibit 15-A on the big
  23      one just for the clarity of the record.
  24                   (A discussion was held off the record.)
  25      BY MR. DETTMER:

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   1             Q.   All right.     So if we move down in the chart,
   2      then, to "Case Review," and there are columns there
   3      that say, "Approved," "Denied," and "Pending."
   4             A.   Yes.
   5             Q.   Now, I take it that those refer to sort of a
   6      substantive judgment on the application; right?
   7      They've looked at the factors.               They've done the
   8      background check, and they made a decision as to
   9      whether to accept or deny the application?
  10             A.   What we would refer to as "the adjudication."
  11             Q.   Okay.     So if you again look at the line of
  12      "Total Cumulative Renewal," under that -- on that line
  13      the approved number is 895,574.
  14             A.   Yes, in that column.
  15             Q.   The denied number is 7,130; right?
  16             A.   Yes.
  17             Q.   And then there are -- I guess as of June 30,
  18      2017, 64,779 pending?
  19             A.   Yes.
  20             Q.   I did the math.        You don't have to take my
  21      word for it.        So that is .79 percent.         So less than
  22      1 percent were denied.          Does that sound right to you?
  23             A.   For the reason I said earlier, not wanting to
  24      speculate on the number off the top, yes.
  25             Q.   And you probably should not trust my math

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   1      skills?
   2             A.   I went to law school.            So...
   3             Q.   Do you have enough familiarity with the
   4      adjudication process to just know whether that rings
   5      true to you?       Does that ratio seem appropriate, in
   6      your experience?
   7             A.   Specifically with respect to DACA?
   8             Q.   Yes.
   9             A.   I believe so.       That's around the number I was
  10      going to say.
  11                  MR. DETTMER:      Okay.
  12                  (Deposition Exhibit 16 was marked for
  13                  identification.)
  14      BY MR. DETTMER:
  15             Q.   All right.     Let me show you Exhibit 16.
  16      While you're looking at that, Exhibit 16 is another
  17      printout from the USCIS website.                It's a four-page
  18      document.     Title is I-821D, "Consideration of Deferred
  19      Action for Childhood Arrivals."                Actually, what I --
  20      well, actually, one other thing.                On the last page it
  21      indicates that this document was last reviewed or
  22      updated on October 6, 2017, which is two weeks ago
  23      more or less.       Not quite.
  24                  I want to ask you about the first page.                In
  25      the box sort of right in the middle of that first page

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   1      in red letters it says, "DACA is ending."
   2                  The first bullet point says, "We are no
   3      longer accepting initial or renewal requests for
   4      deferred action for childhood arrivals.                  We will
   5      consider DACA requests received from residents of the
   6      U.S. Virgin Islands and Puerto Rico on a case-by-case
   7      basis."     Do you see where I read that there?
   8             A.   Yes.
   9             Q.   When was the decision made to consider DACA
  10      requests from residents of the U.S. Virgin Islands and
  11      Puerto Rico on a case-by-case basis?
  12             A.   As I recall, a few days prior to the
  13      October 5 expiration.
  14             Q.   And why was that decision made?
  15                  MR. GARDNER:     Objection.            Calls for
  16      disclosure of privileged information.                  Subject to the
  17      deliberative process privilege.
  18                  Instruct the witness to not answer.
  19                  THE WITNESS:     And I will follow the advice of
  20      my counsel.
  21      BY MR. DETTMER
  22             Q.   You know, unfortunately, the fact of the
  23      matter is, as we all know in this room, that there
  24      have been an awful lot of horrible, natural, and
  25      manmade disasters recently.            Maybe you have the same

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   1      instruction, but what's the reason for these being
   2      given additional consideration, and not Houston,
   3      Napa Sonoma, Las Vegas?
   4                  MR. GARDNER:     You are correct.       Same
   5      objection.     Same instruction.
   6      BY MR. DETTMER:
   7             Q.   Okay.   Let me ask you maybe a slightly
   8      different question.        You can answer "yes" or "no."            Is
   9      consideration being given to similar treatment for
  10      residents of some of these other affected areas?
  11                  MR. GARDNER:     Same objection.       Same
  12      instruction.
  13                  THE WITNESS:     I'll follow the advice of
  14      counsel.
  15                  MR. DETTMER:     Really what I'm trying to get
  16      in that last one is just whether there is
  17      consideration going on or not.
  18                  MR. GARDNER:     I understand, and if we can try
  19      to parse it a different way.             What I'm trying to do is
  20      avoid disclosing the deliberative process while giving
  21      you the ability to obtain factual information.               So I
  22      think that last question, unfortunately, in my
  23      judgement crosses the line.            I'm not trying to
  24      speechify.     I'm trying to figure out a way we could
  25      get you the information you need without intruding on

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   1      the privilege.
   2                  MR. DETTMER:     I guess I just -- I mean the
   3      question goes to whether there is a deliberative
   4      process on that issue.         If the answer is "no," then
   5      there's no privilege to give.
   6                  MR. GARDNER:     That's correct.
   7                  MR. DETTMER:     If the answer is "yes," then,
   8      you know, obviously, I can't get into the substance of
   9      it.
  10                  MR. GARDNER:     I think as a high level topical
  11      matter he can answer the question is there being
  12      consideration.     I think when we get to the substance,
  13      obviously then we're getting closer.               I think we can
  14      proceed maybe that way if you understand.
  15                  So why don't you re-ask the question.            I
  16      apologize.
  17      BY MR. DETTMER:
  18             Q.   Is USCIS considering whether or not to give
  19      similar consideration to other geographic areas that
  20      are also subject to natural disasters?
  21             A.   Other than what is represented as U.S. VI and
  22      Puerto Rico, no.
  23             Q.   I'll just ask the question just to preserve
  24      the record.     Why did USCIS decide to extend the
  25      deadline, at least on a case-by-case basis, for people

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   1      from the U.S. Virgin Islands and Puerto Rico and not
   2      other geographic areas also affected by natural
   3      disasters?
   4                    MR. GARDNER:     Objection.          Calls for
   5      disclosure of information subject to deliberative
   6      process privilege.
   7                    I instruct the witness not to answer.
   8                    THE WITNESS:     I'll follow that advice, or
   9      instruction.
  10                    MR. DETTMER:     All right.          Let's dive into
  11      this.       This was marked as Exhibit 3 at a deposition
  12      last week.
  13                    THE WITNESS:     Okay.
  14                    MR. DETTMER:     And it is the administrative
  15      record that was produced in our case, and I think in
  16      your cases as well.          And it is a 256-page document or,
  17      I guess, compilation of documents.
  18                    (Previously marked Exhibit 3 was handed to
  19                    the witness.)
  20                    MR. DETTMER:     And it has Bates numbers on it
  21      AR1 through AR256.
  22                    MR. GARDNER:     You might want to take the
  23      binder clip off.       Just don't --
  24                    THE WITNESS:     Yep.
  25      BY MR. DETTMER:

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   1             Q.   I know, based on our conversation so far
   2      today, that you have seen at least some of these
   3      documents that are in here.            And just -- so I'll
   4      explain to you what this purports to be, and just so
   5      you have this framework, unless you already know.
   6             A.   No, I'd appreciate the explanation.
   7             Q.   So this has been represented to us by the
   8      lawyers representing the government in this case, the
   9      defendants in these cases as the administrative
  10      record.     So when there's a challenge to an
  11      administrative decision, the government has to produce
  12      an administrative record that is supposedly the record
  13      of that decision-making process.               And this is what has
  14      been produced to us as that record.
  15             A.   I see.
  16             Q.   And I mean, you know, I will ask you certain
  17      questions about it.        It's just sort of convenient to
  18      have this package here because it's some of the
  19      documents we've been talking about.
  20                  MR. DETTMER:     If I've misstated anything, you
  21      guys can feel free to correct me.
  22                  MR. GARDNER:     We'll do.
  23      BY MR. DETTMER:
  24             Q.   So it contains, just so you know, the
  25      Napolitano memo, you can see at the front there --

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   1             A.    Right.
   2             Q.    -- June 15, 2012 that started the DACA
   3      program.      You've seen that document; right?
   4             A.    Yes.
   5             Q.    Okay.    It has, starting on Page AR4, the
   6      office of legal counsel memo about DAPA and DACA.
   7      Have you seen this document?
   8             A.    I don't recall seeing this.            This is the
   9      office of legal counsel, DOJ?
  10             Q.    Yes.
  11             A.    I don't recall it.         I might have back then.
  12             Q.    Okay.    And just for the record, that document
  13      goes from AR4 through AR41, I believe.                No.    I'm
  14      sorry.      Through AR36.     Then the next document is a
  15      memo from Secretary Johnson to Leon Rodriguez and
  16      others dated November 20, 2014.                You're familiar with
  17      this memo?
  18             A.    Yes, I've seen it.
  19             Q.    Okay.    And then the bulk of this stack of
  20      paper is some of the judicial opinions that you
  21      referenced earlier today.            AR42 through AR228 are
  22      decisions from the District Court in Brownsville in
  23      the Fifth Circuit and from the U.S. Supreme Court in
  24      the U.S. V. Texas case, or Texas V. U.S. case.
  25             A.    Okay.

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   1              Q.     Then Page -229 through -234 is Secretary
   2      Kelly's February 20, 2017 memo, entitled "Enforcement
   3      of the Immigration Laws That Serve National Interest."
   4      You're familiar with that document?
   5              A.     Yes, I've seen it.
   6              Q.     The next document, AR235 through -237 is
   7      Mr. Kelly's June 15, 2017 memo, rescission of the DAPA
   8      memo.        Are you familiar with this?
   9              A.     I have seen it, yes.
  10              Q.     Okay.     -238 through -- there's a lot of
  11      signatures on the next one -- through -250 is Ken
  12      Paxton's letter that you referenced earlier?
  13              A.     Yes.
  14              Q.     You've read that letter?
  15              A.     I have.
  16              Q.     Okay.     The next page is a one-page document.
  17      -251 is the Attorney General Jeff Sessions letter.
  18                     MR. GARDNER:      You skipped one thing.     There's
  19      -241.
  20                     THE WITNESS:      The letter from John Lewis, one
  21      pager.        I'm sorry.     Two.
  22                     MR. DETTMER:      Oh, you're absolutely right.
  23      I'm sorry.        My mistake.
  24                     MR. GARDNER:      There are more than three
  25      pages.

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   1                  MR. DETTMER:      Yeah.       There are -- you're
   2      absolutely right.        Paxton's letter ends at -240.
   3                  THE WITNESS:      Right.
   4                  MR. DETTMER:      And then there are a series of
   5      letters from Congress --
   6                  The WITNESS:      Yes.
   7                  MR. DETTMER:      -- starting at Page -241 and
   8      going through -250.
   9                  THE WITNESS:      Yes.
  10                  MR. DETTMER:      Thank you for the
  11      clarification.     And then Jeff Sessions' letter is
  12      -251.
  13                  MR. GARDNER:      I think we're missing some
  14      pages between -250 and -256.
  15                  MR. DETTMER:      I think it got out of order a
  16      little bit.
  17                  MR. GARDNER:      You are totally right.
  18                  MR. DETTMER:      My apologies.          I fixed mine,
  19      and I didn't fix the other ones.
  20                  THE WITNESS:      There it is.          Okay.   All right.
  21                  MR. DETTMER:      I should have gone back.           I
  22      fixed mine in the middle of the night, and I didn't
  23      get to the others.        My apologies.
  24                  All right.     And finally, getting to the end,
  25      Elaine Duke's recession memo is the last document,

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   1      -252 through -256.       I'm glad we did that exercise.           We
   2      got the record squared away.
   3                  THE WITNESS:     Yes.
   4      BY MR. DETTMER:
   5             Q.   So you've seen all these documents with the
   6      possible exception of that OLC memo?
   7             A.   With the exception of the OLC memo, and the
   8      compendium of the court opinions, I have not seen in
   9      that fashion or reviewed.
  10             Q.   You have not reviewed those court decisions?
  11             A.   I don't recall reviewing them, no.
  12             Q.   Okay.    When did you first see Ken Paxton's
  13      letter that starts at AR238?
  14             A.   I believe right at the end of June or
  15      beginning of July.
  16             Q.   So right around the time it actually came
  17      out?
  18             A.   Yes.    Sorry.   I should have pulled these out.
  19                  (Pause in proceedings.)
  20      BY MR. DETTMER:
  21             Q.   Do you remember when you first saw that
  22      letter?
  23             A.   Shortly after it came out.
  24             Q.   Okay.    And what did you think when you saw
  25      it?    What was your reaction to that letter?

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   1             A.   As I recall, it was the -- as we discussed
   2      this morning, there was a deadline set, September 5,
   3      and it was appearing before Judge Hanen.              So the case
   4      would be filed in front of Judge Hanen with whom USCIS
   5      had a history on DAPA.
   6             Q.   So maybe just adding up what you're saying
   7      right now, your expectation was that if they went
   8      through with this threat or this promise, I don't know
   9      what you want to call it, this stated intention, that
  10      there would be an injunction against DACA.              That was
  11      what you thought when you read this?
  12             A.   I thought there was a possibility of that
  13      based on the past history.
  14             Q.   Okay.   And did you think, as you read this
  15      letter, that that meant that DACA should be rescinded?
  16             A.   As I recall and noting, I guess on the second
  17      page, -239, the respectful request that the Secretary
  18      of DHS phase out the DACA program, with respect to,
  19      like I said, asking if something was going to happen
  20      to DACA, a case was be being made, and I thought there
  21      was a possibility.       I'm sorry.         I may not have
  22      answered your question.
  23             Q.   Well, you have a slightly different answer.
  24             A.   Please ask again.
  25             Q.   You thought that there was a possibility that

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   1      based on this DACA would be rescinded?
   2             A.   Based on this letter, DACA could be
   3      rescinded.        And I think your second -- your other
   4      question was on the injunction.
   5             Q.   Yeah.     Well, I think you answered that
   6      already.
   7             A.   Yeah.     Sorry.
   8             Q.   No.     That's all right.
   9                  Let me ask you this question:           You obviously
  10      have spent a lot of time interacting with legislators
  11      in connection with immigration issues.
  12             A.   Yes.
  13             Q.   Have you ever seen, in your experience, other
  14      than this letter that we're looking at right now from
  15      Ken Paxton, other instances where state officials have
  16      made requests of DHS like this one, that it end a
  17      program?
  18             A.   Not that I recall.          However, we have a great
  19      deal of -- again, we have a great deal -- many
  20      programs, benefit types that we administer.
  21             Q.   Do you ever remember, in your experience, a
  22      program ending because of a request from state
  23      officials?
  24             A.   Not -- no.     But I view this a bit
  25      differently.

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   1             Q.    Can you explain it?
   2             A.    Sure.   And it requires explaining a bit more
   3      on the requests we receive from members of Congress
   4      and at times, perhaps, state governments for action,
   5      as I understood your question.              You said a request
   6      from state officials.
   7                   We may, USCIS, receive requests from members
   8      of Congress, as we've discussed, and state officials
   9      with respect to taking certain action, if I'm
  10      explaining it clearly.         That's one part.       "Please do
  11      X.   Please consider X."        This, in my view, is a step
  12      beyond that.
  13             Q.    Why?
  14             A.    Because it indicated there would be an
  15      amendment to ongoing litigation that could, so it
  16      would but could, result in action against one of the
  17      programs which we administered, and the request was
  18      being made to take an action to perhaps avoid that
  19      litigation risk.       I don't know if I'm explaining this
  20      correctly.      It's a request from state officials to act
  21      in a certain way, for USCIS or DHS to take certain
  22      action.      Is that in part is correct on this, you're
  23      right.      But it goes beyond that in threatening also a
  24      litigation impact that could -- unilaterally could end
  25      one of the programs that we administer.              So that's why

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   1      I said I view it as a step beyond solely a request
   2      from state officials.
   3             Q.   So -- sorry.      Were you finished?
   4             A.   No.     To clarify that point.
   5             Q.   Okay.     So and I guess maybe we're going back
   6      to our earlier conversation about the reasons, as you
   7      understood them, for the rescission of DACA; right?
   8             A.   Right.
   9             Q.   Which is, as I understand your testimony both
  10      before lunch and now, to be essentially there was
  11      litigation risk, and therefore, the program -- there
  12      was litigation risk of the program being shut down,
  13      and therefore, the program should be shut down.
  14                  MR. GARDNER:      Mischaracterizes the witness'
  15      previous testimony.
  16                  THE WITNESS:      So I think we need to break
  17      that apart.
  18      BY MR. DETTMER:
  19             Q.   Okay.
  20             A.   So if you could ask the first part again, and
  21      I'll explain the second, or reiterate the second.
  22             Q.   Sure.     Well, I mean --
  23             A.   They're --
  24             Q.   Go ahead.
  25             A.   I'm sorry.     We're both talking.       My

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   1      apologies.
   2              Q.   I was just going to try to break the question
   3      down.
   4              A.   Please.
   5              Q.   The first one, as I understand it, is that
   6      your concern is for groupings -- right? -- and we
   7      talked about litigation risk, the risk that due to
   8      this letter and actions indicated in it, there be an
   9      amendment to the Complaint and there would be a
  10      possibility that the judge would enter an injunction
  11      that would end the DACA program?
  12              A.   Yes.
  13              Q.   And based on that risk, your understanding
  14      was that that was the reason or a reason why the
  15      program was being shut down?
  16              A.   So with those factors laid out by
  17      Secretary -- Acting Secretary Duke in her memo, that
  18      was certainly one of the elements listed as she was
  19      taking into consideration.           And also, noting from my
  20      perspective -- I'm not saying whether that was fully
  21      in her perspective as she references the letter, but
  22      there is also indication that the secretary of DHS
  23      phase out the DACA program, which to my interpretation
  24      is a phase out, not a termination immediate to an
  25      injunctive effort or just an immediate end.

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   1             Q.   And that gets to a timing issue; right?                  I
   2      mean I take it from what you're saying that you and
   3      others thought that it made more sense to not end it
   4      right away but end it over a period of time?
   5             A.   My perspective that the phase out idea was
   6      better suited operationally than an immediate cutoff.
   7             Q.   So to that question, who made the decision
   8      about the time periods that would be put in place,
   9      that would be used to end the program?
  10                  MR. GARDNER:     Objection.            Calls for the
  11      disclosure of information subject to deliberative
  12      process privilege.
  13                  I instruct the witness not to answer.
  14                  MR. DETTMER:     And just to be clear, I'm just
  15      asking for the identity of the person.
  16                  MR. GARDNER:     Yeah.       I think with that
  17      question, unlike the previous questions, I think the
  18      identity does reveal deliberations.                  I think some of
  19      the previous questions did not.               So that's the line.
  20                  MR. DETTMER:     I'm not sure I follow.            How
  21      does the identity of the decision maker reveal the
  22      deliberative process?
  23                  MR. GARDNER:     Well, I think it's also
  24      evident -- right? -- because you're -- I don't want to
  25      make arguments in front of the witness, and we can

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   1      excuse him if we think we need to, but my
   2      understanding is you're asking for who made a
   3      particular decision that led up to the ultimate
   4      decision, which is the rescission of DACA, meaning the
   5      time frames within there, and I think that does reveal
   6      the deliberative process.
   7                  MR. DETTMER:     I actually don't know the
   8      answer to that.
   9                  MR. GARDNER:     That's what I understood you to
  10      be asking.     Maybe I misunderstood your question.
  11      BY MR. DETTMER:
  12             Q.   Let me ask this sort of build-up question.
  13      Was the decision to rescind DACA made before or after
  14      the decision about the time periods about, you know,
  15      when the last application would be accepted or at the
  16      same time?
  17             A.   I would say they were contemporaneous.            I
  18      mean if I -- I need to qualify if I understand your
  19      question.
  20             Q.   Yeah.
  21             A.   Asking the specific time lines, the dates,
  22      that, to my recollection, couples contemporaneous with
  23      a decision ultimately that the program would end.
  24      There would be a rescission of DACA, and there would
  25      be a wind-down, then all of the parameters for that

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   1      wind-down also were built and -- you know, built out
   2      so that when the announcement came, all those factors
   3      were established; right?
   4                  So that's why I say, "contemporaneous" in the
   5      sense of the decision making on what the parameters of
   6      a wind-down would look like.
   7             Q.   Okay.
   8                  MR. GARDNER:     In light of that answer, I
   9      think he can answer the question who made the ultimate
  10      decision about the deadlines.             I think obviously
  11      getting into the substance of that decision-making
  12      process we still maintain it's off limits based on
  13      privilege.     If so if you want to re-ask that question
  14      in light of that testimony, I think we'll be okay.
  15                  MR. DETTMER:     Sure.       Thank you.
  16             Q.   So who made the decisions about the
  17      deadlines, you know, that October 5th was going to be
  18      the date, for instance?
  19             A.   So for the October 5 or the other dates, it's
  20      my recollection ultimately, it was the Secretary,
  21      Acting Secretary.
  22             Q.   Okay.   And is it your understanding that the
  23      acting secretary was also the decision maker on
  24      rescission itself?
  25             A.   Yes, the ultimately decision maker.

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   1              Q.     Okay.   Let me go back to Attorney General
   2      Paxton's letter, and I'm looking at Page 239.
   3              A.     Yes.
   4              Q.     Specifically, the last sentence in the sort
   5      of middle paragraph there.             It reads, "And this
   6      request," referring to the request to phase out the
   7      DACA program, does not require the Federal Government
   8      to remove any alien."          Is it your understanding, in
   9      fact, that if the DACA program, once the DACA program
  10      has ended, fully ended, that people who now have DACA
  11      status will, in fact, be subject to removal in a way
  12      that they're not subject to it now?
  13              A.     So if we can define by "ending" meaning the
  14      expiration of the employment authorization document --
  15              Q.     Yes.
  16              A.     -- then they would be subject to removal.
  17      Could be subject to removal.
  18              Q.     In a way --
  19              A.     Because they currently have an employment
  20      action and a deferred action that's been granted to
  21      them.        Deferred action from immigration enforcement
  22      action.
  23                     MR. DETTMER:    Should we take a brief break
  24      now?
  25                     MR. GARDNER:    Sure.

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   1                   THE VIDEOGRAPHER:       We're going off the record
   2      at 3:46 p.m.
   3                   (A recess was taken from 3:46 p.m.
   4                   to 4:00 p.m.)
   5                   THE VIDEOGRAPHER:       We are back on the record
   6      at 4:00 p.m.
   7      BY MR. DETTMER:
   8             Q.    Quick follow-up question.             Before the break
   9      you testified that Acting Secretary Duke was the
  10      ultimate decision maker on the rescission.                 Do you
  11      remember that?
  12             A.    Yes.
  13             Q.    You used the words "ultimate decision maker."
  14      Were there other decision makers in your view?
  15             A.    Contributors to the decision making is how I
  16      would view that.
  17             Q.    Okay.   And who were those people?
  18             A.    So from my perspective, in addition -- so
  19      there were a few.       So first, as I referenced earlier,
  20      her own determinations, Attorney General Paxton's
  21      letter, Attorney General Sessions' letter.                 So when
  22      you speak to individuals, I'll include them in those
  23      names.      And then as contributors as well I would say
  24      several of those at the department.                 So probably the
  25      best way to look at it, from my perspective, is the

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   1      August 21 meeting with a group of people, all of us
   2      that were listed, in my view, contributed to providing
   3      information for her ultimate decision in the process,
   4      whether at that meeting or not.
   5             Q.   So just so I'm understanding your testimony,
   6      you're saying the contributors to the decision
   7      included Attorney General Paxton, Attorney General
   8      Sessions, the people at the August 21 meeting?
   9             A.   Through their communications for the first
  10      two, and for those -- us in the meeting, we provided
  11      opinions and information.           I use that as a collective
  12      with respect to the individuals, not necessarily in
  13      that meeting.
  14             Q.   And would you include the participants at the
  15      August 24 meeting as well?
  16             A.   Yes.
  17             Q.   Okay.    And maybe just so we can all be clear,
  18      you say, "ultimate decision maker."                I just want to
  19      make sure I understand what you mean with that, I
  20      guess, qualification, "ultimate."
  21             A.   Sure.
  22             Q.   Can you explain what that means in your
  23      answer?
  24             A.   Yes.    To me what she noted in her memorandum
  25      explains it in the sense that there's a reference

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   1      because I don't have it in front of me now, and I
   2      won't perhaps recall the language precisely, but she
   3      notes that in her role as overseeing the
   4      administration of the nation's immigration laws,
   5      again, words to that effect, and setting the --
   6      overseeing the administration of that law and the
   7      immigration principles that she is taking this
   8      decision based upon those above factors.
   9                  I know that was sort of her conclusion.            So
  10      that's how I view her, as the ultimate decision maker
  11      for DHS overseeing our collective administration of
  12      the immigration laws and system.
  13             Q.   Would it be helpful for you to just look at
  14      her memo?
  15             A.   Sure.
  16                  MR. DETTMER:     Can we pull out Exhibit 3.
  17                  (Pause in proceedings.)
  18                  MR. DETTMER:     There's Exhibit 3.       And I think
  19      it's right at the end.
  20                  (The witness reviewed Exhibit 3.)
  21      BY MR. DETTMER:
  22             Q.   Which language were you referring to?
  23             A.   So I appreciate the opportunity to refresh
  24      because I didn't quite state it as she stated.               At the
  25      top -- it's AR255 --

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   1             Q.   Okay.
   2             A.   -- the first paragraph, "Taking into
   3      consideration the Supreme Court's and the Fifth
   4      Circuit's rulings in the ongoing litigation, in the
   5      September 4, 2017 letter from the Attorney General it
   6      is clear that the June 15, 2012 DACA program should be
   7      terminated.        In the exercise of my authority," the
   8      Secretary's, "in establishing national immigration
   9      policies and priorities, except for the purposes
  10      explicitly identified below, I hereby..."
  11                  So that, with respect to ultimate meaning she
  12      then made the decision based upon that.             There's
  13      authority in that role.
  14             Q.   Another little follow-up question, I guess.
  15             A.   Sure.
  16             Q.   Earlier, you talked about Attorney General
  17      Paxton's letter, and I think we were talking about the
  18      sort of threat of amending their Complaint and seeking
  19      an injunction against DACA.
  20             A.   Yes.
  21             Q.   Are you familiar -- in your experience at
  22      USCIS, are you familiar with any other instances where
  23      a program has been rescinded based on a litigation
  24      threat from a state?
  25             A.   No, I am not.

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   1             Q.   Are you aware of other litigation threats
   2      from states?
   3             A.   If I understand the question correctly, USCIS
   4      and our immigration agencies are regularly sued for a
   5      variety of reasons.
   6             Q.   Right.
   7             A.   So threat or no, sometimes actual.
   8             Q.   I guess what I'm trying to get at is as you
   9      say, and I think it's -- we all know it's true that as
  10      you say, USCIS is sued all the time over programs that
  11      it's running; right?
  12             A.   Programs it is running or perhaps more
  13      specifically, administration of programs or benefits
  14      as established by statute.
  15             Q.   And at a programmatic level as opposed to for
  16      specific benefits for specific people?
  17             A.   I think yes, in part.           So if I understand the
  18      question correctly.
  19             Q.   Well, I guess all I'm saying is, you know, we
  20      all know there are lawsuits where, you know, a person
  21      didn't get the benefits that he or she thinks he or
  22      she is entitled to and files a lawsuit for those
  23      benefits.     There are other lawsuits, like this one,
  24      that's about the program as a whole?
  25             A.   Program as a whole, and I would say, as well,

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   1      though, a class of those individuals to your first
   2      point added onto that.
   3             Q.   Right.     So I think we all know that that
   4      second category of litigation is not uncommon for your
   5      agency; right?
   6             A.   Correct.
   7             Q.   And yet, as you recall, this is the only
   8      instance, Paxton's letter, where a program has been
   9      canceled just because of that litigation threat.
  10                  MR. GARDNER:      Objection.            Mischaracterizes
  11      the witness' previous testimony.
  12                  THE WITNESS:      So I would say that
  13      differently.     I mean my response.
  14      BY MR. DETTMER:
  15             Q.   Please.     It is your right.
  16             A.   Thank you.     It is this.          It is my
  17      understanding that those other lawsuits, litigation
  18      brought, threats of litigation and attached to
  19      programs that arise from statutory acumen.                   So I will
  20      say if we are speaking, and I will now put in a
  21      hypothetical because I don't want to misstate if
  22      there's ongoing litigation on a certain case.                   But if
  23      there is a concern about how we are administering some
  24      part of, for example, the temporary protected status
  25      program, that's regularly recurrently in the news and

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   1      discussions, that is ultimately established by
   2      statute.
   3                  So a state saying, 'We will bring litigation
   4      that will end the temporary protected status" is
   5      pretty unlikely simply because it's set in statute.
   6      It could go to the Supreme Court, it could be evolved
   7      and be attacked.      This was a program established out
   8      of the prosecutorial discretion.               So I view, then,
   9      that the litigation threat, particularly coupled with
  10      the actions against the DAPA program -- well, against
  11      the actions with respect to the DAPA program in that
  12      same district court present a different picture,
  13      perspective, than a state that would provide a letter
  14      saying, "We're going to bring in a litigation
  15      challenge against a temporary protected status program
  16      if."    A whole hypothetical there.
  17             Q.   Sure.   Yeah.    I get the figure.         You're
  18      raising a hypothetical.
  19                  Slightly different question.            Are you aware
  20      of any communications other than in that letter that
  21      we looked at between Attorney General Paxton's office
  22      and anyone responsible for the DACA program
  23      rescission?
  24             A.   So I'm aware only through an interrogatory
  25      response that, if I recall correctly, that there was a

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   1      communication or communications from that -- and you
   2      speak with respect to Attorney General Paxton's office
   3      or Texas.     I think that there may have been, if I
   4      recall, in that interrogatory response, a
   5      communication or communications between the Department
   6      and the attorney general's office.                  I just recall the
   7      specifics.     I recall seeing that.
   8             Q.   So your only awareness of those kind of
   9      communications is through this litigation?
  10             A.   That's correct.
  11             Q.   You, back pre-rescission, were not aware of
  12      any such communications?
  13             A.   I was not.
  14                  (Deposition Exhibit 17 was marked for
  15                  identification.)
  16      BY MR. DETTMER:
  17             Q.   Okay.    All right.       Let me change gears a
  18      little bit here.       Exhibit 17 in front of you is a very
  19      lengthy document.        It is -- has the U.S. Department of
  20      Homeland Security seal on it, and it says, "National
  21      Standard Operating Procedures, SOP, Deferred Action
  22      for Childhood Arrivals, DACA."               Are you familiar with
  23      this document?
  24             A.   Yes.    I'm aware that it exists.
  25             Q.   Okay.    And what is it?

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   1             A.   It is a -- to restate, but it's a national
   2      standard operating procedure to -- with respect to the
   3      adjudication of DACA requests.
   4             Q.   Okay.    So the purpose of this document is to
   5      guide, inform, USCIS people in adjudicating DACA
   6      applications?
   7             A.   Yes.    Officers to adjudicate, yes.
   8             Q.   Okay.    Does it have any other purposes?
   9             A.   I'm sorry.     I'm not quite sure what you mean.
  10      It's the standard operating procedure to guide our
  11      adjudicators to make judgments on the DACA cases or
  12      DACA requests.
  13             Q.   I'm sorry.     I didn't mean to be too --
  14             A.   I misunderstood.
  15             Q.   Is there any other purpose to it besides what
  16      you just said, or does that cover everything?
  17             A.   Not to my knowledge.           It's an SOP.
  18             Q.   How did this document come into being?
  19                  MR. GARDNER:      Objection.            Lack of foundation.
  20                  THE WITNESS:      I -- it was created after the
  21      launch of the DACA program to guide the adjudicators.
  22      I know I've restated that.
  23      BY MR. DETTMER:
  24             Q.   Do you know who created it?
  25             A.   I do not know specific names, but it's

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   1      clearly created by the service operations director.
   2              Q.     Did you ever use this document or refer to
   3      this document in your work at USCIS?
   4              A.     Not that I recall.
   5              Q.     Did you ever provide copies of it to
   6      legislators or their staff members?
   7              A.     No, not that I recall.           I'm pretty sure I did
   8      not.     And I could explain that if you'll note.
   9              Q.     Sure.
  10              A.     If you'll note, I believe it's on each page.
  11      I won't go through all the pages.                    If you'll notice at
  12      the beginning of Page 2 at the bottom, "For Official
  13      Use Only, Law Enforcement Sensitive."                    It would not be
  14      the type of information we would unilaterally turn
  15      over.        There may have been a reason that we do.               I
  16      just don't recall turning over the SOP.                    It's
  17      possible, but I don't recall that.
  18              Q.     Okay.   I think I just have a few more
  19      questions for you about a different document, and then
  20      I know some of my colleagues are going to want to ask
  21      you some questions as well.
  22              A.     Okay.
  23                     (Deposition Exhibit 18 was marked for
  24                     identification.)
  25                     MR. DETTMER:    While you're looking at that,

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   1      Exhibit 18 is a printout from the website of
   2      Department of Homeland Security, and it is a statement
   3      from Acting Secretary Duke on the rescission of
   4      deferred action for childhood arrivals.             It's dated --
   5      or at least release date is September 5, 2017.
   6             Q.   Have you read this document before?
   7             A.   I've -- yes.
   8             Q.   Okay.   And I think you testified earlier that
   9      you did not see any drafts of this before it was
  10      released?
  11             A.   I don't recall seeing any drafts.
  12             Q.   Okay.   Do you know, just from your work in
  13      USCIS, who might have been involved in writing this?
  14             A.   I believe the Secretary for one, Acting
  15      Secretary.     I don't know specifically anyone else that
  16      I was told who had or had an understanding, but -- so
  17      there could be others as well.
  18             Q.   In the second paragraph of this statement,
  19      Secretary Duke writes -- Acting Secretary Duke writes,
  20      "As a result of recent litigation, we were faced with
  21      two options, wind the program down in an orderly
  22      fashion that protects beneficiaries in the near term,
  23      while working with Congress to pass legislation, or
  24      allow the judiciary to potentially shut the program
  25      down completely and immediately."

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   1                     Are you aware of other options that were
   2      considered in connection with the shutdown of this
   3      program.
   4                     MR. GARDNER:   I'm going to object.
   5                     You can answer that question with a "yes" or
   6      "no."        The contents of what those other options may or
   7      may not be would be subject to deliberative process
   8      privilege.        So I just want to make sure we take it one
   9      step at a time.
  10                     If you understand his question.
  11                     Or if you would rephrase it one more time.
  12      BY MR. DETTMER:
  13              Q.     Well, go ahead and --
  14              A.     So were there other options beyond the two
  15      that she expressed with respect to wind it down or
  16      allow the judiciary to potentially shut the program
  17      down completely?
  18              Q.     Yes.
  19              A.     I'm not aware of other options.       They're both
  20      pretty broad, especially wind it down in an orderly
  21      fashion.
  22              Q.     Well, not to be too obvious, but there's the
  23      option of --
  24              A.     Sustaining?
  25              Q.     -- keeping the program going and litigating

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   1      the case.
   2              A.     Yeah.    Fair.   Yeah.
   3              Q.     I mean I'm sure there are other options as
   4      well.        And, you know, My question is whether others
   5      were considered or whether really only those two were
   6      discussed.
   7                     MR. GARDNER:     Objection.            Compound.   If you
   8      can rephrase it, we can take it that way because I do
   9      think your question as phrased does implicate the
  10      deliberative process privilege.                  The way you phrased
  11      it originally did not.            I'm sorry.           I'm not trying to
  12      be difficult.
  13                     MR. DETTMER:     No, I understand.            I guess part
  14      of my issue is that in a sense, the deliberative
  15      process is being described here in this public
  16      document, and, you know, I'm being limited to just
  17      what's on the face of this, and there seems to be at a
  18      minimum, some kind of waiver.
  19                     MR. GARDNER:     I understand that's your
  20      position.        We disagree.      I'm not going to convince
  21      you, and you're not going to convince me here.                      But I
  22      believe the way you phrased the question initially, he
  23      could answer.          The way you rephrased it, I do think is
  24      objectionable.          So if you want to re-ask it the
  25      original way and he can answer with a "yes" or "no," I

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   1      won't lodge an objection to that.                  I'm not trying to
   2      be obstreperous.
   3                  MR. DETTMER:     I understand.
   4             Q.   So other than the two options that are listed
   5      here in that paragraph I read, were there other
   6      options that were discussed or considered in this
   7      process?
   8             A.   I see.    Beyond those two?
   9             Q.   Yes.
  10             A.   As I recall, yes.        One other one.
  11             Q.   Okay.    And what was that?
  12                  MR. GARDNER:     I'll object.
  13                  Instruct the witness not to answer as
  14      revealing deliberative process, or subject to
  15      deliberative process privilege.
  16                  THE WITNESS:     I'll follow the advice of
  17      counsel.
  18      BY MR. DETTMER:
  19             Q.   You're following his instruction; right?
  20             A.   Right.
  21                  MR. GARDNER:     Just so we're on the same page,
  22      I understood you were asking him about what that other
  23      option was that is not identified in this document?
  24                  MR. DETTMER:     Right.
  25                  MR. GARDNER:     Okay.

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   1      BY MR. DETTMER:
   2             Q.    So, well, due to the assertion of privilege,
   3      I can't ask about the third option.                Your recollection
   4      is that there were in fact three options that were
   5      discussed?
   6             A.    Three options.     These are the two that were
   7      the predominant.
   8             Q.    Okay.   Predominant that were discussed?
   9             A.    Yes.
  10             Q.    Okay.   Now, the last sentence in that
  11      paragraph is, "The administration chose the least
  12      disruptive option."       So in your view -- actually, I'm
  13      sorry.      Let me back up because I have another
  14      question.      So I want to put to the side the
  15      deliberations that you all had about recession and
  16      just ask you, sitting here today, do you see other
  17      options for how the situation that was presented that
  18      led to the rescission, you know, what other options do
  19      you see that were possibilities for getting out of
  20      that situation or for dealing with that situation?
  21             A.    As a result of the recent litigation?
  22             Q.    Yeah.
  23             A.    The way she begins that?
  24                   Again, going back to what we discussed
  25      earlier, looking at not only litigation and the threat

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   1      by the state attorney general but the specific court
   2      in previous actions, those seem to me to be the
   3      options.        I will incorporate your earlier statement of
   4      doing nothing or --
   5              Q.     Staying the course?
   6              A.     Staying the course.           Different ways of saying
   7      that.        As I sit here and look back -- right? -- we
   8      discussed earlier, like I referenced other district
   9      courts across the country.               Perhaps that's a little
  10      bit -- this is my perspective.                  Perhaps a little
  11      different.        We don't know the outcome.            This is the
  12      judge who took action on DAPA.
  13                     And so for that reason, the do nothing or
  14      stay the course, to use your language that you
  15      reference, I think that then links to the second point
  16      the Secretary made, that that could allow the
  17      judiciary to potentially shut down the program
  18      completely and immediately, or that particular
  19      district court judge through an injunctive action.
  20              Q.     All right.     So let me go on and talk about
  21      that sentence that I read, "The administration chose
  22      the least disruptive option" is what Secretary Duke
  23      writes there.        I think we may have touched on this,
  24      but you recognize, obviously, that rescission as it
  25      was done is disruptive even if, in Secretary Duke's

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   1      view, it's the least disruptive option; is that right?
   2             A.   So I would agree it's the least disruptive,
   3      but the point is there is a disruptive -- I can define
   4      that in my view if you'd like.
   5             Q.   Sure.
   6             A.   So "disruptive" meaning it's referencing back
   7      to the two options, winding the program down or
   8      allowing the possibility of the judiciary to act.
   9      That would be the least disruptive.                  You referenced
  10      earlier the program sustaining.               So staying the
  11      course, to use your language, would not disrupt
  12      because that would continue.             But of these two
  13      options, between those two DHS, USCIS retained some
  14      level of ability to wind-down the program.
  15             Q.   Let me ask another question just about that
  16      same paragraph.      Secretary Duke writes, "wind down the
  17      program in an orderly fashion that protects
  18      beneficiaries in the near term while working with
  19      Congress to pass legislation."              Do you know, is that
  20      happening?     Is DHS working with Congress to pass
  21      legislation?
  22                  MR. GARDNER:     Objection.            Calls for
  23      disclosure of information subject to deliberative
  24      process privilege.
  25                  MR. DETTMER:     I'm just asking if it's

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   1      happening or not.
   2                     MR. GARDNER:     Not the substance?            Okay.
   3      BY MR. DETTMER:
   4              Q.     Yeah, is that happening?               Is DHS working with
   5      Congress to pass legislation?
   6              A.     Yes.    I can give you an example.             We held a
   7      hearing two weeks ago and that is, if you read -- you
   8      referenced our testimony, there's reference repeatedly
   9      to "Will you work with Congress."                     In different ways
  10      that question was asked.
  11              Q.     And that's an example.            There are other
  12      things going on?
  13              A.     To me, that is the biggest example in the way
  14      that we do generally work with Congress.
  15              Q.     Okay.    In the next paragraph Secretary Duke
  16      writes, "I am very aware of the consequences of this
  17      action, and I sympathize with the DACA recipients
  18      whose future may now be less certain."                     We've talked a
  19      little bit about this.            Have you spoken with Secretary
  20      Duke about the consequences of this action?
  21              A.     The consequences of the action of winding it
  22      down?        Prior to the announcement we laid out how that
  23      would occur and the operational impact or how we
  24      would -- sorry.          How we would unpack that.             How we
  25      would wind it down --

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   1             Q.   Well, it seems here --
   2             A.   -- understanding it.
   3             Q.   I'm sorry.
   4             A.   Yeah.
   5             Q.   She's talking about the consequences of the
   6      action to the DACA recipients.               Is that how you read
   7      that also?
   8             A.   Yes.
   9             Q.   And we've talked about some of those.            Is
  10      that what you were referencing when you gave that
  11      answer?
  12             A.   I was referencing more the broader -- how the
  13      program would be wound down.              So you're asking with
  14      respect to the consequences to the DACA recipients?
  15             Q.   Yes.
  16             A.   So we provided information understanding
  17      expiration of DACA -- of employment authorization
  18      documents and the DACA status or requests and period
  19      of deferred action.        So if I understand correctly, and
  20      sort of to make sure I'm answering, part of those
  21      consequences would be as employment authorization
  22      documents begin to expire, they no longer have DACA.
  23      They no longer have EADs.
  24             Q.   Right.   And they're subject to removal;
  25      right?

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   1             A.   Absent that deferred action to what we
   2      discussed before, they could be subject to that.
   3             Q.   They're no longer eligible for advanced
   4      parole?
   5             A.   Right.    As part of this wind-down.
   6             Q.   Right.
   7             A.   Unless they -- sorry just to add.             Unless
   8      they already had advance parole at the time we ended
   9      it would go for that period, whatever it might be.
  10             Q.   Okay.    Do you see at the end of that same
  11      paragraph it goes over to the next page.                Secretary
  12      Duke ends that paragraph by saying, "For that reason,
  13      DACA was fundamentally a lie."              Do you see that?
  14             A.   I do.
  15             Q.   Do you agree with that statement?
  16             A.   I agree that DACA was never more than the
  17      deferred action bureaucratic delay.                I mean it's
  18      therefore, not as the Secretary -- so the answer is
  19      she characterized that as fundamentally a lie because
  20      it never promised the rights of citizenship or legal
  21      status, and I agree that's correct.                It did not.
  22             Q.   So do you have any understanding of how that
  23      is a lie?
  24             A.   I mean it's the Secretary's statement.               So I
  25      don't know.     As far as the link to that, I'd just go

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   1      back to the previous two or three sentences.               There
   2      was a temporary delay, and there wasn't a permanent
   3      status, legal status.
   4              Q.   So I -- I'm sorry.
   5              A.   No.     Go ahead.
   6              Q.   I'm trying to understand how that makes it a
   7      lie.     You and I have both read all the documents, and
   8      I think you wrote some of them that said, "This is
   9      temporary" and it had renewal.
  10              A.   Participated in them.
  11              Q.   Right.     So how is DACA a lie in light of
  12      that?
  13              A.   I mean as I said, I didn't write the
  14      statement.         So I'm providing back my reflections based
  15      on the Secretary's conclusion and the previous
  16      statements where she believes that leads to being
  17      fundamentally a lie, as she stated.
  18              Q.   Okay.     So do you agree with -- if I just look
  19      at that statement, "DACA was fundamentally a lie," do
  20      you agree with that statement?
  21              A.   So I believe that it didn't -- the Secretary
  22      called it a lie, did not fully represent.               It did not
  23      provide what -- it never promised the rights of
  24      citizenship or legal status.               So I agree with that.
  25      It did not.         I'm trying to be responsive, but I mean

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   1      that's her personal opinion.              You know, my opinion is
   2      it did not -- it cannot, would not provide a legal
   3      status or pathway to citizenship as constructed.
   4             Q.   In your view, at least pre-rescission, did
   5      DACA deliver what it promised to deliver?
   6             A.   It delivered what we constructed and what we
   7      stated, which was it was a period of deferred action.
   8      But it also could be viewed that, to your question
   9      earlier about initials and then renewals and on, it
  10      could be viewed that that would continue in perpetuity
  11      and could be viewed particularly with providing
  12      employment authorization documents a level of
  13      certainty that deferred action and prosecutorial
  14      action doesn't provide.
  15             Q.   I'm not sure I follow your last answer.
  16             A.   Okay.     So could you ask the -- and I'm sorry.
  17      I may be --
  18             Q.   No.     It's okay.
  19             A.   -- drawing down on the --
  20             Q.   I'm going to wrap up my piece so these guys
  21      can take over.
  22             A.   But please ask again.
  23             Q.   Sure.     In your view, before the rescission, I
  24      mean obviously once the rescission happens, it's a
  25      different situation.         Before the rescission, did DACA

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   1      provide to its recipients what was promised with the
   2      DACA program?
   3             A.   So it provides -- sorry.               So DACA provided
   4      from USCIS, and for our agency, it provided two years
   5      of deferred action, and if they qualified, an
   6      employment authorization document.                  So those
   7      parameters were provided, and that's what they
   8      received.     I think as I understood, and my apologies
   9      if it wasn't clear and I was being unclear, it
  10      probably was, that as the Secretary was stating, it
  11      also never promised a level of complete certainty down
  12      for a period of years even if it were a two year by
  13      two year process.
  14                  So we -- I'll say again, USCIS provided what
  15      was set out as the parameters and structure of DACA,
  16      which was the deferred action and employment
  17      authorization document.
  18             Q.   Okay.   I understand your answer.              I
  19      appreciate that.      I think what is confusing me, and
  20      perhaps we just are going to ask, hopefully, Secretary
  21      Duke is it's not clear to me how -- I mean a lie is
  22      something that's dishonest, and it sounds like from
  23      your answer, like there was not, at least in your
  24      view, dishonesty involved here.               "X" was promised and
  25      "X" was provided.

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   1             A.    "X" was promised in the parameters of the
   2      program, as I understand.             Again, I'll have to speak
   3      to -- the Secretary ultimately makes that conclusion;
   4      right?      But my view is it also could not promise a
   5      full legal status.         So I understand her perspective in
   6      saying that.         What we were instructed to create and
   7      administer, we did.
   8             Q.    Okay.     One other aspect, just so we're on the
   9      same page.      I think you talked about the two years,
  10      the work authorization as part of the promise.
  11      Renewal was also --
  12             A.    Yes.
  13             Q.    The availability of renewal was also part of
  14      the promise; right?
  15             A.    Right.     If they qualified.
  16             Q.    Of course.
  17             A.    Right.
  18                   MR. DETTMER:      Okay.       Well how about this.    I
  19      think I'm going to stop now.               I know my colleagues
  20      have a few more questions.
  21                   How far are we here?
  22                   THE VIDEOGRAPHER:         5 hours, 44 minutes.
  23                   MR. DETTMER:      Do you want to take a brief
  24      break or should we just switch around.
  25                   THE WITNESS:      Let's take a quick break.

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   1                  THE VIDEOGRAPHER:        We are going off the
   2      record at 4:35 p.m.
   3                  (A recess was taken from 4:35 p.m.
   4                  to 4:41 p.m.)
   5                  THE VIDEOGRAPHER:        We are back on the record
   6      at 4:41 p.m.
   7
   8                                EXAMINATION
   9      BY MS. CROWLEY:
  10             Q.   Good afternoon.       My name is Megan Crowley,
  11      and I'm with Covington & Burling, and we represent the
  12      University of California and President Napolitano.
  13      And I'm going to ask you a few questions following up
  14      on what you and Ethan discussed.
  15                  The first set of questions I want to ask you
  16      are about what you had described as the litigation
  17      risk related to the rescission of DACA.             And so do you
  18      understand that DHS has said that litigation risk
  19      associated with the continuation of DACA was a reason
  20      that DACA was rescinded?
  21             A.   That's my understanding.
  22             Q.   Is there a component of DHS that is
  23      principally responsible for assessing litigation risk?
  24             A.   Yes.
  25             Q.   And what component is that?

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   1              A.   For DHS, the office of the general counsel.
   2              Q.   Did you have any communications with the
   3      office of general counsel about the litigation risk
   4      related to continuation of DACA?
   5              A.   I did once.
   6              Q.   Okay.   And is it correct to say that you also
   7      personally assessed litigation risk associated with
   8      continuation of DACA?
   9              A.   So from my personal opinion, not as a lawyer.
  10              Q.   Did any of your staff assess litigation risk
  11      associated with continuing the program?
  12              A.   Within my office of the chief counsel, they
  13      may have to support the office of the general counsel.
  14      I don't know.
  15              Q.   Did they look into this issue at your
  16      direction?
  17              A.   No.
  18              Q.   Were there any internal memoranda prepared
  19      regarding the litigation risk of continuing the
  20      program?
  21              A.   I don't know if there were.           There may have
  22      been.
  23              Q.   And not to make you repeat something you've
  24      already covered, but as of September 5 what was your
  25      view on the litigation risk associated with continuing

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   1      the program?
   2              A.   My personal view was that it was quite high
   3      with respect -- my apologies.               With respect to
   4      continuing the program.           That for the reasons earlier
   5      described, there was a significant or high litigation
   6      risk.
   7              Q.   And to unpack that a little bit more, what
   8      factors went into your personal assessment of that
   9      litigation risk?      You mentioned the Texas litigation,
  10      the letter from the attorney general.                    Was there
  11      anything else that went into that evaluation?
  12              A.   My personal evaluation, my personal view?                   I
  13      mean in addition, the attorney general's letter
  14      indicated DACA as we administered had some of the same
  15      risks that DAPA had and the underlying foundation.
  16              Q.   And was use of government resources a
  17      consideration?      DHS resources?
  18                   MR. GARDNER:      Objection.            Vague.
  19      Consideration by him?
  20      BY MS. CROWLEY:
  21              Q.   Yes, by you.      Was that part of the
  22      consideration, the litigation risk?
  23              A.   I'm sorry.     Just to be clear, so the use of
  24      our USCIS resources as part of the litigation risk.
  25              Q.   In assessing the litigation risk --

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   1             A.   Yeah.
   2             Q.   -- was there consideration -- did you
   3      consider the amount of -- the number of government
   4      resources, DHS resources that would be used to either
   5      continue the program or rescind the program?
   6             A.   I mean to answer clearly, I saw if the
   7      program -- so consideration of resources in the sense
   8      if the program continued we would presumptively,
   9      absent other challenges, use the same resources we've
  10      been using to administer it.
  11                  So then I can answer the second part to your
  12      question, if the program were rescinded, you know,
  13      particularly actively by a court injunction, then
  14      there would be, from my view at the time, thinking
  15      through additional resources, depending upon how a
  16      court action would play out, again, linking back to
  17      DAPA or the injunction of DAPA.
  18             Q.   In assessing the litigation risk of
  19      continuing or rescinding -- continuing the program,
  20      did you consider the likelihood of being sued for a
  21      rescission of the program?           Was this lawsuit
  22      contemplated?
  23             A.   So again, just to reiterate, this was my
  24      personal review -- personal view, looking at the
  25      factors.     I wouldn't necessarily call it a formal

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   1      analysis nor documented as such.               But we've been sued
   2      both directions.      If you're asking my opinion now, it
   3      is if we were being sued requires an expenditure of
   4      resources as well, but yet, the expenditure of
   5      resources to perhaps unilaterally return approximately
   6      100,000 requests or employment authorization documents
   7      and rescind them to the tune of several hundred
   8      thousand is also significant.
   9             Q.   Were you involved in the decision to rescind
  10      the deferred action for parents of Americans and
  11      lawful permanent residents or DAPA in June 2017?
  12             A.   You mean Secretary Kelly's memo?
  13             Q.   Yes.
  14             A.   I don't recall being involved on that.                  If I
  15      may add, there's a memo from the Secretary to several
  16      of us; right?      But DAPA was never operational.                 So
  17      it's a different analysis or involvement point, from
  18      my view.
  19             Q.   Do you know whether litigation risk was a
  20      factor that was considered in ending DAPA?
  21                  MR. GARDNER:     Objection.            Calls for the
  22      disclosure of information subject to the deliberative
  23      process privilege.       Instruct the witness not to
  24      answer.
  25                  THE WITNESS:     I will follow counsel's advice.

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   1      BY MS. CROWLEY:
   2             Q.   Were you in any meetings in which litigation
   3      risk associated with the rescission of DAPA was
   4      discussed?
   5                  MR. GARDNER:     Same objection.            Same
   6      instruction.
   7                  THE WITNESS:     And the same response.
   8      BY MS. CROWLEY:
   9             Q.   When did you first learn that litigation risk
  10      was a relevant factor in rescinding DACA?
  11             A.   Attorney General Paxton's letter laid out
  12      litigation risk.
  13             Q.   I understand that, in your opinion,
  14      litigation risk is a proper consideration in
  15      evaluating the rescission of a government program such
  16      as DACA; is that correct?
  17             A.   Based upon the unique parameters of DACA.
  18             Q.   So do you think that litigation risk is a
  19      factor that should be considered when evaluating the
  20      continuation of all government programs?
  21                  MR. GARDNER:     Objection.            Calls for
  22      speculation.     Hypothetical.         Vague.
  23                  THE WITNESS:     So could you repeat the
  24      question, sorry, to make sure I have it clearly.
  25      BY MS. CROWLEY:

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   1             Q.   Do you think that litigation risk is a factor
   2      that should be considered when evaluating the
   3      continuation of all government programs?
   4                  MR. GARDNER:     Objection.            Hypothetical.
   5      Speculation.     Vague.
   6                  THE WITNESS:     With respect to that, my
   7      personal view is, again, that within USCIS and benefit
   8      types, litigation risk should be considered, but
   9      there's a distinction here with the fact of the
  10      parameters of how DACA was stood up and guided through
  11      the FAQ process, et cetera.            And so litigation risk
  12      should be a factor I think folks should consider.                   In
  13      this case, it's from other programs we administer.
  14      BY MS. CROWLEY:
  15             Q.   In evaluating the programs you administer in
  16      determining whether they should be continued, would it
  17      be fair to say that you weigh the costs and benefits
  18      of a program?
  19             A.   So of the other types of programs?
  20             Q.   As a general matter.
  21             A.   Virtually all those are mandated by statute.
  22      I mean we operate the program.              So I'm not sure -- I
  23      mean if I understand your question is there's not
  24      really, in my view, a choice, you know, because it is
  25      in the statute or in other enactment that we seek to

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   1      implement or run.
   2              Q.   Let me rephrase.
   3              A.   Sure.
   4              Q.   In determining -- are you part of helping
   5      determine the department's policy goals?
   6              A.   As part -- as deputy director, among many
   7      others, I would say yes with respect to those that
   8      touch USCIS.
   9              Q.   And in determining the department's policy
  10      goals, would it be fair to say that you weigh the
  11      costs and benefits of various policy options as a
  12      general matter?
  13              A.   Whether implemented or not, or not yet
  14      implemented, those are some -- I would say that's a
  15      consideration.
  16              Q.   You talked with Ethan about some of the
  17      benefits that DACA recipients received from DACA.                    You
  18      remember that?
  19              A.   Uh-huh.
  20              Q.   You also talked about some of the benefits
  21      that DACA may have had for USCIS.                  Do you remember
  22      that?
  23              A.   With respect to some of the general goals and
  24      policy principles --
  25              Q.   Yes.

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   1              A.     -- that's to what you refer?
   2              Q.     Yes.   Were those benefits considered in
   3      evaluating whether DACA should be continued?
   4                     MR. GARDNER:    Objection.            Calls for the
   5      disclosure of information such as deliberative process
   6      privilege.
   7                     I instruct the witness not to answer.
   8                     THE WITNESS:    I'll follow counsel's advice.
   9      BY MS. CROWLEY:
  10              Q.     Let me break that down a little bit more,
  11      then.        To your knowledge, were any of those benefits
  12      considered in connection with the decision to rescind
  13      DACA?
  14                     MR. GARDNER:    Objection.            Calls for the
  15      disclosure of information subject to deliberative
  16      process privilege.
  17                     I instruct the witness not to answer.
  18                     THE WITNESS:    I follow my counsel.
  19      BY MS. CROWLEY:
  20              Q.     Are you aware that DACA recipients are
  21      employees of companies in this country?
  22              A.     Yes.
  23              Q.     To your knowledge, were any of their
  24      employers consulted in connection with the decision to
  25      rescind DACA?

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   1              A.     Not to my knowledge.
   2              Q.     Are you aware that DACA recipients are
   3      employers of other individualss in this country, that
   4      they employ people?
   5              A.     It's possible.     I mean probably.      I mean I
   6      just don't know for sure.
   7              Q.     But it stands to reason?
   8              A.     Yes.   It's a possibility.
   9              Q.     Are you aware of whether any of their
  10      employees were consulted in connection with the
  11      decision to rescind DACA?
  12              A.     I'm not aware that they were.         They may have
  13      been.
  14              Q.     Are you aware that DACA recipients are
  15      students in this country?
  16              A.     Yes.
  17              Q.     To your knowledge, were any of their schools
  18      consulted in connection with the decision to rescind
  19      DACA?
  20              A.     I'm not aware that they were.         They may have
  21      been.        I'm not aware.
  22              Q.     Are you aware that DACA recipients are
  23      teachers in this country?
  24              A.     Yes.
  25              Q.     And are you aware -- to your knowledge, were

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   1      any of the employees of those teachers consulted in
   2      the connection with the decision to rescind DACA?
   3             A.    The employees?
   4             Q.   The employers.
   5             A.   I'm not aware if they were.
   6             Q.   Okay.     I want to shift a little bit and just
   7      ask you one last set of questions.                  Am I correct in
   8      understanding that after March 5, 2018 DHS will no
   9      longer adjudicate renewal applications from current
  10      DACA recipients?
  11             A.   No.     We'll still have it.            We will still have
  12      renewals under adjudication.
  13             Q.   But you will not be accepting new renewal
  14      applications?
  15             A.   Not accepting, that's correct, as of
  16      October -- after October 5.
  17             Q.   Are you aware of any discussions within DHS
  18      regarding whether to extend that deadline, the March 5
  19      deadline?
  20             A.   I'm not aware of any.
  21             Q.   To your knowledge, has anyone from the
  22      Department of Justice provided input into whether the
  23      March 5 deadline should be extended?
  24             A.   Not to my knowledge.
  25             Q.   To your knowledge, has anyone from the White

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   1      House provided input into whether the March 5 deadline
   2      should be extended?
   3             A.   Not to my knowledge.
   4             Q.   And to your knowledge, has anyone from other
   5      organizations within the executive branch weighed in
   6      or provided input into whether the March 5 deadline
   7      should be extended?
   8             A.   Within the executive branch, not to my
   9      knowledge.
  10             Q.   In your opinion, does DHS have the authority
  11      to extend the March 5 deadline?
  12                  MR. GARDNER:     Objection.            Calls for a legal
  13      conclusion.
  14                  THE WITNESS:     Right.       I can't advise on that.
  15      I'm not in a practicing attorney role.
  16      BY MS. CROWLEY:
  17             Q.   Do you personally see any benefits of
  18      extending the March 5 deadline?
  19             A.   My personal opinion, no, I don't.               We have --
  20      I would like to explain, if I may.
  21             Q.   Uh-huh.
  22             A.   As in my testimony a couple of weeks ago and
  23      the questions asked by members, I think congressional
  24      action and statutory enactment is what will provide a
  25      permanent status, or could, for this population.

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   1                   MS. CROWLEY:     Okay.      I think I've used up my
   2      allotment of time.       Maybe we can go off the record for
   3      one moment while we switch.
   4                   THE WITNESS:     Okay.      Thank you.
   5                   THE VIDEOGRAPHER:        We're going off the record
   6      at 4:56 p.m.
   7                   (A recess was taken from 4:56 p.m.
   8                   to 4:58 p.m.)
   9                   THE VIDEOGRAPHER:        We are back on the record
  10      at 4:58 p.m.
  11
  12                                  EXAMINATION
  13      BY MR. LEE:
  14             Q.    Good afternoon, Mr. McCament.            Thank you for
  15      your patience with our series of questions today.                 My
  16      name is Ronald Lee again, and I am counsel to the
  17      State of California.         I'm from the California Attorney
  18      General's office.      I also have some questions for you
  19      today.      I'll try to avoid being duplicative, but for
  20      the purposes of getting some clarity of the record,
  21      I'm going to go over some of the ground that we've
  22      covered today.
  23             A.    Sure.
  24             Q.    How soon after you reviewed Attorney General
  25      Paxton's letter did you come to understand that any

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   1      component of the executive branch was considering the
   2      possibility of rescinding DACA?
   3             A.    What I recall is in early August being aware
   4      that, early this week or two, that that was being
   5      fully contemplated.         But again, your question, after
   6      the end of June the letter was out there.               So if I
   7      understand your question correctly, that was already
   8      known.      What I recall is learning in early August, or
   9      maybe mid-August, but I think it was early August that
  10      it was being contemplated.
  11             Q.    And how did you come to that understanding?
  12             A.    As I recall, it was prior to the August 21
  13      meeting as we were brought --
  14                   MR. GARDNER:     At this point, I'm sorry, I am
  15      going to object.      I think that that question as stated
  16      does call for the disclosure of information subject to
  17      deliberative process privilege.               I instruct the
  18      witness not to answer.         I think there might be a way
  19      you can rephrase it, but I think as stated, you're
  20      asking about the deliberations leading up to the
  21      rescission.
  22                   THE WITNESS:     I'll follow my counsel.
  23      BY MR. LEE:
  24             Q.    Did you develop any understanding of which
  25      government official or entity was exploring this

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   1      possibility at the beginning of August?
   2             A.   Yes.
   3             Q.   Which entity or official?
   4             A.   The Department of Homeland Security.
   5             Q.   Any others?
   6             A.   Not that I recall initially.           DHS was
   7      exploring.
   8             Q.   Did you come to this understanding via
   9      written communication?
  10             A.   I believe it was, again, prior to the
  11      August 21 meeting being aware that -- I'm just trying
  12      to recall.     But being aware that consideration was
  13      being given to respond to the letter by doing so.                 I
  14      just honestly don't recall whether by phone call or by
  15      E-mail.
  16             Q.   So you came to this understanding in early
  17      August, either via phone call or E-mail; is that
  18      correct?
  19             A.   That's my recollection that, to your point,
  20      the Department was considering the decision.
  21             Q.   And is this E-mail or phone call something
  22      that came from within the Department?
  23             A.   Yes.
  24             Q.   Was it from a level senior to you?
  25             A.   As I recall, it was from the Secretary's

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   1      office.     I think it might have been Gene Hamilton
   2      giving me a heads up, but I don't recall.             I think it
   3      was, that that consideration was being given.
   4             Q.   Between the time you first became aware of
   5      the possibility of rescission of DACA on August 21,
   6      when there was an internal meeting among DHS personnel
   7      to discuss rescission of DACA, did you have any
   8      further communication with anyone within the
   9      Department about the possibility of rescinding DACA?
  10             A.   Well, again, I think if you go back from
  11      June 29 on, that possibility was open.             Learning
  12      sometime early August that we were probably preceding
  13      to look at that.      And then I don't recall specifics
  14      between that time of learning and after, but I recall
  15      just there being some level of conversation, talking
  16      about impact, what would be -- what could be the
  17      parameters.
  18             Q.   So to be clear, you do recall communications
  19      about the impact of rescission of DACA between early
  20      August and August 21?
  21             A.   To be clear, so being requested to provide
  22      information about the DACA program, numbers, you know,
  23      some of what we discussed earlier.
  24             Q.   And do you recall who made that request of
  25      you?

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   1              A.   So I recall, I think Gene and I discussed and
   2      we prepared information, you know, pulling data and
   3      information.         So it was prior to the August 21
   4      meeting.      I just don't really recall kind of the
   5      cadence of that.
   6              Q.   And by "Gene," are you referring to
   7      Mr. Hamilton?
   8              A.   Uh-huh.
   9              Q.   And were these communications via E-mail?
  10              A.   So yes with respect to the data questions.
  11      That's what I recall.
  12              Q.   Do you recall if these E-mails were of the
  13      type that you turned over to counsel, your counsel?
  14              A.   As referenced to Ethan, I asked of EIT and my
  15      counsel team to review all my E-mails and pull up what
  16      was responsive.
  17              Q.   Sure.     How did you understand that the basis
  18      for rescinding DACA would be the illegality of the
  19      program as articulated by Secretary Duke's rescission
  20      memo?
  21                   MR. GARDNER:      Objecting to the extent --
  22      well, a couple of objections.               1, mischaracterizes the
  23      witness' prior testimony.
  24                   But 2, objection to the extent that that
  25      question is implicating the deliberative process

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   1      privilege, and to the extent you're asking him for
   2      deliberations, I'll instruct the witness not to
   3      answer.
   4                     THE WITNESS:    I'll follow counsel's advice.
   5      BY MR. LEE:
   6              Q.     You agree with me that as articulated by
   7      Secretary Duke in the rescission memo, that the basis
   8      for rescinding the DACA program is because it is an
   9      unlawful program?
  10                     MR. GARDNER:    Objection.           Mischaracterizes
  11      the document.
  12                     THE WITNESS:    As described -- the Secretary
  13      described her reasons in the memo.
  14      BY MR. LEE:
  15              Q.     And when did you first come to understand
  16      that those reasons, as she articulated in her memo
  17      would be the reasons for rescinding DACA?
  18              A.     I mean I'm pausing because I'm not quite
  19      sure.        The -- there are several factors sort of
  20      leading to what I think I understand your question to
  21      be.
  22              Q.     I can clarify, and I apologize.
  23              A.     My apologies, probably with the time.
  24              Q.     Not at all.    For present purposes I'm
  25      referring only to the reasons that were articulated by

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   1      Secretary Duke in her rescission memo.
   2             A.   I see.     So what was in the memo when it was
   3      put into the memo.
   4             Q.   And I'm trying to understand from you when
   5      you first came to the understanding that those reasons
   6      that are publicly in that rescission memo --
   7             A.   Right.
   8             Q.   -- were going to be the reasons upon which
   9      the rescission of DACA was going to be based.
  10             A.   So then, thank you.           So when I saw the draft
  11      of the memo that listed in whatever draft would have
  12      said that, those would have been listed out as her
  13      reasons.
  14             Q.   And you're referring to the draft of the
  15      rescission memo that was transmitted to you for
  16      comment and input; is that correct?
  17             A.   Yes.     Yeah.   The wind-down.
  18             Q.   The wind-down memo.           When you received the
  19      memo, was it already in substantially final form to
  20      the version that the public has seen?
  21             A.   The draft memo?
  22             Q.   Yes.
  23             A.   To my recollection, there were, I think as I
  24      said earlier, a couple of drafts that I saw, or at
  25      least I think.        So I think substantially, I just want

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   1      to be clear to a process point.               I'm happy to expand
   2      on that.
   3             Q.    To the best of your recollection, the first
   4      time you saw the draft memo it was in a
   5      substantially -- in the form that was substantially
   6      similar to the final version, public version?
   7             A.    I just don't recall.         So I don't recall --
   8      sorry.
   9                   What I want to be clear on is when we say
  10      "substantially the same," in the government review of
  11      documents different drafts -- drafts can have several
  12      iterations saying substantially, in my view, just to
  13      be clear, is one part if it's substantially meaning
  14      everything remains the same, I think there were
  15      definitely some changes and adjustments.
  16                   So that's why I want to be clear to say some
  17      parts may have remained the same.                  Others might have
  18      been changed, and you would see that in subsequent
  19      drafts, including as we were finalizing operational
  20      steps.      So that's why I wanted to lay that out as far
  21      as what "substantially" means.
  22             Q.    Prior to seeing the draft of the memo, you
  23      had no basis to understand that the reasons
  24      articulated by Secretary Duke in her rescission memo
  25      were going to be the reasons for the rescission of

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   1      DACA?
   2                   MR. GARDNER:    Objection.            Mischaracterizes
   3      the witness' prior testimony.
   4                   THE WITNESS:    No.     I mean as I understood the
   5      question was when did I understand that those factors
   6      listed were the final factors.              That's when I saw them
   7      in the memo saying those were the final factors.
   8                   As you referenced earlier, I was aware of the
   9      Paxton letter.       You know, aware of an attorney general
  10      decision or, you know, rendering and all that
  11      litigation.      So that's why I wanted to make sure to
  12      clarify that point.
  13      BY MR. LEE:
  14              Q.   Okay.   I appreciate that.             Thank you for
  15      that.
  16                   I'd like to draw your attention very briefly
  17      to the Paxton letter, and I believe that is in
  18      Exhibit 3, the administrative record with the Bates
  19      No. AR238.
  20                   MR. GARDNER:    What's the Bates?
  21                   MR. LEE:   -238.
  22                   MR. NEWMAN:    We're going to take a break
  23      right now.      Let's go off the record, please.
  24                   THE VIDEOGRAPHER:       We're going off the record
  25      at 5:09 p.m.

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   1                  (A recess was taken from 5:09 p.m.
   2                  to 5:25 p.m.)
   3                  THE VIDEOGRAPHER:        We are back on the record
   4      at 5:25 p.m.
   5                  MR. LEE:    Okay.     We just came back from a
   6      brief break to assess an order that was issued by
   7      Judge Alsup in the related California actions that was
   8      just issued on the scope of discovery and
   9      applicability of various deliberative process and
  10      executive privileges asserted today.
  11                  Per this order, it is Plaintiffs' position
  12      that most, if not all of the assertions of those two
  13      privileges today and asserted on Friday's deposition
  14      of James Nealon are inappropriate and need to be
  15      withdrawn.     We understand that government counsel is
  16      taking prompt steps to assess this order, and we
  17      reserve the right, as necessary, to redepose
  18      Mr. Nealon, Mr. McCament, and going forward any other
  19      witnesses until this issue is fully resolved
  20                  MR. GARDNER:     And we understand your
  21      position.     First of all, let me say on the record I
  22      really appreciate everyone in the room's
  23      professionalism.       This is happening in real time.                As
  24      you noted, we just got the order.                  We are assessing
  25      it, and obviously, assessing what, if any, next steps

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   1      are appropriate.
   2                  Accordingly, we'll continue the remainder of
   3      this deposition with the assumption that the
   4      privileges may be applicable.              We'll conclude this
   5      deposition, and then however this gets sorted out it,
   6      gets sorted out, and we can work mutually agreeably to
   7      resolve next steps once we can figure out what those
   8      next steps are.
   9                  MR. LEE:     Thank you for that, Counsel.
  10             Q.   Mr. McCament, you understand you're still
  11      under oath?
  12             A.   Yes.
  13             Q.   So pursuant to that exchange, we're going to
  14      continue the questioning as we were just doing
  15      previously.
  16             A.   Understood.
  17             Q.   Wonderful.
  18                  I believe I was in the process of asking you
  19      to return to the administrative record, which I
  20      believe is Exhibit 3, and to refer you to Attorney
  21      General Paxton's letter as Bates No. AR238.
  22                  (The witness reviewed Exhibit 3.)
  23      BY MR. LEE:
  24             Q.   Mr. McCament, do you have that letter in
  25      front of you?

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   1             A.   I do.
   2             Q.   And we've discussed this letter in some
   3      detail today already; is that correct?
   4             A.   Yes.
   5             Q.   As you can see from this letter, this --
   6      would you agree with me that this letter was addressed
   7      to Attorney General Jeff Sessions?
   8             A.   Yes.
   9             Q.   And this is signed by the attorneys general
  10      of 11 states?
  11             A.   I believe that's correct, based on the names.
  12             Q.   And do you see any CC lines directing this
  13      correspondence to the Department of Homeland Security?
  14             A.   No.
  15             Q.   Okay.   How did you come to receive this
  16      letter from Attorney General Paxton?
  17             A.   It was forwarded to me.
  18             Q.   From whom?
  19             A.   As I recall, at least from our chief counsel.
  20      It may have been from other source, but I mean
  21      that's -- I know for sure it came from him.
  22             Q.   And when you say, "chief counsel," was that
  23      office of chief counsel within USCIS?
  24             A.   Craig Symons, our chief counsel for USCIS.
  25             Q.   Do you have any understanding how this letter

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   1      got to the Department of Homeland Security in the
   2      first place?
   3             A.   Not specifically, though it references us.
   4      If I may, "us" meaning Homeland Security, secretary of
   5      Homeland Security.
   6             Q.   And it is your understanding that the states
   7      represented in this letter were plaintiffs in the
   8      district court case you referenced earlier in your
   9      testimony in the Southern District of Texas?
  10             A.   It's my -- it's my understanding without
  11      having cross referenced all of them -- or having cross
  12      referenced, I should say, to be precise.
  13             Q.   And are you aware that these 11 states are a
  14      subset of the states that filed the District Court
  15      action in the Southern District of Texas?
  16             A.   I believe I knew that generally.          I can't say
  17      for sure, but there were more that filed.             Is that
  18      your question?     That more filed the lawsuit than were
  19      signing here.     That was my understanding just
  20      generally.     But again, I didn't compare.
  21             Q.   Was any significance to that -- was any
  22      significance accorded to this fact in your discussions
  23      surrounding this letter?
  24             A.   Not that I recall.         Could have been, but not
  25      that I recall.

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   1                  MR. LEE:   I'd like to introduce Exhibit 18 --
   2      19.
   3                  (Deposition Exhibit 19 was marked for
   4                  identification.)
   5      BY MR. LEE:
   6             Q.   Mr. McCament, I just handed you Exhibit 19,
   7      which is a letter dated July 21, 2017 from the office
   8      of the attorney general of the State of California to
   9      the President of the United States.
  10             A.   Yes.
  11             Q.   Have you seen this letter before?
  12             A.   I don't recall seeing this -- well, so I
  13      don't recall seeing the letter, but I'm aware that
  14      there was a letter.       So I'm not sure if that means I
  15      saw it or not.     Sorry.
  16             Q.   What specifically were you aware of with
  17      respect to this letter?
  18             A.   As I recall, that the attorney general had
  19      written a letter asking to maintain DACA.
  20             Q.   How were you informed -- how were you made
  21      aware that this letter had been transmitted to the
  22      federal government?
  23             A.   I don't recall whether it was just publicly
  24      or whether there was one forwarded.                I just don't
  25      recall.     I recall being aware there was a letter.

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   1              Q.   But you do not recall that the specific
   2      letter was forwarded to you in any way in the form
   3      that you see here by someone at the Department of
   4      Homeland Security?
   5              A.   I don't recall that it was.              It may have
   6      been.
   7              Q.   If I take you to the very last page of this
   8      exhibit, do you see that this letter was also copied
   9      to then Secretary John Kelly?             Secretary of Homeland
  10      Security John Kelly?
  11              A.   At the end of the page, yes.
  12              Q.   Do you have any understanding as to why this
  13      letter may not have reached your attention?
  14                   MR. GARDNER:    Objection.            Calls for
  15      speculation.
  16                   THE WITNESS:    And again, I might well have
  17      received it.      I just -- I was aware of the letter, and
  18      I just don't recall how in this instance.
  19      BY MR. LEE:
  20              Q.   As you sit here today, are you familiar with
  21      the content of this letter?
  22              A.   As I read it as it's presented to me,
  23      generally knowing that there were attorneys general
  24      who had written to the President to ask to not rescind
  25      DACA, yes.

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   1             Q.   Do you have any understanding whether in this
   2      letter the 20 attorneys general that wrote this letter
   3      expressed their commitment to support the effort to
   4      defend DACA by all appropriate means?
   5             A.   As laid out?     Sorry.       You mean in the last
   6      paragraph that you're referencing as I look at it now?
   7             Q.   Yes.
   8             A.   Yes.    I'm aware it's there to maintain and
   9      defend DACA.
  10             Q.   Were you aware of this commitment at the time
  11      that this letter was first put to your attention, or
  12      are you developing that -- are you developing that
  13      understanding only now as you read the letter today?
  14             A.   Again, while I might well have received it, I
  15      just don't remember that, but I might well have.               But
  16      to your point on this reference, I'm reading it now
  17      and then responding to you.
  18             Q.   Okay.    You would agree with me that at the --
  19      as of the end of July, the Department of Homeland
  20      Security had both the Paxton letter we just discussed
  21      and this letter from Attorney General Becerra.
  22             A.   Yes, based on the CC line and to the
  23      Secretary.
  24             Q.   And that one letter, the Paxton letter
  25      threatened litigation to end DACA; correct?

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   1             A.   Yes.
   2             Q.   And another letter promised to defend it?
   3                  MR. GARDNER:     Objection.            Mischaracterizes
   4      the document.
   5                  THE WITNESS:     It says -- if I may, based upon
   6      as you were saying that, what I see is the last
   7      sentence subpart.      Well, so for the last sentence
   8      before the signatories, "For these reasons we urge you
   9      to maintain and defend DACA, and we stand in support
  10      of the effort to defend DACA."
  11      BY MR. LEE:
  12             Q.   Are you aware of any consideration of this
  13      letter as part of the litigation risk analysis
  14      conducted by the Department?
  15                  MR. GARDNER:     Objection.            Calls for the
  16      disclosure of information subject to deliberative
  17      process privilege.
  18                  I instruct the witness not to answer.
  19                  THE WITNESS:     So at this point, based upon
  20      the parameters outlined, I will follow counsel's
  21      advice.
  22      BY MR. LEE:
  23             Q.   I want to take you now to the August 21
  24      internal DHS meeting --
  25             A.   Yes.

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   1             Q.   -- we discussed earlier today about the
   2      rescission of DACA?
   3             A.   Yes.
   4             Q.   Okay.     And I apologize if I missed this in
   5      your earlier testimony, but was Assistant Secretary
   6      Dougherty present at this meeting?
   7             A.   I believe he was.         Thanks for the addition,
   8      as I said -- or not addition sorry.                   Thanks for that
   9      question.     As I said, there were probably a couple
  10      other people.       I think he was.          I knew Ambassador
  11      Nealon, I believe he was.            I think he was.            As I said,
  12      it was a room full of a lot of us, but I believe so.
  13             Q.   And am I correct to say that his title is the
  14      assistant secretary for border immigration and trade
  15      policy?
  16             A.   Yes, that's my understanding.                Yes.
  17             Q.   Are you familiar with what that portfolio
  18      entails?
  19             A.   As is laid out, border issues and immigration
  20      matters.     Right.     Right.     Working with, therefore, the
  21      operational agencies that fall under that purview.
  22             Q.   Okay.     And with that understanding of sort of
  23      his portfolio, why was he a participant at this
  24      meeting?
  25                  MR. GARDNER:      Objection.            Calls for

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   1      speculation.
   2                  THE WITNESS:     Right.       I mean we all received
   3      invitations to attend the meeting.
   4      BY MR. LEE:
   5             Q.   You understand -- you just testified that
   6      you're familiar with his general portfolio --
   7             A.   Yes.
   8             Q.   Correct?
   9                  So from your experience as a longtime
  10      employee of USCIS and of DHS, what about his portfolio
  11      made the discussion of DACA relevant to him?
  12                  MR. GARDNER:     Objection.            Calls for
  13      speculation.
  14      BY MR. LEE:
  15             Q.   You can still answer.
  16             A.   Yes.   Understood.       Again, as the assistant
  17      secretary for border immigration and trade, he works
  18      with our agencies, meaning our, "USCIS" customs,
  19      border protection, and ICE.
  20             Q.   You mentioned that Director Homan was present
  21      as well; is that correct?
  22             A.   Yes.
  23             Q.   Did he speak at this meeting?
  24             A.   As I recall, he did.          If I may.
  25             Q.   Please.

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   1             A.    Our immigration agencies, the three of us, or
   2      the three agencies, when there are meetings, there are
   3      quite a few on different topics.               So but that said, I
   4      think he did speak in that meeting.                I'm just saying
   5      it's a familiar location, familiar conference room and
   6      familiar -- at least in that respect, group of people,
   7      but I believe so.
   8             Q.    When you say, three immigration agencies, are
   9      you -- what agencies are you referring to?
  10             A.    So customs and border protection, immigration
  11      and customs enforcement, and, of course, USCIS.
  12             Q.    I believe you mentioned that he had a deputy
  13      or assistant with him; is that correct?
  14             A.    He had -- at least as I recall, I think John
  15      Feere.      I may be mispronouncing and misstating -- I
  16      mean mispronouncing, but I think he's the senior
  17      advisor.
  18             Q.    And do you recall whether he spoke at this
  19      meeting?
  20             A.    I don't recall, but it doesn't mean that he
  21      did or did not.      Again, a lot of people in the room.
  22      If I may, because of your earlier question with
  23      Michael and with Tom Homan, I believe Tracy Short, who
  24      is the general principal legal advisor for ICE, I
  25      think may have been there.           Now I'm trying to think

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   1      through on that.      It was a full room.            May have been.
   2      I'm just thinking through.
   3             Q.   Are you familiar with Philip Miller?
   4             A.   I believe he works for CBP.             I think, if
   5      that's the same person.
   6             Q.   A Philip Miller who works in ICE.
   7             A.   Oh, sorry.     Then I'm confusing.          I don't
   8      recall the name, but he may well have even been at the
   9      meeting if he works for ICE.
  10             Q.   He may well have been at the meeting?
  11             A.   He may or may not.          The name isn't resonating
  12      to me.
  13             Q.   Fair enough.      Thank you.
  14                  Now, between August 24 and September 5, and
  15      just to orient our time line, we're talking about the
  16      period between the White House meeting you've
  17      discussed extensively today and the date of the
  18      rescission.
  19             A.   Right.
  20             Q.   Which I'll represent to you is a 12-day
  21      period of time.
  22             A.   Sure.
  23             Q.   You explained that your team was executing a
  24      number of tasks with respect to the impending
  25      rescission of DACA; is that correct?

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   1              A.   Yes.    As we specifically discussed with
   2      Ethan, like the materials, promotional materials and
   3      other topics and operational topics.
   4              Q.   You discussed news releases; is that correct?
   5              A.   News releases.      Again, that question was on
   6      the public information, and we were also looking at
   7      the operational steps.
   8              Q.   And I think you mentioned scripts as well.
   9              A.   And those, again, were with respect to the
  10      public rollout, and then there were operational steps
  11      as well.
  12              Q.   Would those scripts be a version of talking
  13      points?
  14              A.   Yes.
  15              Q.   Okay.    And in this period, your team was also
  16      working on the FAQs; is that correct?
  17              A.   Are you referring to the DACA rescission
  18      FAQs?
  19              Q.   Yes.
  20              A.   Yes, with the Department.
  21              Q.   And nothing else beyond news releases,
  22      scripts, and the rescission FAQs?
  23              A.   So as I said with respect to operational
  24      steps, so there was work being looked at for
  25      September 5 and beyond for implementing operationally

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   1      the rescission.
   2              Q.   Did this work start immediately after the
   3      August 24 White House meeting?
   4              A.   As far as the operation -- well, so with
   5      respect to the operational discussions and evaluation,
   6      I think so.      I mean it wasn't -- there was a
   7      discussion, and then as I mentioned earlier, it was
   8      the ongoing discussion on the different iterations of
   9      the Secretary's memo in -- subsequent as we led up to
  10      September 5, and we had to be operationally prepared.
  11      So if -- so there were operational steps being looked
  12      at to be ready.
  13              Q.   So the operational steps, the work being done
  14      around the operational steps, as best you can recall,
  15      began immediately or very soon after the August 24
  16      meeting?
  17                   MR. GARDNER:    Objection.            Mischaracterizes
  18      the witness' testimony.
  19                   THE WITNESS:    And again, with respect to
  20      timing, you know, after the August 24 meeting and
  21      beyond, you referenced 12 days from that time to be
  22      looking at the options for a rescission to implement
  23      September 5.      I can think of at least one example of
  24      that.
  25      BY MR. LEE:

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   1             Q.   What example would that be?
   2             A.   It would be that on that date we would no --
   3      or after that date, September 5, we would no longer
   4      accept new initials.        So that requires operational
   5      steps.
   6             Q.   And how about the work on news releases,
   7      scripts, or the FAQ?        Did any of that start
   8      immediately after the August 24 meeting?
   9             A.   So again, it occurred, as I recall, preparing
  10      those scripts was fought -- you said 12 days.               So I'll
  11      take that.     In the days leading up to September 5 and
  12      after the August 24, particularly in the last few days
  13      before the 5th, working on the materials when they
  14      were pretty finalized in that weekend, how the
  15      rescission would operate.
  16             Q.   Who on your team did you direct to work on
  17      the FAQs?
  18             A.   Well, again, as I believe I said earlier,
  19      there was a group of folks that were working on the
  20      materials, as well as -- I think I said this earlier,
  21      but if not, pretty much that same team or some portion
  22      were also working on the operational steps.
  23             Q.   Can you identify those team members by name?
  24             A.   Sure.   So as I said, I think earlier,
  25      Jennifer Higgins was the acting deputy director during

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   1      the time of my acting director, deputy director was on
   2      vacation.     As I recall, I think Don Neufeld and Ernest
   3      DeStefano with respect to the lockbox elements, as
   4      well as the operational pieces.                And again, sorry.
   5      You were asking, I think on the DACA rescission FAQs
   6      alone?
   7             Q.   Yes.
   8             A.   Okay.     Sorry.    So on the DACA rescission
   9      FAQs, I think Craig Symons our chief counsel.                  I
  10      believe Kathy Nuebel, our head of policy and strategy.
  11      Because they were public materials or would become
  12      public materials, I think Gillian.                  I think Don and
  13      Jennifer as well, but again, there were several steps
  14      being taken at the operations and the public
  15      materials.     So I might be missing someone.
  16             Q.   That's helpful.        Thank you, Mr. McCament.
  17      When you refer to "Gillian," Gillian --
  18             A.   Cristensen.
  19             Q.   Cristensen?
  20             A.   Uh-huh.
  21             Q.   When you refer to "Don," you're talking about
  22      Mr. Neufeld?
  23             A.   Correct.
  24             Q.   And Jennifer Higgins; correct?
  25             A.   Yes.

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   1              Q.     Okay.   Were you part of the review chain for
   2      the FAQs?
   3              A.     I believe so.      I saw the other materials
   4      throughout the weekend.            I mean as we were leading up
   5      to the finalization.           So I think so.
   6              Q.     Do you recall any significant debates
   7      regarding the content of the FAQs?
   8                     MR. GARDNER:     Objection.
   9                     You can answer that question with a "yes" or
  10      "no."        The substance of that would be subject to
  11      deliberative process privilege.
  12                     THE WITNESS:     So yes, discussion.
  13      BY MR. LEE:
  14              Q.     Yes, significant debate?
  15              A.     Amongst USCIS?      I don't recall.    I wouldn't
  16      characterize it that way.              But discussions.
  17              Q.     Okay.   Were there E-mail -- were there any
  18      E-mail exchanges among the USCIS team members with
  19      respect to the preparation of the FAQs?
  20              A.     Probably.   As we were E-mailing on various
  21      matters.
  22              Q.     With respect to the content of the FAQs, did
  23      those require clearance or vetting from components
  24      outside of USCIS?
  25              A.     So with respect to -- I believe so.          Again,

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   1      I'm trying to sort of recall all the different
   2      materials and items, but I believe so.               Outside of
   3      USCIS.
   4             Q.   And which agencies would those be, or
   5      components within DHS?
   6             A.   I would say, I believe the office of the
   7      general counsel would have reviewed.               I believe public
   8      affairs would have reviewed because they were being
   9      posted.     I believe policy and strat- -- policy, sorry
  10      of the Department.       And I'm trying to recall because
  11      these were DHS FAQs that would be posted by DHS.
  12                  So I don't recall involvement of CBP and ICE
  13      per se, although they're, you know, I think in the
  14      rescission FAQs would be references.               So I think they
  15      may.     I just, again, during a very compressed period
  16      of time don't recall all those who would be included.
  17      Those, I think -- it's certainly those that I listed,
  18      possibly CBP and ICE.
  19             Q.   And how about outside of the Department?
  20             A.   I'm not aware that those were shared outside
  21      of the Department.       They might well have been.
  22             Q.   I'd like to switch gears, just in the
  23      interest of time, and go back to the issue around the
  24      renewal notices.
  25             A.   Sure.

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   1             Q.   With respect to when renewal notices are sent
   2      out to a particular beneficiary, is that a matter of
   3      discretion, agency discretion?
   4             A.   As with the guidelines overall, that's my
   5      understanding.
   6             Q.   Okay.   Are you the ultimate decision maker
   7      within DHS regarding the issuance of renewal notices
   8      or the -- maybe let me rephrase.
   9             A.   Sure.
  10             Q.   Is the director of USCIS the ultimate
  11      decision maker within DHS regarding the issuance of
  12      renewal notices?
  13             A.   I mean so while we delegate, I mean our
  14      associate directors have responsibility for their
  15      programs.     So, you know, ultimately items may reside
  16      in those programs to make decisions.               They certainly
  17      can be raised to the director and deputy.               I mean I
  18      want to be clear.      It's director and deputy have
  19      oversight over the entire agency.
  20                  So from that perspective, I would say
  21      ultimately would own those decisions.               But at the same
  22      time they may be made at operational levels.
  23             Q.   Sure.   The specifics of when and how the
  24      renewal notices are issued --
  25             A.   The direction itself, right.

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   1              Q.     -- could be delegated to members within
   2      USCIS?
   3              A.     Because of their operational purview.
   4              Q.     Fair enough.    And just as a reminder, let's
   5      try to avoid talking over each other just for Nancy's
   6      benefit, and I apologize --
   7              A.     Sure.
   8              Q.     -- for doing that.
   9                     You explained to Mr. Dettmer earlier that
  10      there was a switch at some point for the renewal
  11      notice to go out for DACA beneficiaries at the 180-day
  12      mark instead of the 100-day mark?
  13              A.     Yes.
  14              Q.     And I think I believe you explained the
  15      reasoning behind why that change was made.
  16              A.     My understanding of several years ago.
  17              Q.     Right.   Were you, at that point, the decision
  18      maker in terms of extending the window from
  19      100 days -- maybe not the window.                    Let me rephrase.
  20                     Were you the decision maker with respect to
  21      the switch or the change from the 100-day issuance to
  22      the 180-day issuance?
  23              A.     If I recall, based upon the document that
  24      Mr. Dettmer provided me, I believe that was in 2014 or
  25      2015.        So I would not have been.           I wasn't in service

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   1      centers.
   2             Q.   Thank you for that clarification.
   3                  With respect to the renewals that we
   4      discussed in 2017, you've referenced a number of
   5      systems that are required for the actual sort of
   6      printing and issuance of these renewal notices; is
   7      that right?
   8             A.   Yes.
   9             Q.   And I believe one of the systems is called
  10      the CLAIMS 3 system?
  11             A.   CLAIMS 3 is the processing system, yes, and
  12      holds information about our programs, about that
  13      program.
  14             Q.   And in July of 2017 it's your testimony that
  15      the Department was transitioning to a centralized
  16      electronic printing module?
  17             A.   Not the Department.
  18             Q.   USCIS?
  19             A.   USCIS for that claims system was transmitting
  20      over to a centralized EPMS, Electronic Print
  21      Management System, I think.            I'm sorry.   I shouldn't
  22      spout the acronym if I'm not sure.
  23             Q.   But the acronym was EPMS?
  24             A.   EPMS.
  25             Q.   Was it the phase-out of the CLAIMS 3 system

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   1      that stopped the notices to stop being -- to no longer
   2      being sent?
   3              A.   Thanks for the opportunity to clarify.           So
   4      CLAIMS 3 continues as one of our systems for
   5      adjudication and housing information.              It was a change
   6      in how the print notices were generated, that it was
   7      moving over to the EPMS centralized system.
   8              Q.   How the print notices were being generated?
   9              A.   So how the notices were being printed.
  10      Thanks, sorry.
  11              Q.   And the switch was that the notices were to
  12      be printed not through the CLAIMS 3 system but through
  13      EPMS?
  14              A.   So if I can clarify, and as I recall, the
  15      EPMS module was being -- was transitioned.              So the --
  16      my understanding is that the module that was printing
  17      the DACA notices was not transitioned over into the
  18      EPMS system for reasons that our systems, when changes
  19      are moded and modified, there are always operational
  20      costs and building costs, if you will.              And what I'm
  21      recalling is that the cost to sort of mode that, the
  22      system, with EPMS to print the DACA notices was going
  23      to be pretty costly and cumbersome.
  24              Q.   So I want to be clear that the issue with not
  25      doing the transition to EPMS was a financial

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   1      consideration?
   2              A.   Operational and financial, as I recall.
   3              Q.   What do you mean by "operational"?
   4              A.   So to build it -- and I'm not the techie
   5      person, and that's, I think, evident in trying to
   6      explain it, and I believe that's actually indicated in
   7      the interrogatory, not the techie part but the
   8      reasons.
   9                   But to change it -- sorry.              To change the
  10      technical build, any changes in our, approximately,
  11      70 systems or so that we have that operate throughout
  12      USCIS, when changes are made to that infrastructure,
  13      there are always operational costs to doing so.
  14              Q.   Sure.   And I want to understand that the
  15      switch was not because it was technologically not
  16      possible.      It was the cost behind making that switch.
  17              A.   That's my understanding.              I mean that's --
  18      yeah.
  19              Q.   Who made that determination with respect to
  20      the financial consideration being problematic?
  21              A.   That it was costly, so to speak?
  22              Q.   (Nods head.)
  23              A.   As I recall, and again, this is more in the
  24      interrogatory, but I mean in recent -- but I think it
  25      was an operational decision.             So I think it was within

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   1      the service centers.        I don't recall specifically,
   2      honestly.
   3             Q.   Would that be something that Mr. Neufeld
   4      would have been part of?
   5             A.   I believe so.
   6             Q.   Let me rephrase that question.
   7                  Was that decision one that Mr. Neufeld would
   8      have participated in?
   9             A.   Yes, I believe so.
  10             Q.   Did you have any involvement with
  11      communicating to anyone within USCIS that because of
  12      this financial consideration, notices were not to be
  13      printed anymore?
  14             A.   I don't recall doing so, no.
  15             Q.   Who in the Department would operate -- from
  16      an operational perspective be the ones responsible for
  17      instructions on whether to print notices?             Renewal
  18      notices.
  19             A.   So just generally, how the system generates?
  20      I mean that would still be within USCIS, and more at
  21      the service center.       More at the service center level.
  22      Again, I just generally don't recall exactly how that
  23      all ultimately unfolded other than I recall it being a
  24      decision that was due to the changeover costs.               So I
  25      just -- that's what I recall.

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   1             Q.   Do you recall that this financial
   2      consideration was brought to your attention by
   3      somebody within USCIS?
   4             A.   So I don't recall if it was.               I think it
   5      probably was.
   6             Q.   Presumably, you didn't do the budget and
   7      number crunching around the cost of that transition;
   8      correct?
   9             A.   Right.
  10             Q.   Okay.
  11             A.   Right.
  12             Q.   So you would agree with me, at least, that
  13      this issue of the financial costs was communicated to
  14      you from somebody within USCIS?
  15                  MR. GARDNER:     Objection.            Mischaracterizes
  16      the witness' testimony.
  17                  THE WITNESS:     So I don't recall it being
  18      communicated, or if it was, how it was.                  I just don't.
  19      BY MR. LEE:
  20             Q.   So I guess how do you know that the financial
  21      consideration was the reason for not continuing to
  22      print out DACA renewal notices?
  23             A.   So it was my understanding, as well with
  24      respect to a recent interrogatory that refreshed that
  25      that was the basis for that decision.                  And again, I

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   1      don't want to misspeak.         So that's why I'm providing
   2      that point.
   3             Q.   Fair enough.     Thank you.
   4                  So at that point in, I believe you testified
   5      it was sort of mid to late July where this issue came
   6      up, was there not a concern that beneficiaries needed
   7      to get notices about the renewal options in some form
   8      or the other?
   9             A.   So when the last notices went out, I don't
  10      recall that being discussed.
  11             Q.   Perhaps let me back up.
  12                  Is the -- is this change or switch from
  13      CLAIMS 3 to EPMS something that affected only DACA
  14      renewal notices or renewal notices in general?
  15             A.   So it's my understanding that the EPMS print
  16      module, the new module would affect the printing of
  17      other notices.     I just don't know which ones.
  18             Q.   Do you know if notices for other renewals
  19      were being issued as of mid to late July through EPMS?
  20             A.   I don't know offhand.           So I don't know.   As
  21      far as what other types might have been issued out, I
  22      just generally don't know.
  23             Q.   Is it possible that all renewal notices had
  24      been stopped beginning mid to late July with respect
  25      to anyone that had to renew their employment

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   1      authorization document?
   2                  MR. GARDNER:     Objection.            Calls for
   3      speculation.
   4                  THE WITNESS:     So I apologize.            So this is one
   5      where I just don't know that answer.                  So I could -- I
   6      don't know that answer.         As far as what you're asking
   7      is other notices for EADs outside of DACA,
   8      understanding that, again, as I referenced earlier in
   9      the testimony, that the DACA was also being processed
  10      through Ellis.     So a separate system.               So that's why,
  11      as we've been discussing, I haven't gone back to that
  12      point that predominantly Ellis was now processing
  13      those DACA renewals rather than the CLAIMS system.
  14      BY MR. LEE:
  15             Q.   But it is your testimony, is it not, that the
  16      actual system that was required to issue DACA renewal
  17      notices was EPMS?
  18             A.   To put out the -- for those that remain in
  19      the CLAIMS and were not otherwise being processed in
  20      the Ellis system, electronic system, which would
  21      provide documents, then EPMS would handle the
  22      notices -- sorry.      I'm just trying to sort of explain.
  23      So I understand would process those notices for those
  24      prior to July 15, as the notices were going out, would
  25      process those that remained in the CLAIMS system.

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   1      Ellis is the on-line electronic system that handles
   2      our renewals.
   3             Q.   Did the Ellis system continue to issue -- or
   4      did the Ellis system continue to produce DACA renewal
   5      notices past July?
   6             A.   July.   I don't believe so, but I don't know.
   7      I don't.     That's why I'll say that.
   8             Q.   So to the best of your recollection, as of
   9      the end of July, none of the systems were continuing
  10      to process and print DACA renewal notices?
  11             A.   So as we are discussing, and as I've
  12      mentioned with respect to the claims processing and
  13      then with respect to Ellis handling, I generally don't
  14      know, as we sit here, with respect to the Ellis
  15      notification process.        We should, but I'm just not
  16      recalling.      I don't know.
  17             Q.   Did you ever ask anyone within USCIS or, in
  18      fact, ask anyone within the Department how to handle
  19      this problem of renewal notices sort of being stopped?
  20             A.   As far as the transition, at the end of
  21      July -- and again, this is more from a refresher from
  22      the interrogatory, but no, I didn't recall raising
  23      that to the Department or referencing.             I mean I just
  24      don't remember that.        I don't think I did, I should
  25      say.    So...    And if I may, as I say, I don't think I

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   1      did.    I don't recall doing so.            So I want to make it
   2      clear that I don't think, but I don't recall doing so.
   3             Q.   Did anyone express to you their concern that
   4      as a result of this problem with the cost of using
   5      EPMS that USCIS beneficiaries out there in the country
   6      are not getting the renewal notices they need?
   7             A.   With that cessation or with that transition,
   8      no.    Sorry.   Can you ask the question one more time.
   9             Q.   Did anyone within the department express to
  10      you the concern that as a result of the problem with
  11      the cost of using EPMS that USCIS beneficiaries are
  12      not getting the renewal notices?
  13             A.   For DACA, the renewal notices, no.           But
  14      again, as I referenced, trying to recall now as we sit
  15      with respect to raising that, I don't believe I did
  16      so.    So therefore, I don't recall anyone in the
  17      department raising that.
  18             Q.   And just to be clear, I, for one, have been
  19      on various EADs in my pathway --
  20             A.   Sure.
  21             Q.   -- based on various different immigration
  22      statuses, not DACA.       Do you know whether within this
  23      period of time people with an F1 Visa, H-1B, TPS, any
  24      other types of statuses or thousands, if you will,
  25      were they also not getting their renewal notices?

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   1                  MR. GARDNER:     Objection.            Compound.
   2                  THE WITNESS:     So with respect to what -- as I
   3      understand your question, this goes to the point again
   4      of what other notices were going out, whether from
   5      CLAIMS, EPMS, or others.          And we do send notices.           I
   6      just don't know, and you asked several questions.                   I
   7      don't know with respect to those.
   8                  MR. LEE:   Okay.
   9                  MR. GARDNER:     How much longer do you have?               I
  10      think the witness is a little tired.
  11                  MR. LEE:   No problem.          I actually have about
  12      three to five more.
  13                  THE WITNESS:     Okay.
  14      BY MR. LEE:
  15             Q.   So I am switching gears to the final topic,
  16      and I want to understand whether the various
  17      components, USCIS, ICE, CBP, do you maintain, as a
  18      general matter, your own databases and own systems?
  19             A.   Yes.   You said with respect to the
  20      individuals, yes, individual agencies.
  21             Q.   And are there systems or databases that all
  22      three components can collectively use, collectively
  23      access?
  24             A.   So we do have -- so yes, with respect to
  25      being able to access, but there are qualifications to

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   1      that?
   2              Q.   And is that a departmentwide database you're
   3      referring to, or do you mean accessing the databases
   4      or systems of the other agency?
   5              A.   So with our agencies, if I may go to the
   6      three immigration agencies.
   7              Q.   Please.
   8              A.   I can use USCIS as a specific example.               So we
   9      have the central index system, USCIS not for that
  10      reason, but it is a system.             And, for example, ICE and
  11      CBP have a, basically, read only access to that
  12      system.
  13              Q.   And would information about DACA
  14      beneficiaries be contained within the USCIS?
  15              A.   It would.
  16              Q.   And who at ICE or CBP would have read only
  17      access to the system?
  18              A.   So I can't speak specifically, but there
  19      would be officers that would be granted read only
  20      access to do individual queries or requests of the
  21      system for that information.
  22              Q.   Is that permission at sort of a depending on,
  23      like, your title and rank within the department, or is
  24      that on an as-needed basis regardless of where --
  25                   MR. GARDNER:     Objection.            Compound.

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   1                  THE WITNESS:     Sure.       If we can break it down.
   2      It may help if I explained the -- as I understand that
   3      structure --
   4      BY MR. LEE:
   5             Q.   Please.
   6             A.   -- for the system.
   7                  And again, systems are not my world per se.
   8      But it is my understanding that, you know, we have
   9      administrators for that, CIS, that can grant that read
  10      only access.     Again, I've always understood it's on an
  11      individual case by -- taking it out of the DACA part,
  12      but a case query, if you will.              Or person centric case
  13      query.
  14                  MR. LEE:   Great.       Thank you very much for
  15      your time.
  16                  THE VIDEOGRAPHER:        Going off the record
  17      around at 6:10 p.m.
  18                  (A recess was taken from 6:10 p.m.
  19                  to 6:21 p.m.)
  20                  THE VIDEOGRAPHER:        We are back on the record
  21      at 6:21 p.m.
  22
  23                               EXAMINATION
  24      BY MR. ROSENTHAL:
  25             Q.   Thank you, Mr. McCament, for your patience.

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   1      Do you understand you're still on the record?
   2             A.   Yes.
   3             Q.   I'm Josh Rose- -- Joshua Rosenthal from the
   4      National Immigration Law Center representing the
   5      Batalla Vidal plaintiffs in the case in the Eastern
   6      District of New York.
   7                  And I have a scattered set of questions.             So
   8      I hope you'll excuse me for jumping around a bit.
   9             A.   Of course.
  10             Q.   First, at the August 24 meeting at the White
  11      House, I don't recall if you said, do you remember if
  12      Zina Gelman Bash was present at that meeting?
  13             A.   Yes, I believe she was.
  14             Q.   Okay.
  15             A.   I believe so.
  16             Q.   Great.
  17             A.   There was a lot of people.
  18             Q.   Second, are you aware of -- are you aware
  19      that DACA renewal applicants would sometimes submit
  20      their renewal applications or renewal requests after
  21      the expiration of their deferred action?             Is that a
  22      fact that --
  23             A.   Yes.
  24             Q.   And are you aware of approximately how common
  25      that is?     That has been in the past?

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   1             A.   It's permitted --
   2             Q.   Uh-huh.
   3             A.   -- under -- in making DACA requests.              Sorry.
   4      Let me rephrase.
   5                  Under operation of the program prior to
   6      rescission, yes, that was an option.
   7             Q.   And do you have a sense of how many DACA
   8      holders took advantage of that option?
   9             A.   I know that some did.              Similar to earlier
  10      references on numbers, I just, sitting here, don't
  11      recall the number --
  12             Q.   Sure.
  13             A.   -- a number knowing that.
  14             Q.   And are you aware that some proportion of
  15      DACA renewal applicants submitted their request for
  16      renewal less than 120 days before their deferred
  17      action would expire?
  18             A.   That they might, and that they did, yes.
  19             Q.   Okay.     --
  20             A.   Perhaps if I can ask -- sorry.              You were
  21      asking less than 120 days before expiration of their
  22      DACA --
  23             Q.   Of their deferred action status.
  24             A.   Of their deferred action status, and
  25      presumptively the employment authorization?

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   1             Q.   Yes.
   2             A.   Yes, folks would do that in a more narrow
   3      window than 120 days out.
   4                  MR. ROSENTHAL:      Okay.       Thank you.   One just
   5      piece of housekeeping, if I could mark this as the
   6      next exhibit.
   7                  (Deposition Exhibit 20 was marked for
   8                  identification.)
   9      BY MR. ROSENTHAL:
  10             Q.   So Exhibit 20.
  11                  So this is an E-mail that was produced on
  12      Friday.     It's Bates stamped at the bottom DHS7 through
  13      -9.
  14             A.   Uh-huh.
  15             Q.   And on the -- on Pages 8 and 9 there's an
  16      E-mail.     There's a source E-mail from Tracy Batla that
  17      is labeled "A Tasker."         What is a tasker?
  18             A.   A tasker is a task from the department.
  19             Q.   And --
  20             A.   Sorry.    It's -- thanks for the opportunity to
  21      sort of think this through.            As noted, as I see on the
  22      subject line, a tasker meaning a request for action,
  23      information, a task to be completed by one of the
  24      components or the recipient of that task.
  25             Q.   And do all taskers go through the executive

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   1      secretary?
   2             A.   They are supposed to.
   3             Q.   Should I interpret that to means that
   4      sometimes they don't?
   5             A.   If I can explain that.
   6             Q.   Uh-huh.
   7             A.   Because what's entitled "component tasker"
   8      and coming through ExecSec, then all of those would go
   9      through ExecSec.        But when you were saying a tasker,
  10      it's also you could be asked to do something.               It
  11      would be viewed as a task and wouldn't necessarily go
  12      through ExecSec.        They should.         They usually do.
  13             Q.   And you mentioned certain pieces of
  14      information that you were asked by Gene Hamilton to
  15      provide.     Do you recall whether all of those were sent
  16      through the executive secretary?
  17             A.   So I don't recall those coming through the
  18      executive secretary, and that would go to the point I
  19      just referenced with those that go through and others
  20      that are "asks" that are tasks.
  21             Q.   Sure.     All right.      So to move on to my next
  22      question, I'd like to go back to the administrative
  23      record, which is Exhibit 3 from the prior deposition.
  24      Specifically to the memorandum, the Duke memorandum
  25      ending DACA Page AR253.

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   1                  MR. GARDNER:      -252?
   2                  MR. ROSENTHAL:       -253.
   3             Q.   Specifically, I'd like to call your attention
   4      to Footnote 1, which says -- could you read
   5      Footnote 1, please.
   6             A.   Certainly.     "Significantly, while the DACA
   7      denial notice indicates the decision to deny is made
   8      in the unreviewable discretion of USCIS, USCIS has not
   9      been able to identify specific denial cases where an
  10      applicant appeared to satisfy the programmatic
  11      categorical criteria as outlined in the June 15, 2012
  12      memorandum but still had his or her application denied
  13      based solely upon discretion.
  14             Q.   Do you know if you were the source of the
  15      factual representation in that footnote?
  16             A.   So I recall reviewing it and seeing a
  17      footnote, and it is factual that our system does not
  18      call out a denial by discretion, that the reason for
  19      the denial is for discretion.
  20             Q.   Does your system -- I'm sorry to go back to
  21      information systems.
  22                  MR. GARDNER:      You promised, Josh.       You
  23      promised.
  24      BY MR. ROSENTHAL:
  25             Q.   Does your system have a way to record the

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   1      reason for denial of a DACA request?
   2             A.    So it -- the way that our system, as I
   3      understand the system, is it will record a denial --
   4      if there is a denial, it will record that the denial
   5      was made.      It does not -- as I've always understood,
   6      it doesn't break out the subparts or the reasons or
   7      the rationales per se.
   8             Q.    So the fact that USCIS has not been able to
   9      identify specific cases is potentially a reflection of
  10      the limitations of the information system as opposed
  11      to whether those cases exist?
  12             A.    Yes, that's correct.         Or could be, yes.
  13             Q.    And do you have a way of knowing whether
  14      that's correct?
  15             A.    That the system doesn't track in that way?
  16      Yes.
  17             Q.    Let me rephrase.
  18                   Do you know whether there are any cases that
  19      exist where an applicant appeared to satisfy the
  20      categorical criteria but had his or her application
  21      denied based solely upon discretion?
  22             A.    So I'm not aware -- so I'm not aware of
  23      cases.      I've not been provided those.          I do understand
  24      that I think there's been previous testimony in the
  25      DACA -- sorry, in the Texas litigation originally

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   1      that, if I recall, I think that there may have been a
   2      couple of cases identified where it appeared
   3      discretion was a factor.
   4                  But if I can add to that, you know, we
   5      mentioned the system limitation.                So there's that
   6      aspect for the tracking.           But just as an example, a
   7      determination that, you know, for reasons of public
   8      safety a person should be denied DACA is itself a
   9      discretionary action because you're looking at a
  10      totality or an adjudicator would be reviewing to say,
  11      "I believe this person may be a concern to public
  12      safety."     So that would be an exercise of discretion.
  13             Q.   I'm going to --
  14             A.   I -- yeah.
  15             Q.   -- to ask the question before I move on to
  16      this exhibit a little bit differently.
  17             A.   Sure.
  18             Q.   Are you -- do you know that there have been
  19      no individual cases that were denied on an exercise of
  20      discretion?
  21             A.   If I say it correctly with the double
  22      negative in a way I do not know that there have been
  23      no cases for this reason.            The way to ultimately
  24      determine that would be to go through each case of the
  25      approximately 800- -- or more than that, 800,000 cases

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   1      to review the file.
   2             Q.   And --
   3             A.   So that's why I would say no, not say there
   4      were no cases, yes.
   5             Q.   Sure.    And USCIS didn't do that kind of an
   6      analysis in response to the June 29 letter or these
   7      August meetings we've discussed?
   8             A.   No.
   9                  MR. ROSENTHAL:       I'd like to mark Exhibit 21,
  10      please.
  11                  (Deposition Exhibit 21 was marked for
  12                  identification.)
  13      BY MR. ROSENTHAL:
  14             Q.   So I'm going to represent that this is a
  15      written question submitted to USCIS by Senator
  16      Sessions following a hearing on DACA, and do you have
  17      any reason to disagree with that representation?
  18             A.   Having -- reading it now?
  19             Q.   Yeah.
  20             A.   No, I do not.
  21             Q.   All right.     And just to clarify, this is
  22      Jefferson Sessions when he was in the senate on the
  23      senate judiciary committee.             Can I direct your
  24      attention to the first paragraph of the response, one,
  25      two, three, four, five, six, seven, eight, nine lines

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   1      down at the sentence starting "For example."
   2             A.   For example.
   3             Q.   And do you acknowledge that this provides two
   4      examples of individual DACA requesters who were denied
   5      in an exercise of discretion?
   6             A.   Yes.
   7             Q.   Do you have any reason to believe that these
   8      examples were false or inaccurate?
   9                  MR. GARDNER:     Objection.            Lack of foundation.
  10      BY MR. ROSENTHAL:
  11             Q.   Are -- you can answer.
  12             A.   Sure.   So on the basis this was submitted to
  13      Congress, in response it appears to a question for the
  14      record and what's stated, no, I have no reason to
  15      doubt that.
  16             Q.   Okay.   The last subject that I'd like to talk
  17      to you about briefly are a couple of other programs
  18      administered by USCIS.         The first is deferred enforced
  19      departure?
  20             A.   Yes.
  21             Q.   Are you familiar with deferred enforced
  22      departure?
  23             A.   I am generally.
  24             Q.   Is there an established procedure by which
  25      the Secretary determines whether to extend deferred

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   1      enforced departure for a given category of
   2      noncitizens?
   3             A.   So I believe that deferred enforced departure
   4      is actually a power that's executed, exercised, I
   5      think -- I believe by the president of foreign affairs
   6      policy, powers.
   7             Q.   So is it your understanding that that's a
   8      directive that would come from the President?
   9             A.   It's my understanding because of one example
  10      of which I'm aware.
  11             Q.   Is that example the example of Liberia?
  12             A.   It is.
  13             Q.   Okay.    To move on from deferred enforced
  14      departure, are you familiar with the automatic
  15      extension of work authorization from January 17, 2017?
  16             A.   So familiar with the mechanics of the auto
  17      extensions?
  18             Q.   Are you aware that USCIS automatically
  19      extended work authorization for a number of EAD
  20      holders in January of 2017?
  21             A.   Yes, I recall that.
  22             Q.   And could you recall what that entailed.
  23             A.   So what I recall, and I was in the service
  24      centers at the time, that we auto extended for a
  25      period of time on the basis as we were processing

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   1      applications, and I believe in that instance, if I'm
   2      not misremembering, I think that was for TPS
   3      recipients.
   4             Q.   I believe it included TPS recipients as well
   5      as certain other categories --
   6             A.   I believe that's right.
   7                  And again, as I recall, at that time what we
   8      would do is auto extend, meaning that we would put
   9      into the system the extension by a certain time
  10      period, and I just don't recall, honestly, in January
  11      what that time period was.           It's a small period of
  12      time, I believe.      So that the system registered that
  13      the employment authorization document that the person
  14      held was -- in fact, had an extended validity period.
  15             Q.   So the EAD itself would have a certain
  16      expiration date but it would, in fact, be valid past
  17      that expiration date?
  18             A.   It would be valid past that expiration date,
  19      and therefore, if somebody checked it, they would see
  20      it was extended beyond.
  21             Q.   So if DHS decided to extend the validity of
  22      EADs granted to DACA recipients past their current
  23      expiration dates, it would be operationally possible
  24      to do so through an automatic extension of work
  25      authorization?

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   1             A.   It would be possible, as far as I know, yes.
   2                  MR. ROSENTHAL:      All right.         Could we go off
   3      the record, please.
   4                  THE VIDEOGRAPHER:        We're going off the record
   5      at 6:37 p.m.
   6                  (A recess was taken from 6:37 p.m.
   7                  to 6:38 p.m.)
   8                  THE VIDEOGRAPHER:        We are back on the record
   9      at 6:38 p.m.
  10
  11                                EXAMINATION
  12      BY MS. KHAN:
  13             Q.   So I'm Sania Khan from the New York Attorney
  14      General's office on behalf of the plaintiff states and
  15      a related matter New York V. Trump.                I just have a few
  16      quick questions for you.
  17             A.   Yes.
  18             Q.   First, with regard to the August 24 meeting
  19      at the White House, you mentioned earlier that there
  20      was a tentative decision reached at the end of that
  21      meeting.     My question is was that based on consensus?
  22             A.   Yes, and I believe I said a tentative
  23      decision in part or words to that effect.
  24             Q.   Right.   Right.
  25             A.   Right.

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   1              Q.   So just to understand the structure of the
   2      meeting, was everyone sitting around a big table like
   3      this?
   4              A.   They were, with some folks at the back, sort
   5      of ringing around.
   6              Q.   And you mentioned there were multiple
   7      conversations.         Were there multiple conversations
   8      within groups, or was it a conversation around the
   9      table?
  10                   MR. GARDNER:      Objection.            Compound.
  11      BY MS. KHAN:
  12              Q.   Was it a conversation around the table?
  13              A.   It was.
  14              Q.   And were there also conversations within
  15      groups?
  16              A.   Not that I recall.          It was as with us.
  17              Q.   So what did you mean when you said there were
  18      multiple conversations?
  19              A.   So if I use -- I'm discounting I used the
  20      word "multiple conversations," but my intention in
  21      saying that was that there were multiple people
  22      speaking.
  23                   And secondly, that they were discussing
  24      topics but not that they were, as unfortunately, I
  25      think, a couple time I've done during this deposition,

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   1      spoken over someone.         It was a conversation with
   2      multiple people.        But thanks for the opportunity to
   3      clarify.
   4             Q.   Were there disagreements?
   5             A.   Yes.
   6             Q.   Who was in disagreement?
   7                  MR. GARDNER:      Objection.            Calls for
   8      disclosure of information subject to deliberative
   9      process privilege.
  10                  I'll instruct the witness not to answer.
  11                  MS. KHAN:     That doesn't count as identifying
  12      a person?
  13                  MR. GARDNER:      No, because I think now you're
  14      getting really into the substance of the deliberations
  15      there.
  16                  MS. KHAN:     So we'll reserve our right to ask
  17      that pending the decision.
  18                  THE WITNESS:      Understood.
  19      BY MS. KHAN:
  20             Q.   Okay.   So then moving on to data.
  21             A.   Yes.
  22             Q.   You mentioned that your team had compiled
  23      certain data points with regard to DACA.
  24             A.   Yes.
  25             Q.   What were those data points?

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   1                  MR. GARDNER:     I'm going to also object.
   2      You're asking about the data collected with respect to
   3      the decision to rescind DACA?
   4                  MS. KHAN:    Right now I'm asking generally
   5      about DACA as a program.
   6                  MR. GARDNER:     Sorry.       I just want to make
   7      sure I understand your question.               Are you asking what
   8      his job responsibilities are for the collection of
   9      data, generally because I have no objection to that
  10      question.     I thought you were asking a different
  11      question about what data he was collecting with
  12      respect to the decision.          I'm sorry.          I'm not trying
  13      to give you a speaking objection.                  I want to be sure I
  14      understood the question.
  15                  MS. KHAN:    Those are all great questions I
  16      wish I would have asked.
  17                  MR. GARDNER:     You can totally take them.
  18      BY MS. KHAN:
  19             Q.   What I wanted to ask was what data points
  20      were compiled during the duration of DACA?
  21             A.   I see.
  22                  MR. GARDNER:     No objection to that.
  23                  THE WITNESS:     Understood.            So I can provide
  24      several.     I will say particularly at this point in
  25      time it probably is not exhaustive, but I can provide

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   1      a list as I recall for sure.
   2      BY MS. KHAN:
   3             Q.   That would be great.
   4             A.   So data with respect to those who had
   5      requested DACA, data with respect to those who were
   6      rejected -- so those who had requested -- I'm trying
   7      to go through sort of through the process -- those who
   8      had been -- when they filed their request with a
   9      lockbox, the data as to who was rejected as we
  10      discussed earlier with Ethan.             Then those that were
  11      approved.     Those that were denied.               Then as far as
  12      data -- I mean so those, I'm sort of using the numbers
  13      of those coming in for initial, subsequent to 2014,
  14      renewals.
  15                  And then the data -- so not to delineate
  16      exhaustively, but then the data that was used to make
  17      adjudication decision, specifically, if I may recast
  18      that, it would be what's requested on the application
  19      form, a request form, the I-821D.                  For the initials,
  20      and then obviously, there's a subset of that.                  They're
  21      relatively small for renewal.             So all of that data
  22      used to make that adjudication.               And then the
  23      biometric information.         I think when we're saying,
  24      "data," I'm using data in the broad sense.                  So it's
  25      not necessarily numeric data when I speak about

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   1      biometrics, for example, or what's provided in the
   2      request form.
   3             Q.   So let me ask you this:            For example, was
   4      data with regard to certain professions of DACA
   5      recipients, is that compiled?
   6             A.   So I'm trying to recollect on the form what
   7      was asked with respect to what someone's current
   8      action was knowing that an initial request for DACA,
   9      you know, required an educational component.               And I
  10      apologize, I just don't remember on the form, on the
  11      request form what, if that was requested as far as
  12      profession.
  13             Q.   Okay.   So I'm going to move on.           Are you
  14      aware of any plans to deport DACA grantees after the
  15      March 5, 2018 deadline?
  16             A.   I'm not -- so I'm not aware of any plans to
  17      deport DACA recipients after March 5 with the note, as
  18      Evan and I have discussed, I think probably a couple
  19      of times, that with the expiration of validity periods
  20      and DACA beginning post March 5, those persons would
  21      be subject to the possibility of removal depending
  22      upon ICE's assessment of that prioritization.
  23             Q.   Are you aware of any plan to use -- beyond
  24      the caveat that's explained in the frequently asked
  25      questions, are you aware of any plan to use DACA

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   1      information for enforcement purposes after the March 5
   2      deadline?
   3             A.   I am not aware of any plans to do so.            I
   4      would point again, though, as we've said, since 2012
   5      in that respective FAQ, that that policy to not
   6      provide for immigration proceedings is subject to
   7      revocation or change.        But we've said that since the
   8      beginning.
   9             Q.   Okay.   And with regard to notices, to your
  10      knowledge, were there any notices, individualized
  11      notices sent with regard to informing DACA grantees of
  12      the rescission of DACA?
  13             A.   No notices sent out but, if I may, we
  14      provided broad notification publicly on September 5 on
  15      our website, and as well as noted with some of the
  16      reference documents to me, noting that DACA has
  17      changed and the parameters.
  18             Q.   And with regard to the databases --
  19             A.   Yes.
  20             Q.   -- do the databases that you named, I think
  21      you named CIS and within that Ellis and then
  22      separately TECS database; is that right?
  23             A.   CIS for sure.      Ellis is an electronic system
  24      in which over the last several years USCIS has brought
  25      a few of our work product lines for electronic

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   1      adjudication, brought them into that system.                  So that
   2      is a -- it's not a subset of CIS.                  I'm not real good
   3      and clear in explaining systems, but we have multiple
   4      systems and how they integrate and work, both for
   5      intake and adjudication.
   6                  Ellis processes the adjudication of the DACA
   7      renewals, and then TECS is, I think I explained
   8      earlier, at one time treasury enforcement system.                   Now
   9      it's just known by its acronym.
  10             Q.   Uh-huh.
  11             A.   That's really a database with respect to
  12      criminal history or information from the law
  13      enforcement committee.
  14             Q.   Sorry.    I'm not trying to cut you off.             Just
  15      because of time.
  16             A.   Sure.
  17             Q.   The specific question I want to know is
  18      whether family or guardian info of DACA grantees is
  19      kept with their information in those databases?                  Kept
  20      alongside DACA grantee information.
  21             A.   So to the extent that there's a -- I
  22      understand your question.           I'm trying to explain it as
  23      I understand it.       That that family or guardian
  24      information, to the extent it would be included in
  25      their application, would be in the database.                  I mean

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   1      that's -- to the extent it's part of what they provide
   2      in their application itself, the DACA requester.
   3                  MS. KHAN:    I think that's it for me.
   4                  THE WITNESS:     Okay.       Thank you.
   5                  MR. DETTMER:     I guess we should just say that
   6      obviously, given the disputes that we talked about
   7      before, we're going to reserve rights to reopen.
   8                  MR. GARDNER:     And we understand.          We'll cross
   9      that bridge when we get there.
  10                  MR. DETTMER:     Absolutely.
  11                  THE VIDEOGRAPHER:        All right.       If that is
  12      everything, this concludes today's questioning.                We
  13      are going off the record on October 17, 2017 at
  14      6:49 p.m.
  15                  (Witness excused.)
  16                  (Deposition concluded at 6:49 P.M.)
  17
  18
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   1                          C E R T I F I C A T E
   2             I do hereby certify that the aforesaid testimony
   3      was taken before me, pursuant to notice, at the time
   4      and place indicated; that said deponent was by me duly
   5      sworn to tell the truth, the whole truth, and nothing
   6      but the truth; that the testimony of said deponent was
   7      correctly recorded in machine shorthand by me and
   8      thereafter transcribed under my supervision with
   9      computer-aided transcription; that the deposition is a
  10      true and correct record of the testimony given by the
  11      witness; and that I am neither of counsel nor kin to
  12      any party in said action, nor interested in the
  13      outcome thereof.
  14
  15                          <%Signature%>
                             Nancy J. Martin, RMR, CSR
  16
  17      Dated:      October 18, 2017
  18
  19
  20
  21      (The foregoing certification of this transcript does
  22      not apply to any reproduction of the same by any
  23      means, unless under the direct control and/or
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   1                        INSTRUCTIONS TO WITNESS
   2
   3                  Please read your deposition over carefully
   4      and make any necessary corrections. You should state
   5      the reason in the appropriate space on the errata
   6      sheet for any corrections that are made.
   7                  After doing so, please sign the errata sheet
   8      and date it.     You are signing same subject to the
   9      changes you have noted on the errata sheet, which will
  10      be attached to your deposition.               It is imperative that
  11      you return the original errata sheet to the deposing
  12      attorney within thirty (30) days of receipt of the
  13      deposition transcript by you.             If you fail to do so,
  14      the deposition transcript may be deemed to be accurate
  15      and may be used in court.
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   1                     ACKNOWLEDGMENT OF DEPONENT
   2                    I, JAMES McCAMENT, do hereby certify
   3       that I have read the foregoing transcript of my
   4       testimony taken on 10/17/17, and further certify
   5       that it is a true and accurate record of my
   6       testimony (with the exception of the corrections
   7       listed below):
   8       Page       Line                           Correction
   9       ____|_____|_________________|_________________
  10       ____|_____|_________________|_________________
  11       ____|_____|_________________|_________________
  12       ____|_____|_________________|_________________
  13       ____|_____|_________________|_________________
  14       ____|_____|_________________|_________________
  15       ____|_____|_________________|_________________
  16       ____|_____|_________________|_________________
  17       ____|_____|_________________|_________________
  18       ____|_____|_________________|_________________
  19       ____|_____|_________________|_________________
  20       ____|_____|_________________|_________________
  21
  22       Signed under the pains and penalties of perjury
  23       this _____ day of ________________, 20___.
  24
                                     ___________________________
  25                                 JAMES McCAMENT

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                      VERITEXT LEGAL SOLUTIONS
            COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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       foregoing transcript is a true, correct and complete
       transcript of the colloquies, questions and answers
       as submitted by the court reporter. Veritext Legal
       Solutions further represents that the attached
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                     EXHIBIT 4
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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                                      Declaration of Cesar Andrade

   Pursuant to 28 U.S.C. § 1746(2), I, Cesar Alberto Andrade Chiriboga, hereby declare as follows:
   1. I am over the age of 18. I have personal knowledge of the matters stated herein, and if called as a

      witness, I could and would testify competently thereto.

   2. I am a twenty-five year old New York City resident.

   3. In 2001, when I was eight years old, I came to New York City from Ecuador.

   4. I arrived in Washington Heights, a neighborhood in New York City. I immediately entered the

      public school system in New York.

   5. My interest in practicing medicine was sparked at sixteen when I had the opportunity to volunteer

      at a hospital, which treated cancer patients.

   6. In 2010, I was accepted into the Macaulay Honors College at the City University of New York

      (“CUNY”) Lehman College. Due to my undocumented immigration status, I was ineligible to

      receive any financial assistance or grants to fund my education. However, through my

      outstanding academic performance and achievements, I was awarded a scholarship covering the

      full cost of tuition. I majored in molecular biology and was a pre-med student. In addition, I was

      a member of my college’s tennis and soccer teams. In 2011, I was part of a soccer team that won

      the first CUNY championship for my college. Being a student athlete gave me the opportunity to

      learn how to successfully balance multiple obligations.

   7. DACA did not exist during the first two years of my education at CUNY. Therefore, for those

      first two years of my education at CUNY, I was unable to intern anywhere. Without a social

      security number I was prevented from applying to internships and volunteering at hospitals, both

      of which are a requirement for applying to medical school.

   8. In 2012, DACA was enacted and I applied that same year and received DACA status in March

      2013. When I attained DACA status, I received a social security number and work authorization,
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      both of which allowed me to have access to previously unattainable healthcare and employment

      options.

   9. During my college years, I also became a DACA advocate and worked in clinics to spread

      awareness of the program and promote enrollment into the program among the

      undocumented community.

   10. In 2014, I graduated from CUNY with a bachelor’s degree in molecular biology. After

      graduation, my DACA status allowed me the opportunity to intern for one year at the New York

      State Health Foundation. While there, I helped lead a public education campaign that spread

      awareness that DACA grantees are eligible for Medicaid health insurance. As part of this

      campaign, I worked with the Community Service Society, an advocacy group that addresses

      the roots of economic disparity, to pair DACA grantees with enrollment navigators who

      assisted their enrollment in Medicaid. I was involved in every aspect of this campaign,

      including – handing out flyers, placing flyers online and appearing at events where I would

      speak directly to community members. This campaign was organized in partnership with the

      Mayor’s Office of Immigrant Affairs.

   11. I also participated in Pre-Health Dreamers, a community of undocumented students in

      America who wish to pursue careers in healthcare. I actively worked on the Pre-Health

      Dreamer campaign to amend New York City laws to allow non-citizens to receive licenses in

      professional careers as long as they complete all other required licensure or certification

      requirements.

   12. After my internship at the New York State Health Foundation, I worked at Mt. Sinai hospital

      in New York City for a year conducting research on diabetes prevention. Specifically, I

      researched the social determinants of diabetes and how to address them.



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   13. In 2016, I applied for and was accepted into medical school. I am currently a second year

      medical student at the Icahn School of Medicine at Mt. Sinai. I was fortunate enough to

      receive a significant scholarship from my medical school. Without the scholarship, I could

      not have afforded the cost of medical school. As an undocumented immigrant, I am

      ineligible to receive federal government assistance and I cannot finance my medical

      education on my own.

   14. I renewed my DACA status in January 2017 for the duration of at least the next two years.

   15. Any revocation of DACA would have a huge impact on my life. First, if I lose my DACA

      status, I will lose my health insurance and my ability to work or intern in the United States.

      This will impact my ability to complete my medical training. For example, in two years I will

      have to apply for residency. Without DACA status, I will be unable to get work authorization

      in order to participate in any residency program. I know I have the support of those at my

      current academic institution, and other DACA advocates; however, there is no certainty of

      any favorable outcome. In addition, on a personal level – revocation of DACA would impact

      my sister and her ability to work as well, which would potentially add more hardship and

      stress to my family. I am truly unclear about our future without DACA.

   16. If I have to, I will consider completing my medical training in another country. However, my

      first preference is to have the opportunity to give back to this country, and to the

      communities and academic institutions, which have supported me throughout my life.

      Allowing DACA to continue would allow my sister and I to continue to live, work, and

      contribute to the economy and communities of America; where we have spent most of our

      lives.




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   17. I was attracted to the medical profession, because I grew up seeing the lack of access to

      healthcare in underserved communities, particularly among undocumented immigrants. I saw

      firsthand how a lack of primary care can harm a community. I want to become a primary care

      doctor so I can help fill that gap in healthcare access, and make a difference in underserved

      communities.

   I declare under penalty of perjury that the foregoing is true and correct.

                                                         Executed on this 5th day of September, 2017



                                                 __________/s__________________________
                                                       Cesar Andrade




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                     EXHIBIT 5
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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   Pursuant to 28 U.S.C. § 1746(2), I, Hina Naveed, hereby declare as follows:


      1. I am over the age of 18. I have personal knowledge of the matters stated herein, and if called

          as a witness, I could and would testify competently thereto.

      2. I am a twenty-seven year old nurse and New York City resident. I currently work to help

          foster children in Brooklyn and Staten Island obtain access to health care services.

      3. In 2001, at the age of ten, I came to New York from Dubai to seek medical care for my

          younger sister’s life-threatening brain condition. We came to the United States after we had

          exhausted treatment options in both Dubai and India.

      4. I worked very hard throughout school. In high school, I was salutatorian of my class and

          President of the National Honor Society.

      5. DACA did not exist at the time I graduated from high school. Due to my undocumented

          status, I was ineligible for college scholarships and financial aid. As a result, I could only

          afford to attend college part-time.

      6. In 2008, I enrolled in the College of Staten Island with the goal of pursuing a degree in

          nursing. My interest in health care was sparked by the compassion and empathy that I saw

          doctors and nurses give to my sister. I wanted the opportunity to provide similar care to other

          children.

      7. Before DACA, I took the entrance exam to enroll in the nursing program. Students in this

          program immediately begin clinical rotations at hospitals as part of their studies. Although I

          scored very highly on the entrance exam, I was unable to enroll in the program because

          undocumented students are prohibited from working in hospitals.

      8. In 2012, DACA was enacted. I applied and received DACA status in February 2013. When

          I attained DACA status, I received a social security number and work authorization. This



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         allowed me to enroll in the nursing program and move closer towards fulfilling my dreams of

         working in healthcare.

      9. My DACA status also allowed me to obtain a drivers license for the first time. With this

         license, I was able to provide much needed assistance to my parents and help transport my

         sister with special needs to numerous medical appointments.

      10. Although I had DACA status, I remained frightened that I would not have the opportunity to

         put my nursing education into practice. At the time, New York did not allow undocumented

         individuals like myself to obtain nursing licenses. Fortunately, the Board of Regents of New

         York passed a rule last year that allows undocumented individuals to apply for nursing

         licenses if they have DACA status. After I obtained my associates degree in nursing in

         2016, I applied for and received my nursing license. I immediately put my nursing education

         into practice by working part-time as a home healthcare worker while finishing my college

         studies.

      11. I received my bachelors of science degree in nursing in January 2017. As a result, I was

         able to obtain a position supervising the health department at a foster care agency in New

         York City. In this role, I am able to carry out my goal of caring for children by connecting

         children in foster care with the health services they need.

      12. Beyond my education, I also became an immigrant’s rights advocate and worked at the

         DREAM Action Coalition to engage youth in voter and civic engagement. I also held

         DACA clinics that assisted several hundred youth with DACA’s application process. In

         addition, I worked in the Mayor’s Office of Immigrant Affairs on policy initiatives, such

         as municipal IDs, to increase the quality of life for undocumented individuals.

      13. To strengthen my advocacy efforts on behalf of both undocumented youth and youth in foster

         care, I recently enrolled in the evening program at CUNY Law School. I applied only to


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          CUNY because their mission resonates so strongly with me - - “Law In the Service of Human

          Needs.” My anticipated graduation date is May 2021.

      14. My current DACA status expires in March 2019. If DACA is rescinded, my life will be

          drastically altered. I will lose my work authorization and therefore be unable to keep the job

          that I love providing much needed services to foster youth. Additionally, without the income

          from this job, I will be unable to afford my law school tuition and will likely have to

          withdraw. Even if I am somehow able to continue my legal education, without DACA status

          I will be unable to gain admission to the New York Bar and practice law.

      15. Revocation of my DACA status will also result in the loss of my drivers license and an

          inability to renew my nursing license when it expires in April 2019.

      16. Besides its impact on me, the revocation of DACA will also have serious consequences for

          my sister, who will no longer be able to obtain the life-saving medical care that she needs.

      17. I have lived, worked and studied in the United States for the majority of my life. It is my

          home. I have long dreamt about giving back to the country that gave so much to my sister

          and I. I have taken the necessary steps to make those dreams a reality. Now that I finally

          have the chance to use my education to help other New Yorkers, I hope I am not forced to

          give it up.




   Dated: September 6, 2017                               ______/s Hina Naveed_____

                                                                    Hina Naveed




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                     EXHIBIT 6
Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 433 of 1603 PageID #:
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
 Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 434 of 1603 PageID #:
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             Pursuant to 28 U.S.C. § 1746(2), I, Milton Eduardo Ramirez Cuevas, hereby declare as

     follows:

             1.     I am over the age of 18. I have personal knowledge of the matters stated herein,

     and if called as a witness, I could and would testify competently thereto.

             2.     I came to the U.S. when I was under two years old from Guadalajara, Mexico

     with my mother and father.

             3.     I grew up in Gresham, Oregon and graduated from Reynolds High School in

     2010. Everyone calls me “Eddie.”
             4.     I applied for the Deferred Action for Childhood Arrivals (“DACA”) program in

     August 2012. My application was approved in September 2012, and I have remained in the

     program ever since.

             5.     I graduated from Portland State University (“PSU”) in 2014. I was charged in-

     state tuition rates at PSU.

             6.     After my DACA status was approved in September 2012, I was able to get a paid

     job in the PSU Admissions Office. I pay taxes in Oregon.

             7.     In the fall of 2014, I enrolled at the Oregon Health and Sciences University

     (“OHSU”) in the School of Dentistry. I was charged in-state tuition rates at OHSU.

             8.     I am currently a fourth year dental student at OHSU. I anticipate graduating from

     OHSU with a Doctor of Dental Medicine (“DMD”) degree in June of 2018.

             9.     As an OHSU student, I received a scholarship through the Scholars for a Healthy

     Oregon Initiative (“SHOI”) for all four years of my education at OHSU.

             10.    The SHOI program was created by the Oregon legislature to promote better

     access to healthcare in rural and underserved communities in Oregon. ORS 348.303.

             11.    The SHOI scholarship provides full tuition and applicable fees for my dental

     degree program at OHSU. In return, as a recipient I agreed to practice full time as a dentist in a

     rural or underserved community in Oregon for a minimum of one year longer than the total years

     of funding received; in my case, that is five years of service. ORS 348.303(3)(c).
Page 2 - DECLARATION OF EDUARDO RAMIREZ
         JND/a2c/8490650-v2                         Department of Justice
                                                   100 SW Market Street
                                                     Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000
 Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 435 of 1603 PageID #:
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              12.     The eligible locations in Oregon for providing my five years of SHOI service

     include (i) federally designated Health Professional Shortage Areas, (ii) federally designated

     Medically Underserved Area or Population, and (iii) Areas of Unmet Need as designated by the

     Oregon Office of Rural Health. ORS 348.303(1)(a).

              13.     The terms of the SHOI agreement provide that if I do not begin my service

     commitment work within 90 days of completing the dental program, and then complete my five

     years of service, I may have to repay the value of the SHOI scholarship plus an additional

     twenty-five percent penalty. ORS 348.303(6)-(8).
              14.     In June 2018, I was offered an externship at the Klamath Falls Open Door

     Medical Center in Klamath Falls, Oregon, through the School of Dentistry rotation office. This

     is my second externship rotation in Klamath Falls. This on-the-job externship is required

     practical experience to meet OHSU’s graduation requirements to receive my DMD, and then

     Oregon license to practice dentistry.

              15.     The Klamath Falls Open Door Medical Center in Klamath Falls, Oregon provides

     dental care to in a rural or underserved community in Oregon.

              16.     My DACA deferred action status expires in September 2018, if it is not renewed.

              17.     If my DACA status is taken away, I will not be able to work in Oregon as a

     dentist despite having most likely graduated from OHSU’s dental school with my DMD degree

     and having received an Oregon license to practice dentistry.

              18.     If my DACA status is taken away, it will impair my ability to fulfill my SHOI

     obligations to provide five years of service by working full time as a dentist in a rural or

     underserved community in Oregon.

              19.     If my DACA status is taken away, I could be deported to Mexico – a country I

     have not lived in since infancy. The United States is the only country that I have ever known, and

     Oregon is the only state that I have ever lived in here. It is my home.




Page 3 -   DECLARATION OF EDUARDO RAMIREZ
           JND/a2c/8490650-v2                        Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
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             20.     My younger brother is a U.S. citizen. I am concerned that if the program ends,

      my family might be split apart, may not be able to sustain themselves, and may not be able to

     obtain an education.

             I declare under penalty of perjury under the laws of the United States that the

     foregoing is true and correct.

             Executed this    H day of September, 2017, at Portl. d, (4rego

                                                           MI 0 DU 0 RAMIREZ CUEVAS




 Page 4 - DECLARATION OF EDUARDO RAMIREZ
         JND/a2c/8490650-v2
                                                    Department of Justice
                                                    100 SW Market Street
                                                     Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000
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                                     4382




                     EXHIBIT 7
Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 438 of 1603 PageID #:
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 439 of 1603 PageID #:
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                              DECLARATION OF CAIRO MENDES

   I, Cairo Mendes, declare as follows:

   1. My name is Cairo Mendes. I am 24 years old. I live in Marlborough, Massachusetts.

   2. I have personal knowledge of the matters set forth below.

   3. I was born in Goiania, Brazil. When I was 9 years old, my mother brought my sister and me

      to Massachusetts to join my father who had been working here for two years. My parents

      always told me that they brought our family to Massachusetts because of the opportunity for

      a better life – because of the American Dream.

   4. I have lived in Marlborough for 15 years. I went to public school in here. I’m now a senior

      at UMass Boston. I’m studying economics and political science.

   5. Receiving DACA has had an enormous impact on my life.

   6. I work to help my family and pay for school. Because of DACA, I was able to get a social

      security card and a work permit. That allowed me find a job that paid more and, for the first

      time, provided health insurance. I pay state and federal taxes.

   7. I commute to work and school every day. Because of DACA, I was able to get a driver’s

      license and a loan to buy a car.

   8. I wouldn’t be able to attend UMass Boston without DACA. I started college at Mass Bay

      Community College in 2012 before DACA. It was a huge struggle to pay the tuition. After I

      received DACA status, I qualified for in-state tuition and was able to afford to enroll in more

      classes. I graduated from Mass Bay in 2015 and then started at UMass Boston. I still

      struggle to pay for school, but I couldn’t make it work without DACA. If I lost in-state

      tuition – or my driver’s license and work permit – I would have to drop out.




                                                                                                      1
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                     EXHIBIT 8
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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                       DECLARATION OF RENATA BORGES TEODORO

   I, Renata Borges Teodoro, declare as follows:

   1. My name is Renata Borges Teodoro. I am 29 years old and currently live in Dorchester,

      Massachusetts.

   2. I have personal knowledge of the matters set forth below.

   3. My parents are from Brazil. I was brought to the United States when I was six years old.

      Soon after we arrived, my family moved to Massachusetts to be near to the large Brazilian

      community here. I have lived in Massachusetts for more than 20 years.

   4. The DACA program has changed my life. I applied for DACA the day it became available in

      2012. My application was approved in March 2013, and since then I have been able to get a

      work permit, a social security number, a credit card, and in-state tuition at the University of

      Massachusetts-Boston. I was also able to receive health insurance through my work for the

      first time, which allowed me to obtain critical health services that I had been putting off

      because I didn’t have insurance.

   5. I graduated in May 2017 from UMass-Boston with a Bachelor’s Degree in Philosophy and

      Public Policy. I likely would not have finished my degree without DACA, since it allowed

      me to pay a reduced tuition rate and also to get a job on campus, which allowed me to attend

      school full-time rather than working elsewhere.

   6. I recently received a renewal of my DACA status until July 2019, and am currently looking

      for a job to put my degree to good use. I am passionate about immigrants’ rights, community

      development, and higher education, and I hope someday to work for a foundation that funds

      community-based nonprofit work.




                                                    1
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   7. Obtaining DACA status also allowed me to travel outside the country for the first time since I

      was brought here as a child. My family now lives in Brazil, and for years I was unable to

      visit them. With DACA, however, I was able to apply for advanced parole and I have visited

      them four times since 2013. Those reunions have been unbelievably special to me.

   8. If DACA status were taken away, life would become extraordinarily hard for me. I would

      lose my work permit, my social security number, and my ability to travel. I would probably

      not be able to find a decent job, since almost all jobs that require a college degree also

      require a work permit.

   9. I would also face the prospect of imminent deportation. How can I build a life for myself if I

      am afraid of being deported?

   10. I was brought to this country at age 6. The United States is really all I know. I have paid

      taxes for years. I have gone to school and earned my degree. I have strived to do everything

      right. DACA has provided me with an opportunity to build a life here. Rescinding it now

      would take all that away.



                               I declare under penalty of perjury that the foregoing is true and correct.

                                                                         1 day of September, 2017.
                                                          Executed this ____



                                                                  ____________________________

                                                                  Renata Borges Teodoro




                                                     2
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                     EXHIBIT 9
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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                   EXHIBIT 10
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK




    STATE OF NEW YORK, et. al.,


                Plaintiffs,
                                                 No. 1:17-CV-5228
          v.

    DONALD TRUMP, et. al.,

                Defendants,
Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 450 of 1603 PageID #:
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 1                                  Declaration of Tom K. Wong
 2
           I, Tom K. Wong, declare as follows:
 3
        1. My name is Tom K. Wong and I am over eighteen years of age. I have personal
 4
           knowledge of and could testify in Court concerning the following statements of fact.
 5

 6      2. I am an Associate Professor with tenure at the University of California, San Diego

 7         (UCSD). I work in the political science department, which is consistently ranked by

 8         U.S. News & World Report as one of the top ten political science departments
 9
           nationally. I am also the Director of the International Migration Studies Program Minor
10
           at UCSD.
11
        3. I am an expert on immigration politics and policy, which includes the Deferred Action
12
           for Childhood Arrivals (DACA) policy. I have written two peer-reviewed books and
13

14         several peer-reviewed journal articles, book chapters, and reports on these subjects. My

15         most recent research on DACA is a national survey of 3,063 DACA recipients
16         conducted in August 2017 (henceforth referred to as the “2017 DACA survey”). The
17
           2017 DACA survey is in addition to two peer-reviewed journal articles on DACA
18
           (International Migration Review and Journal on Migration and Human Security),
19
           another forthcoming peer-reviewed journal article on DACA (Social Problems), one
20

21         book-length monograph (supported by a grant from the U.S. Department of Homeland

22         Security [DHS]), and three other reports based on national surveys that I have

23         conducted of DACA recipients.
24
        4. I received a Ph.D. in political science at the end of the 2010-2011 academic year. I was
25
           a post-doctoral research fellow during the 2011-2012 academic year. I joined the
26

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 1           political science department at UCSD during the 2012-2013 academic year. I served as
 2           an advisor to the White House Initiative on Asian Americans and Pacific Islanders
 3
             (WHIAAPI), where I worked on the immigration portfolio, during the 2015-2016
 4
             academic year.
 5
         5. I previously testified as an expert witness in the case, City of El Cenizo, et. al. v. State
 6

 7           of Texas, et. al.

 8       6. I am being compensated by the State of Washington in the amount of $5,000.

 9       7. I have attached a true and complete copy of my curriculum vitae as Exhibit A to this
10
             Declaration. I have also attached a true and complete copy of the 2017 DACA survey
11
             as Exhibit B to this Declaration.
12

13
                                                        DACA
14

15       1. Since it was first announced on June 15, 2012, the Deferred Action for Childhood

16           Arrivals policy has provided temporary relief from deportation and work authorization
17           to 793,026 people.1 As of September 4, 2017, there are 689,900 active DACA
18
             recipients.2
19

20

21
             1
22               Based on the most recent publicly available data from U.S. Citizenship and Immigration Services
     (USCIS) at the time of this writing, which is up to June 30, 2017. USCIS provides quarterly reports on DACA.
23   See:
     https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
     20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf
24             2
                 The lesser 689,900 figure represents the total number of individuals who, as of September 4, 2017,
     were “active DACA recipients.” For example, those who received DACA may have adjusted to lawful permanent
25   resident (LPR) status.
     https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
26   20Data/All%20Form%20Types/DACA/daca_population_data.pdf

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 1                           2017 National Survey of DACA Recipients
 2      2. From August 1, 2017 to August 20, 2017, I conducted a national online survey of
 3
           DACA recipients. The resulting survey is the largest study to date of DACA recipients
 4
           with a sample size of 3,063 respondents in forty-six states plus the District of
 5
           Colombia.
 6

 7      3. Methodologically, several steps were taken to account for the known sources of bias

 8         that can result from online panels. To prevent ballot stuffing, meaning one person

 9         submitting multiple responses, incentives were not given for each completed survey
10
           that was submitted. Moreover, the online survey platform used (Qualtrics) was
11
           programmed to prevent one IP address from submitting multiple responses. To prevent
12
           spoiled ballots, meaning people who responded to the survey who were not
13
           undocumented, I used a unique validation test for undocumented status. Multiple
14

15         questions were asked about each respondent’s migratory history. These questions were

16         asked during different parts of the survey. When a question was repeated, it was posed
17         using different wording. For example, “How old were you when you first came to the
18
           U.S.?” and, “In what year did you first come to the U.S.?” (current age was used to
19
           tether these answers). If there was agreement in the answers, meaning there was
20
           consistency regarding the respondent’s migratory history, the respondent was kept in
21

22
           the resulting sample. If there were inconsistencies, the respondent was excluded. Also,

23         Facebook ads were used to improve the geographic representativeness of the resulting

24         sample, as well as to recruit respondents who were outside of the networks of the
25         organizations that conducted outreach for the survey. Because there is no directory of
26

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 1            undocumented immigrants from which to randomly sample from, researchers need to
 2            partner with organizations that interact with undocumented immigrants to conduct such
 3
              surveys. The outreach partners were United We Dream (UWD), the National
 4
              Immigration Law Center (NILC), and the Center for American Progress (CAP). These
 5
              partners distributed the survey link to their respective email lists. Given the nature of
 6

 7            online opt-in surveys, it is not possible to construct a valid margin of error.

 8            Nevertheless, the survey is methodologically rigorous and sound. Indeed, a peer-

 9            reviewed academic journal on DACA based on survey results obtained using the
10
              methods described above is forthcoming in a top sociology journal.
11
         4. Evaluating the representativeness of the survey sample requires current and complete
12
              data on the characteristics of DACA recipients. The only publicly available data
13
              provided by U.S. Citizenship and Immigration Services (USCIS) in its quarterly DACA
14

15            statistics that are both current and complete is the geographic breakdown of DACA

16            recipients at the state level.3 Using these data, a two-sample Kolmogorov-Smirnov (K-
17            S) test of equality of distributions can be run to evaluate how well the survey sample
18
               3
19               USCIS also provides publicly available data on the country of birth of DACA recipients, but these data
     are incomplete, as only the top twenty-five countries of birth are listed (and one of these is labeled “Unknown”).
20   USCIS has analyzed the demographic characteristics of DACA recipients, but this initial analysis was based on
     data from August 2012 to September 2013. See:
21   https://www.uscis.gov/sites/default/files/USCIS/Humanitarian/Deferred%20Action%20for%20Childhood%20Arr
     ivals/USCIS-DACA-Characteristics-Data-2014-7-10.pdf. More recently, USCIS published an updated analysis
22   (September 2017). A Kolmogorov-Smirnov (K-S) test of equality of distributions shows that the state-by-state
     breakdown of the survey sample is representative of the state-by-state breakdown of all “active DACA recipients”
23   (p = .557) that USCIS analyzed. The null hypothesis for the K-S test is that the two distributions are statistically
     the same. A p value of .557 means that we are not confident that we can reject the null hypothesis. In other words,
     this result means we are only 44% confident (1 minus .557) that we can reject the null hypothesis (and thus say
24
     that the two distributions are different). By convention, scholars tend to accept a p value of .05 or less as being
     statistically significant. A p value of .05 means that we are 95% confident (1 minus .05) in a result. Moreover, the
25   September 2017 USCIS report indicates that the average age of active DACA recipients is 23.8. The average age
     of the survey sample is similar at 25.2. The most recent USCIS data do not provide detailed cross-tabulations
26   sufficient for weighting purposes.

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 1            matches the actual distribution of DACA recipients by state. The results of the K-S test
 2            of equality of distributions shows that the state-by-state breakdown of the survey
 3
              sample is representative of the state-by-state breakdown of all DACA recipients (p =
 4
              .570).4
 5

 6

 7                                      Characteristics of DACA Recipients

 8       5. The average age of respondents is 25.2. 5 The average age that respondents first arrived

 9            in the U.S. is 6.5.6 The average number of years that respondents have lived in the U.S.
10
              is 18.8.7 Regarding race and ethnicity, 93% of respondents identify as Hispanic/Latino,
11
              4% identify as Asian or Pacific Islander, 2% identify as White, and 1% identify as
12
              Black.8 Also, 10% of respondents personally identify as lesbian, gay, bisexual, or
13
              transgender (LGBT).
14

15

16                                       DACA and Economic Integration
17       6. DACA has been critical in improving the economic integration of DACA recipients,
18

19
              4
                 That is, there is no evidence to suggest that the distribution of survey respondents by state and the
20   actual number of DACA recipients by state is statistically significantly different. Moreover, analyzing and
     comparing the unweighted and weighted results show that the findings are substantively similar throughout. As
21   previously noted, the null hypothesis for the K-S test is that the two distributions are statistically the same. A p
     value of .570 means that we are not confident that we can reject the null hypothesis. In other words, this result
22   means we are only 43% confident (1 minus .570) that we can reject the null hypothesis (and thus say that the two
     distributions are different). By convention, scholars tend to accept a p value of .05 or less as being statistically
23   significant. A p value of .05 means that we are 95% confident (1 minus .05) in a result.
               5
                 As previously noted, a September 2017 USCIS report shows that the average age of “active DACA
     recipients” is 23.8. The average age of the survey sample is thus similar to the average age of active DACA
24
     recipients as reported by USCIS.
               6
                 In other words, on average, DACA recipients first entered the U.S. during kindergarten or first grade.
25             7
                 Moreover, 38.5% of respondents have lived in the U.S. for 20 years or more.
               8
                 USCIS does not report race and ethnicity in its quarterly DACA statistics. However, the large majority
26   of the “Top Countries of Origin” listed in the USCIS quarterly reports are Latin American countries.

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Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 455 of 1603 PageID #:
                                     4400




 1         which is evidenced by their employment rates, their employment in “white collar,”
 2         higher-skilled jobs, greater job mobility, higher wages, more financial independence,
 3
           and increased consumer purchasing power, among other indicators.
 4
        7. Regarding employment, the data show that 91% of DACA recipients are currently
 5
           employed. Among those 25 years and older, this percentage climbs to 93%. Moreover,
 6

 7         the data show that at least 72% of the top twenty-five Fortune 500 companies employ

 8         DACA recipients.

 9      8. DACA recipients are most likely to work in Office and Administrative Support
10
           Occupations followed by Sales and Related Occupations and then Management,
11
           Business, Science, and Arts Occupations. U.S. Census occupation categories are used to
12
           distinguish between types of occupations.9 Table 1 lists the top ten occupation
13
           categories for DACA recipients.
14
                                                          Table 1
15
                                                                                                                           DACA
16                         Office and Administrative Support Occupations        ........................................   16.5%
                                             Sales and Related Occupations      ........................................   11.6%
17                    Management, Business, Science, and Arts Occupations       ........................................   10.8%
                             Education, Training, and Library Occupations       ........................................    9.6%
18                              Food Preparation and Serving Occupations        ........................................    6.8%
                                            Healthcare Support Occupations      ........................................    6.4%
19                      Healthcare Practitioners and Technical Occupations      ........................................    4.6%
                              Community and Social Services Occupations         ........................................    4.3%
20
                                                       Financial Specialists    ........................................    3.4%
21                                                       Legal Occupations      ........................................    3.0%
                                 Computer and Mathematical Occupations          ........................................    3.0%
22                                                                   Other      ........................................   19.9%

23
        9. Table 2 below compares the occupations of DACA recipients to native-born workers
24

25

26         9
               For detailed occupation listing, see here: https://usa.ipums.org/usa/volii/c2ssoccup.shtml

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Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 456 of 1603 PageID #:
                                     4401




 1           between the ages of sixteen and thirty-five. As the table shows, DACA recipients are
 2           more likely to work in “white-collar” higher-skilled occupations such as Management,
 3
             Business, Science, and Arts Occupations, Healthcare Support Occupations, and Legal
 4
             Occupations, and they are less likely to work in “blue-collar” lesser-skilled occupations
 5
             such as Building and Grounds Cleaning and Maintenance Occupations, Construction
 6

 7           and Extraction Occupations, and Food Preparation and Serving Occupations.

 8                                                        Table 2
                                                                                                                    Native
 9                                                                                                          DACA     Born     Diff
      Management, Business, Science, and Arts Occupations        ........................................   10.8%   6.4%     +4.4%
10            Education, Training, and Library Occupations       ........................................    9.6%    5.9%    +3.7%
                            Healthcare Support Occupations       ........................................    6.4%    3.1%    +3.3%
11             Community and Social Services Occupations         ........................................    4.3%   1.5%     +2.7%
           Office and Administrative Support Occupations         ........................................   16.5%   13.9%    +2.6%
12
                                          Legal Occupations      ........................................    3.0%   0.9%     +2.2%
13                                      Financial Specialists    ........................................    3.4%   1.9%     +1.5%
                  Computer and Mathematical Occupations          ........................................    3.0%   2.3%     +0.8%
14               Architecture and Engineering Occupations        ........................................    2.1%    1.5%    +0.6%
                            Business Operations Specialists      ........................................    2.8%   2.3%     +0.4%
15          Life, Physical, and Social Science Occupations       ........................................    1.2%   0.8%     +0.4%
                                         Extraction Workers      ........................................    0.1%   0.2%     -0.1%
16              Farming, Fishing, and Forestry Occupations       ........................................    0.1%    0.6%    -0.5%
        Healthcare Practitioners and Technical Occupations       ........................................    4.6%    5.2%    -0.5%
17
            Arts, Design, Entertainment, Sports, and Media       ........................................    1.5%    2.2%    -0.7%
18                            Military Specific Occupations      ........................................    0.0%    0.8%    -0.8%
          Building and Grounds Cleaning and Maintenance          ........................................    1.4%    2.8%    -1.4%
19                           Sales and Related Occupations       ........................................   11.6%   13.0%    -1.4%
                             Protective Service Occupations      ........................................    0.8%    2.6%    -1.7%
20                 Construction and Extraction Occupations       ........................................    1.8%    3.9%    -2.1%
             Installation, Maintenance, and Repair Workers       ........................................    0.8%    3.2%    -2.3%
21                   Personal Care and Service Occupations       ........................................    2.0%   4.4%     -2.4%
                                    Production Occupations       ........................................    2.6%   5.1%     -2.5%
22        Transportation and Material Moving Occupations         ........................................    2.7%   5.7%     -3.0%
                 Food Preparation and Serving Occupations        ........................................    6.8%    9.9%    -3.0%
23

24         Note: percentages may not sum to 100 due to rounding. The column “DACA” refers to DACA recipients.
       “Native Born” refers to native-born workers who are (a) employed and are (b) between the ages of sixteen and
25        thirty-five. These data come from the U.S. Census 2011-2015 American Community Survey (ACS) 5-year
                Public Use Microdata, which represents the most up-to-date 5-year file. “Diff” is the difference in the
26                                       percentage between DACA recipients and comparable native-born workers.


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Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 457 of 1603 PageID #:
                                     4402




 1

 2       10. Moreover, after receiving DACA:
 3
                   a. 54% got their first job;
 4
                   b. 69% got a job with better pay;
 5
                   c. 54% got a job that better fits their education and training;
 6

 7                 d. 54% got a job that better fits their long-term career goals;

 8                 e. 57% got a job with health insurance or other benefits;10

 9                 f. 56% got a job with improved work conditions; and
10
                   g. 5% started their own businesses.11
11
              Table 3 summarizes these results. The column “t 25” reports the results for
12
              respondents 25 years and older.
13
                                                            Table 3
14
                                                                                                                                  t 25
15                                                         Got my first job   ........................................   54.2%   35.3%
                                                  Got a job with better pay   ........................................   68.5%   77.7%
16                    Got a job that better fits my education and training    ........................................   54.2%   59.6%
                      Got a job that better fits my long-term career goals    ........................................   53.9%   61.4%
17                      Got a job with health insurance or other benefits     ........................................   57.3%   66.9%
                               Got a job with improved work conditions        ........................................   56.2%   64.4%
18                                                Started my own business     ........................................   5.4%    7.9%

19
         Note: percentages do not sum to 100 as individuals may select all that apply. n = 1,662 for all respondents 25
20                                                                                                      years and older.

21
         11. Regarding earnings, the data make clear that DACA is having a positive and significant
22

23

24            10
                 49.2% of respondents in my 2016 DACA survey reported that they obtained health insurance through
     their employer and 46.8% of respondents reported that they had “Received health care using [their] newly
25   obtained health insurance.”
              11
                 This rate of business starts is higher than the rate of business starts for the American public as a whole
26   (3.1%).

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                                     4403




 1            effect on the wages of DACA recipients.
 2       12. The average hourly wage of DACA recipients has increased by 69% since receiving
 3
              DACA. Among those 25 years and older, the average hourly wage has increased by
 4
              81% since receiving DACA. I have noted in previous research that more work (and
 5
              time) may be needed to parse out the short- and long-run wage effects of DACA, as
 6

 7            well as to answer the question of whether short-run gains in wages represent a plateau

 8            in earnings or if more robust long-run wage effects exist. This continues to be true.

 9            However, because of the continued upward trajectory in the observed wages of DACA
10
              recipients, it is likely that there is even more room for wage growth as DACA
11
              recipients move further along in their careers. These gains will disappear if these
12
              individuals lose their DACA status and the accompanying work authorization.
13
         13. The data also show that average annual earnings among DACA recipients is $36,232.
14

15            Among those 25 years and older, it is $41,621. A multivariate Ordinary Least Squares

16            (OLS) regression regressing annual earnings on age shows that annual earnings
17            increase by $1,583 for each year that a DACA recipient grows older (p < .001).12 These
18
              gains will also disappear if these individuals lose their DACA status and the
19
              accompanying work authorization.
20
         14. Higher wages have meant greater financial independence and consumer purchasing
21

22

23            12
                 The model controls for number of years in the U.S., whether the DACA recipient is in school, whether
     the DACA recipient has a bachelor’s degree or higher, and state-level fixed effects. The null hypothesis for age is
24
     that age has no effect on annual earnings. A p value of less than .001 means that we are over 99.9% confident (1
     minus < .001) that we can reject the null hypothesis that age has no effect on annual earnings and thus say that age
25   is positively and statistically significantly related to annual earnings. To recall, by convention, scholars tend to
     accept a p value of .05 or less as being statistically significant. A p value of .05 means that we are 95% confident
26   (1 minus .05) in a result.

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 1          power for DACA recipients:
 2               a. 69% reported that after their DACA application was approved, “[they] have
 3
                      been able to earn more money, which has helped [them] become financially
 4
                      independent”;
 5
                 b. 71% reported that after their DACA application was approved, “[they] have
 6

 7                    been able to earn more money, which has helped [their] family financially”;

 8               c. Among those who have a bachelor’s degree or higher and are no longer in

 9                    school, 27% reported paying off some or all of their student loans after their
10
                      DACA application was approved;
11
                 d. 65% purchased their first car after their DACA application was approved; and
12
                 e. 16% purchased their first home after their DACA application was approved.
13
            Table 4 summarizes these results. The column “t 25” reports the results for
14

15          respondents 25 years and older.

16

17                                                        Table 4
                                                                                                                             t 25
18
           I have been able to earn more money, which has helped me
19                                    become financially independent      ….....................................     69.0%   73.4%
           I have been able to earn more money, which has helped my
20                                                   family financially   ….....................................     70.8%   73.7%
                                 Paid off some/all of my student loans    ........................................   27.1%   27.4%
21                                                 Bought my first car    ........................................   64.5%   67.2%
                                                       Bought a home      ........................................   15.7%   23.5%
22
        Note: percentages do not sum to 100 as individuals may select all that apply. n = 1,662 for all respondents 25
23
                                                                                                       years and older.
24

25

26

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 1       15. Higher wages are indicative of the broader positive economic impact of DACA. For
 2            example, higher wages translate into more in Federal Insurance Contributions Act
 3
              (FICA) contributions, which are mandatory payroll deductions for Social Security and
 4
              Medicare. Using data on wages and earnings from the 2017 DACA survey, I estimate
 5
              that DACA recipients will add $39.3 billion in Social Security and Medicare
 6

 7            contributions (half in employee contributions and half in employer contributions) over

 8            a ten-year period.13 These contributions will disappear if these individuals lose their

 9            DACA status and the accompanying work authorization. 14
10
         16. In the 2017 DACA survey, respondents were asked to describe “what you will lose if
11
              DACA ends.” One DACA recipient writes, “If I were to lose DACA the first thing to
12
              go with it would be my job as a nurse. This would […] make it impossible for my
13
              family to afford to pay our mortgage. I would lose my home.” Another DACA recipient
14

15            writes, “I will lose my job and the associated health/retirement benefits I have been

16            paying into. Right now my family depends on the income that I make working […] I’m
17            also paying off a new car that I bought last year. It would be difficult for me to continue
18
              paying for it if I’m not able to work where I do now.” Another DACA recipient writes,
19
              “I will lose my job, which then would have a trickle effect […] losing my vehicle for
20

21
              13
                  This breaks down into $31.8 billion in Social Security contributions and $7.4 billion in Medicare
22   contributions. For a detailed explanation of the methodology used to estimate Social Security and Medicare
     contributions, see here: https://www.ilrc.org/sites/default/files/resources/2017-09-
23   29_draining_the_trust_funds_final.pdf
               14
                  Higher wages also translate into more in federal income taxes paid, more in state income taxes paid.
     Large purchases such as cars add to state tax revenues, as most states collect a percentage of the car purchase in
24
     sales tax, along with additional registration and title fees. Similarly, home buying further adds to state and local
     tax revenues in the form of property taxes. There is a large literature on how home buying creates new jobs and
25   adds new spending in local economies. For job creation, see here: https://www.nar.realtor/topics/home-ownership-
     matters/jobs-impact-of-an-existing-home-purchase. For spending in local economies, see here:
26   https://www.cnbc.com/2017/04/12/immigrant-households-impact-success-of-real-estate-market-says-report.html

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 1           non-payment, losing my home and being evicted, going into higher debt for not being
 2           able to pay credit cards.” Another DACA recipient writes, “I have spoken to my
 3
             supervisors about what would happen if DACA were to end and they informed me that
 4
             since they know I have DACA they would not be able to keep me on if I did not have
 5
             work authorization.” A DACA recipient who owns a business writes, “our restaurant
 6

 7           would disappear.” Another DACA recipient writes, “I would no longer be able to work

 8           as an EMT.” Another DACA recipient writes, “If DACA ends […] My students would

 9           be left without a teacher for the rest of the year.” Another DACA recipient writes, “I
10
             won’t be able to accept [a] fulltime offer from [an employer], which is contingent on
11
             my completing my MBA in 2018.” Another DACA recipient writes, “I will not be able
12
             to practice medicine when I graduate from medical school.” Another DACA recipient
13
             writes, “I have a degree in engineering, and I want to obtain my professional
14

15           engineering license. If I do not have DACA, I would not be able to work, thus I would

16           not be able to accumulate the necessary work experience to obtain my PE license.”
17           Another DACA recipient writes, “I will lose my career, the opportunity to get my CDL
18
             [Commercial Driver License], the opportunity to eventually become a citizen and join
19
             the army like I’ve always wanted since a child.”
20

21

22
                                               DACA and Education

23       17. DACA improves educational outcomes for DACA recipients.

24       18. Regarding education, 45% of DACA recipients are currently in school. 15
25
             15
                The percentage of respondents who are currently in school has slowly declined over the four years that
26   I have been surveying DACA recipients. This makes intuitive sense: as DACA recipients grow older, they are

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 1       19. Among those who are currently in school, 94% reported, “[they] pursued educational
 2           opportunities that [they] previously could not” because of DACA.
 3
         20. Moreover, among those in school, 72% are pursuing a bachelor’s degree or higher (an
 4
             additional 19% are pursuing an associate’s degree). The majors and specializations that
 5
             DACA recipients are pursuing include accounting, biochemistry, business
 6

 7           administration, chemical engineering, civil engineering, computer science, early

 8           childhood education, economics, environmental science, history, law, mathematics,

 9           mechanical engineering, neuroscience, physics, psychology, and social work, to name a
10
             few. These majors and specializations concretize how the education that DACA
11
             recipients are receiving is contributing to the development of a better prepared and
12
             more competitive college-educated workforce.
13
         21. Regarding educational attainment, 36% of respondents 25 years and older have a
14

15           bachelor’s degree or higher. This percentage is higher than the 30% of native-born

16           persons 25 years and older who have a bachelor’s degree or higher, but is similar to the
17           34% of foreign-born naturalized persons 25 years and older who have a bachelor’s
18
             degree or higher.16
19
         22. In the 2017 DACA survey, respondents were asked to describe “what you will lose if
20
             DACA ends.” One DACA recipient writes, “DACA has given me the opportunity to be
21

22
             someone in life. Ever since I was in elementary school, I was a good student. I liked

23

24
     more likely to transition out of school and into their careers. Moreover, as the USCIS quarterly DACA statistics
     show, older DACA recipients are not being replaced at anywhere close to the rate in which younger DACA
25   recipients have aged into eligibility.
              16
                 These data come from the U.S. Census 2011-2015 American Community Survey (ACS) 5-year Public
26   Use Microdata, which represents the most up-to-date 5-year file.

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 1         school and I liked to learn […] Depression was really getting to me because I saw my
 2         friends pursuing their dreams, and I was not allowed to do the same. It did not matter
 3
           how smart I was, how much of a hard worker I was, or how much passion I had; I was
 4
           never going to be able to become who I wanted to be. DACA opened the door, it gave a
 5
           lot of us hope. Thanks to DACA, I am now a woman who is pursuing an engineering
 6

 7         degree.” Another DACA recipient writes, “With DACA, I have worked as a researcher

 8         and am now starting the grad school application process for PhD programs. I have

 9         wanted to be a scientist since I was nine years old, staring out of my first telescope.
10
           DACA allows that dream to not be hindered. I still cannot apply for anything funded by
11
           the National Science Foundation or work for NASA, but hopefully my status will one
12
           day become permanent and those doors will become open to me as well.” Another
13
           DACA recipient writes, “Without DACA, I would lose the ability to continue working
14

15         legally and will have to stop attending school since I will not be able to afford it. I will

16         lose the opportunity to become a certified teacher […] and will not be able to fulfill my
17         dreams of being an educator.” Another DACA recipient writes, “I will be unable to
18
           continue my education in computer science.” Another DACA recipient writes, “If
19
           DACA ends, I will lose the opportunity of pursuing the career I’ve been studying for
20
           my whole life. I will not be able to work anywhere, so my degree won’t matter.”
21

22

23                            DACA and Normality in Day-to-Day Life

24      23. The data further show that DACA has given DACA recipients a sense of normality in
25         their day-to-day lives, which has led to a greater sense of belonging and inclusion and,
26

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 1         in some cases, improved mental health.
 2      24. In the 2017 DACA survey, respondents were asked to describe “what you will lose if
 3
           DACA ends.” One DACA recipient writes, “I will lose my feeling of belonging in the
 4
           only country I have truly ever known.” Another DACA recipient writes, “I would lose
 5
           my sense of belonging. For the first time I feel safe without fear.” Another DACA
 6

 7         recipient writes, “Having DACA has changed my life completely, I feel like I have

 8         purpose again. I can go to school and work. I can strive now for a better life. Things are

 9         more manageable. Before DACA, I lost all hope of ever becoming anything or
10
           accomplishing anything. I’ve regained a lot of that hope and now I have a strong drive
11
           to succeed.” Another DACA recipient writes, “DACA was a glimpse of what I could
12
           have if I had papers and it made me love this country more.” Another DACA recipient
13
           writes, “DACA has allowed me to feel a sense of hope and security within the nation I
14

15         grew up in […] its existence provides me with the reassurance that someone cares, that

16         someone is listening, and that we are not alone.” Another DACA recipient writes, “I
17         will lose feeling safe and protected.” Another DACA recipient writes, “I will lose the
18
           independence and freedom I had to wait so many years to have.” Another DACA
19
           recipient writes, “I will no longer be able to drive to school or work.” Another DACA
20
           recipient writes, “I will lose a sense of safety. I remember feeling a lot of fear, anxiety,
21

22
           and uncertainty about my future before DACA was passed. I’m worried all of that will

23         come flooding back. Aside from the practical things, like losing my license, my job, my

24         independence, I really don’t want to feel that way again. I have become more open with
25         people since DACA, and I don’t want to go back to having to worry about what I say
26

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 1           and to who.”
 2      25. Moreover, despite being brought to the U.S., on average, at the age of 6.5, and despite
 3
             having lived in the U.S., on average, 18.8 years, it was only after receiving DACA that:
 4
                 a. 61% opened a bank account;
 5
                 b. 66% got their first credit card;
 6

 7               c. 90% got a driver’s license or state identification card for the first time; and

 8               d. 49% became organ donors.

 9           Table 5 summarizes these results. The column “t 25” reports the results for
10
             respondents 25 years and older.
11
                                                            Table 5
12                                                                                                                                t 25
                                                 Opened a bank account        ........................................   61.0%   47.3%
13                                               Got my first credit card     ........................................   65.7%   67.9%
         Got my driver’s license or state identification card for the first
14                                                                   time     ........................................   90.3%   88.3%
                                                 Became an organ donor        ........................................   48.7%   49.8%
15

16      Note: percentages do not sum to 100 as individuals may select all that apply. n = 1,662 for all respondents 25
                                                                                                       years and older.
17

18

19
                        DACA Recipients and American Citizen Family Members
20
        26. The data also show that DACA recipients are deeply interwoven in families that
21
             include American citizen siblings, spouses, and children. Indeed, 73% of DACA
22

23           recipients have either an American citizen sibling, spouse, or child:

24               a. 59% reported having an American citizen sibling;

25               b. 17% reported having an American citizen spouse; and
26

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 1             c. 26% reported having an American citizen child.
 2         Table 6 summarizes these results.
 3
                                                     Table 6
 4
                                             American citizen spouse     ........................................   16.6%
 5                                            American citizen child     ........................................   25.7%
                                             American citizen sibling    ........................................   58.9%
 6
                            American citizen spouse, child, or sibling   ........................................   72.7%
 7
                                    Note: percentages do not sum to 100 as individuals may select all that apply.
 8

 9

10      27. In the 2017 DACA survey, respondents were asked to describe “what you will lose if
11         DACA ends.” One DACA recipient writes, “My daughter is a 4 year old U.S. citizen
12
           and everything I do is to give her a better life. I would lose the ability to safely go to
13
           school and work. I would constantly worry that my daughter would end up in foster
14
           care.” Another DACA recipient writes, “I will lose my job and face possible
15

16         deportation and being separated from my son who is only 3 and needs his mom.”

17         Another DACA recipient writes, “Sometimes I can’t even sleep just thinking of what’s

18         going to happen with DACA […] I’m not only thinking about my future, but my
19         son’s.” Another DACA recipient writes, “I just had my second child 2 weeks ago […]
20
           my plans are to go back to work by next year and I’m truly scared that by that time I
21
           won’t be able to […] Now more than ever I need DACA to support my kids.” Another
22
           DACA recipient writes, “a year into my new DACAmented life, my daughter was born
23

24         and she has been such a blessing, but I am more afraid than ever about the

25         consequences my status might have. If DACA ends, I lose the peace of mind that I will

26         be here to raise her. I work 60+ hours a week at 2 jobs so I can provide for her and if

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 1         DACA ends I will not be able to do so.” Another DACA recipient writes, “we risk
 2         being homeless with a new-born child if DACA ends.” Another DACA recipient
 3
           writes, “My kids are U.S. citizens […] I will lose my job, I will lose the opportunity to
 4
           give my kids a better life […] Please, I beg to continue to have DACA. It is not just
 5
           about being legal, but is also about having a better life for my kids.” Another DACA
 6

 7         recipient writes, “we would struggle providing for our kids who are all citizens […] I

 8         hope this never happens because our family has so much riding on whether my next

 9         permit is approved or not.” Another DACA recipient writes, “I have a 3 year old
10
           daughter who is heading to Head Start this year and I am currently pregnant. I would
11
           miss out on my kid’s lives, as they would most likely stay in the U.S. with their dad.”
12
           Another DACA recipient writes, “I would lose healthcare coverage for me and my
13
           son.” Another DACA recipient writes, “having my driver’s license taken away would
14

15         be a devastating blow […] I take my sons to school and childcare almost every day.”

16         Another DACA recipient writes, “without my driver’s license I won’t be able to drive
17         to school or any of my son’s doctor’s appointments.” Another DACA recipient writes,
18
           “How do you tell your 5 year old mommy can’t bring food to the table because of a
19
           simple paper? How do you explain to your child that there will be no more sports
20
           because we can no longer drive?” Another DACA recipient writes, “I would lose my
21

22
           job first of all and if I lose my job I will lose my apartment. I will have to stay with

23         family or other people and hopefully find a way to make some money in order to take

24         care of my 3 year old. I will definitely end up in debt without a way to pay my bills and
25         I will have to ask for public assistance to feed my son. It sounds extreme but that’s
26

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 1         what will happen if I cannot work because I have no parents left and no one is going to
 2         take care of me or my son.” Another DACA recipient writes, “I am married now with a
 3
           10 month old daughter […] if DACA ended I would be really scared to be split up from
 4
           my daughter and husband and family. I have been here since I was 8 months old, this is
 5
           my home, I don’t know my place of birth.” Another DACA recipient writes, “My U.S.
 6

 7         citizen husband and U.S. citizen children would constantly be worrying about me

 8         because the likelihood of deportation would increase greatly.” Another DACA recipient

 9         writes, “My wife and I have barely just begun our adult lives together. We have
10
           medical and student debt, monthly utility expenses, a mortgage, car payments,
11
           insurance payments and groceries to buy. We are just like any other young responsible
12
           adults trying to kick start their careers to gain financial stability and potentially start a
13
           family. Without my job I lose my ability to contribute to our monthly expenses. We
14

15         would lose our financial stability and could lose everything which could ruin our lives

16         before they even begin.” Another DACA recipient writes, “If DACA ended […] it
17         would put a stress on my marriage.” Another DACA recipient writes, “I would lose my
18
           family […] my husband is a U.S. citizen […] my brother is also a citizen, and a U.S.
19
           Marine.”
20

21

22
                         Many May Go “Into the Shadows” Without DACA

23      28. Many DACA recipients may go back into the shadows if these individuals lose their

24         DACA status and the accompanying work authorization.
25      29. In the 2017 DACA survey, respondents were asked to describe “what you will lose if
26

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 1         DACA ends.” One DACA recipient writes, “I really can’t imagine living in the
 2         darkness again […] I have been a good member of society, I pay my taxes, and I have
 3
           never gotten in trouble with the law.” Another DACA recipient writes, “With DACA I
 4
           was able to begin planning for a better future, if it’s taken away I’ll go back to trying to
 5
           get by day to day.” Another DACA recipient writes, “Losing DACA will be
 6

 7         devastating because everything that I have built up to this point will be lost. I will lose

 8         my current employment, the health insurance provided by my employer, and driver’s

 9         license for starters. Most importantly, I will return back to the shadows facing certain
10
           deportation considering the government already has all of my information.” Another
11
           DACA recipient writes, “If DACA ends […] I lose everything. I can no longer work
12
           and my mental health will suffer. Currently my mental health is already suffering
13
           because of the constant fear about whether DACA will be taken away. This is the only
14

15         place that I call home and people want to take that away from me. It is a terrible feeling

16         and I hate that I have to be in this position, but none of us chose it and we are trying to
17         do our best to make a living and do things the right way.” Another DACA recipient
18
           writes, “I would go back to the shadows that I once thought I would never go back too.
19
           I would live in fear.” Another DACA recipient writes, “I will live in fear and hiding,
20
           again.” Another DACA recipient writes, “what hurts most is losing my ability to live
21

22
           without fear. To be back in the shadows, to feel less than and incapable of doing

23         anything about the circumstances, [to] feel betrayed by the government who promised

24         to protect us if we came out of the shadows and followed the rules.” Another DACA
25         recipient writes, “losing DACA would make me lose faith in a government [that] asked
26

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 1           us to come fourth and identify ourselves in exchange for a taste of regular American
 2           life.” Another DACA recipient writes, “Everything that I’ve been working so hard for
 3
             will suddenly mean nothing. All the contributions I’ve given to this country will be
 4
             ignored and unrecognized by the government.”
 5
         30. Moreover, when given a scenario in which they no longer had DACA 17:
 6

 7                a. 53% reported that they would be less likely to report a crime they witnessed;

 8                b. 47% reported that they would be less likely to report a crime even if they were

 9                     the victim;
10
                  c. 48% reported that they would be less likely to go to the hospital if they suffered
11
                       an injury; and
12
                  d.   60% reported that they would be less likely to report wage theft by their
13
                       employer.
14

15       31. Moreover, many DACA recipients fear what the government will do with their personal

16           information.
17       32. Among respondents who were eligible to renew, but had not yet submitted a renewal
18
             application18:
19
                  a. 18% reported that fear of providing updated information to the government was
20
                       a prohibitive factor 19; and
21

22
                  b. 26% reported that fear that the government will use the information provided in

23
             17
                 The question was worded, “If you no longer had DACA, would you be more or less likely to do the
24
     following…”
              18
                 This represents 11.2% of respondents.
25            19
                 In my 2016 DACA survey, just 2% of respondents who were eligible to renew, but had not yet
     submitted a renewal application reported that that fear of providing updated information to the government was a
26   prohibitive factor.

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 1                     the renewal application for immigration enforcement purposes was a prohibitive
 2                     factor.
 3
        33. Among respondents who were not yet eligible to renew,20 28% agreed or strongly
 4
           agreed with the statement, “I’m less likely to apply to renew my DACA status when I
 5
           become eligible to do so because I fear that the government will use my information for
 6

 7         immigration enforcement purposes.”

 8      34. The prospect of going back into the shadows and fear about what the government will

 9         do with their personal information likely exacerbates the concerns that DACA
10
           recipients had when they first applied for DACA.
11
        35. In my 2014 DACA survey, the concerns that DACA recipients had when they first
12
           applied included:
13
                  a. 79% reported being concerned about what would happen if DACA ended;
14

15                b. 59% reported being concerned about letting the government know they were

16                     undocumented;
17                c. 49% reported being concerned about revealing their personal information;
18
                  d. 59% reported being concerned about revealing information about their family;
19
                  e. 59% reported being concerned “that the information [they] revealed in [their]
20
                       application would be used to put [them] or [their] family in detention and/or
21

22
                       deportation proceedings”; and

23                f.   32% reported hearing that “the government was not going to use the

24                     information in the DACA application for enforcement purposes (e.g., detention
25

26         20
                This represents 46.9% of respondents.

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                                     4417




 1                    or deportation).”
 2

 3
                                            DACA Recipients by State
 4
         36. Below are examples of state-specific profiles of DACA recipients. Data from the
 5
             survey are used to construct these profiles. 21
 6

 7

 8                                DACA Recipients in the State of Colorado

 9       37. As of September 4, 2017, there were 15,500 active DACA recipients in the State of
10
             Colorado.22
11
         38. Regarding employment and earnings:
12
                  a. An estimated 14,167 DACA recipients in the State of Colorado are currently
13
                      employed23;
14

15                b. An estimated 837 DACA recipients in the State of Colorado are business

16                    owners 24; and
17                c. The State of Colorado’s DACA recipients earn an estimated $513.3 million
18

19

20
             21
                  To construct state-specific profiles, a previous version of this declaration used USCIS quarterly
21   statistics (published on September 20, 2017 for the 3rd quarter of 2017) on the total number of individuals who
     received DACA as of June 30, 2017. Recently, USCIS published statistics on the total number of individuals with
22   DACA as of September 4, 2017
     (https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
23   20Data/All%20Form%20Types/DACA/daca_population_data.pdf). The state-specific profiles herein use the most
     up-to-date information at the time of this writing, which is information on the total number of individuals with
     DACA as of September 4, 2017.
24           22

     https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
25   20Data/All%20Form%20Types/DACA/daca_performancedata_fy2017_qtr3.pdf
              23
                 91.4% of 15,500.
26            24
                 5.4% of 15,500.

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 1                   annually.25
 2       39. Regarding education:
 3
                 a. An estimated 6,960 DACA recipients in the State of Colorado are currently in
 4
                     school26;
 5
                 b. Among those currently in school, an estimated 6,514 have “pursued educational
 6

 7                   opportunities that I previously could not” because of DACA 27; and

 8               c. An estimated 4,976 DACA recipients in the State of Colorado are currently

 9                   pursuing a bachelor’s degree or higher. 28
10
         40. Regarding American citizen family members:
11
                 a. An estimated 11,269 DACA recipients in the State of Colorado have an
12
                     American citizen sibling, spouse, or child.29
13

14

15                             DACA Recipients in the State of Connecticut

16       41. As of September 4, 2017, there were 3,800 active DACA recipients in the State of
17           Connecticut.30
18
         42. Regarding employment and earnings:
19
                 a. An estimated 3,473 DACA recipients in the State of Connecticut are currently
20

21

22            25
                 14,167 multiplied by $36,231.91. This translates into $31.8 million annually in Social Security
23   contributions (6.2% per FICA) and $7.4 million annually in Medicare contributions (1.45% per FICA).
              26
                 44.9% of 15,500.
              27
                 93.6 % of 6,960.
24            28
                 71.5% of 6,960.
              29
                 72.7% of 15,500.
25            30
                 As a common rule, smaller sample sizes lead to greater uncertainty around estimates.
     https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
26   20Data/All%20Form%20Types/DACA/daca_population_data.pdf

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 1                     employed31;
 2                 b. An estimated 205 DACA recipients in the State of Connecticut are business
 3
                       owners 32; and
 4
                   c. The State of Connecticut’s DACA recipients earn an estimated $125.8 million
 5
                       annually.33
 6

 7       43. Regarding education:

 8                 a. An estimated 1,706 DACA recipients in the State of Connecticut are currently

 9                     in school34;
10
                   b. Among those currently in school, an estimated 1,597 have “pursued educational
11
                       opportunities that I previously could not” because of DACA 35; and
12
                   c. An estimated 1,220 DACA recipients in the State of Connecticut are currently
13
                       pursuing a bachelor’s degree or higher.36
14

15       44. Regarding American citizen family members:

16                 a. An estimated 2,763 DACA recipients in the State of Connecticut have an
17                     American citizen sibling, spouse, or child. 37
18

19
                                   DACA Recipients in the State of Delaware
20
         45. As of September 4, 2017, there were 1,100 active DACA recipients in the State of
21

22
              31
23               91.4% of 3,800.
              32
                 5.4% of 3,800.
              33
                 3,473 multiplied by $36,231.91. This translates into $7.8 million annually in Social Security
24
     contributions (6.2% per FICA) and $1.8 million annually in Medicare contributions (1.45% per FICA).
              34
                 44.9% of 3,800.
25            35
                 93.6 % of 1,706.
              36
                 71.5% of 1,706.
26            37
                 72.7% of 3,800.

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 1           Delaware.38
 2       46. Regarding employment and earnings:
 3
                  a. An estimated 1,005 DACA recipients in the State of Delaware are currently
 4
                     employed39; and
 5
                  b. The State of Delaware’s DACA recipients earn an estimated $36.4 million
 6

 7                   annually.40

 8       47. Regarding education:

 9                a. An estimated 494 DACA recipients in the State of Delaware are currently in
10
                     school41;
11
                  b. Among those currently in school, an estimated 462 have “pursued educational
12
                     opportunities that I previously could not” because of DACA 42; and
13
                  c. An estimated 353 DACA recipients in the State of Delaware are currently
14

15                   pursuing a bachelor’s degree or higher. 43

16       48. Regarding American citizen family members:
17                a. An estimated 800 DACA recipients in the State of Delaware have an American
18
                     citizen sibling, spouse, or child. 44
19

20

21
             38
22               As a common rule, smaller sample sizes lead to greater uncertainty around estimates.
     https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
23   20Data/All%20Form%20Types/DACA/daca_population_data.pdf
              39
                 91.4% of 1,100.
              40
                 1,005 multiplied by $36,231.91. This translates into $2.3 million annually in Social Security
24
     contributions (6.2% per FICA) and $0.5 million annually in Medicare contributions (1.45% per FICA).
              41
                 44.9% of 1,100.
25            42
                 93.6 % of 494.
              43
                 71.5% of 494.
26            44
                 72.7% of 1,100.

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 1                            DACA Recipients in the District of Columbia
 2       49. As of September 4, 2017, there were 920 active DACA recipients in the District of
 3
             Columbia.45
 4
         50. Regarding employment and earnings:
 5
                 a. An estimated 841 DACA recipients in the District of Columbia are currently
 6

 7                   employed46; and

 8               b. The District of Columbia’s DACA recipients earn an estimated $30.5 million

 9                   annually.47
10
         51. Regarding education:
11
                 a. An estimated 413 DACA recipients in the District of Columbia are currently in
12
                     school48;
13
                 b. Among those currently in school, an estimated 387 have “pursued educational
14

15                   opportunities that I previously could not” because of DACA 49; and

16               c. An estimated 295 DACA recipients in the District of Columbia are currently
17                   pursuing a bachelor’s degree or higher. 50
18
         52. Regarding American citizen family members:
19
                 a. An estimated 669 DACA recipients in the District of Columbia have an
20

21

22            45
                 As a common rule, smaller sample sizes lead to greater uncertainty around estimates.
23   https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
     20Data/All%20Form%20Types/DACA/daca_population_data.pdf
              46
                 91.4% of 920.
24            47
                 841 multiplied by $36,231.91. This translates into $1.9 million annually in Social Security
     contributions (6.2% per FICA) and $0.4 million annually in Medicare contributions (1.45% per FICA).
25            48
                 44.9% of 920.
              49
                 93.6 % of 413.
26            50
                 71.5% of 413.

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 1                    American citizen sibling, spouse, or child. 51
 2

 3
                                    DACA Recipients in the State of Hawaii
 4
         53. As of September 4, 2017, there were 320 active DACA recipients in the State of
 5
             Hawaii.52
 6

 7       54. Regarding employment and earnings:

 8                a. An estimated 292 DACA recipients in the State of Hawaii are currently

 9                    employed53; and
10
                  b. The State of Hawaii’s DACA recipients earn an estimated $10.6 million
11
                      annually.54
12
         55. Regarding education:
13
                  a. An estimated 144 DACA recipients in the State of Hawaii are currently in
14

15                    school55;

16                b. Among those currently in school, an estimated 134 have “pursued educational
17                    opportunities that I previously could not” because of DACA56; and
18
                  c. An estimated 103 DACA recipients in the State of Hawaii are currently
19
                      pursuing a bachelor’s degree or higher. 57
20

21
             51
22               72.7% of 920.
             52
                 As a common rule, smaller sample sizes lead to greater uncertainty around estimates.
23   https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
     20Data/All%20Form%20Types/DACA/daca_population_data.pdf
              53
                 91.4% of 320.
24            54
                 292 multiplied by $36,231.91. This translates into approximately $0.7 million annually in Social
     Security contributions (6.2% per FICA) and $0.2 million annually in Medicare contributions (1.45% per FICA).
25            55
                 44.9% of 320.
              56
                 93.6 % of 144.
26            57
                 71.5% of 144.

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 1       56. Regarding American citizen family members:
 2                  a. An estimated 233 DACA recipients in the State of Hawaii have an American
 3
                        citizen sibling, spouse, or child. 58
 4

 5
                                      DACA Recipients in the State of Illinois
 6

 7       57. As of September 4, 2017, there were 35,600 active DACA recipients in the State of

 8           Illinois.59

 9       58. Regarding employment and earnings:
10
                    a. An estimated 32,538 DACA recipients in the State of Illinois are currently
11
                        employed60;
12
                    b. An estimated 1,922 DACA recipients in the State of Illinois are business
13
                        owners 61; and
14

15                  c. The State of Illinois’s DACA recipients earn an estimated $1.2 billion

16                      annually.62
17       59. Regarding education:
18
                    a. An estimated 15,984 DACA recipients in the State of Illinois are currently in
19
                        school63;
20
                    b. Among those currently in school, an estimated 14,961 have “pursued
21

22           58
                  72.7% of 320.
             59
23
     https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
     20Data/All%20Form%20Types/DACA/daca_population_data.pdf
24            60
                 91.4% of 35,600.
              61
                 5.4% of 35,600.
25            62
                 32,538 multiplied by $36,231.91. This translates into $73.1 million annually in Social Security
     contributions (6.2% per FICA) and $17.1 million annually in Medicare contributions (1.45% per FICA).
26            63
                 44.9% of 35,600.

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 1                     educational opportunities that I previously could not” because of DACA 64; and
 2                c. An estimated 11,429 DACA recipients in the State of Illinois are currently
 3
                       pursuing a bachelor’s degree or higher. 65
 4
         60. Regarding American citizen family members:
 5
                  a. An estimated 25,881 DACA recipients in the State of Illinois have an American
 6

 7                     citizen sibling, spouse, or child.66

 8

 9                                   DACA Recipients in the State of Iowa
10
         61. As of September 4, 2017, there were 2,500 active DACA recipients in the State of
11
             Iowa.67
12
         62. Regarding employment and earnings:
13
                  a. An estimated 2,285 DACA recipients in the State of Iowa are currently
14

15                     employed68;

16                b. An estimated 135 DACA recipients in the State of Iowa are business owners69;
17                     and
18
                  c. The State of Iowa’s DACA recipients earn an estimated $82.8 million
19
                       annually.70
20

21
             64
22               93.6 % of 15,984.
             65
                 71.5% of 15,984.
              66
23               72.7% of 35,600.
              67
                 As a common rule, smaller sample sizes lead to greater uncertainty around estimates.
     https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
24
     20Data/All%20Form%20Types/DACA/daca_population_data.pdf
              68
                 91.4% of 2,500.
25            69
                 5.4% of 2,500.
              70
                 2,285 multiplied by $36,231.91. This translates into $5.1 million annually in Social Security
26   contributions (6.2% per FICA) and $1.2 million annually in Medicare contributions (1.45% per FICA).

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 1       63. Regarding education:
 2                a. An estimated 1,123 DACA recipients in the State of Iowa are currently in
 3
                      school71;
 4
                  b. Among those currently in school, an estimated 1,051 have “pursued educational
 5
                      opportunities that I previously could not” because of DACA 72; and
 6

 7                c. An estimated 803 DACA recipients in the State of Iowa are currently pursuing a

 8                    bachelor’s degree or higher. 73

 9       64. Regarding American citizen family members:
10
                  a. An estimated 1,818 DACA recipients in the State of Iowa have an American
11
                      citizen sibling, spouse, or child.74
12

13
                               DACA Recipients in the State of Massachusetts
14

15       65. As of September 4, 2017, there were 5,900 active DACA recipients in the State of

16           Massachusetts.75
17       66. Regarding employment and earnings:
18
                  a. An estimated 5,393 DACA recipients in the State of Massachusetts are currently
19
                      employed76;
20
                  b. An estimated 319 DACA recipients in the State of Massachusetts are business
21

22
             71
23              44.9% of 2,500.
             72
                93.6 % of 1,123.
             73
                71.5% of 1,123.
24           74
                72.7% of 2,500.
             75
25   https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
     20Data/All%20Form%20Types/DACA/daca_population_data.pdf
26            76
                 91.4% of 5,900.

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 1                     owners 77; and
 2                 c. The State of Massachusetts’s DACA recipients earn an estimated $195.4
 3
                       million annually.78
 4
         67. Regarding education:
 5
                   a. An estimated 2,649 DACA recipients in the State of Massachusetts are currently
 6

 7                     in school79;

 8                 b. Among those currently in school, an estimated 2,480 have “pursued educational

 9                     opportunities that I previously could not” because of DACA 80; and
10
                   c. An estimated 1,894 DACA recipients in the State of Massachusetts are currently
11
                       pursuing a bachelor’s degree or higher. 81
12
         68. Regarding American citizen family members:
13
                   a. An estimated 4,289 DACA recipients in the State of Massachusetts have an
14

15                     American citizen sibling, spouse, or child.82

16

17                               DACA Recipients in the State of New Mexico
18
         69. As of September 4, 2017, there were 6,000 active DACA recipients in the State of New
19
              Mexico.83
20

21
              77
22               5.4% of 5,900.
              78
                 5,393 multiplied by $36,231.91. This translates into $12.1 million annually in Social Security
23   contributions (6.2% per FICA) and $2.8 million annually in Medicare contributions (1.45% per FICA).
              79
                 44.9% of 5,900.
              80
                 93.6 % of 2,649.
24            81
                 71.5% of 2,649.
              82
                 72.7% of 5,900.
25            83

     https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
26   20Data/All%20Form%20Types/DACA/daca_population_data.pdf

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 1       70. Regarding employment and earnings:
 2                 a. An estimated 5,484 DACA recipients in the State of New Mexico are currently
 3
                       employed84;
 4
                   b. An estimated 324 DACA recipients in the State of New Mexico are business
 5
                       owners 85; and
 6

 7                 c. The State of New Mexico’s DACA recipients earn an estimated $198.7 million

 8                     annually.86

 9       71. Regarding education:
10
                   a. An estimated 2,694 DACA recipients in the State of New Mexico are currently
11
                       in school87;
12
                   b. Among those currently in school, an estimated 2,522 have “pursued educational
13
                       opportunities that I previously could not” because of DACA 88; and
14

15                 c. An estimated 1,926 DACA recipients in the State of New Mexico are currently

16                     pursuing a bachelor’s degree or higher. 89
17       72. Regarding American citizen family members:
18
                   a. An estimated 4,362 DACA recipients in the State of New Mexico have an
19
                       American citizen sibling, spouse, or child. 90
20

21

22
              84
23               91.4% of 6,000.
              85
                 5.4% of 6,000.
              86
                 5,484 multiplied by $36,231.91. This translates into $12.3 million annually in Social Security
24
     contributions (6.2% per FICA) and $2.9 million annually in Medicare contributions (1.45% per FICA).
              87
                 44.9% of 6,000.
25            88
                 93.6 % of 2,694.
              89
                 71.5% of 2,694.
26            90
                 72.7% of 6,000.

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 1                               DACA Recipients in the State of New York
 2       73. As of September 4, 2017, there were 32,900 active DACA recipients in the State of
 3
             New York.91
 4
         74. Regarding employment and earnings:
 5
                  a. An estimated 30,071 DACA recipients in the State of New York are currently
 6

 7                   employed92;

 8                b. An estimated 1,777 DACA recipients in the State of New York are business

 9                   owners 93; and
10
                  c. The State of New York’s DACA recipients earn an estimated $1.1 billion
11
                     annually.94
12
         75. Regarding education:
13
                  a. An estimated 14,772 DACA recipients in the State of New York are currently in
14

15                   school95;

16                b. Among those currently in school, an estimated 13,827 have “pursued
17                   educational opportunities that I previously could not” because of DACA 96; and
18
                  c. An estimated 10,562 are currently pursuing a bachelor’s degree or higher. 97
19
         76. Regarding American citizen family members:
20

21
             91
22
     https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
23   20Data/All%20Form%20Types/DACA/daca_population_data.pdf
              92
                 91.4% of 32,900.
              93
                 5.4% of 32,900.
24            94
                 30,071 multiplied by $36,231.91. This translates into $67.5 million annually in Social Security
     contributions (6.2% per FICA) and $15.8 million annually in Medicare contributions (1.45% per FICA).
25            95
                 44.9% of 32,900.
              96
                 93.6 % of 14,772.
26            97
                 71.5% of 14,772.

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 1                  a. An estimated 23,918 DACA recipients in the State of New York have an
 2                      American citizen sibling, spouse, or child.98
 3

 4
                                DACA Recipients in the State of North Carolina
 5
         77. As of September 4, 2017, there were 25,100 active DACA recipients in the State of
 6

 7           North Carolina.99

 8       78. Regarding employment and earnings:

 9                  a. An estimated 22,941 DACA recipients in the State of North Carolina are
10
                        currently employed100;
11
                    b. An estimated 1,355 DACA recipients in the State of North Carolina are
12
                        business owners101; and
13
                    c. The State of North Carolina’s DACA recipients earn an estimated $831.2
14

15                      million annually.102

16       79. Regarding education:
17                  a. An estimated 11,270 DACA recipients in the State of North Carolina are
18
                        currently in school103;
19
                    b. Among those currently in school, an estimated 10,549 have “pursued
20

21

22           98
                  72.7% of 32,900.
             99
23
     https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
     20Data/All%20Form%20Types/DACA/daca_population_data.pdf
24            100
                  91.4% of 25,100.
              101
                  5.4% of 25,100.
25            102
                  22,941 multiplied by $36,231.91. This translates into $51.5 million annually in Social Security
     contributions (6.2% per FICA) and $12.1 million annually in Medicare contributions (1.45% per FICA).
26            103
                  44.9% of 25,100.

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 1                    educational opportunities that I previously could not” because of DACA 104; and
 2                 c. An estimated 8,058 DACA recipients in the State of North Carolina are
 3
                      currently pursuing a bachelor’s degree or higher. 105
 4
         80. Regarding American citizen family members:
 5
                   a. An estimated 18,248 DACA recipients in the State of North Carolina have an
 6

 7                    American citizen sibling, spouse, or child.106

 8

 9                                   DACA Recipients in the State of Oregon
10
         81. As of September 4, 2017, there were 10,200 active DACA recipients in the State of
11
             Oregon.107
12
         82. Regarding employment and earnings:
13
                   a. An estimated 9,323 DACA recipients in the State of Oregon are currently
14

15                    employed108;

16                 b. An estimated 551 DACA recipients in the State of Oregon are business
17                    owners 109; and
18
                   c. The State of Oregon’s DACA recipients earn an estimated $337.8 million
19
                      annually.110
20

21
             104
22               93.6 % of 11,270.
             105
                 71.5% of 11,270.
             106
23               72.7% of 25,100.
             107

     https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
24
     20Data/All%20Form%20Types/DACA/daca_population_data.pdf
              108
                  91.4% of 10,200.
25            109
                  5.4% of 10,200.
              110
                  9,323 multiplied by $36,231.91. This translates into $20.9 million annually in Social Security
26   contributions (6.2% per FICA) and $4.9 million annually in Medicare contributions (1.45% per FICA).

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                                     4431




 1       83. Regarding education:
 2                 a. An estimated 4,580 DACA recipients in the State of Oregon are currently in
 3
                      school111;
 4
                   b. Among those currently in school, an estimated 4,287 have “pursued educational
 5
                      opportunities that I previously could not” because of DACA 112; and
 6

 7                 c. An estimated 3,275 DACA recipients in the State of Oregon are currently

 8                    pursuing a bachelor’s degree or higher. 113

 9       84. Regarding American citizen family members:
10
                   a. An estimated 7,415 DACA recipients in the State of Oregon have an American
11
                      citizen sibling, spouse, or child.114
12

13
                               DACA Recipients in the State of Pennsylvania
14

15       85. As of September 4, 2017, there were 4,900 active DACA recipients in the State of

16           Pennsylvania.115
17       86. Regarding employment and earnings:
18
                   a. An estimated 4,479 DACA recipients in the State of Pennsylvania are currently
19
                      employed116;
20
                   b. An estimated 265 DACA recipients in the State of Pennsylvania are business
21

22
             111
23               44.9% of 10,200.
             112
                 93.6 % of 4,580.
             113
                 71.5% of 4,580.
24           114
                 72.7% of 10,200.
             115
25   https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
     20Data/All%20Form%20Types/DACA/daca_population_data.pdf
26            116
                  91.4% of 4,900.

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                                     4432




 1                    owners 117; and
 2                 c. The State of Pennsylvania’s DACA recipients earn an estimated $162.3 million
 3
                      annually.118
 4
         87. Regarding education:
 5
                   a. An estimated 2,200 DACA recipients in the State of Pennsylvania are currently
 6

 7                    in school119;

 8                 b. Among those currently in school, an estimated 2,059 have “pursued educational

 9                    opportunities that I previously could not” because of DACA 120; and
10
                   c. An estimated 1,573 DACA recipients in the State of Pennsylvania are currently
11
                      pursuing a bachelor’s degree or higher. 121
12
         88. Regarding American citizen family members:
13
                   a. An estimated 3,562 DACA recipients in the State of Pennsylvania have an
14

15                    American citizen sibling, spouse, or child. 122

16

17                             DACA Recipients in the State of Rhode Island
18
         89. As of September 4, 2017, there were 970 active DACA recipients in the State of Rhode
19
             Island.123
20

21
             117
22                5.4% of 4,900.
             118
                  4,479 multiplied by $36,231.91. This translates into $10.1 million annually in Social Security
23   contributions (6.2% per FICA) and $2.4 million annually in Medicare contributions (1.45% per FICA).
              119
                  44.9% of 4,900.
              120
                  93.6 % of 2,200.
24            121
                  71.5% of 2,200.
              122
                  72.7% of 4,900.
25            123
                  As a common rule, smaller sample sizes lead to greater uncertainty around estimates.
     https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
26   20Data/All%20Form%20Types/DACA/daca_population_data.pdf

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 1       90. Regarding employment and earnings:
 2                  a. An estimated 887 DACA recipients in the State of Rhode Island are currently
 3
                       employed124; and
 4
                    b. The State of Rhode Island’s DACA recipients earn an estimated $32.1 million
 5
                       annually.125
 6

 7       91. Regarding education:

 8                  a. An estimated 436 DACA recipients in the State of Rhode Island are currently in

 9                     school126;
10
                    b. Among those currently in school, an estimated 408 have “pursued educational
11
                       opportunities that I previously could not” because of DACA 127; and
12
                    c. An estimated 311 DACA recipients in the State of Rhode Island are currently
13
                       pursuing a bachelor’s degree or higher. 128
14

15       92. Regarding American citizen family members:

16                  a. An estimated 705 DACA recipients in the State of Rhode Island have an
17                     American citizen sibling, spouse, or child.129
18

19
                                    DACA Recipients in the State of Virginia
20
         93. As of September 4, 2017, there were 10,100 active DACA recipients in the State of
21

22

23            124
                  91.4% of 970.
              125
                  887 multiplied by $36,231.91. This translates into $1.9 million annually in Social Security
24
     contributions (6.2% per FICA) and $0.5 million annually in Medicare contributions (1.45% per FICA).
              126
                  44.9% of 970.
25            127
                  93.6 % of 436.
              128
                  71.5% of 436.
26            129
                  72.7% of 970.

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 1           Virginia.130
 2       94. Regarding employment and earnings:
 3
                   a. An estimated 9,231 DACA recipients in the State of Virginia are currently
 4
                      employed131;
 5
                   b. An estimated 545 DACA recipients in the State of Virginia are business
 6

 7                    owners 132; and

 8                 c. The State of Virginia’s DACA recipients earn an estimated $334.5 million

 9                    annually.133
10
         95. Regarding education:
11
                   a. An estimated 4,535 DACA recipients in the State of Virginia are currently in
12
                      school134;
13
                   b. Among those currently in school, an estimated 4,245 have “pursued educational
14

15                    opportunities that I previously could not” because of DACA 135; and

16                 c. An estimated 3,242 DACA recipients in the State of Virginia are currently
17                    pursuing a bachelor’s degree or higher. 136
18
         96. Regarding American citizen family members:
19
                   a. An estimated 7,343 DACA recipients in the State of Virginia have an American
20

21
             130
22
     https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
23   20Data/All%20Form%20Types/DACA/daca_population_data.pdf
              131
                  91.4% of 10,100.
              132
                  5.4% of 10,100.
24            133
                  9,231 multiplied by $36,231.91. This translates into $20.7 million annually in Social Security
     contributions (6.2% per FICA) and $4.8 million annually in Medicare contributions (1.45% per FICA).
25            134
                  44.9% of 10,100.
              135
                  93.6 % of 4,535.
26            136
                  71.5% of 4,535.

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 1                      citizen sibling, spouse, or child.137
 2

 3
                                  DACA Recipients in the State of Washington
 4
         97. As of September 4, 2017, there were 16,300 active DACA recipients in the State of
 5
             Washington.138
 6

 7       98. Regarding employment and earnings:

 8                  a. An estimated 14,898 DACA recipients in the State of Washington are currently

 9                      employed139;
10
                    b. An estimated 880 DACA recipients in the State of Washington are business
11
                        owners 140; and
12
                    c. The State of Washington’s DACA recipients earn an estimated $539.8 million
13
                        annually.141
14

15       99. Regarding education:

16                  a. An estimated 7,319 DACA recipients in the State of Washington are currently
17                      in school142;
18
                    b. Among those currently in school, an estimated 6,850 have “pursued educational
19
                        opportunities that I previously could not” because of DACA 143; and
20

21
             137
22                 72.7% of 10,100.
             138

23   https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%
     20Data/All%20Form%20Types/DACA/daca_population_data.pdf
              139
                  91.4% of 16,300.
24            140
                  5.4% of 16,300.
              141
                  14,898 multiplied by $36,231.91. This translates into $33.5 million annually in Social Security
25   contributions (6.2% per FICA) and $7.8 million annually in Medicare contributions (1.45% per FICA).
              142
                  44.9% of 16,300.
26            143
                  93.6 % of 7,319.

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                                     4436




 1                c. An estimated 5,233 DACA recipients in the State of Washington are currently
 2                    pursuing a bachelor’s degree or higher. 144
 3
        100.          Regarding American citizen family members:
 4
                  a. An estimated 11,850 DACA recipients in the State of Washington have an
 5
                      American citizen sibling, spouse, or child.145
 6

 7         I declare under penalty of perjury under the laws of the United States of America that

 8   the foregoing is true and correct to the best of my knowledge.

 9                                                                             Respectfully submitted,
10
                                                                       __________________________
11
                                                                                     Dr. Tom K. Wong
12
                                                                                         10/23/2017
                                                                       __________________________
13
                                                                                                     Date
14

15

16

17

18

19

20

21

22

23

24

25
           144
                 71.5% of 7,319.
26         145
                 72.7% of 16,300.

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The Economic and Fiscal Impact
of Repealing DACA
By IKE BRANNON and Logan Albright



Executive Summary

Donald Trump has proposed eliminating or severely modifying the Deferred Ac-
tion for Childhood Arrivals (DACA) program. Many Americans believe that the
presence of unauthorized immigrants is harmful to the economy and would like
to see steps taken to reduce their presence. However, a repeal or roll-back of
DACA would harm the economy and cost the U.S. government a significant
amount of lost tax revenue. We estimate that the fiscal cost of immediately de-
porting the approximately 750,000 people currently in the DACA program
would be over $60 billion to the federal government along with a $280 billion
reduction in economic growth over the next decade.

We arrived at our estimates by comparing and adjusting the characteristics of
DACA recipients to similarly well-educated immigrants admitted through the H-
1B visa program, a cohort that not only resembles the population of DACA recip-
ients but whose own economic impact has been well-studied. We use the esti-
mated Case
      budgetary     and economic
           1:17-cv-05228-NGG-VMS   impact
                                 Document   of H-1B
                                          97-1         visa workers
                                               Filed 12/15/17          and
                                                              Page 494 of 1603adjust
                                                                               PageID it
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                                              4439
flect the age and earnings differences between the two groups to calculate our
figures.

Background

President Obama created the DACA program in 2012 via executive action.
DACA’s objective was to allow American residents who entered the country ille-
gally as children to receive temporary protection from deportation, work per-
mits, and an incentive to invest in their own human capital. The program only
applies to those who have lived in the United States for five years or longer and
do not have a criminal record. Essentially, these are people who never knowing-
ly broke any law and have been productive and peaceful members of society
since their arrival. The logic of the Obama Administration in creating DACA is
that it makes little sense to expend time and resources trying to track down, ar-
rest, and deport these people when they have not committed any crime save for
being unwittingly brought across the border by others.

There is much legitimate debate in the United States over the role that immigra-
tion—both legal and illegal—plays in the economy, and what should be done
about border security. Inseparable from this problem is the question of what to
do with the undocumented immigrants already in the country, a sizeable popu-
lation that is estimated to number 11 to 12 million.[1]

President-Elect Donald Trump has taken an absolutist position on the issue,
vowing not only to build a wall with the intent of greatly reducing illegal entry
from the Mexican border, but also to unilaterally nullify President Obama’s ex-
ecutive actions dealing with immigration, including the action which spawned
DACA.

As with any sudden and dramatic shift in any policy, there are bound to be costs
associated with implementation, as well as after-effects of the policy, not all of
which are immediately intuitive. It is the goal of this paper to examine the costs
that theCase
         wholesale      repeal of DACA
             1:17-cv-05228-NGG-VMS     would
                                   Document 97-1 impose     on the
                                                  Filed 12/15/17   American
                                                                 Page 495 of 1603 economy,
                                                                                  PageID #:
                                              4440
both in terms of enforcement as well as the sudden loss of a large number of
residents and their contributions to the domestic economy.

Who Are the DACA Recipients?

Although there have been many previous studies on the costs and benefits of
immigration as a whole (we recently authored a review of such studies), it is im-
portant to note that we cannot simply assume that DACA recipients constitute a
representative sample of the immigrant population. In addition to the afore-
mentioned screening for criminal activity, workers in the DACA program tend to
be younger, better educated, and more highly paid than the typical immigrant.
To extrapolate from the studies on immigration in general, therefore, would sig-
nificantly underestimate the opportunity cost to the economy of deporting the
approximately 750,000 program participants, due to their higher level of
productivity.

We instead looked for another group that might more closely resemble the de-
mographic characteristics of those in the DACA program whose economic and
budgetary impacts on the economy is well established: the recipients of H-1B
visas, which are issued to skilled workers who are invited into the country to
fulfill specific economic needs. This coincidence is useful.

The average DACA recipient is 22 years old, employed, and earns about $17 an
hour. The majority are still students and 17 percent are pursuing an advanced
          [2]
degree.         By contrast, most recipients of H-1B visas are between 25 and 34 and
hold either a Bachelor’s Degree or a Master’s Degree. In short, they appear to be
a close reflection of what DACA recipients will look like a few years from now as
                                     [3]
they complete their educations.

While the comparison is not perfect, as no such comparison can be, calculating
costs under the assumption that DACA recipients are more like H-1B Visa hold-
ers than the general population of unauthorized immigrants will, we believe,
yield a Case
        more    accurate result. And
             1:17-cv-05228-NGG-VMS     given
                                   Document   that
                                            97-1    we12/15/17
                                                 Filed  know Page
                                                               the demographic
                                                                   496 of 1603 PageIDand
                                                                                      #: edu-
                                            4441
cational differences between the two groups we take those differences into ac-
count when estimating the fiscal and economic costs of repealing DACA.

Economic Costs

As of June 2016, U.S. Citizenship and Immigration Services has received 844,931
applications for the DACA program. Of these, 741,546 were accepted, with the
                                             [4]
rest either denied or pending approval.            It should be noted that the applicants
to DACA are asked to pay the administrative fees for background checks and
processing, so the administrative costs of implementing the program itself are
minimal. While the Obama Administration had announced its intention to ex-
pand the program last year, this is unlikely to occur under the Trump Adminis-
tration, so we will accept these numbers as representative of the affected
population.

Little research has been done on the effects of DACA itself, which is why we
have chosen to extrapolate the program’s economic impact from the research
done on holders of H-1B visas, who are demographically similar to workers in
the DACA program, as well as from the numerous studies on the economic ef-
fects of undocumented immigration generally.

One study on DACA itself was conducted by Nolan G. Pope and published in the
Journal of Public Economics in 2016. Nolan found that DACA moved between
50,000 and 75,000 immigrants into employment from either outside the formal
labor force or unemployment, and increased the average income of immigrants
                                               [5]
in the bottom of the income distribution.            This is a positive labor market out-
come for a number of reasons: working and earning a higher level of income in
the formal sector means that the DACA workers pay more taxes, both through
payroll, income, and sales as a result of greater consumption associated with
higher incomes. The Organization of Economic Co-operation and Development
(OECD)Case
       cited  employment as “the
           1:17-cv-05228-NGG-VMS     most97-1
                                 Document important     factor
                                              Filed 12/15/17    that
                                                             Page 497 weighs    on mi-
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grants’ net fiscal contributions,” so it is clear that any increase in immigrant em-
ployment will tend to result in a positive fiscal impact.[6]

A 2014 survey found that 59 percent of DACA recipients reported getting their
first job, 45 percent received a pay increase, 49 percent opened their first bank
account, and 33 percent got their first credit card due to their participating in
        [7]
DACA.         All of these factors contribute positively to the economy. But while the
survey also noted that recipients would be eligible for higher levels of educa-
tion, Pope’s research completed two years later found no correlation between
DACA participation and education, although it is possible that simply not
enough time has passed to observe an effect.

Turning more generally to the cost-benefit analysis of unauthorized immigra-
tion as a whole, the evidence suggests that the mere presence of undocumented
workers, especially non-criminals like those covered under DACA, is not nearly
as detrimental to the economy as most people suppose, and may actually be a
net benefit. Legalizing unauthorized immigrants and allowing them to partici-
pate in society as legal workers dramatically reduces government enforcement
                                                       [8]
costs and generates broader economic benefits.

Quantifying the Net Costs

Quantifying the costs of any action on immigration presents enormous difficul-
ties, due to the complexity and number of variables involved.

Alex Nowrasteh, a scholar at the Cato Institute, points out that while the eco-
nomic impact of immigration is large and positive, the fiscal impact tends to be
minimal. Nowrasteh also stresses the need to take into account the long-term ef-
fects of immigration, meaning the contributions of immigrants’ children and
grandchildren, which tend to be more positive than those of first generation im-
              [9]
migrants.
There are
      Caseunquantifiable    benefits
          1:17-cv-05228-NGG-VMS      from
                                Document   DACA
                                         97-1 Filed as well, Page
                                                    12/15/17 such498
                                                                   asofproviding    in-
                                                                        1603 PageID #:
                                              4443
creased access to private health insurance, driver’s licenses, and auto insurance,
all of which generate spillover benefits to the rest of society. This analysis also
leaves out the effects of simply having more productive minds in the country ca-
pable of producing innovations and increasing labor productivity. The data
show that immigrants start their own businesses and file patents at greater
                                       [10]
rates than native-born Americans.

The fiscal costs of DACA recipients are also minimal and comparable to the fis-
cal costs of H-1B workers.[11] Under current law, DACA recipients are ineligible
for means-tested welfare benefits provided by the federal government or fund-
ed through federal matching grants to the states.[12] Although states can extend
welfare benefits to DACA recipients if they choose to, few have done so. DACA
recipients, like everybody else in the United States, are eligible for emergency
Medicaid. Thus, DACA does not boost government welfare expenditures above
the level consumed by unauthorized immigrants.

To reiterate, we need to isolate DACA recipients—who tend to be more educat-
ed, younger, and less prone to criminal activity—from the general population of
unauthorized immigrants to derive an accurate estimate of DACA’s impact. To
do this, we begin by comparing them to the holders of H-1B visas, the work per-
mits issued for high-skilled labor. The main difference between the two groups
is age, with H-1B visa holders being on average 3 to 12 years older. With this age
gap also comes the concomitant difference in education and earnings, which we
can adjust for in our calculations.

Thomas Church, a senior fellow at the Hoover Institution, estimates that ex-
panding the H-1B visa program over a ten year period would increase GDP by
$456 billion and tax revenues by $113 billion, assuming that 660,000 new H-1B
                                                     [13]
immigrants would arrive over the decade.                    Church obtains his results by tak-
ing the mean wages for H-1B immigrants, assuming an average wage growth of
3 percent per year, and applying the appropriate tax rates.
ChurchCase
       also1:17-cv-05228-NGG-VMS
             incorporates income     accrued
                                 Document 97-1 to  capital
                                               Filed 12/15/17from
                                                               Pagethese    workers,
                                                                    499 of 1603        using
                                                                                PageID #:
                                             4444
the relatively stable historical averages calculated by the Congressional Budget
Office. Multiple studies have been conducted on the impact of immigration on
native wages, and the results have been both positive and negative, albeit small
in either direction. There is also some evidence that the presence of immigrant
workers can increase purchasing power by reducing consumer prices. Given
these conflicting and minor findings, Church has not included wage or purchas-
ing power effects in his calculations, and we have done the same.

We take Church’s estimate as our baseline and begin by adjusting it to reflect
the 741,546 participants in the DACA program—which is a bit more than his H-
1B expansion called for—producing an estimated GDP gain of $512 billion and a
budgetary impact of $127 billion.

However, since the average wages of DACA participants are lower than H-1B im-
migrants, we corrected these values to reflect the relative youth and inexperi-
ence of DACA immigrants. DACA participants earn an average of $34,000 annu-
ally and H-1B participants an average of $72,000 annually, a ratio of 47 percent.
Applying this ratio to the economic and fiscal costs above yields an economic
impact of $215 billion and a fiscal impact of $60 billion.

We feel this is a conservative estimate due to the fact that many DACA immi-
grants are young and still acquiring education credentials that will boost wages
later. DACA immigrants are less like H-1B immigrants at half the salary, and
more like younger H-1B workers. Additionally, the higher tax brackets associat-
ed with higher incomes would increase DACA immigrants’ fiscal contributions
at a greater rate than the increase in salary. In other words, doubling the wages
of DACA participants would more than double their contributions to state and
federal budgets. Thus, a life-cycle comparison of the wages of the two groups
would produce a narrower difference.
                                                                                   [14]
For comparison,    an influentialDocument
      Case 1:17-cv-05228-NGG-VMS  study by   theFiled
                                          97-1    National
                                                      12/15/17 Research
                                                                Page 500 of Council
                                                                            1603 PageID #:exam-
                                               4445
ined the present value fiscal impact of immigration in the United States, with an
emphasis on long-term impact. The study points out that immigrants become
more productive over time as they learn new skills and become more fluent in
English. The authors concluded that the average immigrant will have a net long-
term impact on state, local and federal budgets of $80,000, which includes tax
payments as well as the impact of the children of immigrants, who tend to be
less costly—and higher-earning—than their parents. Multiplying this estimate
by the number of DACA recipients produces an estimated fiscal impact of $59.3
billion, nearly identical to the $60 billion fiscal impact we derived from the
Hoover study.

We also need to add the actual cost of deportation for current DACA recipients
to the fiscal and economic estimates. For this we borrow from a study from the
Center for American Progress that estimates the marginal deportation costs at
                                    [15]
just over $10,000 per removal.             The total deportation cost would then be $7.5
billion.

Summing these numbers produces a total cost estimate of immediately eliminat-
ing the DACA program and deporting its participants of $283 billion over 10
years. In other words, the United States economy would be poorer by more than
a quarter of a trillion dollars if President Trump were to make good on his
threat to repeal it.

There are other variables that potentially impact both the costs and benefits of
immigrant workers, and the further into the future we attempt to project such
costs and benefits the more difficult accurate estimates become. For example,
our calculation used only the current number of DACA recipients, but it is esti-
mated that there could be another one million eligible residents who have not
                                                                    [16]
yet applied for, or received, membership in the program.                   We do not make
any forecast regarding whether this cohort would eventually take advantage of
the program and instead assume none of them would do so.
Likewise,
      Caseassuming     immediateDocument
           1:17-cv-05228-NGG-VMS deportation    instead
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                                                    12/15/17  a temporary      reversion
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                                            4446
undocumented status changes the calculus as well, considering the costs that re-
sult from people trying to live outside the law. This would need to be taken into
account.

Alex Nowrasteh of Cato suggested that it is probably more realistic to assume
that upon a repeal of DACA the newly unauthorized immigrants would predom-
inantly remain in the United States and pursue employment illegally, at wages
10 percent to 20 percent less than they earned legally. If we combined that with
a similar reduction in employment levels then the resulting economic impact
                                                                                   [17]
would be a bit less—in the range of $60-$100 billion—but still significant.

Regardless of the response, it is clear that there is a significant fiscal and eco-
nomic cost to the immediate repeal of DACA, one borne by all of the nation’s res-
idents and not just by those whose lives would be upended by such a move. This
suggests that it would make more sense to focus immigration enforcement ef-
forts elsewhere—if indeed the aim is to protect American national sovereignty,
as well as the life, liberty, and private property of Americans.

Small Gains, Big Costs

There are valid reasons to be concerned about unauthorized immigration in the
United States. The DACA program, however, screens out anyone with a criminal
past as part of its core eligibility requirements. DACA participants are not eligi-
ble for means-tested welfare benefits or Obamacare subsidies.

Since DACA applicants pay their own processing fees, the program itself does
not have an administrative cost, and so the only costs we need to evaluate are
those that stem from having these people in the country in the first place. We
submit that any such costs are far outweighed by the benefits that come from
immigrants who are able to work openly and legally, pay taxes, support entitle-
ment programs, create jobs, innovate, and sire children who will one day do the
same.
The deportation    of DACA participants
      Case 1:17-cv-05228-NGG-VMS          would
                                 Document 97-1     cost
                                               Filed     the American
                                                     12/15/17              economy
                                                              Page 502 of 1603 PageID #:bil-
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lions of dollars, as well as billions of tax dollars foregone, while doing little to
address the true concerns that Americans may have about unauthorized
immigrants.


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Topics: International Economics, Development & Immigration

Tags: immigration, DACA, Trump




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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

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     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
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     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
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     DONALD TRUMP, in his official
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     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
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     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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                           DECLARATION OF DEIRDRE HEATWOLE


   I, Deirdre Heatwole, declare as follows:

           1.     I am General Counsel for the University of Massachusetts (“UMass” or

   “University”). UMass is a public land grant university with five campuses located in Amherst,

   Boston, Dartmouth, Lowell, and Worcester, Massachusetts. I have been employed at the

   University in this capacity since 2008. Previously I was employed as Associate Counsel for the

   University since 1988. My current duties generally include managing legal services for the

   University; providing advice and representation for University administration; informing

   University employees and officers regarding compliance, risk management, and state and federal

   laws.

           2.     I have either personal knowledge of the matters set forth below or, with respect to

   those matters for which I do not have personal knowledge, I have reviewed information gathered

   from University records by others within the organization.

           3.     The University’s campuses offer vibrant learning environments that welcome

   diverse people, ideas, and perspectives. We encourage the application and enrollment of

   undocumented students and students granted Deferred Action for Childhood Arrivals (DACA).

           4.     Since the DACA program went into effect in 2012, many colleges and

   universities, including UMass campuses, have seen the critical benefits of this program for our

   students and the positive impacts on our institutions.

           5.     Terminating the DACA program will have a negative impact on the University,

   its students, and faculty. DACA recipients enrolled at UMass campuses are eligible for in-state

   tuition and various scholarships. Without access to this financial assistance, and with the

   likelihood that they will not be able to work legally upon graduation, some DACA beneficiaries

                                                    1
Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 532 of 1603 PageID #:
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   may not apply or enroll at the University in the first place. Many of those DACA students who

   already have enrolled will not be able to afford to continue their education. Graduate students, in

   particular, will be significantly affected as the loss of employment authorization needed for

   Graduate Assistantship (Research or Teaching) will likely mean the loss of tuition waivers and

   fringe benefits such as subsidized health/dental/eye care insurance for the DACA Graduate

   student and their families.

          6.      Additionally, any undergraduate or graduate program that requires employment

   authorization to complete elements of the program such as paid internships, residency training

   and Graduate Assistantships, such as Research (RA) and Teaching (TA) positions, will be

   severely impacted by the loss of work authorization. Inability to work may, in certain

   circumstances, prevent a DACA student from meeting the academic requirements of their degree

   programs, especially in the “bench sciences” that require significant lab work to complete

   research needed for Masters and Ph.D. degrees. Graduate RAs and TAs perform significant

   functions for the University, the loss of which will negatively impact both faculty who rely on

   their research to advance scholarship, and students who rely on their teaching duties to complete

   lower level course curriculum requirements.

          7.      If new DACA students do not enroll, or current DACA students are forced to drop

   out, the University will lose the benefit of the special contributions and perspectives that these

   special young people bring to our campus communities as both students and alumni. If current

   DACA students are forced to drop out, UMass will also lose the value of the financial assistance

   and the other resources UMass has invested in educating students who ultimately are not able to

   graduate.




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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
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     DISTRICT OF COLUMBIA,
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     CITIZENSHIP AND IMMIGRATION
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     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 535 of 1603 PageID #:
                                     4480



                           DECLARATION OF DEIRDRE HEATWOLE


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   “University”). UMass is a public land grant university with five campuses located in Amherst,

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   likelihood that they will not be able to work legally upon graduation, some DACA beneficiaries

                                                    1
Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 536 of 1603 PageID #:
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   may not apply or enroll at the University in the first place. Many of those DACA students who

   already have enrolled will not be able to afford to continue their education. Graduate students, in

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   Graduate Assistantship (Research or Teaching) will likely mean the loss of tuition waivers and

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   severely impacted by the loss of work authorization. Inability to work may, in certain

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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
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     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
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     capacity as President of the United
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     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
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     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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                   EXHIBIT 21
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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 1      Pursuant to 28 U.S.C. § 1746(2), I, Sarah Conly, hereby declare as follows:
 2      I. I am over the age of eighteen and competent to testify herein.
 3
        2. I am employed at the Washington Department of Veterans Affairs (WDVA). My job title
 4         is Human Resources Director. My position is responsible to manage and integrate the
           human resources and payroll offices statewide. I have administrative responsibility for
 5         developing, implementing and maintaining a foll range of human resource and payroll
           programs and services including planning, recrnitment, benefits, leave, compensation,
 6         contracts, classification, training, disciplinary actions, affirmative action/equal employment
 7         opporhmities, employee and labor relations, complaint investigations, and adherence to
           applicable laws and regulations.
 8
        3. There are at least one employee at the WDVA located at the Washington Soldiers Home
 9         (WSH) who is a recipient of Deferred Action for Childhood Arrivals (DACA).
10      4. One DACA recipient is employed as a Nursing Assistant - Certified (NAC). That
11         employee's job description is to assist in delivery of nursing and nursing related care to
           residents of the WSH. In accordance with current standards of practice, the NAC assists or
12         supervises assigned residents with activities of daily living, i.e., bathing, dressing,
           grooming, hygiene, toileting and eating at a long term care facility. The NAC promotes
13         resident-centered care and ensures that the veterans are treated with dignity and respect.
14      5. WDVA spends time and resources to recruit, hire, train, and supervise employees. When
15         any employee departs, it creates disruption for our agency and costs us time and resources
           to replace and train that person.
16
        6. The termination ofDACA will be disrnptive to operations and cause us to expend additional
17         resources.
18
        I declare under penalty of perjury that the foregoing is true and correct.
19
20                                                  Executed on this 21 day of September, 2017
21
22
                                                    Sarah Conly
23
24
25
26

     DECLARATION OF SARAH CONLY                                           ATTORNEY GENERAL OF WASHINGTON
                                                                                800 Fifth Avenue, Suiie 2000
                                                                                  Seattle, WA98104-3188
                                                                                       (206) 464-7744
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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   DECLARATION OF ALFRED MATHEWSON AND SERGIO PAREJA, CO-DEANS OF THE
                UNIVERSITY OF NEW MEXICO SCHOOL OF LAW


   Pursuant to 28 U.S.C. Sec. 1746, I, Alfred Mathewson, hereby declare:
      1. I am over the age of 18 and competent to testify.

      2. I was named one of two co-deans of the University of New Mexico (UNM) School of

   Law in August 2015.

      3. I joined the UNM law faculty in 1983 after working as a corporate, securities and

   banking lawyer in Denver.
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      4. From 1997 through 2002, I was Associate Dean of Academic Affairs, overseeing the Law

   School curriculum, clinical law program, faculty appointments, the faculty promotion and tenure

   process, library, faculty development and related issues. I directed the UNM Africana Studies

   program from 2009 through 2014.



   Pursuant to 28 U.S.C. Sec. 1746 I, Sergio Pareja, hereby declare:

      5. I am over the age of 18 and competent to testify.

      6. I was named one of two co-deans of the UNM School of Law in August 2015.

      7. My career includes nearly nine years in private practice in Colorado and Indiana,

   including work as a partner in the tax department of a large Denver law firm prior to my tenure

   at the UNM School of Law.

      8. In practice I specialized in federal individual and corporate income tax planning, state

   and local tax matters, and estate and gift tax planning. These subjects remain the focus of my

   teaching and scholarly activities.

                               JOINT CONCERNS OF THE CO-DEANS

      9. As the two co-deans of UNM Law School, the only law school in the State of New

   Mexico, we and our faculty colleagues have consistently and proudly strengthened the diversity

   of our student body, including diversity of national origin.

      10. We regularly admit a cohort of 110 - 120 first-year law students to join a student body

   totaling approximately 350 students. Our longstanding policy has been to do so without regard to

   immigration status. This is consonant with our core values of diversity and inclusion on the

   basis of gender, race, religion, nationality, sexual orientation, physical ability, class background,

   and political opinion. Such diversity enriches the teaching and learning experience for all our
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   faculty and students. It also helps ensure that UNM School of Law graduates will have the

   cultural and legal skills to serve the needs of our diverse state, nation, and world.

      11. Our non-discriminatory admissions policy is also required by New Mexico State law,

   NMSA 1978, Sec. 21-1-4.6. New Mexico post-secondary institutions are prohibited from

   discriminating on the basis of immigration status. Thus it is our legal duty and our educational

   mission to ensure that we help all our students succeed academically, professionally, and

   personally, regardless of citizenship or immigration status.

      12. The Law School plays a significant role in the New Mexico legal system. The dean is

   designated by the constitution of the State of New Mexico to chair the judicial selection process,

   and by statute to chair the Judicial Compensation Commission. The Law School also has

   primary responsibility for all judicial education in New Mexico.

      13. The School of Law’s academic program includes the opportunity to pursue a Joint

   Degree in Law and Latin American Studies, as well as opportunities to study abroad.

      14. We offer exchange programs in Mexico, Canada, and Australia (Tasmania).

      15. In addition, the Law School conducts a summer law program in Spain, where we

   administer the UNM School of Law Program in Madrid, and has been a member of consortium

   of law schools for a summer program in Guanajuato, Mexico.

      16. Because New Mexico shares a border with Mexico, we have established a close

   relationship with Mexican attorneys, working together to resolve disputes in the areas of

   international, immigration, and refugee law.

      17. Our tuition for the 2017-18 academic year is just over $16,500 for in-state and $36,000

   for non-residents, making the UNM School of Law an economically accessible opportunity for

   students.
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      18. The educational programs and careers of some UNM Law School students may be

   interrupted if the Deferred Action on Childhood Arrivals (DACA) program is rescinded or

   limited.

      19. If DACA is rescinded or limited, some of our students and other members of their

   families may face a heightened risk of removal from the United States, or potentially lose

   employment and/or career opportunities.

      20. In September 2017, our Law School organized a Teach-In on the proposed DACA

   rescission for students, faculty, staff and families. A panel of faculty, staff and local attorneys

   discussed the impact of the DACA rescission. Panelists and guests expressed and acknowledged

   the insecurity that certain members of our community face with regard to their legal status,

   economic livelihood, and emotional health.

      21. Our law school community is founded on principles of fairness, due process, equity, and

   free expression. We also pride ourselves in the mutual respect and compassion we show to one

   another. We value diversity in multiple dimensions, including political opinion, race and ethnic

   background, and national origin. The celebration of such diversity is our heritage as a state that

   shares a national border with Mexico and includes 23 recognized indigenous tribes and nations.

   The preservation of such diversity is essential to the continuing mission of the UNM School of

   Law to educate future lawyers who will increase access to justice locally, nationally, and

   internationally.
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   I declare under penalty of perjury that the foregoing is true and correct.


   Executed this 26th day of September 2017.




   Alfred Mathewson                              Sergio Pareja
   Dean and Professor of Law                     Dean and Professor of Law
   UNM School of Law                             UNM School of Law
   1117 Stanford NE                              1117 Stanford NE
   Albuquerque, NM 87131                         Albuquerque NM 87131
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 559 of 1603 PageID #:
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     DECLARATION OF THE MASSACHUSETTS STATE UNIVERSITY PRESIDENTS

  We, the undersigned Presidents of the nine Massachusetts state universities, declare as follows:

        1.    We have personal knowledge of the information set forth below. With respect to

  matters for which we do not have personal knowledge, we have worked with state university

  personnel to gather and review the information.

        2.    The nine state universities, along with the five campuses of the University of

  Massachusetts and fifteen community colleges, comprise the 29 institutions of the Massachusetts

  Public Higher Education system. Mass. Gen. Laws Chapter 15A, § 5.

        3.    While the universities were founded nearly 200 years ago as normal schools, we now

  educate over 70,000 students annually in undergraduate and graduate programs in hundreds of

  disciplines, ranging from teaching and health care to the physical and life sciences, and from

  marine engineering and industrial design to information technology and game design. We also

  have three specialized colleges: Massachusetts College of Liberal Arts, Massachusetts Maritime

  Academy and Massachusetts College of Art and Design, the only freestanding public art school in

  the country.

        4.    With an average annual tuition and fees of just over $9,000, the state universities offer

  their students the most affordable four year undergraduate education in the Commonwealth and

  provide high quality, affordable pathways to scores of graduate programs.

        5.    We believe that all persons, particularly those who face socioeconomic barriers to

  opportunity and advancement, have the ability to contribute to the economic, social and civic life

  of their communities. Accordingly, the state universities have long welcomed students regardless

  of their race, national origin, citizenship or immigration status.

        6.    To that end, the universities have embraced students enrolled pursuant to the Deferred

  Action for Childhood Arrivals (“DACA”) program. We do not believe that one’s country of


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  origin, citizenship or immigration status need be a barrier to success. To the contrary, we strive to

  provide affordable pathways to undergraduate and advanced degrees to anyone who wishes to

  obtain them.

        7.    In Massachusetts, DACA-enrolled students are eligible for in-state tuition and fees.

  DACA-enrolled and undocumented students are not eligible, however, for other state, federal, or

  institutional financial aid that is need-based. Accordingly, the DACA program has afforded a

  financial opportunity, in the form of in-state tuition and fees, to these students without which they

  may not be able to enjoy the full advantages of a state university education.

        8.    In our experience, DACA-enrolled and undocumented students have to work to be able

  to afford their education, despite their academic strengths. In addition to obtaining work, they

  often must support family members. The DACA program has helped to ease this financial burden

  not only in terms of the in-state tuition rate, but also by providing work authorization which is

  necessary for these students to work, including higher-paying academic internships and

  placements. By providing this financial relief, and by protecting the students from deportation for

  a defined period of time, our DACA-enrollees experience less stress and anxiety, and are able to

  focus their attention on their academic work and bettering their chances at obtaining their future

  goals.

        9.    While the universities do not collect or maintain information on students with DACA

  status, we know that numerous DACA students are enrolled within our nine-campus system.

      10.     The Attorney General’s September 5th announcement of the President’s intention to

  end the DACA program has caused visible stress, anxiety, anger and fear among our students,

  parents, siblings and the administrators who support them. Since those actions, students have not

  only raised concerns about themselves, but also their parents and family members. Some students

                                                    2
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  have expressed significant concern that just by identifying themselves as DACA-enrollees to the

  universities, the students have exposed their parents to the risk of arrest or deportation.

      11.     In fact, in preparation of this Declaration, our own university administrators have been

  unwilling to discuss - even when in compliance with state and federal privacy laws - the issues

  faced by DACA-enrolled students for fear that anything they say may expose the students to the

  possibility of deportation.

      12.     The students, faculty and staff of the state university community will suffer if the

  DACA program is eliminated. Some members of this community will be deported, causing them

  to leave the only home that some of them have known and to suspend – if not conclude - their

  academic pursuits. Members of this community will lose their ability to work, and, consequently,

  their ability not only to pay for their education, but to feed and house their families.

      13.     Moreover, the loss of our DACA-enrollees will undermine the universities’

  commitment to providing an affordable higher education to all who seek it, regardless of race,

  national origin, citizenship or immigration status. Diversity is one of our core values; we strive to

  provide learning and working environments in which the ideas, values, perspectives, and

  contributions of all students and employees are respected. When we lose the perspectives of any

  distinct group, our community deteriorates.

      14.     On September 5, 2017, only moments after the Attorney General’s announcement, our

  Executive Officer, on our behalf, wrote to the leadership of the Massachusetts legislature to

  implore them to act immediately to pass legislation that would permit the 29 public institutions of

  higher education to continue to offer in-state tuition to those undocumented students who have

  qualified under DACA, regardless of any change to or elimination of the program by the federal

  government. We are committed to our DACA students, and we are fighting to keep them enrolled.

                                                     3
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  SIGNED UNDER THE PAINS AND PENALITES OF PERJURY THIS 22nd DAY OF
  SEPTEMBER, 2017,



  By:                                        By:
          Frederick W. Clark                       Richard Lapidus
          President                                President
          Bridgewater State University             Fitchburg State University




  By:                                        By:
          F. Javier Cevallos                       David P. Nelson
          President                                President
          Framingham State University              Massachusetts College of Art and
                                                   Design




  By:                                        By:
          Francis McDonald                         James Birge
          President                                President
          Massachusetts Maritime                   Massachusetts College of
          Academy                                  Liberal Arts




  By:                                        By:
          John Keenan                              Ramon S. Torrecilha
          President                                President
          Salem State University                   Westfield State University




  By:
          Barry Maloney
          President
          Worcester State University
                                         4
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
     OREGON, PENNSYLVANIA,                     (NGG) (JO)
     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

     DONALD TRUMP, in his official
     capacity as President of the United
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     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     STATES OF NEW YORK,
     MASSACHUSETTS,
     WASHINGTON, COLORADO,
     CONNECTICUT, DELAWARE,
     DISTRICT OF COLUMBIA,
     HAWAII, ILLINOIS, IOWA, NEW
     MEXICO, NORTH CAROLINA,                   CIVIL ACTION NO. 1:17-cv-05228
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     RHODE ISLAND, VERMONT, and
     VIRGINIA,

                           Plaintiffs,

                v.

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     capacity as President of the United
     States; U.S. DEPARTMENT OF
     HOMELAND SECURITY; ELAINE
     C. DUKE, in her official capacity; U.S.
     CITIZENSHIP AND IMMIGRATION
     SERVICES; U.S. IMMIGRATION
     AND CUSTOMS ENFORCEMENT;
     and the UNITED STATES OF
     AMERICA,

                           Defendants.
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DACA Recipients’ Economic and Educational Gains Continue to Grow - Center for American Progress
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IMMIGRATION



DACA Recipients’ Economic and
Educational Gains Continue to Grow
By Tom K. Wong, Greisa Martinez Rosas, Adam Luna, Henry Manning, Adrian Reyna, Patrick O’Shea, Tom Jawetz, and
Philip E. Wolgin | Posted on August 28, 2017, 9:01 am




AP/Craig Ruttle

Activists supporting Deferred Action for Childhood Arrivals (DACA) and other immigration issues gather near Trump Tower in New York,
August 2017.


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Note: The survey results can be found here. For more information on the survey, please contact Tom K. Wong.


Since it was ﬁrst announced on June 15, 2012, the Deferred Action for Childhood Arrivals (DACA) policy
has provided temporary relief from deportation as well as work authorization to approximately
800,000 undocumented young people across the country. As research has consistently shown, DACA
has not only improved the lives of undocumented young people and their families but has also
positively aﬀected the economy more generally, which beneﬁts all Americans.


From August 1, 2017 to August 20, 2017, Tom K. Wong of the University of California, San Diego; United
We Dream (UWD); the National Immigration Law Center (NILC); and the Center for American Progress
ﬁelded a national survey to further analyze the economic, employment, educational, and societal
experiences of DACA recipients. This is the largest study to date of DACA recipients with a sample size
of 3,063 respondents in 46 states as well as the District of Columbia.


The data illustrate that DACA recipients continue to make positive and signiﬁcant contributions to the
economy, including earning higher wages, which translates into higher tax revenue and economic
growth that beneﬁts all Americans. In addition, DACA recipients are buying cars, purchasing their ﬁrst
homes, and even creating new businesses. The survey’s results also show that at least 72 percent of
the top 25 Fortune 500 companies employ DACA recipients. Moreover, 97 percent of respondents are
currently employed or enrolled in school.


DACA’s impact on employment
Work authorization is critical in helping DACA recipients participate more fully in the labor force. The
data show that 91 percent of respondents are currently employed. Among respondents age 25 and
older, employment jumps to 93 percent.


After receiving DACA, 69 percent of respondents reported moving to a job with better pay; 54 percent
moved to a job that “better ﬁts my education and training”; 54 percent moved to a job that “better ﬁts
my long-term career goals”; and 56 percent moved to a job with better working conditions.


We also see that 5 percent of respondents started their own business after receiving DACA. Among
respondents 25 years and older, this climbs to 8 percent. As the 2016 survey noted, among the


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American public as a whole, the rate of starting a business is 3.1 percent, meaning that DACA recipients
are outpacing the general population in terms of business creation.


As one respondent stated, “I started a bookkeeping business which gives me the opportunity to help
our Hispanic community be in compliance with tax law […] If DACA ended, I will not be able to keep my
small business and help my community.”


Another respondent stated, “Because of DACA, I opened a restaurant. We are contributing to the
economic growth of our local community. We pay our fair share of taxes and hire employees […] It will
be hard to maintain my business if DACA ended. I depend on my [social security number] for a lot of
my business, such as when getting licenses, permits, leases, and credit.”


DACA’s impact on earnings
The data make clear that DACA is having a positive and signiﬁcant eﬀect on wages. The average hourly
wage of respondents increased by 69 percent since receiving DACA, rising from $10.29 per hour to
$17.46 per hour. Among respondents 25 years and older, the average hourly wage increased by 84
percent since receiving DACA.


The data also show that respondents’ average annual earnings come out to $36,232, and their median
annual earnings total $32,000. Among respondents 25 years and older, the ﬁgures are $41,621 and
$37,595, respectively. These higher wages are not just important for recipients and their families but
also for tax revenues and economic growth at the local, state, and federal levels.


Last year, we noted that further research is needed to parse out the short- and long-run wage eﬀects
of DACA as well as whether short-run gains represent a plateau in earnings or if more robust long-run
wage eﬀects may exist. This remains true. However, as DACA recipients are now further along in their
careers, and as we continue to see growth in their earnings, it is likely there is even more room for
recipients’ wages to grow.


The immediate impact of wage increases is evident in 69 percent of survey respondents reporting that
their increased earnings have “helped me become ﬁnancially independent” and 71 percent reporting
that their increased earnings have “helped my family ﬁnancially.” Among respondents 25 years and
older, these percentages rise to 73 percent and 74 percent, respectively.

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DACA’s impact on the economy
The purchasing power of DACA recipients continues to increase. In the 2017 study, nearly two-thirds of
respondents, or 65 percent, reported purchasing their ﬁrst car. The average cost paid was $16,469. As
we have noted previously, these large purchases matter in terms of state revenue, as most states
collect a percentage of the purchase price in sales tax, along with additional registration and title fees.
The added revenue for states comes in addition to the safety beneﬁts of having more licensed and
insured drivers on the roads.


The data also show that 16 percent of respondents purchased their ﬁrst home after receiving DACA.
Among respondents 25 years and older, this percentage rises to 24 percent. The broader positive
economic eﬀects of home purchases include the creation of jobs and the infusion of new spending in
local economies.


Additionally—and importantly—the data show that at least 72 percent of the top 25 Fortune 500
companies—including Walmart, Apple, General Motors, Amazon, JPMorgan Chase, Home Depot, and
Wells Fargo, among others—employ DACA recipients. All told, these companies account for $2.8 trillion
in annual revenue.


DACA’s impact on education
Overall, 45 percent of respondents are currently in school. Among those currently in school, 72 percent
are pursuing a bachelor’s degree or higher. The majors and specializations that respondents report
include accounting, biochemistry, business administration, chemical engineering, civil engineering,
computer science, early childhood education, economics, environmental science, history, law,
mathematics, mechanical engineering, neuroscience, physics, psychology, and social work, to name a
few.


When it comes to educational attainment, 36 percent of respondents 25 years and older have a
bachelor’s degree or higher. Importantly, among those who are currently in school, a robust 94 percent
said that, because of DACA, “I pursued educational opportunities that I previously could not.”


Conclusion
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Our ﬁndings could not paint a clearer picture: DACA has been unreservedly good for the U.S. economy
and for U.S. society more generally. Previous research has shown that DACA beneﬁciaries will
contribute $460.3 billion to the U.S. gross domestic product over the next decade—economic growth
that would be lost were DACA to be eliminated.


As our results show, the inclusion of these young people has contributed to more prosperous local,
state and national economies; to safer and stronger communities through increased access to cars and
home ownership; and to a more prepared and educated workforce for the future. Ending DACA now
would be counterproductive at best and, at worst, cruel. At present, 800,000 lives—as well as the lives
of their families and friends—hang in the balance. At a time when the continuing existence of DACA is
facing its most serious threat ever, understanding the beneﬁts of the program for recipients; their
families and communities; and to the nation as a whole is all the more important.


Tom K. Wong is associate professor of political science at the University of California, San Diego. Greisa
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Manning is research fellow, and Adrian Reyna is director of membership and technology strategies at United
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is vice president for Immigration Policy and Philip E. Wolgin is managing director for Immigration Policy at
the Center for American Progress.


The authors thank all those who took the survey for their time and eﬀort in helping to bring these stories to
light.


Methodology
The questionnaire was administered to an online panel of DACA recipients recruited by the partner
organizations. Several steps were taken to account for the known sources of bias that result from such
online panels. To prevent ballot stuﬃng—one person submitting multiple responses—the authors did
not oﬀer an incentive to respondents for taking the questionnaire and used a state-of-the-art online
survey platform that does not allow one IP address to submit multiple responses. To prevent spoiled
ballots—meaning, people responding who are not undocumented—the authors used a unique
validation test for undocumented status. Multiple questions were asked about each respondent’s
migratory history. These questions were asked at diﬀerent parts of the questionnaire. When repeated,


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the questions were posed using diﬀerent wording. If there was agreement in the answers such that
there was consistency regarding the respondent’s migratory history, the respondent was kept in the
resulting pool of respondents. If not, the respondent was excluded. In order to recruit respondents
outside of the networks of the partner organizations, Facebook ads were also used. Because there is
no phone book of undocumented immigrants, and given the nature of online opt-in surveys, it is not
possible to construct a valid margin of error.




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New Study of DACA Beneficiaries Shows Positive Economic and Educational Outcomes - Center for American Progress
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IMMIGRATION



New Study of DACA Beneficiaries Shows
Positive Economic and Educational
Outcomes
By Tom K. Wong, Greisa Martinez Rosas, Adrian Reyna, Ignacia Rodriguez, Patrick O’Shea, Tom Jawetz, and Philip E.
Wolgin | Posted on October 18, 2016, 12:00 pm




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AP/Pablo Martinez Monsivais

Hareth Andrade, who was born in Bolivia, works at the Mexican American Legal Defense and Education Fund oﬃce in Washington, D.C., on
February 7, 2014.



Note: The survey results can be found here. For more information on the survey, please contact Tom K.
Wong. The 2017 version of this survey can be found here.


This year marks the fourth anniversary of the Deferred Action for Childhood Arrivals, or DACA,
initiative. Through executive action, DACA provides temporary relief from deportation and work
authorization to eligible unauthorized immigrants who entered the country at a young age. According
to the latest publicly available data from the U.S. Citizenship and Immigration Services, 741,546
unauthorized young people have received DACA. Early studies—including one that Tom K. Wong of the
University of California, San Diego; the National Immigration Law Center, or NILC; and the Center for
American Progress, or CAP, conducted last year and another published by United We Dream—illustrate
that DACA has improved the lives of its recipients and their families.


Following up on these studies, these organizations teamed up on a new national survey to further
analyze the economic, educational, and employment experiences and outcomes of DACA recipients.
The survey was ﬁelded from September 8, 2016, to September 26, 2016, with a sample size of 1,308
individuals. The results make clear that DACA has had a positive impact, not just for recipients but also
for the American economy more generally.


The data illustrate that DACA recipients are making signiﬁcant contributions to the economy by buying
cars and ﬁrst homes, which translate into more revenue for states and localities in the form of sales
and property taxes. Some are even using their entrepreneurial talents to help create new jobs and
further spur economic growth by starting their own businesses.


The positive wage eﬀect of DACA is also signiﬁcant. The data show that DACA increased recipients’
average hourly wages by 42 percent. Given that higher wages translate into higher tax revenue and
economic growth, these ﬁndings reinforce the fact that DACA beneﬁts all Americans. Moreover, a full
95 percent of survey respondents are currently employed or enrolled in school. Consistent with the
2015 survey, the data indicate that many DACA recipients are getting better and higher-paying jobs
because of DACA. Many are pursuing educational opportunities that were previously unavailable to
them. The majors, specializations, and training that DACA recipients are pursuing include early


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childhood education, biochemistry, computer science, creative writing, graphic design, neuroscience,
nursing, social work, and urban planning, among many others.


DACA’s impact on employment
The latest data indicate that having work authorization remains vital when it comes to helping DACA
recipients participate more fully in the labor force. Eighty-seven percent of respondents to the 2016
survey are currently employed, with an additional 8 percent not working but in school.


The current survey is one of the ﬁrst to systematically identify the industries in which DACA recipients
are working, and the results show wide-ranging labor market contributions. The data indicate that 21
percent of respondents work in educational and health services, 11 percent work in the nonproﬁt
sector, 9 percent work in wholesale and retail trades, and 8 percent work in professional and business
services. The results illustrate that DACA recipients are contributing across all sectors of the economy.


Furthermore, after receiving DACA, 63 percent of respondents reported moving to a job with better
pay; 49 percent moved to a job that “better ﬁts my education and training”; and 48 percent moved to a
job with better working conditions. These ﬁgures are largely consistent with previous ﬁndings from the
2015 survey and show that the temporary work authorization that comes with DACA has helped to
unlock recipients’ economic potential.


The 2016 survey also found that 6 percent of respondents started their own business after receiving
DACA. This rate of business starts is higher than that of both the American public as a whole—at 3.1
percent—and the entire immigrant population—at 3.6 percent. These businesses include tech startups,
online craft stores, and tax preparation services, among others. One business owner who employs
nine people hopes to continue to grow and “hire [even] more people from the community.”


DACA’s impact on earnings
Last year’s survey found that having DACA increased individuals’ average hourly wages by more than
40 percent. The current survey data conﬁrm that DACA is having a positive and signiﬁcant eﬀect on
wages: The average hourly wages of respondents increased by 42 percent since receiving DACA, rising
from $9.83 per hour to $13.96 per hour. Further research is needed to parse out the short- and long-
run wage eﬀects of DACA, as well as whether short-run gains represent a plateau in earnings or if an


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even more robust long-run wage eﬀect exists as recipients gain more work experience and progress in
their careers. But for now, this much is clear: Four years into the initiative, DACA means earning higher
wages.


Accordingly, 60 percent of survey respondents reported that their increased earnings have “helped me
become ﬁnancially independent,” and 61 percent reported that their increased earnings have “helped
my family ﬁnancially.” These ﬁgures are also consistent with the previous 2015 ﬁndings, but
importantly, the percentage of respondents who are now able to help their families ﬁnancially has
increased from last year, which is another sign of the broader beneﬁts of DACA.


DACA’s impact on the economy
The current survey results suggest that the purchasing power of those with DACA is increasing.


Last year, the survey found that 21 percent of respondents purchased their ﬁrst car after receiving
DACA. This year, this ﬁgure climbed to an astonishing 54 percent. The data indicate that most people—
71 percent—purchased used cars, while a smaller group—29 percent—purchased new cars. The
average cost of used car purchases was $10,637, and the average cost of new car purchases was
$24,307. These large purchases matter for state revenue, as most states collect between 3 percent and
6 percent of the purchase price in sales tax, along with additional registration and title fees. The added
revenue for states comes in addition to the safety beneﬁts of having more licensed and insured drivers
on the roads.


The survey also found that 12 percent of respondents purchased their ﬁrst home after receiving DACA,
at an average cost of $167,596. The broader positive economic impact of home purchases are well-
documented and include the creation of jobs and the infusion of new spending in local economies.


DACA’s impact on education
Overall, 46 percent of respondents are currently in school. Of these individuals, a full 83 percent are
also working, which is perhaps reﬂective of the limited options for in-state tuition and ﬁnancial aid that
are available to DACA recipients. Among those who are currently in school:


     4 percent are pursuing a high school or GED diploma.


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     20 percent are pursuing an associate degree.

     4 percent are pursuing a trade, technical, or vocational certiﬁcate.

     70 percent are pursuing a bachelor’s degree or higher.


Importantly, among those who are currently in school, a robust 92 percent said that because of DACA,
“I pursued educational opportunities that I previously could not.”


DACA’s impact on social inclusion
A little more than 90 percent of survey respondents reported obtaining a driver’s license or state
identiﬁcation card for the ﬁrst time after receiving DACA. The average cost of obtaining a driver’s
license was $35, and the average cost of obtaining a state identiﬁcation card was $28. As one
respondent wrote, “I can now drive to work.” Another respondent said that after obtaining a state
identiﬁcation card, “I was able to apply for credit cards and have a bank account.”


DACA’s impact on civic participation
The results also show that DACA may be a strong motivator of civic participation: The 2016 survey
found that 41 percent of respondents have immediate family members who are U.S. citizens over age
18 and that 80 percent of these family members are registered to vote. A recent national poll found
that protecting DACA and its recipients will be a key motivator for Latino voters during the 2016
elections, and these survey results suggest that this will be especially true of eligible voters with DACA-
recipient family members.


Conclusion
The survey results reported here illustrate that DACA has promoted educational and employment
outcomes and has been a major driver of economic growth—for individuals and families, as well as
cities and states that reap the beneﬁts of new tax dollars from large purchases and new jobs. Four
years later, the eﬀects of DACA on the lives of unauthorized young people have been enormous.


Still, hundreds of thousands more people could beneﬁt from the initiative and have not applied for
various reasons. These ﬁndings suggest that beyond DACA, greater opportunities and beneﬁts could


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accrue from the creation of an even more inclusive executive action reaching a greater swath of the
unauthorized population. As of this publication, two parts of the November 2014 executive actions on
immigration—Deferred Action for Parents of Americans and Lawful Permanent Residents, or DAPA,
and an expansion of the DACA initiative—are still on hold in the courts. Similar to DACA, these
initiatives could have a deep impact on the lives of unauthorized immigrants who have lived in this
country for years, their families, and the nation as a whole.


Methodology
The survey questionnaire was administered to an online panel of DACA recipients recruited by the
partner organizations. Several steps were taken to adjust for the known sources of bias that result
from such online panels. To prevent ballot stuﬃng—one person submitting multiple responses—the
authors did not oﬀer an incentive to respondents for taking the questionnaire and used a state-of-the-
art online survey platform that does not allow one IP address to submit multiple responses. To prevent
spoiled ballots—meaning people responding who are not unauthorized—the authors used a unique
validation test for unauthorized status. Multiple questions were asked about each respondent’s
migratory history. These questions were asked at diﬀerent parts of the questionnaire, and some
questions were repeated but posed using diﬀerent wording. If there was agreement in the answers
such that there was consistency with respect to the respondent’s migratory history, the respondent
was kept in the resulting pool of respondents. If not, the respondent was excluded. In order to recruit
respondents outside of the networks of the partner organizations, Facebook ads were also used to
recruit respondents. Because there is no phone book of unauthorized immigrants and given the nature
of online opt-in surveys, it is not possible to construct a valid margin of error.


Tom K. Wong is an Assistant Professor of Political Science at University of California, San Diego. Greisa
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National Immigration Law Center. Tom Jawetz is Vice President for Immigration Policy and Philip E. Wolgin is
Managing Director for Immigration Policy at the Center for American Progress.


The authors thank all those who took the survey for their time and eﬀort in helping to bring these stories to
light.




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  IMMIGRATION



  A New Threat to DACA Could Cost States Billions
  of Dollars
  By Nicole Prchal Svajlenka, Tom Jawetz, and Angie Bautista-Chavez | Posted on July 21, 2017, 10:05 am




  AP/Jacquelyn Martin
  In this June 15, 2012 photo, undocumented immigrants who live in Maryland, hold signs saying "Thank You President Obama" in Washington, D.C.



  Over the course of its ve-year history, Deferred Action for Childhood Arrivals (DACA), has changed the lives of
  nearly 800,000 young people who have lived in the United States since their childhood. By providing the opportunity
  for individuals to come forward, pass rigorous background checks, and obtain permission to live and work in the
  United States lawfully, DACA has helped its recipients achieve milestones typically associated with the American
  dream, such as pursuing higher education, earning better wages to support their families, and buying homes.



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  Nearly 8 in 10 voters support allowing DREAMers to remain permanently in the country, including almost three-
  quarters of Trump voters, and only 14 percent believe they should be forced to leave.


  But despite the bene ts of the popular program, DACA is now facing a dangerous new attack. In late June, o cials
  from 10 states led by Texas Attorney General Ken Paxton issued an ultimatum to the Trump administration and
  Attorney General Je Sessions: End the DACA program by September 5 or face a lawsuit in front of the same federal
  judge who halted a separate initiative that would have provided similar temporary protections to the parents of U.S.
  citizens and lawful permanent residents. If DACA ends—whether because the administration accedes to the
  demands of DACA opponents or the initiative is enjoined by a federal court—hundreds of thousands of young
  people will be forced out of the workforce, upending their lives and the lives of their families, creating tremendous
  disruption for businesses, and sending shockwaves through the economies of most states.


  According to the U.S. Citizenship and Immigration Services (USCIS), 787,580 people received DACA through March
  2017. The data presented in this column update previous columns from November 2016 and January 2017,
  accounting for the additional DACA applicants that were approved since their publications.


  Using data from two Center for American Progress publications—a report that estimates the gross domestic
  product (GDP) declines that would accompany removing all unauthorized workers from the country and a survey
  that estimates the share of DACA recipients who are employed—CAP estimates that ending DACA would result in a
  loss of $460.3 billion from the national GDP over the next decade. Ending DACA would remove an estimated
  685,000 workers from the nation’s economy.


  Altogether, the 10 states demanding that the Trump administration end DACA—Alabama, Arkansas, Idaho, Kansas,
  Louisiana, Nebraska, Tennessee, Texas, South Carolina, and West Virginia—stand to lose more than $8 billion
  annually in state GDP if they get their wish.




https://www.americanprogress.org/issues/immigration/news/2017/07/21/436419/new-threat-daca-cost-states-billions-dollars/      2/5
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  The present threat to those with DACA is real. Moreover, because DACA recipients are so well integrated into
  families, communities, schools, and workplaces throughout the country, the economic and social e ects of ending
  DACA would be widespread and signi cant. In the short term, the fate of DACA rests entirely in the hands of
  President Donald Trump, who has at times expressed great support for DREAMers and has encouraged them to
  “rest easy.” But ultimately, it is Congress that must act to provide a permanent solution so that these young people
  can contribute even more fully to the country they call home. Yesterday’s introduction of the DREAM Act of 2017,
  which has bipartisan sponsorship from Sens. Dick Durbin (D-IL), Je Flake (R-AZ), Lindsey Graham (R-SC), and Chuck
  Schumer (D-NY), is an encouraging step.


  Methodology
  This column uses the same methodology employed in CAP’s November 2016 and January 2017 estimates of the cost
  of ending DACA.


  The USCIS publishes quarterly data on DACA applicants and recipients since the program’s beginning in 2012. In
  addition to national numbers, the USCIS also provides state-level data.


  An October 2016 survey of DACA recipients—conducted by political scientist Tom K. Wong, United We Dream, the
  National Immigration Law Center, and CAP—estimated that nationally, 87 percent of DACA recipients were
  employed. The survey does not provide employment rates for individual states. Thus, this column uses the 87
  percent benchmark for employment levels in each state.


  The number of DACA recipients working in each state is a combination of the latest USCIS data and the survey
   ndings.


  A 2016 CAP report authored by Ryan Edwards and Francesc Ortega estimated the national and state-by-state GDP
  loss that would result from removing unauthorized workers from the workforce, both annually and over the next
  decade. This column uses the GDP loss and number of unauthorized workers by each state to identify the
  contributions of each unauthorized worker to the state GDP. By both assuming that the skill distribution of the
  workforce with DACA re ects that of the broader unauthorized workforce and expressing data in 2013 dollars, this
  analysis re ects a conservative estimate.


  The GDP losses associated with ending DACA for each state are derived by multiplying the number of employed
  DACA recipients with the losses associated with each unauthorized worker.


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State & Local Tax Contributions of Young
Undocumented Immigrants


Institute on Taxation & Economic Policy
April 2017




Misha E. Hill
Meg Wiehe



About The Institute on Taxation & Economic Policy
The Institute on Taxation and Economic Policy (ITEP) is a non-profit, non-partisan 501 (c) 3 organization that
produces timely, accessible, and sound analyses on federal, state, and local tax policy issues. ITEP's research helps
inform policy makers, advocates, the media and general public about the fairness, adequacy, and sustainability of
existing tax structures and how proposed tax changes would impact revenues and taxpayers across the income
spectrum.
Acknowledgments
ITEP extends special thanks to David Dyssegaard Kallick at the Fiscal Policy Institute, Erica Williams at the Center
on Budget and Policy Priorities, Jeanne Batalova at the Migration Policy Institute, and Wesley Tharpe at the
Georgia Budget and Policy Institute for their guidance on this report.




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Introduction                                                        What is DACA?
The Trump administration’s immigration policies have                Deferred Action for Childhood Arrivals provides temporary
                                                                    deferral from deportation and work authorization. Individuals
broken apart families and removed established members of
                                                                    must apply for DACA status through U.S. Citizenship and
communities. The administration’s disregard for the                 Immigration Services. Approved individuals maintain their
contributions of immigrants, regardless of their legal status, is   status for two years and must apply to renew their eligibility.
of real concern for young immigrants whose parents brought          To qualify for DACA an individual must:
them to the United States as children. Many of those young
                                                                        ✓ Be between the ages of 15 and 30
immigrants qualify for deferred deportation action and legal
work authorization under Deferred Action for Childhood                  ✓ Have arrived in the U.S. prior to the age of 16
Arrivals (DACA), a 2012 executive order under President
Barack Obama.                                                       ♦   ✓ Have continuously resided in the U.S. for at least five
                                                                        years prior to their application for deferred action
While it remains unclear what actions, if any, President Trump      ♦

will take to amend DACA, the policy guidance the president          ♦   ✓ Be enrolled in an approved education course, have
has given to federal agencies has resulted in detentions and            completed high school or its equivalency, or have been
                                                                        honorably discharged from military service
deportations of individuals reportedly eligible for deferred
                                                                    ♦
action. The ambiguity of the Trump Administration’s                 ♦   ✓ Not have been convicted of a felony, significant
statements and actions relating to the DACA program makes               misdemeanor, three or more misdemeanors, or “otherwise
it essential that clear and accurate data about the DACA                pose a threat to public safety or national security”
population is available.                                            ♦
                                                                    ♦   Note: See “DACA at Four” and “DACA at the Two-Year Mark” from the
More than 1.3 million out of the 11 million undocumented                Migration Policy Institute for more detailed information.

immigrants living in the United States are eligible for DACA.
As of September 2016, more than 852,000 individuals were enrolled in the program. 1 DACA offers eligible
teenagers and young adults who were brought to the United States as children outside of their control temporary
deferral from deportation and legal work authorization. 2
DACA enrollment has helped young immigrants become more engaged in their communities. A national survey of
DACA enrollees in 2016 found that more than 40 percent of respondents secured their first job after enrollment in
DACA, and more than 60 percent landed a job with better pay. DACA enrollment also allowed 60 percent of
respondents to pursue educational opportunities that were previously unavailable to them. The young immigrants
enrolled in DACA work in diverse industries, including educational and health services, wholesale and retail trade,
and professional and business services.
The 1.3 million young immigrants eligible for deferred action contribute tax dollars to communities that help pay
for schools, public infrastructure, and other services. Their contributions could be increased by taking steps to
ensure that all individuals eligible for deferred action are enrolled, or even by offering a path to citizenship.
Conversely, stripping their temporary lawful status or deporting them would decrease their tax contributions and
deprive our country of a dedicated and diverse generation.
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An ITEP report from March 2017 found the 11 million undocumented immigrants living and working in the
United States contribute more than $11.74 billion in state and local taxes. 3 This report specifically examines the
state and local tax contributions of undocumented immigrants who are currently enrolled or immediately eligible
for DACA and the fiscal implications of various policy changes. The report includes information on the national
impact (Table 1) and provides a state-by-state breakdown (Appendix 1).



Key Findings
   • The 1.3 million young undocumented immigrants enrolled or immediately eligible for DACA contribute
     an estimated $2 billion a year in state and local taxes. 4 This includes personal income, property, and sales
     and excise taxes.

   • DACA-eligible individuals pay on average 8.9 percent of their income in state and local taxes. Their
     effective tax rate is higher than the average rate paid by the top 1% of taxpayers in state and local taxes of just
     5.4 percent and is on par with the average rate paid of 9.4 percent paid by the middle 20 percent of
     taxpayers. 5

   • Continuing DACA and ensuring all who are eligible for the program are enrolled would increase
     estimated state and local revenue by $425 million, bringing the total contribution to $2.45 billion, and
     increasing the effective tax rate for those enrolled to 9 percent.

   • Replacing DACA with a path to citizenship could provide nearly $505 million in additional state and
     local taxes, increasing total contributions to at least $2.53 billion a year.

   • Repealing the temporary legal status and work authorizations permitted by DACA would reduce
     estimated state and local revenues by nearly $800 million, and drop the total contributions to just over
     $1.2 billion annually.

   • Every state benefits from the economic contributions of the young immigrants eligible for DACA (see
     Appendices 1 and 2). For example, the 379,000 young immigrants living in California are contributing
     more than $534 million to the golden state while the 2,000 immigrants in our nation’s capital contribute
     $2.7 million to the District. Likewise, every state stands to lose considerable revenue if we do not maintain
     the protections and opportunities DACA has allowed.




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How federal policy changes in the treatment of young immigrants affect state and
local revenues

Questions have frequently been raised about the taxes paid by undocumented immigrants. Everyone living and
working in the U.S. contributes to state and local taxes, regardless of their immigration status. We all pay sales and
excise taxes when we purchase goods and services such as clothing or gasoline. We all pay property taxes either
directly for our homes or indirectly as renters.
As ITEP’s March report demonstrated, about half of undocumented immigrants file income tax returns. They do
this using Individual Taxpayer Identification Numbers (ITINs) in the absence of having valid Social Security
numbers. Because DACA provides young immigrants with work authorization, recipients are subject to the same
state and local personal income tax laws as all lawfully present workers. DACA recipients do have (temporary)
Social Security numbers.
The tax revenues generated by DACA recipients are further boosted by the fact that DACA status boosts
employment rates and wages. A national survey of DACA recipients found that employment rates increased by 36
percentage points after enrollment, from 51 percent of respondents employed to 87 percent. 6 Evidence also shows
that relief from deportation and temporary work permits through programs like DACA also boosts undocumented
immigrants’ wages by at least 8.5 percent. When given the opportunity to work legally and a reprieve from
deportation DACA recipients are able to work more, earn more wages, and are less likely to be victims of wage theft
from unscrupulous employers.


Table 1: U.S. Total of State and Local Tax Contributions of DACA-eligible individuals
Current and potential contributions of individuals currently receiving or eligible for DACA status
                                  Currently         Currently eligible but
                                                                                    Total DACA-eligible Change from Current
                               receiving DACA            not receiving
                                                                                 population (1.3 million)  Contribution
                                  (852,000)                (452,900)
Current Taxes                  $1,603,068,000            $423,765,000                 $2,026,833,000             --
Taxes if All Eligible
                             $1,603,068,000         $849,546,000            $2,452,614,000              +$425,781,000
Receiving
If granted citizenship       $1,654,779,000         $876,951,000            $2,531,730,000              +$504,897,000

If DACA protections lost      $805,751,000          $423,765,000            $1,229,516,000              ($797,317,000)



Based on this evidence, we assume that 87 percent of the 852,000 young immigrants currently enrolled in DACA
are employed, and that they are earning, on average, 8.5 percent more than the estimated 452,900 young people
eligible for but not receiving DACA. The higher earnings, higher employment rate, and higher tax compliance rate
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of individuals enrolled in DACA leads to their increased tax contributions and higher effective tax rate compared to
those eligible for but not receiving DACA. The total contributions of individuals currently receiving or eligible for
DACA status is just over $2 billion in state and local taxes annually. If all eligible individuals were enrolled in
DACA, those state and local tax contributions would increase by more the $425 million due to higher earnings,
higher employment rate, and 100 percent tax compliance for all DACA eligible immigrants (see Table 1).
Granting DACA eligible immigrants a path to citizenship would provide an even larger wage boost. A 2013 analysis
by the Congressional Budget Office estimated a 12 percent wage boost for undocumented citizens who were
granted a path to citizenship. 7 State and local revenues would net an additional $505 million if the 1.3 million
young people currently eligible for or receiving DACA were granted a path to citizenship (see Table 1).
In contrast, failing to maintain work authorizations and deportation relief of DACA would hurt state and local
coffers. If the 852,000 young immigrants currently enrolled lost the protections of DACA, it would reduce their
state and local tax contributions by nearly $800 million (see Table 1).
Just as every state benefits from the tax contributions of young undocumented immigrants every state has much
more to lose if we remove the protections and work authorization granted to these young immigrants who were
brought to the United States as children and have always considered it home. If the Trump administration fails to
protect this population from deportation, the nation risks forcing them back into the shadows and losing the
economic and societal contributions these engaged young people are making in their communities.



Methodology
ITEP estimates the state and local tax contributions of DACA-eligible immigrants under different policy options
through the methodology detailed below.

1. Estimated DACA- eligible and enrolled population in each state

   • The number of young immigrants in each state immediately eligible for DACA comes from the Migration
     Policy Institute. 8 MPI estimated just under 1.3 million young immigrants nationwide are immediately
     eligible for DACA. MPI’s estimates are limited to 41 states and the District of Columbia. To calculate the
     eligible population in the nine missing states, ITEP used the enrollee data (see below) for each state to
     estimate a total eligible population (see Appendix 2).
   • The number of people currently enrolled in DACA nationally (852,000) and in each state comes from the
     United States Citizenship and Immigration Services 9. (see Appendix 2).

2. Taxpaying units and employment status

   • This analysis treats each DACA-eligible immigrant who is working as a single taxpaying unit.
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    • The employment rate of immigrants depends on legal status. A 2016 national survey of 1,308 DACA
      recipients found that 87 percent of respondents were employed, compared to only 51 percent before
      gaining lawful status. The assumed employment rate of DACA-eligible immigrants with legal status, either
      those participating in the program or granted a pathway to citizenship, is 87 percent. The assumed
      employment rate of DACA-eligible immigrants who are not enrolled in the program is 51 percent. 10
      Additionally, to calculate the impact on tax contributions if DACA protections are removed, 51 percent was
      applied to the total DACA-eligible population.
    • Here’s how the national numbers break down (see Appendix 2 for state numbers):

                                                                           Workforce       Estimated
                                                          Population
                                                                         Participation %    Workers
         Eligible DACA Population                            1,304,900
         Enrolled DACA Population                              852,000             87%       740,400
         Eligible, but unenrolled DACA Population              452,900             51%       232,300
         Eligible, but no DACA protections                                         51%       669,400


3. Income

    • Immigrant wages change depending on legal status. Undocumented workers earn $22,029 a year on
      average and granting DACA status increases wages by 8.5 percent, according to a 2014 report by the
      Center for American Progress 11. Putting immigrants on a path to citizenship would carry a larger effect,
      since it grants rights and protections associated with permanent residence. The Congressional Budget
      Office estimates a path to citizenship would boost wages by 12 percent 12. The average wages applied to the
      estimated DACA working population in this analysis are:
            o $23,901 for the DACA-eligible population working and enrolled in the program.
            o $22,029 for the DACA-eligible population working, but not enrolled in the program.
            o $24,673 for the DACA-eligible population working and granted a pathway to citizenship.

4. Estimated effective tax rates (taxes as share of income) for sales, income, and property taxes paid by DACA-
eligible population in each state 13

ITEP’s microsimulation computer model is a sophisticated program that applies the state and local tax laws in each
state (including sales, excise, income, and property tax laws) to a statistically valid database of tax returns to generate
estimates of the effective tax rates paid by taxpayers at various income levels under state and local tax law in place as
of December 31, 2014. In January of 2015, ITEP released the 5th edition of Who Pays? which estimates the effect of

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the state and local tax laws as of January 2015 on taxpayers at 2012 income levels. This report applies effective tax
rates calculated in the 2015 Who Pays? report to the DACA eligible population.

The following assumptions were made to calculate the sales and excise, income, and property taxes of the
undocumented immigration population:

♦   Sales and excise taxes: Sales and excise taxes are collected by retailers every time a purchase is made on a
    taxable good or service. It is reasonable to assume that DACA eligible immigrants pay sales and excise taxes at
    similar rates to U.S. citizens and legal immigrants with similar incomes thus the estimated rates in ITEP’s Who
    Pays? for each state were applied to the various estimated DACA-eligible population incomes.

♦   Income tax: Eligible immigrants enrolled in DACA are required to pay personal income taxes using a
    temporary social security number. Thus, this study assumes the 740,400 DACA-enrolled workers are fully
    complying with state personal income taxes. 100 percent compliance is also assumed under the path to
    citizenship policy option. Personal income tax effective rates in each state were applied accordingly.
    Various studies have estimated between 50 and 75 percent of undocumented immigrants currently pay
    personal income taxes predominantly using Individual Tax Identification (ITIN) numbers or with false social
    security numbers. 14 This analysis assumes a 50 percent compliance rate for DACA-eligible immigrants who are
    not enrolled and applies 50 percent compliance if DACA protections are lost. Personal income tax effective
    rates in each state were applied to 50 percent of the estimated income.

    Enrolled DACA recipients are eligible to receive the federal Earned Income Tax Credit (EITC) and the state
    versions of the credit as well, however state EITC benefits were not included in this study for two reasons: 1) all
    DACA-eligible workers are treated as single taxpaying units and 2) the average income of the enrolled DACA
    population is above the EITC income eligibility amounts for single workers. The impact of state EITCs was
    also left out of the other policy options given that DACA-eligible immigrants not enrolled in the program are
    ineligible for the credit.

♦   Property tax: The first step in calculating property taxes was to identify the share of DACA-eligible immigrants
    who are homeowners or renters in each state. This analysis used state-by-state data from the Migration Policy
    Institute to estimate homeownership rates for undocumented immigrants in each state. The model assumes
    that for renters, half of the cost of the property tax paid initially by owners of rental properties is passed through
    to renters.




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Appendix 1: State and Local Tax Contributions of DACA-eligible individuals                      4565

Current and potential contributions of those currently receiving or eligible for DACA status

                                                           Current                              Change if All     New                                                  New                           Change if DACA      New
                               Current State and               Taxes if All Eligible                                        Taxes if All Eligible  Change if All                   Taxes if DACA
State                                            Effective Tax
                                                                   Receiving
                                                                                                 Eligible are   Effective
                                                                                                                            Granted Citizenship Granted Citizenship
                                                                                                                                                                    Effective Tax
                                                                                                                                                                                  Protections Lost
                                                                                                                                                                                                     Protections are   Effective
                                  Local Taxes        Rate                                         Receiving     Tax Rate                                               Rate2                              Lost         Tax Rate3
Alabama                           $13,220,000               9.0%          $17,605,000           +$4,385,000      9.4%          $18,172,000          +$4,952,000        9.4%         $8,376,000        -$4,844,000        8.2%

Alaska*                             $966,000                4.0%           $1,659,000           +$693,000        4.0%          $1,712,000            +$746,000         4.0%          $903,000           -$63,000         4.0%

Arizona                           $61,357,000               9.0%          $65,837,000           +$4,480,000      9.1%          $67,961,000          +$6,604,000        9.1%        $33,274,000        -$28,083,000       8.4%

Arkansas                          $15,894,000              11.1%          $18,821,000           +$2,927,000      11.3%         $19,428,000          +$3,534,000       11.3%         $9,336,000        -$6,558,000       10.3%

California                       $534,124,000               8.2%          $652,389,000         +$118,265,000     8.3%         $673,433,000         +$139,309,000       8.3%        $334,630,000      -$199,494,000       7.8%
Colorado                          $33,977,000               7.8%          $37,631,000           +$3,654,000      7.9%          $38,845,000          +$4,868,000        7.9%        $17,479,000        -$16,498,000       6.7%

Connecticut                       $17,639,000              10.0%          $23,269,000           +$5,630,000      10.2%         $24,019,000          +$6,380,000       10.2%        $12,144,000        -$5,495,000        9.8%
Delaware                           $2,434,000               5.0%           $3,377,000           +$943,000        5.4%          $3,486,000           +$1,052,000        5.4%         $1,410,000        -$1,024,000        4.2%
District of Columbia*              $2,702,000               8.7%           $3,910,000           +$1,208,000      9.4%          $4,036,000           +$1,334,000        9.4%         $1,756,000         -$946,000         7.8%

Florida                          $100,239,000               8.5%          $127,799,000         +$27,560,000      8.5%         $131,922,000         +$31,683,000        8.5%        $69,534,000        -$30,705,000       8.5%

Georgia                           $71,705,000               9.0%          $90,911,000          +$19,206,000      9.3%          $93,844,000         +$22,139,000        9.3%        $43,172,000        -$28,533,000       8.1%
Hawaii                             $3,223,000              11.2%           $4,978,000           +$1,755,000      12.0%         $5,138,000           +$1,915,000       12.0%         $2,353,000         -$870,000        10.4%
Idaho                              $6,026,000               7.9%           $6,578,000           +$552,000        7.9%          $6,791,000            +$765,000         7.9%         $3,288,000        -$2,738,000        7.3%

Illinois                         $131,028,000              11.0%          $159,279,000         +$28,251,000      11.3%        $164,417,000         +$33,389,000       11.3%        $76,260,000        -$54,768,000       9.9%
Indiana                           $23,288,000              10.4%          $23,784,000           +$496,000        10.4%         $24,552,000          +$1,264,000       10.4%        $10,755,000        -$12,533,000       8.7%
Iowa                               $6,807,000               9.2%           $7,806,000           +$999,000        9.4%          $8,058,000           +$1,251,000        9.4%         $3,594,000        -$3,213,000        8.0%

Kansas                            $14,592,000               9.2%          $15,361,000           +$769,000        9.2%          $15,856,000          +$1,264,000        9.2%         $7,699,000        -$6,893,000        8.5%

Kentucky                           $9,093,000               9.1%          $12,116,000           +$3,023,000      9.7%          $12,507,000          +$3,414,000        9.7%         $5,182,000        -$3,911,000        7.6%

Louisiana                          $7,459,000               9.5%          $10,221,000           +$2,762,000      9.8%          $10,551,000          +$3,092,000        9.8%         $5,061,000        -$2,398,000        9.0%

Maine*                              $256,000                7.7%            $330,000             +$74,000        8.0%           $341,000             +$85,000          8.0%          $160,000           -$96,000         7.1%

Maryland                          $40,801,000              10.8%          $56,926,000          +$16,125,000      11.4%         $58,762,000         +$17,961,000       11.4%        $26,907,000        -$13,894,000       9.9%

Massachusetts                     $24,261,000               8.1%          $34,426,000          +$10,165,000      8.7%          $35,537,000         +$11,276,000        8.7%        $15,052,000        -$9,209,000        7.0%

Michigan                          $15,938,000               8.9%          $18,952,000           +$3,014,000      9.1%          $19,563,000          +$3,625,000        9.1%         $8,666,000        -$7,272,000        7.7%
                                                           Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 621 of 1603 PageID #:
Appendix 1: State and Local Tax Contributions of DACA-eligible individuals                      4566

Current and potential contributions of those currently receiving or eligible for DACA status

                                                           Current                             Change if All     New                                                  New                           Change if DACA      New
                               Current State and               Taxes if All Eligible                                       Taxes if All Eligible  Change if All                   Taxes if DACA
State                                            Effective Tax
                                                                   Receiving
                                                                                                Eligible are   Effective
                                                                                                                           Granted Citizenship Granted Citizenship
                                                                                                                                                                   Effective Tax
                                                                                                                                                                                 Protections Lost
                                                                                                                                                                                                    Protections are   Effective
                                  Local Taxes        Rate                                        Receiving     Tax Rate                                               Rate2                              Lost         Tax Rate3
Minnesota                         $15,439,000               8.7%          $18,766,000          +$3,327,000      9.0%          $19,372,000          +$3,933,000        9.0%         $8,550,000        -$6,889,000        7.6%

Mississippi                        $4,169,000               8.4%           $5,442,000          +$1,273,000      8.7%          $5,618,000           +$1,449,000        8.7%         $2,593,000        -$1,576,000        7.6%

Missouri                           $8,430,000               8.1%          $10,513,000          +$2,083,000      8.4%          $10,852,000          +$2,422,000        8.4%         $4,916,000        -$3,514,000        7.2%

Montana*                            $101,000                5.3%            $112,000            +$11,000        5.4%           $116,000             +$15,000          5.4%          $50,000            -$51,000         4.4%

Nebraska                           $7,693,000               9.6%           $8,013,000           +$320,000       9.6%          $8,272,000            +$579,000         9.6%         $3,905,000        -$3,788,000        8.6%
Nevada                            $17,488,000               5.6%          $18,595,000          +$1,107,000      5.6%          $19,195,000          +$1,707,000        5.6%        $10,117,000        -$7,371,000        5.6%

New Hampshire*                      $812,000                7.6%            $946,000            +$134,000       7.6%           $976,000             +$164,000         7.6%          $512,000          -$300,000         7.5%
New Jersey                        $65,968,000               7.9%          $90,221,000          +$24,253,000     8.2%          $93,131,000         +$27,163,000        8.2%        $44,911,000        -$21,057,000       7.5%

New Mexico                        $18,848,000              10.3%          $21,646,000          +$2,798,000      10.4%         $22,345,000          +$3,497,000       10.4%        $11,288,000        -$7,560,000       10.0%

New York                         $140,035,000              10.7%          $174,199,000         +$34,164,000     11.0%        $179,818,000         +$39,783,000       11.0%        $84,137,000        -$55,898,000       9.8%

North Carolina                    $63,618,000               8.6%          $75,296,000          +$11,678,000     8.8%          $77,725,000         +$14,107,000        8.8%        $34,532,000        -$29,086,000       7.5%
North Dakota                        $286,000                8.6%            $360,000            +$74,000        8.7%           $371,000             +$85,000          8.7%          $190,000           -$96,000         8.4%

Ohio                              $14,103,000               9.4%          $18,397,000          +$4,294,000      9.8%          $18,991,000          +$4,888,000        9.8%         $8,586,000        -$5,517,000        8.4%
Oklahoma                          $17,411,000               9.5%          $20,064,000          +$2,653,000      9.7%          $20,711,000          +$3,300,000        9.7%         $9,950,000        -$7,461,000        8.8%

Oregon                            $20,021,000               7.1%          $22,898,000          +$2,877,000      7.3%          $23,637,000          +$3,616,000        7.3%         $8,995,000        -$11,026,000       5.3%

Pennsylvania                      $20,765,000               8.9%          $30,086,000          +$9,321,000      9.7%          $31,056,000         +$10,291,000        9.7%        $13,239,000        -$7,526,000        7.8%

Rhode Island                       $3,842,000               8.2%           $5,300,000          +$1,458,000      8.5%          $5,471,000           +$1,629,000        8.5%         $2,602,000        -$1,240,000        7.7%

South Carolina                    $11,768,000               6.5%          $13,835,000          +$2,067,000      6.7%          $14,281,000          +$2,513,000        6.7%         $6,802,000        -$4,966,000        6.0%

South Dakota*                       $585,000                8.1%            $672,000            +$87,000        8.1%           $693,000             +$108,000         8.1%          $365,000          -$220,000         8.1%
Tennessee                         $21,266,000               8.7%          $25,228,000          +$3,962,000      8.7%          $26,042,000          +$4,776,000        8.7%        $13,723,000        -$7,543,000        8.7%

Texas                            $313,095,000               9.5%          $347,623,000         +$34,528,000     9.5%         $358,837,000         +$45,742,000        9.5%        $189,137,000      -$123,958,000       9.5%

Utah                              $18,807,000               8.4%          $19,372,000           +$565,000       8.5%          $19,997,000          +$1,190,000        8.5%         $8,981,000        -$9,826,000        7.2%
Vermont*                            $140,000                8.6%            $185,000            +$45,000        8.9%           $191,000             +$51,000          8.9%          $92,000            -$48,000         8.2%
                                                           Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 622 of 1603 PageID #:
Appendix 1: State and Local Tax Contributions of DACA-eligible individuals                      4567

Current and potential contributions of those currently receiving or eligible for DACA status

                                                           Current                              Change if All     New                                                  New                           Change if DACA      New
                               Current State and               Taxes if All Eligible                                        Taxes if All Eligible  Change if All                   Taxes if DACA
State                                            Effective Tax
                                                                   Receiving
                                                                                                 Eligible are   Effective
                                                                                                                            Granted Citizenship Granted Citizenship
                                                                                                                                                                    Effective Tax
                                                                                                                                                                                  Protections Lost
                                                                                                                                                                                                     Protections are   Effective
                                  Local Taxes        Rate                                         Receiving     Tax Rate                                               Rate2                              Lost         Tax Rate3
Virginia                          $34,726,000               7.4%          $50,323,000           +$15,597,000     8.1%          $51,946,000         +$17,220,000        8.1%        $22,019,000        -$12,707,000       6.5%

Washington                        $51,272,000              10.5%          $59,072,000           +$7,800,000      10.5%         $60,978,000          +$9,706,000       10.5%        $32,140,000        -$19,132,000      10.5%

West Virginia*                      $283,000                8.0%            $342,000             +$59,000        8.2%           $353,000             +$70,000          8.2%          $161,000          -$122,000         7.1%

Wisconsin                         $17,825,000               9.4%          $19,926,000           +$2,101,000      9.6%          $20,569,000          +$2,744,000        9.6%         $9,365,000        -$8,460,000        8.3%

Wyoming*                            $949,000                5.3%           $1,217,000            +$268,000       5.3%          $1,256,000            +$307,000         5.3%          $662,000          -$287,000         5.3%
All States                      $2,026,772,000              8.9%         $2,452,614,000        +$425,842,000     9.0%        $2,531,730,000       +$504,958,000        9.0%       $1,229,516,000     -$797,256,000       8.3%
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Appendix 2: DACA Eligible Population Estimates
                     Estimated                            Estimated         Share of Est.
                                       Estimated
                     Population                          Population        Undocumented
     STATE                             Population
                    Immediately                     2 Eligible for DACA      Immigrant
                                  1 Enrolled in DACA
                 Eligible for DACA                    but not Enrolled      Population3

Alabama               9,000               4,720              4,280               13%

Alaska*               2,000               170                1,830               29%

Arizona               35,000             30,180              4,820               14%

Arkansas              8,000               5,530              2,470               14%

California           379,000            237,940             141,060              13%

Colorado              23,000             18,830              4,170               14%

Connecticut           11,000              5,430              5,570               10%

Delaware              3,000               1,560              1,440               13%

Dist. of Col.*        2,000               880                1,120               7%

Florida               72,000             37,940             34,060               12%

Georgia               47,000             28,090             18,910               12%

Hawaii                2,000               660                1,340               10%
       Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 624 of 1603 PageID #:
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Appendix 2: DACA Eligible Population Estimates
                       Estimated                            Estimated         Share of Est.
                                         Estimated
                       Population                          Population        Undocumented
     STATE                               Population
                      Immediately                     2 Eligible for DACA      Immigrant
                                    1 Enrolled in DACA
                   Eligible for DACA                    but not Enrolled      Population3

Idaho                   4,000               3,330               670                12%

Illinois                68,000             44,860             23,140               13%

Indiana                 11,000             10,580               420                12%

Iowa                    4,000               3,050               950                11%

Kansas                  8,000               7,200               800                13%

Kentucky                6,000               3,380              2,620               13%

Louisiana               5,000               2,320              2,680               8%

Maine*                   200                110                 90                 4%

Maryland                24,000             11,110             12,890               9%

Massachusetts           19,000              9,030              9,970               11%

Michigan                10,000              7,070              2,930               10%

Minnesota               10,000              6,740              3,260               12%
       Case 1:17-cv-05228-NGG-VMS Document 97-1 Filed 12/15/17 Page 625 of 1603 PageID #:
                                            4570
Appendix 2: DACA Eligible Population Estimates
                       Estimated                            Estimated         Share of Est.
                                         Estimated
                       Population                          Population        Undocumented
       STATE                             Population
                      Immediately                     2 Eligible for DACA      Immigrant
                                    1 Enrolled in DACA
                   Eligible for DACA                    but not Enrolled      Population3

Mississippi             3,000               1,660              1,340               12%

Missouri                6,000               3,770              2,230               11%

Montana*                 100                 80                 20                 10%

Nebraska                4,000               3,690               310                11%

Nevada                  16,000             13,910              2,090               12%

New Hampshire            600                420                 190                7%

New Jersey              53,000             24,630             28,370               11%

New Mexico              10,000              7,300              2,700               15%

New York                76,000             47,170             28,830               9%

North Carolina          41,000             29,260             11,750               12%

North Dakota             200                110                 90                 7%

Ohio                    9,000               5,060              3,940               11%
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Appendix 2: DACA Eligible Population Estimates
                       Estimated                            Estimated         Share of Est.
                                         Estimated
                       Population                          Population        Undocumented
    STATE                                Population
                      Immediately                     2 Eligible for DACA      Immigrant
                                    1 Enrolled in DACA
                   Eligible for DACA                    but not Enrolled      Population3

Oklahoma                10,000              7,380              2,620               12%

Oregon                  15,000             11,900              3,100               13%

Pennsylvania            15,000              6,700              8,300               11%

Rhode Island            3,000               1,380              1,620               10%

South Carolina          10,000              7,060              2,940               10%

South Dakota*            400                290                 110                8%

Tennessee               14,000              9,180              4,820               12%

Texas                  177,000            138,440             38,560               12%

Utah                    11,000             10,400               600                14%

Vermont*                 100                 50                 50                 3%

Virginia                30,000             13,470             16,530               11%

Washington              27,000             19,180              7,820               12%
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Appendix 2: DACA Eligible Population Estimates
                                  Estimated                            Estimated                                                    Share of Est.
                                                    Estimated
                                  Population                          Population                                                   Undocumented
         STATE                                      Population
                                 Immediately                     2 Eligible for DACA                                                 Immigrant
                                               1 Enrolled in DACA
                              Eligible for DACA                    but not Enrolled                                                 Population3

West Virginia*                           200                               140                               70                               3%

Wisconsin                              10,000                            8,010                             1,990                             14%

Wyoming*                                1,000                              690                              310                              17%

All States                         1,304,800                          852,000                           452,900                             12%
* DACA eligible population in these states was estimated using data on enrolled DACA participants as of September 2016. Nationwide roughly 66 percent of
immigrants immediately eligible DACA are enrolled thus the assumption was made that the actual participants in those states represent 66 percent of the
eligible population (rounding was used).
1
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Institute, Aug. 2014, http://www.migrationpolicy.org/research/daca-two-year-mark-national-and-state-profile-youth-eligible-and-applying-deferred-action

2
 “Deferred Action for Childhood Arrivals Process (Through Fiscal Year 2016, 4th Qtr).” United States Citizenship and Immigration Services(USCIS). Available at:
https://www.uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%20Data/All%20Form%20Types/DACA/daca
_performancedata_fy2016_qtr4.pdf

3
 Migration Policy Institute (MPI) DACA estimates divided by MPI undocumented immigrant population estimates (Migration Policy Institute (MPI) analysis of
U.S. Census Bureau data from the 2010-2014 ACS pooled, and the 2008 Survey of Income and Program Participation (SIPP) by Colin Hammar and James
Bachmeier of Temple University and Jennifer Van Hook of Pennsylvania State University, Population Research Institute.)
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                   EXHIBIT 32
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                                                                              1
         1               IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK
         2
         3    --------------------------x
                                        )
         4    MARTIN JONATHAN BATALLA   )
              VIDAL, et al.,            )
         5                              )
                           Plaintiffs, )
         6                              ) Case Nos.
                          v             ) 1:16-CV-04756(NGG)(JO)
         7                              ) 3:17-CV-05211
              ELAINE C. DUKE, Acting    )
         8    Secretary Department of   )
              Homeland Security         )
         9    JEFFERSON BEAUREGARD      )
              SESSION III, Attorney     )
       10     General of the United     )
              States,and DONALD J TRUMP,)
       11     President of the UNITED   )
              STATES,                   )
       12                               )
                           Defendants. )
       13                               )
              --------------------------x
       14
       15                       Deposition of GENE HAMILTON
       16                              Washington, DC
       17                         Friday, October 20, 2017
       18                                9:17 a.m.
       19
       20     Job No.: 37567
       21     Pages: 1 - 233
       22     Reported by: Donna Marie Lewis, RPR, CSR (HI)


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                                                                              2
         1               IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK
         2
         3    --------------------------x
                                        )
         4    MARTIN JONATHAN BATALLA   )
              VIDAL, et al.,            )
         5                              )
                           Plaintiffs, )
         6                              ) Case No.
                          v             ) 1:16-CV-04756(NGG)(JO)
         7                              )
              ELAINE C. DUKE, Acting    )
         8    Secretary Department of   )
              Homeland Security         )
         9    JEFFERSON BEAUREGARD      )
              SESSION III, Attorney     )
       10     General of the United     )
              States,and DONALD J TRUMP,)
       11     President of the UNITED   )
              STATES,                   )
       12                               )
                           Defendants. )
       13                               )
              --------------------------x
       14
       15               Deposition of GENE HAMILTON, held at US
       16     Conference of Mayors, 1620 I Street, NW,
       17     Washington 20006 pursuant to Notice, before Donna
       18     Marie Lewis, Registered Professional Reporter and
       19     Notary Public of and for the District of Columbia.
       20
       21
       22



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                                     4576
                                         Gene Hamilton
      Martin Vidal, et al v. Elaine Duke, et al                         10/20/2017


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                                         Gene Hamilton
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                                                                              4
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                                                                              5
         1     APPEARANCES: (Continued)
         2     ON BEHALF OF PLAINTIFFS: (Continued)
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                                                                              6
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         2     ON BEHALF OF DEFENDANTS:
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         7
         8     ALSO PRESENT:
         9               DAN REIDY, LEGAL VIDEOGRAPHER
        10
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                                                                              7
         1                                I N D E X
         2    WITNESS:
         3           GENE HAMILTON
         4    EXAMINATION BY:                                             PAGE
         5           Ms. Tumlin                                             12
         6

         7                             E X H I B I T S
         8    HAMILTON
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       10     No. 28        Notice of Deposition                            21
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       16     No.    3      Document                                       126
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                                                                               8
         1                        P-R-O-C-E-E-D-I-N-G-S
         2                  THE VIDEOGRAPHER:            Good morning.   We are
         3    going on the record at 9:00 a.m. on Friday --
         4    excuse me, 9:13 a.m. on Friday, October 20, 2017.
         5    This is media unit one of the video recorded
         6    deposition of Gene Hamilton taken by counsel for
         7    the plaintiff in the matter of Martin Jonathan
         8    Batalla Vidal, et al., v.             Elaine C. Duke, Acting
         9    Secretary of the Department of Homeland Security;
       10     Jefferson Beauregard Sessions III, Attorney
       11     General of the United States; and Donald J. Trump,
       12     President of the United States.
       13                   This is filed in the United States
       14     District Court for the Eastern District of
       15     New York.         This deposition is being held at the
       16     offices of the Conference of Mayors located at
       17     1620 I Street, Northwest, Washington, D C 20006.
       18                   My name is Dan Reidy from the firm of
       19     Veritext Legal Solutions and I'm the videographer.
       20     The court reporter this morning is Donna Lewis
       21     from the firm Olender Court Reporting.
       22                   I am not authorized to administer an



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         1    oath.     I'm not related to any party in this
         2    action, nor am I financially interested in the
         3    outcome.
         4                  Counsel and all present will now state
         5    their appearances and affiliations for the record.
         6    If there are any objections to proceedings please
         7    state them at the time of your appearance
         8    beginning with the noticing attorney.
         9                  MS. TUMLIN:       Karen Tumlin, National
       10     Immigration Law Center on behalf of the Batalla
       11     Vidal plaintiffs.
       12                   MS. REBERT:       Trudy Rebert with the
       13     National Immigration Law Center.
       14                   MR. ROSENTHAL:         Joshua Rosenthal with
       15     the National Immigration Law Center on behalf of
       16     the Batalla Vidal plaintiffs.
       17                   MR. VIDAL:       My name is Martin Jonathan
       18     Batalla Vidal and I'm the plaintiff.
       19                   MS. SCHAPIRA:        Alexia Schapira with Make
       20     the Road New York on behalf of the Batalla Vidal
       21     plaintiff.
       22                   MR. ALARCON:        Antonio Alarcon, one of



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                                                                             10
         1    the plaintiffs on the Martin Batalla case and also
         2    with Make the Road New York.
         3                  MR. LEE:      Ronald Lee with the California
         4    Attorney General's Office on behalf of State of
         5    California in the case States of California,
         6    Maine, Maryland, and Minnesota v. U S Department
         7    of Homeland Security, Elaine C. Duke in her
         8    official capacity as acting secretary of Homeland
         9    Security in the United States of America in the
       10     case filed in the Northern District of California.
       11                   MR. NEWMAN:       Michael Newman from the
       12     California Attorney General's Office, in the same
       13     case.
       14                   MR. MINCER:       Jonathan Mincer at
       15     Covington and Burling on behalf of The Regents in
       16     University of California and Janet Napolitano.
       17                   MS. MORRISSON:         Haley Morrisson with
       18     Gibson, Dunn and Crutcher on behalf of the Garcia
       19     plaintiffs in the matter of Dulce Garcia, et al.,
       20     v. United States of America, et al., the
       21     United States District Court for the Northern
       22     District of California, San Francisco Division.



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                                                                             11
         1                  MR. FINKELSTEIN:            Alex Finkelstein,
         2    Volunteer Assistant Attorney General with the
         3    State of New York representing the plaintiff
         4    states in the State of New York, et al., v. Trump,
         5    et al.
         6                  MS. LUCAS:       Diane Lucas with the New
         7    York State Attorney General's Office representing
         8    the plaintiff states in New York, et al., v.
         9    Trump, et al., in the Eastern District of New
       10     York.
       11                   MS. BROWNE:       René Browne, United States
       12     Department of Homeland Security Office of the
       13     General Counsel on behalf of defendant Elaine C.
       14     Duke in her official capacity as acting secretary
       15     of the Department of Homeland Security.
       16                   MR. TYLER:       John Tyler, United States
       17     Department of Justice on behalf of defendants.
       18                   MR. GARDNER:        Josh Gardner, United
       19     States Department of Justice on behalf of the
       20     defendants.
       21                   And the witness reserves the right to
       22     read and sign.



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         1                      THE VIDEOGRAPHER:         Would the court
         2    reporter please swear in the witness.
         3    Whereupon,
         4                       G E N E      H A M I L T O N
         5    after having been first duly sworn by the Notary
         6    Public was examined and testified as follows:
         7               EXAMINATION ON BEHALF OF PLAINTIFFS
         8                      MS. TUMLIN:      Good morning.    My name is
         9    Karen Tumlin.         I'm one of the plaintiff's counsel
       10     and I'm with the Nation Immigration Law Center.
       11     Can you please state your full name for the
       12     record?
       13                       THE WITNESS:      Gene Patrick Hamilton.
       14     BY MS. TUMLIN:
       15            Q          Great.    And is that G-E-N-E?
       16            A          Correct.
       17            Q          Perfect.    And with whom are you
       18     currently employed?
       19            A          I work for the United States Department
       20     of Homeland Security.
       21            Q          And what is your title with the
       22     Department of Homeland Security?



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         1           A      Senior counselor to the secretary.
         2           Q      And would that be Acting Secretary
         3    Elaine Duke?
         4           A      She is the acting secretary of Homeland
         5    Security.
         6           Q      And are you an attorney, Mr. Hamilton?
         7           A      Indeed.
         8           Q      And have you ever had your deposition
         9    taken before?
       10            A      No.
       11            Q      And have you ever taken the deposition
       12     of a witness before?
       13            A      Not since graduating law school.
       14            Q      Great.     And so for that reason I'll just
       15     go over a few ground rules, although as an
       16     attorney who has been in a deposition or a law
       17     student I think you know a lot of these ground
       18     rules.     Do you understand that you have taken an
       19     oath to tell the truth and that oath has the same
       20     effect as if you are testifying in court?
       21            A      Yes.
       22            Q      And you understand even though we are in



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         1    a lovely, informal conference room that your
         2    testimony will have the same force and effect as
         3    if we were in a court of law?
         4           A      Yes.
         5           Q      Is there any reason why you would not be
         6    able to answer truthfully today?
         7           A      No.
         8           Q      Have you taken any medications that
         9    would interfere with your ability to give truthful
       10     testimony?
       11            A      No.
       12            Q      And have you discussed the nature of
       13     today's deposition with an attorney?
       14            A      The nature of it?
       15            Q      Uh huh?
       16            A      Yes.
       17            Q      And which attorneys did you discuss the
       18     nature of today's deposition with?
       19            A      The attorneys who are present at the
       20     table.
       21            Q      Okay.
       22            A      As well as a number of other attorneys



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         1    from the Department of Justice and Homeland
         2    Security.
         3           Q      Okay.     And so just to keep the record
         4    clear, that would be with Ms. Browne, Mr. Tyler,
         5    and Mr. Gardner?
         6           A      That's correct.
         7           Q      Do you remember any of the other
         8    attorneys that you discussed the nature of today's
         9    deposition with?
       10            A      Now, when you say the nature of the
       11     deposition what do you mean?
       12            Q      That you had conversations -- and I'm
       13     not asking you to reveal the content of those
       14     conversations, about the fact that you would be
       15     coming here this morning for a deposition?
       16            A      So the fact that I would be coming here
       17     to discuss, to have a deposition, did I have any
       18     conversations with any attorneys about the fact
       19     that I was being deposed today, this morning?
       20            Q      Yes.
       21            A      Yes.     In addition to the three who are
       22     at the table there was a number of folks who I



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         1    talked to yesterday at a meeting, a prep session.
         2    I do not recall all of their names off of the top
         3    of my head.       But in addition I -- clearly the
         4    principal deputy general counsel knows that I'm
         5    here today.       They're well aware of that.         Joe
         6    Maher as well as one of the other deputy counsels,
         7    Dimple Shah.
         8           Q      And if you had to approximate how many
         9    attorneys you spoke to in that prep session what
       10     would you approximate that number as?
       11            A      I don't know, five to seven.
       12            Q      Great.
       13            A      Maybe.
       14            Q      Okay.     And did any of those attorneys
       15     explain to you the nature of these proceedings and
       16     the importance of giving honest and accurate
       17     answers?
       18            A      Yes.
       19            Q      And were you satisfied with that
       20     explanation?
       21            A      Sure.
       22            Q      Okay.     So today I'm going to be the



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         1    primary person asking you questions in this
         2    deposition, but because we have the two cases, the
         3    cases proceeding in the Eastern District of
         4    New York challenging the termination of DACA as
         5    well as the cases that are consolidated in the
         6    Northern District of California, we will have
         7    other attorneys who are asking you questions later
         8    on.
         9           A      Great.
       10            Q      And what I would ask is if you don't
       11     understand a question that has been asked just
       12     please tell the person who is presenting the
       13     question that you don't understand it.              Does that
       14     work for you?
       15            A      Yes, it does.
       16            Q      Great.     And if you don't understand a
       17     question the person asking the question will
       18     rephrase the question.            Does that work for you?
       19            A      It does.
       20            Q      Okay.     And do you understand that if you
       21     answer a question it will be assumed that you have
       22     understood the question?



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         1           A      Unless I say otherwise.
         2           Q      Perfect.      And do you understand that the
         3    questions and your answers will be recorded by our
         4    court reporter, Donna, and will be written into
         5    the transcript and that this transcript may be
         6    read to the judge as your testimony at a trial or
         7    a hearing?
         8           A      I do.
         9           Q      And do you understand that if you make
       10     changes to your testimony that the attorneys may
       11     comment on these changes at a trial or a hearing?
       12            A      I do.
       13            Q      Okay.     And I will try to abide by this
       14     rule as well, but for the benefit of creating a
       15     nice, clear, and understandable transcript I'm
       16     going to ask that you try to wait until I finish
       17     my question before answering and I will also try
       18     not to interrupt you.
       19            A      Sounds fair.
       20            Q      And it would be great if both you and I
       21     can try to provide verbal answers instead of
       22     gestures or nods.          Do you understand?



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         1           A      I do.
         2           Q      And your attorney may make objections
         3    during the deposition today.               After the objection
         4    has been stated you are still going to be required
         5    to answer the question unless your attorney
         6    instructs you not to answer.               Do you understand?
         7           A      I do.
         8           Q      Okay.     Do you understand that you may
         9    not have an exact recollection of the
       10     conversations or events but that we're entitled to
       11     your best recollection?
       12            A      Generally, yes.         That would make sense
       13     to me.
       14            Q      Perfect.      Is there any reason in your
       15     mind why this deposition cannot proceed at this
       16     time?
       17            A      No.
       18            Q      Okay.     And if you need a break at any
       19     time please let me know.             We want to make this as
       20     easy for everyone as possible.              I will just ask
       21     that if there is a question on the table that you
       22     complete that question before we take a break?



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                                                                             20
         1           A      Okay.
         2           Q      And because we're having the deposition
         3    video taped we will for sure take a break about
         4    every two hours because we'll need to change the
         5    disk for the videographer.
         6                  Okay.     In today's deposition I'm going
         7    to use a bunch of acronyms and I just want to make
         8    sure that you and I are on the same page about
         9    what those mean.
       10            A      Okay.
       11            Q      USCIS is short for the United States
       12     Citizenship and Immigration Services.              Do you
       13     agree with that?
       14            A      I do.
       15            Q      DACA, D-A-C-A, is short for Deferred
       16     Action for Childhood Arrivals.             Do you agree with
       17     that?
       18            A      I do.
       19            Q      ICE, I-C-E, is short for Immigration and
       20     Customs Enforcement.           Do you agree with that?
       21            A      Technically, U S Immigration and Customs
       22     Enforcement, yes.



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         1           Q      Perfect.      DHS is the Department of
         2    Homeland Security.          Do you agree with that?
         3           A      I do?
         4           Q      DPC is short for Domestic Policy
         5    Council.      Do you agree with that?
         6           A      Sure.
         7           Q      Okay.     Fantastic.         So I am going to hand
         8    the court reporter a new exhibit.               This is -- I
         9    would like to ask to mark this as Exhibit 28.                 We
       10     are still doing sequential numbering from the
       11     other cases.        I have copies for you all.
       12                   MR. GARDNER:        We appreciate it.
       13                   (Whereupon, Exhibit No. 28 was marked
       14     for identification.)
       15                   MS. TUMLIN:       This is a nice short
       16     document.
       17                   (Court reporter requested
       18     clarification.)
       19                   MS. TUMLIN:       Okay.      Sorry, Donna.   Short
       20     document.
       21     BY MS. TUMLIN:
       22            Q      I will give you a minute to take a look



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                                                                             22
         1    at it, please.         I'm going to represent that this
         2    is the Notice of Deposition for your deposition
         3    this morning by the Batalla Vidal plaintiffs.
         4    Have you seen this document before?
         5           A      No.
         6           Q      Can you tell me what you did to prepare
         7    for your deposition?
         8                  MR. GARDNER:        Objection to the extent it
         9    calls for divulsion of materials that are
       10     protected by the attorney/client product --
       11     attorney/client privilege and/or work product.
       12     BY MS. TUMLIN:
       13            Q      You may answer.
       14                   MR. GARDNER:        So in other words, you
       15     can't convey the substance of conversations you've
       16     had with attorneys.           You can explain who you met
       17     with, if you reviewed documents, things like that.
       18                   THE WITNESS:        As I indicated earlier we
       19     had a meeting yesterday where we discussed the
       20     nature of this deposition.
       21     BY MS. TUMLIN:
       22            Q      About how long did that meeting last?



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         1           A      I don't recall specifics.         It was off
         2    and on for a number of hours.
         3           Q      More than three hours?
         4           A      Likely, yes.
         5           Q      More than five hours?
         6           A      I don't know.        With breaks, probably
         7    not.
         8           Q      Okay.     And was that the only preparation
         9    meeting you had with your attorneys in advance of
       10     today's deposition?
       11            A      I discussed the fact that I was being
       12     deposed with Ms. Browne a week or two ago.
       13            Q      Okay.     And approximately how long was
       14     that conversation?
       15            A      20 minutes.
       16            Q      Any other meetings or phone calls with
       17     any of your attorneys to discuss preparation for
       18     today's deposition?
       19            A      No, ma'am.
       20            Q      Great.     And did you review any documents
       21     to prepare for this deposition?
       22            A      I did not.



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         1           Q      Have you reviewed any court documents
         2    from this case in the Eastern District of
         3    New York?
         4           A      Not that I can recall.        It may have been
         5    sent to me at some point, various points.               I'm
         6    generally aware of these cases based on news
         7    reporting, but I can't recall reading specifics.
         8           Q      So have you ever read the complaint
         9    filed in this case or any of the cases challenging
       10     the termination of the DACA program?
       11            A      Not to the best of my recollection.
       12            Q      Okay.     Did you review any transcripts of
       13     any of the depositions conducted in this case or
       14     in the related California cases?
       15            A      No.
       16            Q      Did you review any emails discussing the
       17     termination of the DACA program?
       18            A      No.
       19            Q      Did you bring any documents with you
       20     today?
       21            A      Nope.
       22            Q      Other than your attorneys, both



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         1    Ms. Browne and all of the attorneys that you met
         2    with yesterday to prepare for this deposition, did
         3    you discuss your deposition with anyone else other
         4    than your lawyers?
         5           A      What do you mean by discuss my
         6    deposition?
         7           Q      Did you discuss the fact that you were
         8    going to be deposed today with anyone aside from
         9    your lawyers?
       10            A      The fact that I was going to come to
       11     this building today to be deposed, yes.
       12            Q      And who did you discuss that with?
       13            A      My wife knows that I'm here, as well as
       14     my parents.       And I believe it's a generally known
       15     fact within the department that there are a number
       16     of people who are being deposed, the Department of
       17     Homeland Security and Department of Justice.                But
       18     I can't recall specific discussions.
       19            Q      Great.     And did you -- aside from
       20     attorneys in the general counsel's office at the
       21     Department of Homeland Security did you discuss
       22     today's deposition with anyone else within the



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         1    Department of Homeland Security?
         2            A         Did I discuss what about today's
         3    deposition?         The fact that I was being deposed?
         4            Q         The nature of the deposition?
         5            A         What do you mean by the nature of the
         6    deposition?
         7            Q         The content?
         8            A         The content of the deposition, no.
         9            Q         Did you discuss the fact that you were
        10    being deposed in the case challenging the DACA
        11    program with any employees of the Department of
        12    Homeland Security who are not attorneys in the
        13    Office of the General Counsel?
        14            A         Yes, I mean in terms of scheduling.
        15            Q         And --
        16            A         I mean --
        17            Q         -- Who would that be?      Pardon me.
        18            A         I have a confidential assistant who
        19    knows my schedule and where I am.              And I have a
        20    couple of individuals who support me as well who
        21    know that I am here today.
        22            Q         Aside from your confidential assistant



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         1    and what sounds like support staff, did you
         2    discuss the fact that you were being deposed in a
         3    case challenging the termination of DACA with any
         4    non-attorney DHS employees?
         5           A      I got a text message from the deputy
         6    chief of staff yesterday asking where -- where my
         7    whereabouts were yesterday.                And I told her that I
         8    was in DACA prep and that I would be here --
         9    deposition prep for DACA, and I would be here
       10     today.
       11            Q      Okay.     Do you know that other employees
       12     of DHS have been deposed either in this case or in
       13     the California DACA termination case in the last
       14     week?
       15            A      I am aware.
       16            Q      Do you know James Nealon who works for
       17     DHS?
       18            A      I do.
       19            Q      Did you speak to James Nealon about your
       20     deposition testimony?
       21            A      I did not.
       22            Q      Do you know James McCament who works for



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         1    USCIS?
         2           A      I do.
         3           Q      Did you speak to James McCament about
         4    your deposition testimony?
         5           A      I did not.
         6           Q      Do you know Phillip Miller who works for
         7    ICE?
         8           A      I do.
         9           Q      Did you speak to Phillip Miller about
       10     your deposition testimony?
       11            A      I did not.
       12            Q      Do you know Donald Neufeld who works at
       13     USCIS?
       14            A      I do.
       15            Q      Did you speak to Donald Neufeld about
       16     your deposition testimony?
       17            A      I do not.
       18            Q      Have you ever provided testimony at all
       19     in a lawsuit?
       20            A      Testimony, no.
       21            Q      Have you ever provided a written
       22     declaration for any lawsuit?



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         1           A      I don't believe so.
         2           Q      Have you ever provided testimony before
         3    Congress, the United States Congress?
         4           A      I have not.
         5           Q      Have you ever help prepare congressional
         6    testimony for other witnesses before the
         7    United States Congress?
         8           A      Certainly.
         9           Q      Did that include written testimony?
       10            A      Yes.
       11            Q      Have you ever helped prepare a witness
       12     to provide oral testimony for a congressional
       13     hearing at the United States Congress?
       14            A      Yes.
       15            Q      Where did you grow up?
       16            A      Where did I grow up?           I was born in
       17     Arizona.      I lived there for 16 years.           I moved to
       18     Georgia.      I lived in Georgia for a while.             I moved
       19     to Florida.       I moved to Virginia.          Back to
       20     Georgia.      Back to Virginia.            And so a little bit
       21     all over the place.
       22            Q      Great.     When did you graduate college?



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         1           A      2005.
         2           Q      And what did you study in college?
         3           A      International affairs.
         4           Q      Where did you work after college?
         5           A      A commercial landscape company called --
         6    it is now known as Ruppert Landscaping.              At the
         7    time it was known as Ruppert Nurseries.
         8           Q      And what state was that in?
         9           A      I worked for them in Georgia.          They are
       10     headquartered here in metro D C.
       11            Q      Great.     You attended law school at
       12     Washington and Lee School of Law.            Is that
       13     correct?
       14            A      That is where I graduated from.
       15            Q      Did you attend a different law school
       16     previous to Washington and Lee School of Law?
       17            A      I did.
       18            Q      What was that law school?
       19            A      My first year of law school was at the
       20     Florida International University School of Law.
       21            Q      Great.     And when did you graduate from
       22     Washington and Lee School of Law?



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         1           A      2010.
         2           Q      Why did you decide to attend law school?
         3           A      I'd always found the law interesting and
         4    thought that it was something that I would like to
         5    do.    And after working in commercial landscaping
         6    for a couple of years I decided that it would
         7    probably be worth a shot for a change.
         8           Q      Okay.     Were you interested in focusing
         9    in any particular areas while you were in law
       10     school?
       11            A      I was generally open to a lot.
       12            Q      Did you have an interest in immigration
       13     when you entered law school?
       14            A      When I entered law school?
       15            Q      Uh huh?
       16            A      Not specifically.
       17            Q      When would you say your interest in
       18     immigration law arose?
       19            A      I did an internship or externship with U
       20     S Immigration and Customs Enforcement at the Krome
       21     detention center in Miami the summer after my
       22     first year of law school.             And it was interesting,



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         1    but I don't know that it was necessarily anything
         2    that I thought I would do forever.
         3           Q      Great.     Did you work over your law
         4    school summers?
         5           A      I did.
         6           Q      And where did you work over your law
         7    school summers?
         8           A      I worked as indicated at the Krome
         9    detention center with U S Immigration and Customs
       10     Enforcement.        After my one L year -- my second
       11     year, my second summer I worked at the Air Force
       12     General Counsel's office as well as served as a
       13     research assistant to a law professor and served
       14     as a guest editor on the Harvard Journal of Law
       15     and Public Policy.
       16            Q      What was the name of the law professor
       17     who you served as a research assistant for?
       18            A      Susan Franck.
       19            Q      And was she at Washington and Lee School
       20     of Law?
       21            A      She was.
       22




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         1           Q      And did you have any term time
         2    internships while in law school?
         3           A      Term time?       What do you mean by that?
         4           Q      Not during the summers, but during the
         5    academic school year?
         6           A      And what do you mean by internship?
         7           Q      Where you worked for an organization?
         8           A      I provided part time assistance over I
         9    think beginning in my one L year and over the
       10     course of my law school career to a professor of
       11     law at the United States Coast Guard Academy.                At
       12     the time he was Commander Sulmasy.             He later
       13     became Captain Sulmasy.            I believe he's now
       14     retired and now teaches somewhere.
       15                   I worked for Susan Franck off and on
       16     doing research assistance.
       17                   And then during my third year of law
       18     school I don't know that I -- I don't recall
       19     specific externships or internships, but the
       20     entire third year curriculum at Washington and Lee
       21     was modeled on a practice oriented type of
       22     program.      So I was engaged in some practice



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         1    oriented type of classes, but not internships
         2    specifically.
         3           Q      Thank you.       And did you take part in any
         4    legal clinics during law school?
         5           A      Legal clinics?         Define a legal clinic?
         6           Q      A legal clinic is generally hosted at
         7    the law school to provide practical education or
         8    clinical education serving specific clients?
         9           A      Specific clients in the community?
       10     Where I -- one of the programs that I took in my
       11     third year was focused on international tribunals.
       12     And we provided some legal research to I believe
       13     the international -- I don't even remember.               It
       14     was a specific name.           It was for somebody who was
       15     being tried for war crimes in Yugoslavia,
       16     something along those lines.               I don't remember
       17     specifics.
       18            Q      Okay.
       19            A      It wasn't that interesting.
       20            Q      Thank you.       What was your first job
       21     after law school?
       22            A      I was accepted into the Secretary's



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         1    Honors Program for attorney's at the United States
         2    Department of Homeland Security in the general
         3    counsel's office.          That program involved a number
         4    of opportunities to rotate around the department.
         5    So my first billet in that program was with the
         6    United States Customs and Border Protection.                I
         7    spent a number of months working with the ethics
         8    labor and employment division.             Subsequently
         9    worked for the enforcement division and the trade
       10     divisions.        After that my next rotation was with
       11     the Office of General Counsel's office of
       12     operations and -- the operations and enforcement
       13     law division.        After that I did a rotation with
       14     the intelligence law division at the Office of
       15     General Counsel.         After that I worked at the TSA's
       16     Office of Chief Counsel.             And left the program to
       17     take a position with U S Immigration and Customs
       18     Enforcement in Atlanta, Georgia.
       19            Q      Great.     Did you do any other rotations
       20     other than the ones you enumerated while in the
       21     DHS honors program?
       22            A      No.



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         1           Q      When did you leave the DHS honors
         2    program?
         3           A      I left early.        It was May of 2012 I
         4    believe.
         5           Q      Okay.     And when did you began at the --
         6    was it the Office of Chief Counsel in Atlanta?
         7           A      That's correct.
         8           Q      The DHS?      When did you begin there?
         9           A      Immediately after leaving.
       10            Q      In May?
       11            A      May 2012.
       12            Q      So you were at the Office of Chief
       13     Counsel in Atlanta, Georgia when the DACA program
       14     was created?
       15            A      That is correct.
       16            Q      Is it okay for me to refer to the Office
       17     of Chief Counsel as OCC?
       18            A      Sure.     If you want to.
       19            Q      What attracted you to taking that job at
       20     OCC in Atlanta?
       21            A      I was interested in staying within the
       22     department, getting practical field experience.



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         1    And my wife was pregnant at the time and getting
         2    back to Georgia was a good idea.
         3           Q      And what was your title at the OCC in
         4    Atlanta?
         5           A      Assistant chief counsel.
         6           Q      And what were your responsibilities as
         7    assistant chief counsel?
         8           A      Primarily litigating cases before the
         9    Executive Office of Immigration Review.              So that
       10     was being at immigration court two to three days a
       11     week, all day, handling master care -- master
       12     cases, merits cases as well as providing
       13     enforcement and advice to the law enforcement
       14     officers and agents of U S Immigration and Customs
       15     Enforcement.        Also had responsibilities for the
       16     national security docket at certain portions of my
       17     time there, as well as work site enforcement
       18     litigation with respect to the civil fines and
       19     penalties we are authorized to collect under the
       20     Title 8.
       21            Q      And while at the OCC in Atlanta did you
       22     have cases involving DACA recipients?



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         1           A      I believe so.
         2           Q      What do you recall about the cases that
         3    you had involving DACA recipients?
         4           A      Let's take a step back.           When you say
         5    DACA recipients?
         6           Q      People who had been granted DACA?
         7           A      If someone was granted DACA, we were
         8    generally instructed to close cases for someone
         9    who had been granted DACA.                So generally speaking
       10     a DACA recipient, we would not have a case
       11     involving a DACA recipient.
       12            Q      Did you ever have a case in which an
       13     individual had DACA but you did not terminate
       14     immigration proceedings?
       15            A      Not that I can recall.
       16            Q      Did you have cases involving individuals
       17     who appeared facially eligible for DACA but had
       18     not yet applied?
       19            A      Yes.
       20            Q      What did you do in those cases?
       21            A      We followed protocol.           And generally
       22     everyone was aware of DACA and they would come to



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         1    court and indicate an intent to apply and we
         2    would -- they would seek a continuance and we
         3    would not object to a continence of the case.
         4           Q      Do you ever recall a case where the
         5    individual was not aware that they were facially
         6    eligible for DACA where you may have recommended
         7    or identified that they might want to look into
         8    the application process for DACA?
         9           A      I don't recall any specific times.
       10            Q      And what month and year did you leave
       11     OCC in Atlanta?
       12            A      February of 2015.
       13            Q      While at the OCC in Atlanta did you work
       14     on the issue of unaccompanied minors at all?
       15            A      Define the issue of unaccompanied
       16     minors?      What do you mean by that?
       17            Q      Are you aware that beginning in May --
       18     May or June of 2014 there was increase of the
       19     arrival of unaccompanied minors to the
       20     United States from Central American countries?
       21            A      Generally speaking, yes, that is
       22     accurate and I was aware of that.



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         1           Q      Did you see that in your own work at the
         2    OCC in Atlanta?
         3           A      Certainly.
         4           Q      What kind of interactions did you have
         5    with unaccompanied minors arriving from Central
         6    America in your work at OCC in Atlanta?
         7           A      Any unaccompanied alien child who is
         8    apprehended by the United States Department of
         9    Homeland Security is issued a notice to appear and
       10     placed into immigration court removal proceedings.
       11     So we would have dockets of UACs.            Occasionally,
       12     the court would erroneously schedule a UAC on a
       13     non-UAC docket and so we would handle the cases.
       14     But we were generally aware of that, reviewed
       15     files as they came in, served them at the court, a
       16     whole host of general duties.
       17            Q      Did you see an increase in the number of
       18     unaccompanied minors on the docket at OCC in
       19     Atlanta during your time there?
       20            A      Yes, I did.
       21            Q      And what countries were those
       22     unaccompanied minors primarily from?



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         1           A      The Northern Triangle, Central -- in
         2    Central America.         So, El Salvador, Honduras,
         3    Guatemala.
         4           Q      Do you have a general sense of the
         5    country conditions in El Salvador, Honduras, and
         6    Guatemala?
         7           A      Generally.
         8           Q      What -- what is your general sense of
         9    the country conditions in those three countries?
       10            A      Define country conditions?
       11            Q      I would define country conditions in
       12     this occasion akin to how the United States
       13     Department of State does, where there is civil
       14     unrest and high levels of violence or targeting of
       15     individuals.
       16            A      Targeting of individuals by whom?
       17            Q      Well, what's your understanding of the
       18     type of violence that exists in these countries,
       19     for example?
       20            A      My general understanding is that each
       21     specific country has different conditions between
       22     El Salvador, Guatemala, Honduras, as well as some



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         1    of the neighboring countries and Mexico as well.
         2    They -- conditions have generally -- I wouldn't
         3    even say generally.           In some cases depending on
         4    the metric, they have improved.             Some cases you
         5    could look at certain statistics and say that they
         6    have not improved.          You are talking about
         7    countries that generally speaking have been marked
         8    by civil strife and discord for decades in various
         9    fashions.         They are countries that are on the cusp
       10     of a lot of change and positive development and it
       11     is something that this government has shown its
       12     commitment and dedication to.              And we hosted a
       13     Conference on Security and Prosperity in Central
       14     America in Miami in June where we brought together
       15     the leaders of those countries as well as the
       16     private sector.         And we heard a lot of positive
       17     developments and I'm generally encouraged about
       18     the future prospects of those countries and about
       19     their current conditions.             It's not to say that
       20     there's not problems there, but generally speaking
       21     it's things are improving.
       22            Q      Great.     And did you get a sense when you



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         1    were at OCC in Atlanta of the primary reasons why
         2    unaccompanied minors were leaving from El
         3    Salvador, Guatemala, and Honduras?
         4           A      Let's parse that out.
         5           Q      Sure.
         6           A      Did I get a sense of the general reasons
         7    that they were leaving?
         8           Q      Uh huh?
         9           A      In that so much as what was said by
       10     them, the stated reasons?             Or --
       11            Q      -- Sure.      Let's start with --
       12            A      -- the actual potential reasons?
       13            Q      Perfect.      Let's start with the stated
       14     reasons by the unaccompanied minors themselves?
       15            A      Generally speaking any time an alien is
       16     apprehended by the United States Department of
       17     Homeland Security they are interviewed by
       18     typically a border patrol agent.              They are asked a
       19     series of questions including why did you come,
       20     where are you going, do you have a fear of return.
       21     And in a large number of the cases that I
       22     remember recall -- reviewing the stated reason was



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         1    to come join a family member residing in the
         2    United States.         There was not generally any
         3    expressed fear, although there were certain cases
         4    where that was done, generally speaking if we are
         5    talking about UACs.
         6           Q      Do you remember any example of UAC or
         7    unaccompanied minor stating that they came to the
         8    United States in order to apply for the DACA
         9    program?
       10            A      That they came to the United States to
       11     apply for the DACA program?
       12            Q      Correct.
       13            A      I don't recall anyone ever saying
       14     specifically that they were coming to apply for
       15     the DACA program.          I seem to recall -- and we are
       16     talking about reviewing hundreds if not thousands
       17     of case files over the course of the years and it
       18     has about sometime.           I do recall on several
       19     occasions reading statements about individuals
       20     saying that they were coming to seek permisos.
       21     That they were seeking -- coming here because they
       22     had heard that the law had changed with respect to



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         1    the treatment of minors in the United States.
         2           Q      And what did you understand the term
         3    permisos to mean in this context?
         4           A      Permisos generally refer to work
         5    permits.
         6           Q      And of those hundreds to thousands of
         7    case files approximately how many or what percent,
         8    whatever is easier for you to approximate, would
         9    you say that the unaccompanied minors stated that
       10     they were coming to the United States in order to
       11     apply for permisos?
       12            A      I couldn't guess.
       13            Q      Less than 2 percent?
       14            A      I couldn't guess.
       15            Q      Okay.     What was your next job after you
       16     were at the OCC in Atlanta?
       17            A      My next job was serving as general
       18     counsel to Senator Sessions on the United States
       19     Judiciary Committee.
       20            Q      When did you begin that position?
       21            A      February of 2015.
       22            Q      If I refer to the Senate Judiciary



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         1    Committee as the SJC is that okay?
         2           A      If it makes it easier for you.
         3           Q      What attracted you to working for the
         4    SJC?
         5           A      The work of the Senate Judiciary
         6    Committee is diverse and generally covers a lot of
         7    interesting legal topics including immigration.
         8    And Senator Sessions assumed the chairmanship of
         9    the subcommittee on Immigration and The National
       10     Interest and so I took a position serving him in
       11     that capacity.
       12            Q      Great.     And when did you leave the
       13     Senate Judiciary Committee?
       14            A      January 20, 2017.
       15            Q      In the entire time you were at SJC did
       16     you hold the title of general counsel to Senator
       17     Sessions?
       18            A      Indeed.
       19            Q      And in your role as general counsel to
       20     Senator Sessions at the SJC can you describe your
       21     working relationship to then Senator Jefferson
       22     Sessions?



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         1                  MR. GARDNER:        Counsel, just to be clear.
         2                  MS. TUMLIN:       Sure.
         3                  MR. GARDNER:        So if you are asking about
         4    the substance of the work he did that would be
         5    subject to the speech and debate clause and we
         6    instruct the witness not to answer.             If you are
         7    asking at a high level of generality what his
         8    general job responsibilities are we can permit the
         9    witness to answer that question.            I just want to
       10     be clear.         I'm not entirely clear what you are
       11     asking.
       12     BY MS. TUMLIN:
       13            Q      Sure.     Well, right now I'm asking about
       14     your working relationship to then
       15     Senator Sessions, meaning how frequently did you
       16     have contact with the senator when you were
       17     serving in this role?
       18                   MR. GARDNER:        That is a permissible
       19     question if you're asking about just the frequency
       20     of contact.        You can answer that question.
       21                   THE WITNESS:        I had a tremendous working
       22     relationship with then Senator Sessions and we



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         1    spoke on a near daily basis, if not multiple times
         2    a day.
         3    BY MS. TUMLIN:
         4           Q      Great.     Do you recall how you first came
         5    to work for then Senator Sessions?
         6           A      Clarify your question?
         7           Q      How did you first apply for the job at
         8    the SJC?
         9           A      I became aware of an opening through a
       10     friend and was asked if I was interested.               And I
       11     sent my resume and was interviewed and --
       12            Q      What was the name of that friend who
       13     made you aware of the opening?
       14            A      Danielle Cutrona.
       15            Q      And at a high level of generality what
       16     were your responsibilities when you were the
       17     general counsel to Senator Sessions at the SJC?
       18            A      Generally speaking the subcommittee on
       19     Immigration and The National Interest has a work
       20     portfolio that they do.            So it's everything from
       21     managing legislation that comes through the
       22     subcommittee to the disposition of private relief



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         1    bills that are filed, as well as providing subject
         2    matter expertise on pending legislation to the
         3    chairman as holding hearings, interacting with the
         4    executive branch, other members of Congress,
         5    assisting the chairman with speech writing and
         6    other duties as necessary.
         7           Q      Great.     How many other staff worked for
         8    Senator Sessions at that time serving him in his
         9    role as a member of the SJC?
       10            A      The judiciary committee staff was --
       11     fluctuated a little bit, generally speaking it was
       12     about five to six people.
       13            Q      Okay.     Were there any other attorneys on
       14     the Senate judiciary staff at the time that you
       15     were there?
       16            A      It was largely all attorneys.
       17            Q      Were there any other attorneys who had
       18     experience in immigration law aside from yourself?
       19            A      What do you mean experience in
       20     immigration law?
       21            Q      Previous work experience in the subject
       22     of immigration as an attorney?



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         1           A      As an attorney working in immigration
         2    outside of the United States Congress?
         3           Q      Either inside of the United States
         4    Congress or outside experience with the federal
         5    immigration laws as an attorney?
         6           A      Danielle Cutrona who worked there,
         7    although she did not work outside of the
         8    United States Congress on the matter, is generally
         9    knowledgeable about the immigration laws of the
       10     United States.
       11            Q      Anyone else from the SJC staff at that
       12     time?
       13            A      You are asking about prior work
       14     experience, not work experience gained during
       15     their time?
       16            Q      Correct.
       17            A      Generally, not.
       18            Q      Of the five to six other attorneys
       19     working on the SJC staff at the time you were
       20     there, in addition to yourself and Danielle
       21     Cutrona would you consider anyone else as having
       22     expertise in the federal immigration laws?



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         1           A      Expertise, generally not.          Although,
         2    individuals are -- who worked with us became
         3    immediately familiar with a lot of the immigration
         4    laws and developed some level of knowledge,
         5    perhaps not expertise.            But they -- they were
         6    required to become knowledgeable about the
         7    business of the committee.
         8           Q      Is it fair to say that you had primary
         9    responsibility for immigration issues while at the
       10     SJC?
       11            A      Yes.
       12            Q      While at the SJC did you work on press
       13     materials for then Senator Sessions?
       14                   MR. GARDNER:        Karen, I think at this
       15     point we are getting into speech and debate clause
       16     issues.      Again, at a high level of generality --
       17                   MS. TUMLIN:       -- It's a yes, no question.
       18                   MR. GARDNER:        I understand it's a yes,
       19     no question.        I think we are getting into the core
       20     of the speech and debate clause.              So we instruct
       21     the witness not to answer.
       22                   MS. TUMLIN:       Okay.      You're -- just to be



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         1    clear for the record you're instructing him not to
         2    answer the question of whether he worked on press
         3    materials for then Senator Sessions while at the
         4    SJC.
         5                  MR. GARDNER:        You were asking him about
         6    the work that he did for a particular senator.
         7    The speech and debate clause may apply to protect
         8    that information.
         9                  MS. TUMLIN:       Okay.
       10                   MR. GARDNER:        It's a broad privilege,
       11     yes.
       12     BY MS. TUMLIN:
       13            Q      So you may have a similar objection and
       14     instruction, but I will ask the question anyway so
       15     we have a clean record.
       16                   While at the SJC did you work on
       17     advocacy to the Department of Homeland Security or
       18     to other federal agencies?
       19                   MR. GARDNER:        I do have the same
       20     objection and the same instruction.
       21                   MS. TUMLIN:       Okay.      Right.   Again, for
       22     clarity on the record we object to that



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         1    instruction.        We reserve our right to take that up
         2    later with the court.
         3    BY MS. TUMLIN:
         4           Q      Okay.     What immigration related hearings
         5    did then Senator Sessions hold while you were
         6    working for him at the SJC?
         7           A      What hearings did he hold immigration --
         8           Q      -- Immigration related?
         9           A      -- related?       I couldn't recall all of
       10     them.      A number.
       11            Q      Could you approximate roughly how many?
       12            A      At least ten.
       13            Q      Great.
       14            A      Likely.      It could have been more, it
       15     could have been less.
       16            Q      Okay.     Did then Senator Sessions hold
       17     any hearings related to DACA while you were
       18     working for him?
       19            A      Specifically related on the topic of
       20     DACA?
       21            Q      Where DACA featured prominently even if
       22     the hearing for example was generally related to



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         1    immigration?
         2           A      I recall it came up in a few hearings,
         3    but I'm not sure.
         4           Q      And approximately how many hearings do
         5    you think DACA came up while you were at the SJC?
         6           A      I couldn't guess.
         7           Q      Less than five?
         8           A      I couldn't tell you.
         9           Q      Okay.     Do you remember what role you had
       10     in those hearings where DACA did come up?
       11                   MR. GARDNER:        And that is a yes or no
       12     question and you can answer that with a yes or no.
       13                   THE WITNESS:        Yes.
       14     BY MS. TUMLIN:
       15            Q      Your attorney may instruct you not to
       16     answer, but can you describe what your role was in
       17     those hearings where DACA came up?
       18                   MR. GARDNER:        Objection.   That calls for
       19     disclosure of information subject to the speech
       20     and debate clause.          I instruct the witness not to
       21     answer.
       22




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         1                      MS. TUMLIN:    Okay.     And we preserve our
         2    objection to that instruction.
         3    BY MS. TUMLIN:
         4           Q          Did you interview with then Senator
         5    Sessions for your job at the SJC before you were
         6    offered that position?
         7           A          Did I interview with him specifically?
         8           Q          Yes.
         9           A          No.
       10            Q          Did you meet him during any interview
       11     you had for that job before you were offered the
       12     job?
       13            A          I did not meet him prior to being hired
       14     by him.      And in fact he represented to me later
       15     that I was the first person he had ever hired as
       16     an attorney to work for him based solely on the
       17     strong recommendations of those who did interview
       18     me.
       19            Q          So, had you ever spoken with Senator
       20     Sessions before you started your position at the
       21     SJC?
       22            A          No.



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         1           Q      Do you know Stephen Miller who works at
         2    the White House now?
         3           A      Yes, I do.
         4           Q      How did you first meet Mr. Miller?
         5           A      Through our work at the United States
         6    Senate.
         7           Q      Did you work with Stephen Miller while
         8    working for then Senator Sessions at the SJC?
         9           A      Yes.
       10            Q      Did you work on hearings together with
       11     Mr. Miller while at the SJC?
       12            A      Did we work on hearings together?           Did
       13     he have a role to play with some of the hearings
       14     that we held?        Sure.     As the communications
       15     director for the senator he had a role to play
       16     with respect to the hearings that the senator
       17     participated in.
       18            Q      Did you work on any legislation together
       19     with Mr. Miller while at the SJC?
       20                   MR. GARDNER:        Again, I think we are
       21     getting close to the line of again, implicating
       22     the speech and debate clause.              I instruct the



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         1    witness not to answer.
         2                  MS. TUMLIN:       Okay.      You're instructing
         3    him not to answer the yes, no question?
         4                  MR. GARDNER:        That's what I said.
         5    BY MS. TUMLIN:
         6           Q      Okay.     While at the SJC did you work on
         7    any legislation related to DACA?
         8                  MR. GARDNER:        Same objection.    Same
         9    instruction.
       10                   MS. TUMLIN:       Okay.      We preserve our
       11     right to bring those objections before the court.
       12     BY MS. TUMLIN:
       13            Q      How were the roles that you and Stephen
       14     Miller held during the time you were at the SJC
       15     related to one another?
       16                   MR. GARDNER:        Same objection.    Calls for
       17     information covered by the speech and debate
       18     clause.      I instruct the witness not to answer.
       19     BY MS. TUMLIN:
       20            Q      Okay.     Going back to your interview for
       21     your job at the SJC, who interviewed you?
       22            A      My real, formal interview was conducted



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         1    by Rick Dearborn, the chief of staff for Senator
         2    Sessions.
         3           Q      Was anyone else in the interview that
         4    you remember?
         5           A      Was anyone else in the interview in the
         6    room?
         7           Q      Asking questions or --
         8           A      I -- I honestly don't know.          Well, the
         9    only person who asked me questions was Rick
       10     Dearborn.         At the time my wife had just suffered a
       11     miscarriage and so instead of traveling to D C
       12     they arranged a video teleconference for me down
       13     in Georgia and I participated that way.              And so I
       14     only saw on the screen.            And I was thankful for
       15     the opportunity to do so.
       16            Q      Okay.     We're going to switch subjects.
       17     You served on President Trump's transition team.
       18     Is that correct?
       19            A      That's correct.
       20            Q      What dates approximately did you serve
       21     on President Trump's transition team?
       22            A      I believe I started in August of 2016.



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         1           Q      Okay.     How did you get appointed to the
         2    transition team for now President Trump?
         3           A      I don't recall specifically.          It was
         4    just kind of a situational became aware of it and
         5    engaged.
         6           Q      Did someone recommend you to be placed
         7    on the transition team?
         8           A      I think to the best of my recollection
         9    Danielle and I both generally agreed to
       10     participate and to help them out.
       11            Q      Who did you make your agreement to
       12     participate in the transition team known to?
       13            A      Who did I make it known to?
       14            Q      Uh huh?
       15            A      At what point in time?
       16            Q      In -- previous to August 2016?
       17            A      I'm not sure I follow the question.
       18            Q      Did you have to interview with anyone to
       19     become a member of the transition team?
       20            A      I don't recall a specific interview.
       21            Q      What was your role in the transition
       22     team?



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         1           A      I served as an adviser on immigration
         2    related issues.
         3           Q      Did you have a title?
         4           A      Not to the best of my recollection.
         5           Q      Aside from Danielle, who I assume is
         6    Danielle Cutrona, did anyone else serve with you
         7    on the transition team as an adviser on
         8    immigration related issues?
         9           A      Yes, there were others.
       10            Q      Who were they?
       11            A      I signed a confidentiality agreement
       12     with the transition entity and I have a legal
       13     contract that I believe precludes me from
       14     disclosing any of the substantive information
       15     about the fact that other individuals participated
       16     on the transition team.
       17            Q      Presumably that should include Danielle?
       18            A      Danielle is one I can -- I -- who
       19     introduced me to the position generally speaking.
       20     The two of us at the same time, revealing that
       21     information was necessary in that context to
       22     explain how I became aware of the program or of



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         1    the position.
         2           Q      So it is through Danielle that you
         3    became aware of the position in the transition
         4    team?
         5           A      Generally I would say that's probably
         6    right, although we both became aware of it at
         7    about the same time.
         8           Q      Okay.     Who did you report to while you
         9    were part of the transition team?
       10            A      I don't recall specifically prior to the
       11     election who I reported to.                Although -- I don't
       12     recall.
       13            Q      Was there someone who you were sending
       14     ideas or recommendations on immigration related
       15     issues to prior to the election?
       16            A      Not generally.         I don't know that there
       17     was -- we were sending anything to anyone
       18     specifically so much as just working on them.
       19            Q      Did anyone report to you while you were
       20     serving as an adviser on immigration related
       21     issues on the transition team?
       22            A      Yes.



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         1           Q      And who was that?
         2           A      I would prefer to not disclose their
         3    identities, although after the election I was
         4    generally the lead on development of all
         5    immigration policy issues for the transition
         6    entity and so everyone who worked on that reported
         7    to me.
         8           Q      I'm sorry.       Did you say after the
         9    election you were the lead on all immigration
       10     related issues or before?             I just heard that --
       11            A      It was -- I know for certain it was
       12     definitive that I was after.               And before largely,
       13     yes, also.
       14            Q      Okay.     So leaving aside the identities
       15     of those individuals for a moment can you give me
       16     a rough number of how many other individuals
       17     worked on immigration related issues as a part of
       18     the transition team?
       19            A      Ten, 12.
       20            Q      Great.     Okay.     Did you have a role in
       21     vetting or assessing candidates for presidential
       22     appointments as part of the transition team?



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         1           A      In vetting or assessing?
         2           Q      Uh huh.
         3           A      No.
         4           Q      What about in recommending names for
         5    specific appointments?
         6           A      Yes.
         7           Q      Did you recommend names for the
         8    Department of Homeland Security appointments?
         9           A      Yes.
       10            Q      How about USCIS?
       11            A      Yes.
       12            Q      How about ICE?
       13            A      Yes.
       14            Q      How about U S Department of Justice?
       15            A      I think so.
       16            Q      Okay.     Did you work with Stephen Miller
       17     while on the transition team?
       18            A      Yes.
       19            Q      Can you describe in what ways you worked
       20     with Stephen Miller as a member of the transition
       21     team?
       22




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         1                  MR. GARDNER:        Are you asking about prior
         2    to the election or after the election?               Just so
         3    I'm clear.
         4                  MS. TUMLIN:       I'm asking about prior to
         5    inauguration day.
         6                  MR. GARDNER:        Okay.
         7                  MS. TUMLIN:       Do you need a moment?
         8                  MR. GARDNER:        Do you need to take a
         9    break?
       10                   MR. ROSENTHAL:         There is the room back
       11     there where I showed you last time.
       12                   THE VIDEOGRAPHER:            We are going off the
       13     record.      The time on the video is 10:09 a.m.
       14                   (The proceeding recessed from 10:09 a.m
       15     to 10:22 a.m.)
       16                   THE VIDEOGRAPHER:            We're back on the
       17     record.      The time on the video is 10:22 a.m.
       18     BY MS. TUMLIN:
       19            Q      Okay.     And I believe I was asking you
       20     some questions about your role in President-elect
       21     Trump's transition team.             When we broke I was
       22     asking you a question about your work with Stephen



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         1    Miller on the transition team.             To try to help us
         2    get over some of the disagreements on objections
         3    I'm going to restate that question and limit the
         4    temporal scope.
         5                  So can you describe your work with
         6    Stephen Miller on the transition team prior to the
         7    election of President Trump?
         8           A      I don't know that we had a whole lot of
         9    direct interaction on the transition team itself.
       10     He was busy with the campaign.             We were focusing
       11     on transition team related matters.             We had some
       12     interactions, but I don't recall anything
       13     specifically.
       14            Q      Okay.     And looking now only at the
       15     period after the election day and prior to the
       16     inauguration of President Trump can you describe
       17     your interaction with Stephen Miller while on the
       18     president's transition team?
       19                   MR. GARDNER:        You can you answer that
       20     question to the extent you can do so without
       21     identifying pre-decisional deliberative
       22     information.        To the extent that your answer would



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         1    include that we would instruct you not to answer
         2    on the basis deliberative process privilege and
         3    potential presidential communication privilege.
         4                  THE WITNESS:        We generally discussed the
         5    formulation of policy.
         6    BY MS. TUMLIN:
         7           Q      Did you discuss the formulation of
         8    immigration policy?
         9                  MR. GARDNER:        That is a question you can
       10     answer.
       11                   THE WITNESS:        Yes.
       12     BY MS. TUMLIN:
       13            Q      Did you discuss the formulation of
       14     policy with respect to the DACA program?
       15            A      Yes.
       16            Q      Did you discuss whether or not you felt
       17     the DACA program should be terminated?
       18                   MR. GARDNER:        I will object on -- and
       19     now we are talking post November 7?             Correct?
       20     BY MS. TUMLIN:
       21            Q      We're talking after November 7 and prior
       22     to January 20 did you discuss whether you felt the



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         1    DACA program should be terminated with Stephen
         2    Miller?
         3                      MR. GARDNER:       At this point we would
         4    object on the basis of deliberative process
         5    privilege and presidential communication
         6    privilege.         I instruct the witness not to answer.
         7                      MS. TUMLIN:       Okay.    And plaintiffs take
         8    a position that because the president had not yet
         9    taken the oath of office that the presidential
       10     privilege does not apply.                We preserve our right
       11     to take up that objection, and the deliberative
       12     process privilege as well.
       13     BY MS. TUMLIN:
       14            Q          So again, I will try to be clear about
       15     the time period I'm talking about.                So, prior to
       16     election day did you discuss DACA in any way with
       17     any other transition team members aside from
       18     Stephen Miller?
       19            A          Likely, yes.
       20            Q          And who would that include?
       21            A          Preelection day?
       22            Q          Uh huh.



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         1           A      I signed a nondisclosure agreement.
         2           Q      Okay.     So that nondisclosure agreement
         3    is not with anyone in this room.              Correct?
         4           A      That's correct.
         5                  MS. TUMLIN:       And there is no basis that
         6    I hear your attorney objecting to.
         7                  Do you have any objections to the
         8    witness under oath providing the names of the
         9    other individuals prior to the election of
       10     President Trump on the transition team that he
       11     discussed DACA with?
       12                   MR. GARDNER:        The agreement that
       13     Mr. Hamilton may have with the transition team is
       14     not an agreement I've ever seen.              It is between he
       15     and the campaign.          We are not asserting any basis
       16     for him to respond or not respond on the basis of
       17     the nondisclosure agreement.               It's a private
       18     agreement.
       19     BY MS. TUMLIN:
       20            Q      Mr. Hamilton, are you refusing to answer
       21     that question on the basis of an agreement that's
       22     not --



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         1           A      I am.
         2           Q      -- before any of these parties?
         3           A      Yes.
         4           Q      Okay.     We are likely going to have to
         5    come back to that later on today.
         6                  So again, I'm focusing on the period
         7    prior to the election of President Trump.               Did you
         8    discuss whether you felt the DACA program should
         9    be terminated with any other members of the
       10     transition team other than Stephen Miller?
       11            A      Didn't you just ask me that question?
       12            Q      I asked if you discussed DACA.          This one
       13     is about whether you felt DACA would be
       14     terminated?
       15            A      Yes.
       16            Q      And are you taking the same position
       17     that you refuse to disclose who else you discussed
       18     whether you felt DACA should be terminated?
       19            A      Indeed.
       20            Q      Okay.     I'm going to switch time periods
       21     on you.      After the election of President Trump,
       22     but before his inauguration did you discuss



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         1    whether you felt DACA should be terminated with
         2    any other members of the transition team other
         3    than Stephen Miller?
         4                  MR. GARDNER:        That's a yes or no.     So
         5    that you would be permitted answer.
         6                  THE WITNESS:        Yes.
         7    BY MS. TUMLIN:
         8           Q      Okay.     And are you continuing to take
         9    the position that you will not disclose who aside
       10     from Stephen Miller you discussed whether the DACA
       11     program would be terminated with?
       12            A      Yes.
       13            Q      Okay.     Prior to the election of
       14     President Trump did you discuss DACA in any way
       15     with individuals who you were considering to
       16     recommend for positions within the Trump
       17     administration?
       18            A      Let's boil that down.        Did I discuss it
       19     with anyone who I referred for potential at -- in
       20     over what period of time?
       21            Q      Let's start with from when you began
       22     your role in August of 2016 on the transition team



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         1    and before the election of President Trump.               For
         2    any of the individuals who you recommended they be
         3    appointed to a position in a President Trump
         4    administration did you discuss DACA with them?
         5           A      I don't recall specifically, but maybe.
         6           Q      You previously testified that you
         7    recommended individuals to be appointed to the
         8    Department of Homeland Security.            Is that correct?
         9           A      Yes.
       10            Q      For those individuals who you
       11     recommended to be appointed to the Department of
       12     Homeland Security did you discuss DACA with them?
       13            A      Over what period of time?
       14            Q      From August 2016 until November 2017 --
       15     pardon me, 2016?
       16                   MR. GARDNER:        Do you want to reask that?
       17     Kind of confused --
       18                   MS. TUMLIN:       -- Sure.
       19     BY MS. TUMLIN:
       20            Q      From August 2016 until November 2016 for
       21     the individuals who you recommended to be
       22     appointed to the Department of Homeland Security



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         1    did you discuss DACA with any of them?
         2           A          What do you mean by discuss DACA?         Did
         3    we utter the word DACA?               Did it ever come up in a
         4    sentence or --
         5           Q          -- Yes.
         6           A          I am certain that I -- the words, the
         7    word DACA was uttered at some point in time.
         8           Q          For any of the individuals who you
         9    recommended to be appointed to the Department of
       10     Homeland Security did you ask them whether they
       11     felt the DACA program should be terminated?
       12            A          No.
       13            Q          For any of the individuals that you
       14     recommended to be appointed to the Department of
       15     Homeland Security did you convey to them your own
       16     view that DACA should be terminated?
       17            A          I think they were likely generally
       18     aware, but I don't recall specifically.
       19            Q          How would they have been aware that you
       20     felt the DACA program should be terminated?
       21            A          A number of the individuals are people
       22     with whom I have had associations and friendships



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         1    for some period of time.             It's likely that it came
         2    up in conversation.
         3           Q      So is it fair to say that individuals
         4    who you've had associations or friendships with
         5    for some time would be generally aware that you
         6    believe the DACA program should be terminated?
         7           A      They would generally be aware of my
         8    position that the program was illegal and that
         9    there should be some kind of disposition
       10     associated with it.
       11            Q      Why do you believe the DACA program is
       12     illegal, Mr. Hamilton?
       13            A      There is no statutory basis for the DACA
       14     program.      Congress expressly considered the
       15     creation of a legislative form of relief for that
       16     class of individuals and it chose not to pass it.
       17     It's pretty strong evidence.
       18            Q      Are you aware of a lawsuit that was
       19     filed by the USCIS union challenging the legality
       20     of the DACA program?
       21            A      The USCIS union?
       22            Q      I believe it was on behalf of Chris



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         1    Crane?
         2           A      Chris Crane is not a member of the USCIS
         3    union.     He is an employee of U S Immigration and
         4    Customs Enforcement.
         5           Q      Are you aware of any lawsuits that have
         6    been filed challenging the legality of the DACA
         7    program?
         8           A      Yes.
         9           Q      And which lawsuit would that be?
       10            A      The -- there was -- I'm generally aware
       11     of a lawsuit that was filed by the ICE union
       12     challenging some aspects of the DACA program.
       13            Q      Is that the lawsuit in which Kris Kobak
       14     was counsel?
       15            A      I believe so.
       16            Q      And are you aware of the result of that
       17     lawsuit?
       18            A      I don't recall the specifics.          I know it
       19     was disposed of by a judge in the Northern
       20     District of Texas on -- I believe on standing
       21     potentially, but that the end resolution was
       22     somewhat mixed about the program itself.



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         1           Q      Are you aware of any court ruling
         2    finding that the DACA program is illegal?
         3           A      A specific court ruling that found that
         4    DACA was illegal?
         5           Q      Uh huh?
         6           A      No.
         7           Q      Are you aware of any legislative efforts
         8    to defund the DACA program?
         9           A      Let me take a step back --
       10            Q      -- You want to go back?
       11            A      Am I aware of a court ruling that found
       12     that the DACA program, the original DACA program
       13     was illegal?
       14            Q      Uh huh?
       15            A      No.    Am I aware of a court decision that
       16     found the expansion of the DACA program to be
       17     illegal and contrary to law, yes.
       18            Q      And by the court ruling on the expansion
       19     of the DACA program are you referring to the
       20     United States v. Texas injunction that came from
       21     the Southern District of Texas?
       22            A      Indeed.



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         1           Q      From Judge Hanen's courtroom?
         2           A      Correct.
         3           Q      And what's your understanding of what
         4    that injunction limited with respect to DACA?
         5           A      The expansion of DACA as announced in
         6    former Secretary Johnson's November 20, 2014
         7    memorandum because that was all that the
         8    plaintiff's challenged.
         9           Q      After that injunction from Judge Hanen
       10     were individuals still allowed to make new
       11     applications, initial applications for the DACA
       12     program?
       13            A      Under the terms of the memorandum that
       14     was issued on June 15, 2012, yes.
       15            Q      Under the United States v. Texas
       16     injunction were individuals still allowed to renew
       17     their DACA for two-year periods of deferred action
       18     and work authorization?
       19            A      Pursuant to the original parameters of
       20     the program, yes.
       21            Q      As a member of the Trump transition team
       22     would you have ever recommended an individual to



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         1    work for the Department of Homeland Security if
         2    they felt the DACA program should continue after
         3    the president took office?
         4                  MR. GARDNER:        Object.   Calls for
         5    speculation, hypothetical.
         6                  THE WITNESS:        It's a very speculative
         7    question.         And I can't answer a hypothetical.
         8    BY MS. TUMLIN:
         9           Q      Did any of the individuals who you
       10     recommended for positions within the Department of
       11     Homeland Security express a view to you that they
       12     believed the DACA program should continue?
       13            A      I don't know.
       14            Q      If they had would you have recommended
       15     them for a position within the Department of
       16     Homeland Security?
       17                   MR. GARDNER:        Objection.    Calls for
       18     speculation, hypothetical.
       19                   MS. TUMLIN:       Are you instructing the
       20     witness not to answer?
       21                   MR. GARDNER:        Not at all.   I just made a
       22     form objection.



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         1                  THE WITNESS:        I will generally say that
         2    I would consider the whole person.               I didn't use a
         3    categorical questionnaire.                I didn't ask people
         4    specific questions about specific issues.
         5    BY MS. TUMLIN:
         6           Q      To your knowledge did any of the
         7    individuals who you recommended for positions in
         8    the Department of Homeland Security believe the
         9    DACA program should continue?
       10            A      I don't know.
       11            Q      About how many individuals did you
       12     recommend for positions within the Department of
       13     Homeland Security?
       14            A      Many.
       15            Q      More than ten?
       16            A      Likely.
       17            Q      More than 20?
       18            A      I don't know.
       19            Q      Did you meet then President-elect Trump
       20     while working with the transition team?
       21            A      I don't know that I met Trump during the
       22     transition period specifically.               I don't recall.



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         1    I don't think so.
         2           Q      Have you met President Trump?
         3           A      Yes.
         4           Q      Do you remember the first time you met
         5    him, approximately?
         6           A      Probably January or February of this
         7    year.
         8           Q      Okay.     Did you meet President Trump
         9    before he took the oath of office?
       10            A      Not to my recollection.
       11            Q      Okay.     Have you ever discussed DACA with
       12     President Trump?
       13            A      No.
       14            Q      Have you ever discussed any immigration
       15     topics with President Trump?
       16            A      Yes.
       17            Q      What topics are those?
       18                   MR. GARDNER:        You can answer the
       19     question as to topics at a high level.              To the
       20     extent that question implicates deliberative
       21     information that predates a decision that would be
       22     subject to the deliberative process privilege and



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         1    presidential communications privilege I instruct
         2    you not to answer.
         3                  THE WITNESS:        All of our -- every
         4    occasion I have had generally speaking has been
         5    about a pending decision and has been deliberative
         6    and I won't say anything further.
         7    BY MS. TUMLIN:
         8           Q      Okay.     I may get it incorrect, so please
         9    just correct me.         You currently work as the
       10     special adviser to the acting secretary of DHS.
       11     Is that correct?
       12            A      No.
       13            Q      Can you please provide me with your
       14     correct title again?
       15            A      Senior counselor to the secretary of
       16     Homeland Security.
       17            Q      Okay.
       18            A      I don't -- I'm generally aware.           I saw a
       19     New York Times article that provided about this
       20     litigation that gave me a different title and I
       21     have no idea where in the heck y'all got that
       22     from.



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         1           Q      Okay.     So since you rejoined DHS in 2017
         2    have you always had the same position?
         3           A      Yes.
         4           Q      And that position would be senior
         5    counselor to the secretary of Homeland Security.
         6    Is that correct?
         7           A      That is my understanding.
         8           Q      Okay.
         9           A      I think, for full clarity I think there
       10     may have been -- that was my title.             On paper it
       11     may have been that I was a special adviser for a
       12     few weeks while they were processing paperwork.
       13     But my title has always been this.
       14            Q      Great.
       15            A      To the best of my recollection.
       16            Q      Perfect.      Thank you.     And you are a
       17     political appointee within the agency.              Is that
       18     correct?
       19            A      Yes.
       20            Q      Who do you report to?
       21            A      The secretary.
       22            Q      Presently that's Acting Secretary Elaine



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         1    Duke.      Is that correct?
         2           A      That's correct.
         3           Q      And prior to that did you report to
         4    Secretary Kelly?
         5           A      I did.
         6           Q      Okay.     Who reports to you?
         7           A      In terms of direct supervision of
         8    people, generally just I have a -- I have a
         9    confidential assistant.            But she is kind of a
       10     shared resource with a number of people.                 So, I
       11     don't know that I would say I have full, direct
       12     control.      I have two detailees who report to me
       13     and provide assistance to me, but that's about it.
       14            Q      What are the names of your two
       15     detailees?
       16            A      Theresa Hunter and Nicole Lillibridge.
       17            Q      Can you say Nicole's last name again,
       18     please?
       19            A      It's spelled L-I-L-L-I-B-R-I-D-G-E.
       20            Q      Okay.     Lillibridge.       Thank you.     And
       21     where is Theresa Hunter detailed from?
       22            A      USCIS.



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         1           Q      And where is Nicole Lillibridge detailed
         2    from?
         3           A      ICE.
         4           Q      Does anyone else report to you aside
         5    from these three individuals, your confidential
         6    assistant, Theresa Hunter, and Nicole Lillibridge?
         7           A      No.
         8           Q      When were you appointed to your position
         9    as senior counselor to the secretary of Homeland
       10     Security?
       11            A      January 20, 2017 --
       12            Q      That was -- sorry.
       13                   (Court reporter requested
       14     clarification.)
       15                   THE WITNESS:        January 20, 2017.
       16     Inauguration date.
       17     BY MS. TUMLIN:
       18            Q      And who appointed you?
       19            A      The secretary.
       20            Q      Do you know who suggested that you be
       21     appointed to your current position?
       22            A      Not really, other than myself.



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         1           Q      And when you first began your role as
         2    senior counselor to the secretary of Homeland
         3    Security.         You've previously testified that was
         4    for former DHS Secretary Kelly, correct?
         5           A      That's correct.
         6           Q      What were your responsibilities when
         7    working for him?
         8           A      Same as they are now.
         9           Q      Okay.     Can you please describe those in
       10     brief?
       11            A      I provide counsel, guidance to the
       12     secretary and to also to the deputy secretary on a
       13     variety of issues that involve the department's
       14     operations primarily related to immigration.                I
       15     coordinate operations and activities, memo --
       16     policy decisions between the components.              Assist
       17     with document production, policy formulation,
       18     editing of documents, drafting speeches, you name
       19     it.    There is a whole host of activities.
       20            Q      Great.     So is it fair to say that you
       21     provide policy advice to the former secretary and
       22     now the acting secretary on immigration related



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         1    issues?
         2           A      I do.
         3           Q      Do you also provide legal advice to the
         4    former secretary and now the acting secretary on
         5    immigration issues?
         6           A      I am not an attorney in my current
         7    capacity, so any legal advice must come from the
         8    Office of the General Counsel.
         9           Q      Okay.     Understood.        Have you worked on
       10     DACA while -- or pardon me.                I will rephrase that.
       11     Did you work on DACA while working for former
       12     Secretary Kelly?
       13            A      Define work on DACA?
       14            Q      Did you provide policy advice on the
       15     DACA program to former Secretary Kelly?
       16            A      Yes.
       17            Q      Did you provide a recommendation as to
       18     whether or not the DACA program should be
       19     terminated to former Secretary Kelly?
       20                   MR. GARDNER:        You can answer that
       21     question with yes or no.             The substance of those
       22     conversations would be privileged.



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         1                  THE WITNESS:        Yes.
         2    BY MS. TUMLIN:
         3           Q      When did you provide that recommendation
         4    about whether the DACA program should be
         5    terminated to former Secretary Kelly?
         6           A      We had many discussions.
         7           Q      When was the first time you provided a
         8    recommendation on whether or not the DACA program
         9    should be terminated to former Secretary Kelly?
       10            A      I don't recall.         It was probably early
       11     February.
       12            Q      Early February 2017?         Is that correct?
       13            A      Correct.
       14            Q      Was it your recommendation in early
       15     February 2017 to former Secretary Kelly that the
       16     DACA program should be terminated?
       17                   MR. GARDNER:        Objection.   Calls for
       18     disclosure of information subject to deliberative
       19     process privilege.          Instruct the witness not to
       20     answer.
       21                   MS. TUMLIN:       Even though the witness has
       22     said he provides policy advice and not legal



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         1    advice?
         2                  MR. GARDNER:        That's exactly why we did
         3    deliberative process privilege.             I didn't say
         4    attorney/client.         To be clear, you're asking about
         5    the policy recommendations he made to a decision
         6    maker.     Correct?
         7                  MS. TUMLIN:       I am.
         8                  MR. GARDNER:        Yeah.    So that is subject
         9    to deliberative process privilege.
       10     BY MS. TUMLIN:
       11            Q      Okay.     During the time you worked for
       12     former Secretary Kelly how often would you speak
       13     to former Secretary Kelly about work matters?
       14            A      How often would I speak to him about
       15     work matters?
       16            Q      Yes.
       17            A      Every day, multiple times a day.
       18            Q      Okay.     Do your responsibilities for
       19     Acting Secretary Duke differ from those for
       20     Secretary Kelly?
       21            A      No.
       22            Q      Okay.     And how often do you speak to



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         1    Acting Secretary Duke about work matters?
         2           A      About every day, multiple times a day.
         3           Q      Did the individuals who report to you at
         4    all change when former Secretary Kelly left DHS?
         5           A      Nope.
         6           Q      Okay.     What other political appointees
         7    are in the Office of the Secretary of DHS at this
         8    time?
         9           A      You want an org chart?
       10            Q      Approximately how many people in the
       11     Office of the Secretary?
       12            A      There is the secretary.        There is the
       13     deputy secretary.          There's a chief of staff.
       14     There are two deputy chiefs of staff.              Myself.
       15     There is a counselor.           There is another senior
       16     counselor.        And there is a White House liaison.
       17     There might be one or two others.            I'm not really
       18     sure.      It depends on how broadly you define the
       19     Office of the Secretary.             If you are talking the
       20     immediate Office of the Secretary that's probably
       21     everybody.        But within the department's
       22     organization the Office of the Secretary also



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         1    includes a large number of other offices in our
         2    headquarters including the Office of General
         3    Counsel, Office of Management.             The list goes on,
         4    so I couldn't give you specifics.
         5           Q      Great.     While working for Acting
         6    Secretary Duke did you provide policy advice to
         7    her on the DACA program?
         8           A      I did.
         9           Q      While working for Acting Secretary Duke
       10     did you provide a recommendation to her on whether
       11     or not the DACA program should be terminated?
       12            A      Yes.
       13            Q      When is the first time you provided a
       14     recommendation to Acting Secretary Duke regarding
       15     whether the DACA program should be terminated?
       16            A      I don't remember specifics.          When is the
       17     first time we discussed the issue, was likely in
       18     early August.        She assumed office in July 30 --
       19     July 31, something like that.              So might have been
       20     the next week when we started to talk about it.
       21            Q      And is it fair to assume that your
       22     consistent recommendation both to former



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         1    Secretary Kelly and to Acting Secretary Duke is
         2    that the DACA program should be terminated?
         3                  MR. GARDNER:        Objection.   Calls for
         4    disclosure of information subject to deliberative
         5    process privilege.          I instruct the witness not to
         6    answer.
         7    BY MS. TUMLIN:
         8           Q      Okay.     What was your involvement in the
         9    decision to terminate the DACA program?
       10                   MR. GARDNER:        If you can describe that
       11     at a high level without disclosing pre-decision
       12     deliberative information, otherwise I instruct you
       13     not to answer.
       14                   THE WITNESS:        I generally provided
       15     information and coordinated within the department
       16     as to a recommendation as to the DACA program and
       17     its existence.
       18     BY MS. TUMLIN:
       19            Q      When was the final decision made that
       20     DACA would be terminated?
       21            A      September 5, 2017.
       22            Q      Is September 5, 2017 the day



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         1    Attorney General Sessions held a press conference
         2    announcing the termination of the DACA program?
         3           A          To the best of my recollection, yes.
         4           Q          Is that the same day that a memorandum
         5    issued from Acting Secretary Duke on the
         6    termination of the DACA program?
         7           A          Yes.
         8           Q          Is that the same day that questions and
         9    answers went online on the USCIS website with
       10     respect to termination of the DACA program?
       11            A          Yes.
       12            Q          Is it your position that no final
       13     decision had been made until the same day that
       14     that press conference memo and question and
       15     answers went online?
       16            A          There is no final decision until there
       17     is ink on paper.
       18            Q          So the morning of September 5 were you
       19     waiting for a yes, no on whether or not DACA was
       20     going to be terminated?
       21            A          There is -- it is always up to the
       22     secretary to decide what she wants to do with



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         1    anything that the department does until the moment
         2    that she signs off on any policy or practice of
         3    the department.         I think there was a general
         4    understanding of what may happen, but the final
         5    decision was made the moment that she put ink to
         6    paper.
         7           Q      Are you aware that a press advisory went
         8    out on September the 4th to media calling them to
         9    the attorney general's press conference?
       10            A      I am.
       11            Q      Are you -- is it your belief that at the
       12     time the press advisory went out a final decision
       13     on whether or not DACA was going to be terminated
       14     had not been made?
       15            A      It is my position that until the
       16     secretary signs a document it's not final.
       17            Q      Had the secretary indicated prior to her
       18     signature on 9/5 that she intended to sign the
       19     document terminating the DACA program?
       20            A      Can you rephrase that?
       21                   MR. GARDNER:        Objection.
       22




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         1    BY MS. TUMLIN:
         2           Q          Sure.   I'll actually backup with an
         3    earlier question.           Is it your understanding that
         4    Acting Secretary Duke did not sign the memorandum
         5    terminating the DACA program until September the
         6    5th?
         7           A          To the best of my recollection she
         8    signed it on September 5.
         9           Q          Okay.   Prior to Acting Secretary Duke's
       10     signature of the memorandum terminating the DACA
       11     program had she indicated that she intended to
       12     sign that memorandum?
       13                       MR. GARDNER:     Objection.   That does
       14     calls for disclosure of information subject to
       15     deliberative process privilege.             I instruct the
       16     witness not to answer.
       17     BY MS. TUMLIN:
       18            Q          Was a tentative decision to terminate
       19     the DACA program made at some time prior to
       20     September the 5th?
       21                       MR. GARDNER:     You can answer that
       22     question with a yes or no.



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         1                  THE WITNESS:        Yes.
         2    BY MS. TUMLIN:
         3           Q      When was that tentative decision to
         4    terminate the DACA program made?
         5                  MR. GARDNER:        Objection.   Calls for
         6    disclosure of information subject to deliberative
         7    process privilege.          Instruct the witness not to
         8    answer.
         9    BY MS. TUMLIN:
       10            Q      Did President Trump direct the decision
       11     to terminate the DACA program?
       12                   MR. GARDNER:        Objection.   Calls for
       13     disclosure of information subject to deliberative
       14     process privilege.          I instruct the witness not to
       15     answer.
       16     BY MS. TUMLIN:
       17            Q      Was President Trump a key decision maker
       18     in the decision to terminate the DACA program?
       19                   MR. GARDNER:        Objection.   Vague.
       20     BY MS. TUMLIN:
       21            Q      That means you can answer.
       22            A      It's vague.       I don't know what you mean.



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         1           Q      In your mind who were the key decision
         2    makers in determining whether the DACA program
         3    should be terminated?
         4                  MR. GARDNER:        I think that is not
         5    objectionable.         You can identify individuals or
         6    individual, as the case may be.
         7                  THE WITNESS:        The acting secretary.      And
         8    the acting secretary was the individual who made
         9    the decision.        Certainly as evidenced by the
       10     September 4 letter from the attorney general there
       11     is expressed a legal opinion about the legality of
       12     DACA.      And she did with it what she saw fit.
       13     BY MS. TUMLIN:
       14            Q      Is it your opinion that the decision to
       15     terminate DACA was made exclusively by
       16     Acting Secretary Duke?
       17            A      Ultimately it was exclusively her
       18     decision.
       19            Q      Did anybody else get a vote?
       20                   MR. GARDNER:        Objection.   Vague.
       21                   THE WITNESS:        Are you surmising that
       22     there was some kind of a congress in which



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         1    everyone took a vote to --
         2    BY MS. TUMLIN:
         3            Q         I'm asking whether or not
         4    Acting Secretary Duke to your knowledge took
         5    account of anyone else's opinion or their final
         6    decision on whether the DACA program should be
         7    terminated?
         8                      MR. GARDNER:     You can answer that
         9    question with a yes or no.                 The contents of what
        10    she considered would be subject to privilege.
        11                      THE WITNESS:     Yes, she listened to
        12    the -- yes.
        13    BY MS. TUMLIN:
        14            Q         I'm sorry.    She listened to the -- I
        15    didn't hear that.
        16            A         She listened to multiple inputs from
        17    other individuals.
        18            Q         Whose inputs did Acting Secretary Duke
        19    listen to in reaching her ultimate decision to
        20    terminate the DACA program?
        21                      MR. GARDNER:     Objection.     That also
        22    calls for disclosure of information subject to



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         1    deliberative process privilege.             I instruct the
         2    witness not to answer.
         3    BY MS. TUMLIN:
         4           Q          Okay.   Did Attorney General Sessions
         5    direct the decision to terminate DACA?
         6                      MR. GARDNER:     Objection.   Vague.
         7                      THE WITNESS:     What do you mean by
         8    direct?
         9    BY MS. TUMLIN:
       10            Q          Did Attorney General Sessions provide a
       11     strong recommendation to Acting Secretary Duke
       12     that he felt the DACA program should be
       13     terminated?
       14                       MR. GARDNER:     Objection.   Vague.
       15                       THE WITNESS:     What do you mean by
       16     recommendation?           Let me tell you, the attorney
       17     general sent a letter that said that the program
       18     was, generally speaking, illegal and
       19     unconstitutional.           I don't know what other course
       20     of action you would expect for him to advocate if
       21     that's his legal conclusion about the program.
       22




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         1    BY MS. TUMLIN:
         2           Q      Was the -- did you participate in any
         3    meetings to determine whether or not the DACA
         4    program should be terminated?
         5           A      Yes.
         6           Q      When is the first meeting that you
         7    remember participating in to discuss whether the
         8    DACA program should be terminated?
         9           A      When is the first meeting with whom?
       10     Internal to DHS?
       11            Q      Let's start with that.        Let's start with
       12     the first internal to DHS only meeting that you
       13     participated in in which the question of whether
       14     DACA should be terminated was discussed?
       15            A      Sometime in August.
       16            Q      August, mid August?
       17            A      Mid to late August.
       18            Q      And who was at that meeting?
       19                   MR. GARDNER:        You can answer.    All she
       20     is asking is identity, not substance.
       21                   THE WITNESS:        To the best of my
       22     recollection the attendees at that meeting were



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         1    the acting secretary; chief of staff, Chad Wolf;
         2    deputy chief of staff, Elizabeth Neumann; myself;
         3    our acting under secretary for policy strategy and
         4    plans, Jim Nealon; potentially his acting chief of
         5    staff, Brianna Petgill (phonetic).             I believe
         6    Dimple Shah, deputy general counsel OJC.              Acting
         7    Director Homan from ICE; his principal legal
         8    adviser, Tracy Short.           I believe his special
         9    adviser, John Theory.           Acting Commissioner Kevin
       10     MacAleenan.       I don't remember her title, one of
       11     his attorneys, Julie Cooler (phonetic).
       12     Potentially, I don't recall if his chief of staff
       13     was there.        James McCament, the acting now deputy
       14     director of USCIS, but was the acting director.
       15     Francis Cissna in his former capacity as director
       16     of immigration policy at DHS.              There may have been
       17     assistant secretary of legislative affairs, Ben
       18     Cassidy.      And potentially our assistant secretary
       19     for public affairs, Jonathan Hoffman.              I don't
       20     recall specifically.
       21     BY MS. TUMLIN:
       22            Q      Was that an in-person or a telephone



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         1    meeting?
         2           A      In person.
         3           Q      Was that at DHS headquarters?
         4           A      It was.
         5           Q      Approximately how long did that meeting
         6    last?
         7           A      I don't know.        Maybe an hour or so.
         8           Q      Who convened the meeting?
         9           A      I don't recall.
       10            Q      Did anybody organize or suggest that the
       11     meeting be held?
       12            A      Yes.
       13            Q      Who was that?
       14            A      I don't recall.         It may have been the
       15     chief of staff.
       16            Q      Chad Wolf --
       17            A      -- Or may have been the secretary or it
       18     may have been me.          I just don't recall who did it.
       19            Q      How would that meeting have been
       20     organized?        Would an email have gone out telling
       21     folks to show up at a certain place at a certain
       22     time?



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         1           A      There likely would have been an email
         2    invitation to a meeting that would have went out.
         3    And I just don't remember who organized it
         4    principally from the get-go in terms of calling
         5    the meeting, that specific meeting.
         6           Q      Got it.      And would that have been
         7    something like an Outlook -- Outlook calendar
         8    invite that went out?
         9           A      Yes.
       10            Q      Okay.     Would an agenda have gone out for
       11     that meeting?
       12            A      I believe so.
       13            Q      Who would have composed that agenda?
       14            A      Typically several individuals, but I
       15     know that I did certainly on that one.
       16            Q      You helped compose that agenda?
       17            A      I did.
       18            Q      What do you remember about what you put
       19     on the agenda?
       20                   MR. GARDNER:        Objection.   You can
       21     describe that at a high level of generality
       22     without revealing deliberative pre-decision



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         1    material.
         2                      THE WITNESS:     Generally outlined the
         3    situation as it stood with respect to DACA at the
         4    time and weighed out various potential options.
         5    BY MS. TUMLIN:
         6           Q          So your agenda would have presented
         7    potential options for terminating or keeping the
         8    DACA program?
         9           A          Yes.
       10            Q          Okay.   Do you remember how many options
       11     you presented for terminating, keeping or
       12     something else with respect to the DACA program?
       13            A          No.
       14            Q          More than two?
       15            A          I don't know.
       16            Q          Would that agenda have included an
       17     option of keeping the DACA program in place as it
       18     stood prior to September 5, 2017?
       19                       MR. GARDNER:     Objection.   Calls for
       20     disclosure of information subject to deliberative
       21     process privilege.           Instruct the witness not to
       22     answer.



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         1    BY MS. TUMLIN:
         2           Q          Would that agenda have included an
         3    option for the full scale termination of the DACA
         4    program with no wind down period?
         5                      MR. GARDNER:     Objection.   Calls for
         6    disclosure of information subject to deliberative
         7    process privilege.            Instruct the witness not to
         8    answer.
         9    BY MS. TUMLIN:
       10            Q          Okay.   Would that agenda have been sent
       11     around as an attachment to the Outlook calendar
       12     invite?
       13            A          I don't know.     Maybe.
       14            Q          Could it have gone around on an email?
       15            A          Probably.
       16            Q          Would you have printed -- would someone
       17     at the Department of Homeland Security have
       18     printed hard copies for meeting attendees?
       19                       MR. GARDNER:     Objection.   Calls for
       20     speculation.
       21                       THE WITNESS:     Probably.    I don't know.
       22     I'm really not sure.



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         1                  MS. TUMLIN:       Okay.
         2                  THE WITNESS:        You are asking me to
         3    guess.
         4    BY MS. TUMLIN:
         5           Q      Were notes taken of that meeting?
         6           A      I don't know.
         7           Q      Either by hand or on computer?
         8           A      I don't know.
         9           Q      Did you take any notes at the meeting?
       10            A      I might have.
       11            Q      By hand?
       12            A      I generally take notes by hand.
       13            Q      Okay.     Okay.     That was sometime in mid
       14     to late August and it was an internal DHS meeting
       15     on whether to terminate the DACA program.               Was
       16     there a meeting subsequent to that meeting that
       17     was still internal only to DHS to consider the
       18     question of whether to terminate the DACA program?
       19     So after this meeting we just discussed and before
       20     November the 5th?
       21            A      I don't recall if there was or if there
       22     wasn't.



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         1           Q      Was there a meeting after the meeting we
         2    just discussed but prior to November the 5th on
         3    whether or not to terminate the DACA program that
         4    included individuals in the federal government
         5    outside of the Department of Homeland Security?
         6                  MR. GARDNER:        For clarification you said
         7    November 5?       Is that right?
         8                  MS. TUMLIN:       I did say that according to
         9    the transcript and I meant September 5.              I
       10     apologize.
       11                   MR. GARDNER:        That's what I thought.
       12     Just wanted to be clear about that.
       13                   THE WITNESS:        So if you could --
       14                   MS. TUMLIN:       -- Absolutely.
       15                   THE WITNESS:        -- just say that one more
       16     time?
       17     BY MS. TUMLIN:
       18            Q      So the meeting that we have been talking
       19     about internal only at DHS I think you put at
       20     about mid to late August?
       21            A      I did.
       22            Q      Of 2017?



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         1           A      Uh huh.
         2           Q      So after that meeting but before the
         3    announcement of the termination of the DACA
         4    program on September 5, 2017 was there another
         5    meeting considering the question of whether to
         6    terminate the DACA program that you were a part
         7    of?
         8           A      Yes.
         9           Q      When approximately was that meeting?
       10            A      Around the same time, a few days later.
       11            Q      A few days later?            Late August?
       12            A      Yes.
       13            Q      Who was at that meeting?
       14                   MR. GARDNER:        You can answer the
       15     identity of individuals that attended.
       16                   THE WITNESS:        There was a meeting in the
       17     Roosevelt Room of the White House at which chief
       18     of staff, John Kelly was present.               Principal
       19     deputy chief of staff, Kirstjen Nielsen, was
       20     present.      Deputy chief of staff, Rick Dearborn,
       21     was present.        Senior policy adviser to the
       22     president, Stephen Miller, was present.               I believe



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         1    the staff secretary, Rob Porter, was present.
         2    White House counsel, Don McGahn, was present.                 I
         3    believe the assistant or the director of White
         4    House legislative affairs, Mark Short, was present
         5    at least for a time.           The director of the Office
         6    of Management and Budget, Mick Mulvaney, was
         7    present.      I was present.         Acting Secretary Duke
         8    was present.        Acting Director McCament was
         9    present.      Acting chief of staff, Chad Wolf, was
       10     present.      The attorney general was present.            His
       11     chief of staff, Jody Hunt, was present.              The
       12     associate attorney general, Rachel Brand, was
       13     present.      Counsel to the attorney general,
       14     Danielle Cutrona was present.              And I don't recall
       15     anyone else.        Oh, I'm sorry.         Deputy secretary of
       16     state, John Sullivan, was present, I believe.
       17     Fairly certain.         Could be wrong.
       18     BY MS. TUMLIN:
       19            Q      That's a lot of people.          You may have
       20     already said this, but was John Bash present?
       21                   (Court reporter requested
       22     clarification.)



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         1                  MS. TUMLIN:       Bash.
         2                  THE WITNESS:        I think he -- I don't
         3    recall specifically, but he may have been there.
         4    I believe that there were one or two staffers from
         5    the White House counsel as well as -- I apologize,
         6    the director of the Domestic Policy Council,
         7    Andrew Bremberg, was present.              Potentially one or
         8    two of his staff was, but I don't remember.               I may
         9    be -- at that point I may be conflating meetings.
       10     There's many on other issues.
       11     BY MS. TUMLIN:
       12            Q      Approximately how long did that meeting
       13     last?
       14            A      Might have been an hour and a half.
       15            Q      Okay.     Do you know who convened that
       16     meeting?
       17            A      What do you mean convened?
       18            Q      Who invited people to come to the
       19     meeting?
       20            A      Who sent out the physical invitations or
       21     who called the meeting in a pulled it together?
       22            Q      Who -- both?        Who sent out the physical



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         1    invitation first?
         2           A      I don't know.
         3           Q      Who brought the meeting together, made
         4    it happen?
         5           A      I don't know.
         6           Q      Did anybody facilitate the meeting?
         7           A      Define facilitate?
         8           Q      Lead or preside over the meeting?
         9           A      To the best of my recollection the White
       10     House chief of staff and Stephen Miller both had
       11     lead at various points in the meeting.
       12            Q      Was there an agenda for the meeting?
       13            A      Yes, I believe so.
       14            Q      Was that sent out to meeting attendees
       15     electronically in any form?
       16            A      I believe so.
       17            Q      Via email?
       18            A      Fairly certain.
       19            Q      Was it also provided in hard copy to
       20     meeting attendees?
       21            A      I don't remember.
       22            Q      What do you remember as being on that



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         1    agenda?
         2                  MR. GARDNER:        You can describe that in a
         3    high level of generality unless disclosing
         4    contents will reveal deliberative pre-decisional
         5    information.
         6                  THE WITNESS:        I don't recall
         7    specifically other than just general things about
         8    DACA and potential decisions.
         9    BY MS. TUMLIN:
       10            Q      Were there various options for what to
       11     do with the DACA program on that agenda?
       12            A      I don't specifically recall.          There
       13     might have been.
       14            Q      Was the goal of the meeting to reach a
       15     tentative decision on whether or not to terminate
       16     the DACA program?
       17            A      My understanding of the meeting was to
       18     develop at least a tentative path forward with
       19     respect to what to do with the program known as
       20     Deferred Action for Childhood Arrivals.
       21            Q      Was a tentative decision to terminate
       22     the DACA program reached at that meeting?



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         1           A      A tentative decision by whom?
         2           Q      Acting Secretary Duke?
         3           A      I don't know if you call it a tentative
         4    decision, but maybe.
         5           Q      Did Acting Secretary Duke express in
         6    that meeting that her present inclination was to
         7    terminate the DACA program?
         8                  MR. GARDNER:        Objection.   Calls for
         9    disclosure of information subject to deliberative
       10     process privilege.          I instruct the witness not to
       11     answer.
       12     BY MS. TUMLIN:
       13            Q      After this meeting in the Roosevelt Room
       14     of the White House were there any other meetings
       15     that you were part of before September 5
       16     considering the question of whether or not to
       17     terminate the DACA program?
       18            A      Yes.
       19            Q      Approximately when was the next meeting?
       20            A      I don't remember.
       21            Q      Do you remember where that meeting was?
       22            A      The White House.



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         1           Q      Where at the White house?
         2           A      The Roosevelt Room.
         3           Q      Approximately how long did meeting
         4    number two at the Roosevelt Room last?
         5           A      It never really happened.          I think it
         6    was -- we were waiting to get it started and it
         7    kind of got canceled.
         8           Q      Understood.       Okay.      So was that just a
         9    couple of days after this meeting that did happen?
       10            A      I mean, when you say a couple, I presume
       11     two.     And I'm not really sure.           It was several, at
       12     least several days after.
       13            Q      Okay.     Who organized that meeting?
       14            A      I don't know.
       15            Q      Do you recall getting an invitation of
       16     some kind to show up at that meeting?
       17            A      Certainly.
       18            Q      Do you recall who that was from?
       19            A      Nope.
       20            Q      And how did you learn that the meeting
       21     was being canceled?
       22            A      We were sitting around the table and one



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         1    of the chief of staff's aides came in the room and
         2    said that the meeting was being canceled.
         3           Q      Did they -- pardon me.        Did that aide
         4    provide any reason for why the meeting was being
         5    canceled?
         6           A      No.
         7           Q      Was that meeting ever rescheduled?
         8           A      If it was I wasn't there.         I don't know.
         9           Q      After that meeting which was canceled in
       10     the Roosevelt Room did you attend any other
       11     meetings regarding the termination of the DACA
       12     program before September the 5th?
       13            A      I don't recall any formal meetings.
       14     Certainly it was discussed, but I don't recall
       15     formal meetings.
       16            Q      When do you remember finding out a final
       17     decision had been made to terminate the DACA
       18     program?
       19            A      As I indicated earlier my perspective on
       20     things is that there is no final decision until
       21     there is ink on paper, so it was sometime on
       22     September 5.



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         1           Q      So is it your opinion that you found out
         2    about the final decision to terminate the DACA
         3    program -- or let me correct that.
         4                  Did you watch the press conference with
         5    Attorney General Sessions announcing the
         6    termination of the DACA program?
         7           A      I seem to recall watching some of it,
         8    yes.
         9           Q      Is that when you found out about the
       10     decision to termination the DACA program in your
       11     opinion?
       12            A      Well, the attorney general did not
       13     terminate the DACA program, so no.             And he did not
       14     sign the memo that canceled, that rescinded the
       15     2012 memo, so no.
       16            Q      But he was the spokesperson for the
       17     administration announcing that?
       18            A      The attorney general held a press
       19     conference in which he stated his legal position
       20     about the program and his general suppositions
       21     about the way that the program, what might happen
       22     to it.



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         1           Q      How did you find out that the September
         2    5 memo on the termination of DACA had been signed?
         3           A      I don't specifically recall.
         4           Q      Okay.
         5           A      I don't know.
         6           Q      Was the decision to allow DACA
         7    recipients whose DACA was expiring between
         8    September 6, 2017 and March 5, 2018 to apply for
         9    renewal made at the same time as the decision to
       10     end DACA in your opinion?
       11                   MR. GARDNER:        That's asking yes or no.
       12     You can answer that.
       13                   THE WITNESS:        Yes.
       14     BY MS. TUMLIN:
       15            Q      In your opinion that decision was made
       16     on September 5 whenever Acting Secretary Duke
       17     signed her memorandum?
       18            A      Yes.
       19            Q      Okay.
       20            A      It was tentatively discussed before
       21     then, but of course nothing is final until there
       22     is ink on paper.



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         1           Q      Okay.     So was -- for ease of all of us
         2    I'm going to call this a renewal window decision.
         3    Does that work for you?
         4           A      Sure.
         5           Q      Would you understand when I use the term
         6    renewal decision window the portion of
         7    Acting Secretary Duke's memorandum allowing
         8    individuals with DACA expiring between September
         9    6, 2017 and March 5, 2018 to apply for a one time
       10     renewal of DACA?
       11            A      Yes.
       12            Q      Okay.     Was that renewal window decision
       13     something that was discussed in the two meetings
       14     you've described to me, one in mid to late August
       15     that was internal to DHS and a second meeting
       16     subsequent at the Roosevelt Room in the White
       17     House?
       18                   MR. GARDNER:        Without divulging the
       19     substance of the communications you can answer
       20     that yes or no.
       21                   THE WITNESS:        I don't recall if it was
       22     specifically discussed -- that specific renewal



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         1    window was specifically discussed at any of those.
         2    BY MS. TUMLIN:
         3           Q      You previous --
         4           A      -- It may have been.
         5           Q      Sorry.     You previously testified that
         6    you put together the agenda for the internal DHS
         7    meeting.      Correct?
         8           A      I had a large contributing role if I
         9    didn't put it together myself.             I just don't
       10     recall.
       11            Q      Was having this type of renewal window
       12     decision one of the options on that agenda that
       13     you helped put together?
       14                   MR. GARDNER:        Objection.   That calls for
       15     disclosure of information subject to deliberative
       16     process privilege.          I instruct the witness not to
       17     answer.
       18     BY MS. TUMLIN:
       19            Q      Looking only at the meeting in the
       20     Roosevelt Room that occurred did any of the
       21     individuals present express strong views that
       22     there be a renewal window before DACA is



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         1    terminated?
         2                  MR. GARDNER:        Objection.     Calls for
         3    disclosure of information subject to deliberative
         4    process privilege, potentially presidential
         5    communications privilege, and potentially the
         6    attorney/client privilege.                Instruct the witness
         7    not to answer.
         8    BY MS. TUMLIN:
         9           Q      Okay.     Aside from the two meetings we
       10     have talked about, one internal to DHS and one at
       11     the Roosevelt Room of the White House, were you
       12     part of any other meetings discussing specifically
       13     this question of whether to have a renewal window
       14     before terminating the DACA program?
       15            A      I'm certain that there were further
       16     discussions.        I'm just -- I don't -- I recall
       17     being -- discussing it with -- I don't know that
       18     it was a formal meeting.             But I recall discussing
       19     this with the acting secretary, the chief of
       20     staff, our acting general counsel in a meeting
       21     subsequent.       But I don't remember others.
       22            Q      So the acting secretary would be



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         1    Secretary Duke, the chief of staff is Chad Wolf?
         2    Is that correct?
         3           A      That's correct.
         4           Q      And who is the acting general counsel?
         5           A      He is our principal deputy general
         6    counsel, Joe Maher.
         7           Q      Thank you.       So you remember discussing
         8    the renewal window issue with those three
         9    individuals?
       10            A      I do.
       11            Q      And was that in a in-person meeting or
       12     via phone?
       13            A      In person.
       14            Q      Do you remember roughly when that was?
       15            A      End of August, first of September,
       16     somewhere -- somewhere in that range.
       17            Q      Was that subsequent to the Roosevelt
       18     Room meeting, the one that occurred?
       19            A      The one that occurred, yes.          Absolutely.
       20            Q      Okay.     About how long did that meeting
       21     last?
       22            A      I don't know.        It wasn't long.    It might



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         1    have been 30 minutes, maybe an hour.             I don't --
         2           Q      Was a tentative decision reached in that
         3    meeting to have a renewal window within the -- in
         4    the termination of the DACA program?
         5                  MR. GARDNER:        You can answer that
         6    question with a yes or no.
         7                  THE WITNESS:        Yes.
         8    BY MS. TUMLIN:
         9           Q      And was that tentative decision to have
       10     a six month renewal window?
       11                   MR. GARDNER:        Objection.   Calls for
       12     disclosure of information subject to the
       13     deliberative process privilege.            In the extent
       14     that it's asking for disclosure of information
       15     subject to the attorney/client privilege we'd also
       16     object and instruct the witness not to answer.
       17     BY MS. TUMLIN:
       18            Q      Okay.     In that in-person meeting with
       19     Acting Secretary Duke and the chief of staff and
       20     the principal general counsel did you discuss
       21     having a deadline for when renewal applications
       22     would have to come in for any renewal window



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         1    period?
         2                  MR. GARDNER:        Objection.   Calls for
         3    disclosure of information subject to the
         4    deliberative process privilege and potentially the
         5    attorney/client privilege and instruct the witness
         6    not to answer.
         7    BY MS. TUMLIN:
         8           Q      Okay.     What was the Department of
         9    Justice's involvement in designing the process to
       10     end the DACA program?
       11                   MR. GARDNER:        I'm sorry.   Can you repeat
       12     the question?
       13     BY MS. TUMLIN:
       14            Q      Absolutely.       What is the Department of
       15     Justice's involvement in designing the process for
       16     the end of the DACA program?
       17                   MR. GARDNER:        If you can answer that
       18     question without divulging pre-decisional
       19     deliberative information you may so answer,
       20     otherwise I instruct you not to answer on the
       21     basis of deliberative process privilege.
       22                   THE WITNESS:        I don't really know what



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         1    you mean.
         2                  MR. GARDNER:        Can we break it up maybe
         3    in a couple of questions?
         4    BY MS. TUMLIN:
         5           Q      Absolutely.       So you've previously
         6    testified about Attorney General Sessions's
         7    September 4 letter on providing his view on the
         8    legality of the DACA program.              In addition to that
         9    did the Department of Justice play any role in the
       10     decision reached to terminate the DACA program?
       11                   MR. GARDNER:        You can answer that
       12     question with a yes or no.
       13                   THE WITNESS:        Did the Department of
       14     Justice play any role in the decision to
       15     termination the DACA program?
       16     BY MS. TUMLIN:
       17            Q      In addition to the letter that we've
       18     already talked about from Attorney General
       19     Sessions?
       20            A      The decision to terminate DACA was the
       21     acting secretary's decision.
       22            Q      To your knowledge are there any legal



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         1    memorandum that support Attorney General Session's
         2    September 4,2017 letter advising of his position
         3    on the legality of the DACA program?
         4                  MR. GARDNER:        You can answer that
         5    question with a yes or no.
         6                  THE WITNESS:        I don't know if there is a
         7    legal memorandum in the Department of Justice or
         8    DHS, I'm not sure.
         9    BY MS. TUMLIN:
       10            Q      You've never seen one?
       11            A      I have seen the November 2014 legal
       12     memorandum from the Office of Legal Counsel that
       13     justified the existence of DACA, the expanded DACA
       14     program, contained a footnote justifying the
       15     existence of the DACA program.             And I believe that
       16     the DACA program is entirely inconsistent with the
       17     legal analysis as described in that OLC opinion in
       18     operation.
       19            Q      Are you aware of whether the OLC, which
       20     I will represent means the Office of Legal
       21     Counsel, has written its own memorandum to replace
       22     the memorandum that you just expressed



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         1    disagreement with?
         2                  MR. GARDNER:        You can answer that
         3    question with yes or no.
         4                  THE WITNESS:        I have no idea.    I
         5    couldn't tell you.
         6    BY MS. TUMLIN:
         7           Q      Do you know whether
         8    Attorney General Sessions advised on whether the
         9    termination of the DACA program should be done
       10     with a wind down period or whether there should be
       11     a clear end date for all DACA recipients?
       12                   MR. GARDNER:        You can answer that
       13     question with a yes or no without disclosing the
       14     content of any advice provided to the extent there
       15     was any.
       16                   THE WITNESS:        Can you say that one more
       17     time?
       18     BY MS. TUMLIN:
       19            Q      Absolutely.       Do you know whether
       20     Attorney General Sessions advised on whether the
       21     DACA program should be terminated with a wind down
       22     period versus whether there should just be a clear



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         1    end date for all DACA recipients?
         2           A      He was certainly aware of the
         3    department's proposed path for winding down the
         4    program.      And so to that extent he might have been
         5    aware, I don't know if you call that giving
         6    advice.
         7           Q      Do you know if Attorney General Sessions
         8    expressed a view on whether it would be more
         9    appropriate to have a clear end date for all DACA
       10     recipients?
       11                   MR. GARDNER:        You can answer that
       12     question with a yes or no without divulging
       13     attorney/client confidences or deliberative
       14     information.
       15                   THE WITNESS:        I don't know.
       16                   MS. TUMLIN:       Okay.      This would be a good
       17     time to take a break before the video ends.                Is
       18     that okay?
       19                   MR. GARDNER:        You want --
       20                   MS. TUMLIN:       Should we go off the
       21     record?
       22                   THE VIDEOGRAPHER:            We're going off on



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         1    record.      This is the end of media unit number one.
         2    The time is 11:23 a.m.
         3                  (Whereupon, a recess occurred from
         4    11:23 a.m. until 12:24 p.m.)
         5                  THE VIDEOGRAPHER:            This begins media
         6    unit two.         The time on the video is 12:24 p.m.           We
         7    are on the record.
         8                  MS. TUMLIN:       I am going to pass to Donna
         9    what has been previously marked as Exhibit 3.
       10                   (Whereupon, Exhibit No. 3 previously
       11     marked was identified.)
       12     BY MS. TUMLIN:
       13            Q      For handiness I put a little tab at what
       14     is marked as page 238.            If you don't mind flipping
       15     to that?
       16                   MR. GARDNER:        It might be easier for you
       17     if you take the binder clip off.
       18                   THE WITNESS:        Yeah.     Of course.
       19     BY MS. TUMLIN:
       20            Q      Yeah.     I will give you a second to take
       21     a look at that.
       22            A      Bates stamp page 238?



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         1           Q      238 through 240, please?
         2           A      Okay.
         3           Q      Have you seen this letter before?
         4           A      I have.
         5           Q      Can you briefly describe to me what it
         6    is?
         7           A      It is a letter from the Attorney General
         8    of Texas with respect to the DACA program.
         9           Q      Okay.     When did you first see this
       10     letter?
       11            A      I don't recall specifically, but perhaps
       12     the same day or the next day.
       13            Q      Okay.     So close to, in time, June 29,
       14     2017?
       15            A      Approximately.
       16            Q      What was your immediate reaction the
       17     first time you saw this letter?
       18            A      What do you mean by my immediate
       19     reaction?
       20            Q      What were the first thoughts you
       21     remember having after seeing this letter for the
       22     first time?



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         1           A      They sent a letter, was my first
         2    thought.      My second thought might have been; okay,
         3    now what.
         4           Q      Great.     Who is the first person within
         5    the federal government that you spoke to about
         6    this letter?
         7           A      I don't recall.
         8           Q      Okay.     Do you recall speaking to former
         9    Secretary Kelly about this letter?
       10            A      Yes.
       11            Q      What did you discuss?
       12                   MR. GARDNER:        Objection.   Calls for
       13     disclosure of information subject to deliberative
       14     process privilege.          Instruct the witness not to
       15     answer.
       16     BY MS. TUMLIN:
       17            Q      Did you recall speaking to anyone else
       18     within the Department of Homeland Security aside
       19     from former Secretary Kelly about this letter?
       20            A      Yes.
       21            Q      Who?
       22            A      That's rather vague and broad in terms



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         1    of who I discussed the letter with.             I think it
         2    was a well known fact to everyone within the
         3    Department of Homeland Security that this letter
         4    had been sent and that the Attorney General of
         5    Texas had requested something be done with DACA.
         6    So I couldn't give you a precise answer other than
         7    to say that I think -- you know, I wouldn't
         8    venture to say every single discussion I ever had
         9    after that we talked about this, but it certainly
       10     was well known.
       11            Q      Is it fair to say that subsequent to the
       12     receipt of this letter from Attorney General
       13     Paxton and other state attorney generals that this
       14     letter featured prominently in subsequent
       15     discussions you had regarding the DACA program
       16     within the Department of Homeland Security?
       17                   MR. GARDNER:        Objection, vague.
       18                   THE WITNESS:        I don't know what you mean
       19     featured prominently.
       20     BY MS. TUMLIN:
       21            Q      Was a large part of those discussions?
       22            A      About the letter?



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         1           Q          About that the letter was a large part
         2    of the discussions about DACA?
         3           A          What about the letter?     The fact that
         4    the letter was sent, the contents of the letter?
         5           Q          The threat made by the State of Texas
         6    and other states to sue the federal government as
         7    to the legality of the DACA program if it was not
         8    terminated by a date certain?
         9           A          That was a topic of discussion.
       10            Q          Okay.    Did you speak to anyone else
       11     within DHS leadership about this threat to sue
       12     letter?
       13            A          Well, as I indicated I don't recall
       14     specifically.         But I know that we talked about it
       15     numerous times with numerous people.               So it could
       16     be that I talked about it with a whole host of
       17     people that would probably take an hour or two to
       18     list.      But I'm not really sure.
       19            Q          Okay.
       20            A          I don't recall specific occasions other
       21     than to say that we talked about it generally.
       22            Q          Great.    Did you speak to anyone at the



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         1    White House about this letter?
         2           A      Probably, but I don't recall any
         3    specific conversations.
         4           Q      Did you speak to President Trump about
         5    this letter?
         6           A      No.
         7           Q      Did you speak to
         8    Attorney General Sessions about this letter?
         9           A      About the fact that it had been sent,
       10     yes.
       11            Q      Did you speak to anybody else within the
       12     Department of Justice about this Texas threat to
       13     sue letter?
       14            A      Yes, I think so.
       15            Q      Do you remember who that would be?
       16            A      And again, similar to DHS, I mean the
       17     fact of this letter being out there was widely
       18     known and well known so I can't recall every
       19     specific conversation I had with someone at the
       20     Department of Justice about this letter.              But I do
       21     know that I spoke with a number of individuals at
       22     the Department of Justice about the existence and



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         1    the request of this letter.
         2           Q      Did you speak to any -- did you speak to
         3    Attorney General Sessions about whether or not the
         4    Department of Justice would defend the federal
         5    government in any lawsuit filed by the State of
         6    Texas challenging the legality of the DACA
         7    program?
         8                  MR. GARDNER:        Objection.     It does call
         9    for the disclosure of information subject to the
       10     deliberative process privilege and the
       11     attorney/client privilege.                I instruct the witness
       12     not to answer.
       13                   MS. TUMLIN:       Even though it is a yes or
       14     no question?
       15                   MR. GARDNER:        You are asking did they
       16     have that substantive conversation.
       17                   MS. TUMLIN:       Did you -- yes.
       18                   MR. GARDNER:        Why don't you reask the
       19     question?
       20                   MS. TUMLIN:       Sure.
       21                   MR. GARDNER:        I apologize.
       22




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         1                  MS. TUMLIN:       No problem.
         2    BY MS. TUMLIN:
         3           Q      Did you speak to
         4    Attorney General Sessions about whether or not the
         5    Department of Justice would defend the federal
         6    government in any lawsuit filed by the State of
         7    Texas challenging the legality of the DACA
         8    program?
         9                  MR. GARDNER:        Phrased that way you can
       10     answer that with a yes or no.
       11                   THE WITNESS:        Perhaps, I might have.      I
       12     don't know if you can characterize the discussions
       13     in that manner.         But generally the topic came up
       14     in -- I think in a couple of discussions, but I'm
       15     not really specifically sure.
       16     BY MS. TUMLIN:
       17            Q      Did you speak to Acting Secretary Duke
       18     at any time about this Texas threat to sue letter?
       19            A      Yes.
       20            Q      Did the receipt of this Texas threat to
       21     sue letter change your view in any fashion with
       22     respect to the legality of the DACA program?



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         1                      MR. GARDNER:      You're asking for his
         2    views?
         3    BY MS. TUMLIN:
         4           Q          Yes.    Your views, Mr. Hamilton?
         5                      MR. GARDNER:      You can answer the
         6    question.
         7                      THE WITNESS:      Did it change my view --
         8    BY MS. TUMLIN:
         9           Q          -- In any way?
       10            A          -- about the legality of DACA?        No.
       11            Q          Okay.   Before June 29, 2017 did you --
       12     pardon me, did you know that Texas or any other
       13     states were going to ask DHS to end the DACA
       14     program?
       15            A          No.
       16            Q          Are you aware of any communications
       17     between Texas and the other states listed on this
       18     letter with Attorney General Sessions about the
       19     substantive content of this letter before its
       20     issuance?
       21            A          No.
       22            Q          Are you aware of any communications



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         1    between Texas and the other states listed on this
         2    letter with anyone in the White House about the
         3    substantive content of this letter prior to its
         4    issuance?
         5           A      No.
         6           Q      The Texas threat to sue letter is signed
         7    by ten state attorney generals and the governor of
         8    Idaho.     I'm going to list a series of individuals
         9    and ask whether between the time President Trump
       10     was elected in November 2017 and when the letter
       11     was sent on June 29 you had any communication with
       12     them or their staff.           So I will start --
       13            A      What is the date range again?
       14            Q      The date of the presidential election.
       15            A      Yup.
       16            Q      And the date of this letter June 29,
       17     2017?
       18            A      Okay.
       19            Q      Any communications with Ken Paxton?
       20            A      In my capacity as counselor, senior
       21     counselor to the secretary we met with Ken Paxton
       22     and his staff about other issues not related to



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         1    DACA once or twice before this letter came out.                 I
         2    don't recall specifically when or the precise
         3    discussions they were about.               I think they were
         4    just general introductory meetings.              Engages --
         5    principal secretaries engage in such discussions
         6    with a number of stakeholders and we did have a
         7    meeting with him and his staff.
         8           Q      Okay.     And at those meetings with
         9    Attorney General Paxton and his staff is it true
       10     that DACA was never discussed?
       11            A      I don't recall it ever being mentioned.
       12            Q      Okay.     How about did you have any
       13     communications with Steve Marshall, the Attorney
       14     General of Alabama?
       15            A      No.
       16            Q      Or Steve Marshall's staff?
       17            A      No.
       18            Q      How about Lawrence Wasden, the Attorney
       19     General of Idaho?
       20            A      No.
       21            Q      Or Mr. Wasden's staff?
       22            A      No.



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         1            Q         How about Derek Schmidt, the Attorney
         2     General of Kansas?
         3            A         No.
         4            Q         Or Mr. Schmidt's staff?
         5            A         No.
         6            Q         How about Jeff Landry, the Attorney
         7     General of Louisiana?
         8            A         No.
         9            Q         Or Mr. Landry's staff?
        10            A         No.
        11            Q         How about Doug Peterson, the Attorney
        12     General of Nebraska?
        13            A         No.
        14            Q         Or Mr. Peterson's staff?
        15            A         No.
        16            Q         How about Alan Wilson, the Attorney
        17     General of South Carolina?
        18            A         No.
        19            Q         Or Mr. Wilson's staff?
        20            A         No.
        21            Q         How about Herbert Slatery III, the
        22     Attorney General and Reporter of Tennessee?



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         1           A      No.
         2           Q      Or Mr. Slatery's staff?
         3           A      No.
         4           Q      How about Patrick Morrisey, the Attorney
         5    General of West Virginia?
         6           A      No.
         7           Q      Or Mr. Morrisey's staff?
         8           A      No.
         9           Q      How about -- his full name is C.L.
       10     "Butch" Otter, the Governor of Idaho?
       11            A      No.
       12            Q      Or Mr. Otter's staff?
       13            A      No.
       14            Q      In the same time period, which is from
       15     the presidential election to June 29, did you have
       16     any communications with any other state attorney
       17     generals aside from Ken Paxton?
       18            A      I don't recall any.          I know that we met
       19     with a number of representatives on a couple of
       20     trips with Secretary Kelly from the State of
       21     Arizona, the State of Texas, the State of
       22     California.       But I don't know that there was any



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         1    representatives from the AG office or anyone else
         2    who were present at any of those meetings.                But --
         3    so to answer your question, no, generally not.
         4                  MS. TUMLIN:       Okay.      I'm sorry to do
         5    this.      We need to go off of the record for a quick
         6    second.      I have been told that the realtime
         7    transcript isn't working.
         8                  THE VIDEOGRAPHER:            We're going off the
         9    record.      The time on the video, 12:36 p.m.
       10                   (The proceeding recessed from 12:36 p.m.
       11     to 12:39 p.m.)
       12                   THE VIDEOGRAPHER:            We are back on the
       13     record.      The time on the video is 12:39 p.m.
       14     BY MS. TUMLIN:
       15            Q      Okay.     I have a few more questions about
       16     the Texas threat to sue letter in general.                You
       17     previously testified that after the presidential
       18     election and before June 29, 2017 you had a couple
       19     of meetings with Ken Paxton and his staff.                Do you
       20     remember who initiated that meeting?
       21            A      I don't particularly.           There was one
       22     occasion where we were in Texas on a border tour



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         1    and I believe that there might have been a couple
         2    of representatives from his office who were
         3    present in a -- for some meeting or kind of a
         4    briefing that took place.             The meeting, I do
         5    recall one kind of formal meeting and I believe
         6    that was at the request of the Texas Attorney
         7    General.
         8           Q      Okay.     In this same time period from the
         9    presidential election to June 29, 2017 aside from
       10     the State of Texas have any other state attorney
       11     generals requested a meeting with you or your
       12     office?
       13            A      Not to the best of my recollection.
       14            Q      Okay.     And after receipt of this June
       15     29, 2017 threat to sue letter did you communicate
       16     directly with any of the signatories of the
       17     letter?
       18            A      Not to the best of my -- none of the
       19     signatories, no.
       20            Q      How about with any members of their
       21     staff?
       22            A      Yes.



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         1           Q      Who would that be?
         2           A      I had I think one, maybe two discussions
         3    with one member of Attorney General Paxton's
         4    staff.     I think his name is Michael Toth.              I think
         5    he is special counsel or something.             I'm not
         6    precisely sure what he title was.
         7           Q      Okay.     And were those phone
         8    conversations?
         9           A      Yes.
       10            Q      With Michael Toth -- had you ever spoken
       11     to Michael Toth before those conversations?
       12            A      Yes.     Yes --
       13            Q      -- Yes?      I'm sorry.      Thank you.     When
       14     was that?
       15            A      At the meeting where General Paxton was
       16     there.
       17            Q      The one we just discussed?
       18            A      That's correct.
       19            Q      Okay.
       20            A      And I believe also in June at some
       21     point.     Early June I think he was cognizant that
       22     we were going to be in Miami for the Conference on



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         1    Security and Prosperity in Central America.               He
         2    was doing drill duty in Miami and was hopeful that
         3    he might be able to see myself and General Kelly.
         4    That did not happen, but there was some type of
         5    communication to that effect.
         6           Q      And with respect to the phone
         7    conversations you had with Michael Toth after the
         8    Texas threat to sue letter, approximately how many
         9    times did you speak to him?
       10            A      After the threat to sue letter?
       11            Q      Uh huh.
       12            A      Once or twice.
       13            Q      And was that always on the phone?
       14            A      Yes.
       15            Q      Did anyone else participate in the phone
       16     calls you've had with Michael Toth after the
       17     threat to sue letter?
       18            A      Not to the best of my knowledge.
       19            Q      Approximately how long were each of the
       20     phone calls you had with Michael Toth?
       21            A      Ten to 15 minutes maybe.
       22            Q      What did you discuss in those phone



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         1    calls?
         2           A      One of those -- well, the only one that
         3    I can actually recall in this time period -- I've
         4    talked to him since September 5 about an unrelated
         5    issue.     But the one phone call I can remember was
         6    I believe I called him or he called me -- I'm not
         7    sure which one, to ask about kind of the general
         8    intent of the letter and what it meant and what
         9    they were looking for, to his knowledge.              Reaching
       10     out kind of staffer to staffer, so to speak.
       11            Q      Did that include a discussion of what
       12     type of termination or wind down of the DACA
       13     program would be necessary in order to ensure that
       14     Texas and the other states would not sue?
       15            A      I mean, I guess you could say that
       16     generally just in terms of obviously the letter
       17     says what it says so what does it mean and what is
       18     your understanding of what you all are hoping for,
       19     understanding that there's all kinds of parameters
       20     and ways that this could be done.            So that I could
       21     advise my principal I reached out to find out what
       22     might be the realm of the possible.



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         1           Q      Did you in those -- in that conversation
         2    that you can recall inquire as to whether the
         3    September 5 deadline set for suing by Texas and
         4    the other states was a hard deadline?
         5           A      I don't remember any specific
         6    discussion, but generally that might have -- I
         7    mean, that may have come up.               I just -- I'm sorry
         8    I don't recall the specifics.
         9           Q      Did you inquire as to whether the State
       10     of Texas or other attorney generals were already
       11     working on legal papers.
       12            A      I did not, I know that.
       13            Q      Did either you or Mike Toth define any
       14     next steps following the call?
       15            A      I did not.
       16            Q      Did you make any agreements to speak
       17     again?
       18            A      No.
       19            Q      Have you had any other conversations
       20     with Michael Toth about the DACA program since
       21     that phone call?
       22            A      I don't think so.



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         1           Q      Did you have any other conversations
         2    with other staff of the Texas Attorney General
         3    regarding DACA?
         4           A      I don't -- I don't remember any.           I
         5    don't think so.
         6           Q      And did you have any conversations with
         7    staff or any of the other state attorney generals
         8    listed on this letter regarding DACA?
         9           A      No, I don't think so.
       10            Q      Did you discuss the content of this
       11     Texas threat to sue letter with Stephen Miller?
       12                   MR. GARDNER:        You can answer that with a
       13     yes or no.
       14                   THE WITNESS:        Yes.
       15     BY MS. TUMLIN:
       16            Q      When was that?
       17            A      On many occasions.
       18            Q      Do you remember the first time roughly
       19     upon which you discussed the Texas threat to sue
       20     letter with Stephen Miller?
       21            A      Soon after it was issued.
       22            Q      Was anyone else present?



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         1           A      I don't believe so.
         2           Q      And when was the next time you spoke to
         3    Stephen Miller about the Texas threat to sue
         4    letter?
         5           A      If you are trying to get me to do a
         6    sequential -- you know, I talked to him on this
         7    date, this date, this date, I would be speculating
         8    and guessing entirely.            There is no way I could
         9    nail that down.
       10            Q      Okay.     More than -- did you speak to
       11     Stephen Miller about this letter more than five
       12     times?
       13            A      Potentially.
       14            Q      Okay.     And in those conversations with
       15     Stephen Miller about the Texas threat to sue
       16     letter were any decisions made?
       17            A      No.
       18            Q      Did you discuss the content of the Texas
       19     threat to sue letter with
       20     Attorney General Sessions?
       21            A      Did I discuss the content of the letter
       22     with the Attorney General?                I think so.



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         1           Q      Did you discuss your phone conversation
         2    with Michael Toth with the Attorney General?
         3           A      I did not.
         4           Q      Okay.     How many times would you say you
         5    discussed the Texas threat to sue letter with
         6    Attorney General Sessions?
         7           A      Maybe -- maybe a couple of times.
         8           Q      Was that on the phone?
         9           A      In person.
       10            Q      In person.       Was anyone else present?
       11            A      Yeah.     The first time would have been at
       12     the White House meeting, the Roosevelt Room.                And
       13     the other time was immediately after the meeting
       14     that didn't happen.
       15            Q      Got it.      Okay.     Going back briefly for a
       16     moment to your phone conversation with Michael
       17     Toth.      When you talked to him about the various
       18     possibilities for how the DACA program might be
       19     terminated that would satisfy Texas and the other
       20     attorney generals what do you recall Mr. Toth
       21     saying?
       22                   MR. GARDNER:        Objection to the extent



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         1    that it mischaracterizes the witness's previous
         2    testimony.
         3                  THE WITNESS:        Can you rephrase?
         4    BY MS. TUMLIN:
         5           Q      Sure.     You previously testified or
         6    described your phone call with Michael Toth as a
         7    staffer to staffer level call.             Is that correct?
         8           A      Yes.
         9           Q      And it -- you also previously testified
       10     that it included a recognition between you and
       11     Toth that there would be various ways that one
       12     could terminate the DACA program.            Is that
       13     correct?
       14                   MR. GARDNER:        Objection to the extent
       15     that mischaracterizes the witness's testimony.
       16                   THE WITNESS:        I don't know that I said
       17     various thing to terminate the DACA program.
       18     Various -- the parameters of the realm of the
       19     possible what might be acceptable to Texas I think
       20     might have been my language, but I would have to
       21     see the transcript.
       22




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         1    BY MS. TUMLIN:
         2           Q          Sure.   And what did Mr. Toth say about
         3    the parameters or the various realm of the
         4    possibility that might be acceptable to Texas?
         5           A          Not a whole lot, quite frankly.
         6           Q          Did he give you any indication?
         7           A          Just that the letter said kind of what
         8    it said and there was really -- I'm trying to
         9    think back about everything that we discussed in
       10     that call.         And I don't recall that there was --
       11     that I really gained that much from that phone
       12     call in terms of information what might be
       13     acceptable to the State of Texas.
       14            Q          Did you leave with the sense that the
       15     letter basically spoke for itself or summarizes
       16     much of the details of Texas' position as you
       17     could ascertain at that time?
       18            A          It might be a fair assessment.
       19            Q          Was it -- did it seem clear to you that
       20     if the DACA program was terminated in total on
       21     September 5 that that would stave off a lawsuit
       22     from the State of Texas?



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         1           A      Not entirely.
         2           Q      Why not?
         3           A      It really depended on the manner in
         4    which the program was terminated.
         5           Q      And did you have a sense of particular
         6    ways that if the program was terminated the
         7    federal government would still be at risk of a
         8    lawsuit from the State of Texas?
         9                  MR. GARDNER:        Objection.   Just for a
       10     point of clarification, you're asking based on his
       11     conversation with the Texas AG's office?
       12     BY MS. TUMLIN:
       13            Q      Based upon his conversation with Michael
       14     Toth, the one conversation he can recall?
       15            A      I didn't gain anything really in terms
       16     of my understanding based on that discussion.                I
       17     am familiar with the contents generally of the
       18     Texas Attorney General's letter and what it asked
       19     for.     And to the best of my recollection -- I'll
       20     look at it and read it if you want me to, it said
       21     something about no new applications.             And so
       22     conceivably there would be no new grants of DACA.



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         1    So conceivably there could be a circumstance in
         2    which the program is rescinded and Texas would
         3    still sue, depending on the way that you do it.
         4    They asked for specific things.
         5           Q      Okay.     Is there anything that Mr. Toth
         6    shared with you in that conversation about bottom
         7    lines for the State of Texas with respect to --
         8           A      -- No.
         9           Q      -- the termination of the DACA program?
       10     Okay.
       11            A      Not that I can recall.
       12            Q      Great.     Did you discuss the content of
       13     the Texas threat to sue letter with General Kelly?
       14            A      Yes, I did.
       15            Q      Do you remember when that was?
       16            A      It was probably the same day that the
       17     letter was sent to the attorney general or the day
       18     after, whenever we first became aware of it.
       19            Q      In that initial one to two day period
       20     after the letter was sent where you discussed it
       21     with General Kelly was anyone else present?
       22            A      I don't recall specifically.          Likely



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         1    there would have been other people present.
         2           Q      Did you at that time discuss the
         3    termination of the DACA program?
         4                  MR. GARDNER:        You can answer that with a
         5    yes or no.
         6                  THE WITNESS:        Did we discuss the
         7    termination of the DACA program?
         8    BY MS. TUMLIN:
         9           Q      Uh huh?
       10            A      I don't know if I can say yes or no to
       11     that.      We generally discussed it and we discussed
       12     what they were requesting.                And in so far as they
       13     requested the termination of the program I suppose
       14     you could say yes we discussed it.               But I don't
       15     know that there was any in-depth discussions on
       16     that --
       17            Q      -- Okay.
       18            A      -- point in time.
       19            Q      Were any decisions made on whether or
       20     not to terminate the DACA program at that -- at
       21     that time?
       22            A      No.



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         1           Q      Okay.     And did you discuss the content
         2    of the Texas threat to sue letter with General
         3    Kelly since he became the White House chief of
         4    staff?
         5           A      Yes.
         6           Q      I'm guessing one of those times might be
         7    in the Roosevelt Room at the meeting we've
         8    discussed.        Is that accurate?
         9           A      That would be accurate.
       10            Q      Are there any other occasions since
       11     General Kelly became the White House chief of
       12     staff that you've discussed the Texas threat to
       13     sue letter with him?
       14            A      I don't recall any specifics.          There may
       15     have been, but I don't know.
       16            Q      Okay.     Okay.     Did you discuss the
       17     content of the Texas threat to sue letter with
       18     President Trump?
       19            A      No.
       20                   MS. TUMLIN:       Okay.      I am going to pass
       21     you a separate exhibit that has been previously
       22     marked in this litigation -- pardon me, as



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         1    Exhibit 19.       Here you are.           And actual I will give
         2    you all the multiple copies.               Here you go.
         3                  (Whereupon, Exhibit No. 19 previously
         4    marked was identified.)
         5    BY MS. TUMLIN:
         6           Q      And I will give you a moment to take a
         7    look at that.        Have you ever seen this letter
         8    before?
         9           A      I think so.
       10            Q      Can you briefly describe what you
       11     understand this letter to be?
       12            A      This is a letter from the -- four state
       13     attorney generals, actually more than that.                And a
       14     number of other attorney generals asking the
       15     president to maintain the DACA program.
       16            Q      Do you have a recollection of when you
       17     first became aware of this letter?
       18            A      I don't know specifically, but it's
       19     probably soon after it was sent to the White
       20     House.
       21            Q      Did you have any discussions with former
       22     Secretary Kelly about this letter?



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         1           A      I don't recall.
         2           Q      Did you have any discussions with Acting
         3    Secretary Duke about this letter?
         4           A      I don't recall.         I know that we
         5    discussed -- we received a number of letters about
         6    this issue from a lot of different people and so I
         7    can't recall specifically every letter because
         8    they are all very similar in structure.
         9           Q      After seeing this letter from Attorney
       10     General Xavier Becerra and other state attorney
       11     generals did you have any contact with Attorney
       12     General Becerra or his staff?
       13            A      No.
       14            Q      Did you have any contact with other any
       15     of the other state attorney generals or their
       16     staff listed on this letter?
       17            A      I don't -- I don't think so.
       18            Q      Okay.     Are you aware whether Danielle
       19     Cutrona spoke to anyone in the Texas Attorney
       20     General's office about the Texas threat to sue
       21     letter?
       22            A      I'm not aware.



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         1           Q      Okay.     Okay.     I would like to talk with
         2    you a bit more about your role in the secretary's
         3    office.      And I know you previously testified that
         4    you served in the Office of the Secretary for DHS
         5    for essentially the entire Trump administration.
         6    Is that correct?
         7           A      That's correct.
         8           Q      Would you agree that during that time
         9    the Office of the Secretary has changed existing
       10     administration policies on immigration?
       11            A      Yes.
       12            Q      Can you give me just one or two examples
       13     of those changes?
       14            A      In addition to this?
       15            Q      Yes, please?
       16            A      Former Secretary Kelly very clearly and
       17     publicly issued a few memoranda that implemented
       18     the requirements of executive orders issued by the
       19     president.        I believe the date on both of those
       20     was February 20th.
       21            Q      That is my birthday.         That is the date.
       22                   And are those memoranda that you are



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         1    referring to, just to make a clean record, with
         2    respect to President Trump's executive order on
         3    border security and a second one on interior
         4    enforcement?
         5           A      Correct.
         6           Q      Okay.     Would you agree that during the
         7    time you have served in the Office of the
         8    Secretary that the office has created new policies
         9    on immigration?
       10            A      What do you mean by created new
       11     policies?
       12            Q      An example would be creating guidance or
       13     a memo or protocol that did not previously exist?
       14            A      Did not previously exist at what time?
       15            Q      Prior to January 20, 2017?
       16            A      Well, the answer to the question that
       17     you asked is no.         The policies that have been
       18     effectuated by this administration existed prior,
       19     previously.       They may not have existed during the
       20     latter years of the Obama administration, but they
       21     existed at one point in time.
       22            Q      Okay.



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         1           A      Because they are the laws that were
         2    passed by Congress.
         3           Q      Okay.     Is there a set of formal
         4    procedures that is generally used for
         5    Acting Secretary Duke to change existing
         6    administration policies?
         7                  MR. GARDNER:        Objection.     Vague.
         8                  THE WITNESS:        I don't really know what
         9    you mean.
       10     BY MS. TUMLIN:
       11            Q      So for example, going back to the
       12     examples that you provided.                When former
       13     Secretary Kelly signed the two sets of memorandum
       14     on February 20, 2017 is there a usual protocol for
       15     creation of those kind of secretary level
       16     memorandum that has to be followed?
       17            A      Not that I'm aware of.           And nothing that
       18     has to be followed or a standard protocol, it just
       19     varies depending on the circumstances.
       20            Q      So when either former Secretary Kelly or
       21     Acting Secretary Duke sign a memorandum in their
       22     role as secretary is there any kind of



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         1    preclearance process for those memoranda before
         2    they're finalized?
         3           A      Yes --
         4                  MR. GARDNER:        -- Objection.    Compound.
         5    BY MS. TUMLIN:
         6           Q      Can you describe the preclearance
         7    process for secretary level memorandum?
         8           A      It depends.
         9           Q      Can you describe the preclearance
       10     process that was used for either February 20, 2017
       11     secretary memorandum?
       12            A      Can I describe the process that was
       13     involved with the memos on February 20th?
       14            Q      (nods)
       15            A      There was a draft of the memo that
       16     circulated among various members of the
       17     department, our operational components.              And they
       18     are provided the opportunity to comment and edit
       19     and revise accordingly, make suggestions.               At
       20     which point once there is a final position of the
       21     department generally the secretary then makes a
       22     decision whether or not to sign it.             And then



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         1    we'll sign it or issue it.                And if there is a
         2    dispute the secretary resolves that dispute
         3    according to how he or she sees fit.
         4           Q      Okay.     When a memorandum is being
         5    proposed, a secretary level memorandum is being
         6    proposed for signature are all operational
         7    components provided with an opportunity to edit?
         8           A      You need to define what you mean by
         9    operational components.            The department has
       10     250,000 employees and a number of operational
       11     components.       So do you mean in the context of
       12     immigration, in the context of disaster relief?
       13            Q      Good point.       Let's limit it just to the
       14     concepts of immigration.             So in the context of
       15     immigration if a secretary level memorandum is
       16     being proposed which operational components would
       17     be provided an opportunity to revise and edit that
       18     memorandum?
       19            A      Depending on the circumstances generally
       20     it would be ICE, USCIS, CBP, Office of General
       21     Counsel, Office of Policy are generally the ones
       22     that would provide such comment, feedback, and



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         1    edits.
         2           Q      And who if anyone makes the decision of
         3    which of those operational components would be
         4    provided the opportunity to revise and edit a
         5    proposed secretary level memorandum?
         6           A      It depends.
         7           Q      Does it depend on the content of the
         8    memorandum?
         9           A      Well, the memorandum is not always in
       10     existence yet.         So the content of the memorandum,
       11     maybe not.        But the subject matter, maybe so.
       12            Q      Okay.     Within the Department of Homeland
       13     Security does anyone have primary responsibility
       14     to identify potential decisions that need to be
       15     made by the acting secretary?
       16                   MR. GARDNER:        Objection.   Vague.
       17                   THE WITNESS:        I don't really know what
       18     you mean.
       19     BY MS. TUMLIN:
       20            Q      Presumably there's a host of decisions
       21     that get made in DHS every day that don't require
       22     the acting secretary to sign off on them.               Is that



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         1    a fair statement?
         2           A      Likely so.
         3           Q      On the other hand presumably there are
         4    certain decisions of such high importance like the
         5    termination of the DACA program that require
         6    Acting Secretary Duke to approve or be the
         7    ultimate decision maker.             Is that a fair
         8    statement?
         9           A      Yes.
       10            Q      So for decisions only in that latter
       11     category where Acting Secretary Duke's decision is
       12     required is there anybody responsible for
       13     highlighting for her those decisions that are
       14     needing her attention?
       15            A      Generally speaking the secretary's
       16     senior staff.        So myself, chief of staff, the
       17     deputy chief of staff, the deputy secretary.
       18     There's are a whole host of folks who could
       19     potentially.        Or if there is an issue that arises
       20     after that is brought to her attention my
       21     component, may be the component points out that
       22     somebody needs to coordinate.              So it just -- it



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         1    really depends.
         2           Q      Okay.     And with that level of senior
         3    staff that you've just identified would that be
         4    basically the same grouping who would be
         5    responsible for identifying decisions requiring
         6    former Secretary Kelly's decision making as well?
         7           A      Generally, yes.
         8           Q      Okay.     When a secretary level memorandum
         9    has been proposed to Acting Secretary Duke is it
       10     common that she would hold a meeting to discuss
       11     the substance of the memorandum with various
       12     operational components before deciding whether or
       13     not to sign that memorandum?
       14            A      Is it common that she would hold a
       15     meeting to discuss the contents of a memorandum
       16     with the components?
       17            Q      Uh huh?
       18            A      Sometimes, yes.         Sometimes, no.
       19            Q      Okay.     And who generally makes the
       20     decision whether or not a meeting would be
       21     required before approval or disapproval of a
       22     proposed memorandum to the acting secretary?



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         1           A      Typically either the secretary or the
         2    chief of staff.
         3           Q      Are you familiar with the use of the
         4    term tasker, T-A-S-K-E-R, within DHS?
         5           A      I am aware of the use of that term, yes.
         6    It can have many connotations.
         7           Q      Are you also familiar with the use of
         8    the term component tasker within DHS?
         9           A      Not really.
       10            Q      Is it fair to say that a tasker is a
       11     request for action or for a task to be completed
       12     by one of the components?
       13            A      I don't know.
       14            Q      How would you define the term tasker?
       15            A      It depends on the context, who is
       16     issuing the task, who is originating it, what is
       17     the task, is it -- is it something that needs to
       18     be provided, is it something that needs be -- I
       19     just -- I don't know.           That could have all kinds
       20     of different meanings.            I want to give you the
       21     right answer.
       22            Q      Okay.     Can you -- can you describe for



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         1    me if you are aware of when tasking assignments
         2    would go through the executive secretary?
         3           A      When tasking assignments would go
         4    through the executive secretary?            On what subject?
         5           Q      On a immigration related subject?
         6           A      It depends.
         7                  MS. TUMLIN:       Exhibit 20.    Okay.     I will
         8    keep going while we get that so we don't waste
         9    time.      Okay.    Great.     I'm going to hand to folks
       10     what's previously been marked as Exhibit 20 in the
       11     Northern District of California cases.              You're
       12     first, you're second.
       13                   (Whereupon, Exhibit No. 20 previously
       14     marked was identified.)
       15     BY MS. TUMLIN:
       16            Q      Mr. Hamilton, I will represent to you
       17     that this is an email chain that I have no belief
       18     that you are on.         So I'm only providing it to you
       19     because it has been entered into the record and it
       20     uses this term tasker.            So I will give you a
       21     second to take a look over the -- the short email
       22     chain.



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         1           A      Can I ask how this was obtained?
         2           Q      Absolutely.       This is Bates stamped as
         3    part of the administrative record that was
         4    produced in this case.            So it could have been --
         5    actually, that's not correct.              This is part of the
         6    RFPs.      Correct?     These are -- these are responses
         7    that were provided to the plaintiffs in response
         8    to our request for document production in this
         9    case.
       10            A      Okay.
       11            Q      And that's why they were Bates stamped
       12     at the bottom but they were not part of the
       13     administrative record.
       14            A      Okay.
       15            Q      Okay.     So this document has a subject
       16     line called component tasker.              Is that correct?
       17            A      It appears to, yes.
       18            Q      Does that term have any type of common
       19     meaning that you are familiar with from your time
       20     in the Department of Homeland Security?
       21            A      I don't know if it has a common
       22     understanding.         I would look at this email and



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         1    interpret it to mean that someone has asked a
         2    component to provide some materials for review or
         3    to produce something.           But I don't know if it has
         4    a common understanding or not.               I couldn't tell
         5    you.
         6           Q      Within your office is this a term that's
         7    used when one component asks someone else to
         8    provide information?           Is the term tasking or being
         9    a component tasker used?
       10            A      I couldn't tell you.           I just ask for
       11     information and get it.
       12            Q      Handy.
       13            A      They call it whatever they want to call
       14     it.    I don't know.
       15            Q      Okay.     And does the use of this term in
       16     your mind or in your experience at the Department
       17     of Homeland Security indicate that certain steps
       18     have to be followed for the provision of
       19     information or anything like that?
       20            A      I really couldn't tell you.           I have no
       21     idea.
       22            Q      Okay.     Terrific.         Do you consider the



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         1    decision to terminate the DACA program a
         2    significant decision by the Department of Homeland
         3    Security?
         4           A      What do you mean by a significant
         5    decision?
         6           Q      A decision with a large impact on the
         7    country?
         8           A      What do you mean by a large impact on
         9    the country?
       10            Q      I think it's open to interpretation.
       11            A      I don't -- that's -- it's a really vague
       12     question.         I don't know that I can give you an
       13     answer to that.
       14            Q      Did you consider that the decision to
       15     terminate DACA had a large impact on a significant
       16     number of human beings within the United States?
       17            A      Just so I'm clear, what did you mean by
       18     impact?      I think -- I think I know how you --
       19            Q      -- Do you consider it that it was a life
       20     altering decision for a large number of
       21     individuals in the United States?
       22            A      A life altering decision?         You mean life



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         1    and death decision?
         2           Q          Life changing?
         3           A          Life changing?
         4           Q          Yeah.   Life altering or life changing?
         5           A          I don't know if I could answer that.
         6    Maybe.      It could.       The decision could have an
         7    impact on certain benefits that individuals are
         8    entitled to, certainly.
         9           Q          Do you think it might alter their
       10     prospects for education or stability in there
       11     life?
       12                       MR. GARDNER:     Calls for speculation.
       13     Sorry.      Objection.       Calls for speculation.
       14                       THE WITNESS:     I mean that is a very
       15     speculative question and it would ask -- that
       16     would require me to know the laws of every
       17     educational universe -- every educational
       18     institute of the United States, all of the
       19     policies and procedures.              I don't know if
       20     individuals are in private school, public school.
       21     I have no idea.
       22




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         1    BY MS. TUMLIN:
         2           Q      Do you have an idea of roughly how many
         3    individuals on September 5 had DACA in the
         4    United States?
         5           A      I do.
         6           Q      What do you understand that number to
         7    be?
         8           A      Approximately 690,000 people.
         9           Q      Approximately.         So substantially more
       10     than half a million.           So are there many other
       11     decisions that you have been part of during your
       12     time at the Department of Homeland Security that
       13     impacted over half a million people?
       14            A      Largely, yes, I think so.
       15            Q      Okay.     Okay.     If a component within DHS
       16     disagrees with the course of action that is being
       17     proposed or recommended to the acting secretary is
       18     there any kind of formal way to register that
       19     disagreement?
       20            A      Depending on the context generally, yes.
       21            Q      Are there any standardized templates or
       22     policy recommendation memos that go to the acting



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         1    secretary?
         2           A      I don't know that there are any
         3    standardized templates or memos or anything that
         4    go.    Sometimes it's a phone call, sometimes it's
         5    an email, sometimes it might be a memo.              It just
         6    would really depend.
         7           Q      So for example one of the memorandums
         8    that was signed on February 20, 2017 if a
         9    particular component disagreed with a draft of
       10     that memorandum how would they register that
       11     disagreement?
       12                   MR. GARDNER:        Objection.   Calls for
       13     hypothetical.
       14                   THE WITNESS:        Can you rephrase the
       15     question?
       16     BY MS. TUMLIN:
       17            Q      Oh, sorry.       Prior to the signature of
       18     the -- pardon me, February 20, 2017 memorandum did
       19     a draft circulate among any of the DHS components?
       20            A      They did.
       21            Q      If any of those components had disagreed
       22     with portions of the memorandum what would be the



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         1    best way for them to register that disagreement?
         2                  MR. GARDNER:        Objection.   Calls for
         3    hypothetical.
         4                  THE WITNESS:        Can you rephrase your
         5    question, please?
         6    BY MS. TUMLIN:
         7           Q      Sure.     When the memorandum from February
         8    20, 2017 circulated did any of the components who
         9    saw drafts disagree with any of the language?
       10            A      Insofar as they provided suggested
       11     edits, which is standard practice, sure.              I think
       12     that could be interpreted as a preference for
       13     alternate language or alternate outcomes.
       14            Q      Does Acting Secretary Duke receive a
       15     daily briefing book?
       16            A      She does.
       17            Q      Every day?
       18            A      Yes, she does.
       19            Q      Okay.     What kinds of materials are
       20     placed in her daily briefing book?
       21                   MR. GARDNER:        You can answer that
       22     question to the extent it wouldn't disclose



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         1    pre-decisional deliberative material, otherwise I
         2    would instruct you not to answer based on
         3    deliberative process privilege.
         4                  THE WITNESS:        Intelligence reports, news
         5    clippings, other operational news out of the --
         6    originating out of the federal government.               She
         7    receives the president's daily briefing every day.
         8    BY MS. TUMLIN:
         9           Q      Okay.     How about an agenda for the day?
       10            A      Generally speaking she has a calendar.
       11            Q      Okay.     Anything else that is regularly
       12     placed in her briefing book, categories?
       13            A      Not to my knowledge.         I don't put it
       14     together, so I couldn't tell you really.
       15            Q      That's my next question.         Who is
       16     responsible for compiling the briefing book?
       17            A      It is my understanding that the
       18     secretary's briefing staff at the Department of
       19     Homeland Security puts it together.
       20            Q      Do you know the name of that person or
       21     individuals?
       22            A      No.



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         1           Q      Okay.     Do you --
         2           A      There's a lot of people that work in the
         3    office.      So that's a large -- I mean, that's a
         4    broad question.
         5           Q      Okay.     Do you assist in any way in
         6    compiling the daily briefing book?
         7           A      No.
         8           Q      Can you recommend that certain things be
         9    placed in the book if you think it would be
       10     advantageous for the acting secretary to have
       11     them?
       12            A      Yes.
       13            Q      Do you do that on occasion?
       14            A      I have on occasion asked for materials
       15     to be placed in the book.
       16            Q      Can you describe not the content but
       17     what kinds of materials you might ask to be placed
       18     in the briefing book?
       19            A      Sometimes draft memos, draft documents.
       20     Just kind of depends.
       21            Q      Is there anyone who exercises editorial
       22     control over what goes in that briefing book,



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         1    meaning if you make a request that something gets
         2    put into the briefing book will it definitely go
         3    in or could somebody edit it out?
         4                  MR. GARDNER:        Objection.   Compound.
         5                  THE WITNESS:        Split the question up?
         6    BY MS. TUMLIN:
         7           Q      Every time you've recommend that
         8    something goes in the daily briefing book has it
         9    gone in?
       10            A      Probably.       I don't know definitively,
       11     but likely so.
       12            Q      Okay.     Do you know if Acting
       13     Secretary Duke writes in her daily briefing book?
       14            A      I have seen her write on her materials
       15     so I think that's likely the case.
       16            Q      Do you know if the notes that she makes
       17     in the daily briefing book are ever distributed do
       18     others within the department?
       19            A      I don't know.        I don't think so.
       20            Q      To your knowledge was the daily briefing
       21     book that former Secretary Kelly received
       22     different in any material ways than the one what



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         1    Acting Secretary Duke receives?
         2           A      I don't think so.            I think it was
         3    largely the same.
         4           Q      And to your knowledge was the process
         5    for compiling the daily briefing book that former
         6    Secretary Kelly received different in any material
         7    ways than the one received by Acting
         8    Secretary Duke now?
         9           A      I don't think so.
       10            Q      Okay.
       11            A      Must have been a great note.
       12            Q      It's kind of interesting.
       13                   What are the primary ways that DHS staff
       14     communicate with Acting Secretary Duke?
       15            A      It could be in person meetings, phone
       16     calls, occasionally emails.
       17            Q      Okay.
       18            A      We don't use carrier pigeons.
       19            Q      Does Acting Secretary Duke personally
       20     read her DHS email?
       21                   MR. GARDNER:        Objection.     Calls for
       22     speculation.



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         1                  THE WITNESS:        I don't know the answer to
         2    that question.
         3    BY MS. TUMLIN:
         4           Q      Do you email Acting Secretary Duke on
         5    her DHS email?
         6           A      Do I?     Meaning -- do you mean have I
         7    emailed her?
         8           Q      Yes.     Uh huh?
         9           A      I have emailed her.
       10            Q      Has she responded to you using her DHS
       11     email address?
       12            A      I believe she has.
       13            Q      Okay.     Does Acting Secretary Duke have
       14     more than one DHS email address?
       15                   MR. GARDNER:        Objection.   Calls for
       16     speculation.        Lack of foundation.
       17                   THE WITNESS:        I have no idea.
       18     BY MS. TUMLIN:
       19            Q      How many email addresses do you have for
       20     Acting Secretary Duke?
       21            A      One.
       22            Q      To your knowledge are there any



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         1    restrictions on who can send email to that one
         2    email address that you have for Acting Secretary
         3    Duke?
         4           A      I do not know.
         5           Q      Do you know if Acting Secretary Duke's
         6    email address is publicly available?
         7           A      What do you mean by publicly available?
         8           Q      Posted online?
         9           A      No.    It is not.
       10            Q      Does Acting Secretary Duke conduct any
       11     DHS business on her personal email account?
       12                   MR. GARDNER:        Objection.   Calls for
       13     speculation.        Lack of foundation.
       14                   THE WITNESS:        I don't have the slightest
       15     idea.
       16     BY MS. TUMLIN:
       17            Q      Okay.     Does Acting Secretary Duke
       18     generally conduct DHS business via phone?
       19                   MR. GARDNER:        Objection.   Calls for
       20     speculation.        Lack of foundation.
       21                   THE WITNESS:        I have no idea.    I am not
       22     with her every hour of the day.            I could never



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         1    answer that question truthfully and fully,
         2    completely.
         3    BY MS. TUMLIN:
         4           Q      How many times a week does Acting
         5    Secretary Duke call you on the phone to discuss
         6    DHS business?
         7           A      I couldn't even give you an estimate.             A
         8    few times, I don't know.             Depends.   We see each
         9    other a lot.        Work with each other a lot.         It just
       10     depends.
       11            Q      Great.     Do you have any standing
       12     meetings with Acting Secretary Duke?
       13            A      We do.
       14            Q      How often are those?
       15            A      Daily, typically.
       16            Q      Okay.
       17            A      When she's in town and when I'm in town.
       18            Q      Okay.     And what were the primary ways
       19     that DH staff -- DHS staff communicated with
       20     former Secretary Kelly?
       21                   MR. GARDNER:        Objection.    Calls for
       22     speculation.        Lack of foundation.



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         1                  THE WITNESS:        I couldn't -- I couldn't
         2    answer for you the way that 250,000 employees at
         3    the department communicated with the former
         4    secretary.
         5    BY MS. TUMLIN:
         6           Q      Okay.     We will take you as a grid
         7    example.      Did you have standing meetings with
         8    former Secretary Kelly when he was the secretary
         9    of DHS?
       10            A      If by standing do you mean regular, yes,
       11     we had regular.         We were not standing always.
       12     Sometimes we sat down.            It's possible.
       13            Q      How often were those regular meetings
       14     that you had with former Secretary Kelly?
       15            A      Every day.
       16            Q      Okay.     Did you also email former
       17     Secretary Kelly at his DHS email address?
       18            A      I did.
       19            Q      And did he respond to you using that
       20     address?
       21            A      Yes.
       22            Q      And was his DHS email address publicly



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         1    available?
         2           A      No.
         3           Q      To your knowledge were there any
         4    restrictions on who could send incoming email to
         5    former Secretary Kelly's DHS email address?
         6           A      I do not know.
         7           Q      Did you have any other email addresses
         8    for former Secretary Kelly at the time he was the
         9    secretary?
       10            A      Can I have any other email addresses?
       11            Q      Like a personal email address for him as
       12     well?
       13            A      I'm aware of his personal email address.
       14            Q      Did former Secretary Kelly ever send you
       15     DHS business using his personal email address?
       16            A      No.    I believe there may have been one
       17     or two occasions where he had seen something on
       18     his personal -- he had seen something and it was
       19     on his personal device and he had forwarded it
       20     from his personal device to his work account and
       21     from his work account to me, is the general range
       22     of what I understand.           He was always very careful



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         1    about that and rightfully so.
         2           Q      Okay.     Did former Secretary Kelly
         3    regularly call you on the phone to discuss DHS
         4    business?
         5           A      Over which time period?
         6           Q      Between January 21, 2017 until he left
         7    the White House?
         8           A      Did he regularly call me to discuss DHS
         9    business, yes.         We talked many -- on many
       10     occasions on the phone.
       11            Q      Okay.     Since you have been with the
       12     Office of the Secretary at DHS has the White House
       13     ever communicated a policy directive to the
       14     Department of Homeland Security?
       15            A      What do you mean a policy directive?
       16            Q      By policy directive here I mean an
       17     instruction that a certain policy should be
       18     implemented?
       19            A      What do you mean by the White House?
       20     White House is a big entity, a lot of people --
       21            Q      -- Anyone with authority to speak for
       22     the White House?



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         1           A      Well, I think that it's a matter of
         2    public record that the president issued a few
         3    executive orders that implicated the department's
         4    business and directed us to do certain things.
         5           Q      Is that the most common way for a
         6    directive from the White House to come to the
         7    department is via executive order?
         8           A      Not always.
         9           Q      Do you sometime received memorandum from
       10     the White House?
       11            A      I am aware that the White House issues
       12     executive orders, presidential proclamations,
       13     presidential memorandum, presidential directives.
       14     There are summary of conclusions that come out of
       15     meetings at the White House.               They don't
       16     necessarily do -- there are all kinds of manners
       17     in which --
       18            Q      Okay.
       19            A      -- A decision could be -- or a decision
       20     or a guidance could come out of the White House.
       21            Q      Got it.      Do you participate in the
       22     Domestic Policy Council or DPC?



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                                                                            184
         1           A      What do you mean by participate in?
         2           Q      Are you a formal member of the DPC?
         3           A      Am I a formal member of the Domestic
         4    Policy Council, no.
         5           Q      Do you sit in on regular meetings at the
         6    DPC?
         7           A      Do I -- do I sit in on regular meetings
         8    of the Domestic Policy Council, no.             Do I sit in
         9    on meetings that are hosted largely by the
       10     Domestic Policy Council that involve other
       11     agencies and individuals, yes.
       12            Q      Approximately how often do you attend a
       13     meeting hosted by the Domestic Policy Council?
       14            A      Many times.
       15            Q      Since January 21, 2017 more than 20?
       16            A      Likely.
       17            Q      More than 50?
       18            A      Probably.
       19            Q      That's a lot.        More than 100?
       20            A      I couldn't tell you.         It's been a lot.
       21            Q      Okay.     Have you ever attended a meeting
       22     hosted by the Domestic Policy Council in which



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         1    DACA was discussed?
         2           A      I don't know.        Maybe.    I don't recall
         3    any specific meetings where we discussed DACA
         4    itself.
         5           Q      Do you recall any specific meetings that
         6    you attended hosted by the Domestic Policy Council
         7    that discussed immigration issue?
         8           A      Certainly.
         9           Q      Okay.     More than 20 of those meetings?
       10            A      Yes.     All of the -- it would be a fair
       11     assumption -- just to help you out here, a fair
       12     assumption that all of them involved largely
       13     immigration issues.
       14            Q      So potentially close to a hundred
       15     meetings that you attended at the Domestic Policy
       16     Council included immigration issues?
       17            A      I don't know if I said close to a
       18     hundred.      I said it's a lot.           I don't know.
       19     Largely all of them are on immigration issues.
       20            Q      Okay.     But you don't have any specific
       21     memory of any of those meetings involving the
       22     mention of DACA?



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         1           A      Not to the best of my recollection.
         2           Q      Okay.
         3           A      I just -- I don't recall anything
         4    specifically.        But could the word DACA have been
         5    uttered by somebody at one of those meetings?
         6    Lord knows.       I mean, I don't know.        I can't recall
         7    every word.
         8           Q      Okay.     Do you -- it seems like a silly
         9    question in light of these meetings, however, do
       10     you speak to DPC staff regularly?
       11            A      Yes.
       12            Q      Which ones?
       13                   MR. GARDNER:        You can identify
       14     individuals you have spoken to.
       15                   THE WITNESS:        I regularly communicate
       16     with a -- the director of Domestic Policy Council,
       17     Andrew Bremberg.         Domestic Policy Council
       18     technically reports to Stephen Miller.              I've
       19     talked to Steve.         The deputy director is Paul
       20     Winfree and I have regular discussions and
       21     exchanges with him.           John Zadrozny works on the
       22     Domestic Policy Council, I've talked with him



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         1    frequently.       Zina Bash, talked with her.         There's
         2    are a number of detailees who work on the Domestic
         3    Policy Council that I talk with.             I'd say it's a
         4    fair assumption that I've probably talked to all
         5    of them.
         6    BY MS. TUMLIN:
         7           Q      Okay.     How about Mary Salvi?
         8           A      Mary is an administrative assistant or
         9    special assistant, confidential assistant.               I
       10     don't know her precise title.              But she works on
       11     the Domestic Policy Council.
       12            Q      How about Peter White?
       13            A      Not as much with Peter.
       14            Q      Okay.     How often do you speak with staff
       15     at the White House?
       16            A      Frequently.
       17            Q      Who are the primary staff at the White
       18     House that you speak to frequently?
       19            A      There are many depending on the time and
       20     the place and the subject matter.
       21            Q      Before he left the White House did you
       22     speak frequently with Steve Bannon?



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         1           A      Did I speak frequently?        Define
         2    frequently?
         3           Q      I was using it because you did.
         4           A      Did I speak with Steve Bannon on
         5    multiple occasions, yes.
         6           Q      Have you spoken with him since he left
         7    the White House?
         8           A      Maybe once.
         9           Q      Before Steve Bannon left the White House
       10     did you ever speak to him about DACA?
       11            A      I'm certain that we talked about DACA at
       12     some point.       I just don't know when.        It may
       13     have -- it may have predated the election.
       14            Q      Okay.     Okay.     Are you familiar with the
       15     Center for Immigration Studies?
       16            A      I am.
       17            Q      Have you communicated with them since
       18     you began working in DHS in 2017?
       19            A      We had a meeting with them a couple of
       20     months ago.       It was hosted by our Office of
       21     Partnership and Engagement and there were
       22     representatives from that organization at the



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         1    department.
         2           Q      Were there other organizations at that
         3    meeting in addition to representatives from the
         4    Center for Immigration Studies?
         5           A      I believe that NumbersUSA was there and
         6    FAIR.      I think that was it.
         7           Q      Okay.     Do you remember the names of any
         8    individuals from the Center of Immigration Studies
         9    who were at that meeting?
       10            A      Mark Krikorian was there.
       11            Q      Do you remember anyone else from the
       12     Center for Immigration Studies who was at that
       13     meeting in addition to Mark Krikorian?
       14            A      I don't think so.
       15            Q      Do you remember the names of anyone from
       16     NumbersUSA who was at that meeting?
       17            A      Rosemary Jenks.
       18            Q      Okay.     Do you remember anyone else from
       19     NumbersUSA who was at the meeting in addition to
       20     Rosemary?
       21            A      Grant Newman.
       22            Q      Anyone else?



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         1           A      No.
         2           Q      Do you remember the names of anyone from
         3    FAIR who was at that meeting?
         4           A      Rob Law.
         5           Q      Anyone else from FAIR?
         6           A      I don't remember who he was.          I don't
         7    remember his name.
         8           Q      Okay.
         9           A      Somebody else was there.
       10            Q      Okay.     And were there any other
       11     representatives from nongovernmental organizations
       12     at that meeting?
       13            A      Not at that particular meeting.
       14            Q      Okay.     And who from -- at the Department
       15     of Homeland Security in addition to yourself was
       16     at that meeting?
       17            A      The Office of Partnership and
       18     Engagement, so our acting assistant secretary,
       19     John Barsa.       Myself.      I think there were a couple
       20     folks from our Office of Policy and a couple of
       21     folks from USCIS and maybe from ICE.             But I don't
       22     really remember.



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         1           Q      Do you remember who would have been
         2    there from USCIS?
         3           A      No.
         4           Q      Or from ICE?
         5           A      No.    Sorry.
         6           Q      Or from the Office of Policy?
         7           A      I would be speculating, but I think that
         8    Michael Dougherty was there from Office of Policy.
         9    But other than that I don't really recall.
       10            Q      And I'm sorry.         I think you said, was it
       11     the Office of Partnership who hosted that meeting?
       12            A      That's correct.
       13            Q      And do you know approximately how long
       14     the meeting lasted?
       15            A      Maybe an hour.
       16            Q      Okay.     Do you remember the topic of the
       17     meeting?
       18            A      General get to know you or -- you know,
       19     howdy to the department.             They had been completely
       20     shut out by the last administration and never
       21     invited to participate in any meetings whatsoever.
       22     So the Office of Partnership and Engagement



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         1    thought it might be a good idea to bridge the gap.
         2           Q      Did you discuss DACA in that meeting?
         3           A      I don't recall.
         4           Q      Were -- was there an agenda at all
         5    prepared for that meeting?
         6           A      No.
         7           Q      Has the Office of Partnership hosted any
         8    other meetings that you've attended involving
         9    different nongovernmental immigration groups in
       10     2017?
       11            A      Yes.     There was -- I don't remember
       12     what -- there are a number of -- there is a
       13     business council of some kind and representatives
       14     from various businesses and immigration
       15     organizations that came and met with us and talked
       16     about various issues.
       17            Q      Okay.
       18            A      With OP there's -- we have talked to --
       19     OPE hosted another meeting I can remember
       20     involving the agricultural industry
       21     representatives.         But I don't --
       22            Q      Is OPE --



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         1           A      -- there have been -- I mean, goodness.
         2    They coordinate all of our engagements with the
         3    private sector and nongovernmental entities.                And
         4    so whether that's that or whether that's meetings
         5    with the chamber of commerce, whether that's
         6    whatever.         I mean, there's a whole host of
         7    meetings that likely were where we could have
         8    discussed immigration issues generally in some
         9    fashion or another.
       10            Q      Okay.     A couple of things for
       11     clarification.         Is OPE, Office of Partnership and
       12     Engagement?
       13            A      It is.
       14            Q      Okay.
       15            A      Very good.
       16            Q      Winning.      And the meeting that we first
       17     discussed that had Center for Immigration Studies,
       18     NumbersUSA, and FAIR you approximated that is
       19     about a couple of months ago.              Is that correct?
       20            A      I think it was.         I mean, it was at least
       21     a couple of months ago.            I mean it's hard to
       22     believe it's late October at this point in time.



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         1    The year has been a blur.             So it's been at least a
         2    couple of months, if not more.
         3           Q      Okay.     And then the separate meeting
         4    with business counsel and other folks that OPE
         5    hosted do you remember approximately when that
         6    was?
         7           A      It was before that, sometime in the
         8    summer.
         9           Q      Okay.     And at that meeting with business
       10     council representatives do you remember if DACA
       11     came up?
       12            A      I don't remember if it came up.
       13            Q      Have you in 2017 met with the American
       14     Immigration Lawyers Association?
       15            A      America Immigration Lawyers Association.
       16            Q      AILA?
       17            A      I don't know if AILA was present at any
       18     of our meetings specifically, although I seem to
       19     recall representatives from AILA being present at
       20     various meetings.          I just -- I don't recall which
       21     ones and where.
       22            Q      Okay.     Separate from the meeting with



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         1    OPE that we discussed have you initiated any other
         2    communications with anyone at the Center for
         3    Immigration Studies in 2017?
         4           A      Have I initiated any conversations with
         5    them?      Not to the best of my recollection.
         6           Q      And in 2017 have you initiated or had
         7    any communications with FAIR aside from that
         8    meeting with OPE?
         9           A      Have I initiated or had any
       10     conversations about anything under the sun, under
       11     the universe?
       12            Q      Uh huh.
       13            A      I don't -- I don't know.         Maybe.    I'm
       14     not really sure.
       15            Q      Have you had any discussions in 2017
       16     with representatives of FAIR regarding DACA?
       17            A      No.
       18            Q      Have you had any conversations in 2017
       19     with representative of NumbersUSA regarding DACA?
       20            A      I have not had any formal meetings with
       21     members of NumbersUSA that I can recall where
       22     any -- where DACA was a topic of an agenda.               Just



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         1    I have had discussions.              I have seen them in
         2    social, a few folks in social encounters.                 And I
         3    can't guarantee that no one ever said the word
         4    DACA, but I just don't recall anything.
         5           Q          Okay.   And are you familiar with Kris
         6    Kobach?
         7           A          I am.
         8           Q          Have you communicated with Kris Kobach
         9    since you began working DHS in 2017?
       10            A          Yes.
       11            Q          Did you receive or have any
       12     communications from Kris Kobach regarding DACA in
       13     2017?
       14            A          No.
       15            Q          Did you speak to Kris Kobach regarding
       16     any other immigration issue in 2017?
       17            A          Any immigration issues, no.
       18                       MS. TUMLIN:      Okay.    Okay.   I apologize.
       19     I'm not sure what exhibit we are at.                I think
       20     we're at 29.            Does that sound right?      This is a
       21     new exhibit.            I know we are trying to keep it
       22     clean.



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         1                  MR. GARDNER:        29.
         2                  MS. TUMLIN:       This is for you to mark,
         3    please, as Exhibit 29.            That's for you.
         4                  (Whereupon, Exhibit No. 29 was marked
         5    for identification.)
         6    BY MS. TUMLIN:
         7           Q      Okay.     I will give you a second to look
         8    at that, of course.           For the record this is a
         9    printout email exchange.             It appears to be between
       10     you, Mr. Hamilton, and Kris Kobach?
       11            A      Yes.     From 2016.
       12            Q      I think 2016 and into just there is one
       13     little header on 2017?
       14            A      The header is the forward.
       15            Q      I think that's correct.
       16            A      There is no communication here between
       17     us in 2017.
       18            Q      That's right.
       19            A      Okay.
       20            Q      Can you just please let me know when you
       21     familiarize yourself with the document?
       22            A      I'm generally familiar with the



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         1    document.
         2           Q      Okay.     So starting at the bottom I see
         3    an email from what I believe is yourself to Kris
         4    Kobach.      Is that correct?
         5           A      Yes.
         6           Q      And is this in fact your email?
         7           A      Well, it's blacked out so I assume it's
         8    my email.         It looks familiar to me and it looks
         9    like my signature on the signature line.
       10            Q      The email subject is "day one book."            Is
       11     that correct?
       12            A      That's correct.
       13            Q      Can you describe to me what you meant
       14     by, day one book, in this context?
       15            A      This related to various -- this is the
       16     day after the election.            This would have been
       17     various potential policy proposals that would be
       18     formulated related to immigration in the
       19     transition context.
       20            Q      Okay.     Who was responsible for compiling
       21     the day one book?
       22            A      Compiling it, a number -- I mean a



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         1    number of folks participated.              I might have
         2    organized it.        I might have -- you know, I clearly
         3    sent him the document, so.
         4           Q      So you were familiar with the content of
         5    the day one book?
         6           A      Generally.
         7           Q      Okay.     To your knowledge did the day one
         8    book include any policy proposals that would
         9    affect DACA recipients?
       10                   MR. GARDNER:        Answer that with a yes or
       11     no.
       12                   THE WITNESS:        Maybe.
       13     BY MS. TUMLIN:
       14            Q      Okay.     To your knowledge did the day one
       15     book include any -- pardon me, changes to DHS
       16     policy?
       17            A      Yes.
       18            Q      To your knowledge did the day one book
       19     include any legislative proposals?
       20            A      I think so.
       21            Q      To your knowledge did the day one book
       22     include draft legislation that would affect DACA



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         1    recipients?
         2           A      I don't recall anything that specific.
         3    It's possible, but I really don't remember.
         4           Q      What were the key immigration proposals
         5    in the day one book that you remember?
         6                  MR. GARDNER:        Objection.   Calls for
         7    disclosure of information subject to deliberative
         8    process privilege as well as potentially
         9    presidential communications privilege.              I instruct
       10     the witness not to answer.
       11     BY MS. TUMLIN:
       12            Q      Okay.     Have you discussed DACA with any
       13     organization or individual outside of the federal
       14     government?
       15            A      It's a pretty broad question.          If you
       16     can give me a time frame?
       17            Q      Sure.     Since inauguration day for
       18     President Trump have you discussed DACA with any
       19     organizations outside of the federal government?
       20            A      I mean I can't say, no.          I probably --
       21     it might have come up in converse -- I mean, we
       22     have had countless meetings and engagements since



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         1    January 20.       I know DACA was a subject of
         2    conversation of some things, but I can't give you
         3    specifics.
         4           Q      Okay.     In your opinion why did this
         5    administration terminate the DACA program?
         6           A      In my opinion why did the administration
         7    terminate DACA.         I think that the reason why the
         8    administration terminated DACA is largely
         9    reflected in Acting Secretary Duke's memoranda
       10     that was issued on September 5.
       11            Q      Did the administration consider the
       12     foreign policy effects of ending DACA prior to
       13     issuing Acting Secretary Duke's memorandum on
       14     September 5, 2017?
       15                   MR. GARDNER:        Objection.   Calls for
       16     disclosure of information subject to deliberative
       17     process privilege.          Instruct the witness not to
       18     answer.
       19     BY MS. TUMLIN:
       20            Q      Did the administration consider the idea
       21     of DACA as a pull factor for immigration when
       22     deciding to end the program?



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         1                      MR. GARDNER:     Objection.   Calls for the
         2    disclosure of information subject to deliberative
         3    process privilege.           Instruct the witness not to
         4    answer.
         5    BY MS. TUMLIN:
         6           Q          Did the administration consider the
         7    labor market affects of DACA recipients before
         8    deciding to end the program?
         9                      MR. GARDNER:     Objection.   Calls for
       10     disclosure of information subject to deliberative
       11     process privilege.           Instruct the witness not to
       12     answer.
       13     BY MS. TUMLIN:
       14            Q          Why did this administration chose
       15     September 5, 2017 as the date to announce the end
       16     of DACA?
       17                       MR. GARDNER:     Objection.   Calls for the
       18     disclosure of information subject to deliberative
       19     process privilege.           I instruct the witness not to
       20     answer.      To the extent you can answer that
       21     question without revealing deliberations, you may
       22     answer.



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         1                  THE WITNESS:        I think we've all looked
         2    at in this room a letter from the Attorney General
         3    of Texas that gave a deadline of September 5.
         4    BY MS. TUMLIN:
         5           Q      Why did this administration choose a six
         6    month period for winding down DACA?
         7                  MR. GARDNER:        Objection.   Calls for
         8    disclosure of information subject to deliberative
         9    process privilege.          I instruct the witness not to
       10     answer.      To the extent that you can answer that
       11     question without revealing deliberations, you may
       12     so answer.
       13                   THE WITNESS:        I can't give you an answer
       14     to that question.
       15     BY MS. TUMLIN:
       16            Q      Okay.     Why did this administration
       17     choose October 5 for a deadline for renewal
       18     applications?
       19                   MR. GARDNER:        Objection.   Calls for the
       20     disclosure of information subject to deliberative
       21     process privilege.          I instruct the witness not to
       22     answer.      To the extent the witness can answer



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         1    without revealing deliberations he may so answer.
         2    BY MS. TUMLIN:
         3           Q      Okay.     How is DHS participating in
         4    legislative discussions around the Dream Act or
         5    other means of providing status to DACA eligible
         6    recipients?
         7                  MR. GARDNER:        Objection, vague.     And
         8    also objection to extent it calls for disclosure
         9    of information subject to deliberative process
       10     privilege.        To the extent you can answer that
       11     question without revealing deliberations, you can
       12     answer.      Otherwise I instruct you not to answer.
       13                   THE WITNESS:        I cannot answer that
       14     question.
       15     BY MS. TUMLIN:
       16            Q      Okay.     The memorandum terminating the
       17     DACA program that was signed by Acting
       18     Secretary Duke on September 5, 2017 did -- were
       19     there prior drafts of that memorandum circulated?
       20            A      Were there prior drafts of the memo
       21     circulated in what was the final product, yes.                It
       22     was an iterative process under which there were



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         1    multiple edits made to the document.
         2           Q      Did you draft that memorandum?
         3                  MR. GARDNER:        You can answer that yes or
         4    no.
         5                  THE WITNESS:        Principally, yes.
         6    BY MS. TUMLIN:
         7           Q      On what date did you first draft that
         8    memo?
         9           A      I don't know.
       10            Q      What month?
       11            A      August or September.         I don't remember
       12     it was late August, early September.
       13            Q      Okay.     You previously testified that the
       14     final decision to terminate DACA was not made
       15     until Acting Secretary Duke signed the memorandum
       16     which you principally drafted.             Is that correct?
       17            A      That is correct.
       18            Q      Did you also draft an alternative
       19     memorandum that kept the DACA program in place?
       20                   MR. GARDNER:        Objection.   Calls for
       21     information subject to the deliberative process
       22     privilege.        I instruct the witness not to answer.



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         1    BY MS. TUMLIN:
         2           Q      Prior to September the 5th was there any
         3    other draft memorandum regarding DACA circulating
         4    within components at DHS?
         5                  MR. GARDNER:        You can answer that
         6    question with a yes or no.
         7                  THE WITNESS:        Let's really boil down.
         8    By what do you mean like other drafts?               I mean
         9    clearly a document that goes through an editing
       10     process takes various form and depending on who
       11     edits it and saves it and emails it back around
       12     there are then unique documents created at every
       13     single step along the way.                So, yes, there were
       14     alternate versions that existed and it eventually
       15     became the final version.
       16     BY MS. TUMLIN:
       17            Q      So I wasn't speaking about various
       18     iterations of that draft that was eventually
       19     signed by Acting Secretary Duke.               But previously
       20     you had testified that up until the time Acting
       21     Secretary Duke signed that document on September
       22     the 5th no final decision on whether to terminate



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         1    the DACA program had been made.               Correct?
         2           A          That -- that is generally correct,
         3    although I will say again, no final decision is
         4    ever made until there is ink on paper.               That is
         5    the fundamental difference.                There may have been
         6    tentative decision, but until a secretary of a
         7    cabinet department makes a decision in writing or
         8    in whatever method is appropriate for the
         9    circumstance the decision is technically not
       10     final.
       11            Q          Was there a substantively alternative
       12     version of a DACA memorandum that was circulating
       13     prior to September the 5th that could have been
       14     signed by Acting Secretary Duke?
       15                       MR. GARDNER:     Objection.    Calls for
       16     disclosure of information subject to deliberative
       17     process privilege.           I instruct the witness not to
       18     answer.
       19     BY MS. TUMLIN:
       20            Q          Okay.   Does DHS have a policy on how to
       21     deal with litigation risk?
       22




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         1           A      Do we have a policy on how to deal with
         2    litigation risk?
         3           Q      Uh huh.
         4           A      Nothing in writing.
         5           Q      Okay.     So there is -- is there any
         6    policy on how to deal with threats to sue by state
         7    or local officials?
         8           A      No.    And that sounds like the craziest
         9    policy you could ever have in a department.               You
       10     could never do anything if you were always worried
       11     about being sued.
       12            Q      Are you familiar with the executive
       13     order issued by President Trump with respect to
       14     sanctuary jurisdictions?
       15            A      That -- I believe that is in Executive
       16     Order 13768.        I am familiar.
       17            Q      And are you aware that several
       18     municipalities have sued the federal government on
       19     the basis of that executive order?
       20            A      In general I am, yes.
       21            Q      Are you aware that some of these
       22     lawsuits have successfully blocked parts of the



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         1    executive order?
         2           A          On a temporary basis.
         3           Q          And as a result has DHS considered
         4    rescinding any of that executive order?
         5                      MR. GARDNER:       Objection.   Calls for
         6    disclosure of information subject to deliberative
         7    process privilege, plus the attorney/client
         8    privilege.         I instruct the witness not to answer.
         9    BY MS. TUMLIN:
       10            Q          Okay.   Have you ever requested that
       11     anyone within DHS provide metrics or statistics
       12     about DACA recipients?
       13            A          I have.
       14            Q          And when you ask for information they
       15     generally give it to you.                Is that correct?
       16            A          Correct.
       17            Q          Did you ever request metrics about how
       18     many DACA recipients who subsequent to their
       19     receipt of DACA were arrested, detained or
       20     removed?
       21                       MR. GARDNER:       Objection.   Calls for
       22     disclosure of information subject to deliberative



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         1    process privilege.          I instruct the witness not to
         2    answer.
         3    BY MS. TUMLIN:
         4           Q      What kind of metrics or statistics about
         5    DACA recipients have you requested?
         6                  MR. GARDNER:        Just for clarification,
         7    over what time frame?
         8    BY MS. TUMLIN:
         9           Q      Since January 20, 2017?
       10                   MR. GARDNER:        To the extent you can
       11     answer that question without divulging
       12     deliberative pre-decisional information.
       13     Otherwise, that calls for the disclosure of
       14     information subject to the deliberative process
       15     privilege and I would instruct you not to answer.
       16                   THE WITNESS:        I have asked for a variety
       17     of information about DACA recipients and DACA
       18     applicants.
       19     BY MS. TUMLIN:
       20            Q      Such as what general categories?
       21            A      Generally speaking information
       22     pertaining to the parameters established in the



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         1    June 15, 2012 memorandum.
         2           Q      Can you give me one example?
         3           A      How many DACA recipients -- how many
         4    DACA recipients have ever been convicted of a
         5    crime.
         6           Q      Why did you request that specific
         7    statistic?
         8                  MR. GARDNER:        Objection to the extent it
         9    calls for disclosure of information subject to
       10     deliberative process privilege.            To the extent you
       11     can answer that without revealing deliberations,
       12     you may so answer.
       13                   THE WITNESS:        It seemed like basic
       14     information that the department would have on
       15     hand.
       16     BY MS. TUMLIN:
       17            Q      Okay.     Do you remember when you
       18     requested that?
       19            A      Multiple occasions.
       20            Q      Starting as early as what month?
       21            A      I don't recall.
       22            Q      February?



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         1           A      Possibly.
         2           Q      Do you remember when that information
         3    was provided to you?
         4           A      To date it has never been provided to
         5    me.
         6           Q      Was there a reason for failure to
         7    provide the information given to you?
         8           A      The Department of Homeland Security made
         9    a deliberate decision with the rollout of the DACA
       10     program to not record certain information in
       11     statistically reportable fields.              So the
       12     Department of Homeland Security is not capable of
       13     producing the number of individuals who have
       14     applied for DACA or received DACA and have
       15     criminal convictions of any kind, nor can the
       16     Department of Homeland Security report on the
       17     educational attainment of most DACA recipients.
       18            Q      Okay.     I'm going to take those
       19     separately for a hot second.               With respect to
       20     information on convictions of DACA recipients,
       21     which I think is the first category you
       22     identified.       Is that correct?



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         1           A      (nods).
         2           Q      Is what the Department of Homeland
         3    Security has represented that there is no easily
         4    electrically searchable field for that
         5    information?        Is that something close to the
         6    understanding that has been given to you?
         7           A      Generally.
         8           Q      So searching for that information would
         9    require some kind of physical search?
       10            A      That's my general understanding.
       11            Q      Okay.
       12            A      In terms of the question of how many
       13     have ever been convicted of a criminal offense.
       14            Q      And you mentioned something with respect
       15     to educational attainment of DACA recipients?
       16            A      That is correct.
       17            Q      What is the specific type of information
       18     you have been told is unavailable?
       19            A      Well, I believe the June 15, 2012 memo
       20     laid out as a criteria that DACA recipients -- or
       21     to receive DACA an applicant had to be enrolled in
       22     school or obtain certain levels of education, more



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         1    than a GED program, be in college, be a member of
         2    the military.        And I figured that would be basic
         3    information so that the department would have on
         4    hand so that policymakers could make informed
         5    decisions.
         6           Q      And what is the closest approximation of
         7    that information that the department has told you
         8    they can provide you with?
         9                  MR. GARDNER:        Objection.   Vague.
       10     BY MS. TUMLIN:
       11            Q      Can the department provide you with some
       12     type of statistical information on how many DACA
       13     recipients met the June 15, 2012 criteria?
       14            A      Which criteria?
       15            Q      All of the criteria that's required to
       16     establish eligibility?
       17            A      Technically speaking to receive DACA
       18     they would have met all of the criteria.
       19            Q      But they can't provide you with a break
       20     down of how the educational requirement was met,
       21     is that --
       22            A      That is correct.



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         1           Q      So if it was a GED versus in school?
         2           A      Or college or a master's program or
         3    Ph.D. program.
         4           Q      Okay.     Understood.        Are there any other
         5    categories of statistics on DACA recipients that
         6    you requested aside from information on criminal
         7    conviction or educational attainment?
         8           A      I know I have asked for the total number
         9    of beneficiaries.
       10            Q      Just an aggregate or any specific break
       11     downs you were looking for?
       12            A      I have asked that we break down and
       13     provide as much information as possible to be as
       14     transparent as possible about the program so the
       15     policymakers can make informed decisions.
       16                   MR. GARDNER:        Would this be a good time
       17     for a break.        We have been going well over an
       18     hour.
       19                   MS. TUMLIN:       Okay.
       20                   MR. GARDNER:        I don't want to break if
       21     you're in the middle of a question.
       22




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         1    BY MS. TUMLIN:
         2           Q      Let me ask two more questions and we
         3    will wrap it up for a little break and that might
         4    make everybody happy.
         5                  Who did you ask to provide you with this
         6    statistical information on educational attainment,
         7    criminality or characteristics of DACA recipients?
         8           A      Typically USCIS.
         9           Q      Anyone in USCIS specifically?
       10            A      I believe I've asked the acting director
       11     at the time, McCament, possibly others.               I don't
       12     recall.
       13            Q      Did you ask Phillip Miller to provide
       14     any metrics on DACA recipients?
       15            A      Phil works in ICE.           I may have asked for
       16     the total number of individuals who were ever --
       17     who had DACA who were arrested or removed.
       18                   MS. TUMLIN:       Okay.      That's all I have.
       19     We can take a break and go off of the record if
       20     you'd like.
       21                   THE VIDEOGRAPHER:            We're going off to
       22     the record.       This conclude media unit number two.



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         1    The time on the video 2:00 p.m.
         2                  (Whereupon, a recess occurred from
         3    2:00 p.m. until 2:17 p.m.)
         4                  THE VIDEOGRAPHER:            This begins media
         5    unit number three.          We are on the record.        The
         6    time on the video is 2:17 p.m.
         7    BY MS. TUMLIN:
         8           Q      Are you aware that USCIS had a practice
         9    at one point to mail DACA recipients a renewal
       10     reminder notice prior to the expiration of their
       11     DACA?
       12            A      I've heard that.
       13            Q      Are you aware that USCIS mailed DACA
       14     recipients this renewal reminder notice
       15     approximately 180 days prior to the expiration of
       16     their DACA?
       17            A      My understanding is that they were
       18     strongly encouraged to apply somewhere between 180
       19     and 150 days in advance to expiration, but I don't
       20     know if it was conveyed in letter or not.
       21            Q      Okay.     Prior to end of DACA, so for
       22     example on September 1, 2017 was USCIS sending



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         1    renewal reminder notices to DACA recipients?
         2           A          I couldn't tell you.
         3           Q          Do you know the approximate date when
         4    USCIS stopped sending renewal reminder notices to
         5    DACA recipients?
         6           A          I do not.
         7                      MS. TUMLIN:    Okay.     So I am going to
         8    hand the court reporter an exhibit and ask Donna
         9    to please mark this as Exhibit 30.              Okay.    So for
       10     the record the document is titled; Defendant's
       11     objections and responses to plaintiff's first set
       12     of requests for admission to Elaine Duke, Acting
       13     Secretary of Homeland Security.
       14                       MR. GARDNER:     I got a different
       15     document.         I have your actual requests, not our
       16     responses.
       17                       MS. TUMLIN:    Well, let's fix that.
       18     Thank you.
       19                       THE WITNESS:     Same here.
       20                       MR. GARDNER:     Do you want to mark it as
       21     31 or do you want to remark it as 30?
       22                       MS. TUMLIN:    Let's remark if that's not



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         1    to much of a hassle for you.               Thank you.     Thank
         2    you both.         Yes, please.
         3                  We don't have it.            No?   Okay.   So we
         4    won't mark it.         We should skip it until we have
         5    it.    Sorry.      That's a real errata, my friends.
         6                  MR. GARDNER:        Do you want to show it to
         7    him and not mark it and I will look over his
         8    shoulder?
         9                  MS. TUMLIN:       No.       We don't have the copy
       10     of objections.
       11                   MR. GARDNER:        You don't have a copy at
       12     all?     Okay.
       13                   MS. TUMLIN:       I don't think so.
       14                   THE WITNESS:        Who's getting fired for
       15     that, geez.
       16     BY MS. TUMLIN:
       17            Q      Me, I think.
       18                   Do you know Kathy Nuebel Kovarik who is
       19     the chief of the Office of Policy and Strategy?
       20            A      I do.
       21            Q      Did you ever discuss with Kathy prior to
       22     July 2017 whether USCIS would stop sending renewal



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         1    notices to DACA recipients?
         2           A      I don't remember.            It's possible, but I
         3    just don't recall.
         4           Q      Did you ever discuss with anyone at the
         5    White house whether USCIS would stop sending
         6    renewal notices to DACA recipients?
         7           A      I don't remember.
         8           Q      Did you ever discuss with anyone at the
         9    Department of Justice prior to July 2015 whether
       10     USCIS would stop sending renewal notices?
       11            A      I don't remember.
       12            Q      Do you know whether the DACA renewal
       13     notices that were previously sent were generated
       14     electronically?
       15            A      I don't know.
       16            Q      Do you know what computer system
       17     formally generated DACA renewal notices?
       18            A      I do not.
       19            Q      Are you familiar with the Claims 3
       20     computer system?
       21            A      I know of it.
       22            Q      Do you know whether DHS changed computer



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         1    systems that housed the information of DACA
         2    grantees in 2017?
         3            A         That sounds familiar, but I don't want
         4    to tell you wrong.
         5            Q         Have you heard of the ELIS, E-L-I-S,
         6    computer system?
         7            A         Yes, I have.
         8            Q         Do you know whether ELIS, E-L-I-S, has
         9    the capability of generating renewal reminder
        10    notices for DACA recipients?
        11            A         I couldn't tell you.
        12                      MS. TUMLIN:     Okay.    Do we have the --
        13    let's see.         I will see if we can come up with an
        14    Exhibit 30.         Let's test.       All right.   Let's try
        15    this again, please.            30.    I sure did, see.
        16                      (Court reporter requested
        17    clarification.)
        18                      MR. GARDNER:     Can I have a copy?
        19                      MS. TUMLIN:     Oh, sorry.   Sorry.
        20                      (Whereupon, Exhibit No. 30 was marked
        21    for identification.)
        22




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         1    BY MS. TUMLIN:
         2           Q          Okay.   For the record I'm handing the
         3    court reporter an exhibit which I requested to be
         4    marked as Exhibit 30.             The exhibit is titled;
         5    Frequently asked questions, Recision of Deferred
         6    Action for Childhood Arrivals or DACA.               It has a
         7    release date of September 5, 2017.
         8                      Are you familiar with this document
         9    Mr. Hamilton?
       10            A          I think so, yes.
       11            Q          Did you have any role in helping to
       12     draft this document?
       13            A          I think I edited it at some point.
       14            Q          Okay.   Would you please turn to page 2
       15     and Q7 in particular.             And I will give you a
       16     moment to take a look at Q7 and the answer to
       17     number 7 as well?
       18            A          Okay.   All right.
       19            Q          Did you have a role in writing or
       20     editing this question and answer, Q7 and A7?
       21                       MR. GARDNER:     You can answer yes or no.
       22                       THE WITNESS:     I think I provided edits



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         1    to the entire document.
         2    BY MS. TUMLIN:
         3           Q      Okay.     Q7 of these FAQs reads "once an
         4    individual's DACA expires will their case be
         5    referred to ICE for enforcement purposes."
         6                  Let me represent that the answer in
         7    summary states that information provided to USCIS
         8    in DACA requests will not be proactively provided
         9    to ICE and CBP for immigration enforcement unless
       10     the requester meets the criteria for the issuance
       11     of a notice to appear or a referral to ICE under
       12     the criteria set forth in USCIS's notice to appear
       13     guidance.
       14                   Do you agree that that is a correct
       15     summary of A7 to Q7 on the FAQ, Mr. Hamilton?
       16                   MR. GARDNER:        Objection.   Misstates the
       17     document.
       18     BY MS. TUMLIN:
       19            Q      There is not an objection not to answer.
       20            A      I just -- are you asking is that a fair
       21     summary that you read from the document?
       22            Q      Uh huh?



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         1           A      So that's what the document says.
         2           Q      Okay.     Are you familiar with USCIS's
         3    notice to appear guidance?
         4           A      Generally.
         5           Q      Have you discussed with anyone at DHS
         6    possible changes to the notice to appear guidance?
         7                  MR. GARDNER:        You can answer with a yes
         8    or no.
         9                  THE WITNESS:        Yes.
       10     BY MS. TUMLIN:
       11            Q      Who at DHS have you discussed possible
       12     changes to the notice to appear guidance with?
       13                   MR. GARDNER:        You can identify
       14     individuals.
       15                   THE WITNESS:        Sometime ago, months back
       16     it might have been in the spring, I don't know.
       17     We had a meeting with myself, representatives from
       18     USCIS, representatives from ICE, representatives
       19     from the Office of General Counsel, and the
       20     representatives from the Office of Policy about
       21     our, USCIS's, NTA issuance policy in generally.
       22




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         1    BY MS. TUMLIN:
         2           Q      Do you remember who was at that meeting
         3    representing USCIS?
         4           A      It could have been Director McCament and
         5    Kathy.     I don't recall.
         6           Q      And what's Kathy's last name, just for
         7    the record?
         8           A      Nuebel Kovarik.
         9           Q      Thank you.       And do you remember who was
       10     representing ICE at that meeting?
       11            A      I think Phil Miller.
       12            Q      Do you remember who was representing the
       13     Office of General Counsel at that meeting?
       14            A      Nope.
       15            Q      And do you remember who was representing
       16     the Office of Policy at that meeting?
       17            A      I do not.
       18            Q      Do you remember roughly how long that
       19     meeting lasted?
       20            A      I don't.
       21            Q      Was that an in-person meeting?
       22            A      It was.



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         1           Q      Have you discussed with anyone at the
         2    White House changes to the notice to appear
         3    guidance?
         4           A      Not that I can recall.
         5           Q      In addition to the meeting in --
         6    possibly the spring of 2017, with USCIS, ICE, and
         7    the Office of General Counsel, and the Office of
         8    Policy, have you participated in any other formal
         9    or informal meetings regarding possible changes to
       10     NTA guidance?
       11            A      I don't know that there has been any
       12     other formal or informal meetings.             I think we
       13     talked about it a few times generally speaking,
       14     but I just don't -- it's been a busy year.
       15            Q      Have you drafted any possible changes to
       16     the NTA guidance?
       17                   MR. GARDNER:        Objection.   Calls for
       18     disclosure of information subject to deliberative
       19     process privilege.          Instruct the witness not to
       20     answer.
       21                   THE WITNESS:        I couldn't give you an
       22     answer to that question.



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         1                  MS. TUMLIN:       Okay.      We should take a
         2    break.     We need to go off of the record.
         3                  THE VIDEOGRAPHER:            We're going off of
         4    the record.       The time on the video is 2:28 p.m.
         5                  (The proceeding recessed from 2:30 p.m.
         6    to 3:24 p.m.)
         7                  THE VIDEOGRAPHER:            We are back on the
         8    record.      The time on the video is 3:24 p.m.
         9    BY MS. TUMLIN:
       10            Q      Okay.     So I just want to clarify for the
       11     record why we are now going to suspend the rest of
       12     the deposition in the Batalla Vidal case.                I
       13     really appreciate everybody's professionalism with
       14     what is an unusual deposition situation.                So as
       15     soon as we understood that there was a stay in
       16     place from the Second Circuit, which we believe
       17     would cover this deposition, we're going to
       18     suspend the deposition for today.               Of course if
       19     that stay is lifted the Batalla Vidal plaintiffs
       20     would resume the deposition.               We have 3 hours and
       21     17 minutes remaining on the time and of course
       22     there also would be the possibility of any



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         1    additional time added for the -- if there are
         2    court orders regarding the instructions not to
         3    answer to date.
         4                      I wanted to just -- a couple of things
         5    for the record.          First is regarding work that
         6    Mr. Hamilton did for the Trump transition team.
         7    He's referenced a nondisclosure agreement that he
         8    has and for that reason has refused to provides
         9    names of certain individuals he worked with on
       10     issues.      The position of the Batalla Vidal
       11     plaintiffs is that that information is not
       12     protected, counsel has not made any objections or
       13     instructions not to answer.                We think the that
       14     burden is on the witness, Mr. Hamilton, to show
       15     why that information would need to be protected.
       16     However, we are open to working with the witness
       17     over the next week to enter a protective order if
       18     that would be something that the witness is
       19     interested in.         We're certainly happy to do that
       20     if that could resolve the issue in a better way.
       21                       And the only last thing I would state
       22     for the record is that there have been some



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         1    disagreements to date between the Batalla Vidal
         2    plaintiffs and the federal government with respect
         3    to whether or not pre-inauguration material is
         4    covered by the presidential communications
         5    privilege or the deliberative process privilege.
         6    Our position is that pre-inauguration material is
         7    not covered and obviously that's something we can
         8    take up with our magistrate judge.               That's all
         9    that I had, Josh.
       10                   MR. GARDNER:        Thank you.     I want to echo
       11     I really appreciate, as I have in other
       12     depositions, the professionalism.               These are not
       13     easy issues.        We agree that with the stay in the
       14     Second Circuit that all discovery from New York is
       15     currently suspended.           We also agree there's 3
       16     hours and 17 minutes left.                Our position is that
       17     is 3 hours and 17 minutes for all plaintiffs
       18     including California.           However, we can sort of
       19     work that out as if and when things go forward.
       20     And so, thank you.          That's all.
       21                   MS. TUMLIN:       I'm going to pass the
       22     microphone to the counsel for the Northern



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         1    District of California case.
         2                  MR. NEWMAN:       Thank you, counsel.      This
         3    is Michael Newman from the California Attorney
         4    General's Office on behalf of the Northern
         5    District of California plaintiffs.             So let me get
         6    to your 3 hours and 17 minutes in a second.               But
         7    first I want to concur on the record with what
         8    previous counsel just said with regard to the
         9    protective order.          I concur with that.      I will
       10     come back to the 3 hours and 17 minutes timing in
       11     a moment.         I just want to confirm a few things on
       12     the record.
       13                   First, the witness has confirmed that he
       14     is available Friday, October 27, 2017 to continue
       15     this deposition.         Is that correct?
       16                   MR. GARDNER:        That is correct.    I'll let
       17     the witness answer.
       18                   THE WITNESS:        Yes, generally.
       19                   MR. GARDNER:        I'm sorry?
       20                   THE WITNESS:        Yes, generally.    I'm happy
       21     to come talk to y'all.
       22




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         1                  MR. NEWMAN:       Okay.      Counsel for the
         2    federal government has agreed to produce the
         3    witness to complete this deposition on Friday,
         4    October 27, 2017.          Is that correct?
         5                  MR. GARDNER:        With the caveat that there
         6    is not a ruling on the stay in the 9th Circuit, of
         7    course.      And we will have to discuss the amount of
         8    time because we do think it would be inappropriate
         9    for the witness to be available for seven hours
       10     after spending three hours and 43 minutes
       11     answering questions.           But, yes.     Subject to those
       12     caveats that is correct.
       13                   MR. NEWMAN:       Okay.      So for the record,
       14     the California plaintiffs irrespective of a stay
       15     of these cases in the Eastern District of New York
       16     and presuming there is no stay in the Northern
       17     District of California or the 9th Circuit believe
       18     that they are entitled to at least the balance of
       19     the time, 3 hours and 17 minutes; subject to
       20     additional time pending the court's rulings on
       21     objections which may result in the provision of
       22     additional time based on the time taken by



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         1    objections and additional delay.
         2                  MR. GARDNER:        And the government's
         3    position, as I stated off of the record, is I
         4    think we can try to work to a creative solution to
         5    rather then bring back witnesses, to the extent
         6    privilege assertions are overruled, come up with
         7    perhaps an alternative vehicle to get you the
         8    information you want without having to
         9    inconvenience multiple witnesses.            And we can work
       10     that out offline.
       11                   MR. NEWMAN:       We certainly agree to that.
       12     And finally I want to note for the record that we
       13     have separately noticed today's deposition so this
       14     witness has been noticed by both the Batalla Vidal
       15     plaintiffs and the eastern -- Northern District of
       16     California plaintiffs collectively.             Therefore by
       17     rule we believe we could be entitled to separate,
       18     full separate depositions of seven hours each.
       19     But I will note for the record that for the sake
       20     of courtesy and commodity we have thus far agreed
       21     to split time across all plaintiffs which is to
       22     the benefit -- benefit and convenience solely of



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         1    the government and its witnesses.            I make that
         2    notation for the record just to indicate that we
         3    do anticipate that we will continue going forward,
         4    but based on these surprise circumstances and the
         5    difference in timing between the California and
         6    the New York cases we want to acknowledge that we
         7    were all aware that there is a possibility as we
         8    see it that we may need to proceed with a
         9    California plaintiffs' deposition on Friday as the
       10     witness and counsel have agreed the witness will
       11     be available and would remain available subject to
       12     everything we've talked about.
       13                   And that it is possible and will be
       14     subject to additional discussions that there would
       15     be at that point a split in deposition between --
       16     or not necessarily a split, but an additional time
       17     period that would be allocated to the California
       18     plaintiffs in order to accommodate the California
       19     briefing schedule and develop facts and evidence
       20     in support of that briefing schedule, for which
       21     none of us have control, and the Eastern District
       22     of New York and stay which is presently in place.



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         1                  MR. GARDNER:        Subject to further
         2    discussion.
         3                  MR. NEWMAN:       Absolutely.      Off the
         4    record.
         5                  THE VIDEOGRAPHER:            This concludes
         6    today's deposition.           The time on the video is 3:31
         7    p.m.     We are off of the record.
         8                  (Whereupon, at 3:31 p.m., the above
         9    proceedings was adjourned.)
       10

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         1                        REPORTER'S CERTIFICATE
         2                  I, DONNA M. LEWIS, RPR, Certified
         3    Shorthand Reporter, certify;
         4                  That the foregoing proceedings were
         5    taken before me at the time and place therein set
         6    forth, at which time the witness, Gene Hamilton,
         7    was put under oath by me;
         8                  That the testimony of the witness, the
         9    questions propounded and all objections and
       10     statements made at the time of the examination
       11     were recorded stenographically by me and were
       12     thereafter transcribed;
       13                   I declare that I am not of counsel to
       14     any of the parties, nor in any way interested in
       15     the outcome of this action.
       16                   As witness, my hand and notary seal this
       17     22nd day of October, 2017.
       18

       19                                _________________________
                                          Donna M. Lewis, RPR
       20                                 Notary Public
       21     My Commission expires:
              March 14, 2018
       22




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   1                     UNITED STATES DISTRICT COURT
   2                   NORTHERN DISTRICT OF CALIFORNIA
   3                        SAN FRANCISCO DIVISION
   4
          THE REGENTS OF THE UNIVERSITY OF   ) Case No.
   5      CALIFORNIA and JANET NAPOLITANO,   ) 17-CV-05211-WHA
          in her official capacity as        )
   6      President of the University of     )
          California,                        )
   7                                         )
                    Plaintiffs,              )
   8                                         )
               v.                            )
   9                                         )
          U.S. DEPARTMENT OF HOMELAND        )
  10      SECURITY and ELAINE DUKE, in her   )
          official capacity as Acting        )
  11      Secretary of the Department of     )
          Homeland Security,                 )
  12                                         )
                    Defendants.              )
  13      -----------------------------------)
  14
  15                                  - - -
  16                           Friday, October 13, 2017
  17                                  - - -
  18
  19           Videotaped deposition of JAMES D. NEALON,
  20      taken at the offices of Covington & Burling,
  21      850 Tenth Street NW, One City Center,
  22      Washington, D.C., beginning at 7:32 a.m., before
  23      Nancy J. Martin, a Registered Merit Reporter,
  24      Certified Shorthand Reporter.
  25

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   1      A P P E A R A N C E S :
   2
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   1      A P P E A R A N C E S :         (CONTINUED)
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  18                  Representing the U.S. Department of Justice
                      and the Deponent
  19
  20
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                      KATE BAILEY, ATTORNEY AT LAW
  22                  kate.bailey@usdoj.gov
  23
  24             ALSO PRESENT:
  25                  KRISHNA SARMA, Legal Videographer

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   1       WASHINGTON, D.C., FRIDAY, OCTOBER 13, 2017; 7:32 A.M.
   2                                     -    -    -
   3                  THE VIDEOGRAPHER:           Good morning again.    My
   4       name is Krishna Sarma, and I'm the video specialist.
   5       We're now on the record at 7:32, and the date today is
   6       October 13, 2017.       This is Media Unit No. 1 of the
   7       video recorded deposition of Mr. James D. Nealon,
   8       taken in the matter of the Regents of the University
   9       of California and Janet Napolitano V. the
  10       United States Department of Homeland Security.               This
  11       case is filed in the U.S. District Court for the
  12       Northern District of California, San Francisco
  13       Division, and this deposition is being held at
  14       Covington & Burling located at 850 Tenth Street,
  15       Northwest, Washington, D.C.
  16                  The court reporter today is Ms. Nancy Martin,
  17       and we both represent Veritext Legal Solutions.               At
  18       this time I'd like to request all the attorneys
  19       present in the room to identify themselves and those
  20       who are attending remotely to also identify
  21       themselves.     After that, our court reporter will swear
  22       the witness, and we can begin.
  23                  MS. CHUANG:      Christine Chuang, Deputy
  24       Attorney General from the California Attorney
  25       General's office.

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   1                   MR. BERENGAUT:       Alexander Berengaut with
   2       Covington & Burling on behalf of the Regents of the
   3       University of California and Janet Napolitano.
   4                   MS. MORRISSON:       Haley Morrisson with Gibson,
   5       Dunn & Crutcher on behalf of the Garcia plaintiffs.
   6                   MS. CHANG:     I'm Cecilia Chang with the
   7       National Immigration Law Center on behalf of the
   8       Batalla Vidal plaintiffs in the eastern district of
   9       New York.
  10                    MS. KHAN:     Sania Khan from the New York
  11       attorney's office on behalf of plaintiff states and
  12       New York, et al. v. Trump, et al.
  13                   MR. NEWMAN:     Michael Newman from the
  14       California attorneys general office on behalf of the
  15       state.
  16                   MS. STIETZ:     Kimberly Stietz, Covington &
  17       Burling on behalf of the University of California.
  18                   MS. BAILEY:     Kate Bailey on behalf of the
  19       Department of Justice.
  20                   MS. BROWNE:     Rene Browne, U.S. Department of
  21       Homeland Security, office of the general counsel on
  22       behalf of the Department of Homeland Security.
  23                   MR. GARDNER:      Josh Gardner with the
  24       Department of Justice, and the witness will reserve
  25       the right to read and sign.

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   1                               JAMES D. NEALON,
   2                   having been first duly sworn/affirmed,
   3                   was examined and testified as follows:
   4
   5                                   EXAMINATION
   6       BY MS. CHUANG:
   7              Q.     Good morning.      My name is Christine Chuang.
   8       I'm from the California Attorney General's Office on
   9       behalf of the state of California.                Can you please
  10       state your full name.
  11              A.    James Deneen Nealon.
  12              Q.    And have you ever been deposed before?
  13              A.    I not have.
  14              Q.    I'll go over some ground rules, and if you
  15       have any questions, just let me know.                As you can see,
  16       there's a court reporter and the deposition is being
  17       videotaped.      I wanted to remind you that you were just
  18       sworn under oath, and the effect of the oath is the
  19       same as if you were testifying in court.                Do you
  20       understand?
  21              A.    I do.
  22              Q.    Is there any reason why you would not be able
  23       to answer truthfully today?
  24              A.    There isn't.
  25              Q.    Have you taken any medications that would

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   1       interfere with your ability to give truthful
   2       testimony?
   3              A.   I haven't.
   4              Q.   I would appreciate it if you would wait until
   5       I finish my question before answering so that the --
   6       so we can get a clear transcript.                 Do you understand?
   7              A.   I do.
   8              Q.   And if you could also provide a verbal answer
   9       instead of gestures or head nods, that would be
  10       greatly appreciated.
  11                   Your attorney may make objections during the
  12       deposition today.        After the objection has been
  13       stated, you're still required to answer the question
  14       unless your attorney instructs you not to answer.                   Do
  15       you understand?
  16              A.   I do.
  17              Q.   And if you need a break just let me know.                I
  18       just ask that you don't take a break while a question
  19       is pending.
  20                   MS. CHUANG:     I'd like to mark this as Exhibit
  21       1.    This is the deposition notice.
  22                   (Deposition Exhibit 1 was marked for
  23                   identification.)
  24       BY MS. CHUANG:
  25              Q.   Have you seen this document before,

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   1       Mr. Nealon?
   2              A.   I haven't.
   3              Q.   Okay.    This is the notice of deposition that
   4       we provided to your attorney to schedule your
   5       deposition, which we agreed to take today.              You agree
   6       that you are here pursuant to the deposition notice?
   7              A.   I do.
   8              Q.   Thank you.     Did you meet with your attorney
   9       before the deposition?
  10              A.   I did.
  11              Q.   When did you meet with him?
  12              A.   Last night.
  13              Q.   How long did the meeting take?
  14              A.   Approximately an hour, I think.
  15              Q.   Who was present at the meeting?
  16              A.   Josh Gardner, Rene Browne, and Kate.
  17              Q.   Did you review any documents to prepare for
  18       the deposition?
  19              A.   I believe we looked at one or two documents.
  20       I haven't reviewed any documents from my files.
  21              Q.   What documents did you review?
  22              A.   I don't recall what documents they were.
  23                   MR. GARDNER:      I can't answer questions.
  24                   THE WITNESS:      I don't recall what documents.
  25       Actually, I do recall one.            One was a memorandum from

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   1       Acting Secretary Duke to me and other members of the
   2       Department of Homeland Security rendering her decision
   3       on September 5 on DACA.
   4       BY MS. CHUANG:
   5              Q.   Is that the September 5, 2017 memo?
   6              A.   It's a September 5, 2017 memo, yes.
   7              Q.   Besides that memo, did you review any other
   8       documents?
   9              A.   I don't believe we did.
  10              Q.   Did you use any documents to refresh your
  11       recollection for the deposition today?
  12              A.   I didn't.
  13              Q.   Did you bring any documents with you today?
  14              A.   I didn't.
  15              Q.   You had stated that you have never been
  16       deposed before; is that correct?
  17              A.   Correct.
  18              Q.   Have you ever provided testimony at all in a
  19       lawsuit?
  20              A.   I believe I testified at my parents' divorce
  21       proceedings when I was a child.
  22              Q.   Any other testimony?
  23              A.   No.
  24              Q.   Have you ever provided testimony before
  25       Congress?

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   1              A.   Yes, I had a confirmation hearing in 2014
   2       when I was named Ambassador of Honduras.
   3              Q.   And you were confirmed; correct?
   4              A.   I was.
   5              Q.   Besides that confirmation hearing, have you
   6       ever testified before Congress?
   7              A.   I haven't.
   8              Q.   Have you ever been arrested?
   9              A.   I haven't.
  10              Q.   What's your current position at the
  11       Department of Homeland Security?
  12              A.   I'm the assistant secretary for international
  13       affairs, and I'm the senior official performing the
  14       duties of the undersecretary of policy.
  15              Q.   Is that an acting role?
  16              A.   It is.
  17              Q.   When did you begin that acting role?
  18              A.   So I began working at the Department of
  19       Homeland Security in mid-July of this year.
  20              Q.   What was the exact date that you began
  21       working at the Department of Homeland Security?
  22              A.   I don't recall.        It may have been July 11.
  23       It was mid-July.
  24              Q.   Okay.    What office do you work within at the
  25       Department of Homeland Security?

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   1              A.   The office of policy.
   2              Q.   And what does the office of policy do?
   3              A.   The office of policy performs a coordination
   4       role across the Homeland Security enterprise.
   5              Q.   Okay.   What sort of "coordination role"?
   6              A.   Coordination of policy, affairs, things like
   7       aviation security, for example, cyber security.
   8              Q.   Do you set the policy goals for the
   9       Department of Homeland Security?
  10              A.   I wouldn't say that we set the policy goals,
  11       but we try to coordinate the policy goals across the
  12       enterprise of 250,000 employees.
  13              Q.   And when a policy goal is set by the
  14       Department of Homeland Security, do you assist in
  15       implementing the policy?
  16              A.   Yes.
  17              Q.   Were you involved in compiling the
  18       administrative record in this case?
  19              A.   I'm not sure I understand the question.
  20              Q.   Do you understand that an administrative
  21       record was filed in this case?
  22              A.   Can you explain what that is?
  23              Q.   Sure.   As part of the related lawsuits in
  24       this case, the Department of Homeland Security was
  25       required to file an administrative record indicating

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   1       what documents had been reviewed by the acting
   2       secretary in connection with the decision to rescind
   3       the deferred action for childhood arrivals.                   For
   4       short, I'm going to call it "DACA" today.                 And I was
   5       wondering if you were involved in compiling that
   6       administrative record.
   7              A.   So if I understand correctly, I was contacted
   8       by the DHS office of general counsel and asked if I
   9       had documents related to the DACA case, yes.
  10              Q.   And did you have any documents --
  11              A.   I did.
  12              Q.   -- related to the DACA case?
  13              A.   Yes.
  14              Q.   What documents were those?
  15              A.   So I had a paper file, which if I recall had
  16       approximately 15 documents in it, and I also had an
  17       E-mail file, which I called DACA, which if I recall
  18       had approximately 19 documents in it.
  19              Q.   In compiling those paper files and E-mail
  20       file, what particular locations did you look for them,
  21       on your computer, your hard-copy files?                 Did you look
  22       at any other locations?
  23                   MR. GARDNER:      Objection.          Compound.
  24       BY MS. CHUANG:
  25              Q.   Do you understand the question?

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   1               A.   Yes, but I agree with the objection.           I would
   2       prefer if you break it down to single questions that I
   3       can answer.
   4               Q.   Sure.    In looking for the E-mail file, did
   5       you look on your computer only?
   6               A.   I did.     Correct.
   7               Q.   In looking for the paper files relating to
   8       DACA, did you look at your own files in your office?
   9               A.   Correct.
  10               Q.   Did you look in any other locations for DACA
  11       files?
  12               A.   I did.     I looked on my computer hard drive as
  13       well.
  14               Q.   And that is your personal computer hard
  15       drive?
  16               A.   It's my work computer.
  17               Q.   So let's start with the paper files.           What
  18       documents were those?
  19               A.   So on the advice of counsel, I did not make a
  20       review of those documents.              What I did was identify
  21       that I had a file containing paper documents and I
  22       turned that over to counsel.
  23               Q.   You did not review the content of the
  24       15 files?
  25               A.   To be very precise, what I did was rifle

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   1       through it and looked at documents, but I didn't
   2       extract documents or read documents.
   3              Q.   Do you have an understanding of what dates
   4       those documents spanned?
   5              A.   Some understanding.
   6              Q.   What is the understanding?
   7              A.   So if I recall, I believe there were
   8       historical documents related to the creation of DACA
   9       in 2012, and then there were other documents that --
  10       such as news articles that I put in there since my
  11       time at Homeland Security.
  12              Q.   So from your understanding, besides the
  13       historical documents created in 2012, the other
  14       documents were news articles after the time that you
  15       were appointed in the Department of Homeland Security?
  16              A.   Again, to be very precise the file contains
  17       the historical documents that I referenced.              It
  18       contains news articles, as I said, and it contains
  19       other paper documents, but I don't know -- I don't
  20       recall exactly what those documents are.
  21              Q.   What are the historical documents that were
  22       created in 2012?
  23              A.   I believe there's a memorandum from the then
  24       secretary creating DACA.           Again, I didn't review the
  25       document.     And so I can't give you a better answer

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   1       than that at this time.
   2              Q.   When you refer to "the then secretary," do
   3       you mean Janet Napolitano?
   4              A.   I believe so.
   5              Q.   For the E-mail files, you mentioned that
   6       there were 19 documents associated with DACA; is that
   7       correct?
   8              A.   That's what I recall.
   9              Q.   And what were those documents?
  10              A.   Those would have been E-mails either to me or
  11       from me related to DACA.
  12              Q.   Did you review each of those E-mails?
  13              A.   I did not.
  14              Q.   Do you know what each of those E-mails
  15       contained?
  16              A.   I do not.
  17              Q.   You were appointed by John Kelly on July 10,
  18       2017; is that correct?
  19              A.   I was certainly appointed by John Kelly, and
  20       the date sounds about right.
  21              Q.   When you were first -- when you first started
  22       at the Department of Homeland Security, can you please
  23       describe the chain of command under John Kelly when he
  24       was at the department?
  25              A.   Sure.   So John Kelly was obviously the

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   1       secretary of Homeland Security.               Elaine Duke was the
   2       deputy, and then there were -- so that's my chain of
   3       command.     He also had a chief of staff, Kirstjen
   4       Nielsen, and a deputy chief of staff, Elizabeth
   5       Neumann.
   6              Q.   Who did you directly report to?
   7              A.   So the way it works is I reported up through
   8       the chief of staff to the deputy, to the secretary.
   9              Q.   Did you have any direct reports under you?
  10              A.   Yes, I do.
  11              Q.   Who were they?
  12              A.   So I have a chief of staff -- actually, an
  13       acting chief of staff, and then there are four other
  14       assistant secretaries who would report to me in my
  15       role as acting undersecretary, or the senior official
  16       performing the duties of the undersecretary.               But when
  17       I got there, three of those assistant secretary
  18       positions were unfilled.           Since then -- only one was
  19       filled.     Since that time one other has been filled.              I
  20       also have an office manager who reports to me.
  21              Q.   Who is the acting chief of staff under you?
  22              A.   Her name is Briana Petyo, P-e-t-y-o.
  23              Q.   Thank you.
  24                   And who is the person who filled the
  25       assistant secretary role?

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   1              A.   So one of the assistant secretaries was in
   2       place when I got there, and another position was
   3       filled after my arrival.
   4              Q.   Who are those two individuals?
   5              A.   So the one who was there upon my arrival is
   6       Michael Dougherty, and the one who was appointed while
   7       I was there is Nate Jensen.
   8              Q.   What is Michael Dougherty's role?
   9              A.   Michael Dougherty is the assistant secretary
  10       for borders, immigration, and trade.
  11              Q.   What is Nate Jensen's role?
  12              A.   He's the assistant secretary for planning,
  13       analysis, and reports.
  14              Q.   What does "planning, analysis, and reports"
  15       entail?
  16              A.   So many things, but generally speaking,
  17       they're responsible for the creation of sort of
  18       fundamental documents, such as quarterly --
  19       quadrennial Homeland Security review, strategic plan,
  20       that sort of thing.
  21              Q.   So I understand that John Kelly left the
  22       Department of Homeland Security and went to The White
  23       House around July -- the end of July.             Is that your
  24       understanding?
  25              A.   Correct.

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   1               Q.   So after John Kelly left, what was your chain
   2       of command?
   3               A.   So Elaine Duke, who was the Deputy became the
   4       Acting Secretary, and I believe shortly after Kelly's
   5       departure in mid-August Claire Grady, who had been
   6       confirmed as the undersecretary for management, became
   7       the acting deputy secretary.
   8               Q.   And the direct reports under you stayed the
   9       same?
  10               A.   Correct.
  11               Q.   How many undersecretaries are there?
  12               A.   I believe there are four.
  13               Q.   So I understand that Ms. Nielsen was recently
  14       nominated to be the secretary of the Department of
  15       Homeland Security.        Is that your understanding?
  16               A.   That's correct.
  17               Q.   If she is indeed confirmed, do you know what
  18       the chain of command will be?
  19               A.   I don't.
  20                    MR. GARDNER:      Objection.          Calls for
  21       speculation.
  22       BY MS. CHUANG:
  23               Q.   In your current day-to-day responsibilities,
  24       do you have any contact with anyone in The White
  25       House?

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   1              A.    Yes.
   2              Q.    In what capacity?
   3              A.    So the way policy gets made in the United
   4       States government is that there are very frequent
   5       policy coordination meetings that are convened by
   6       various offices within The White House, and those
   7       meetings bring together members of the inner agency to
   8       discuss and coordinate policy.
   9              Q.    In your day-to-day responsibilities, with
  10       respect to contact with The White House, what
  11       particular members of The White House are you usually
  12       dealing with?
  13              A.    So I usually deal with members of the
  14       National Security Council and sometimes with members
  15       of the Domestic Policy Council.
  16              Q.    Do you ever deal with the chief of staff?
  17              A.    With John Kelly?
  18              Q.    Uh-huh.
  19              A.    I've seen him three times since his
  20       departure, but each time was to say hello and shake
  21       hands.      I haven't had a substantive conversation with
  22       him since my departure.
  23              Q.    Where did these three times take place?
  24              A.    I believe all three were either in The White
  25       House or in the Eisenhower executive office building.

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   1              Q.   Were these at planned meetings?
   2              A.   Yes.
   3              Q.   And what -- let's take the first instance.
   4       Around what date did that occur?
   5              A.   Probably six weeks ago.
   6              Q.   And what was the planned meeting that was
   7       taking place?
   8              A.   It was a meeting to discuss a new initiative
   9       on drug demand reduction.
  10              Q.   Did you and Mr. Kelly both attend this
  11       meeting?
  12              A.   Yes.
  13              Q.   Was this meeting only for government
  14       officials or were members of the public also in
  15       attendance?
  16              A.   Only government officials.
  17              Q.   And you stated that the only contact that you
  18       had with Mr. Kelly was to say hello and good-bye?
  19              A.   Correct.    I'll be very specific.         I believe
  20       he left the meeting early, and as he walked by, we
  21       shook hands and exchanged pleasantries.
  22              Q.   What was the date of the second instance in
  23       which you encountered Mr. Kelly?
  24              A.   You know, I'm almost certain I've seen him
  25       three times since his departure, and I can remember

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   1       two specifically, and I can't at this moment recall
   2       the third, but I am certain that I haven't had any
   3       substantive conversations with him.                Each encounter
   4       with him has been as I just described.
   5              Q.   The second or the third instance that you can
   6       recall, that was after the meeting regarding the drug
   7       demand?
   8              A.   Correct.
   9              Q.   In your day-to-day responsibilities with
  10       respect to your contacts with The White House, do you
  11       have contact with the vice president?
  12              A.   No.   But again, let me be very specific.                So
  13       I don't have daily contact with The White House.                 I
  14       have occasional contact with The White House relating
  15       to meetings that I described, policy coordination.
  16              Q.   In your day-to-day responsibilities with
  17       respect to The White House, do you have contact with
  18       President Trump?
  19              A.   I do not.
  20              Q.   In your day-to-day responsibilities do you
  21       have contact with any members of Congress?
  22              A.   I have not had any contact with members of
  23       Congress since taking this job.
  24              Q.   In your day-to-day responsibilities, do you
  25       have contact with any Department of Justice officials?

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   1              A.   Yes.
   2              Q.   In what capacity?
   3              A.   So Department of Justice officials are
   4       sometimes present at the policy coordination meetings
   5       that I described.
   6              Q.   In those instances, what level of staff
   7       member from Department of Justice are you typically in
   8       contact with?
   9              A.   So the short answer is I don't know.            I don't
  10       often know who -- what level the other people
  11       participating in these meetings are.              I generally
  12       participate in meetings that are geared at my level,
  13       the level of an assistant secretary.              So one -- that's
  14       generally the level of people who are present at these
  15       meetings.
  16              Q.   In your day-to-day responsibilities with
  17       respect to Department of Justice officials, do you
  18       have contact with Attorney General Sessions?
  19              A.   No, though I have met Attorney General
  20       Sessions.
  21              Q.   When did you meet Attorney General Sessions?
  22              A.   I met Attorney General Sessions two weeks ago
  23       when he was cohost, along with Acting Secretary Duke,
  24       of a -- something called the U.S.-China Law
  25       Enforcement and Cyber Security Dialogue.

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   1              Q.   Was this an in-person meeting?
   2              A.   Yes.    So Attorney General Sessions was the
   3       cohost of this dialogue, along with Acting Secretary
   4       Duke, and I was present.
   5              Q.   Was this meeting just for government
   6       officials or were members of the public invited to
   7       attend?
   8              A.   Government officials.
   9              Q.   Did you have any conversations with Attorney
  10       General Sessions about DACA?
  11              A.   I did not.
  12              Q.   Did you have any conversations at that
  13       meeting with Acting Secretary Duke about DACA?
  14              A.   I did not.
  15              Q.   Is that the only instance in which you have
  16       met Attorney General Sessions since coming to the
  17       Department of Homeland Security?
  18              A.   Yes.    Although I've been present at meetings
  19       where he was present, but I did not meet him or have
  20       any exchange with him.
  21              Q.   Do you recall any of those specific meetings
  22       and dates?
  23              A.   I do.    Attorney General Sessions was at the
  24       same meeting that I described earlier that Chief of
  25       Staff Kelly was present at, the launching of the

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   1       initiative to reduce drug demand.
   2              Q.   Did you speak with Attorney General Sessions
   3       at that meeting?
   4              A.   I did not.
   5              Q.   What other meetings were you present where
   6       Attorney General Sessions was also present?
   7              A.   So those are the only two instances I recall
   8       being present where he was present.               The China Law
   9       Enforcement Cyber Security Dialog, and the drug demand
  10       reduction meeting.
  11              Q.   Have you had any other communications with
  12       Attorney General Sessions other than the in-person
  13       meetings that you just described?
  14              A.   I have not.
  15              Q.   In your day-to-day responsibilities, do you
  16       have contact with members of the state department?
  17              A.   I do.
  18              Q.   In what capacity?
  19              A.   Coordination, policy coordination.
  20              Q.   What type of coordination of policy?
  21              A.   So, for example, I recently attended a
  22       meeting convened by the UN high commissioner on
  23       refugees that the state department was also present
  24       at.    I had conversations with colleagues regarding
  25       those meetings.      That type of thing.

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   1              Q.   In your day-to-day responsibilities, do you
   2       have contact with any state or local government
   3       officials?
   4              A.   Not regular, but I have had such contact.
   5              Q.   Can you please describe the contact.
   6              A.   Yes.   For example, I was present a month ago
   7       or so when the acting secretary met with the Governor
   8       of Guam.
   9              Q.   What was that meeting about?
  10              A.   The Governor of Guam wanted to see her to
  11       discuss the department's policy regarding a certain
  12       category of temporary worker visa.
  13              Q.   Can you recall any other contacts with state
  14       or local government officials?
  15              A.   I cannot.
  16              Q.   In your current day-to-day responsibilities,
  17       do you have contact with members of the public?
  18              A.   No.
  19              Q.   In your current day-to-day responsibilities,
  20       do you have contact with any immigration
  21       organizations?
  22              A.   Could you be more specific?
  23              Q.   Immigration organizations, such as the Center
  24       for Immigration Studies.
  25              A.   I haven't up to this time, no.

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   1              Q.   Or any other organizations that might work in
   2       the area of immigration?
   3                   MR. GARDNER:      Objection.          Vague.
   4       BY MS. CHUANG:
   5              Q.   You can answer.
   6              A.   I don't recall at this time.              Just a point of
   7       clarification.      When my attorney makes an objection, I
   8       would like to defer to my attorney.                 Is that okay?
   9              Q.   When your attorney makes an objection, you
  10       are still required to answer the question unless you
  11       don't understand it, and you can ask me to rephrase,
  12       or if your attorney specifically instructs you not to
  13       answer.     In all other instances you should answer the
  14       question.
  15              A.   Thank you.
  16              Q.   Thank you.     Do you know what "DACA" is?
  17              A.   I do.
  18              Q.   What is it?
  19              A.   Deferred action -- I know what it is.              Yeah.
  20              Q.   What specifically does DACA entail?
  21              A.   What DACA entails is it protects a certain
  22       class of people from immigration enforcement actions.
  23              Q.   When did you first learn about DACA?
  24              A.   I don't recall precisely, but probably when
  25       it was first enacted.

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   1              Q.   Is that 2012?
   2              A.   2012.
   3              Q.   Do you recall whether you heard of it from
   4       within the government?
   5              A.   So I've worked for the government for over
   6       33 years.     So I was working for the government at the
   7       time that I learned about DACA.
   8              Q.   And at the time you first learned about DACA
   9       in 2012, what did you think about it?
  10              A.   You're asking me for my personal opinion?
  11              Q.   Yes.
  12              A.   I don't recall what my personal opinion was
  13       at the time.
  14              Q.   Did you have occasion to hear about DACA any
  15       time after 2012 before you were appointed to the
  16       Department of Homeland Security?
  17              A.   Yes.
  18              Q.   In what capacity?
  19              A.   Well, I follow the news very closely.            So I
  20       was aware of DACA.
  21              Q.   So you were aware of DACA from newspapers and
  22       media reports regarding DACA; is that correct?
  23              A.   Correct.
  24              Q.   Are there any other forms of communication in
  25       which you've learned about DACA in that time period?

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   1                   MR. GARDNER:      Objection.          Vague.
   2       BY MS. CHUANG:
   3              Q.   Do you understand the question?
   4              A.   I do.   Could you be more specific?
   5              Q.   Besides newspapers and media reports, did you
   6       hear about DACA between the time you learned of it and
   7       before the time you were appointed?
   8              A.   Yes.
   9              Q.   How did you hear about DACA?
  10              A.   So, for example, I was ambassador to Honduras
  11       between 2014 and 2017, and there are Hondurans who
  12       have DACA.     And so one would read about DACA in the
  13       Honduran news, for example.
  14              Q.   Do you recall what the Honduran news would
  15       say about DACA?
  16              A.   No, not specifically.
  17              Q.   What were your general duties when you were
  18       ambassador to Honduras?
  19              A.   So an ambassador is the President's personal
  20       representative in the country to which the ambassador
  21       is sent, and an ambassador is charged with managing
  22       all U.S. government personnel programs in that
  23       country.
  24              Q.   Would you agree that you have significant
  25       experience and knowledge regarding the country of

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   1       Honduras?
   2              A.   I would.
   3              Q.   Can you please just generally describe the
   4       country conditions of Honduras.
   5                   MR. GARDNER:      Objection.          Vague.
   6       BY MS. CHUANG:
   7              Q.   Do you understand the question?
   8              A.   I do.
   9              Q.   Can you please answer?
  10              A.   Sure.   What would you like to know?
  11              Q.   What is the economy of Honduras like?
  12              A.   Honduras is a country of about 8 million
  13       people in the heart of Central America.                    It's about
  14       the size of the state of Tennessee, I believe.                    It's
  15       got a per capita income of about $2,500 a month.                       It
  16       has a democratically elected government.                    It has a
  17       unicameral legislature.          The United States is its
  18       largest trading partner.           Its economy is dependent on
  19       agriculture to a large extent.               Coffee is the largest
  20       export.
  21              Q.   Does the United States have a good
  22       relationship with Honduras?
  23              A.   Yes.
  24              Q.   Does Honduras have a stable government?
  25              A.   Yes.

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   1              Q.   Is there violence in Honduras?
   2              A.   There is.
   3              Q.   What type of violence?
   4              A.   So there's a lot of gang-related violence in
   5       Honduras.     There is gender-related violence in
   6       Honduras.     Honduras is a violent country.
   7              Q.   Was the violence that you described in place
   8       during your tenure as ambassador?
   9              A.   Yes.     Though during my time in Honduras, the
  10       levels of violence decreased dramatically.
  11              Q.   Do you have an understanding of why the
  12       levels of violence decreased?
  13              A.   I do.
  14              Q.   And why is that?
  15              A.   So this is a very long story, and I won't
  16       tell the very long story, but by about 2011, 2012,
  17       levels of violence in Honduras had reached very, very
  18       high levels for a lot of reasons.
  19                   And beginning in about 2013, Honduras began
  20       to take the steps necessary to bring those levels of
  21       violence down, with considerable assistance from the
  22       United States to do that.
  23              Q.   The high levels of violence that you
  24       described that started around 2011, 2012 --
  25              A.   No.     Well, go ahead.         I'm sorry.

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   1              Q.   The high levels of violence that you
   2       described that reached very, very high levels in 2011
   3       and 2012, do you have an understanding of the type of
   4       violence?
   5              A.   Yes.
   6              Q.   What was the type of violence?
   7              A.   So the murder rate, for example, peaked at
   8       about 86 per 100,000.
   9              Q.   Was there gang-related violence at that time?
  10              A.   Yes.
  11              Q.   Did the gang-related violence lead to the
  12       murder rate peaking?
  13              A.   Yes, that was one of the factors.
  14              Q.   Any other types of violence?
  15              A.   Yes.   Honduras is a country that was besieged
  16       by all sorts of criminality but -- including violence
  17       and including murder.
  18              Q.   You mentioned that in around 2013 Honduras
  19       took the steps necessary to bring the levels of
  20       violence down; is that correct?
  21              A.   So Honduras began to take the steps necessary
  22       to reverse that rise of violence and begin to bring
  23       that curve down.
  24              Q.   And what were those steps?
  25              A.   Those steps were numerous, but things like

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   1       putting police back into the most violent
   2       neighborhoods, neighborhoods where the police had been
   3       chased out.        Things like implementing innovative
   4       programs of violence prevention.                   Things like a
   5       purging of the police force to get criminal actors out
   6       of the police force and replace them with people who
   7       would serve at the benefit of people and not at the
   8       benefit of criminal organizations.
   9                   MR. GARDNER:       I'm sorry to interrupt.             Can
  10       you adjust your microphone, please, because they're
  11       having a hard time picking it up.
  12                   (Pause in proceedings.)
  13                   MS. CHUANG:      I'm going to mark this as
  14       Exhibit 2.
  15                   (Deposition Exhibit 2 was marked for
  16                   identification.)
  17       BY MS. CHUANG:
  18              Q.   I'll give you a quick moment to review the
  19       document.
  20              A.   This is the article by Sonia Nazario?
  21              Q.   Yes.
  22              A.   Would you like me to read the document.
  23              Q.   You can read it to yourself quickly if you
  24       would like to review it.            You don't need to read it
  25       out loud.

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   1              A.   But I just meant you want me to read the
   2       whole document?
   3              Q.   If you would like.
   4              A.   Are you going to ask me questions about the
   5       document?
   6              Q.   I am going to be asking you questions about
   7       the document.
   8              A.   Then I shall read the document.
   9                   (The witness reviewed Exhibit 2.)
  10                   THE WITNESS:      Okay.
  11       BY MS. CHUANG:
  12              Q.   Before today, have you seen this article
  13       before?
  14              A.   Yes.
  15              Q.   And this is an article from the New York
  16       Times dated August 11, 2016 entitled "How the Most
  17       Dangerous Place on Earth Got Safer," by Sonia Nazario;
  18       is that correct?
  19              A.   That appears to be correct.
  20              Q.   And you were interviewed for this article; is
  21       that correct?
  22              A.   Yes.
  23              Q.   What is this article about?
  24              A.   This article is about time that Sonia Nazario
  25       spent in Honduras looking at very conflictive

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   1       neighborhoods and programs, some of them sponsored by
   2       the United States government, to try to reduce
   3       violence in those neighborhoods.
   4              Q.   I'm going to read a couple statements from
   5       the article, and I would like you to tell me whether,
   6       based on your experience and knowledge, you believe
   7       those to be accurate.         Okay?
   8              A.   Sure.
   9              Q.   The first paragraph of the article states
  10       that "Three years ago Honduras had the highest
  11       homicide rate in the world."             Is that accurate, based
  12       on your knowledge and experience?
  13              A.   So there's some discussion about whether or
  14       not Honduras was the most violent country in the world
  15       or not.     It has to do with how you measure and which
  16       organization -- which organization's statistics you
  17       refer to.     So I can't categorically say that it was
  18       the most violent country in the world.             It was a
  19       violent country.
  20              Q.   In the first paragraph the article states,
  21       "Tens of thousands of young Hondurans traveled to the
  22       United States to plead for asylum from the drug gangs'
  23       violence."     Based on your knowledge and experience, is
  24       this an accurate statement?
  25              A.   It's certainly accurate to say that many

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   1       Hondurans went to the United States to seek asylum.
   2              Q.   In the third paragraph of the article it
   3       states, "Two years ago, some 18,000 unaccompanied
   4       Honduran children showed up on the United States
   5       border."     The last sentence of that paragraph states
   6       Honduras "has dropped from first place to third among
   7       Central American countries sending unaccompanied
   8       children to the United States illegally."                  Based on
   9       your experience and knowledge, are those two
  10       statements accurate?
  11                   MR. GARDNER:       Objection.          Compound.
  12                   THE WITNESS:       Could you break them up into
  13       separate questions for me.
  14       BY MS. CHUANG:
  15              Q.   Yes.
  16              A.   Thank you.
  17              Q.   The first statement is "Two years ago, some
  18       18,000 unaccompanied Honduran children showed up on
  19       the United States border."             Is that accurate?
  20              A.   Yes.
  21              Q.   "Honduras has dropped from first place to
  22       third among Central American countries sending
  23       unaccompanied children to the United States
  24       illegally."        Is that accurate?
  25              A.   It was certainly accurate at the time that I

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   1       spoke to Sonia and that this article was written.                  I
   2       haven't followed the numbers precisely since I left
   3       Honduras.
   4              Q.   Do you have an understanding, since you left
   5       Honduras, of whether that statement is still accurate?
   6              A.   I don't.
   7              Q.   Please turn to Page 3 of the article.            The
   8       third full paragraph includes some statements from
   9       you; is that correct?
  10              A.   Yes.
  11              Q.   The first statement is "America's support is
  12       'getting results.'"        Is that your statement?
  13              A.   That's certainly my statement reflected in
  14       this article, yes.
  15              Q.   Do you have an understanding of whether that
  16       statement was accurate, at the time that you spoke to
  17       the reporter, in this article?
  18              A.   I certainly remember a long conversation with
  19       Sonia Nazario.      I obviously don't remember precisely
  20       what I told her, but that would seem to be an accurate
  21       reflection of what I said.
  22              Q.   What do you mean by "America's support"?
  23              A.   So the United States is deeply involved in
  24       Honduras in supporting Honduran efforts to reduce
  25       violence.

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   1              Q.   What type of efforts?
   2              A.   So we have all manner of programs aimed at
   3       doing that.     So as I stated previously, for example,
   4       we're deeply involved in a Honduran process to purge
   5       their police force, to purge their police force of bad
   6       actors.     We also provide a lot of training to the
   7       Honduran police so that they can be more effective in
   8       these conflictive communities in helping reduce the
   9       violence.     So we provide training, community police
  10       type of training, that sort of thing.
  11                   We also provide -- we also run some very
  12       interesting innovative training on secondary and
  13       tertiary prevention so that you identify -- you try to
  14       identify people at risk, both at risk of committing
  15       crimes and at risk of being victims of crime, and we
  16       try to do something about it.
  17              Q.   Are these programs aimed, in part at least,
  18       to reducing gang-related violence?
  19              A.   So they're aimed at reducing violence of all
  20       kinds.
  21              Q.   In the second sentence of the third full
  22       paragraph you state, "We are reducing migration."                 Is
  23       that accurate?
  24              A.   So as I stated previously, that was certainly
  25       accurate at the time.         When the unaccompanied minor

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   1       crisis spiked in 2014, I believe that there were more
   2       Honduran unaccompanied minors crossing the southwest
   3       border than minors from the other two countries of the
   4       northern triangle, Guatemala and El Salvador.               But
   5       over time that number was greatly reduced to the point
   6       that Hondurans were third, if you will.
   7                   So there were fewer Honduran unaccompanied
   8       minors crossing than Salvadorans or Guatemalans, and
   9       that was what I was referring to.
  10              Q.   In your understanding, was that reduction of
  11       Honduran unaccompanied minors a result of the program
  12       that you previously described?
  13              A.   So these things are very difficult to
  14       measure, but we were fairly confident that our
  15       programs and our support for Honduran efforts were
  16       playing a role in that reduction.
  17              Q.   Your first statement states that "America's
  18       support is 'getting results.'"               Is reducing migration
  19       one of those results?
  20              A.   Yes.
  21              Q.   What other results are you talking about in
  22       this article?
  23              A.   I believe that Ms. Nazario was asking me
  24       specifically about violence.             So I believe -- though
  25       this was two years ago, I believe that that's

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   1       specifically what I was referring to.
   2               Q.   You stated that the unaccompanied minor
   3       crisis spiked in 2014; is that correct?
   4               A.   I did say that.
   5               Q.   Do you have an understanding of when the
   6       crisis began?
   7               A.   Not a precise time line, but I think over the
   8       year previous to that we'd seen the numbers go up, and
   9       then we saw a spike in 2014.
  10               Q.   Did the unaccompanied minor crisis, in your
  11       understanding, correlate to the high levels of
  12       violence that you described that began around 2011 and
  13       2012?
  14                    MR. GARDNER:     Objection.          Lack of foundation.
  15                    THE WITNESS:     Should I answer the question?
  16       BY MS. CHUANG:
  17               Q.   You can still answer.
  18               A.   So I can't give you a direct answer to your
  19       question.      I believe that every decision to migrate is
  20       a personal decision, just as all of our ancestors made
  21       a personal decision to move from wherever they were to
  22       the United States.       That's the same process that goes
  23       on in Central America.
  24                    That said, I believe there are both pull
  25       factors related to immigration and push factors.                  And

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   1       what we were trying to get at in Honduras were those
   2       push factors of migration.            And in my judgment, the
   3       main push factors of immigration are a lack of
   4       economic opportunity, poor governance, lack of
   5       institutionality and violence.
   6                   And so U.S. government programs in Honduras,
   7       during the time I was there, were aimed at improving
   8       all three of those factors.
   9              Q.   The second line of the third or paragraph of
  10       the article states, "But we are also repairing harm
  11       the United States inflicted - first by deporting tens
  12       of thousands of gangsters over the past two decades, a
  13       decision that fueled much of the recent mayhem," and
  14       then the sentence goes on.            In your opinion, is that
  15       first part of that sentence accurate?
  16              A.   I'm sorry.     Where are you?           What page?
  17              Q.   On Page 3.
  18                   (The witness reviewed Exhibit 2.)
  19                   THE WITNESS:      So those are Nazario's words,
  20       not mine.
  21       BY MS. CHUANG:
  22              Q.   Do you believe that that statement is
  23       accurate?
  24                   MR. GARDNER:      Objection.          Lack of foundation.
  25                   THE WITNESS:      So I certainly believe that the

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   1       American demand for drugs, for illegal drugs is one of
   2       the factors that fueled violence -- that fuels
   3       violence in Honduras.
   4       BY MS. CHUANG:
   5              Q.    Do you believe that deporting tens of
   6       thousands of gangsters to Honduras contributed to the
   7       conditions in Honduras.
   8              A.    So I believe that the deportation of
   9       criminals to Central America decades ago certainly
  10       contributed to gang violence in Central America.
  11              Q.    The last sentence of that paragraph, "If the
  12       United States sustains its anti-violence work in
  13       Honduras, in five years they will get their country
  14       back."      Is this your statement?
  15              A.    It appears to be, yes.
  16              Q.    Is it accurate?
  17              A.    You know, what I was saying was aspirational.
  18              Q.    Do you understand if the anti-violence work
  19       is still going on?
  20              A.    I believe it is.
  21              Q.    Can you briefly describe what the current
  22       anti-violence work is?
  23              A.    Since I'm not there anymore, I wouldn't be
  24       comfortable doing that.
  25              Q.    Have you ever discussed the issue of

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   1       unaccompanied minors with Attorney General Sessions?
   2              A.   No.
   3              Q.   Have you ever discussed the issue of
   4       unaccompanied minors with Acting Secretary Duke?
   5              A.   Could you repeat the question.
   6              Q.   Have you ever discussed the issue of
   7       unaccompanied minors with Acting Secretary Duke?
   8              A.   I don't believe so.
   9              Q.   Have you ever discussed the issue of
  10       unaccompanied minors with anyone at the Department of
  11       Homeland Security?
  12              A.   I'm sure I have.
  13              Q.   Do you recall any specific instances?
  14              A.   I don't.
  15              Q.   Have you ever discussed the issue of
  16       unaccompanied minors with anyone at the Department of
  17       Justice?
  18              A.   During my tenure at Homeland Security or at
  19       any time?
  20              Q.   Let's start with your tenure at Homeland
  21       Security.
  22              A.   I don't recall having had such a discussion
  23       with anyone from the Department of Justice during my
  24       time in Homeland Security.
  25              Q.   What about before your tenure started?

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   1              A.   So when I was ambassador to Honduras, I
   2       probably had thousands of conversations about
   3       unaccompanied children with all sorts of people.
   4              Q.   Were any of those conversations involving
   5       unaccompanied children in the context of DACA?
   6              A.   I don't recall any such conversation.
   7              Q.   Have you ever discussed the issue of
   8       unaccompanied minors with anyone from The White House?
   9              A.   So, again, I was ambassador to Honduras for
  10       three years, and I had thousands of conversations
  11       about unaccompanied minors with lots of different
  12       people.     So it would be helpful to me if you would
  13       refer to my questions with my time at Homeland
  14       Security or ever, and that would help me answer your
  15       questions better.
  16              Q.   I will.   Let's start with your tenure at
  17       Homeland Security?
  18              A.   So please repeat the question.          I'm sorry.
  19              Q.   Have you ever discussed the issue of
  20       unaccompanied minors with anyone from The White House
  21       during your tenure at Homeland Security?
  22              A.   I don't believe so.
  23              Q.   Have you ever discussed the issue of
  24       unaccompanied minors with anyone at The White House
  25       prior to your tenure at Homeland Security?

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   1              A.   Yes.
   2              Q.   Can you recall specific instances?
   3              A.   I don't recall specific instances, but again,
   4       I would have had thousands of conversations about
   5       unaccompanied minors during the three years that I was
   6       ambassador of Honduras.          It was a subject of great
   7       importance.
   8              Q.   Were any of those thousands of conversations
   9       that you had about unaccompanied minors in the context
  10       of DACA?
  11              A.   No, not that I recall.
  12              Q.   Have you ever discussed the issue of
  13       unaccompanied minors with members of Congress during
  14       your tenure at Homeland Security?
  15              A.   No.
  16              Q.   What about before?
  17              A.   Yes.
  18              Q.   And can you recall any specific instances?
  19              A.   So -- yes.     So during the time that I was
  20       ambassador to Honduras, we probably had about 25
  21       congressional delegations or staff delegations that
  22       came to Honduras, and virtually all of those
  23       delegations were interested in the issue of migration.
  24              Q.   Were any of those 25 congressional
  25       delegations discussing the issue of unaccompanied

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   1       minors in the context of DACA?
   2              A.   Not that I recall.
   3              Q.   Have you ever discussed the issue of
   4       unaccompanied minors with any state or local
   5       government officials during your tenure at Homeland
   6       Security?
   7              A.   No.
   8              Q.   What about before your tenure at Homeland
   9       Security?
  10              A.   I don't recall conversations with state and
  11       local officials.
  12              Q.   Have you ever discussed the issue of
  13       unaccompanied minors with any immigration
  14       organizations during your tenure at Homeland Security?
  15                   MR. GARDNER:      Objection.          Vague.
  16                   THE WITNESS:      Would you repeat the question.
  17       BY MS. CHUANG:
  18              Q.   Have you ever discussed the issue of
  19       unaccompanied minors with anyone from immigration
  20       organizations during your tenure at Homeland Security?
  21                   MR. GARDNER:      Same objection.
  22       BY MS. CHUANG:
  23              Q.   You can answer.
  24              A.   I don't believe so.          Again, I guess
  25       immigration organizations -- I did meet a month or so

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   1       ago with representatives of Oxfam, not an immigration
   2       organization, a nongovernmental organization that
   3       takes an interest in Central America and other places.
   4              Q.   What was the subject matter of that meeting?
   5              A.   I believe they wanted to talk about temporary
   6       protected status.
   7              Q.   And did you discuss temporary protected
   8       status in that meeting?
   9              A.   I did.
  10              Q.   What was the discussion about temporary
  11       protected status?
  12              A.   So there's an upcoming decision -- a series
  13       of upcoming decisions that will be made about
  14       temporary protected status for various countries, and
  15       Oxfam wanted to make their views known to the
  16       department.
  17              Q.   What other "upcoming decisions"?
  18              A.   So the acting secretary will be making
  19       decisions about extension or termination regarding, I
  20       believe, five countries in the next four or five
  21       months.
  22              Q.   Has the acting secretary made a decision yet?
  23              A.   I don't know.
  24              Q.   Besides Oxfam, any other organizations in
  25       which you have discussed the issue of unaccompanied

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   1       minors during your tenure at Homeland Security?
   2              A.   Not that I recall.
   3              Q.   What about before?
   4              A.   Hundreds of conversations during my time in
   5       Honduras.
   6              Q.   Did any of those conversations involve
   7       unaccompanied minors in the context of DACA?
   8              A.   Not that I recall.
   9              Q.   I'd like to just go back to your position
  10       before you became ambassador.              Can you please describe
  11       what position you were in before ambassador?
  12              A.   So immediately before becoming ambassador to
  13       Honduras, I was the -- my title was civilian deputy to
  14       the commander of U.S. southern command.
  15              Q.   And what dates did you hold that position?
  16              A.   Summer of 2013 to summer of 2014.
  17              Q.   What were your general duties in that
  18       position?
  19              A.   Generally speaking, I was a foreign policy
  20       adviser to the commander.
  21              Q.   John Kelly was the commander; is that
  22       correct?
  23              A.   He was.
  24              Q.   Did you directly report to him?
  25              A.   I did.

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   1              Q.   In your role as the civilian deputy to the
   2       commander, did you do any work involving immigration?
   3              A.   Yes.
   4              Q.   What type of work?
   5              A.   So southern command was interested in the
   6       flow of people from Central America and other parts of
   7       the world to the United States.
   8              Q.   So what type of work did you do involving
   9       immigration?
  10              A.   Well, I mean, southern command doesn't have
  11       any operational control over immigration matters.                 It
  12       was more a subject of interest to the United States
  13       government, and specifically at southern command,
  14       there was concern that the pathways that are used to
  15       traffic people can be used to traffic other things,
  16       drugs, weapons, cash, that sort of thing.
  17              Q.   Did you advise John Kelly on matters
  18       involving the flow of people from Central America and
  19       other parts of the world?
  20              A.   Yes.
  21              Q.   Do you recall what conversations you've had
  22       regarding that?
  23              A.   I don't.    I don't recall specific
  24       conversations, no.
  25              Q.   Did any of that work involving immigration

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   1       matters include unaccompanied minors?
   2               A.   So probably.      I left southern command in the
   3       summer of 2014, just about the time that those numbers
   4       of unaccompanied minors were spiking.              So I'm sure we
   5       had conversations about that.
   6               Q.   Do you recall any of the conversations you
   7       had with John Kelly about that?
   8               A.   I don't recall specific conversations, no.
   9               Q.   Did you have any conversations with John
  10       Kelly about DACA at that time?
  11               A.   No, not that I recall.
  12               Q.   Do you know what John Kelly's views about
  13       DACA were at that time?
  14               A.   I don't.
  15               Q.   Do you know when DHS first contemplated
  16       rescinding DACA?
  17               A.   I don't.
  18               Q.   What is your specific role in the
  19       decision-making process relating to the rescission of
  20       DACA?
  21               A.   So I'm one of many advisors to the acting
  22       secretary of Homeland Security.
  23               Q.   What is your specific role in the
  24       decision-making process as an advisor?
  25               A.   I wouldn't say I had a specific role.           I was

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   1       one of many voices helping the secretary weigh the
   2       potential decisions and potential consequences of such
   3       decisions.
   4               Q.   Did you provide recommendations to the acting
   5       secretary relating to the rescission of DACA?
   6               A.   I don't recall offering a specific
   7       recommendation.
   8               Q.   Did you provide research relating to the
   9       rescission of DACA to Acting Secretary Duke?
  10               A.   I don't recall providing research.
  11               Q.   Can you please describe what kind of voice
  12       you had in helping the secretary weigh the potential
  13       decisions and potential consequences of rescission of
  14       DACA?
  15                    MR. GARDNER:     At this point I am going to
  16       object.      I think we are implicating a little bit of
  17       process privilege right now.
  18                    So I will instruct the witness not to answer
  19       that particular question.
  20       BY MS. CHUANG:
  21               Q.   You stated that you were one of many voices
  22       helping the secretary weigh the potential decision and
  23       potential consequences of such decisions.              Do you know
  24       who the other voices were?
  25               A.   I know who some of the voices were, yes.

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   1              Q.   Who were they?
   2              A.   So she was certainly listening to legal
   3       counsel.     She was certainly listening to U.S.
   4       citizenship and immigration services, USCIS, who owned
   5       the program within the Department of Homeland
   6       Security.     They're the ones who administer that
   7       program.     I'm sure she was listening to her front
   8       office staff, her chief of staff, and her counselors.
   9       And she may have listened to others as well.
  10              Q.   Are those entities that you just described
  11       all within the Department of Homeland Security?
  12              A.   They are.
  13              Q.   Do you know if any other departments in the
  14       federal government provided a voice in assisting the
  15       Secretary weigh the potential decisions and
  16       consequences of rescission of DACA?
  17              A.   So I don't know specifically.
  18              Q.   You had mentioned that legal counsel was one
  19       of those voices.
  20              A.   Yes.
  21              Q.   Who specifically?
  22              A.   So the general counsel of the department is
  23       Joseph Maher.      And another attorney who was involved
  24       was Dimple Shah.        And there may have been others.
  25              Q.   What was Joseph Maher's voice in -- do you

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   1       know what Joseph Maher and Acting Secretary Duke
   2       discussed in relation to the rescission of DACA?
   3                   MR. GARDNER:      Objection.
   4                   You can answer that question "yes" or "no,"
   5       but the content of that would be subject to privilege,
   6       but in terms of attorney-client and deliberative
   7       process privilege.
   8                   In other words, you can answer that question
   9       with a "yes" or "no," but the content of that would be
  10       privileged, and I would instruct you not to answer.
  11                   Could you repeat the question?
  12       BY MS. CHUANG:
  13              Q.   Do you know what Joseph Maher and Acting
  14       Secretary Duke discussed in relation to the rescission
  15       of DACA?
  16              A.   I know some of the things they discussed,
  17       yes.
  18                   MS. CHUANG:     I would like to also state for
  19       the record that I understand that some of these issues
  20       pertaining to the privileges that you are asserting
  21       are being disputed currently, and that there is a
  22       motion that will be heard on Monday that may address
  23       some of these issues.
  24                   MR. GARDNER:      We have the same understanding.
  25       BY MS. CHUANG:

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   1              Q.   Do you know what was discussed between Dimple
   2       Shah and Acting Secretary Duke relating to the
   3       rescission of DACA?
   4                   MR. GARDNER:      Same objection.
   5                   You can answer that with a "yes" or "no."
   6       The contents of that conversation would be subject to
   7       the attorney-client privilege, the deliberative
   8       process privilege.       I would instruct you not to answer
   9       as to the content of those conversations.
  10                   THE WITNESS:      Okay.
  11                   Yes, I know some of the discussion that went
  12       back and forth.
  13       BY MS. CHUANG:
  14              Q.   And what is the substance of that
  15       conversation between Dimple Shah and Acting Secretary
  16       Duke relating to the rescission of DACA?
  17                   MR. GARDNER:      Objection.          Calls for
  18       attorney-client privilege and deliberative process
  19       privilege.
  20                   I instruct the witness not to answer.
  21       BY MS. CHUANG:
  22              Q.   What were the substance of the conversation
  23       between Joseph Maher and Acting Secretary Duke related
  24       to the decision, rescission of DACA?
  25                   MR. GARDNER:      Same objection.          Same

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   1       instruction.
   2       BY MS. CHUANG:
   3               Q.     You had also mentioned that another voice
   4       involved in this decision-making process was USCIS; is
   5       that correct?
   6               A.     Yes.
   7               Q.     Who specifically at USCIS?
   8               A.     So the acting director at that time was James
   9       McCament.
  10               Q.     Is he still currently the acting director?
  11               A.     He is not.
  12               Q.     Who is the acting director?
  13               A.     So now there's a confirmed director whose
  14       name is Francis Cissna.
  15               Q.     Besides acting director McCament at that
  16       time, anybody else from USCIS?
  17               A.     There may have been, but I don't recall
  18       specifically.
  19               Q.     Do you know the substance of the conversation
  20       between James McCament and Acting Secretary Duke
  21       relating to the decision of DACA?
  22                      MR. GARDNER:    I do want to lodge an objection
  23       here.
  24                      You can answer that question with a "yes" or
  25       "no."        The substance of those conversations would be

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   1       subject to deliberative process privilege.
   2                   And I would instruct you not to answer as to
   3       the content.
   4                   THE WITNESS:      Okay.
   5                   Yes, I was familiar with some of the
   6       discussion that they had.
   7       BY MS. CHUANG:
   8              Q.   What are the discussions that they had?
   9                   MR. GARDNER:      Object on the basis of
  10       deliberative process, privilege.
  11                   I instruct the witness not to answer.
  12       BY MS. CHUANG:
  13              Q.   You also mentioned that there was front
  14       office staff, such as the chief of staff, that was
  15       involved in the decision-making process relating to
  16       the rescission of DACA; is that correct?
  17              A.   Yes.   Whether or not they were actually
  18       involved in the decision making itself, but they were
  19       certainly involved in conversations.
  20              Q.   Who specifically?
  21              A.   So the chief of staff was Chad Wolf.            Deputy
  22       chief of staff is Elizabeth Neumann.              And then there
  23       were other counselors who were advisors within the
  24       Secretary's front office who would have been involved
  25       as well.

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   1              Q.   Who are those specific counselors and
   2       advisors?
   3              A.   So Gene Hamilton.         And there may have been
   4       others.
   5              Q.   Can you recall the others?
   6              A.   I can't at this time.
   7              Q.   Do you know the substance of the
   8       conversations between Chad Wolf and Acting Secretary
   9       Duke relating to the rescission of DACA?
  10                   MR. GARDNER:      Objection to the extent that
  11       she's asking for the substance of the conversation.
  12       That would be subject to deliberative process
  13       privilege.     I instruct you not to answer.              You can
  14       answer the question with a "yes" or "no."                 If you
  15       know, answer.
  16                   THE WITNESS:      I'm aware of some of the
  17       conversation that took place, yes.
  18       BY MS. CHUANG:
  19              Q.   What is the substance of the conversation
  20       that took place between Chad Wolf and Acting Secretary
  21       Duke relating to the rescission of DACA?
  22                   MR. GARDNER:      Objection.          Calls for
  23       information subject to deliberative process privilege.
  24                   I instruct the witness not to answer.
  25       BY MS. CHUANG:

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   1              Q.   Do you know the substance of the
   2       conversations between Elizabeth Neumann and Acting
   3       Secretary Duke relating to the rescission of DACA?
   4              A.   I'm aware of some of the conversation, yes.
   5              Q.   Do you know the -- what is the substance of
   6       the conversations between Elizabeth Neumann and Acting
   7       Secretary Duke relating to the rescission of DACA?
   8                   MR. GARDNER:      Objection.          That information is
   9       subject to deliberative process privilege.
  10                   I instruct the witness not to answer.
  11       BY MS. CHUANG:
  12              Q.   Do you know the substance of conversations
  13       between Gene Hamilton and Acting Secretary Duke
  14       relating to the rescission of DACA?
  15              A.   I'm aware of some of the conversation.
  16              Q.   What is the substance of the conversation
  17       between Gene Hamilton and Acting Secretary Duke
  18       relating to the rescission of DACA?
  19                   MR. GARDNER:      Objection.          That information is
  20       subject to deliberative process privilege.
  21                   I instruct the witness not to answer.
  22       BY MS. CHUANG:
  23              Q.   Is there anyone else at the Department of
  24       Homeland Security that provided a voice to Acting
  25       Secretary Duke relating to the rescission of DACA?

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   1              A.   There may have been, but not that I'm aware.
   2              Q.   Is there anyone at The White House that you
   3       know of that provided a voice to Acting Secretary Duke
   4       relating to the rescission of DACA?
   5              A.   I'm not aware.
   6              Q.   Is there anyone at the Department of Justice
   7       that provided a voice to Acting Secretary Duke
   8       relating to the rescission of DACA?
   9              A.   I'm not aware.
  10              Q.   Is there anyone at any other federal agencies
  11       that you know of that provided a voice to Acting
  12       Secretary Duke relating to the rescission of DACA?
  13              A.   I'm not aware.
  14              Q.   Are you aware of any former White House
  15       officials that provided a voice to Acting Secretary
  16       Duke relating to the rescission of DACA?
  17              A.   No, I'm not aware.
  18              Q.   Are you aware of any members of Congress that
  19       provided a voice to Acting Secretary Duke relating to
  20       the rescission of DACA?
  21              A.   No, I'm not aware.
  22              Q.   Are you aware of any state or local
  23       government officials that provided a voice to Acting
  24       Secretary Duke relating to the rescission of DACA?
  25              A.   No.   I'm not aware.

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   1              Q.   Are you aware of any nonprofit organizations
   2       that provided a voice to Acting Secretary Duke
   3       relating to the rescission of DACA?
   4              A.   No, I'm not aware.
   5              Q.   Are you aware of any immigration
   6       organizations that provided a voice to Acting
   7       Secretary Duke relating to the rescission of DACA?
   8                   MR. GARDNER:      Objection.          Vague.
   9                   THE WITNESS:      I'm not aware.
  10       BY MS. CHUANG:
  11              Q.   Are you aware of any other members of the
  12       public that provided a voice to Acting Secretary Duke
  13       relating to the rescission of DACA?
  14              A.   No.
  15              Q.   Before September 5, did you create any
  16       documents relating to the rescission of DACA?
  17              A.   I don't recall, but I may have.
  18              Q.   Did you create any E-mails relating to the
  19       rescission of DACA before September 5?
  20              A.   I don't recall, but I may have.
  21              Q.   Did you create any memos relating to the
  22       rescission of DACA before September 5?
  23              A.   I don't recall, but I may have.
  24                   MS. CHUANG;     I would ask that if you could go
  25       back and find them, and I would request that your

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   1       counsel produce them to us.
   2                   So I want to show you a copy of the DACA
   3       rescission memo from Acting Secretary Duke.
   4                   MR. GARDNER:      Counsel, before we go on, would
   5       now be an okay time for a break?                  We've been going for
   6       a while.
   7                   MS. CHUANG:     Sure.       Let's take a five-minute
   8       break.
   9                   MR. GARDNER:      Okay.
  10                   THE VIDEOGRAPHER:         We're going off the record
  11       at 8:49.
  12                   (A recess was taken from 8:49 a.m.
  13                   to 9:00 a.m.)
  14                   THE VIDEOGRAPHER:         We're now back on the
  15       record at 9:00.
  16                   MS. CHUANG:     I'd like to enter the
  17       administrative record as Exhibit 3.
  18                   (Deposition Exhibit 3 was marked for
  19                   identification.)
  20       BY MS. CHUANG:
  21              Q.   The administrative record is Bates numbered
  22       AR 00000001 through AR 00000256.
  23                   When I asked you about the administrative
  24       record --
  25                   MR. GARDNER:      Sorry.       Please scoot over.

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   1                   THE WITNESS:       This way (indicating)?
   2                   MR. GARDNER:       Yes.
   3       BY MS. CHUANG:
   4              Q.   When I asked you about the administrative
   5       record before, you had mentioned that you were asked
   6       to compile some documents relating to the rescission
   7       of DACA; is that correct?
   8              A.   So I wasn't -- actually, just to be very
   9       precise, I wasn't asked to compile documents.                   I was
  10       asked to see what I had, and that's what I did.
  11              Q.   How do you generally communicate with your
  12       colleagues at the Department of Homeland Security?
  13              A.   So there are many ways.                There are everything
  14       ranging from informal encounters where you walk into
  15       someone's office and ask them a question, to formally
  16       scheduled meetings to ad hoc meetings, to written
  17       communications, whether E-mail or more formal
  18       communications.      So there are a wide variety of ways
  19       of communicating.
  20              Q.   Do those formal communications involve
  21       drafting memos?
  22              A.   They can.
  23              Q.   Have you drafted many memos during your
  24       tenure at Department of Homeland Security?
  25              A.   So the way it works is I've signed out a lot

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   1       of communications.       These would be all manor of
   2       things.     They're generally drafted by someone else for
   3       my signature.      These can range from sort of
   4       administrative-type communications to responses to
   5       members of Congress who have written to the Secretary
   6       asking for information.          So there's -- so yes, I have
   7       signed out memos since I've been there.
   8              Q.   Approximately how many?
   9              A.   I don't know.
  10              Q.   50?   Approximately 50?
  11              A.   I really don't know.
  12              Q.   Would you say it's more than 100?
  13              A.   No.
  14              Q.   Have you signed off on any of these memos
  15       relating to DACA?
  16              A.   Not that I recall.
  17              Q.   How often do you use E-mail communication to
  18       contact other persons?
  19              A.   Every day.
  20              Q.   Have you sent any E-mails that discussed DACA
  21       to any persons?
  22              A.   So I don't recall any specific E-mails, but I
  23       would say I almost certainly have, yes.
  24              Q.   You had mentioned earlier that you had
  25       compiled 19 E-mail files relating to your request to

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   1       compile documents; is that correct?
   2              A.   So to be very precise, what I did when I was
   3       contacted by counsel was I looked in my E-mail
   4       folders.     I have an E-mail folder which I created and
   5       entitled "DACA," and in that folder I believe there
   6       are 19 documents.       So I just had trouble with the word
   7       "compile."     I didn't compile anything.          I simply
   8       looked to see what I had.            That's what I had.
   9              Q.   Is it your practice to put all communications
  10       relating to DACA in the E-mail folder entitled "DACA"?
  11              A.   It's my practice with any subject matter that
  12       I would put E-mails in there that I considered
  13       important or relevant.
  14              Q.   What is your standard for what is important
  15       or relevant?
  16              A.   I suppose it's my own standard and what I
  17       consider important and relevant to me.
  18              Q.   So any --
  19              A.   I don't have a written standard that I apply
  20       to each of the hundred-and-some E-mails that I get
  21       every day.     You may not have a standard like that
  22       either.     But I do save E-mails that I consider
  23       important and relevant.
  24              Q.   In the context of E-mails that pertain to
  25       DACA, do you know if you -- if there are E-mails that

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   1       you did not save?
   2              A.     I don't know.
   3              Q.     Did you check your sent E-mail folder
   4       relating to your search for documents about DACA?
   5              A.     I did not.
   6              Q.     So these 19 E-mails that you did find in the
   7       E-mail -- the DACA folder, let's go through the first
   8       one.       Do you recall who you were communicating with on
   9       that E-mail?
  10              A.     So I didn't review any of the E-mails in that
  11       folder.       So I don't know what those E-mails are.
  12              Q.     So for any of the 19 you don't know any of
  13       the persons?
  14              A.     I don't.
  15              Q.     Do you know the subject matters?
  16              A.     DACA.
  17              Q.     What pertaining to DACA?
  18              A.     I don't know.
  19              Q.     Were you discussing the rescission of DACA in
  20       any of those E-mails?
  21              A.     I don't -- so as I say, just to make it
  22       easier for you, I did not review any of those
  23       documents.       So I can't tell you what those documents
  24       are.
  25              Q.     You had also stated before that you were one

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   1       of the voices in the discussion relating to Acting
   2       Secretary Duke to assist her in helping her weigh the
   3       consequences and the benefits of rescission of DACA;
   4       is that correct?
   5              A.   Yes.
   6              Q.   Did you conduct an independent inquiry into
   7       DACA as part of that process?
   8                   MR. GARDNER:        Objection.         Vague.
   9                   THE WITNESS:        Could you be more specific?
  10                   MS. CHUANG:        I would ask that you not counsel
  11       your client and just stick to the objection.
  12                   MR. GARDNER:        Counsel, with all due respect,
  13       I did not give a speaking objection.                  I said,
  14       "Objection.        Vague."
  15                   MS. CHUANG:        Okay.     Well, it is a bit
  16       argumentative.        I'd ask that you refrain from
  17       counseling your client.
  18                   MR. GARDNER:        With all due respect, I did not
  19       counsel my client.           But please, continue with your
  20       questions.
  21       BY MS. CHUANG:
  22              Q.   Did you conduct an independent inquiry into
  23       that DACA process?
  24                   MR. GARDNER:        Same objection.
  25                   THE WITNESS:        No.

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   1       BY MS. CHUANG:
   2               Q.   Did you conduct any research as part of that
   3       process?
   4               A.   I said I don't recall conducting any formal
   5       research.      I'm sure that I read about DACA.
   6               Q.   What did you read about DACA?
   7               A.   I'm sure I read news articles and probably
   8       some historical documents.
   9               Q.   What "news articles"?
  10               A.   I don't recall.
  11               Q.   Did you conduct a Google search or any other
  12       type of search relating to news articles?
  13               A.   I may have.    I don't recall.
  14               Q.   Did you review hard copy articles?
  15               A.   I believe I did review some hard copy
  16       articles.
  17               Q.   What were the hard copy articles?
  18               A.   Again, just to make it easier for you, I
  19       don't recall any specific articles that I read about
  20       DACA, but do I recall reading about DACA.
  21               Q.   What are the historical documents that you
  22       read?
  23               A.   So I believe I read the 2012 Napolitano memo
  24       creating DACA.
  25               Q.   Did you take any notes when you were reading

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   1       that memo?
   2              A.   No, that's not my practice.
   3              Q.   Did you discuss with anyone, while you were
   4       reading that memo, your thoughts on the memo?
   5              A.   I don't recall.
   6              Q.   Any other historical documents that you
   7       reviewed as part of the process?
   8              A.   Not that I recall.
   9              Q.   So if you could please turn to AR 00000252.
  10       This is a memorandum dated September 5, 2017 from
  11       Acting Secretary Elaine Duke.
  12                   MR. GARDNER:      It might be easier if you take
  13       the binder clip off.        Just don't mix things up.
  14       BY MS. CHUANG:
  15              Q.   It's the last three pages.
  16              A.   Okay.
  17              Q.   Have you ever seen this memo before?
  18              A.   Yes.
  19              Q.   And what is this memo?
  20              A.   This appears to be a memo from the acting
  21       secretary, Elaine Duke, to me and others within
  22       Homeland Security, rescinding DACA.
  23              Q.   Do you need a moment to review the memo?
  24              A.   Sure.   Thank you.
  25                   (The witness reviewed the document.)

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   1                   THE WITNESS:      Okay.      I've read the document.
   2       BY MS. CHUANG:
   3              Q.   You are listed as a recipient of this memo;
   4       is that correct?
   5              A.   Correct.
   6              Q.   I'm going refer to this as "the Duke memo"
   7       for the purposes of this deposition.              Okay?
   8              A.   Okay.
   9              Q.   Why did you receive a copy of the Duke memo?
  10              A.   Because I'm the acting head of the office of
  11       policy.
  12              Q.   And why as acting head of the office of
  13       policy would you receive a memo like this?
  14              A.   Because this was an important policy decision
  15       made by the Acting Secretary.              It was important that I
  16       be aware of it.
  17              Q.   And you were a part of this important policy
  18       decision?
  19              A.   So I played a role in -- as I've stated
  20       previously, in trying to ensure that the Acting
  21       Secretary understood DACA and the decisions and
  22       consequences of rescinding or not.
  23              Q.   And how did you do that if you didn't do any
  24       research or independent inquiries into DACA?                What was
  25       the basis for your helping Acting Secretary

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   1       understand?
   2                   MR. GARDNER:       Objection.          Compound.
   3       Objection.     Vague.     And objection in the sense it
   4       called for deliberative process, which I would
   5       instruct the witness not to answer questions on.                    So
   6       maybe if you can rephrase the question, he can take it
   7       that way.
   8       BY MS. CHUANG:
   9              Q.   What was your role in helping Acting
  10       Secretary understand DACA and the decision and
  11       consequences of rescinding or not?
  12              A.   Yeah.   Helping her to understand exactly what
  13       DACA is, helping her understand why it was -- why and
  14       how it was under challenge.              Helping her understand
  15       what her options were, and helping her understand the
  16       consequences of those actions.                But again, I was one
  17       of many voices.
  18              Q.   How did you help Acting Secretary Duke
  19       understand what DACA is?
  20                   MR. GARDNER:       Objection.          Calls for the
  21       revelation of information subject to deliberative
  22       process privilege.
  23                   Instruct the witness not to answer.
  24       BY MS. CHUANG:
  25              Q.   Did you draw on your experience and knowledge

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   1       to help Secretary Duke understand what DACA is?
   2               A.     Not really because I was not an expert on
   3       DACA.        I was new to the department.          So I knew and
   4       know what DACA is, but I wasn't an expert on it.                   My
   5       office didn't administer it.              My office are not the
   6       lawyers.        But all that -- so I had my own learning
   7       curve about DACA, which is why I read about it, but I
   8       was part of that deliberative process.
   9               Q.     So your learning curve, as you previously
  10       stated, involved you reviewing newspaper articles and
  11       historical documents from 2012; is that correct?
  12               A.     Yes.
  13               Q.     Is there anything else that you did as part
  14       of your learning about DACA?
  15               A.     So I listened closely to the lawyers and to
  16       the experts from USCIS, who administer the program.                     I
  17       learned a lot from them.
  18               Q.     Was this in a meeting?
  19               A.     So I do recall one meeting.
  20               Q.     In person or --
  21               A.     In person.
  22               Q.     -- over the telephone?
  23               A.     In person.
  24               Q.     What was the one meeting about?
  25               A.     The one meeting --

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   1                   THE WITNESS:      This is the deliberative
   2       process but --
   3                   MR. GARDNER:      You can answer the question
   4       what the meeting was about.
   5                   MS. CHUANG:     I would ask that you please not
   6       confer with counsel during questioning.                Thank you.
   7                   MR. GARDNER:      In fairness, Counsel, we are
   8       just deliberating about privilege, and we want to give
   9       you the information that we can properly give you.                  So
  10       I think he's looking to us to make sure that he's not
  11       implicating privilege.
  12                   MS. CHUANG:     I understand that, and I think
  13       that can be done with a simple objection regarding
  14       privilege and/or an instruction not to answer.
  15                   MR. GARDNER:      And that's what we've been
  16       doing all along.
  17                   THE WITNESS:      Sorry.       Could you repeat the
  18       question?
  19                   MS. CHUANG:     Yes.
  20              Q.   What was that one meeting about that you
  21       referenced?
  22              A.   So I recall one meeting with the Acting
  23       Secretary and the cast of players that I mentioned
  24       earlier where we did exactly that.                For the benefit of
  25       the Acting Secretary, we walked through the threat to

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   1       DACA.        We walked through the program itself, how many
   2       people are affected by it --
   3                      MR. GARDNER:    I'm going to object at this
   4       point and instruct the witness not to answer as
   5       implicating deliberative process privilege.
   6                      At a high level you can explain what the
   7       subject matter of the meeting was, but the details of
   8       the meeting would be subject to deliberative process
   9       privilege.
  10                      And I'll instruct the witness not to answer.
  11                      THE WITNESS:    So the subject of that meeting
  12       was to help inform the Acting Secretary's impending
  13       decision about the future of DACA.
  14       BY MS. CHUANG:
  15               Q.     When did this meeting take place?
  16               A.     I believe it took place in mid to late
  17       August.
  18               Q.     And you mentioned the "cast of players" that
  19       you had mentioned earlier.             Can you identify them
  20       specifically?
  21               A.     So I can identify some of them specifically.
  22       So the acting secretary was certainly there.                I was
  23       certainly there.        Representatives from the office of
  24       the general counsel were there.                I believe one of them
  25       was Dimple Shah.        And I believe the chief of staff was

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   1       there.       I believe Gene Hamilton was there, and USCIS
   2       was certainly represented.            I don't remember
   3       specifically if it was Mr. McCament or not.
   4               Q.    Was Chad Wolf there?
   5               A.    I believe he was there.             Although I don't
   6       recollect specifically whether or not he was.
   7               Q.    Was Joseph Maher there?
   8               A.    So again, representatives of the general
   9       counsel were there.          I do remember Dimple Shah being
  10       there.       I don't recall if Mr. Maher was there or not.
  11               Q.    Was there anyone else besides those persons
  12       you listed there?
  13               A.    There may have been, but I don't recall.
  14               Q.    How long did this meeting last?
  15               A.    My guess is it probably lasted about an hour.
  16               Q.    Were any documents reviewed during this
  17       meeting?
  18               A.    I don't recall specifically, but there may
  19       have been documents which gave numbers.                  I know the
  20       Acting Secretary was interested in how many people are
  21       affected and so forth.
  22               Q.    What specific numbers do those documents
  23       give?
  24                     MR. GARDNER:     Objection.          To the extent it
  25       calls for information subject to deliberative process

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   1       privilege, instruct the witness not to answer.
   2       BY MS. CHUANG:
   3              Q.   Any other documents that were reviewed?
   4              A.   Not that I recall.
   5              Q.   Was there anyone else that was not from the
   6       Department of Homeland Security present at the
   7       meeting?
   8              A.   I don't believe so.
   9              Q.   Did you take any notes during the meeting?
  10              A.   Not that I recall.
  11              Q.   Do you know if any other attendee took notes
  12       during the meeting?
  13              A.   I don't know.
  14              Q.   Besides the document that gave numbers, you
  15       stated that there were no other documents reviewed
  16       during that meeting; is that correct?
  17              A.   No.   I stated that I don't recall any other
  18       documents being reviewed at that meeting.
  19              Q.   Were any documents created as a result of
  20       that meeting?
  21              A.   Not that I'm aware of.
  22              Q.   So you stated that one of the issues was the
  23       threat to DACA.      What is your understanding of the
  24       threat to DACA?
  25              A.   So a number states -- I believe it was nine,

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   1       had sued to put an end to DACA saying that it was
   2       unconstitutional.
   3              Q.   So what was the particular threat with
   4       respect to that lawsuit?
   5              A.   So if that lawsuit was successful, DACA would
   6       come to an end.
   7              Q.   Do you know what that lawsuit is?
   8              A.   Just in general terms, no, I don't know the
   9       specifics of the lawsuit.
  10              Q.   So you're not familiar with that lawsuit?
  11              A.   I'm not familiar with the specifics of that
  12       lawsuit, no.
  13              Q.   Do you know which member states were part of
  14       that lawsuit?
  15              A.   I believe one was Texas.              I don't recall what
  16       the others were.
  17              Q.   So what was discussed with respect to the
  18       threat to DACA related to that lawsuit?
  19                   MR. GARDNER:      Objection.           Calls for
  20       disclosure of information subject to deliberative
  21       process privilege.
  22                   I instruct the witness not to answer.
  23       BY MS. CHUANG:
  24              Q.   Were there any other threats to DACA
  25       discussed?

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   1                   MR. GARDNER:      Objection.          Calls for
   2       disclosure of information subject to deliberative
   3       process privilege.
   4                   I instruct the witness not to answer.
   5                   MS. CHUANG:     My question was the existence of
   6       any other threats to DACA that was discussed, not the
   7       substance.
   8                   MR. GARDNER:      Fair enough.
   9                   THE WITNESS:      Not that I'm aware of.
  10       BY MS. CHUANG:
  11              Q.   Do you know if there are any other threats to
  12       DACA besides the litigation you just discussed?
  13              A.   I don't.
  14              Q.   You had also mentioned that one of the issues
  15       discussed was the benefits to DACA; is that correct?
  16                   MR. GARDNER:      You can answer.
  17                   THE WITNESS:      By "benefits," do you mean
  18       status conferred upon DACA recipients?
  19       BY MS. CHUANG:
  20              Q.   I was using your language.              You had stated
  21       that you had discussed the threat to DACA and the
  22       benefits of DACA during the meeting.
  23              A.   I'm not sure exactly what I was referring to.
  24              Q.   What is your understanding of what the
  25       benefits of DACA are?

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   1               A.   Well, the benefits of DACA are benefits to
   2       the beneficiaries of it, which allow them to stay in
   3       the United States, not under legal status but with
   4       deferred action.      That is that removal operations
   5       would be deferred while they enjoyed the benefits of
   6       DACA.
   7               Q.   Anything else?
   8               A.   (Nods head.)
   9               Q.   So is that the particular benefit of DACA
  10       that was discussed during the meeting?
  11                    MR. GARDNER:     Objection.          Calls for
  12       information subject to deliberative process privilege.
  13                    I instruct the witness not to answer.
  14       BY MS. CHUANG:
  15               Q.   You had also mentioned one of the issues that
  16       was discussed during that meeting was how many people
  17       were affected by it; is that correct?
  18               A.   Yes.
  19               Q.   How many people are affected by the decision
  20       relating to DACA?
  21               A.   I believe the number is around 700,000.
  22               Q.   What was discussed relating to how many
  23       people were affected by it during this meeting?
  24                    MR. GARDNER:     Objection.          Calls for
  25       disclosure of information subject to deliberative

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   1       process privilege.
   2                   I instruct the witness not to answer.
   3       BY MS. CHUANG:
   4              Q.   You had also mentioned that generally, it was
   5       to help provide information to Acting Secretary Duke
   6       regarding the impending decision relating to DACA; is
   7       that correct?
   8              A.   Correct.
   9              Q.   What other information was provided to Acting
  10       Secretary Duke during this meeting?
  11                   MR. GARDNER:      Objection.          Calls for
  12       information subject to deliberative process privilege.
  13       It also calls for information subject to the
  14       attorney-client privilege.
  15                   I instruct the witness not to answer.
  16       BY MS. CHUANG:
  17              Q.   Did you direct anyone on your staff to help
  18       you out -- to help you get up to speed on DACA?
  19              A.   I'm sure I asked people questions about DACA,
  20       especially about the historic nature.
  21              Q.   Who did you ask?
  22              A.   I don't recall at this time, but we have a
  23       staff of 150 people in the policy shop.
  24              Q.   Do you recall if you asked all 150 people in
  25       the policy staff?

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   1              A.   No, I wouldn't have done that.
   2              Q.   Did you ask your direct reports?
   3              A.   I may have.     I mean some of them wouldn't
   4       have anything to do with DACA.
   5              Q.   Do you recall what you asked your staff to do
   6       with respect to helping you get up to speed on DACA?
   7              A.   I don't because I was fairly up to speed on
   8       it over time.
   9              Q.   Do you recall when you asked your staff to
  10       help you get up to speed on DACA?
  11              A.   This probably would have been in August.
  12       Because I just joined the department in mid-July, I
  13       was spending a lot of time getting up to speed on a
  14       whole wide range of issues ranging from cyber security
  15       to aviation security to everything in between.               And
  16       so, you know, I would have come to DACA in due time
  17       after arriving at the department.
  18              Q.   Did you ask your staff to conduct any
  19       research into DACA?
  20              A.   Not that I recall.
  21              Q.   Did you ask your staff to create any memos
  22       for you relating to DACA?
  23              A.   Not that I recall.
  24              Q.   Did you ask your staff to provide any other
  25       documentation relating to DACA?

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   1              A.   Not that I recall.
   2              Q.   When you were appointed in July, were you
   3       aware of the potential for the rescission of DACA?
   4              A.   I believe I had read about the lawsuit.
   5              Q.   Where did you read about the lawsuit?
   6              A.   In the open source media.
   7              Q.   What do you mean when you mean "open source
   8       media"?
   9              A.   Newspapers.
  10              Q.   And the lawsuit that you're talking about, is
  11       that the one involving the member states, including
  12       Texas?
  13              A.   Yes.
  14              Q.   What specifically did you read about that?
  15              A.   Again, I read open source newspaper articles
  16       about the lawsuit.
  17              Q.   Did you read anything else relating to the
  18       potential for the rescission for DACA?
  19              A.   Not that I recall.
  20                   MS. CHUANG:     I'd like to mark this as
  21       Exhibit 4.
  22                   (Deposition Exhibit 4 was marked for
  23                   identification.)
  24       BY MS. CHUANG:
  25              Q.   This is a newspaper article from the

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   1       Washington Post dated August 24, 2017, entitled "DHS
   2       Reviewing Status of Obama's Deferred Action Program
   3       for Illegal Immigrants."
   4                   Please take a moment to review.
   5                   (The witness reviewed Exhibit 4.)
   6                   THE WITNESS:      Okay.
   7       BY MS. CHUANG:
   8              Q.   What does this article state?
   9              A.   This article discusses a meeting which took
  10       place at DHS, the meeting that I described to you
  11       earlier.
  12              Q.   So this particular meeting described in this
  13       article is the August meeting that you had previously
  14       described to me; is that correct?
  15              A.   It appears to be, yes.
  16              Q.   The second paragraph states that "Acting DHS
  17       Secretary Elaine Duke and Thomas Homan, the acting
  18       head of immigration customs enforcement, were among
  19       those who gathered Monday to deliberate over the
  20       future of deferred action for childhood arrivals,
  21       DACA, according to an agency official with knowledge
  22       of the meeting."      Is that correct?
  23              A.   That is what it says, yes.
  24              Q.   And so would you -- based on the -- this
  25       article, the date of the meeting, would it be on or

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   1       around August 21?
   2              A.   It would appear to be, yes.
   3              Q.   Did Thomas Homan attend the meeting that you
   4       had described previously in August?
   5              A.   So now that I see his name in print, I recall
   6       that he was at the meeting, yes.
   7              Q.   This also mentions that's Chad Wolf and
   8       Dimple Shah attended the meeting in addition to
   9       yourself; is that correct?
  10              A.   That is what it says, yes.
  11              Q.   So if you'd turn to the second page of the
  12       article, the fourth paragraph down states, "In the
  13       wake of the legal activity, the DHS officials gathered
  14       to 'review the status of DACA and determine next
  15       steps' for the program."           Is that what it states?
  16              A.   That is what it states.
  17              Q.   What did the review of the status of DACA
  18       entail?
  19                   MR. GARDNER:      Objection.          Calls for
  20       disclosure of information subject to deliberative
  21       process privilege.
  22                   Instruct the witness not to answer.
  23       BY MS. CHUANG:
  24              Q.   What was the discussion of the next steps?
  25                   MR. GARDNER:      Objection.          Calls for

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   1       information subject to the deliberative process
   2       privilege.
   3                      I instruct the witness not to answer.
   4       BY MS. CHUANG:
   5               Q.     Did the attendees of this meeting determine
   6       next steps in this meeting?
   7                      MR. GARDNER:    Objection.          Calls for
   8       information subject to the deliberative process
   9       privilege.
  10                      You can answer that question with a "yes" or
  11       "no."        Otherwise, I instruct you not to answer.
  12                      THE WITNESS:    Could you repeat the question?
  13       BY MS. CHUANG:
  14               Q.     Did the attendees of this meeting determine
  15       next steps in this meeting?
  16               A.     If by "next steps" you mean a final decision
  17       on DACA, that's not my recollection, no.
  18               Q.     What is your understanding of what the next
  19       steps were?
  20                      MR. GARDNER:    Objection.          Calls for
  21       information subject to deliberative process privilege.
  22                      I instruct the witness not to answer.
  23       BY MS. CHUANG:
  24               Q.     What did you specifically discuss in this
  25       meeting?

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   1                   MR. GARDNER:      Objection.          Calls for
   2       information subject to deliberative process privilege.
   3                   I instruct the witness not to answer.
   4                   It also calls for disclosure of
   5       attorney-client protected information.
   6                   And I so instruct.
   7       BY MS. CHUANG:
   8              Q.   What did Acting Secretary Duke discuss in
   9       this meeting?
  10                   MR. GARDNER:      Objection.          Calls for
  11       information subject to deliberative process privilege.
  12                   I instruct the witness not to answer.
  13       BY MS. CHUANG:
  14              Q.   What did Thomas Homan discuss in this
  15       meeting?
  16                   MR. GARDNER:      Objection.          Calls for
  17       information subject to the deliberative process
  18       privilege.
  19                   I instruct the witness not to answer.
  20       BY MS. CHUANG:
  21              Q.   What did Chad Wolf discuss in this meeting?
  22                   MR. GARDNER:      Objection.          Calls for
  23       information subject to deliberative process privilege.
  24                   I instruct the witness not to answer.
  25       BY MS. CHUANG:

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   1              Q.    What did Dimple Shah discuss in this meeting?
   2                    MR. GARDNER:       Objection.            Calls for
   3       disclosure of information subject to deliberative
   4       process privilege, as well as the attorney-client
   5       privilege.
   6                    I instruct the witness not to answer.
   7       BY MS. CHUANG:
   8              Q.    Now that you have reviewed this article, does
   9       it refresh your recollection as to the specific
  10       attendees at the meeting?
  11              A.    It did.     So I hadn't recalled that Tom Homan
  12       was there, and now I do.
  13              Q.    Beside the individuals that are noted in this
  14       article, did any other persons attend this meeting?
  15              A.    So I believe I've already answered that
  16       question, haven't I?
  17              Q.    No.
  18              A.    Okay.     So again, the Acting Secretary was
  19       there.      I was there.      Dimple Shah was there.              Now I
  20       recall that Tom Homan was there.                    There were
  21       representatives of USCIS there, and there were -- I'm
  22       almost certain -- I am certain Mr. Hamilton was there.
  23              Q.    Mr. Hamilton isn't noted in this article,
  24       though; correct?
  25              A.    I don't see his name in the article.

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   1              Q.   And representatives from USCIS are not noted
   2       in this article; is that correct?
   3              A.   That appears to be correct.
   4              Q.   So is it your understanding that other
   5       persons besides those individuals noted in this
   6       article attended the meeting?
   7              A.   Yes.
   8              Q.   And those were Gene Hamilton and
   9       representatives from USCIS?
  10              A.   Yes.
  11              Q.   And who was the representative from USCIS?
  12              A.   So again, I don't recall specifically.               James
  13       McCament was the acting director at the time.                 So it
  14       may have been him, or he may have been represented by
  15       someone else.      I just don't recall.
  16              Q.   What did Gene Hamilton discuss in this
  17       meeting?
  18                   MR. GARDNER:      Objection.          Calls for
  19       information subject to the deliberative process
  20       privilege, as well as attorney-client privilege.
  21                   I instruct the witness not to answer.
  22       BY MS. CHUANG:
  23              Q.   What did the representatives from USCIS
  24       discuss at this meeting?
  25                   MR. GARDNER:      Objection.          Calls for

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   1       information subject to nondisclosure by the
   2       deliberative process privilege as well as
   3       attorney-client privilege.
   4                    I instruct the witness not to answer.
   5       BY MS. CHUANG:
   6               Q.   Were any other individuals outside of DHS in
   7       attendance at this meeting?
   8               A.   I'm sorry.     People from outside of DHS?
   9               Q.   Yes.
  10               A.   I don't believe so, no.
  11               Q.   Besides this August 21 meeting, did you have
  12       any other meetings involving DACA?
  13               A.   So there may have been.               I don't recall
  14       specific meetings related to DACA, but there may have
  15       been.
  16               Q.   Let's start with July.            Do you recall any
  17       specific meetings in July relating to DACA?
  18               A.   I don't.
  19               Q.   In August, besides this August 21 meeting, do
  20       you recall any specific meetings relating to DACA?
  21               A.   I don't.
  22               Q.   In September, do you recall any specific
  23       meetings relating to DACA?
  24               A.   I don't.
  25               Q.   Did you have any communications with any

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   1       persons relating to DACA outside of this meeting?
   2               A.   Yes.
   3               Q.   What were they?
   4               A.   So again, I don't recall any specific
   5       meetings, but there may have been, and there were
   6       almost certainly conversations and there are almost
   7       certainly E-mails.
   8               Q.   And when I ask about communications, I mean
   9       in person or electronically or via the telephone.                 Do
  10       you understand that?
  11               A.   I do.
  12               Q.   Okay.   In July, did you have any
  13       communications with any members of DHS relating to
  14       DACA?
  15               A.   Again, I simply don't recall specific
  16       conversations or meetings, but there certainly may
  17       have been.
  18               Q.   Did you have any discussions with John Kelly,
  19       before he left for The White House, about DACA?
  20               A.   I don't recall any.
  21               Q.   Did you have any conversations with Acting
  22       Secretary Duke in July about DACA?
  23               A.   I don't recall any.         She was the deputy at
  24       that time.
  25               Q.   Besides the meeting that is referenced in

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   1       this article, did you have any communications with
   2       Acting Secretary Duke in the month of August relating
   3       to DACA?
   4              A.   Again, I don't recall any specific
   5       communications with her, but there may have been.
   6              Q.   Do you recall any dates in which you may have
   7       had these specific communications?
   8              A.   I don't.
   9              Q.   Did you have any changes with Chad Wolf in
  10       the month of July relating to DACA?
  11              A.   Not that I recall.
  12              Q.   Prior to the rescission of DACA on
  13       September 5, did you have any conversations in the
  14       month of September with Acting Secretary Duke?
  15              A.   Not that I recall.
  16              Q.   Did you have any conversations with her about
  17       the announcement of the rescission?
  18              A.   No, I don't recall a specific conversation
  19       about that.
  20              Q.   Did you have any conversations with Chad Wolf
  21       in the months of August or September relating to DACA?
  22              A.   Not that I recall.
  23              Q.   Did you have any conversations with Julie
  24       Kirchner relating to DACA?
  25              A.   No.

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   1              Q.   Donald Neufeld?
   2              A.   No.
   3              Q.   James McCament?
   4              A.   Possibly.
   5              Q.   When?
   6              A.   Well, again, James was the acting director of
   7       USCIS, which is the component of Homeland Security
   8       which manages the DACA program.                So it's very possible
   9       I had conversations with him, but I don't recall a
  10       specific conversation.
  11              Q.   Did you ask James about information about how
  12       USCIS administers DACA?
  13              A.   So again, I don't recall any specific
  14       conversations with James McCament, but I may well have
  15       had conversations with him.              That would have been
  16       relevant.
  17              Q.   Did you have any conversations with Philip
  18       Miller relating to DACA?
  19              A.   I don't know who Philip Miller is.
  20              Q.   Elizabeth Neumann?
  21              A.   I don't recall any conversations with
  22       Elizabeth Neumann.
  23              Q.   Michael Dougherty?
  24              A.   I may have had a conversation with Michael
  25       Dougherty.

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   1              Q.   What was the conversation about?
   2              A.   Again, I don't recall a specific
   3       conversation.        I'm just simply saying I may have.
   4              Q.   Frank Wuco?
   5              A.   No.
   6              Q.   Claire Grady?
   7              A.   I don't recall any specific conversations
   8       with Claire Grady.
   9              Q.   What about Kevin McLeean (sic)?
  10              A.   McAleenan.      I don't recall specific
  11       conversation with Kevin McAleenan.
  12              Q.   John Mahr?
  13              A.   I'm not sure who John Mahr is.
  14              Q.   I believe he's the general counsel we were
  15       discussing before.        I don't know if I'm pronouncing
  16       his last name correctly.
  17              A.   Joe.     Joseph Maher, yes.
  18              Q.   Sorry.
  19              A.   I don't recall a specific conversation, but
  20       as the general counsel of the agency, obviously he
  21       played an important role in conversations.
  22              Q.   Was he in the August 21 meeting?
  23              A.   Again, I don't recall if he was there
  24       specifically but members of his -- at least one member
  25       of his team, Dimple Shah was.

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   1               Q.   Nancy Clark, did you have any conversations
   2       with her about DACA?
   3               A.   I don't know who she is.
   4               Q.   Jonathan Hoffman?
   5               A.   I don't recall specific conversation with
   6       Jonathan.
   7               Q.   Did you have any conversations with President
   8       Trump relating to DACA?
   9               A.   I did not.
  10               Q.   Do you know if anyone at DHS had
  11       conversations with President Trump about DACA?
  12                    MR. GARDNER:     Objection.          Calls for
  13       speculation.
  14                    THE WITNESS:     I don't.
  15       BY MS. CHUANG:
  16               Q.   Did you have any conversations with Vice
  17       President Pence relating to DACA?
  18               A.   I did not.
  19               Q.   Do you know if anyone at DHS had
  20       conversations with Vice President Pence relating to
  21       DACA?
  22                    MR. GARDNER:     Objection.          Calls for
  23       speculation.
  24                    THE WITNESS:     I do not.
  25       BY MS. CHUANG:

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   1              Q.   Did you have any conversations with John
   2       Kelly, while he was at The White House, about DACA?
   3              A.   I did not.
   4              Q.   Do you know if anyone at DHS had
   5       conversations with him about DACA?
   6                   MR. GARDNER:      Objection.          Calls for
   7       speculation.
   8                   THE WITNESS:      I do not.
   9       BY MS. CHUANG:
  10              Q.   Do you know if Acting Secretary Duke had
  11       conversations with John Kelly about DACA?
  12                   MR. GARDNER:      Objection.          Calls for
  13       speculation.
  14                   THE WITNESS:      I do not.
  15       BY MS. CHUANG:
  16              Q.   Did you have any conversations with Kirstjen
  17       Nielsen about DACA?
  18              A.   Not that I recall, no.
  19              Q.   Do you know if anyone at DHS had
  20       conversations with Ms. Nielsen --
  21                   MR. GARDNER:      Objection.          Calls for
  22       speculation.
  23       BY MS. CHUANG:
  24              Q.   -- about DACA?
  25                   MR. GARDNER:      Sorry.

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   1                   MS. CHUANG:     That's fine.
   2                   THE WITNESS:      No, I do not.
   3       BY MS. CHUANG:
   4              Q.   Did you have any conversations with Thomas
   5       Bossert about DACA?
   6              A.   I did not.
   7              Q.   Do you know if anyone at DHS had
   8       conversations about DACA with Thomas Bossert?
   9                   MR. GARDNER:      Objection.          Calls for
  10       speculation.
  11                   THE WITNESS:      I do not.
  12       BY MS. CHUANG:
  13              Q.   Did you have any communications with Jared
  14       Kushner about DACA?
  15              A.   I did not.
  16              Q.   Do you know if anyone at DHS had any
  17       conversations about DACA with Jared Kushner?
  18                   MR. GARDNER:      Objection.          Calls for
  19       speculation.
  20                   THE WITNESS:      I don't.
  21       BY MS. CHUANG:
  22              Q.   Did you have any conversations with Stephen
  23       Miller about DACA?
  24              A.   I did not.
  25              Q.   Do you know if anyone at DHS had

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   1       conversations about DACA with Stephen Miller?
   2                   MR. GARDNER:      Objection.          Calls for
   3       speculation.
   4                   THE WITNESS:      I do not.
   5       BY MS. CHUANG:
   6              Q.    Do you know if Acting Secretary Duke had any
   7       conversations with Stephen Miller about DACA?
   8                   MR. GARDNER:      Same objection.
   9                   THE WITNESS:      I do not.
  10       BY MS. CHUANG:
  11              Q.   Did you have any communications with Jon
  12       Feere about DACA?
  13              A.   I don't know who that is.
  14              Q.   Do you know if anyone at DHS had
  15       conversations with a person named Jon Feere?
  16                   MR. GARDNER:      Objection.          Calls for
  17       speculation.
  18                   THE WITNESS:      Not that I'm aware of.
  19       BY MS. CHUANG:
  20              Q.   Did you have communications with John
  21       Mashburn about DACA?
  22              A.   I don't know who that is.
  23              Q.   Do you know if anyone at DHS had
  24       conversations with John Mashburn?
  25                   MR. GARDNER:      Same objection.

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   1       BY MS. CHUANG:
   2              Q.   Or a person named John Mashburn.
   3              A.   Not that I'm aware of.
   4       BY MS. CHUANG:
   5              Q.   Did you have any conversations with Matthew
   6       Flynn about DACA?
   7              A.   I don't know who that is.
   8              Q.   Do you know if DHS had any communications
   9       with Matthew Flynn or a person named Matthew Flynn
  10       about DACA?
  11                   MR. GARDNER:      Same objection.
  12                   THE WITNESS:      Not that I'm aware of.
  13       BY MS. CHUANG:
  14              Q.   Did you have any conversations with Anthony
  15       Paranzino about DACA?
  16              A.   I don't know who that is.
  17              Q.   Do you know if DHS had any conversations with
  18       Anthony Paranzino or a person named Anthony Paranzino?
  19                   MR. GARDNER:      Same objection.
  20                   THE WITNESS:      Not that I'm aware of.
  21       BY MS. CHUANG:
  22              Q.   Did you have any conversations with Ivanka
  23       Trump about DACA?
  24              A.   I did not.
  25              Q.   Do you know if anyone at DHS had

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   1       conversations with Ivanka Trump about DACA?
   2                    MR. GARDNER:     Same objection.
   3                    THE WITNESS:     Not that I'm aware of.
   4       BY MS. CHUANG:
   5               Q.   I believe you had previously mentioned that
   6       you did not have any conversations with Jeff Sessions
   7       about DACA; is that correct?
   8               A.   That's correct.
   9               Q.   And in three instances that you've met with
  10       him, it was a hello good-bye situation?
  11               A.   No.   So there was one instance where I was at
  12       a meeting that he was present at, and I did not speak
  13       to him or meet with him at that meeting.             That was the
  14       drug reduction meeting.          And then I was present at the
  15       U.S.-China Law Enforcement Dialogue that he cohosted
  16       with Acting Secretary Duke, and I did have some
  17       interaction with him there, but we did not discuss
  18       DACA.
  19               Q.   Is that the extent of your contact with Jeff
  20       Sessions while you've been at DHS?
  21               A.   It is.
  22               Q.   Did you have conversations with anyone else
  23       at DOJ relating to DACA?
  24               A.   Not that I recall.
  25               Q.   Do you know if anyone at DHS had any

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   1       conversations with anyone at DOJ relating to DACA?
   2                   MR. GARDNER:      Objection.          Calls for
   3       speculation.
   4                   THE WITNESS:      Not that I'm aware of.
   5       BY MS. CHUANG:
   6              Q.   Do you know if Secretary Duke had
   7       conversations with anyone at DOJ relating to DACA?
   8                   MR. GARDNER:      Same objection.
   9                   THE WITNESS:      Not that I'm aware of.
  10       BY MS. CHUANG:
  11              Q.   Did you have discussions with anyone at the
  12       state department relating to DACA?
  13                   MR. GARDNER:      Objection.          Vague as to time
  14       frame.
  15       BY MS. CHUANG:
  16              Q.   During your tenure at Homeland Security.
  17              A.   Yes, I believe I did.
  18              Q.   What were those conversations?
  19              A.   So I believe I had a conversation with our
  20       ambassador in El Salvador.            I believe.       I may be
  21       conflating various issues that we were dealing with
  22       El Salvador on, but I believe.               And I believe I also
  23       had conversations with John Creamer of the western
  24       hemisphere bureau at the Department of State.
  25              Q.   Who was the ambassador to El Salvador?

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   1              A.     Her name is Jean Manes, M-a-n-e-s.
   2              Q.     When was this conversation?
   3              A.     So again, I'm worried that I'm conflating
   4       various conversations on various topics, but I want to
   5       be as transparent as I can.
   6                     So I do recall speaking with her in August.
   7       I'm just not absolutely certain it was DACA related.
   8              Q.     What do you recall about the conversation in
   9       August with Jean Manes?
  10              A.     I recall talking about other things with her,
  11       but we may have spoken about DACA as well.
  12              Q.     What were the other things besides DACA that
  13       you spoke about?
  14              A.     We talked about the termination of a refugee
  15       program called the Central American Migrants program,
  16       CAM.       And we also had a discussion about temporary
  17       protected status.
  18              Q.     What was specifically discussed about the
  19       termination of the refugee camp?
  20              A.     It was a discussion of the foreign policy
  21       impacting El Salvador and the termination of that
  22       program.
  23              Q.     What did you specifically discuss with
  24       respect to that?
  25              A.     It was more that she expressed her concerns

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   1       about how to handle the announcement of that
   2       termination.
   3              Q.   What were her specific concerns on how to
   4       handle the announcement of that termination?
   5              A.   It was just two professional diplomats
   6       discussing how one would handle that.
   7              Q.   What was your response to her specific
   8       concerns about the termination?
   9              A.   I was sympathetic to the position she was in
  10       where she would have to deliver bad news to the
  11       Salvadoran government.
  12              Q.   You also mentioned that you discussed TPS, or
  13       temporary protected status?
  14              A.   Correct.
  15              Q.   What was discussed with respect to temporary
  16       protected status?
  17              A.   Just the discussion of the fact that there
  18       are hundreds of thousands of Salvadorans currently in
  19       the United States on temporary protected status, and
  20       what potential impact there would be to extension or
  21       termination of that program.
  22              Q.   And what was discussed with respect to the
  23       impacts?
  24              A.   Again, just a discussion between two
  25       professionals of the potential consequences either

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   1       way.
   2               Q.     Was Jean Manes in favor of terminating the
   3       program?
   4               A.     I don't recall that we got to that point
   5       where we were discussing my view or her view.                   It was
   6       more the fact of an awareness that a decision was
   7       pending and is still pending on termination or
   8       extension of that program.
   9               Q.     What did you and Jean discuss regarding DACA?
  10               A.     Again, I'm just trying to be very transparent
  11       here.        I'm not certain that we discussed DACA.             I just
  12       wanted to flag it in case I did.                   So I don't remember
  13       any specifics regarding DACA.
  14               Q.     Where did this meeting take place?
  15               A.     It was in a telephone conversation.
  16               Q.     Were there any other communications with Jean
  17       Manes about DACA?
  18               A.     No, not that I recall.
  19               Q.     You also mentioned John Creamer as another
  20       Department of State employee with whom you've had
  21       discussions regarding DACA; is that correct?
  22               A.     Yes.
  23               Q.     What was the discussion relating to DACA?
  24               A.     Again, a telephone conversation, and I think
  25       it was, if I recall correctly, interest on his part in

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   1       whether or not the program was going to be terminated.
   2              Q.   Did he initiate this telephone conversation?
   3              A.   I don't recall.
   4              Q.   When did this telephone conversation take
   5       place?
   6              A.   So he's someone that I speak to frequently
   7       about a wide range of issues.              So I don't remember
   8       specifically when we would have discussed DACA, but my
   9       guess is it would have been in August.
  10              Q.   And what was his interest in whether DACA
  11       would be rescinded or not?
  12              A.   So his interest was in foreign policy
  13       implications of a decision on DACA.
  14              Q.   And what were the foreign policy implications
  15       that were discussed?
  16              A.   Again, two professional diplomats talking
  17       about what the possibilities are and what the foreign
  18       policy implications might be, a conversation.
  19              Q.   What were the specific foreign policy
  20       implications that were discussed?
  21              A.   You know, I don't have a great recall of the
  22       conversation, but I assume we talked about the
  23       countries that would be most affected by a termination
  24       of DACA.
  25              Q.   What are the countries that would be most

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   1       affected by a termination of DACA?
   2               A.   I think the country most affected by the
   3       termination of DACA is Mexico.
   4               Q.   Do you recall your conversations surrounding
   5       Mexico?
   6               A.   Again, just two professional diplomats
   7       discussing what the implications might be.
   8               Q.   Was John Creamer in favor of terminating
   9       DACA?
  10               A.   I don't recall him expressing an opinion.
  11               Q.   Any other issues discussed besides the
  12       foreign policy implications relating to termination of
  13       DACA?
  14               A.   Again, he's someone I speak to on a weekly
  15       basis, and we talk about a whole range of foreign
  16       policy issues.      So I don't have a specific
  17       recollection of what we discussed in that
  18       conversation.
  19               Q.   What were your specific responses relating to
  20       foreign policy implications relating to DACA?
  21               A.   You know, I don't recall what my specific
  22       opinions or recommendations were.                 A recognition that
  23       a termination of DACA would have an impact on Mexico
  24       especially.
  25               Q.   And in your understanding, how would it have

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   1       an impact on Mexico especially?
   2              A.   So this is all -- we're entering the realm of
   3       speculation; right?
   4                   THE WITNESS:      Is that okay?
   5                   MR. GARDNER:      You can answer her question.
   6                   THE WITNESS:      So speculating if DACA were
   7       terminated, and if a large number of Mexicans were
   8       removed from the United States back to Mexico, that
   9       would obviously have an impact on Mexico's economy and
  10       perhaps on our foreign policy relations.
  11       BY MS. CHUANG:
  12              Q.   Would it have a negative impact on Mexico's
  13       economy?
  14                   MR. GARDNER:      Objection.          Calls for
  15       speculation.
  16                   THE WITNESS:      I don't know.
  17       BY MS. CHUANG:
  18              Q.   Would it have a negative impact on foreign
  19       policy relations?
  20                   MR. GARDNER:      Same objection.
  21                   THE WITNESS:      (No audible response.)
  22       BY MS. CHUANG:
  23              Q.   What were the specific opinions that you
  24       expressed in this conversation with John Creamer?
  25              A.   Again, I don't recall.            I wouldn't ascribe

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   1       too much to a phone call between two friends and
   2       fellow diplomats who are discussing the potential
   3       impact of a potential decision.
   4              Q.   Do you recall anything else about this
   5       conversation with John Creamer?
   6              A.   I don't.
   7              Q.   Did you have any other communications with
   8       anyone from the state department relating to DACA
   9       during your tenure at Homeland Security?
  10              A.   Not that I recall.
  11              Q.   What about any other federal officials aside
  12       from the ones that I've already stated?
  13              A.   Right.     Not that I recall.
  14              Q.   Did you have any conversations with any
  15       members of Congress relating to DACA?
  16              A.   No.
  17              Q.   Did you have any conversations with any state
  18       or local government officials relating to DACA?
  19              A.   No.
  20              Q.   Did you have any conversations with Ken
  21       Paxton?
  22              A.   I don't know who that is.
  23              Q.   Did you have any conversations with Steve
  24       Marshall?
  25              A.   I don't know who that is.

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   1              Q.   Leslie Rutledge?
   2              A.   I don't know who that is.
   3              Q.   Lawrence Wasden?
   4              A.   Again, I don't know who that is.
   5              Q.   CL Butch Otter?
   6              A.   I don't know who that is.
   7              Q.   Derek Schmidt?
   8              A.   I don't know who that is.
   9              Q.   Kris Kobach?
  10              A.   The name sounds familiar, but I'm not
  11       precisely sure who that is.
  12              Q.   Jeff Landry?
  13              A.   I don't know.
  14              Q.   Doug Peterson?
  15              A.   I don't know who that is.
  16              Q.   Alan Wilson?
  17              A.   I don't know who that is.
  18              Q.   Herbert Slatery, III?
  19              A.   I don't know who that is.
  20              Q.   Patrick Morrisey?
  21              A.   I don't know who that is.
  22              Q.   Do you know if anyone at DHS had any contact
  23       with any other federal officials besides the ones from
  24       DOJ and The White House that I have spoken about?
  25                   MR. GARDNER:      Objection.          Calls for

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   1       speculation.
   2                   THE WITNESS:      I don't know.
   3       BY MS. CHUANG:
   4              Q.   Do you know if anyone from DHS has had
   5       communications of any kind with any members of
   6       Congress relating to DACA?
   7                   MR. GARDNER:      Same objection.
   8                   THE WITNESS:      I don't know.
   9       BY MS. CHUANG:
  10              Q.   Do you know if anyone from DHS has had
  11       contact with any state or local government officials
  12       relating to DACA?
  13              A.   I don't know.
  14              Q.   Have you had any communications with the
  15       Center for Immigration Studies relating to DACA?
  16              A.   No.
  17              Q.   Do you know if anyone at DHS has?
  18                   MR. GARDNER:      Objection.          Calls for
  19       speculation.
  20                   THE WITNESS:      I don't.
  21       BY MS. CHUANG:
  22              Q.   Do you know what the Center for Immigration
  23       Studies is?
  24              A.   A think tank that studies immigration issues.
  25              Q.   Did you have any communications with any

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   1       other members of the public relating to DACA during
   2       your tenure at Homeland Security?
   3               A.   No.
   4               Q.   Were you consulted about the drafting of the
   5       Duke memo?
   6               A.   No, not specifically.
   7               Q.   Were you involved in any drafting of the Duke
   8       memo?
   9               A.   No.
  10               Q.   Prior to receiving the memo, did you see any
  11       drafts of the Duke memo?
  12               A.   Not that I recall.
  13               Q.   Are you aware of any prior drafts of the Duke
  14       memo?
  15               A.   I'm not.
  16               Q.   Do you know who created the first draft of
  17       the memo?
  18               A.   I don't.    I would assume --
  19                    MR. GARDNER:       Objection.          Calls for
  20       speculation.
  21                    THE WITNESS:       Sorry.
  22       BY MS. CHUANG:
  23               Q.   Go ahead.     You can finish your sentence.              You
  24       had said that you assumed it was the office --
  25               A.   Office of general counsel.

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   1              Q.   And why would you assume that?
   2              A.   Because it seems to be a document based on
   3       legal grounds.
   4              Q.   Do you have any other basis for that
   5       assumption?
   6              A.   I don't.
   7              Q.   So do you know whether the office of general
   8       counsel created the first draft of the memo?
   9              A.   I don't.
  10              Q.   Do you know when a first draft of the memo
  11       was created?
  12              A.   I don't.
  13              Q.   Does the office of general counsel typically
  14       get involved in memos relating to policy decisions?
  15                   MR. GARDNER:      Objection.          Calls for
  16       speculation.     Lack of foundation.
  17                   THE WITNESS:      I would say they almost always
  18       get involved in the drafting of documents related to
  19       policy decisions because of the legal implications.
  20       BY MS. CHUANG:
  21              Q.   Do you know if anyone else was involved in
  22       the drafting of the Duke memo?
  23              A.   I don't.
  24              Q.   Do you know whether Acting Secretary Duke
  25       drafted a draft of the memo?

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   1              A.    I don't.
   2              Q.    Were you consulted in any way during your
   3       tenure relating to the drafting of the memo?
   4              A.    You know, I don't recall.
   5              Q.    Were you informed by anyone at DHS, or
   6       anywhere else, that this memo was being drafted?
   7              A.    Yes.   I was aware that a memo was being
   8       drafted.
   9              Q.    How were you aware?
  10                    MR. GARDNER:      Objection to the extent it
  11       calls for disclosure of information subject to
  12       deliberative process privilege.                If you want, Counsel,
  13       we can take a break.         I can confer with the witness to
  14       see if the information he has would be subject to the
  15       privilege, or we can do that at the next break and
  16       move on.
  17                    MS. CHUANG:     We can do that at the next
  18       break.      So are you instructing him not to answer this
  19       particular question?
  20                    MR. GARDNER:      Until I get a sense of what
  21       information he has and whether it would be subject to
  22       privilege.      But I'm happy to handle it whichever way
  23       you want to.
  24                    MS. CHUANG:     I'll try to ask some more
  25       specific questions relating to this question right

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   1       now.       Otherwise, we can get back to this particular
   2       question.
   3                     MR. GARDNER:      That's fine.
   4       BY MS. CHUANG:
   5               Q.    Is your understanding of the fact that a memo
   6       was being drafted, did it come from within DHS?
   7               A.    Yes.
   8               Q.    Did it come from Acting Secretary Duke?
   9               A.    Again, I don't recall how I learned that a
  10       memo was being drafted, but I mean I knew that a
  11       decision was going to be rendered, and there was,
  12       therefore, going to be a memo that would render that
  13       decision.
  14               Q.    When did you learn about the fact that a memo
  15       was being drafted?
  16               A.    I don't recall specifically, but it would
  17       have been late August, early September.
  18               Q.    Do you know when the decision was made to
  19       rescind DACA?
  20               A.    I don't.
  21               Q.    Do you know if it was made in September?
  22               A.    So I don't know exactly when the decision was
  23       made.
  24               Q.    Were you involved in any conversations where
  25       the decision was made to rescind DACA?

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   1              A.   No.
   2              Q.   Were you aware of any conversations where the
   3       decision was made to rescind DACA?
   4              A.   I was involved in deliberative discussions.
   5       But I was not involved in the making of the decision.
   6              Q.   But are you aware of any conversations where
   7       the decision was made to rescind DACA?
   8              A.   I'm not.
   9              Q.   Were you aware of any E-mails or written
  10       communications in which the decision was made to
  11       rescind DACA?
  12              A.   I'm not.
  13              Q.   Besides DHS officials, who else was involved
  14       in the drafting -- anyone from The White House -- of
  15       the Duke memo?
  16                   MR. GARDNER:      Objection.          Calls for
  17       speculation.      Lack of foundation.
  18                   THE WITNESS:      I don't know.
  19       BY MS. CHUANG:
  20              Q.   Do you know if the DOJ was involved in the
  21       drafting of the Duke memo?
  22                   MR. GARDNER:      Same objections.
  23                   Sorry.
  24                   THE WITNESS:      I don't know.
  25       BY MS. CHUANG:

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   1               Q.   Do you know if any members of Congress were
   2       involved in the drafting of the memo?
   3                    MR. GARDNER:     Same objections.
   4                    THE WITNESS:     I don't know.
   5       BY MS. CHUANG:
   6               Q.   Do you know if any state or local government
   7       officials were involved in the drafting of the memo?
   8                    MR. GARDNER:     Same objections.
   9                    THE WITNESS:     I don't know.
  10       BY MS. CHUANG:
  11               Q.   Do you know if any members of Congress were
  12       consulted about the drafting of the memo?
  13                    MR. GARDNER:     Same objections.
  14                    THE WITNESS:     I don't know.
  15       BY MS. CHUANG:
  16               Q.   Do you know if any state or local government
  17       officials were consulted regarding the drafting of the
  18       memo?
  19                    MR. GARDNER:     Same objections.
  20                    THE WITNESS:     I don't know.
  21       BY MS. CHUANG:
  22               Q.   Do you know if the DOJ was consulted
  23       regarding the drafting of the memo?
  24                    MR. GARDNER:     Same objections.
  25                    THE WITNESS:     I don't know.

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   1       BY MS. CHUANG:
   2              Q.   Do you know if The White House was consulted
   3       regarding the drafting of the memo?
   4                   MR. GARDNER:       Same objections.
   5                   THE WITNESS:       I don't know.
   6       BY MS. CHUANG:
   7              Q.   Do you know of any other federal officials
   8       other than the ones that I've stated were consulted
   9       regarding the drafting of the memo?
  10                   MR. GARDNER:       Same objection, and also
  11       objection, vague.
  12                   THE WITNESS:       I'm not aware.
  13       BY MS. CHUANG:
  14              Q.   Do you know if any other federal officials
  15       were involved in the drafting?
  16                   MR. GARDNER:       Same objections.
  17                   THE WITNESS:       I'm not aware.
  18       BY MS. CHUANG:
  19              Q.   Do you know if any immigration organizations
  20       were involved in the drafting of the memo?
  21                   MR. GARDNER:       Same objections.     Also
  22       objection.     Vague.
  23       BY MS. CHUANG:
  24              Q.   Do you know if any immigration organizations
  25       were involved in the consultation relating to the

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   1       memo?
   2                    MR. GARDNER:     Same objections.
   3                    THE WITNESS:     I'm not aware.
   4       BY MS. CHUANG:
   5               Q.   Do you know if any drafts were sent outside
   6       of DHS?
   7               A.   I'm not aware.
   8               Q.   Do you know if any drafts of the memo were
   9       sent to The White House?
  10               A.   I don't know.
  11               Q.   To DOJ?
  12               A.   I don't know.
  13               Q.   To members of Congress?
  14               A.   I don't know.
  15               Q.   To state or local government officials?
  16               A.   I don't know.
  17               Q.   To any other members of the public?
  18               A.   Not that I'm aware of.
  19               Q.   To any immigration organizations?
  20               A.   Not that I'm aware of.
  21               Q.   So you had stated that you have never seen a
  22       draft of the memo; is that correct?
  23               A.   I don't recall having seen a draft of the
  24       memo.
  25               Q.   So the only -- the first time that you saw

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   1       the Duke memo was when you received it on September 5;
   2       is that correct?
   3               A.   I believe so.
   4               Q.   How did you receive the memo on September 5?
   5               A.   I don't recall exactly.                Probably
   6       electronically.
   7               Q.   Via E-mail?
   8               A.   Probably.
   9               Q.   Was there a cover E-mail attached to the
  10       memo?
  11               A.   Not that I recall.
  12               Q.   Was that E-mail contained in one of the
  13       E-mails in the DACA folder?
  14               A.   So again, I don't recall having received the
  15       memo by E-mail.      I'm speculating that that's probably
  16       how I received it.         Generally speaking, that's how I
  17       would receive such a memo.
  18               Q.   So if you could turn to AR 00000251 of the
  19       administrative record.           It should be right before the
  20       prior document that we were discussing.
  21               A.   Yes.
  22               Q.   So this is the letter from Jeff Sessions to
  23       Acting Secretary Duke regarding his advice that DHS
  24       should rescind DACA; is that correct?
  25               A.   It appears to be correct, yes.

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   1              Q.   Do you want to take a moment to review?
   2              A.   Thank you.
   3                   (The witness reviewed the document.)
   4                   THE WITNESS:       Okay.
   5       BY MS. CHUANG:
   6              Q.   Have you ever seen this document before?
   7              A.   I believe I have, yes.
   8              Q.   When did you see it?
   9              A.   I believe I saw it shortly after it was
  10       received by the department.
  11              Q.   Did you personally receive a copy of this
  12       letter?
  13              A.   I didn't receive one from the Department of
  14       Justice.     I would have received it through DHS
  15       channels.
  16              Q.   Do you recall specifically how you received
  17       this letter?
  18              A.   I do not.
  19              Q.   Was it circulated to staff within DHS?
  20              A.   I don't know.       I know that I have seen the
  21       letter.
  22              Q.   Do you recall how you saw it?          Was it via
  23       E-mail?
  24              A.   I don't recall specifically, but it was
  25       probably via E-mail.

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   1              Q.   Do you recall if there was a cover E-mail --
   2              A.   I don't know.
   3              Q.   -- that attached this letter?
   4              A.   I don't recall.
   5              Q.   What does this letter state?
   6              A.   I'm not a lawyer, but the letter seems to
   7       state that in the opinion of the attorney general,
   8       DACA was unconstitutional and should, therefore, be
   9       rescinded.
  10              Q.   And is this the -- the lawsuit that's
  11       referenced in this particular letter, is that the
  12       litigation that you referenced previously when you
  13       were discussing a potential threat to DACA?
  14              A.   It seems to be, yes.
  15              Q.   Have you ever read any of the underlying
  16       decisions that are referenced in this document?
  17              A.   I have not.
  18              Q.   Has anyone ever asked you to read those
  19       decisions?
  20              A.   No, not that I'm aware of.              Not that I
  21       recall.
  22              Q.   Do you know if Acting Secretary Duke has read
  23       these underlying decisions that are referenced in this
  24       letter?
  25                   MR. GARDNER:      Objection.          Calls for

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   1       speculation.
   2                   THE WITNESS:      I don't know.
   3       BY MS. CHUANG:
   4              Q.   Have you ever discussed with anyone at DHS
   5       the underlying decisions that are referenced in this
   6       letter?
   7              A.   Yes.
   8              Q.   What were those discussions?
   9                   MR. GARDNER:      Objection.          Calls for
  10       information subject to deliberative process privilege.
  11                   I instruct the witness not to answer.
  12       BY MS. CHUANG:
  13              Q.   When were those discussions?
  14              A.   Those would have been in the same time frame
  15       we've been discussing.         So it would have been probably
  16       August.
  17              Q.   Were there multiple conversations about the
  18       underlying decisions?
  19              A.   I recall -- this gets into the
  20       deliberative --
  21                   MR. GARDNER:      You can answer the question
  22       "yes" or "no," and then as we proceed, we'll take it
  23       question by question.
  24                   MS. CHUANG:     I'll just ask that you don't
  25       consult with your attorney.             He will instruct you if

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   1       he believes that there's an instruction that needs to
   2       be made.
   3                    MR. GARDNER:     In fairness, though, Counsel,
   4       when it does deal with privilege, he's obviously able
   5       and should be communicating with counsel to determine
   6       the scope of the privilege.
   7                    THE WITNESS:     It was just that.          I just want
   8       to make sure I stay within the scope.
   9       BY MS. CHUANG:
  10               Q.   Let me repeat the question.
  11               A.   Thank you.
  12               Q.   Were there multiple conversations about the
  13       underlying decisions that are referenced in this
  14       letter?
  15                    MR. GARDNER:     That's asking for a "yes" or
  16       "no" question (sic).        So that is permissible.
  17                    MS. CHUANG:    I would also ask that you
  18       refrain from speaking objections.                 Thank you.
  19                    MR. GARDNER:     Counsel, we're doing this
  20       question by question to make sure we have the scope of
  21       privilege out.
  22                    THE WITNESS:     I don't recall how many
  23       conversations there were, but I do remember discussing
  24       this.
  25       BY MS. CHUANG:

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   1              Q.   Were there multiple conversations?           Were
   2       there more than one conversation about the underlying
   3       decision?
   4              A.   I don't recall.
   5              Q.   Do you know who was involved in these
   6       conversations about the underlying decisions
   7       referenced in this letter?
   8              A.   Certainly, the office of general counsel was.
   9              Q.   Who from the office of general counsel?
  10              A.   Again, the people that I recall being --
  11       having conversations with are Dimple Shah and Joseph
  12       Maher.
  13              Q.   And were you involved in these conversations
  14       that involved Dimple Shah and Joseph Maher relating to
  15       the underlying decisions referenced in this letter?
  16              A.   So again, to be very, very specific, the one
  17       conversation that I recall in which we discussed in
  18       some detail all of this is the conversation we've
  19       already referenced, the August conversation, the
  20       August meeting; right?         There may have been other
  21       conversations as well, but that's the conversation
  22       that I recall, the specific conversation that I
  23       recall.
  24              Q.   And you don't recall the dates of the other
  25       conversations other than the August 21 conversation

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   1       that you referenced?
   2              A.   I don't recall any other specific
   3       conversations, that's correct.
   4              Q.   What was the substance of the multiple
   5       conversations relying the underlying decisions
   6       relating to the letter?
   7                   MR. GARDNER:      Objection.          Calls for
   8       disclosure of information subject to the deliberative
   9       process privilege, as well as the attorney-client
  10       privilege.
  11                   I instruct the witness not to answer.
  12       BY MS. CHUANG:
  13              Q.   Besides the office of general counsel who
  14       else was involved in these conversations relying the
  15       underlying decisions referenced in this letter?
  16              A.   So again, I'm referring to a single meeting.
  17       A single meeting that we've already discussed.                  So
  18       we've already discussed who was present at that
  19       meeting.
  20              Q.   You also mentioned that there were other
  21       conversations.
  22              A.   No.   I said there may have been other
  23       conversations.      I don't have a specific recall of it.
  24              Q.   What is your basis for believing that there
  25       may have been other conversations?

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   1              A.   This was an important issue before the
   2       department.
   3              Q.   Why was it important to the department?
   4              A.   Because the department runs the program in
   5       the first instance, and because it was the secretary
   6       of Homeland Security who was faced with making a
   7       decision about its future.
   8              Q.   Do you know if the secretary -- the Acting
   9       Secretary consulted with anyone outside of DHS
  10       relating to the decision?
  11              A.   I don't know with whom she consulted.
  12              Q.   Did you have any discussions with anyone
  13       after receipt of this letter from Jeff Sessions about
  14       the letter?
  15              A.   I don't recall discussing the letter with
  16       anyone, no.
  17              Q.   Did you discuss with any of your staff?
  18              A.   Again, I don't recall any discussions of the
  19       letter.
  20                   MS. CHUANG:     I'd like to enter this next
  21       document as an exhibit.          It's the Complaint in the
  22       State of California, et al., V. the U.S. Department of
  23       Homeland Security, et al.           Case No. 17-cv-05235.
  24                   (Deposition Exhibit 5 was marked for
  25                   identification.)

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   1       BY MS. CHUANG:
   2              Q.   So I'm not going to ask you to review the
   3       entire document, but I will represent to you that this
   4       is the Complaint that the State of California and
   5       State of Maine, Maryland, and Minnesota filed against
   6       the U.S. Department of Homeland Security relating to
   7       the rescission of DACA, and it's one of the cases in
   8       which we are here today for.
   9                   If you could please turn to Document 1-5.
  10       It's Exhibit E.      Unfortunately, I don't have a
  11       specific page number to refer you to.
  12                   (A discussion was held off the record.)
  13                   MS. CHUANG:     If you want to take a moment to
  14       review Exhibit E.       It is the USCIS "Frequently Asked
  15       Questions" as of April 25, 2017 relating to questions
  16       about DACA.
  17                   (The witness reviewed Exhibit 5.)
  18                   THE WITNESS:      I don't intend to read the
  19       whole thing unless you think I should.
  20       BY MS. CHUANG:
  21              Q.   You don't need to read the whole thing.             I
  22       can point you to the specific pages that I'll be
  23       asking about.
  24              A.   Okay.
  25              Q.   Have you ever seen this document before?

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   1              A.   I believe I have.          I believe I've been on the
   2       USCIS website.
   3              Q.   When did you go on the USCIS website?
   4              A.   I don't recall.         It would have been after
   5       joining Homeland Security in July.
   6              Q.   Before the rescission?
   7              A.   Probably.
   8              Q.   Did you go on the USCIS as part of your
   9       getting up to speed on DACA?
  10              A.   I think I probably did, yes.
  11              Q.   Do you recall what specific web pages you
  12       looked at or documents?
  13              A.   I don't, but I believe I looked at this
  14       (indicating).
  15              Q.   Do you have any understanding of how DACA
  16       information is currently shared or not shared between
  17       the different agencies of DHS?
  18              A.   No, not really.         The program, as you know, is
  19       administered by USCIS.
  20              Q.   Have you asked anyone or sought that
  21       information?
  22              A.   No, not specifically.
  23              Q.   Do you know whether DACA information is used
  24       for immigration enforcement purposes?
  25              A.   So my understanding is that DACA is a

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   1       protection from enforcement action.
   2              Q.   And do you have an understanding of how the
   3       underlying information is protected or not protected?
   4              A.   I don't.
   5              Q.   Did you read the FAQs with respect to that
   6       specific question?
   7              A.   I don't recall.
   8              Q.   If you go to Page 5 of 23.            Question 19.    And
   9       that question states, "Will the information I share in
  10       my request for consideration of DACA be used for
  11       immigration enforcement purposes."
  12              A.   I'll read it.
  13                   (The witness reviewed the document.)
  14                   THE WITNESS:      Okay I've read it.
  15       BY MS. CHUANG:
  16              Q.   Had you read this particular question and
  17       answer before?
  18              A.   I believe I have.
  19              Q.   And what do you understand the information to
  20       be that's in this question?
  21              A.   You know, I'm not lawyer, nor am I involved
  22       in either administering the program or in enforcement
  23       of the immigration laws.           So I prefer not to give just
  24       my personal opinion.
  25              Q.   I would appreciate it if you could tell me

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   1       what your understanding of what is contained in this
   2       passage is.
   3              A.   Yeah.   So what it means is that generally
   4       speaking, people who enjoy the benefit of DACA enjoy
   5       deferred action from immigration removal, meaning that
   6       their specific information will not be shared for the
   7       purposes of renewal -- of removal.                 That's my
   8       understanding.      Again, I'm not a lawyer.             So you
   9       shouldn't take that as a DHS legal opinion about what
  10       that means.
  11              Q.   And do you understand under what
  12       circumstances information may be shared outside of
  13       those circumstances?
  14                   MR. GARDNER:      Objection.          Lack of foundation.
  15                   THE WITNESS:      I don't know.
  16       BY MS. CHUANG:
  17              Q.   If you could turn to the Exhibit B.                It's
  18       Document 1-2 of the same exhibit.
  19              A.   Okay.
  20              Q.   I'll give you a moment to review.
  21                   (The witness reviewed the document.)
  22                   THE WITNESS:      Okay.
  23       BY MS. CHUANG:
  24              Q.   Have you seen this document before?
  25              A.   I believe I have, yes.

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   1              Q.   When did you see it?
   2              A.   I believe I saw it -- I may have seen it -- I
   3       may have seen it in the clearance process before it
   4       was issued.     I certainly saw it after.
   5              Q.   What do you mean by "clearance process"?
   6              A.   So oftentimes, when documents are prepared,
   7       they are sent around for clearance of various entities
   8       to make sure that they're accurate.               So again, I don't
   9       specifically recall seeing this document in the
  10       clearance process.       I may have.          And I do recall
  11       seeing it certainly after it was issued.
  12              Q.   What type of documents are required to go
  13       through this clearance process?
  14              A.   So I'm not sure "required" is the proper
  15       word, but generally speaking, when the department
  16       issues paper, it goes through a clearance process to
  17       ensure that it is accurate.
  18              Q.   When you say, "accurate," what do you mean?
  19              A.   To make sure that it reflects the policy of
  20       the department, to make sure that it meets legal
  21       norms, privacy norms, all sorts of norms.
  22              Q.   As well, does it also include making sure
  23       that the underlying statements within that particular
  24       piece of paper are accurate?
  25              A.   Yes, to the best of anyone's ability to

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   1       determine, yes.
   2               Q.     Can you please walk me generally through the
   3       clearance process, what type of entities are involved?
   4       Things like that.
   5               A.     So it would depend on the nature of the
   6       document.        If you're issuing a document related to
   7       aviation security, that would be a different kind of a
   8       document than one that's related to cyber security.
   9       There would be different equities across the DHS
  10       enterprise that would have a specific interest in that
  11       issue, and so they would be brought in to that
  12       clearance process.
  13               Q.     Let's first take these specific FAQs.            So the
  14       document that we are currently discussing is the
  15       "Frequently Asked Questions:
  16                      "Rescission Of Deferred Action for Childhood
  17       Arrivals,
  18                      "Release date:     September 5, 2017."
  19                      I will refer to this document as "the
  20       rescission FAQs" for the purposes of this deposition.
  21       Okay?        Walk me through the clearance process of this
  22       particular document.
  23                      MR. GARDNER:     Objection.         Lack of foundation.
  24       Calls for speculation.
  25                      THE WITNESS:     So I don't know what the

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   1       clearance process was for this particular document.
   2       BY MS. CHUANG:
   3              Q.   You mentioned that you had seen this document
   4       as part of the clearance process; is that correct?
   5                   MR. GARDNER:      Objection.          Mischaracterizes
   6       the witness' testimony.
   7                   THE WITNESS:      So I mentioned that I have seen
   8       the document previously, and I said that I may have
   9       seen it during the clearance process and that I had
  10       certainly seen it after it was issued.
  11       BY MS. CHUANG:
  12              Q.   For documents of this nature, what is the
  13       clearance process?
  14              A.   So again, I'm not the originator of this
  15       document.     So I don't know what the specific clearance
  16       process was for this document.
  17              Q.   Do you know what entities are consulted as
  18       part of the clearance process?
  19              A.   So something like this, which is going out to
  20       the public, would probably have been cleared by
  21       certainly USCIS, since they are the owners, if you
  22       will, of the DACA program.            Probably the Office of
  23       Public Affairs, which manages the department's public
  24       posture.
  25                   Probably the office of the general counsel

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   1       for obvious reasons.        Those come to mind.
   2              Q.   Any other entities?
   3              A.   There may be other entities.
   4              Q.   And are these all internal DHS entities?
   5              A.   Yes.
   6              Q.   Does the clearance process ever involve
   7       clearance through other non-DHS entities?
   8              A.   For documents being issued by the Department
   9       of Homeland Security, not that I'm aware of.
  10              Q.   So you stated that you don't know what the
  11       exact clearance process was for this particular
  12       rescission FAQ document.
  13              A.   That's correct.
  14              Q.   Do you know if this document was revised or
  15       changed in any way throughout the clearance process?
  16              A.   I don't.
  17              Q.   Did you review this as part of the clearance
  18       process?
  19              A.   Again, I don't recall.            I may have seen it
  20       during the clearance process.              I certainly saw it upon
  21       its issuance.
  22              Q.   Approximately when do you think you may have
  23       seen this during the clearance process?
  24                   MR. GARDNER:      Objection.          Misstates the
  25       witness' prior testimony.

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   1                    THE WITNESS:     Could you repeat the question?
   2       BY MS. CHUANG:
   3               Q.   Approximately when do you think you may have
   4       seen this document during the clearance process?
   5               A.   Again, I don't recall specifically seeing it
   6       during the clearance process.              So it would be very
   7       difficult for me to say at what point I saw it.                  But
   8       to help you, the office of policy, when we're called
   9       upon to review documents, we would see them fairly
  10       late in the review process.
  11               Q.   Do the entities as part of the clearance
  12       process typically make recommendations as to changes
  13       or revisions to documents?
  14               A.   They might.
  15               Q.   And where are those changes or revisions
  16       provided to?
  17               A.   Generally, to the originator of the document.
  18               Q.   So the particular author of the document or
  19       the department within which the author is?
  20                    MR. GARDNER:     Objection.          Compound.
  21       BY MS. CHUANG:
  22               Q.   So I can split that question, if you would
  23       like.
  24               A.   Thank you.
  25               Q.   So does the changes or revisions, are they

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   1       provided to the originator of the document?                  The
   2       author of the document?
   3              A.   Again, I don't know exactly how this document
   4       was created or cleared, but that would be a typical
   5       process, yes.
   6              Q.   And are those changes or revisions provided
   7       to the department within which the author is staffed?
   8              A.   I guess I don't understand the difference.
   9              Q.   If you don't know the answer, you can just
  10       say you don't know.
  11              A.   I don't know.      Thank you.
  12              Q.   Did the Duke memo go through the clearance
  13       process?
  14              A.   I don't recall seeing it go through a
  15       clearance process, but I don't know.
  16              Q.   Would you be involved in the clearance
  17       process of the Duke memo?
  18              A.   That's a good question.               Normally not, I
  19       suppose.     Normally when -- you know, there are two
  20       kinds of memos.      Memos that go up a chain, and memos
  21       that come down a chain; right?               So I would more
  22       typically be brought into the clearance process of a
  23       memo going up the chain to the secretary rather than a
  24       memo that's coming down the chain from the secretary.
  25              Q.   So you classified the Duke memo as a memo

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   1       that goes down the chain; is that correct?
   2              A.   Well, it's addressed from her to various
   3       people who work for her.
   4              Q.   Do you know what the clearance process for
   5       this particular type of memo that goes down the chain
   6       is?
   7              A.   I don't.
   8              Q.   The rescission FAQs assist in implementing
   9       the Duke memo; is that correct?
  10              A.   I would say they are exactly what they
  11       pretend to be.      So they're the answers to questions
  12       that people are going to have about the program.
  13              Q.   Why would the rescission FAQs be subject to a
  14       potential clearance process while the Duke memo is
  15       not?
  16                   MR. GARDNER:      Objection.          Calls for
  17       speculation.     Lack of foundation.
  18                   THE WITNESS:      I don't know.          And again, what
  19       I told you was speculation in any case.                 So it would
  20       be difficult for me to then get into detail about the
  21       difference when I was speculating to begin with.
  22       BY MS. CHUANG:
  23              Q.   Do you know if the Duke memo went through a
  24       process to ensure the accuracy of the Duke memo with
  25       respect to reflecting the policy of the department?

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   1              A.   Again, I don't know what the process was.
   2              Q.   Do you know if the Duke memo went through a
   3       process to ensure the accuracy of the memo with
   4       respect to meeting legal standards?
   5              A.   I don't know.
   6              Q.   Do you know if the Duke memo went through a
   7       process to ensure the accuracy of it with respect to
   8       meeting privacy standards?
   9              A.   I don't know.
  10              Q.   Do you know if the Duke memo went through a
  11       process to ensure the accuracy of it with respect to
  12       ensuring the underlying statements in the Duke memo
  13       were accurate?
  14              A.   Again, I don't know what process that memo
  15       went through.
  16              Q.   Were you involved in the drafting at all of
  17       the rescission FAQs?
  18              A.   Again, I may have seen them in the clearance
  19       process which would have given me an opportunity to
  20       become involved, but I don't recall having any input
  21       into the FAQs because again, the program is owned by
  22       USCIS.
  23              Q.   Did you provide any revisions or changes to
  24       that FAQs?
  25              A.   Not that I recall.

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   1              Q.   Do you know who created the first draft of
   2       the FAQs, the rescission FAQs?
   3              A.   I don't.
   4              Q.   Do you know when the first draft of the
   5       rescission FAQs were created?
   6              A.   I don't.
   7              Q.   Do you know if any other entity besides DHS
   8       was involved in the drafting of the rescission FAQs?
   9              A.   I don't.
  10              Q.   Do you know if The White House was involved
  11       in the drafting of the rescission FAQs?
  12              A.   I don't know.
  13              Q.   DOJ?
  14              A.   I don't know.
  15              Q.   Members of Congress?
  16              A.   I don't know.
  17              Q.   State or local government officials?
  18              A.   I don't know.
  19              Q.   Immigration organizations?
  20              A.   I don't know.
  21              Q.   Any other members of the public?
  22              A.   Not that I'm aware of.
  23              Q.   Do you know if any drafts of the rescission
  24       FAQs were sent outside of DHS?
  25              A.   Not that I'm aware of.

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   1                   MR. GARDNER:      Would now be a good time for
   2       our second break?
   3                   MS. CHUANG:     I have about 10 more minutes,
   4       and then we can take the second break, if that's okay
   5       with you.
   6                   MR. GARDNER:      Okay.
   7                   MS. CHUANG:       Thank you.          I appreciate it.    I
   8       know it's been a while.
   9              Q.   Going back to the rescission FAQs, if you go
  10       to Question 8.      It's on Page 3.           And the question is
  11       will USCIS share the personal information of
  12       individuals whose pending requests are denied
  13       proactively with ICE for enforcement purposes?"
  14              A.   I'll read it.
  15                   (The witness reviewed the document.)
  16                   THE WITNESS:      Okay.
  17       BY MS. CHUANG:
  18              Q.   Do you know who drafted this particular
  19       answer?
  20              A.   I don't.
  21              Q.   Had you seen this as part of your
  22       potential -- your review during the clearance process?
  23                   MR. GARDNER:      Objection.          Mischaracterizes
  24       the witness' prior testimony.
  25                   THE WITNESS:      So again, I have seen this

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   1       document before.       I certainly saw it upon issuance.               I
   2       don't recall whether I saw it during the clearance
   3       process or not.
   4       BY MS. CHUANG:
   5              Q.   Do you recall seeing this particular --
   6       reading this particular answer when you had previously
   7       reviewed it before issuance?
   8                   MR. GARDNER:      Objection.          Mischaracterizes
   9       the witness' prior testimony.
  10       BY MS. CHUANG:
  11              Q.   When you had reviewed the document before
  12       issuance, did you read this particular --
  13              A.   So again, just to be very, very clear, I said
  14       I may have seen the document during the clearance
  15       process.     I certainly did see it upon issuance.              So I
  16       can't speculate about having seen a particular
  17       question during a clearance process that I don't
  18       recall.
  19              Q.   Are you in possession of any documents that
  20       discuss how DACA information will be protected from
  21       disclosure to ICE or CBP now that DACA has been
  22       rescinded?
  23              A.   Not that I'm aware of.
  24              Q.   Do you know of any such documents?
  25              A.   I'm not aware of any such documents.

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   1               Q.   After DACA was rescinded, did DHS provide to
   2       any employees instructions on how to handle current
   3       DACA recipients when enforcement agents encounter
   4       them?
   5               A.   I'm not aware of any such instructions.
   6               Q.   Did DHS provide to any employees instructions
   7       as to how to handle DACA recipients whose deferred
   8       action will expire when enforcement agents encounter
   9       them after the rescission of DACA?
  10               A.   I'm not aware of any such instructions.
  11               Q.   Are you aware of a DHS memo that was
  12       distributed to border agents after the rescission?
  13               A.   I'm not aware of such a document.
  14               Q.   You're not aware of a DHS memo that provided
  15       guidance on how to treat DACA recipients when they
  16       encounter them?
  17               A.   I don't recall such a document.
  18               Q.   Have you seen any documents that discuss how
  19       DACA information will be used after the rescission?
  20               A.   I've seen this document.
  21               Q.   Is this the only document that you've seen
  22       that discusses --
  23               A.   The only one what I recall seeing.
  24               Q.   Are you aware of any plans to use DACA
  25       information for immigration enforcement purposes?

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   1              A.   No.
   2              Q.   Have you had any discussions with any DHS
   3       employees relating to the use of DACA information for
   4       immigration enforcement purposes?
   5              A.   So I believe --
   6                   MR. GARDNER:      I'm going to object and
   7       instruct the witness not to answer.               The witness could
   8       answer that question with a "yes" or "no," but beyond
   9       that, that would be subject to deliberative process
  10       privilege.
  11                   THE WITNESS:      Sorry.       Repeat the question.
  12       BY MS. CHUANG:
  13              Q.   Have you had any discussions with any DHS
  14       employees relating to the use of DACA information for
  15       immigration enforcement purposes?
  16              A.   Yes.
  17              Q.   When did those discussions take place?
  18              A.   Probably in August.
  19              Q.   How many conversations were there?
  20              A.   I recall one.
  21              Q.   Was this in person or via telephone?
  22              A.   In person.
  23              Q.   Was it separate from the August 21 meeting
  24       that we have discussed previously?
  25              A.   No.

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   1              Q.   So this discussion was part of the August 21
   2       meeting?
   3              A.   If I understand correctly, yes.
   4              Q.   What was discussed specifically with respect
   5       to the use of DACA information for immigration
   6       enforcement purposes?
   7                   MR. GARDNER:      Objection.          That implicates the
   8       deliberative process privilege.
   9                   I instruct the witness not to answer.
  10       BY MS. CHUANG:
  11              Q.   Who specifically discussed the use of DACA
  12       information for immigration enforcement purposes?
  13              A.   It was part of the general discussion to
  14       inform the Acting --
  15                   MR. GARDNER:      Objection.          She's asking for
  16       the identity of names, which we are not asserting
  17       privilege over.      To the extent that you want to get
  18       into substance, we do assert that that is subject to
  19       the deliberative process privilege.
  20                   And we instruct you not to answer.
  21                   MS. CHUANG:     No speaking objections, please.
  22                   MR. GARDNER:      Counsel, I'm trying to help the
  23       witness respond to your questions in a way that does
  24       not implicate privilege.
  25                   MS. CHUANG:     If he misunderstand my question,

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   1       he can ask me to rephrase it or repeat it.
   2                  THE WITNESS:       So maybe we should have a
   3       discussion here about the role of counsel and --
   4       because there seems to be a difference of opinion
   5       between --
   6                  MR. GARDNER:       She's asking you for the
   7       identify of individuals.           You may identify those
   8       individuals.      The substance of those conversations are
   9       subject to deliberative process privilege, and I'll
  10       instruct you not to answer.
  11                  So can you identify for her the individuals?
  12                  MS. CHUANG:      Please, no speaking objections.
  13       I've informed the witness of the role of counsel.
  14                  The role of counsel is to object when he
  15       believes that an objection is necessary.              If he
  16       instructs you not to answer, you may not answer.                 But
  17       if he does not instruct you not to answer, then you
  18       must answer the question even if he objects.               He is
  19       also not allowed to provide speaking objections to
  20       counsel you on the specifics of why he is providing
  21       the objection.
  22                  MR. GARDNER:       However, I can counsel him as
  23       to the scope of privilege, which is exactly what's
  24       going on right now.        Now, if you want, we can take a
  25       break and we can talk off the record about the scope

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   1       of privilege, or we can try to handle this right here.
   2       It's up to you.
   3       BY MS. CHUANG:
   4              Q.   Would it help if I repeated the question?
   5              A.   I think it's best to drill down on the
   6       process issue that we have here.                  So I am a bit
   7       confused.
   8                   MR. GARDNER:      Let me make a suggestion.            Why
   9       don't we take that break.           Let me give him some help.
  10                   MS. CHUANG:     There is a question pending,
  11       though.
  12              Q.   So I would appreciate it if I can repeat the
  13       question and if you could answer it, and then we can
  14       take a break.      Is that okay?
  15              A.   I'm not sure because I'm not sure who
  16       arbitrates when there's an objection.
  17                   MR. GARDNER:      Let me make a suggestion.            Let
  18       her ask the question, and then we'll take it from
  19       there.
  20       BY MS. CHUANG:
  21              Q.   Who specifically discussed the use of DACA
  22       information for immigration enforcement purposes at
  23       the August 21 meeting?
  24              A.   The people who were there participating in
  25       the meeting as part of the process of informing the

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   1       acting secretary about the implications of a possible
   2       end of DACA.
   3              Q.   Did you specifically discuss the use of DACA
   4       information for immigration enforcement purposes at
   5       the August 21 meeting?
   6              A.   No, I don't recall discussing that.
   7              Q.   Did Thomas Homan discuss the use of
   8       information for immigration enforcement purposes at
   9       the August 21 meeting?
  10              A.   I don't recall specifically who discussed it,
  11       but I do recall that there was a discussion.
  12              Q.   What was the specific discussion relating to
  13       DACA information being used for immigration
  14       enforcement purposes?
  15                   MR. GARDNER:      Objection.
  16                   Instruct the witness not to answer.
  17                   Calls for the disclosure of information
  18       subject to the deliberative process privilege and the
  19       attorney-client privilege.
  20       BY MS. CHUANG:
  21              Q.   Were there any other conversations or
  22       meetings outside of this particular meeting in which
  23       the use of DACA information was discussed?
  24              A.   Not that I'm aware of.
  25              Q.   So you personally didn't participate in any

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   1       other conversations; is that correct?
   2              A.   Not that I recall.
   3              Q.   And you are not aware of others participating
   4       in any such conversations; is that correct?
   5              A.   Not that I'm aware of.
   6              Q.   Do you believe that DACA information should
   7       be shared by USCIS with ICE or CBP for immigration
   8       enforcement purposes?
   9              A.   You're asking me for my personal opinion?
  10              Q.   I'm asking if you believe...
  11              A.   Well, I believe the rules and policies of the
  12       Department of Homeland Security should be followed and
  13       enforced.
  14              Q.   Can you please provide an answer to my
  15       question.
  16              A.   So repeat the question.
  17              Q.   Do you believe that DACA information should
  18       be shared by USCIS with ICE or CBP for immigration
  19       enforcement purposes?
  20              A.   Not into the current situation, no.
  21              Q.   What do you mean by "current situation"?
  22              A.   Not into the current situation of DACA.
  23              Q.   Do you mean the fact that DACA is currently
  24       not yet formally rescinded?
  25              A.   Right.   So if you read the frequently asked

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   1       questions, it addresses that.
   2              Q.   I'm a bit confused.          Do you believe that DACA
   3       information should be shared by USCIS with ICE or CBP
   4       for immigration enforcement purposes?
   5                   MR. GARDNER:      Objection.          Asked and answered.
   6                   THE WITNESS:      So I don't believe it should be
   7       proactively provided to law enforcement agencies for
   8       the purpose of immigration enforcement proceedings
   9       unless the requester poses a risk to national security
  10       or public safety, or meets the criteria for the
  11       issuance of a notice to appear or a referral to ICE
  12       under the criteria.
  13       BY MS. CHUANG:
  14              Q.   What's your understanding of what
  15       "proactively" means?
  16                   MR. GARDNER:      Objection.          Calls for
  17       speculation.
  18                   MS. CHUANG:     I mean he just stated what his
  19       belief was.
  20                   THE WITNESS:      I stand by what I said.           That's
  21       my belief.
  22       BY MS. CHUANG:
  23              Q.   What is your understanding of what
  24       "proactively" means?
  25                   MR. GARDNER:      Same objection.

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   1                   THE WITNESS:      I believe proactively means
   2       what it says, is that that information should not be
   3       shared proactively except for the reasons stated in
   4       the frequently asked questions.               I don't have another
   5       answer beyond that.
   6       BY MS. CHUANG:
   7              Q.   Are you aware of any plans to use DACA
   8       information for immigration enforcement purposes after
   9       March 5?
  10                   MR. GARDNER:      Objection.          Calls for
  11       disclosure of information subject to the deliberative
  12       process privilege.
  13                   I instruct the witness not to answer.
  14                   MS. CHUANG:     The question was if he was
  15       aware.
  16                   MR. GARDNER:      You can answer "yes" or "no."
  17                   THE WITNESS:      I'm not aware.
  18       BY MS. CHUANG:
  19              Q.   Are you aware of any plans to begin deporting
  20       DACA recipients as their deferred action expires?
  21              A.   I'm not.
  22              Q.   After March 5?
  23              A.   I'm not aware.
  24                   MS. CHUANG:     Should we take a 10-minute
  25       break?

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   1                   MR. GARDNER:       Sure.
   2                   MS. CHUANG:      Thank you very much.          You're
   3       holding up great.
   4                   THE VIDEOGRAPHER:          We're off the record at
   5       10:47.
   6                   (A recess was taken from 10:47 a.m.
   7                   to 11:00 a.m.)
   8                   THE VIDEOGRAPHER:          We're now back on record
   9       at 11:00.
  10
  11                                   EXAMINATION
  12       BY MR. BERENGAUT:
  13              Q.   Good morning, Ambassador.              My name is Alex
  14       Berengaut.     I am with Covington & Burling, and we
  15       represent the University of California and Janet
  16       Napolitano.        And I'm going to ask some questions
  17       following up on Christine's questions.
  18                   Earlier in your deposition you used the term
  19       "policy goal."        Do you remember that?
  20              A.   I don't, but that's okay.
  21              Q.   It's a generic term you understand?
  22              A.   "Policy goal"?
  23              Q.   Yes.
  24              A.   Sure.
  25              Q.   In determining the department's policy goals,

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   1       would it be fair to say you weigh the costs and
   2       benefits of policy options?
   3              A.   Generally speaking, yes.
   4              Q.   And the more the benefits of an option
   5       outweigh the costs, the better a policy it is?
   6              A.   Oftentimes, yes.
   7              Q.   Are there any times when a policy option is
   8       worse even though its benefits outweigh its costs more
   9       than any other option?
  10              A.   Well, there may be.          I don't know.        Political
  11       science discussion.
  12              Q.   In your career in government, have you ever
  13       encountered such a situation?
  14              A.   Generally speaking, you try to do the right
  15       thing.
  16              Q.   I appreciate that.          My question was about
  17       whether you'd ever encountered a situation when in
  18       weighing different policy options the best option was
  19       one where its costs exceeded its benefits more than
  20       any other option?
  21              A.   Maybe.   I don't recall a specific incident
  22       like that.     I'm sure you're going to take me there.
  23              Q.   So in considering the rescission of DACA, one
  24       policy option was to rescind DACA; is that correct?
  25                   MR. GARDNER:      Objection.          Calls for

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   1       disclosure of information subject to deliberative
   2       process privilege.
   3                   Instruct the witness not to answer.
   4       BY MR. BERENGAUT:
   5              Q.   Prior to the rescission of DACA, DACA was a
   6       policy of the DHS.       Is that fair to say?
   7              A.   Yes.
   8              Q.   Did that policy have policy benefits and
   9       costs?
  10                   MR. GARDNER:      Objection.          Calls for
  11       speculation.       Lack of foundation.
  12                   THE WITNESS:      Repeat the question, please.
  13       BY MR. BERENGAUT:
  14              Q.   Did DACA as a policy have costs and benefits?
  15              A.   Those are matters of opinion.
  16              Q.   Let me ask my question again.              Did DACA as a
  17       policy have costs and benefits?
  18                   MR. GARDNER:      Same objections.
  19                   THE WITNESS:      I'm sure it did.
  20       BY MS. CHUANG:
  21              Q.   Do you have an understanding of what some of
  22       the benefits of DACA as a policy are?
  23              A.   So there were clear benefits of DACA to the
  24       beneficiaries of DACA.
  25              Q.   Right.    You already testified about the

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   1       specific benefits that were conveyed to the
   2       beneficiaries of the program.              I'm asking about DACA
   3       as a policy --
   4              A.   Right.
   5              Q.   -- in connection with this cost and benefit
   6       analysis that we were talking about a minute ago.                    My
   7       question is do you have an understanding of whether
   8       DACA has policy benefits?
   9                   MR. GARDNER:      Objection.          Lack of foundation.
  10                   THE WITNESS:      Yeah.      I don't have a clear
  11       understanding of what those policy benefits might be.
  12       I certainly understand the human benefits of DACA to
  13       the beneficiaries of the program.
  14       BY MR. BERENGAUT:
  15              Q.   Well, let me give you an example.              Are you
  16       aware that DACA beneficiaries are employed often?
  17              A.   Yes.
  18              Q.   And through their employment they contribute
  19       economic activity to this country?
  20              A.   Yes.
  21              Q.   Would you say that that economic activity is
  22       a benefit of the DACA program?
  23              A.   Yes.
  24              Q.   Can you think of any other policy benefits of
  25       the DACA program?

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   1                    MR. GARDNER:      Objection.          Lack of foundation.
   2                    THE WITNESS:      No, not at the moment.
   3       BY MR. BERENGAUT:
   4               Q.   Do you have an understanding of any policy
   5       costs of the DACA program?
   6               A.   Yes.
   7               Q.   What is that understanding?
   8               A.   Again, you have a large body of people who
   9       are in legal limbo, and that's not a good policy.
  10               Q.   Do you have an understanding of any other
  11       policy costs of the DACA program?
  12               A.   No.    I'd be happy to answer questions, but I
  13       don't, off the top of my head, know.
  14               Q.   Now, this policy cost that you described of
  15       individuals being in legal limbo, have you seen any
  16       documents relating to that policy cost?
  17               A.   No.
  18               Q.   Have you had any communications with anyone
  19       else at DHS relating to that policy cost?
  20               A.   No.
  21               Q.   To your knowledge, was that policy cost
  22       considered in connection with the decision to rescind
  23       DACA?
  24                    MR. GARDNER:      Objection.          Calls for
  25       disclosure of information subject to deliberative

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   1       process privilege.
   2                   I instruct the witness not to answer.
   3                   MR. BERENGAUT:       Sorry.       I was receiving a
   4       note to adjust the microphone on my tie.
   5                   MR. GARDNER:      Everyone's a critic.
   6                   MR. BERENGAUT:       Is that better?
   7                   THE VIDEOGRAPHER:         Yes.        Thank you.
   8                   MR. BERENGAUT:       Thank you.
   9              Q.   Let me ask you about some other policy
  10       benefits of DACA.       Are you aware that DACA recipients
  11       serve in this country's armed forces?
  12              A.   Yes.
  13              Q.   Would you say their service is a policy
  14       benefit of DACA?
  15              A.   We certainly thank them for their service,
  16       and anyone who serves in our military deserves our
  17       gratitude.
  18       BY MR. BERENGAUT:
  19              Q.   Can you think of any other -- now that we've
  20       had a couple of other examples, any other policy
  21       benefits of DACA?
  22              A.   Not off the top of my head.
  23              Q.   Do you have an understanding of what
  24       "litigation risk" is?
  25              A.   Some understanding.

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   1              Q.   What is your understanding?
   2              A.   Simply that.      That policy may be at the risk
   3       of litigation.
   4              Q.   And when you earlier described what you
   5       called the "threat to DACA," would that be an example
   6       of litigation risk, in your understanding?
   7              A.   That's what I was referring to.
   8              Q.   Setting aside DACA, are you aware of any
   9       other existing policy in your service in government
  10       that was rescinded because of litigation risk?
  11              A.   Nothing occurs to me.
  12              Q.   Are you aware of administration policy goals
  13       in the immigration context apart from the rescission
  14       of DACA?
  15              A.   Yes.
  16              Q.   What understanding do you have of those
  17       goals?
  18              A.   I think the administration's general goals
  19       related to administration emphasize the enforcement of
  20       our laws.     That's the best way to describe the
  21       administration's approach towards immigration.
  22              Q.   Are you aware of an administrative --
  23       administration policy goal of constructing a wall on
  24       the border between the United States and Mexico?
  25              A.   I am.

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   1               Q.   To your knowledge, were these other
   2       administration goals in the immigration context
   3       considered in connection with the decision to rescind
   4       DACA?
   5                    MR. GARDNER:     Objection.           Calls for
   6       disclosure of information subject to deliberative
   7       process privilege.
   8                    Instruct the witness not to answer.
   9       BY MR. BERENGAUT:
  10               Q.   To your knowledge, was the administration
  11       goal of constructing a wall on the border between the
  12       United States and Mexico considered in connection with
  13       the decision to rescind DACA?
  14                    MR. GARDNER:     Objection.           Calls for
  15       disclosure of information subject to deliberative
  16       process privilege.
  17                    I instruct the witness not to answer.
  18       BY MR. BERENGAUT:
  19               Q.   If we could go back to the administrative
  20       record exhibit, which I believe is Exhibit 1.                   It's
  21       the document you have right in front of you.                   And if
  22       we could go back to what --
  23                    MR. GARDNER:     Exhibit 3?
  24                    MR. BERENGAUT:      I'm sorry.          Was the
  25       administrative record Exhibit 3?                  Yeah.   Exhibit 3.

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   1               Q.     If you could go back to the -- let's see
   2       here.        If we can go back to what we were previously
   3       calling the Duke memo, which is on Page -252.
   4       Starting on Page -252.
   5                      MR. GARDNER:     It may be easier if you take
   6       the binder clip off.          It's the very back here
   7       (indicating).
   8                      You said, "the Duke memo"?
   9                      MR. BERENGAUT:     Yes, please.     Starting on
  10       Page -252.
  11                      MR. GARDNER:     Got it.
  12       BY MR. BERENGAUT:
  13               Q.     And if you could turn in particular to -255
  14       I'd like to ask you about what is the third bullet on
  15       that page.        So if you'd like to take a minute to look
  16       at that, that's fine.
  17                      (The witness reviewed the document.)
  18                      THE WITNESS:     Okay.
  19       BY MR. BERENGAUT:
  20               Q.     To your knowledge, was the topic covered in
  21       this third bullet, which just for purposes of our
  22       transcript I'll read into the record here.              "The
  23       Department will adjudicate on an individual
  24       case-by-case basis properly filed pending DACA renewal
  25       requests and associated applications for employment

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   1       authorization documents from current beneficiaries
   2       that have been accepted by the Department as of the
   3       date of this memorandum and from current beneficiaries
   4       whose benefits will expire between the date of this
   5       memorandum and March 5, 2018 that have been accepted
   6       by the Department as of October 5, 2017."
   7                   Did I read that correctly?
   8              A.   I believe you did.
   9              Q.   Did the subject matter of this bullet come up
  10       during the August meeting that you were discussing
  11       with my colleague earlier in this deposition?
  12                   MR. GARDNER:      Objection.          Calls for
  13       disclosure of information subject to deliberative
  14       process privilege.
  15                   I instruct the witness not to answer.
  16       BY MR. BERENGAUT:
  17              Q.   Do you have an understanding of whether DACA
  18       recipients receive communications from DHS in
  19       anticipation of their renewal deadlines?
  20              A.   I don't.
  21              Q.   You don't know whether they receive such
  22       communications one way or another?
  23              A.   I don't.
  24              Q.   Are you aware of any discussions within DHS
  25       regarding whether the October 5, 2017 deadline would

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   1       be extended?
   2              A.   Yes.
   3              Q.   What is your understanding of those
   4       discussions?
   5                   MR. GARDNER:      Objection.          Calls for the
   6       disclosure of information subject to the deliberative
   7       process privilege.
   8                   I instruct the witness not to answer.
   9       BY MR. BERENGAUT:
  10              Q.   Let's go through the same exercise we've done
  11       earlier today.      Can you please identify the
  12       individuals you are aware of who participated in those
  13       discussions?
  14              A.   I was present at such a discussion.              I
  15       believe Acting Secretary Duke was present.                 I believe
  16       USCIS was present.       I believe the office of general
  17       counsel was present, and there would have been
  18       individuals from the Secretary's front office present
  19       as well.
  20              Q.   It sounds like you're referencing an
  21       in-person, physical meeting; is that right?
  22              A.   Yes.
  23              Q.   Do you remember when that took place?
  24              A.   I don't.
  25              Q.   Was it a different meeting from the meeting

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   1       in August that we've been talking about?
   2               A.   So I certainly recall such a discussion.
   3       Whether it was part of the same meeting or a different
   4       meeting, I believe it was part of the same meeting.
   5               Q.   Now, to be clear, I'm not asking now
   6       specifically about the decision to set the October 5
   7       deadline in the first instance.               I asked about that.
   8       It was objected to.
   9                    My question now is about discussions
  10       regarding an extension of that deadline once it was
  11       set.
  12               A.   Yes, I believe there was a separate meeting
  13       about extension of DACA.           Now, whether it was on the
  14       margins of another meeting or it was a meeting called
  15       specifically for that purpose, I don't recall, but I
  16       do recall an in-person meeting and a discussion of
  17       that.
  18               Q.   Do you recall whether that meeting took place
  19       after the September 5 announcement of the rescission
  20       of DACA?
  21               A.   I believe it did.
  22               Q.   You mentioned that the people who
  23       participated in that meeting were Acting Secretary
  24       Duke, and then you said, "USCIS."                 Do you remember who
  25       specifically from USCIS participated in it?

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   1              A.   I don't.
   2              Q.   You also said that the office of the general
   3       counsel was present.        Do you remember who from the
   4       general counsel's office was present?
   5              A.   I don't, but generally speaking, in
   6       discussions related to DACA, either Joseph Maher or
   7       Dimple Shah were generally present.
   8              Q.   You also mentioned individuals from the
   9       Secretary's front office.           Same question.     Do you
  10       remember who specifically?
  11              A.   I don't.    I don't remember specifically who
  12       was there.
  13              Q.   How long did this meeting last?
  14              A.   So again, I don't recall whether this was a
  15       stand-alone meeting or on the margins for a meeting
  16       called for another purpose where this came up, but
  17       that discussion of renewal probably would have lasted
  18       20 minutes, half an hour, something like that.
  19              Q.   Was there anyone who participated in that
  20       discussion who was not from DHS?
  21              A.   No.
  22              Q.   To your knowledge, did anyone from The White
  23       House provide input into the decision about whether
  24       the October 25, 2017 deadline would be extended?
  25              A.   Not to my knowledge.

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   1              Q.   What about the Department of Justice?
   2              A.   Not to my knowledge.
   3              Q.   What about from any other organization apart
   4       from DHS?
   5              A.   Not to my knowledge.
   6              Q.   Now, during that discussion about whether to
   7       extend the October 5 deadline, were there any other
   8       topics relating to DACA that were discussed?               And
   9       again, I'm only asking at a general level.
  10              A.   Not to my recollection.
  11              Q.   So that discussion was whether it was a
  12       stand-alone meeting or sidelines meeting, that was
  13       exclusively focused on this October 5 deadline?
  14              A.   That's my recollection.
  15              Q.   Apart from the meeting in August which you
  16       spoke about, this discussion regarding October 5, were
  17       there any other meetings that you participated in
  18       regarding the rescission of DACA?
  19              A.   So as I've said, I don't recall any specific
  20       meetings, but there may well have been.
  21              Q.   I'm just wondering whether this recollection
  22       about the discussion in connection with the October 5
  23       deadline maybe jogs your memory about some other
  24       discussions that you may have participated in?
  25              A.   So I don't have a recollection of any other

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   1       specific meetings.
   2              Q.   We've talked about policy goals, and I'd like
   3       to ask a question about political goals.                  Do you know
   4       what a "political goal" is?
   5              A.   Why don't you explain to me what you mean by
   6       "political goal."
   7              Q.   An example of a political goal would be to
   8       win an election.       Is that an example that is
   9       consistent with your understanding of that term?
  10              A.   Yes.
  11              Q.   Do you have an understanding of what a
  12       political goal is?
  13              A.   I believe I do.
  14              Q.   What is that understanding?
  15              A.   That would be -- sorry.               We've been here a
  16       long time.     Something like what you described.
  17       Something that you would achieve politically, such as
  18       winning an election.
  19              Q.   To your knowledge, during the discussions
  20       related to the rescission of DACA in which you
  21       participated, did anyone discuss any political goals?
  22                   MR. GARDNER:      Objection.           Calls for
  23       disclosure of information subject to deliberative
  24       process privilege.
  25                   I instruct the witness not to answer.

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   1       BY MR. BERENGAUT:
   2              Q.   Have you seen any documents relating to the
   3       rescission of DACA that referenced political goals?
   4              A.   No.    I don't recall any such document.
   5              Q.   Are you aware -- this goes back to what I was
   6       asking about the administration's policy objectives in
   7       the immigration context.           As part of those policy
   8       objectives, the administration has an agenda for
   9       legislation with, like, Congress to enact; is that
  10       correct?
  11              A.   Yes.
  12              Q.   To your knowledge, did the administration's
  13       legislative agenda before Congress come up in any
  14       discussions relating to the rescission of DACA?
  15                   MR. GARDNER:      Objection.          Calls for
  16       disclosure of information subject to deliberative
  17       process privilege.
  18                   Instruct the witness not to answer.
  19       BY MR. BERENGAUT:
  20              Q.   Have you seen any document relating to the
  21       rescission of DACA that discusses the administration's
  22       legislative agenda?
  23              A.   No.
  24              Q.   Earlier in your deposition you talked about
  25       the voices within DHS that fed into the

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   1       decision-making process.           Do you remember that?
   2              A.   I do.
   3              Q.   Let me ask you about a few other voices.              Are
   4       you aware that DACA recipients are employees of
   5       companies in this country?
   6              A.   I am.
   7              Q.   To your knowledge, were any of their
   8       employers consulted in connection with the decision to
   9       rescind DACA?
  10              A.   I'm not aware of that.
  11              Q.   Are you aware that DACA recipients are
  12       employers of other individuals in this country?
  13              A.   Stand to reason.
  14              Q.   Are you aware of any -- are you aware of
  15       whether any of their employees were consulted in
  16       connection with the decision to rescind DACA?
  17              A.   I'm not aware of any such consultation.
  18              Q.   Are you aware that DACA recipients are
  19       students in this country?
  20              A.   I am.
  21              Q.   To your knowledge, were any of their schools
  22       consulted in the decision to rescind DACA?
  23              A.   Not to my knowledge.
  24              Q.   Are you aware that DACA recipients are
  25       teachers in this country?

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   1               A.   I'm not aware of specific cases, but again,
   2       stand to reason.
   3               Q.   To your knowledge, were any of their students
   4       consulted in connection with the decision to rescind
   5       DACA?
   6               A.   Not to my knowledge.
   7               Q.   Are you aware that DACA recipients are
   8       members of faith communities in this country?
   9               A.   Again, not specifically, but stands to
  10       reason.
  11               Q.   To your knowledge, were any of those other
  12       faith communities consulted in connection with the
  13       decision to rescind DACA?
  14               A.   Not that I'm aware of.
  15               Q.   Are you aware that DACA recipients are
  16       doctors in this country?
  17               A.   Again, not specifically, but may well be.
  18               Q.   To your knowledge, were any of their patients
  19       consulted in connection with their decision to rescind
  20       DACA?
  21               A.   Not to my knowledge.
  22               Q.   You mentioned earlier that you're aware that
  23       DACA recipients serve in this country's armed forces?
  24               A.   Yes.
  25               Q.   To your knowledge, were any of their military

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   1       commanders consulted in connection with the decision
   2       to rescind DACA?
   3              A.   Not to my knowledge.
   4              Q.   Are you aware that DACA recipients are
   5       members much families in this country?
   6              A.   That would stand to reason.
   7              Q.   To your knowledge, were any of their family
   8       members consulted in connection with the decision to
   9       rescind DACA?
  10              A.   Not to my knowledge.
  11              Q.   Do you have an understanding of whether DACA
  12       recipients receive mental -- let me strike that.
  13                   Do you have an understanding of whether any
  14       DACA recipients in this country receive mental health
  15       counseling in connection with anxiety?
  16              A.   I'm not aware of that, no.
  17              Q.   What about other mental health conditions?
  18              A.   I'm not aware of that.
  19              Q.   Do you have any reason to doubt that some
  20       DACA recipients in this country receive mental health
  21       counseling for anxiety and other mental health
  22       conditions?
  23              A.   I would have no reason to doubt that.
  24              Q.   To your knowledge, were any mental healthcare
  25       providers consulted in connection with the decision to

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   1       rescind DACA?
   2              A.   Not to my knowledge.
   3              Q.   Do you have an understanding of whether the
   4       rescission of DACA will have an effect on the U.S.
   5       GDP?
   6                   MR. GARDNER:      Objection.           Calls for
   7       speculation.      Lack of foundation.
   8                   THE WITNESS:      I don't have a deep
   9       understanding of what the impact of a rescission of
  10       DACA would be on the U.S. GDP.
  11       BY MR. BERENGAUT:
  12              Q.   That would be something an economist would
  13       probably study; is that right?
  14              A.   That would stand to reason.
  15              Q.   To your knowledge, were any economists who
  16       study the aggregate effect of DACA on the U.S. economy
  17       consulted in connection with the rescission of DACA?
  18              A.   Not to my knowledge.
  19                   MR. BERENGAUT:       Thanks.          I have no further
  20       questions.     I appreciate your time.
  21                   THE VIDEOGRAPHER:         We're going off the record
  22       at 11:28.
  23                   (A recess was taken from 11:28 a.m.
  24                   to 11:34 a.m.)
  25                   THE VIDEOGRAPHER:         We're now on the record at

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   1       11:34 a.m.
   2
   3                                   EXAMINATION
   4       BY MS. MORRISSON:
   5              Q.   Hi.    Good morning.         My name is Haley
   6       Morrisson, and I represent the Garcia plaintiffs.                 Is
   7       it your practice to use a calendar to keep track of
   8       meetings and other appointments that you attend in a
   9       professional capacity?
  10              A.   Yes.
  11              Q.   Do you personally maintain that calendar?
  12              A.   No.
  13              Q.   You said you have an office manager?
  14              A.   Correct.
  15              Q.   What is your office manager's name?
  16              A.   Laquon Cuevas.
  17              Q.   And does your office manager maintain your
  18       calendar?
  19              A.   She does.
  20              Q.   Is there anyone else who maintains or has
  21       access to your calendar?
  22              A.   There's nobody else who maintains it.             There
  23       are many people who have access to it.
  24              Q.   Do you review your calendar on a daily basis?
  25              A.   Absolutely.

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   1              Q.   You testified earlier that you attend
   2       meetings at The White House or the Eisenhower building
   3       in your current role.         Are those meeting on your
   4       calendar?
   5              A.   Yes.
   6              Q.   Would you have put something like the August
   7       21 meeting on your calendar --
   8              A.   I would imagine so, yeah.
   9              Q.   -- or would you have had your office manager
  10       put that meeting on your calendar?
  11                   Is it a practice that someone might send you
  12       a calendar invite to attend a --
  13              A.   Yes.
  14              Q.   -- meeting like that?
  15              A.   Yes.
  16              Q.   Do you recall receiving a calendar invite for
  17       the August 21 meeting?
  18              A.   I don't.    Just by way of perspective, I
  19       probably get 20 calendar invites a day.              So the
  20       probability of me remembering any one calendar invite
  21       is nil.
  22              Q.   So you testified earlier that you recall
  23       attending the August 21 meeting, but there may have
  24       been other meetings relating to DACA; is that right?
  25              A.   That's right.

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   1               Q.   So if you looked on your calendar, would that
   2       provide a reminder of when other meetings would have
   3       happened?
   4               A.   It would.
   5               Q.   And would those calendar meetings
   6       specifically reference DACA or the subject matter of
   7       those meetings?
   8               A.   It would depend on what the calendar invite
   9       said.
  10               Q.   Would the calendar invites identify the other
  11       participants in the meeting?
  12               A.   Oftentimes they do.           Sometimes they don't.
  13               Q.   You testified earlier that the decision to
  14       rescind DACA was an important policy decision; is that
  15       right?
  16               A.   I believe I said something like that, yes.
  17               Q.   Do you agree now that it is an important
  18       policy decision?
  19               A.   I do.
  20               Q.   And you testified that you're the acting head
  21       of the office of policy; right?
  22               A.   I am.
  23               Q.   So is it part of the role that you advise on
  24       important policy decisions?
  25               A.   It is.

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   1              Q.   In connection with advising on important
   2       policy decisions do you or your staff typically write
   3       memoranda on these important policy decisions?
   4              A.   So I typically don't write memoranda.
   5       Members of my staff sometimes do.
   6              Q.   Okay.   And do you or members of your staff
   7       also provide other written communications in providing
   8       this policy advice?
   9              A.   Do you mean things like E-mails?
  10              Q.   Yes.
  11              A.   Yes.
  12              Q.   Okay.   And on what basis do you decide
  13       whether to provide or write written memoranda or
  14       E-mail communications setting forth policy
  15       considerations?
  16              A.   It's more art than science, honestly.             But
  17       oftentimes, you would formalize the process when
  18       you're asking someone to make a specific decision
  19       about something.
  20              Q.   And in connection with providing advice to
  21       Acting Secretary Duke on DACA, were you asked to
  22       provide written advice?
  23              A.   I don't recall providing written advice.
  24              Q.   Do you recall being asked to provide written
  25       advice?

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   1              A.   I don't.
   2              Q.   In connection with getting up to speed on
   3       DACA, you said you may have directed some of your
   4       staff to assist you.
   5              A.   Yes.
   6              Q.   Would you have provided that direction in an
   7       E-mail to a staff member?
   8              A.   It could have been E-mail.            It could have
   9       been personal conversation.
  10              Q.   Do you recall asking for written work product
  11       from any of your staff on DACA?
  12              A.   The only thing I specifically recall
  13       requesting was the 2012 memo which initiated DACA.                 I
  14       do recall asking to see that specifically.
  15              Q.   Do you recall who you asked to provide that
  16       to you?
  17              A.   I don't.    It would have been someone in our
  18       borders, immigration, and trade office.
  19              Q.   And for other research related to DACA, who
  20       within your department would you have asked?
  21              A.   It probably would have been people in that
  22       office.
  23              Q.   And how many people are in that office?
  24              A.   20.
  25              Q.   So in connection with advising Acting

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   1       Secretary Duke, you described your role as helping her
   2       understand what DACA is, helping her understand why
   3       and how it was under challenge, helping her understand
   4       what her options were, helping her understand
   5       consequences of those actions.               In preparing to
   6       provide that advice, did you take any written notes
   7       for yourself?
   8               A.   Not that I recall.
   9               Q.   On what occasions did you communicate your
  10       advice on those topics to Secretary Duke?
  11               A.   Generally, that would be done in meetings.
  12               Q.   And was it -- did you convey that advice at
  13       the August 21 meeting?
  14               A.   So I did not -- my recollection is that I did
  15       not offer advice on a decision.               I offered --
  16       obviously, I was one of many voices that offered
  17       information about what is DACA, what is the litigation
  18       threat.      What are the potential decisions and
  19       consequences of such decisions.
  20               Q.   How long was the August 21 meeting?
  21               A.   Again, I don't recall, but probably about an
  22       hour.
  23               Q.   And how long did you speak at that meeting?
  24               A.   Two minutes.
  25               Q.   Other than the two minutes, did you have --

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   1       do you recall other specific occasions when you
   2       provided this information to Secretary Duke or your
   3       advice?
   4              A.   I don't.
   5              Q.   As a follow-up to the August 21 meeting, did
   6       anyone ask you to conduct follow-up research or to
   7       provide further policy --
   8              A.   I don't recall.
   9              Q.   -- conversations?
  10              A.   Not that I recall.          Sorry.
  11              Q.   Do you have an understanding of what will
  12       happen to DACA recipients if DACA is terminated?
  13              A.   If you mean by "terminated," if you mean
  14       there's no congressional action taken?             Is that your
  15       question?
  16              Q.   Yes.   If DACA is terminated, there's no
  17       legislative action, and DACA recipients lose their
  18       DACA status?
  19              A.   So I don't know what will happen.
  20              Q.   Have you asked anyone what will happen to
  21       DACA recipients if the program is terminated and
  22       there's no legislative action?
  23              A.   So I am going to look at my attorney, and I
  24       am going to ask him a question because we are about to
  25       get into deliberative.

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   1                   MR. GARDNER:      You can answer the "yes" or
   2       "no" to the question, and then when we get to the
   3       substance, we'll take it question by question.
   4                   THE WITNESS:      So sorry.           Can you repeat the
   5       question?
   6       BY MS. MORRISSON:
   7              Q.   Have you asked anyone what will happen to
   8       DACA recipients if DACA is terminated and there is no
   9       legislative action?
  10              A.   I'm not sure I asked anyone, but there was a
  11       discussion of that.
  12              Q.   And when was that discussion?
  13              A.   Very same meeting.
  14              Q.   Do you recall who asked that question?
  15              A.   I don't.
  16              Q.   Do you recall if an answer was provided to
  17       that question?
  18              A.   I don't recall there being a definitive,
  19       specific answer.       I recall there being a discussion of
  20       what could happen.
  21              Q.   Okay.   And was one of the possibilities that
  22       DACA recipients could be removed from the
  23       United States?
  24                   MR. GARDNER:      Object.        Instruct the witness
  25       not to answer as calling for disclosure of information

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   1       subject to deliberative process privilege.
   2       BY MS. MORRISSON:
   3              Q.   Earlier, you testified about a conversation
   4       you had with John Kramer from the western hemisphere
   5       bureau of the Department of State.                Do you recall that
   6       testimony?
   7              A.   I do.
   8              Q.   You said that in the context of that
   9       conversation, you discussed that Mexico would be
  10       especially impacted if DACA were terminated?
  11              A.   Yes.
  12              Q.   And you testified that if DACA were
  13       terminated and a large number of Mexicans were removed
  14       from the United States that would have a large impact
  15       on Mexico's economy on foreign relations.
  16              A.   I believe I said it could.             There was a
  17       discussion of whether there would be an impact, what
  18       that impact might be.
  19              Q.   Was one of the considerations if a large
  20       number of Mexicans were removed from the
  21       United States?
  22              A.   I'm sorry?
  23              Q.   I believe you said in terms of the
  24       potentially large impact on Mexico's economy, one of
  25       the factors would be if a large number of Mexicans

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   1       were removed from the United States.
   2               A.    Yes.
   3               Q.    So was the potential removal of a large
   4       number of Mexicans a consideration that you -- a
   5       consequence that you considered?
   6                     MR. GARDNER:    Objection.          Vague.   Considered
   7       when?
   8       BY MS. MORRISSON:
   9               Q.    In the context of this conversation.
  10               A.    So if I understand correctly, obviously, that
  11       would be of great interest to the Department of State;
  12       right?       So that was the subject of the conversation.
  13               Q.    So did you raise the possibility of a large
  14       number of Mexicans being removed, or did Mr. Kramer
  15       raise that possibility?
  16               A.    I don't recall who raised it.
  17               Q.    So why do you think that would happen?             Why
  18       do you think it's possible that a large number of
  19       Mexicans would be removed from the United States?
  20               A.    I think the nature of the discussion was what
  21       if; right?       So what if DACA came to an end, and what
  22       if, as a consequence of that, DACA recipients were
  23       removed, what if.       It wasn't a discussion of when or
  24       that's going to happen.          It was a discussion between
  25       two veteran diplomats about possible foreign policy

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   1       consequences of a potential decision.
   2              Q.   And so what's the intermediary step?            How do
   3       you get from if DACA were rescinded to Mexicans being
   4       removed from the United States?               Like what were the
   5       steps that you walked through to consider these
   6       possibilities?
   7              A.   I think you're ascribing way too much to a
   8       friendly conversation between two friends.               I think
   9       you're ascribing an agenda and a logic and a
  10       progression that didn't exist.
  11              Q.   So as part of that conversation, did you
  12       discuss the possibility that the government would use
  13       information DACA recipients disclosed as part of their
  14       DACA --
  15              A.   No, I don't recall --
  16              Q.   -- with them?
  17                   MS. MORRISSON:        No further questions.
  18                   MS. CHUANG:     I would like to just circle back
  19       to the issue that we were discussing regarding the
  20       privilege.     Should I sit closer?
  21                   (Pause in proceedings.)
  22
  23                   MS. CHUANG:     Hi.     For the record, this is
  24       Christine Chuang again.           I wanted to circle back
  25       regarding the conversation that we were having about

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   1       the different privileges that were being asserted
   2       today by your counsel.
   3                  You've asserted a number of privileges,
   4       including the deliberative process privilege.               I
   5       wanted to just understand the scope and the extent of
   6       that privilege and what you're asserting.
   7                  MR. GARDNER:       Sure.      We've actually asserted
   8       two privileges today.         The first is the
   9       attorney-client privilege, and that relates to the
  10       fact that as the Ambassador testified, members from
  11       the office of general counsel were in that meeting in
  12       a confidential setting, providing legal advice that
  13       was received by other members of the Department of
  14       Homeland Security.
  15                  With respect to deliberative process
  16       privilege, we've tried to be very, I think narrow in
  17       its assertion, allowing you to get the identities of
  18       individuals who participated in meetings, the high
  19       level topics addressed at those meetings, but the
  20       substantive deliberations are classic deliberative
  21       predecisional information that is subject to the
  22       federal deliberative process privilege.
  23                  MS. CHUANG:      Are you invoking the
  24       deliberative process privilege as to any substantive
  25       statement that was made during those meetings that we

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   1       discussed today irrespective of whether the
   2       communication was advice or factual statements?
   3                  MR. GARDNER:       We are objecting to information
   4       that is deliberative and predecisional.
   5                  MS. CHUANG:      I'm sorry.            I don't think that
   6       you answered my question.
   7                  MR. GARDNER:       I feel like I did.           I'm sorry.
   8       I'm not trying to be obstreperous.                  I mean deliberate
   9       process privilege covers information that's delivered
  10       in predecisional.       When I made those objections, it
  11       was to cover precisely that information.                  We can have
  12       a disagreement about that, although I don't know that
  13       doing that in front of the witness is going to be
  14       productive, but that is the scope of our privilege
  15       assertion.
  16                  MS. CHUANG:      So I just want to understand
  17       that you're invoking the deliberative process
  18       privilege to cover all communications that occurred
  19       during those meetings --
  20                  MR. GARDNER:       No --
  21                  MS. CHUANG:      -- the substance of all
  22       communication that occurred during those meetings.
  23                  MR. GARDNER:       The substance of those
  24       conversations that are deliberative and predecisional
  25       are subject to the deliberative process privilege, and

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   1       therefore, the privilege has been invoked and the
   2       witness has been instructed not to answer.
   3                   MS. CHUANG:     Were there any substantive
   4       statements that fall outside of that scope of the
   5       deliberative process?
   6                   MR. GARDNER:      Well, I mean the witness has
   7       testified at a high level of generality the topics
   8       that were addressed at the meeting.                We did not lodge
   9       objections to that.        But the specific conversations
  10       that contain deliberative predecisional information we
  11       did object to, and we did instruct the witness not to
  12       answer.
  13                   MS. CHUANG:     Okay.       Thank you.
  14                   MR. GARDNER:      You're welcome.
  15                   MS. CHUANG:     Let's take a two-minute break.
  16                   THE VIDEOGRAPHER:         Off the record at 11:49.
  17                   (A recess was taken from 11:49 a.m.
  18                   to 11:51 a.m.)
  19                   THE VIDEOGRAPHER:         We're back on the record
  20       at 11:51.
  21
  22                                  EXAMINATION
  23       BY MS. CHANG:
  24              Q.   Good morning, Mr. Nealon.             My name is Cecilia
  25       Chang, and work for the National Immigration Law

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   1       Center, and we represent the Batalla Vidal plaintiffs
   2       in a lawsuit in the Eastern District of New York.
   3              A.   Thank you.
   4              Q.   You had testified earlier about the August
   5       meeting with Acting Secretary Duke to discuss the
   6       status of DACA.      Do you know who convened that
   7       meeting?
   8              A.   No.   But her meetings would typically be
   9       convened by her staff, her front office staff.
  10              Q.   What is your -- you used the term "front
  11       office staff" several times.             Does that refer to the
  12       Acting Secretary's top level counselors?
  13              A.   Chief of staff and deputy chief of staff and
  14       counselors, generally speaking.
  15              Q.   Would Mr. Gene Hamilton be referred to as
  16       front office staff?
  17              A.   So his title is counselor, but he does work
  18       in the front office, yes.
  19              Q.   Who determined who should be present at that
  20       August meeting?
  21                   MR. GARDNER:      Objection.          Calls for
  22       speculation.
  23       BY MS. CHANG:
  24              Q.   Do you know who determined who would be
  25       present at the August 21 meeting?

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   1              A.   I don't, but it would generally be the chief
   2       of staff or deputy chief of staff.                They would,
   3       generally speaking, determine who should be present at
   4       a meeting.
   5              Q.   Do you know if an agenda was circulated for
   6       the August meeting?
   7              A.   I don't recall an agenda.
   8              Q.   You had testified that Mr. Hamilton was at
   9       that meeting; correct?
  10              A.   Yes.
  11              Q.   Do you recall what his title was at that time
  12       in August?
  13              A.   So he's a counselor.           That's his title.
  14       Counselor.
  15              Q.   Do you know who he reports to?
  16              A.   I believe he reports to the chief of staff.
  17              Q.   And to your understanding at that time in
  18       August, was he serving as -- Mr. Hamilton serving as a
  19       policy advisor versus a legal advisor?
  20              A.   Yes.   So he doesn't work in the office of
  21       general counsel.       He works in the front office as an
  22       advisor to the secretary.
  23              Q.   Were you aware of any -- is the position of
  24       counselor -- let me rephrase that.
  25                   Did Mr. Hamilton hold any other official

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   1       titles at DHS other than counselor?
   2              A.    Do you mean previously?
   3              Q.    Previously.
   4              A.    So I believe he worked in the office of
   5       general counsel at some previous time, but I don't
   6       know the dates.
   7              Q.    Do you recall approximately when his position
   8       changed?
   9              A.    I don't believe his position changed, and I
  10       am speculating now because I don't know his curriculum
  11       vitae.      But I believe he came to the department from
  12       Capitol Hill, not from within the department.                 So I
  13       believe he was in the department, left and came back.
  14       That's my belief, but I can't be certain of that.
  15              Q.    To your knowledge, his position was
  16       counselor, and he did not hold another dual position?
  17              A.    That's my understanding.
  18              Q.    Would it be typical for Mr. Hamilton to be
  19       included in meetings like the August meeting over the
  20       status of DACA?
  21              A.    Yes.
  22              Q.    And would that be at the specific request of
  23       the Acting Secretary?
  24                    MR. GARDNER:     Objection.          Calls for
  25       speculation.

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   1       BY MS. CHANG:
   2              Q.   Do you know if it was at the specific request
   3       of the Acting Secretary?
   4              A.   I don't know.
   5              Q.   Would your office be able to order
   6       Mr. Hamilton to appear at a meeting?
   7              A.   We wouldn't order him to appear.           We would
   8       invite him to appear.          As you invited me this morning.
   9              Q.   Understood.      But you did not do so for the
  10       August meeting?
  11              A.   I didn't convene the meeting.
  12              Q.   Would the general counsel's office request
  13       that Mr. Hamilton appear at a meeting?
  14              A.   It could.
  15              Q.   Do you know if the general counsel's office
  16       requested him to appear for the August meeting?
  17              A.   I don't.
  18              Q.   Do you know if any person who attended the
  19       August meeting -- was it the role of any person who
  20       appeared at the August meeting to give a specific
  21       opinion on the status of DACA?
  22              A.   Yes.
  23              Q.   Were people trying to provide opinions on
  24       different topics about the status of DACA?
  25              A.   Yes.

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   1              Q.   Was it understood among the participants the
   2       division of responsibilities providing opinion on the
   3       status of DACA?
   4                   MR. GARDNER:      Objection.          Calls for
   5       speculation.
   6                   THE WITNESS:      You know, it's implicit in that
   7       the general counsel will -- is there to provide legal
   8       advice.     USCIS as the custodians, and managers of the
   9       program would provide information about the program,
  10       et cetera, et cetera.
  11       BY MS. CHANG:
  12              Q.   Did any participants at the August meeting
  13       bring any documents with them?
  14              A.   I think we already went over this.                I believe
  15       that USCIS bought -- brought, you know, documents
  16       directly related to the program, numbers and such
  17       things, I believe.
  18              Q.   Do you recall if Mr. Hamilton brought any
  19       documents with him to the meeting?
  20              A.   I don't recall.
  21              Q.   Do you recall if Mr. Hamilton was charged
  22       with providing a specific opinion on anything related
  23       to the status of DACA at that meeting?
  24              A.   I don't know if he was assigned a specific
  25       role or not, if that's what you're asking.

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   1              Q.   Was it your understanding that Mr. Hamilton's
   2       role was to specifically advise the Acting Secretary?
   3              A.   So that is his job.           He is an advisor to the
   4       secretary.
   5              Q.   Does he -- is part of his job responsibility,
   6       to your understanding, to advise any other staff
   7       member at the department?
   8              A.   You know, I'm honestly not an expert on what
   9       his precise job description is.                I do know that he is
  10       a counselor to the secretary, and his job is to
  11       provide her with advice, you know.
  12              Q.   Do you recall if Mr. Hamilton was present at
  13       the later meeting you had testified to about extension
  14       of the October 5 deadline?
  15              A.   I don't recall.
  16              Q.   To your knowledge, does Mr. Hamilton play a
  17       role in the clearance process that you had discussed
  18       for department publications?
  19              A.   He could.     So depending on the topic of a
  20       document, one of the front office counselors would
  21       often review it before it went to the Secretary.
  22              Q.   Just to clarify, so sometimes the clearance
  23       process, one of the entities tasked to review is the
  24       front office staff?
  25              A.   Correct.

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   1              Q.   And Mr. Hamilton could be asked to play that
   2       role --
   3              A.   He could.
   4              Q.   -- for the front office?
   5                   To your knowledge do you know if Mr. Hamilton
   6       was involved in the clearance process for the -- for
   7       any documents related to the extension -- relating to
   8       the -- sorry.      Was Mr. Hamilton involved in the
   9       clearance process for any of the FAQ documents that
  10       were entered as exhibits?
  11              A.   So I don't know specifically.            I do know that
  12       the counselors in the front office generally have
  13       subject matters that they attend to, whether it's
  14       cyber security, aviation security, whatever it is, and
  15       Mr. Hamilton covers immigration issues.
  16              Q.   So you had testified earlier that the office
  17       of general counsel provides legal advice to the
  18       Secretary.     Your office provides advice on
  19       coordination and policy.            What is your understanding
  20       of what the front office staff is responsible for
  21       advising on specifically?
  22              A.   Well, I mean the front office staff are the
  23       Secretary's closest advisors.               They're the people who
  24       are with her 18 hours a day, controlling her schedule,
  25       controlling the paperwork that gets to her,

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   1       controlling her meetings and all that.
   2              Q.   Do they also advise the Secretary on policy?
   3              A.   Sure.
   4              Q.   How is the -- their role in advising policy
   5       different than the role of your office in advising a
   6       policy, or is there overlap?
   7                   MR. GARDNER:      Objection.          Compound.
   8                   MS. CHANG:     Let me rephrase that.
   9              Q.   How is the role of the front office staff in
  10       advising the secretary of policy different than the
  11       role of your office?
  12              A.   I'd say it's complimentary in that my office
  13       sort of marshals the forces of the -- of our office
  14       and of the larger enterprise, sends them up to the
  15       front office, and then the front office staff takes
  16       what they get and reviews it for the secretary.
  17              Q.   To your knowledge, is one of the
  18       responsibilities of the front office staff in advising
  19       the secretary on policy also to cover the political
  20       ramifications of policy?
  21                   MR. GARDNER:      Objection.          Vague.
  22                   THE WITNESS:      She is a cabinet secretary.             So
  23       there are political ramifications of decisions that
  24       the Department of Homeland Security makes.
  25       BY MS. CHANG:

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   1               Q.   Would your office advise on political
   2       considerations of policy?
   3               A.   Somewhat, though we try to limit ourselves to
   4       more pure policy.
   5               Q.   I know that there's been extensive testimony
   6       on conversations you've had, but I'm just going to ask
   7       this again for the benefit of my clients.                   Have you
   8       had any specific conversations with Mr. Hamilton about
   9       DACA?
  10               A.   So we have been in the same room together as
  11       previously -- as I previously testified, in the
  12       August 21 meeting.        If the question is have we had
  13       conversations separate from that about DACA, I don't
  14       recall.
  15               Q.   And I have the same question about
  16       conversations -- or communications with Mr. Hamilton
  17       but with regard to E-mails.
  18               A.   Have we exchanged E-mails about DACA?
  19               Q.   Yes.
  20               A.   We may have.      I don't recall.
  21               Q.   And do you recall any telephone conversations
  22       with Mr. Hamilton about DACA?
  23               A.   I don't.
  24                    MS. CHANG:     That's it.         Thank you.
  25       ///

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   1                                   EXAMINATION
   2       BY MS. KHAN:
   3              Q.   Hi, Mr. Nealon.         My name is Sandra Khan.          I'm
   4       with the New York Attorney General's office.                  I
   5       represent the plaintiff states in New York v. Trump,
   6       which is also being heard in the eastern district of
   7       New York.
   8                   I just have a few more questions.
   9              A.   Sure.
  10              Q.   I apologize if this is a little bit
  11       duplicative, but do you mind describing generally what
  12       the policy formation -- of the formation process for
  13       policy formation at the Department of Homeland
  14       Security is?        So to sort of go further with that, you
  15       mentioned top down policy; right?                  Policy that's
  16       coming from the top and down to you and then beyond.
  17                   So what's the typical process for that policy
  18       to come to you and then be implemented?
  19              A.   So I think sometimes people imagine that a
  20       policy office is a think tank and it comes up with
  21       ideas and forms policy and sends them up to decision
  22       makers for a decision.          And in fact, life doesn't
  23       usually work like that.           There's real life, and there
  24       are things going on all the time.                  And so those things
  25       that touch the Department of Homeland Security need to

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   1       have a policy hat put on them and sent up for
   2       decisions to decision makers.               So that's more how it
   3       happens.
   4              Q.   And again, I apologize if this was covered.
   5       Does that usually happen with memos?                  Does it happen
   6       with meetings or conversations?
   7              A.   Yes.    It happens with all those things.
   8              Q.   Okay.    And so with regards specifically to
   9       memos, is that something -- would you delegate it to
  10       your subordinates to start drafting those memos and
  11       then you would review them?              Is that the way that it
  12       would work?
  13              A.   Yes.    So in the brief time I've been at the
  14       department, we really haven't -- we, the office of
  15       policy, hasn't really done that many memos.                    We have
  16       done some, and those would usually be delegated down
  17       to subject matter experts for the drafting, and then
  18       it would go up through an internal clearance process
  19       before it went up, yes.
  20              Q.   And so to clarify, these memos would be used
  21       strictly for internal purposes, or would these be
  22       memos that would be released to the public?
  23                   MR. GARDNER:       Objection.          Compound.
  24                   MS. KHAN:     Sorry.
  25              Q.   Would these be memos strictly for internal

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   1       purposes?
   2               A.     Yes.    Generally speaking, these are internal
   3       memos driving towards some decision.
   4               Q.     Okay.    Now, with regard to the rescission of
   5       DACA, relative to what your experience with is with
   6       other policy formations, is there anything different
   7       in this instance?
   8                      MR. GARDNER:      Objection.           Vague.
   9       BY MS. KHAN:
  10               Q.     So is -- how does the rescission of DACA --
  11       the process of the rescission of DACA compare to your
  12       experience with regard to other policy formations?
  13               A.     I'm struggling a little bit.               I don't see a
  14       big difference.
  15               Q.     Why not?
  16               A.     We're faced with policy decisions all the
  17       time.        This was another policy decision that the
  18       department was faced with.
  19               Q.     Have you been faced with other decisions that
  20       have come top down like you mentioned?
  21               A.     I think what you're referring to is the fact
  22       that the September 5 memo came from the Secretary down
  23       because she had made a decision.                     I'm not sure that
  24       that's very different from other decisions that get
  25       made by the Secretary.            I think what's different is

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   1       that you all entered a memo into the record.               So, but
   2       in fact, the Acting Secretary makes decisions every
   3       day.
   4              Q.   Are there usually memos written about
   5       implementation of policy?
   6              A.   I don't know if there are memos.           So, for
   7       example, the components of the Department of Homeland
   8       Security, such as customs and border protection or the
   9       Transportation Security Administration, they have to
  10       issue orders to their field components all the time
  11       about how to implement policies or statutes.               So that
  12       happens all the time.
  13              Q.   And the clearance process that you mentioned,
  14       is that something that's within the context of policy
  15       formation, or is that separate?
  16              A.   So I think we're -- I'm sorry.           Repeat the
  17       question.     I think we're talking about two different
  18       things.
  19              Q.   So it -- the clearance process that you
  20       mentioned, where does that come in when it comes to
  21       policy formation, at what point?
  22              A.   So if a memo is going up to the Secretary,
  23       for example, asking her to make a policy decision,
  24       that memo would begin with subject matter experts
  25       somewhere across the enterprise and would go up

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   1       through a chain of command, and at a certain point it
   2       would go into an internal clearance process.               And that
   3       might happen informally, early in the process, just so
   4       that the thing doesn't become fully formed without
   5       being informed, or that process might happen once the
   6       memo is actually finalized.               Then it could go through
   7       an internal clearance process among the various
   8       components of DHS for their input, and then it would
   9       go up to the front office for the decision.
  10               Q.   Thank you for clarifying that.
  11               A.   Sure.
  12               Q.   To move on to your time as ambassador, did
  13       you ever have any communication or -- let me strike
  14       that.
  15                    Did you ever have any contact with the
  16       Honduran American community?
  17               A.   No.     You know, occasionally --
  18       occasionally -- so I never did events in the
  19       United States in the Honduran American community.
  20       Occasionally, I would bump into people in Honduras who
  21       were dual citizens or who lived in the United States
  22       with green cards and had come back and would want to
  23       talk about things, but that's the extent of it.
  24               Q.   So it's safe to say you never met an
  25       unaccompanied minor?

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   1               A.     I don't believe I've never met an
   2       unaccompanied minor.
   3               Q.     Have you ever met a DACA recipient?
   4               A.     Not to my knowledge.
   5                      MS. KHAN:     That's it for me.
   6                      THE WITNESS:     Thank you.
   7                      MS. CHUANG:     I think we're done.
   8                      MR. GARDNER:     Thank you for respecting his
   9       time.        We really do appreciate it.
  10                      MS. CHUANG:     No problem.
  11                      THE VIDEOGRAPHER:        This concludes today's
  12       deposition.        We're now off the record at 12:10.
  13                      (Witness excused.)
  14                      (Deposition concluded at 12:10 P.M.)
  15
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   1                           C E R T I F I C A T E
   2              I do hereby certify that the aforesaid testimony
   3       was taken before me, pursuant to notice, at the time
   4       and place indicated; that said deponent was by me duly
   5       sworn to tell the truth, the whole truth, and nothing
   6       but the truth; that the testimony of said deponent was
   7       correctly recorded in machine shorthand by me and
   8       thereafter transcribed under my supervision with
   9       computer-aided transcription; that the deposition is a
  10       true and correct record of the testimony given by the
  11       witness; and that I am neither of counsel nor kin to
  12       any party in said action, nor interested in the
  13       outcome thereof.
  14
  15                          <%Signature%>
                              Nancy J. Martin, RMR, CSR
  16
  17       Dated:     October 14, 2017
  18
  19
  20       (The foregoing certification of this transcript does
  21       not apply to any reproduction of the same by any
  22       means, unless under the direct control and/or
  23       supervision of the certifying shorthand reporter.)
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   1                          INSTRUCTIONS TO WITNESS
   2
   3                  Please read your deposition over carefully
   4       and make any necessary corrections. You should state
   5       the reason in the appropriate space on the errata
   6       sheet for any corrections that are made.
   7                  After doing so, please sign the errata sheet
   8       and date it.      You are signing same subject to the
   9       changes you have noted on the errata sheet, which will
  10       be attached to your deposition.               It is imperative that
  11       you return the original errata sheet to the deposing
  12       attorney within thirty (30) days of receipt of the
  13       deposition transcript by you.              If you fail to do so,
  14       the deposition transcript may be deemed to be accurate
  15       and may be used in court.
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   1                     ACKNOWLEDGMENT OF DEPONENT
   2                    I, JAMES D. NEALON, do hereby certify
   3       that I have read the foregoing transcript of my
   4       testimony taken on 9/15/17, and further certify
   5       that it is a true and accurate record of my
   6       testimony (with the exception of the corrections
   7       listed below):
   8       Page       Line                           Correction
   9       ____|_____|_________________|_________________
  10       ____|_____|_________________|_________________
  11       ____|_____|_________________|_________________
  12       ____|_____|_________________|_________________
  13       ____|_____|_________________|_________________
  14       ____|_____|_________________|_________________
  15       ____|_____|_________________|_________________
  16       ____|_____|_________________|_________________
  17       ____|_____|_________________|_________________
  18       ____|_____|_________________|_________________
  19       ____|_____|_________________|_________________
  20       ____|_____|_________________|_________________
  21
  22       Signed under the pains and penalties of perjury
  23       this _____ day of ________________, 20___.
  24
                                     ___________________________
  25                                 JAMES D. NEALON

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        attorneys in relation to this deposition and that
        the documents were processed in accordance with
        our litigation support and production standards.

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   1                      UNITED STATES DISTRICT COURT
   2                    NORTHERN DISTRICT OF CALIFORNIA
   3                         SAN FRANCISCO DIVISION
   4
          THE REGENTS OF THE UNIVERSITY OF   ) Case No.
   5      CALIFORNIA and JANET NAPOLITANO,   ) 17-CV-05211-WHA
          in her official capacity as        )
   6      President of the University of     )
          California,                        )
   7                                         )
                    Plaintiffs,              )
   8                                         )
               v.                            )
   9                                         )
          U.S. DEPARTMENT OF HOMELAND        )
  10      SECURITY and ELAINE DUKE, in her   )
          official capacity as Acting        )
  11      Secretary of the Department of     )
          Homeland Security,                 )
  12                                         )
                    Defendants.              )
  13      -----------------------------------)
          AND RELATED CASES.                 )
  14      -----------------------------------)
  15
  16
  17                     Wednesday, October 18, 2017
  18
  19
  20           Videotaped deposition of PHILIP T. MILLER,
  21      taken at the offices of Gibson, Dunn & Crutcher,
  22      1050 Connecticut Avenue NW, Washington, D.C.,
  23      beginning at 9:06 a.m., before Nancy J. Martin, a
  24      Registered Merit Reporter, Certified Shorthand
  25      Reporter.

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  23
  24
  25

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                                                                    Page 3

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  19                  Security
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   1      A P P E A R A N C E S:         (CONTINUED)
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                      michael.f.arnold@ice.dhs.gov
  13                  Representing the U.S. Department of Homeland
                      Security, Immigration and Customs
  14                  Enforcement
  15
  16             ALSO PRESENT:
  17                  DAN REIDY, Legal Videographer
  18
  19
  20
  21
  22
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  24
  25

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   1                                  I N D E X
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          TESTIMONY OF PHILIP MILLER
   3
          BY MR. LEE                                                      8
   4
          BY MS. SAXE                                                     216
   5
   6                             E X H I B I T S
   7      NUMBER         DESCRIPTION                                   MARKED
   8      Exhibit 22     Notice of Deposition, 6 pages                   22
   9      Exhibit 23     U.S. Immigration and Customs                    23
                         Enforcement, Statement of Philip
  10                     T. Miller, July 7, 2015, 6 pages
  11      Exhibit 24     Declaration of Philip T. Miller,                 27
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          Exhibit 25     Exhibit B, FAQs, Rescission of                   158
  13                     Deferred Action for Childhood
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  14
          Exhibit 26     Valerie Gonzalez Twitter screen                  169
  15                     shot, 2 pages
  16      Exhibit 27     DHS, Privacy Policy Guidance                     205
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  21                     Exhibit 9                                         24
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   1          WASHINGTON, D.C., WEDNESDAY, OCTOBER 18, 2017;
   2                                  9:06 A.M.
   3                                     -OoO-
   4                    THE VIDEOGRAPHER:      Good morning.     We're going
   5      on the record at 9:06 a.m. on Wednesday, October 18,
   6      2017.       Please note that the microphones are sensitive
   7      and may pick up whispering, private conversations, and
   8      cellular interference.         Please turn off all cell
   9      phones or place them away from the microphones as they
  10      can interfere with the deposition audio.              Audio and
  11      video recording will continue to take place unless all
  12      parties agree to go off the record.
  13                    This is Media Unit 1 of the video recorded
  14      deposition of Philip Miller, taken by counsel for the
  15      plaintiff in the matter of The Regents of the
  16      University of California and Janet Napolitano in her
  17      official capacity as president of the University of
  18      California V. U.S. Department of Homeland Security and
  19      Elaine Duke in her official capacity as Acting
  20      Secretary of the Department of Homeland Security and
  21      related cases, filed in the United States District
  22      Court for the Northern District of California, the
  23      San Francisco division.
  24                    This deposition is being held at Gibson, Dunn
  25      & Crutcher LLP located at 1050 Connecticut Avenue,

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   1      Northwest, Washington, D.C.            20036.      My name is Dan
   2      Reidy from the firm Veritext Legal Solutions, and I am
   3      the videographer.
   4                  The court reporter is Nancy Martin from the
   5      firm Veritext Legal Solutions.              I am not authorized to
   6      administer an oath.        I am not related to any party in
   7      this action, nor am I financially interested in the
   8      outcome.
   9                  Counsel and all present in the room will now
  10      state their appearances and affiliations for the
  11      record.     If there are any objections to proceeding,
  12      please state them at the time of your appearance,
  13      beginning with the noticing attorney.
  14                  MR. LEE:    Good morning.          Ronald Lee with the
  15      California Attorney General's office on behalf of the
  16      State of California.
  17                  MS. MORRISSON:      Haley Morrisson with Gibson,
  18      Dunn & Crutcher on behalf of the Garcia plaintiffs.
  19                  MS. SAXE:     Elizabeth Saxe with Covington &
  20      Burling on behalf of the Regents of the University of
  21      California and Janet Napolitano.
  22                  MR. DETTMER:     Ethan Dettmer also with Gibson,
  23      Dunn on behalf of the plaintiffs in the Garcia case.
  24                  MS. REBERT:     Trudy Rebert with the National
  25      Immigration Law Center, National Immigration Law

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   1      Center is representing the Batalla Vidal plaintiffs.
   2                    MR. FINKELSTEIN:         Alex Finkelstein, volunteer
   3      attorney for the New York State Attorney General in
   4      the state of New York.
   5                    MS. WOLF:     Liana Wolf, Department of Homeland
   6      Security.
   7                    MR. ARNOLD:      Michael Arnold, ICE.
   8                    MS. DAVIS:     Kathryn Davis, Department of
   9      Justice, Civil Division, Federal Programs branch.                 I'd
  10      like to reserve the right for the witness to read and
  11      sign.
  12                    THE WITNESS:      Philip Miller.
  13                    THE VIDEOGRAPHER:         Would the court reporter
  14      please swear in the witness.
  15
  16                                  PHILIP MILLER,
  17                   having been first duly sworn/affirmed,
  18                   was examined and testified as follows:
  19
  20                                   EXAMINATION
  21      BY MR. LEE:
  22              Q.    Good morning, Mr. Miller.
  23              A.    Good morning.
  24              Q.    Can you please state your name for the
  25      record?

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   1             A.    Sure.   My name is Philip Todd Miller.
   2             Q.    Mr. Miller, have you been deposed previously?
   3             A.    Yes.
   4             Q.    Was it in the Jimenez Moreno litigation?
   5             A.    That was one.
   6             Q.    Okay.   And have you been deposed in other
   7      occasions as well?
   8             A.    Yes.
   9             Q.    So I will discuss those depositions with you
  10      a little later, but I understand you probably are
  11      familiar with some of the rules of the road for a
  12      deposition?
  13             A.    Yes, I am.
  14             Q.    But just for the completeness of today's
  15      record, it's important for me to relay those
  16      instructions to you again.             Is that okay?
  17             A.    Of course.
  18             Q.    The oath that you just took is the same oath
  19      as the one you would take as if you were testifying in
  20      court.      Do you understand that?
  21             A.    Yes, I do.
  22             Q.    So under oath you are -- the expectation is
  23      that you will tell the full and complete truth during
  24      today's proceeding.
  25             A.    That was my understanding, yes.

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   1             Q.   Is there any reason today that would preclude
   2      you from being able to tell the full and whole truth
   3      to me?
   4             A.   No.
   5             Q.   Are you under any medication that would
   6      prevent your ability to do so?
   7             A.   No.
   8             Q.   Okay.   And if you realize during the course
   9      of today's proceeding that an answer you've given is
  10      incorrect or incomplete in any way, will you let me
  11      know so that the record can be corrected?
  12             A.   Yes, I will.
  13             Q.   Thank you.     Now, in the Northern District of
  14      California before Judge Alsup, I want to alert you
  15      that per Judge Alsup's standing order, deponents and
  16      their counsel must make a good faith effort to prepare
  17      for depositions and to refresh witness memories on
  18      important matters in the suit about which the witness
  19      reasonably should be expected to have knowledge.
  20                  Deponents who claim to lack of recollection
  21      during their deposition but who later claim at trial
  22      to have had their memories refreshed in the interim
  23      may be, among other things, impeached with their
  24      previous failures of recollection during their
  25      deposition or be subject to preclusion.             Do you

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   1      understand that?
   2             A.   Yes.
   3             Q.   Thank you.     Now, for the purposes of today,
   4      just in the interest of having a clean record and
   5      making the job easy for Nancy, our court reporter,
   6      please ensure that we take turns speaking and avoid
   7      speaking over each other.
   8             A.   I'll do my best.
   9             Q.   And it is important for you to provide
  10      audible answers as opposed to visual gestures in
  11      response to my questions.            Is that okay?
  12             A.   I understand.
  13             Q.   If you answer my question, I'm going assume
  14      that you understood my question.                Is that fine?
  15             A.   Yes, it is.
  16             Q.   And during the course of today's deposition
  17      there will likely be some objections raised by your
  18      counsel.     Unless your counsel instructs you not to
  19      answer, you can proceed with responding to my
  20      question.
  21                  Is that -- do you understand that?
  22             A.   I do.
  23             Q.   And if there's any questions I pose that are
  24      unclear to you or that would benefit from rephrasing,
  25      please don't hesitate to let me know and I will do my

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   1      best.
   2              A.   I will.
   3              Q.   And finally, if you need a break, this is not
   4      an endurance test, just let me know.                 I ask only that
   5      we don't take a break while a question is pending.
   6      But other than that, I anticipate being able to
   7      accommodate any breaks you request.
   8              A.   Thank you.
   9              Q.   Okay.     Mr. Miller, did you prepare for
  10      today's deposition?
  11              A.   Yes.
  12              Q.   How did you prepare for today's deposition?
  13              A.   I met with counsel yesterday in preparation
  14      for today's deposition.
  15              Q.   And how long was that meeting?
  16              A.   About 3-1/2, 4 hours.
  17              Q.   And who did you meet with during this
  18      meeting?
  19              A.   The three attorneys to my left and another
  20      attorney from DOJ, Steven -- I don't recall his last
  21      name.
  22              Q.   Were any documents provided to you for
  23      review?
  24              A.   No, they weren't.
  25              Q.   Were any documents used to refresh your

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   1      recollection?
   2             A.   No, they were not.
   3             Q.   Did you bring any documents with you today?
   4             A.   No.
   5             Q.   Have you been instructed to look for
   6      documents in your possession relating to DACA?
   7             A.   Yes, I have.
   8             Q.   And by "DACA," which is the term I'll be
   9      using many times today, I'm referring to the Deferred
  10      Action for Childhood Arrivals program.             Do you
  11      understand that?
  12             A.   Yes, I understand.
  13             Q.   Have you made an attempt to locate documents
  14      in your possession relating to DACA?
  15             A.   My assistant went through my archives and
  16      submitted to counsel all the documents we could
  17      identify.
  18             Q.   Did you undertake any personal efforts to
  19      locate these documents?
  20             A.   No.
  21             Q.   And who's your assistant?
  22             A.   Laura Hernandez-Winkelmann.
  23             Q.   And when you referred to "archives," can you
  24      please expand on that?
  25             A.   Archives within Microsoft Outlook

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   1      environment, a way to take it out of my active E-mail
   2      account and send it to archives that doesn't count
   3      against the size of my inbox since our inboxes are
   4      limited.
   5             Q.   So one location of documents in your
   6      possession relating to DACA were in -- was in the
   7      Microsoft Outlook environment; is that correct?
   8             A.   Yes.
   9             Q.   Did you have a subfolder where all the
  10      documents were located in one place, or were they
  11      disbursed throughout the system?
  12             A.   I keep my archives by year, by fiscal year.
  13      So they would have been in the appropriate location
  14      based on which fiscal year the information came out.
  15             Q.   Okay.     But not by subject matter or topic?
  16             A.   No.
  17             Q.   Did your assistant attempt to locate
  18      documents in any other location?
  19             A.   No.     Excuse me.     No.
  20             Q.   Do you have any hard-copy files that were --
  21      that may contain documents relating to DACA?
  22             A.   No.
  23             Q.   Okay.     How about on your hard drive outside
  24      of the Microsoft Outlook environment?
  25             A.   That's where the archives are.          Archives are

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   1      outside of -- the way our network is structured, you
   2      have limited capacity in your inbox, but then you have
   3      an individual drive on the network, and then I also
   4      have an external hard drive that I keep my archives
   5      on.    So when I travel, I can still access information.
   6      And within that environment is where Laura searched.
   7                  For my office, the way that I managed my
   8      records is that everything is within a PST file on one
   9      of those locations.
  10             Q.   Thank you for that clarification.           Let me
  11      ask, do you have any documents relating to DACA not in
  12      your E-mail archives but in the existing inbox or --
  13      that have not been archived?
  14             A.   Undoubtedly, yeah.         She searched the inbox
  15      and the archives, you know, to be responsive to the
  16      discovery request.
  17             Q.   And for the documents in your existing inbox,
  18      are documents in there relating to DACA segregated in
  19      subfolders?
  20             A.   No.
  21             Q.   So with respect to the documents in your
  22      possession, the E-mails in your possession that are in
  23      the current inbox that are also disbursed throughout
  24      the inbox without a particular categorization?
  25             A.   Yeah, I just keep it chronologically within

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   1      the inbox.
   2             Q.   How many documents did your assistant locate
   3      between --
   4             A.   I don't know.
   5             Q.   -- between the archives and the existing
   6      inbox?
   7             A.   I don't know.
   8             Q.   Did you review any of the documents that
   9      Ms. Hernandez located?
  10             A.   No, I did not.
  11             Q.   Were you given any instructions not to review
  12      those documents?
  13             A.   No.
  14             Q.   Do you have any understanding as to the
  15      process by which Ms. Hernandez used in order to
  16      identify documents relating to DACA?
  17             A.   No.
  18             Q.   Do you know if anyone gave her instructions
  19      on how to do so?
  20             A.   I don't know personally, no.
  21             Q.   You did not give her any instructions?
  22             A.   No.
  23             Q.   You did not explain, use a search term or any
  24      other mechanism in terms of how to locate the
  25      documents in your possession?

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   1             A.   No.    The request came in from our attorneys,
   2      and she received it.        She did the search.
   3             Q.   And when you say your "attorneys," are you
   4      talking about the office of general counsel at DHS
   5      level?
   6             A.   No.    ICE level.     The office of principal
   7      legal advisor, the ICE level.
   8             Q.   Did you ever receive any form of a litigation
   9      hold memo?
  10             A.   I don't believe so, no.
  11             Q.   Do you understand what a litigation hold memo
  12      is?
  13             A.   Yes.
  14             Q.   Have any -- do you believe any documents that
  15      you've had relating to DACA have been -- may have been
  16      destroyed?
  17             A.   I don't believe so, no.
  18             Q.   And why not?
  19             A.   It's been controversial since 2012.            And so
  20      usually, when we're involved in these processes you
  21      have, you know, working with all of you wonderful
  22      folks around the table for more than 20 years have a
  23      pretty good sense of, you know, when we're doing this
  24      kind of conversation.        So, you know, in situations
  25      like that, controversial programs, whether it's

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   1      related to benefits or enforcement, we usually have a
   2      pretty good idea of when we're all going to meet
   3      again.      So it's just easier to keep track of all that
   4      stuff.
   5             Q.    I think I know the answer to this question,
   6      but were you involved in any way in the compilation of
   7      the administrative record for this case?
   8             A.    No.     Excuse me.     No.     Sorry.
   9             Q.    Mr. Miller, you explained at the outset of
  10      today's proceeding that you have been deposed on
  11      multiple occasions.
  12             A.    Correct.
  13             Q.    Perhaps -- when was the first time you were
  14      deposed, month and year, if you remember?
  15             A.    I really don't, but it would have been
  16      sometime probably in 2009.
  17             Q.    And since then how many times have you been
  18      deposed do you think?
  19             A.    If I had to guess, maybe four or five times.
  20             Q.    Okay.     So if we can just start with the very
  21      first one, can you give me the details of that
  22      deposition.        What was that case about?
  23             A.    It was an equal opportunity claim, EEOC
  24      claim.
  25             Q.    That was filed against which entity?

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   1             A.   Against me.
   2             Q.   Personally?
   3             A.   In my capacity as the Field Office Director.
   4             Q.   And how about the next deposition?
   5             A.   I believe it was another EEO claim.
   6             Q.   And I'm sorry.      For the first one, do you
   7      remember the name of the plaintiff?
   8             A.   I don't.    It was one of my employees that was
   9      terminated, and I don't remember his name.
  10             Q.   And how about the second EEO claim you just
  11      referenced?
  12             A.   It was another employee.               I don't remember.
  13             Q.   Okay.   And when was this next deposition?
  14             A.   It was either -- I believe it was in early
  15      '10, 2010.
  16             Q.   And just moving quickly through the next
  17      ones, how about the next time you were deposed?
  18             A.   Probably the next one may have been Moreno,
  19      if I remember correctly.
  20             Q.   And that would have been in June 2013?
  21             A.   Sometime in '13, yes.
  22             Q.   And since then -- how about the next one?
  23             A.   The next one was -- it was a Flores
  24      deposition, and that would have been -- I can't
  25      remember if it was late '16 or early '17.

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   1                  And then there was another EEO, same, and I
   2      think that was in 2017 -- or there was one in 2016,
   3      one in 2017.
   4             Q.   Two EEO claims?
   5             A.   Yes.    So that would have been six.
   6             Q.   And do you remember the name of the plaintiff
   7      in the 2016 EEO proceeding?
   8             A.   Felicia Skinner.
   9             Q.   And how about the 2017 proceeding?
  10             A.   Dorothy Herrera-Niles.
  11             Q.   Is it safe to say for both of these
  12      proceedings, you were the defendant in your official
  13      capacity?
  14             A.   Yes.
  15             Q.   Have you provided any other depositions?
  16             A.   Not that I recall.
  17             Q.   Thank you.     Any other testimony that you have
  18      provided, for example, in court?
  19             A.   Sure.
  20             Q.   And on how many occasions have you done that?
  21             A.   Well, I was a special agent.              So it would
  22      have been, actually going to trial, I think one case
  23      in the Southern District of Mississippi went to trial,
  24      but I think -- no, I'm sorry.              It was just testimony
  25      at a bond hearing.       I don't recall.            It's going way

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   1      back.        That would have been 2003.
   2              Q.     How many times, as a ballpark estimate, have
   3      you testified in open court?
   4              A.     Probably just two or three.
   5              Q.     Okay.     I was worried you might say hundreds.
   6              A.     No.     Most people plead out.
   7              Q.     Okay.     So maybe we can just go through that
   8      very quickly.           The first time you -- I think you were
   9      trying to recall, was relating to a bond proceeding.
  10              A.     Uh-huh.
  11              Q.     And you think it may have been in 2003?
  12              A.     I believe 2003.
  13              Q.     How about the next time?
  14              A.     I think in that case I don't think we
  15      actually had to testify.              I think they took the plea
  16      agreement at the last minute.                 That was in the
  17      Southern District of Alabama.                 So I think that was in
  18      2004 or 2005, but we didn't actually testify.                   So I
  19      think that Southern Mississippi bond hearing may have
  20      been the only one that I recall specifically.
  21              Q.     Thank you for that.
  22                     Mr. Miller, have you testified before
  23      Congress?
  24              A.     Yes.
  25              Q.     I'm aware of the July 2017 Senate hearing.

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   1      Is that one of the times you testified before
   2      Congress?
   3             A.   That was the only sworn testimony.
   4             Q.   Have you testified or addressed Congress in a
   5      different capacity?
   6             A.   Just meeting individually with members and
   7      countless staff briefings.
   8                  MR. LEE:     And before I forget, let me just go
   9      back real quick and introduce as Exhibit 22 a document
  10      that's entitled "Plaintiff's Notice of Deposition of
  11      Philip T. Miller Pursuant to Federal Rules of
  12      Procedure 30(b)(1)."         Just as a formality, I want to
  13      make sure this exhibit has been introduced.
  14                  (Deposition Exhibit 22 was marked for
  15                  identification.)
  16      BY MR. LEE:
  17             Q.   Mr. Miller, you are appearing today pursuant
  18      to this deposition notice?
  19             A.   Yes, I am.
  20                  MR. LEE:     Thank you.
  21                  Back to the question of your testimony.             I'd
  22      like to just introduce also for the record that
  23      testimony.     I may have some more questions about that
  24      down the line, but just so we can get some exhibits
  25      out of the way, I'd like to mark as Exhibit 23 a

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   1      document entitled "Statement for Philip T. Miller,
   2      Assistant Director of Field Operations Enforcement and
   3      Removal Operations Regarding a Hearing on the 2014
   4      Humanitarian Crisis at our Border, A Review of the
   5      Government's Response to Unaccompanied Minors One Year
   6      Later.
   7                  THE WITNESS:      Thank you.
   8                  (Deposition Exhibit 23 was marked for
   9                  identification.)
  10      BY MR. LEE:
  11             Q.   Mr. Miller, is this document an accurate
  12      representation of the testimony you provided to the
  13      Senate on July 7, 2015?          Feel free to take a moment to
  14      review.
  15                  (The witness reviewed Exhibit 23.)
  16                  THE WITNESS:      Yes, I believe this is the
  17      statement.
  18      BY MR. LEE:
  19             Q.   Thank you.     You can just set that aside.
  20             A.   Sure.
  21             Q.   Any other sworn testimony that we haven't
  22      discussed yet?
  23             A.   No.
  24             Q.   I want to switch gears now and talk a little
  25      bit about your professional background, Mr. Miller.

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   1             A.   Certainly.
   2             Q.   I know you've done this many times.
   3             A.   No problem.
   4                  THE WITNESS:      Do you mind if I grab more
   5      coffee before we start?
   6                  MR. LEE:     Of course.        Let's go off the record
   7      just for a few minutes.
   8                  THE VIDEOGRAPHER:         We're going off the
   9      record.     The time on the video is 9:29 a.m.
  10                  (A recess was taken from 9:29 a.m. to
  11                  9:30 a.m.)
  12                  THE VIDEOGRAPHER:         We're back on the record.
  13      The time on the video is 9:30 a.m.
  14                  (Previously marked Exhibit 9 was handed to
  15                  the witness.)
  16      BY MR. LEE:
  17             Q.   Mr. Miller, I'm going to refer you to an
  18      exhibit previously marked as Exhibit 9.
  19             A.   Thank you.
  20             Q.   And I believe the markings may be with a
  21      different deposition right now, but I represent to you
  22      that this is the same document that we are using, and
  23      just per the judge's orders we are not supposed to
  24      mark the same exhibit with different numbers.               So
  25      thank you for your understanding.

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   1                  Mr. Miller, this document has previously been
   2      marked as Exhibit 9 and represents a number of
   3      different organizational charts reflecting the
   4      structure at the U.S. Department of Homeland Security.
   5      Does that appear to be the case?
   6             A.   Yes.
   7             Q.   And I want to take you -- unfortunately,
   8      these pages aren't numbered, but if I can take you a
   9      couple pages from the back to the organizational chart
  10      for ICE.
  11                  It may be six pages from the back.
  12             A.   I have it.
  13             Q.   Great.   So just as a tool and an aid for the
  14      next series of questions, can you first tell me your
  15      current title at ICE?
  16             A.   I am the Deputy Executive Associate Director
  17      for enforcement removal operations.
  18             Q.   And would this position be reflected on this
  19      organizational chart?
  20             A.   Yes, it is.
  21             Q.   And where do you see that?
  22             A.   If you look cascading from the -- you have it
  23      labeled as "Assistant Secretary," but cascading from
  24      that office to the left is enforcement of removal
  25      operations, Executive Associate Director, and my

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   1      position is directly beneath the Executive Associate
   2      Director as the deputy.
   3             Q.   And how long have you been in this position?
   4             A.   Since July of 2015.
   5             Q.   Previous to this position, what was your
   6      position at ICE?
   7             A.   I was the Assistant Director for field
   8      operations.
   9             Q.   And would that be the next box down that's
  10      entitled "Field Operations Assistant Director"?
  11             A.   Correct.
  12             Q.   Okay.   What was the start and end date of
  13      that position?
  14             A.   From May of 2013 through July of 2015.
  15             Q.   And just going in reverse chronological
  16      order, what was your position before that?
  17             A.   Field Office Director in New Orleans from
  18      September of 2009 until May of 2013.
  19             Q.   And is that position reflected on the
  20      organizational chart?
  21             A.   No, it is not.
  22             Q.   With respect to the Field Office Director
  23      position, who did you report to?
  24             A.   I reported to the assistant director for
  25      field operations.

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   1             Q.   The position that you assumed in May 2013?
   2             A.   Yes, sir.
   3             Q.   And according to this chart, it appears that
   4      as the Field Operations Assistant Director you
   5      reported to the Deputy Executive Associate Director;
   6      is that correct?
   7             A.   Yes, it is.
   8             Q.   And that's a position you now hold?
   9             A.   That is correct.
  10             Q.   When did you first join federal service?
  11             A.   I joined the U.S. Army in January of 1992.
  12             Q.   Okay.   And when did you begin federal service
  13      with the Department of Homeland Security or the
  14      Immigration Naturalization Service?
  15             A.   I joined the Immigration Naturalization
  16      Service in August of 1996.
  17                  MR. LEE:    I'd like to introduce as the next
  18      Exhibit 24 a document entitled "Declaration of Philip
  19      T. Miller."
  20                  (Deposition Exhibit 24 was marked for
  21                  identification.)
  22      BY MR. LEE:
  23             Q.   Do you see that?
  24             A.   I do.
  25             Q.   Are you familiar with this document,

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   1      Mr. Miller?
   2             A.   I reviewed this previously, but I don't
   3      recall which case it was for.
   4             Q.   Okay.   You answered my next question.               So
   5      thank you for that.        You do not recall which case this
   6      declaration was for?
   7             A.   No.
   8             Q.   Does it appear to you that it was signed
   9      August 7, 2017?
  10             A.   Yes.
  11             Q.   And upon your review of this declaration,
  12      it's a recitation of your professional history in
  13      Paragraphs 1, 2, and 3; correct?
  14                  (The witness reviewed Exhibit 24.)
  15                  THE WITNESS:      Yes, it is.
  16      BY MR. LEE:
  17             Q.   You can set that aside.
  18             A.   Thank you.
  19             Q.   Starting with your position as the Field
  20      Office Director in New Orleans, can you give me some
  21      description of your role and responsibilities?
  22             A.   I was responsible for a five state area of
  23      responsibility that included Louisiana, Mississippi,
  24      Alabama, Tennessee, and Arkansas.                   I had 21 offices in
  25      those five states with approximately 285 employees.

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   1      We were involved in civil immigration enforcement in
   2      those five states from beginning to end, to include
   3      both detained and nondetained dockets, and managing a
   4      process with Department of Justice, Bureau of Prisons
   5      for the institutional hearing program in Bureau of
   6      Prisons facilities that were not only in those five
   7      states but also included the panhandle of Florida and
   8      the state of Kentucky.
   9                  And we also, although I didn't have direct
  10      oversight responsibility, we did support an ICE air
  11      operation operating out of the Alexandria
  12      International Airport.         I had 14 detention locations
  13      in those five states, and we interacted with about 395
  14      different sheriff departments in our day-to-day
  15      operations.
  16             Q.   Did those operations include the apprehension
  17      of illegal aliens?
  18             A.   Yes.
  19             Q.   Was your office directly in charge of the
  20      agents that would be identifying and apprehending
  21      those individuals?
  22             A.   The officers, yes.
  23             Q.   You mentioned a "detained and nondetained
  24      docket."     Can you expand or clarify what that refers
  25      to?

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   1             A.   Sure.   ERO, I would like to refer to
   2      Enforcement and Removal Operations as our normal
   3      acronym of "ERO," Edward, Romeo, Oscar.
   4             Q.   Sure.
   5             A.   ERO has a bifurcated mission.               We have our
   6      own proactive law enforcement operations, but we also
   7      support DHS at large in terms of any component or
   8      subcomponent within DHS that takes a civil immigration
   9      action against an individual.             That person or their
  10      case comes to ERO for management.                  If the person is to
  11      be detained, we make a decision about where the person
  12      is to be detained and under what conditions.                  And if
  13      the person is not subject to detention, the case is
  14      still managed by our deportation officers in
  15      coordination with the Office of Chief Counsel, which
  16      are the field attorneys for ICE.
  17                  And so when I say we have a detained and
  18      nondetained docket, we had that area of
  19      responsibility, we had a detained court in Oakdale,
  20      Louisiana and nondetained courts in New Orleans,
  21      Louisiana and Memphis, Tennessee.                  So depending on the
  22      case and the specific fact pattern of the case, we'd
  23      make an individualized assessment on which -- the
  24      conditions the person would either be detained under
  25      or what kind of supervised release the person would be

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   1      under, and then calendar the case with DOJ's executive
   2      office of immigration review based on which docket the
   3      person was going to be managed on.
   4             Q.   And just to clarify, I want to unpack that
   5      just a little bit.       When you talk about the undetained
   6      docket, you are referring to the proceedings for
   7      unauthorized aliens who are not in ICE detention?
   8             A.   Either for persons who are appearing before
   9      the immigration court or persons who have been ordered
  10      removed by the immigration court and they are still
  11      appealing their case to a higher court, or for
  12      whatever reason we cannot remove them from the
  13      country, in which case they remain on the nondetained
  14      docket on supervised release, if you will, like being
  15      on parole from ICE.
  16             Q.   And with -- the detained docket refers to
  17      individuals that are, in fact, in detention?
  18             A.   That is correct.
  19             Q.   Are part of -- is part of your responsibility
  20      as Field Office Director to issue NTAs, or Notice to
  21      Appear?
  22             A.   My subordinates, yes.
  23             Q.   And can you describe what an NTA is?
  24             A.   An NTA is a charging document, or one of the
  25      charging documents that are available to ICE.               It is

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   1      the most common one to place someone into proceedings
   2      before the Executive Office of Immigration Review, or
   3      EOIR, if we may use that acronym.                  What it is, is it
   4      lays out both the allegations that we are posing
   5      against the individual and then which section or
   6      sections of the Immigration Nationality Act, or INA,
   7      are in violation based on the fact pattern that we
   8      present to the judge.
   9             Q.   And are there circumstances under which your
  10      subordinates are required by law to issue an NTA?
  11             A.   There are charges or predicate offenses that
  12      Congress has deemed for the person to be mandatory
  13      detention if we issue a charging document, but we
  14      always reserve the ability to -- for reasons of
  15      prosecutorial discretion to not charge the individual.
  16             Q.   And would determinations or decisions about
  17      whether to exercise prosecutorial discretion be a
  18      decision that fell within your responsibility as the
  19      field service, Field Office Director?
  20             A.   Yes.   You can use the acronym FOD.              It may be
  21      easier for you.
  22             Q.   I appreciate that.
  23             A.   That's what we call ourselves.
  24             Q.   As a former federal employee myself, I do
  25      like acronym speak.

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   1             A.   That's right.
   2             Q.   Does your decision about prosecutorial
   3      discretion have to be reviewed by anyone above your
   4      chain of command, or above your position?
   5             A.   It does not have to be -- it does not require
   6      external review, but it may, of course, as all
   7      decisions, may be reviewed all the way up to the
   8      Secretary.
   9             Q.   So you can always seek input if you have not
  10      decided or don't feel like you have made or are able
  11      to make a decision about a particular case?
  12             A.   I was able to make decisions.          It was just if
  13      someone wanted the decision to go a different way.
  14             Q.   So how would someone say to you, "I think the
  15      decision you're making is not the one I would make"?
  16             A.   It would usually be opposing counsel or an
  17      advocate for the alien would reach out, either to ICE
  18      as the component or to DHS, depending on the level of
  19      access of the individual attorney or the individual
  20      organization.
  21             Q.   I see.   So when your decision to charge or
  22      not to charge is challenged, that's when it may go up
  23      your chain of command?
  24             A.   That's one instance of prosecutorial
  25      discretion, yes.

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   1             Q.   Can you explain a little bit more just to
   2      make sure when I used the term "prosecutorial
   3      discretion" and when you use the term that we're
   4      talking about the same thing?             Can you explain to me
   5      your understanding of prosecutorial discretion?
   6             A.   Sure.   Throughout the immigration enforcement
   7      life cycle, which is what we call the process, from
   8      encounter to removal, there are a number of decision
   9      points along that continuum, and at each decision
  10      point you have, you know, an opportunity to proceed or
  11      not proceed based on the facts that are known to you
  12      at that time.
  13                  Most commonly, that's at time of arrest, time
  14      of issuing that charging document, detention decision,
  15      and then counsel -- chief counsel's office would have
  16      the opportunity once the case is calendared with the
  17      immigration court to either proceed or not proceed in
  18      the matter before the immigration court.              And then, if
  19      you will, or an analogy, it would volley back to us
  20      once those proceedings are administratively final, and
  21      then the decision point is removal or again, we can
  22      decide detain or not detain on post order, from our
  23      post order detention authority being different than
  24      our preorder, and then a decision point on whether or
  25      not to remove.

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   1                  So there are a number of opportunities for
   2      prosecutorial discretion throughout the immigration
   3      life cycle, and it varies from case to case.
   4             Q.   And as the FOD, were you overseeing -- were
   5      you overseeing this entire life cycle?
   6             A.   Yes.
   7             Q.   And so the exercise of prosecutorial
   8      discretion throughout this life cycle is something
   9      that you had purview over?
  10             A.   With the exception of once the case is
  11      calendared before the immigration court, yes.
  12             Q.   As the FOD, were you responsible for issuing
  13      any policies or guidance to your subordinates with
  14      respect to how to exercise prosecutorial discretion?
  15             A.   Yes.
  16             Q.   And are those public documents?
  17             A.   No.    They would be considered -- we'd
  18      consider them operational guidance and being law
  19      enforcement sensitive.
  20             Q.   And these operational guidance documents are
  21      generated at your level?
  22             A.   For my field office, yes.
  23             Q.   And how would that document receive the
  24      necessary approvals or clearance?
  25             A.   I would generally confer with my chief

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   1      counsel, and if -- at that time it was a female
   2      attorney.        If she had questions, we would discuss
   3      that.        If she wanted to engage with other attorneys,
   4      either at headquarters or other field offices, then we
   5      would meet and confer on either the concept of
   6      operation or the application of a policy.
   7                     Many of our policies that are generated
   8      nationally, are impacted differently.                   As you're well
   9      aware what happens in the 9th isn't necessarily what
  10      happens in the 5th or the 11th.                   And so sometimes I
  11      had to issue different guidance for my officers in the
  12      5th than I did in the 11th depending on what was being
  13      handed down.
  14                     So there was a lot of interaction with our
  15      counsel and her -- you know, her fellows before we
  16      would kind of come to consensus on the best way to
  17      proceed.
  18              Q.     Thank you.
  19                     Over the course of your time as the FOD, how
  20      many of these policy operational guidance documents do
  21      you think you've issued?
  22              A.     I mean it would be difficult to even guess.
  23      I mean not everything was a written document.                   Some
  24      was -- some were issued in E-mail guidance.                   Some were
  25      issued verbally to supervisors.                   It was very open and

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   1      collaborative with my subordinate supervisors and
   2      giving them opportunities to come forward with
   3      questions or allow their employees to come forward
   4      with questions and kind of discuss things through.
   5                   I felt it was important that people
   6      understand what they're doing and not just doing it,
   7      like animatronically.        So that was something that I
   8      stressed with my subordinate managers.             So I mean the
   9      idea of one perfect answer was something that I tried
  10      to teach them to reject and come up with, you know,
  11      solution sets that are practical, given that they're
  12      all resourced differently.
  13                   And then they're all working in different
  14      states and they're all working in different -- I had
  15      people in different -- you know, 13 different district
  16      courts, 3 different circuit courts, 2 different time
  17      zones.      So it wasn't usually, you know, one right
  18      answer.
  19             Q.    Was any of the operational guidance ever
  20      delivered just verbally?
  21             A.    Yes.
  22             Q.    And is that verbal guidance on a case
  23      specific basis or verbal guidance that would be
  24      broadly applicable?
  25             A.    Both.   I mean sometimes they would kind of

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   1      give me a scenario, "What do we do in this scenario"
   2      just so there was consistency.               But when it came to a
   3      lot of times with -- you know, as one exemplar
   4      encountering somebody in the field who had children,
   5      and they would want -- you know, they would want to,
   6      like, discuss that.        So my officers would try to reach
   7      out, and we would discuss through the best way forward
   8      on how to proceed.
   9             Q.   So the guidance -- operational guidance is
  10      issued by E-mail, by written memoranda and also
  11      verbally?
  12             A.   Yes.
  13             Q.   Any other mechanisms?
  14             A.   No.
  15             Q.   At the time that you were the FOD who was the
  16      Field Operations Assistant Director?
  17             A.   There were several.           Kelvin McCormack, Scott
  18      Weber, Robin Baker, Dave Venturella, and Chris
  19      Shanahan.     I think that was -- I think those were the
  20      individuals.
  21             Q.   And in your position as the FOD, did you
  22      interact with entities outside of DHS?
  23             A.   Can you clarify that?
  24             Q.   Of course.     In your day-to-day
  25      responsibilities as the FOD, did you, for example,

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   1      have the need to liaise with the White House?
   2              A.   No.
   3              Q.   How about with the Department of Justice?
   4              A.   Yes.
   5              Q.   Is that because of your interactions with the
   6      EOIR?
   7              A.   Both the EOIR and the U.S. Attorney's
   8      offices.
   9              Q.   Okay.   And besides those components of the
  10      Justice Department, any others?
  11              A.   Sometimes the Office of Immigration
  12      Litigation will.
  13              Q.   Any others?
  14              A.   I don't believe so.
  15              Q.   Okay.   How about with members of Congress?
  16              A.   Occasionally, when they were in district.
  17      More commonly with their staff directors, the
  18      day-to-day interaction.
  19              Q.   How about state or local government
  20      officials?
  21              A.   Occasionally, but that was rare.
  22              Q.   What would those rare occasions entail?
  23              A.   Sometimes they would simply have questions
  24      about immigration, and it was almost like what we call
  25      a 101, just to kind of outline what it is that we're

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   1      doing and why, and sometimes they had questions
   2      about -- depending on the state, how to better work
   3      with us or what they could do to better align our
   4      mission with their mission.
   5                  And sometimes, you know, the district
   6      attorneys, organizations would have questions, and
   7      we'd go and -- I'd go with my chief counsel and we'd
   8      basically kind of, in the round, if you will, take
   9      their questions and respond to their -- you know,
  10      their needs.
  11             Q.   That makes sense.        Let's move on now to your
  12      Field Operations Assistant Director position.               You
  13      were promoted in May of 2013?
  14             A.   Correct.
  15             Q.   Can you expand on the role and
  16      responsibilities of that position?
  17             A.   Sure.   Similar in some way, except you're
  18      dealing with 24 field offices and not 21 offices.                 But
  19      again, every aspect of the immigration life cycle from
  20      start to begin -- from start to end.               That also had --
  21      the assistant director job had a little bit more
  22      involvement in overseas operations than you do in the
  23      field.
  24                  So even what we're -- our activities
  25      overseas, but I was the supervisor for the 24 field

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   1      offices, and in that capacity provided them guidance
   2      and perspective, and then also did a lot of briefings
   3      on the Hill, a lot of briefings at the department
   4      level.      So kind of as the conduit between the field
   5      and Washington, D.C., I had to kind of play that role
   6      of interpreting what's being done in the field for
   7      people, you know, inside the beltway and then
   8      translate Washington speak back out to the field.
   9             Q.    In this position did you have to review or
  10      clear the operational guidance documents being issued
  11      by the various field office directors?
  12             A.    No.    Only if they asked for counsel.
  13             Q.    When you say, "counsel," your counsel?
  14             A.    Yes.    I'm sorry.
  15             Q.    Otherwise, they are free to liaise with the
  16      internal lawyers to work up their operational
  17      guidance?
  18             A.    That's correct.       Myself and my counterpart
  19      from the office of the principal legal advisor, rather
  20      unanimously us trying to micromanage all of the
  21      impacts of the various district court and circuit
  22      court decisions, we would generally issue broad
  23      guidance and allow them the ability to adapt that to
  24      their local offices.         And -- but, of course, the same
  25      mechanism was in place that if either the FOD or the

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   1      chief counsel had questions and wanted higher level
   2      review, then there was an opportunity for them, that
   3      we would sit down with them and kind of talk it
   4      through.
   5             Q.   So tell me a little bit more about the broad
   6      guidance you just mentioned.             Would this be the
   7      guidance issued at your level that would apply to all
   8      of the field offices?
   9             A.   Correct.
  10             Q.   What is the procedure for generating this
  11      type of guidance?
  12             A.   Generally, there will be either an identified
  13      problem or an identified confusion or a new policy
  14      that comes from the department, and we would draft the
  15      operational guidance on implementing that, you know,
  16      program or what we see as a systemic shortcoming, and
  17      then I would work with my counterpart in OPLA until we
  18      came to a decision on the way to best present it.
  19                  We would have that elevated and cleared
  20      within ICE, and then it would be issued and, generally
  21      speaking, things coming from my level were viewed in
  22      E-mail broadcasts.
  23             Q.   When you say, "elevated and cleared within
  24      ICE," can you tell me a little bit more about what
  25      that process entails?

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   1             A.   Sure.   They would be cleared by the executive
   2      associate director for ERO and the principal legal
   3      advisor, those two chains of command.                   If there was an
   4      element of the guidance that may have touched on
   5      Homeland Security investigations or HSI, they would
   6      have an opportunity to review it.                   If there were going
   7      to be budgetary impacts, the CFO would get involved in
   8      the review and decide whether or not it needed to be
   9      socialized to the appropriators, and then it would go
  10      to ICE's front office, to the deputy director, and
  11      generally speaking, he would decide whether or not we
  12      could go ahead and issue it in its current state or if
  13      he wanted it more formally issued as a memorandum or a
  14      policy directive from the agency.
  15                  A lot of the things that I did at the field
  16      operations level weren't necessarily -- didn't rise to
  17      the level of being ICE policy or ICE directives.                   So
  18      that generally, once the deputy director approved it,
  19      we were fine to issue it.
  20             Q.   Is there any written documents outlining how
  21      various types of guidance documents should be elevated
  22      and cleared in order to be finalized?
  23             A.   No.
  24             Q.   Is it document dependent?
  25                  MS. DAVIS:     Objection.          Vague.

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   1      BY MR. LEE:
   2              Q.   Does it depend on the guidance?
   3              A.   Yes.
   4              Q.   Would it be fair to say that those entities
   5      within ICE have equities in that guidance document
   6      would have a chance to weigh in, provide input, and
   7      sign off?
   8              A.   Yes.
   9              Q.   Are there any types of guidance documents
  10      that need to be elevated all the way to the assistant
  11      secretary level?
  12              A.   If it was going to be an ICE policy or an ICE
  13      directive that would be impacted in the entire
  14      organization, then yes.
  15              Q.   Okay.    As the Field Operations Assistant
  16      Director, who did you report to?
  17              A.   The deputy executive associate director.
  18              Q.   Sorry.    I didn't understand that.        I
  19      apologize.
  20                   Who was the deputy associate director at that
  21      time?
  22              A.   Tim Robbins.
  23              Q.   And was he in that position for the duration
  24      of your time as the Field Operations Assistant
  25      Director?

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   1             A.    Yes.
   2             Q.    And you indicated earlier that in this
   3      position you did a lot of liaising between sort of
   4      D.C. headquarters and the field staff around the
   5      country; is that correct?
   6             A.    Yes, it is.
   7             Q.    Okay.   Did you, in that position, have any
   8      interactions with the White House?
   9             A.    Yes.
  10             Q.    In what kind of way?
  11             A.    Usually, at the domestic policy counsel
  12      level, going to discuss topics that they were either
  13      looking to implement or they wanted feedback from ICE
  14      on proposals that they were considering.
  15             Q.    Were you dealing with like a staff member at
  16      the DPC or an actual special assistant --
  17             A.    Both.   I've met -- Cecilia Munoz was the
  18      director of the DPC at the time, and I've talked with
  19      her and her deputy or assistant, I forget, Felicia
  20      Escobar was her No. 2.         And sometimes I would meet
  21      with Cecilia, sometimes with Felicia, sometimes with
  22      staff.      It just depended on the nature and scope of
  23      the meeting.
  24             Q.    Any other components within the White House?
  25             A.    I would sometimes go to National Security

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   1      staff, meeting with the National Security staff.
   2             Q.   And there, again, also with the principals or
   3      just at a staff level?
   4             A.   No, just a staff level, not the actual
   5      National Security Council, but the career staff.
   6             Q.   And with the Justice Department, I presume,
   7      again, with the U.S. attorney's offices EOIR and OIL?
   8             A.   OIL and EOIR, and then also civil rights.
   9      Didn't really do much with the executive office of the
  10      U.S. attorney's office or whatever -- I forget the
  11      exact -- they have their own executive organization
  12      over at the U.S. attorney's offices.
  13             Q.   I think you're exactly right, the Executive
  14      Office of the U.S. Attorneys.
  15             A.   Yes.
  16             Q.   What was the nature of your interactions with
  17      the Civil Rights Division?
  18             A.   A couple different times they were trying to,
  19      I guess I would say, mediate or moderate between
  20      different cities that had questions about immigration
  21      enforcement, and trying to understand what was going
  22      on with immigration enforcement so they could inform.
  23      They're usually cities that were under consent
  24      decrees.     Consent decrees.        And so they were trying to
  25      understand like how those interacted with immigration

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   1      enforcement.
   2             Q.    To make sure those consent decrees -- the
   3      terms of those consent decrees would be consistent --
   4             A.    Right.
   5             Q.    -- with immigration law?
   6             A.    Yes.
   7             Q.    Thank you.
   8                   How about with members of Congress?
   9             A.    Different members.          I mean if they had
  10      questions about what was going on with enforcement in
  11      their district or state, we would go and meet with
  12      those.      The Hispanic Caucus several times asked me to
  13      come and talk with them about what was going on with
  14      UACs and families on the border, and then staff, same
  15      thing.      I would do -- every cycle, every two years
  16      they have kind of an indoctrination for the new staff
  17      with new members, and we would go and kind of do the
  18      101 on what ICE and ERO does, and then that would
  19      always generate a lot of questions and interest.
  20                   So I mean in that capacity, as the EAD, I was
  21      on the Hill, you know, frequently.                   Broad range of
  22      topics.
  23             Q.    Okay.    Moving to your deputy -- your current
  24      position, who do you report to presently?
  25             A.    Matthew Albence.

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   1             Q.   We might as well take care of this right now.
   2      Can you go back to your organizational chart,
   3      Exhibit 9.
   4             A.   Sure.   Okay.
   5             Q.   If you can just identify for me some of the
   6      other positions identified.             Who is the deputy
   7      director?
   8             A.   The acting deputy director is Peter Edge.
   9             Q.   And the assistant secretary?
  10             A.   Tom Homan is the acting director.
  11             Q.   Was Mr. Homan ever employed with ERO?
  12             A.   Yes.
  13             Q.   And can you just give me a little background
  14      on his tenure there.
  15             A.   He was the assistant director for
  16      enforcement, deputy executive associate director and
  17      executive associate director.
  18             Q.   When you say, "assistant director for
  19      enforcement," is that reflected here on this
  20      organizational chart?
  21             A.   Yes.
  22             Q.   Can you help me out with where that is?
  23             A.   Bottom left.
  24             Q.   Thank you.
  25             A.   You're welcome.

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   1             Q.   Was there any time in which you reported
   2      directly to Mr. Homan?
   3             A.   During a detail, yes.            When I was up at
   4      headquarters on a detail, but not formally within
   5      chain of command.
   6             Q.   Who is the chief of staff?
   7             A.   Currently?
   8             Q.   Yes, please.
   9             A.   Tom Blank.
  10             Q.   You said, "Blank"?
  11             A.   Blank, yes.
  12             Q.   Does he have a deputy?
  13             A.   There's an acting deputy right now.            His name
  14      is James Harris.
  15             Q.   And who is the principal legal advisor?
  16             A.   Tracy Short.
  17             Q.   So going back to your current position as a
  18      Deputy Executive Associate Director, are there
  19      policies and guidance documents that are issued at
  20      this level?
  21             A.   No.
  22             Q.   Are there policies or operational guidance
  23      documents issued at the executive associate director
  24      level?
  25             A.   Yes.

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   1             Q.   So that would be by Mr. Albence?
   2             A.   Correct.
   3             Q.   What is the nature of those policies and
   4      operational documents?
   5                  MS. DAVIS:     Objection.          Vague.
   6                  THE WITNESS:      They're usually clarifying
   7      documents or implementing documents for policies and
   8      programs that impact all of ERO.                So something that
   9      Mr. Albence wants to ensure that the guidance is
  10      standardized as much as possible throughout ERO, then
  11      the policy or directive would come from him.
  12      BY MR. LEE:
  13             Q.   Do you recall who was the executive associate
  14      director in 2012?
  15             A.   Gary Mead.
  16             Q.   What was his tenure there, if you recall?
  17             A.   I don't remember exactly when he started
  18      because I believe he started sometime in 2010 and --
  19      but he retired in April of 2013.
  20             Q.   And has Mr. Albence been the executive
  21      associate director since this new administration?
  22             A.   Since February of 2017.
  23             Q.   And with respect to the policies and
  24      operational guidance documents you discussed at this
  25      level, would they go through the same elevation and

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   1      clearance process that you described earlier today?
   2             A.   Yes, sir.
   3             Q.   Okay.     In this current position, do you also
   4      continue to liaise with the White House?
   5             A.   If asked, yes.
   6             Q.   Have you had the occasion to deal with the
   7      White House?
   8             A.   No.
   9             Q.   So not in the last two years?           I'm sorry.
  10      Excuse me.        You've only been there for a few months;
  11      is that correct?
  12             A.   I'm sorry?
  13             Q.   You've only been the Deputy Associate
  14      Director -- oh, you've been there for two-plus years;
  15      is that correct?
  16             A.   Yes, it is.
  17             Q.   Okay.     I'm sorry.
  18                  Within that span of those two-plus years,
  19      you've not had the occasion to liaise with the White
  20      House?
  21             A.   It's more with the current administration.                I
  22      haven't been doing as much with the White House.                 So
  23      since January.
  24             Q.   So to clarify, and I apologize.           I'm getting
  25      confused.     Over the span of the time you were Deputy

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   1      Executive Associate Director your interactions with
   2      the White House occurred predominantly this year with
   3      the new administration?
   4              A.   No, that's incorrect.            It was predominantly
   5      with the previous administration.                    Since January I've
   6      had very little interaction with the White House.
   7              Q.   Understood.      Thank you for that.
   8                   And with the previous administration, what
   9      components of the White House were you interacting
  10      with?
  11              A.   Same.   NSC, DPC, OMB were the primary points.
  12      A little bit with legislative affairs on a few topics.
  13              Q.   How about with the Justice Department?
  14              A.   Same.   Little bit more with Civil Rights, as
  15      the deputy.      OIL is the major conduit that we have
  16      with DOJ at the headquarters level.                    EOIR at the
  17      executive level, and Civil Rights on, you know,
  18      helping them with the consent decrees.
  19                   MS. DAVIS:     To clarify, was your question
  20      still related to the last administration?
  21      BY MR. LEE:
  22              Q.   I was really referring just to the time you
  23      were the Deputy Executive Associate Director.                    So the
  24      two years or so you've been there.
  25              A.   All of those were -- to clarify all of those

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   1      were with the previous administration.
   2             Q.   Okay.    So that helps me.              Under the current
   3      administration, has those interactions -- have those
   4      interactions changed in any way?
   5             A.   I haven't met with anyone from Civil Rights
   6      with the new administration.              I continue to meet with
   7      OIL and EOIR.       Of course, now my colleague from
   8      federal programs is a new addition to the game.
   9             Q.   And you've already explained that you've not
  10      had interactions with the White House since the new
  11      administration?
  12             A.   I'll clarify, just OMB, but not DPC or NSC.
  13                  MR. LEE:     Okay.     It's 10:10.          Do you want to
  14      take a brief five-minute?
  15                  MS. DAVIS:     Sure, if this is a natural break
  16      point.
  17                  THE VIDEOGRAPHER:         We're going off the
  18      record.     The time on the video is 10:12 a.m.
  19                  (A recess was taken from 10:12 a.m.
  20                  to 10:26 a.m.)
  21                  THE VIDEOGRAPHER:         Back on the record.         The
  22      time on the video is 10:26 a.m.
  23      BY MR. LEE:
  24             Q.   Mr. Miller, do you understand you're still
  25      under oath?

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   1             A.   Yes, I do.
   2             Q.   Mr. Miller, I've been using the term
   3      "policies" and "guidance" somewhat interchangeably
   4      earlier today.      I want to drill down on that a little
   5      bit with you to make sure I understand the categories
   6      of documents that are generated at the various levels
   7      that we discussed today, at field office level, at the
   8      level of the Field Operations Assistant Director, and
   9      then at the Executive Associate level.              In your mind,
  10      are there different categories of documents that would
  11      be issued by these offices?
  12             A.   Yes.
  13             Q.   Can you explain what those categories are?
  14             A.   First, I would say that the difference
  15      between policy and operational guidance is that
  16      operational guidance kind of gives direct instructions
  17      to law enforcement officers on how they should be
  18      doing their job.
  19                  Policy is a little bit broader in scope in
  20      that it may entail guidance.              It may entail from what
  21      legal authority the direction is being derived, and it
  22      may define desired outcomes or specific outcomes that
  23      we're looking to achieve, kind of better explaining to
  24      all employees.      Because again, starting at the field
  25      level, as I told you previously, I thought it was

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   1      important that everybody in the field office, not just
   2      the operators, understand what we're doing and why.
   3                  Going up to the Assistant Director level, I
   4      generally took the same philosophy.                At that level
   5      most of what I issued was operational guidance to the
   6      LEOs, but sometimes I thought it was important
   7      through -- we called them "taskings."                They're E-mail
   8      messages that are sent out to all employees, and I
   9      thought sometimes it was important that all employees
  10      understood what we were doing and not just the law
  11      enforcement officers.
  12                  So in my mind, that's when I would
  13      differentiate giving operational guidance to the field
  14      office directors for their law enforcement officers,
  15      or LEOs, if I may use that acronym, as opposed to
  16      talking, you know, in broader terms to all employees
  17      within ERO, you know, law enforcement and support.
  18                  And then when you get into more policy
  19      documents at the headquarters level, the same kind of
  20      thing that you're trying to point to, either a change
  21      at the national level in operating principles or the
  22      impact of a specific case, whether that's done, for
  23      example, like the field offices in the 9th or
  24      something that's done nationally, sometimes it may be
  25      important to issue policy that defines why the change

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   1      is being made, what the scope of that change is, and
   2      what we foresee as the impact, and then laying out the
   3      expectations of what we want as outcomes based on
   4      their change of behavior.
   5                  At that time, at the field office level, I
   6      wasn't really issuing directives.                  At the EAD level,
   7      the EAD has the flexibility to do any of those.                  He
   8      can issue operational guidance, if there's something
   9      that he wants to define, behaviors or outcomes just
  10      for the LEOs, he has the ability to issue that
  11      operational guidance.
  12                  Less common at the EAD level, more frequently
  13      done at the field office level because that's the part
  14      of the organization that's really, again, doing the
  15      interaction between headquarters and the field.                  More
  16      commonly, the EAD will either issue policy, or if they
  17      want something that's better defined, especially
  18      concepts or changes that are superseding policy or
  19      superseding previous guidance, we currently -- ICE and
  20      ERO favor the directive format that actually, you
  21      know, defines specifically what's being superseded and
  22      kind of in a bit more detail lays out the legal
  23      authority, the expected behaviors, defines any terms
  24      that may be ambiguous or new, and then talks about, at
  25      different levels within the organization, behaviors or

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   1      responsibilities, probably more responsibilities than
   2      behaviors.
   3             Q.   So when you used the word "directive," is
   4      that also the policy documents that we've been
   5      discussing?
   6             A.   ICE is in the process of kind of trying to
   7      formalize its policy issuance.               At one time most
   8      policies were issued via memoranda, and they have been
   9      favoring the directive because we think it better
  10      defines -- as I said, you know, it better defines
  11      terms, it better defines behaviors or expectations.
  12      It allows for clear articulation of what the legal
  13      precedents are, and then it provides an opportunity to
  14      specifically say what is being superseded, if
  15      anything, along with the issuance of the directive.
  16             Q.   Would it be fair to say, then, the
  17      operational guidance documents would implement these
  18      directives?
  19                  MS. DAVIS:     Objection.          Form.
  20      BY MR. LEE:
  21             Q.   Just to better understand how these documents
  22      fit in in relation to each other.
  23             A.   It may be required -- it may be necessary,
  24      depending on a directive, to issue operational
  25      guidance if the field doesn't understand it, but

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   1      hopefully, if we inside 395 are doing our job, will
   2      ensure that it is well defined within the directive,
   3      you know, both the responsibilities and the desired
   4      outcomes.
   5                  But it is conceivable that you may have to
   6      issue further operational guidance.
   7             Q.   And then with respect to the clearance
   8      process, just to get some clarity for the record, when
   9      we talked about elevating documents potentially up to
  10      the deputy director or even assistant secretary level,
  11      are we talking about directives or both -- or
  12      operational documents as well?
  13                  MS. DAVIS:     Objection.          Compound.
  14                  THE WITNESS:      In most instances it's either a
  15      policy or directive that's elevated to the level of
  16      the Director, certainly.           Or in your organizational
  17      chart, the Assistant Secretary, although for us, it's
  18      the Director.      Generally speaking, operational
  19      guidance is within the component, but there may be
  20      instances that it's elevated depending on what you're
  21      directing people to do.          It could conceivably go to
  22      the Deputy Director's office.              I can't recall that
  23      happening, but it -- you know, it would be possible
  24      with something that sensitive.
  25      BY MR. LEE:

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   1             Q.   That's very helpful.           Thank you.
   2                  I want to go back also to our prior
   3      discussion about your contacts with the White House in
   4      your current position.          Under the prior
   5      administration, my understanding is that your
   6      interactions with the White House included
   7      interactions with domestic policy counsel, the NSC,
   8      OMB and leg affairs?
   9             A.   Correct.
  10             Q.   Can you explain to me, with respect to the
  11      DPP (sic), how those interactions arose?
  12                  MS. DAVIS:     I'm going to object on the
  13      grounds of privilege, the deliberative process
  14      privilege with respect to any of the content of
  15      meetings with White House officials.
  16                  I instruct you not to answer with respect to
  17      content.
  18                  THE WITNESS:      I mean they wanted somebody
  19      from ICE to be involved in the conversations, and
  20      since I was running operations, I was the person that
  21      was sent to those meetings, and we seemed to work well
  22      together.     So I kept getting invited.
  23      BY MR. LEE:
  24             Q.   So just speaking specifically about the
  25      DPP --

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   1             A.   DPC.
   2             Q.   DPC, excuse me.        The DPC, are they requesting
   3      your presence at a meeting directly?                Are they
   4      communicating with you directly?
   5             A.   In the beginning they went through the Deputy
   6      Director's office, and to my recollection, the first
   7      meeting I went to at the DPC was a joint meeting
   8      between ERO and EOIR, and I went along with our
   9      assistant director for ICE Health Service Corps and
  10      met with Juan Osuna and his team and Felicia Escobar.
  11      And I don't even remember the topic, but we were
  12      talking about something about immigration corps
  13      processes.
  14                  MS. DAVIS:     Again, I'm going to object on
  15      grounds of deliberative process privilege with respect
  16      to content.
  17                  So you're instructed not to answer with
  18      respect to content of those conversations.
  19                  MR. LEE:     Well, with respect Counsel, my
  20      question is not addressed to the content of any
  21      decision making.       So I don't think the deliberative
  22      process privilege will apply.              This is just content
  23      about, you know, conversations not related to any
  24      particular decisions being made.
  25                  MS. DAVIS:     Yes.      My instruction still stands

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   1      with respect to content.
   2                  MR. LEE:    Understood.         And I'll just make my
   3      comment for the record.
   4                  Thank you, Counsel.
   5             Q.   Were these meetings at the invitation of the
   6      White House, in this case the DPC?
   7             A.   That is my understanding.
   8             Q.   And then I think you were about to explain
   9      that eventually the DPC just contacted you directly
  10      without going through the Deputy Director?
  11             A.   At times they would, although I was
  12      instructed to refer them to the Deputy Director's
  13      office.
  14             Q.   Just to go through the chain of command?
  15             A.   Correct.
  16             Q.   But your understanding is that over the time
  17      of the previous administration, that DPC made outreach
  18      through the Deputy Director to you for consultation on
  19      matters relating to ICE?
  20             A.   Correct.
  21             Q.   How often were -- how many times do you
  22      recall the DPC reaching out to ICE and to you?
  23             A.   It was a fairly common occurrence.           I
  24      couldn't even venture to give you a number.
  25             Q.   So are we talking about multiple times per

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   1      month?
   2             A.   Sometimes, yes.
   3             Q.   And you mentioned Ms. Munoz and Ms. Escobar.
   4      Were there any other individuals that -- did those
   5      individuals invite you or consult with you directly?
   6             A.   At times, yes.
   7             Q.   Anybody else at the DPC?
   8             A.   There were staff members, but I don't really
   9      remember their names.
  10             Q.   So Ms. Munoz and Ms. Escobar were the key
  11      individuals?
  12             A.   They were the principals.
  13             Q.   Thank you.
  14                  What was the subject matter of these
  15      discussions?
  16                  MS. DAVIS:     Counsel, again, I'm going to
  17      object with respect to deliberative process privilege
  18      with respect to the specific details and substance of
  19      the content of their conversations.
  20                  MR. LEE:     I believe the subject matter of the
  21      meeting would not be encompassed by this privilege.
  22                  MS. DAVIS:     Well, I'll instruct the witness
  23      not to answer with respect to the content or substance
  24      of the conversations themselves.                If there's a general
  25      subject matter that he can identify without revealing

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   1      privileged information he may so answer.
   2                   THE WITNESS:    Most of the meetings focused on
   3      the immigration life cycle, especially as it related
   4      to family units and unaccompanied alien children or
   5      UACs.
   6      BY MR. LEE:
   7              Q.   Do you have any familiarity with any points
   8      of contact with the DPC and the current
   9      administration?
  10              A.   No.
  11              Q.   Has there been any outreach from the current
  12      domestic policy counsel to you, as far as you know?
  13              A.   Can you clarify that?          To me directly?
  14              Q.   To you directly.
  15              A.   No.
  16              Q.   How about to the Deputy Director level, at
  17      the Deputy Director level to the extent you know?
  18              A.   I don't know.
  19              Q.   Let's move to the NSC.           I believe you
  20      indicated your interactions with the NSC were mainly
  21      at the staff level; is that correct?
  22              A.   Yes.
  23              Q.   And how frequently in the prior
  24      administration were these interactions?
  25              A.   I would say at least monthly.

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   1              Q.   And what would be the subject matter of these
   2      discussions?
   3                   MS. DAVIS:     Again, I'm going to object to the
   4      extent that you're seeking information about the
   5      substance of the meetings as protected by the
   6      deliberative process privilege.                 To the extent the
   7      witness can answer without revealing the content of
   8      the conversations, he may do so.
   9                   MR. LEE:     And, Counsel, for the -- for the
  10      sake of getting everyone out of here, I'm okay with a
  11      standing objection to that effect if you're
  12      comfortable, but I'll defer to you, of course, on
  13      that.
  14              Q.   Mr. Miller, would you like me to repeat the
  15      question?
  16              A.   Yes, please.
  17              Q.   What would be the general subject matter of
  18      the discussions you had under the prior administration
  19      with the National Security Council?
  20              A.   They would include matters of border
  21      security, response to the surge that happened in 2013,
  22      or was sustained between 2014 and 2015.                 Interaction
  23      with our international partners, and other classified
  24      topics.
  25              Q.   And in the current administration, have you

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   1      been -- has there been any outreach to you from the
   2      National Security Council?
   3             A.   Yes.
   4             Q.   On how many occasions?
   5             A.   It's not been directly with me.               I've been
   6      copied.     My subordinate attends regular monthly
   7      meetings on recalcitrant countries.
   8             Q.   And your subordinate would be --
   9             A.   The assistant director for removal.
  10             Q.   The removal assistant director; is that
  11      correct?
  12             A.   Yes.
  13             Q.   You have not personally attended any meetings
  14      with the NSC?
  15             A.   Only because of scheduling conflicts.                  I'm
  16      invited to the recalcitrant meetings, but I have not
  17      attended.
  18             Q.   And let me just go back to the Domestic
  19      Policy Council meetings.          Were those in person?
  20             A.   Primarily in person, yes.
  21             Q.   Let's switch to the OMB.               I believe you
  22      indicated that you had interactions with that
  23      component.     In the prior administration did you have
  24      any regular interactions with the OMB?
  25             A.   Yes.

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   1              Q.   And how frequent were those interactions?
   2              A.   With the principals, probably at least
   3      quarterly, if not more frequently.                   With staff,
   4      weekly.
   5              Q.   And what was the general subject matter of
   6      these discussions?
   7                   MS. DAVIS:     I'll interpose the same objection
   8      as I did last time.
   9                   MR. LEE:     Thank you, Counsel.
  10                   THE WITNESS:      Just either the formulation or
  11      execution of our budget.            ERO has a sizable budget.
  12      So there's a lot of interest.
  13      BY MR. LEE:
  14              Q.   And with the current administration, has
  15      there been -- you've indicated you continue to have
  16      interaction with the OMB; is that correct?
  17              A.   Yes, sir.
  18              Q.   And how frequent have those interactions
  19      been?
  20              A.   About at the same cadence.
  21              Q.   And what was the general subject matter of
  22      those discussions?
  23                   MS. DAVIS:     Same objection and instruction.
  24                   THE WITNESS:      Generally with the budget
  25      execution, and then budget formulation.                   If I could

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   1      clarify, some of the OMB meetings there was a member
   2      of the DPC -- I'm sorry.          Yeah.       A member of DPC staff
   3      who attends.       So he is in attendance at some of the
   4      OMB meetings.
   5      BY MR. LEE:
   6             Q.   But the subject matter of those discussions
   7      were -- pertained to the budget?
   8             A.   Budget formulation on a specific topic.
   9             Q.   And not regarding any ICE-related policy
  10      issues?
  11             A.   It is not related to ICE policy.
  12             Q.   Are you aware of whether directives at the
  13      Director or Deputy Director level are reviewed or
  14      vetted by agencies outside of DHS?
  15             A.   Yes.
  16             Q.   Can you explain in a little more detail which
  17      types of directives may require vetting or clearance
  18      outside of the agency.
  19             A.   A number of our directives where there's --
  20      frequently our directives are reviewed by OIL, the
  21      Office of Immigration Litigation at the Department of
  22      Justice.     There have been instances where we've been
  23      in communication with health and human services on
  24      matters relating to UACs.
  25             Q.   How about with the Justice Department?

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   1             A.   OIL, yes.
   2             Q.   Any other component of the Justice
   3      Department?
   4             A.   Not to my knowledge.
   5             Q.   How about with the White House?
   6             A.   I don't know of that personally, but I would
   7      assume that most of the higher level issues that we
   8      deal with, I mean that's part of a normal clearance
   9      process.
  10             Q.   Sort of at the cabinet level; correct?
  11             A.   Correct.
  12             Q.   When these directives are formally issued,
  13      how are they disseminated within the agency?
  14             A.   Generally, via E-mail, and then they're
  15      posted on our intranet site.
  16             Q.   Are there typically, then, steps taken by
  17      respective components within ICE to generate
  18      additional follow-up documents in response to that
  19      directive?
  20                  MS. DAVIS:     Objection.          Vague.
  21                  THE WITNESS:      It would depend on the subject
  22      matter.     If we feel there needs to be cascading
  23      guidance that would be predicated on the directive.
  24      If we think the directive stands on its own, then
  25      there's no need to do so.

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   1      BY MR. LEE
   2             Q.   And that would be a judgement call?
   3             A.   Correct.
   4             Q.   Would that, for example, be a judgment call
   5      you would make in your current position?
   6             A.   I would make a recommendation to the EAD
   7      unless we were asked to issue cascading information.
   8             Q.   But I think as you explained earlier, at the
   9      EIR level the directives are issued by the Executive
  10      Assistant Director?
  11             A.   Correct.
  12             Q.   With respect to enforcement priorities -- do
  13      you understand what I mean when I refer to
  14      "enforcement priorities"?
  15             A.   Yes.
  16             Q.   How does the Department of Homeland Security
  17      reach a decision on those priorities?
  18             A.   It depends on which iteration.
  19             Q.   What do you mean by "iterations"?
  20             A.   I've served under four presidents.           Every
  21      president does it differently.              Every Secretary does
  22      it differently.
  23             Q.   Understood.
  24             A.   So there isn't an answer for that.           You're
  25      talking about policy.        So that would be -- it's kind

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   1      of somewhat -- in this line of work it's -- you know,
   2      there is no one way that policy is issued or policy is
   3      generated.
   4             Q.   You were just referring to the fact that the
   5      methodology was different across administrations; is
   6      that correct?
   7             A.   Every one.
   8             Q.   Okay.   So how about with respect to the prior
   9      administration?
  10             A.   Well, the two secretaries did it differently
  11      again.
  12             Q.   Okay.   So how about we start with the first
  13      secretary.
  14             A.   I wasn't here in D.C. when the guidance was
  15      coming out.     So as a field office director, the
  16      guidance was promulgated at the component level.                  From
  17      then Assistant Secretary Morton that laid out the
  18      priorities for -- largely for ERO.                  It wasn't really
  19      impacting on -- it had no impact whatsoever on CBP,
  20      Customs and Border Protection, commonly referred to as
  21      CBP, nor did it have any real impact on the Office of
  22      Investigations or what is now called Homeland Security
  23      Investigations.
  24                  So although it was ICE enforcement
  25      priorities, it largely only impacted ERO.

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   1             Q.   Okay.   How about enforcement priorities
   2      issued at the secretary level?
   3             A.   As I stated, I was in D.C. when Secretary
   4      Napolitano, the beginning of her tenure.               So I don't
   5      know what happened in terms of her interaction with
   6      Director Morton or any of his subordinates.
   7                  I only know what came out to the field as
   8      priorities came from Director Morton.               And to my
   9      knowledge, I don't remember coming from Secretary
  10      Napolitano herself.
  11             Q.   And how about the next Secretary of Homeland
  12      security?
  13             A.   Secretary Johnson had a lot of interaction
  14      with the components in generating his memoranda that
  15      came out November of 2014.            The one that really
  16      impacted my organization was ending secure communities
  17      and changing to the priority enforcement program.
  18             Q.   So it sounds like you have more knowledge
  19      about the generation of that enforcement priorities --
  20      those enforcement priorities under Secretary Johnson?
  21             A.   Correct.
  22             Q.   Can you tell me how -- in a little bit more
  23      detail how the agency developed those enforcement
  24      priorities?
  25                  MS. DAVIS:     I'm going to interpose the same

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   1      objection and the same instruction to answer with
   2      respect to the content and substantive communications.
   3                  THE WITNESS:     In general terms, the secretary
   4      had a number of meetings with the component principals
   5      to get their input on if we were going to limit our
   6      enforcement, how should it be limited or focused.
   7      BY MR. LEE:
   8             Q.   And at this time what position did you hold?
   9             A.   In the beginning I was the assistant director
  10      for field operations, and during Secretary Johnson's
  11      tenure I was promoted to the Deputy Executive
  12      Associate Director.
  13             Q.   And were you consulted about these
  14      enforcement priorities in both positions?
  15             A.   Yes.
  16             Q.   How frequently were you consulted with
  17      respect to this change from ending secure communities
  18      to the PEP policy?
  19             A.   With the Secretary's senior advisors and
  20      senior staffs, very frequently, several times a week.
  21             Q.   And you were consulted for the expertise that
  22      you provided?
  23             A.   They were concerned on impact.          They didn't
  24      want it to be so narrowing that we couldn't do our
  25      job.    They were cognizant of the impact that it would

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   1      have on morale, and they didn't want any direct impact
   2      on public safety.
   3              Q.   Were any individuals below your rank
   4      consulted as part of this process?
   5              A.   To my knowledge, no.
   6              Q.   So the consultation went as far down as the
   7      Assistant Director level?
   8              A.   Correct.
   9              Q.   And presumably, your direct reporting line
  10      were also involved in those conversations?
  11              A.   That's correct.
  12              Q.   And how about with respect to the 2000 -- I
  13      believe November 2014 enforcement priorities memo?
  14              A.   Yes.
  15              Q.   Just to help me out.          That's a different memo
  16      and a different directive as the one you just
  17      described around the shift from secure communities?
  18              A.   No.    That's the formal memo itself.
  19              Q.   I apologize.
  20              A.   At least in my memory, it's one and the same.
  21      Although I think there were seven memoranda that day.
  22      So...
  23                   MR. LEE:    I think that's in part why I'm
  24      confused.      So let me go ahead and jump.          If I can hand
  25      you what was previously marked as Exhibit 3, which is

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   1      the administrative record for this case.
   2                   THE WITNESS:      Thanks.
   3                   (The witness reviewed Exhibit 3.)
   4      BY MR. LEE:
   5             Q.    If I can take you, please, to the page Bates
   6      numbered AR221.         Let me know when you're there.
   7             A.    I am.
   8                   MR. LEE:     So Mr. Miller, if you can take a
   9      minute to review this document, which is a document
  10      dated November 20, 2014 from Secretary Johnson on the
  11      subject of policies for the apprehension, detention,
  12      and removal of undocumented immigrants.                 Let me know
  13      when you've had a chance to skim through this
  14      document.
  15                   (The witness further reviewed Exhibit 3.)
  16                   THE WITNESS:      Very good.
  17      BY MR. LEE:
  18             Q.    Excellent, Mr. Miller.             If you could just
  19      clarify for me, is this a different memo from the
  20      directive with respect to secure communities we were
  21      just discussing?
  22             A.    Yes, it is.      I apologize for confusing the
  23      two.
  24             Q.    No, not at all.        Let's help each other out
  25      today.      There are a lot of documents.             So you've

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   1      explained to me the process without divulging content
   2      of those discussions, the process by which you were
   3      consulted with respect to the secure communities
   4      policy change.
   5                  Can you explain to me whether you were
   6      similarly consulted with respect to this memo?
   7             A.   Yes.
   8             Q.   And so to unpack that a little bit, can you
   9      explain to me who within the ICE organization was
  10      involved in terms of being consulted on the
  11      development of this document.
  12             A.   It would have been the Directory Director at
  13      the time.     Mr. Homan in his capacity as the EAD.
  14      Mr. Robbins in his capacity as the deputy EAD.
  15      Myself, several of our attorneys.                  I'm trying to
  16      remember who would have been the acting director at
  17      the time.     We had a series of acting directors prior
  18      to Ms. Saldana.      So whoever the acting director was at
  19      that time would have been consulted as well, but I
  20      don't know if that would have been Mr. Sanwag or
  21      Mr. Winkowski.
  22                  You know, without a score card, I can't
  23      remember the exact dates of when they were in that
  24      capacity.     But whoever it was, one of those two
  25      gentlemen would have been consulted.

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   1             Q.   And when you say, "acting director," you're
   2      talking about the acting director of ICE?
   3             A.   Correct.
   4             Q.   And do you know whether the other -- I use
   5      the word "component" sort of generically, if you'll
   6      allow me.     Did the consultation also involve HSI,
   7      management administration, or the Office of
   8      Professional Responsibility?
   9                  MS. DAVIS:     Objection.          Compound.
  10                  THE WITNESS:      I do not know whether or not
  11      those principals were contacted.                I know that at the
  12      meetings I attended, they were not in attendance.
  13      BY MR. LEE:
  14             Q.   Okay.   And do you have some recollection as
  15      to the amount of time in which this document took from
  16      sort of inception to finalization?
  17             A.   I don't remember when Secretary Johnson
  18      started, but I know that soon after his Mother's Day
  19      visit to the southwest border, we started talking
  20      about changing our enforcement posture in response to
  21      the surge and the series of memoranda that came out in
  22      November 14 were kind of a collation of those
  23      conversations.
  24             Q.   So Mother's Day is in May 2014?
  25             A.   (Nods head.)

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   1             Q.   So in about six months' time, if my math is
   2      correct, the policies had reached its final form as
   3      you see here today?
   4             A.   That's my recollection, yes.
   5             Q.   Okay.   And through -- in that six-month
   6      period, what was sort of the pace of consultations
   7      with you?
   8             A.   It varied, but I'd say several times a week
   9      with his senior advisor and the Deputy Secretary's
  10      senior advisor.
  11             Q.   That was fairly consistent throughout that
  12      six-month period?
  13             A.   Correct.
  14             Q.   And we'll return to some of these documents.
  15      I just wanted to take the chance to clarify confusion
  16      around the various November 2014 memos.             But you can
  17      put that aside for now.
  18                  Are you familiar with the February 2017
  19      enforcement memo -- enforcement priorities memo issued
  20      by then Secretary Kelly?
  21             A.   Yes.
  22             Q.   Were you consulted in any way with respect to
  23      development of that policy?
  24             A.   I was not, no.
  25             Q.   Did anyone reach out to you inviting you to

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   1      provide any kind of input on that policy?
   2             A.   Not about that policy directly, no.
   3             Q.   Do you know if Mr. Albins was invited to any
   4      discussions regarding this policy?
   5             A.   Yes, he was.
   6             Q.   Do you have any understanding as to why
   7      consultation reached his level but not to you?
   8             A.   I do not.
   9             Q.   Do you have any understanding of how many
  10      times Mr. Albins was involved?
  11             A.   No, I don't.
  12             Q.   Switching -- not quite yet.            I'm not
  13      switching gears quite yet.
  14                  I want to talk now about deferred action.
  15      We've just discussed enforcement priorities, but with
  16      respect to deferred action, are there any directives
  17      specifically on the issue of deferred action?
  18             A.   Not that I know of, no.
  19             Q.   What is your understanding as to why the
  20      agency develops enforcement priorities?
  21             A.   Every administration wants the INA to be --
  22      the Immigration Nationality Act to be applied
  23      differently, at least that's been my experience with
  24      the last four administrations.              And so enforcement
  25      priorities is largely a tool that allows them to do

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   1      that.
   2              Q.   Have -- would you agree with me that the full
   3      and immediate enforcement of the INA is not possible
   4      based on budgetary concerns?
   5              A.   No, I don't agree with that.
   6              Q.   Why do you not agree with me as to that
   7      point?
   8              A.   I think as a cop, if laws are on the books
   9      then we should be allowed to enforce them.              Budgetary
  10      concerns are secondary decisions to good decision
  11      making by officers in the field.
  12              Q.   Are you aware of the costs that would be
  13      imposed on ICE in order to apprehend and remove all
  14      unauthorized persons in the country?
  15              A.   Yes.
  16              Q.   What would that cost be?
  17              A.   I don't have a dollar figure, but it would
  18      exceed our current budget for detention and removal.
  19              Q.   So operating in the reality of the budget
  20      that ICE has been given, would you agree with me that
  21      the full and immediate enforcement of the INA would
  22      not be possible?
  23              A.   No, I don't agree with that.          You're
  24      conflating two issues; right?             You're talking about
  25      enforcing the law, and then your premise, your

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   1      primary -- at least the way I'm interpreting your
   2      question is that you're predicating your question on
   3      applying the INA the way Congress wrote it, the way
   4      President Clinton signed it into law requires
   5      proactive identification and removal of all persons.
   6                  That is not a realistic enforcement
   7      methodology.     You're conflating a philosophy with
   8      actual law enforcement philosophies and tactics.                And,
   9      you know, one is a narrative.             One is how cops do
  10      their job.
  11                  That's like if I went to Sacramento and went
  12      to the Sacramento police chief and said, "Why aren't
  13      you arresting every single person in the city of
  14      Sacramento for every single violation of California
  15      Penal Code," he would say, "Well, that's ridiculous."
  16      Why?    Because it's more important to arrest somebody
  17      who just raped a little girl as opposed to somebody
  18      who's jaywalking.
  19                  They're both violation of the law in
  20      California.     That's like you coming to me with your
  21      question you just posed about an assumption that we
  22      shouldn't enforce the law because it costs too much.
  23      We should be enforcing the law in a way that's smart,
  24      reasonable, and that enhances public safety.               The two
  25      are not synonymous.       To draw that conclusion is a

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   1      philosophy.       It's not based on reality.
   2             Q.   In that example you raise about the
   3      Sacramento police chief, you would agree with respect
   4      to the decision, for example, to prioritize the
   5      individual who raped a little girl versus the
   6      individual who is jaywalking?
   7             A.   Absolutely.
   8             Q.   But you don't see the priorities as being
   9      affected in any way by the amount of money you have to
  10      do your work?
  11             A.   No.
  12             Q.   Have you or anyone in your office ever had to
  13      estimate or budget for the costs of removal?
  14             A.   Every year.
  15             Q.   Okay.     And do you develop those cost
  16      estimates, the budget, in connection with the existing
  17      enforcement priorities that are at that time the
  18      operative ones?
  19             A.   No.     We use historical trends informed by
  20      more recent -- more recent enforcement trends.               So
  21      we're looking both at historical data and then current
  22      information that kind of informs the current state in
  23      order to formulate, you know, a projection into the
  24      future.     Unfortunately, the way Washington works, that
  25      projection is 18 months out.              So it's a challenge,

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   1      but...
   2             Q.   So with respect to changes in the enforcement
   3      priorities, the budget estimates for cost removal
   4      would not take that change into account?
   5             A.   It may if there was a significant change in
   6      what we were being asked to do, but those changes
   7      occur in a much shorter time frame than our budget
   8      formulation process.        So we formulate our budget based
   9      on the information that we know 18 months in arrears.
  10      And that's why frequently, you see ICE having to get,
  11      you know, additional monies provided because we don't
  12      really know what the border environment is going to be
  13      in 18 months.      We don't know what we're going to be
  14      asked to do in the interior in 18 months.              It's very
  15      much an inexact science.
  16             Q.   Does the budget estimate or projections for
  17      the cost of removal involve any societal economic
  18      costs --
  19             A.   No.
  20             Q.   -- to the individuals being removed?
  21             A.   No.
  22             Q.   So the budget you're talking about is sort of
  23      bed space, detention centers, those types of issues,
  24      like the operational aspects of apprehending and
  25      removing unauthorized persons?

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   1             A.    That's -- those are subcomponents of a larger
   2      budget.      It's -- I mean we look at the entire life
   3      cycle.      So, you know, again, as I stated, I think
   4      initially, there's both detained and nondetained
   5      docket management.         So both have a cost.            Both have
   6      personnel costs.         Both have physical plan costs.               Both
   7      have, you know, operational costs.                   So it's not
   8      limited to just one piece of the immigration life
   9      cycle but the totality of the immigration life cycle.
  10             Q.    Okay.    I'd like to switch gears and talk a
  11      little bit about the DACA program itself.                   As you
  12      know, this lawsuit is around the rescission of the
  13      DACA program.        Is that your understanding?
  14             A.    That's correct.
  15             Q.    Do you have any understanding as to when the
  16      DACA program first came into being?
  17             A.    2012.
  18             Q.    And at that time, you were in New Orleans;
  19      correct?
  20             A.    Yes, sir.
  21             Q.    How did you find out about the implementation
  22      of this program?
  23             A.    To the best of my recollection, they did a
  24      call with the field office directors, the 24 field
  25      office directors to tell us the program was coming.

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   1      And then subsequent to that we received the policy via
   2      E-mail, and I'm sure there were subsequent calls or
   3      subsequent conversations.           I know I had subsequent
   4      conversations with my chief counsel, and then had the
   5      task of implementing it, educating and implementing it
   6      with the workforce.
   7              Q.   What was your reaction to learning of this
   8      policy?
   9              A.   I think it's a misapplication of a law
  10      enforcement tool.
  11              Q.   What is your understanding of what this
  12      program provided for?
  13              A.   It provided an opportunity for persons who
  14      were brought here by their parents, generally
  15      speaking, in many instances as a child, although some
  16      came much older.      It provided them an opportunity to
  17      defer an enforcement action, and subsequent to the
  18      deferment of the enforcement action, because they were
  19      in a deferred action status, they qualified for
  20      employment authorization.
  21              Q.   Did you have an understanding at the time
  22      that those individuals who entered the country after
  23      June 15, 2017 were not eligible for protection under
  24      DACA?
  25              A.   I don't recall that.

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   1             Q.   Are you aware of that fact today?
   2             A.   Can you restate your question?
   3             Q.   Of course.     That those individuals who
   4      entered the country after June 15, 2007 are not
   5      eligible for protection under DACA?
   6             A.   I thought you said '17 before.
   7                  MS. DAVIS:     I believe you did.        Sorry.
   8                  MR. LEE:     My apologies.
   9                  THE WITNESS:      Yeah.       I know there was a
  10      cutoff date.        I don't recall the exact cutoff date.
  11      BY MR. LEE:
  12             Q.   Okay.     And at the time that policy was
  13      announced, were you aware that eligibility was
  14      possible only if the individual had not been convicted
  15      of a felony, a significant misdemeanor, or three or
  16      more misdemeanors and did not otherwise pose a threat
  17      to national security or public safety?
  18             A.   Yes.
  19             Q.   Were you aware that this determination was
  20      made through a submission of biometric data and a
  21      background check?
  22             A.   I don't know what the processes were for
  23      adjudication.        ICE isn't involved in the adjudication
  24      of the applications.
  25             Q.   Are you involved at all in the background

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   1      check process?
   2             A.   No.
   3             Q.   And were you aware at the time that renewals
   4      would be denied if the individual -- the renewals for
   5      DACA would be denied if the criminal history of the
   6      beneficiary changed?
   7             A.   That was my understanding, yes.
   8             Q.   Do you understand what benefits came with
   9      receiving DACA?        I think one was the employment
  10      authorization document?
  11             A.   Yes.
  12             Q.   Anything else that you're aware of?
  13             A.   If they have an EAD, employment authorization
  14      document, commonly referred to as an "EAD," then they
  15      can subsequently get a limited use security card.
  16      Then kind of that's an acceptable document for lawful
  17      employment in the United States.                Those two taken
  18      together would fulfill the I-9 requirement, and then
  19      throughout the country different states or
  20      municipalities promulgated their own programs or
  21      regulations based on persons being in that status --
  22      I'm sorry.        "Status" is the wrong term.          Having
  23      deferred action.
  24             Q.   Are you familiar with the series of FAQs that
  25      were issued in association -- or in conjunction with

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   1      the 2012 DACA directive?
   2             A.   I'm sure I reviewed them at the time, but I
   3      don't recall them currently.
   4             Q.   Did you have any involvement in 2012 or prior
   5      to that in the development of the DACA program?
   6             A.   No.
   7             Q.   And not in the development of the DACA memo
   8      itself?
   9             A.   No.
  10             Q.   And how about in the FAQs I just referenced?
  11             A.   No.
  12             Q.   Do you have any understanding as to which
  13      components within ICE were involved in the development
  14      of the DACA program?
  15             A.   I do not.
  16             Q.   How about with respect to the development of
  17      the FAQs?
  18             A.   No.
  19             Q.   Is ICE -- at the time, going back to 2012,
  20      would your office have been involved in the
  21      operational aspects of DACA?             Maybe I can clarify.
  22             A.   Please.
  23             Q.   I'm talking about operationally how to handle
  24      the fact that certain individuals that you encounter
  25      in the field may have DACA.

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   1             A.   Again, I wasn't at headquarters at the time.
   2      So I don't know.      I don't know what they were working
   3      on at headquarters.       A lot of predecisional
   4      conversations at the headquarters level are not shared
   5      with the field before a decision is actually made so
   6      as to reduce confusion.         You know, trying to avoid
   7      starts and stops in the field.
   8                  When the memo came out, as I said, I recall
   9      talking with my chief counsel and trying to figure out
  10      how we were going to implement it, but I don't
  11      recall -- I mean I wasn't involved in any
  12      conversations at the headquarters level in 2012.
  13             Q.   Sure.   Exactly what you just said about how
  14      you implement, I'm sort of drilling down to that
  15      aspect at sort of the field level.                 What steps would
  16      you take with respect to implementing the DACA
  17      directive?
  18             A.   Basically, educating the employees on the
  19      qualifying factors, and if I recall correctly, the
  20      guidance was to not take enforcement actions against
  21      people who had prima facie eligibility for DACA.                 So
  22      in other words, if we encountered somebody through the
  23      criminal alien program who -- you know, in a county
  24      jail who had yet to be convicted of a crime that would
  25      have precluded them from receiving the DACA benefit,

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   1      then we were not to take any enforcement action.
   2             Q.   Was that a common occurrence, encountering
   3      those individuals?
   4             A.   Absolutely, every day.             That's the core
   5      mission of what we do.
   6             Q.   I'm sorry.     What are you referring to?
   7             A.   The criminal alien program.
   8             Q.   Sure.   I was referencing whether it was a
   9      common occurrence, through the criminal alien program,
  10      you had to defer or not take a proceeding against
  11      somebody who's already in custody but not yet
  12      convicted who had otherwise prima facie eligibility
  13      for DACA.
  14             A.   That's correct.
  15             Q.   That was common?
  16             A.   Very much so in the beginning, and then
  17      ultimately, they derived the DACA benefit.                But every
  18      single person we encountered, the officer had to do an
  19      individual analysis of that person, what date, if any,
  20      they claim to have come to the United States, and then
  21      whether or not they had prima facie eligibility.                 So
  22      we had to do that for every person we encountered.
  23      Just most of our contacts we did through the alien
  24      program.     It's the foundation of what we do.
  25                  But any contact that we had through the

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   1      normal analysis that you're going through in your head
   2      when you encounter somebody who's here illegally, now
   3      you had to layer over the DACA requirements in that
   4      analysis.
   5              Q.    So this is some of the operational aspects of
   6      how the agents had to do to implement the DACA
   7      directive; correct?
   8              A.    Yes.
   9                    MR. LEE:     Okay.     Because we are just running
  10      low on minutes on the video, we'll take a quick break.
  11                    MS. DAVIS:     That sounds good.
  12                    THE VIDEOGRAPHER:         This concludes Media Unit
  13      No. 1.       The time on the video is 11:20 a.m.         We are
  14      off the record.
  15                    (A recess was taken from 11:20 a.m.
  16                    to 11:29 a.m.)
  17                    THE VIDEOGRAPHER:         We're back on the record.
  18      This is the beginning of Media Unit No. 2.              The time
  19      on the video is 11:29 a.m.
  20      BY MR. LEE:
  21              Q.    Mr. Miller, you understand you're still under
  22      oath?
  23              A.    Yes, sir, I do.
  24              Q.    Where we just left off, we were talking about
  25      the operational aspects of implementing DACA, and you

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   1      were explaining that the requirements or the
   2      eligibility factors for DACA had to be overlaid sort
   3      of with respect to the individuals that you
   4      encountered; is that correct?
   5             A.   Yes, sir.
   6             Q.   Did you generate any operational documents,
   7      instructions, manuals, anything of that sort with
   8      respect to this overlay?
   9             A.   I don't recall doing that in the field.             I
  10      mean if it was, I don't recall doing it.              I mean it
  11      may have just been verbal.           It may have been clear
  12      enough in a memo that we just based it on the memo.                 I
  13      don't recall doing anything at the field level.
  14             Q.   And then as the DACA program continued in its
  15      existence from 2012 up to the rescission memo on
  16      September 5 of this year, and as you rose through the
  17      ranks of ICE, were you aware of any kind of
  18      operational level documents relating to the
  19      implementation of DACA?
  20             A.   Yes.   At some point I became aware -- I don't
  21      recall if it was -- I believe it was while I was on
  22      detail to headquarters, ICE headquarters.              I became
  23      aware of a so-called check sheet, a yes or no check
  24      sheet that was being used in the Dallas field office,
  25      and I reviewed it, found it to be helpful, and I asked

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   1      that it be sent out nationally.               And the gentleman who
   2      was the acting assistant director for field operations
   3      at the time sent it out, but I don't recall the date
   4      on when it did -- when it was actually sent to the
   5      field.
   6                  And then people were required, you know, to
   7      document their analysis before issuing a charging
   8      document.
   9             Q.   And do you recall when you encountered this
  10      check sheet from the Dallas office?
  11             A.   I don't.    It probably would have been the
  12      late summer of 2012 because I was on detail to
  13      headquarters.
  14             Q.   So soon after --
  15             A.   Shortly after the memo would have came out.
  16             Q.   So you were on detail then?
  17             A.   I wasn't on detail when it came out, but
  18      shortly thereafter, I was.
  19             Q.   Remind me where were you detailed to?
  20             A.   I was detailed from New Orleans to ICE
  21      headquarters.
  22             Q.   In what capacity, what position?
  23             A.   It wasn't a vacant IPN.            I was working on
  24      special projects for Mr. Mead.
  25             Q.   And Mr. Mead --

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   1             A.   He was the EAD for ERO at the time.
   2             Q.   Right.    Thank you.
   3                  Okay.    If I can refer you, please, back to
   4      Exhibit 3, the administrative record and take you to
   5      Bates No. Page -251.         And I'd refer you to the
   6      sequence of pages from AR251 to -256.               Mr. Miller, do
   7      you recognize these documents?
   8             A.   Yes, I do.
   9             Q.   Can you tell me what they are?
  10             A.   The first is a letter from the attorney
  11      general to Acting Secretary Duke, and then after that
  12      is her -- Acting Secretary's memo to the component
  13      heads, who deal largely with either immigration
  14      enforcement or immigration benefits.
  15             Q.   And the subject of that memorandum is the
  16      rescission of the June 12 -- June 15, 2012 DACA
  17      program?
  18             A.   That's correct.
  19             Q.   Did you know that the Department of Homeland
  20      Security was considering the rescission of DACA prior
  21      to September 5?
  22             A.   I knew that they were looking at whether or
  23      not the program should remain in its current state or
  24      be modified in some way.
  25             Q.   And when you say, "they," who are you

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   1      referring to?
   2             A.   The DHS headquarters.
   3             Q.   Who within DHS headquarters?
   4             A.   I don't know the specific people that were --
   5      I know that the office of general counsel was
   6      reviewing the program.         I don't know specifically who
   7      was doing it.
   8             Q.   When did you develop this understanding that
   9      this was a possibility?
  10             A.   It would have been sometime in the spring of
  11      this year.     Spring of 2017.         Probably in April or May.
  12             Q.   And how did you develop that understanding?
  13             A.   Conversations with my attorney.
  14             Q.   And this is conversations with --
  15             A.   And ICE, the head of the ERO law division
  16      within the office of Principal Legal Advisor.
  17             Q.   So just for clarity of the record, this was
  18      from -- this was -- this understanding was developed
  19      through conversations with someone in the office of
  20      the Principal Legal Advisor?
  21             A.   Correct.
  22             Q.   Who was that person within that office?
  23             A.   Adam Loiacono.
  24                  REPORTER MARTIN:        Adam what?
  25                  THE WITNESS:     Loiacono.

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   1      BY MR. LEE:
   2             Q.   If you can just say that last name once more,
   3      slowly for me.
   4             A.   Loiacono.
   5             Q.   Loiacono?
   6             A.   Yes.
   7             Q.   And was this conversation with Mr. Loiacono
   8      in a professional context or in sort of in a --
   9      through a personal relationship?
  10             A.   Professional.
  11             Q.   What was the occasion by which you -- how did
  12      you have occasion to speak with Mr. Loiacono?
  13             A.   He's my attorney, my primary, principal
  14      attorney that I go to when I have questions.               We meet
  15      periodically to discuss either areas of concern that I
  16      have, or he kind of updates me on issues that he's
  17      working on with the Office of General Counsel.
  18             Q.   So was this -- how often do you speak with
  19      him?
  20             A.   Almost daily.
  21             Q.   So was it in the course of one of these daily
  22      conversations that you learned from him of the
  23      possibility that DACA would be rescinded or amended?
  24             A.   Yeah.   We talked about, you know, if it was
  25      to be amended or --

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   1                  MS. DAVIS:     At this point I'm going to object
   2      on the basis of the attorney-client privilege and
   3      instruct the witness not to answer about the content
   4      of his conversations with Mr. Loiacono with respect to
   5      this subject.
   6      BY MR. LEE:
   7             Q.   When, in spring 2017, did this conversation
   8      occur?
   9             A.   I don't recall the specific date.
  10             Q.   How do you know that it was the spring?
  11             A.   Because ever since the executive orders came
  12      out, we've been reviewing all of ICE policies and
  13      procedures to make sure that they're aligned with the
  14      executive orders.
  15             Q.   Was this conversation in person?
  16             A.   Yes.
  17             Q.   Were there any subsequent conversations with
  18      Mr. Loiacono in which the general subject matter was
  19      either the amendment or rescission of DACA?
  20                  MS. DAVIS:     Again, I'm going to object on the
  21      basis of the attorney-client privilege with respect to
  22      the substance of his conversations with Mr. Loiacono.
  23                  I'm going to instruct the witness not to
  24      answer.
  25                  MR. LEE:     May he answer "yes" or "no"?

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   1                   MS. DAVIS:     Can you repeat the question?
   2                   MR. LEE:     Of course.
   3              Q.   Were there any subsequent conversations with
   4      Mr. Loiacono in which the general subject matter was
   5      either the amendment or the rescission of DACA?
   6                   MS. DAVIS:     I think you're asking about the
   7      subject of those conversations, and the fact that he
   8      spoke with them about those subjects would be a
   9      privileged fact under the attorney-client privilege.
  10                   MR. LEE:     Counsel, this is a question about
  11      subject matter, not as to the content of what was
  12      discussed regarding the potential amendment or
  13      rescission of DACA, and I think this is clearly
  14      contemplated by Judge Alsup's recent order with
  15      respect to allowable lines of questioning in this
  16      case.
  17                   And I mean, and for the record, in
  18      yesterday's deposition your colleague, Mr. Gardner --
  19      and you're welcome to confer with him -- has permitted
  20      the witness to answer these questions at least at a
  21      minimum with a "yes" or "no" answer.
  22                   So I'm going ask you that question once more,
  23      and if you'd like to go off the record to confer with
  24      Mr. Gardner or anybody else or review Judge Alsup's
  25      order from yesterday, we can do that.                But I will ask

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   1      that question once more and ask for a "yes" or "no"
   2      answer, and you can let me know what you decide.
   3                  MS. DAVIS:     Can you just hold on one second?
   4                  MR. LEE:     Of course.
   5                  (Ms. Davis and Mr. Arnold conferred
   6                  sotto voce.)
   7                  (Pause in proceedings.)
   8                  MS. DAVIS:     Can we go off the record so my
   9      colleague and I can consult.
  10                  MR. LEE:     Absolutely.
  11                  THE VIDEOGRAPHER:         We're going off the
  12      record.     The time on the video is 11:40 a.m.
  13                  (A recess was taken from 11:40 a.m.
  14                  to 11:43 a.m.)
  15                  THE VIDEOGRAPHER:         We're back on the record.
  16      The time on the video is 11:54 a.m.
  17      BY MR. LEE:
  18             Q.   Mr. Miller, you understand you are still
  19      under oath?
  20             A.   Yes, I do.
  21             Q.   So let me go back to the question that was
  22      pending.     You discussed a spring 2017 meeting with
  23      Mr. Loiacono in which he referenced the possible
  24      amendment of rescission of DACA; correct?
  25                  MS. DAVIS:     Objection to the characterization

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   1      of his testimony.
   2                   THE WITNESS:    We talked about DACA, yes.
   3      BY MR. LEE:
   4             Q.    And about the possibility of amendment or
   5      rescission?
   6             A.    Yes.
   7             Q.    And the pending question, were there any
   8      subsequent conversations with Mr. Loiacono in which
   9      the general subject matter was either the amendment or
  10      the rescission of DACA?
  11             A.    No.
  12             Q.    When did you next develop an understanding
  13      that the decision to rescind DACA was to be made
  14      final?
  15             A.    The evening before it was issued.
  16             Q.    How did you come to that understanding?
  17             A.    I was contacted by our press secretary and
  18      asked if I would do a media availability call the
  19      following morning.
  20             Q.    And who is that press secretary?
  21             A.    Liz Johnson.
  22             Q.    And is this an individual within the ICE
  23      organization or the DHS level?
  24             A.    Within ICE.    Let me find where she sits.           I'm
  25      sorry.      I guess on here her title is Assistant

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   1      Director, Office of Public Affairs.                 So that would be
   2      in the upper left-hand quadrant, middle box.
   3             Q.   Between the time you spoke with Mr. Loiacono
   4      in spring 2017 and the evening of September 4, did you
   5      have any discussions with anyone within DHS about the
   6      possible amendment or rescission of DACA?
   7             A.   No.
   8             Q.   Is it your understanding, as a result of the
   9      issuance of this memo, that there are individuals who
  10      have lost DACA?
  11             A.   That's not my understanding of the memo, no.
  12             Q.   Okay.     Is it your understanding that under
  13      this memo for those individuals whose DACA expires
  14      before September 5, and had not yet applied for
  15      renewal, would no longer be eligible nor DACA?
  16             A.   No.     That's not my understanding.
  17             Q.   Is it your understanding that with respect to
  18      this category of individuals, that they are still
  19      eligible to renew their DACA protection?
  20             A.   It was my understanding that they were
  21      eligible to file for renewal prior to October 5.
  22             Q.   So to be clear, an individual whose DACA
  23      expired before September 5 but had not yet applied for
  24      renewal -- in other words, there was no pending
  25      renewal application for them, that they were eligible

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   1      to apply by October 5 for renewal?
   2             A.   I mean I would have to review the memo.               If
   3      you're asking me to recall from memory the specifics
   4      of a program that I don't administer, I don't remember
   5      the specifics of a program that I don't administer.
   6             Q.   Sure.
   7             A.   If you'd like me to review it and answer your
   8      question, I'm happy to do that.                But if this is a
   9      memory game, I'd rather not play that.
  10             Q.   My intention is not to play a memory game
  11      with you.     My intention is to develop an understanding
  12      of what you know about the rescission of DACA and the
  13      parameters around the rescission of DACA.
  14             A.   Sure.
  15             Q.   At this present time, without reviewing the
  16      rescission memo and the parameters around the
  17      rescission of DACA, you do not know one way or the
  18      other whether that category of individuals I just
  19      described would be eligible for renewal or not?
  20             A.   No.     I think to clarify what I previously
  21      said -- and we can ask the court reporter to read it
  22      back if you'd like.        But I'm fairly certain, best of
  23      my recollection is that folks had until October 5 to
  24      apply for renewal.
  25             Q.   And that's anybody who had DACA?

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   1              A.   To the best of my recollection, yes.
   2              Q.   Are you aware of any internal DHS meetings
   3      that took place to discuss the rescission of DACA?
   4              A.   No, I'm not.
   5              Q.   You're not aware of whether Mr. Albins, for
   6      example, was involved in a meeting to discuss the
   7      rescission of DACA?
   8              A.   I am not aware of it, no.
   9              Q.   Were you ever directed to provide any work
  10      product with respect to the possible rescission of
  11      DACA?
  12              A.   The rescission of DACA, no.
  13              Q.   With the implementation -- with the ongoing
  14      implementation of DACA?
  15                   MS. DAVIS:     Objection.          Vague.
  16      BY MR. LEE:
  17              Q.   I was asking you about work product that
  18      Mr. Albins directed you to generate, and you said with
  19      respect to the rescission of DACA, you were not asked
  20      to generate any such work product; is that correct?
  21              A.   That's correct.
  22              Q.   How about with the ongoing implementation of
  23      DACA?
  24              A.   We were asked to produce metrics associated
  25      with enforcement actions taken against DACA grantees,

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   1      but that didn't come from Mr. Albins.              That came from
   2      DHS.
   3             Q.   And when you say, "metrics associated with
   4      enforcement action," can you give me a little more
   5      precision there?
   6             A.   Persons with DACA who subsequent to the grant
   7      of DACA were either arrested or removed.              I'm sorry.
   8      I think it was arrested, detained, or removed.
   9             Q.   Were you able to generate those metrics?
  10             A.   Yes.
  11             Q.   From what system -- how did you generate
  12      these metrics?
  13
  14                  We obtained the data set from USCIS and
  15      treated that through our system of record to see of
  16      the persons who were granted DACA, was there a
  17      subsequent arrest, detention, or removal.
  18             Q.   So would it be fair to say that you overlaid
  19      your data on top of the data set you received from
  20      USCIS?
  21             A.   We took their data set and then took the
  22      identifier, the alien registration number from that
  23      data set and overlaid that with our system of records
  24      to see whether anyone had been arrested, detained, or
  25      removed.

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   1              Q.   Their system contained information about who
   2      had DACA?
   3              A.   Correct.
   4              Q.   And your system contained information about
   5      which aliens had been arrested, detained, or removed?
   6              A.   Yes, sir.
   7              Q.   So you sort of combined those information
   8      together?
   9              A.   Correct.
  10              Q.   Do you know whether this document was
  11      identified by your assistant, Ms. Hernandez, and
  12      turned over to counsel?
  13              A.   I don't know.
  14              Q.   This document resided on your hard drive?
  15              A.   Yes.
  16              Q.   And was it your earlier testimony that
  17      Ms. Hernandez -- if you can remind me, did
  18      Ms. Hernandez search through your hard drive with
  19      respect to documents in your possession relating to
  20      DACA?
  21              A.   Correct.
  22              Q.   She did?
  23              A.   Yes, sir.
  24              Q.   Were you asked to generate any other kinds of
  25      research or work product relating to DACA?

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   1             A.   No.
   2             Q.   This document regarding the metrics of
   3      individuals with DACA that had been arrested,
   4      detained, or removed, who did you give this document
   5      to?
   6             A.   Our deputy chief of staff.             The ERO's deputy
   7      chief of staff forwarded it to ICE's chief of staff.
   8             Q.   When you say, "ERO's deputy chief of staff,"
   9      do you mean the actual deputy chief of staff or
  10      somebody else within ERO?
  11             A.   Somebody else within ERO.
  12             Q.   Who was that person?
  13             A.   Joseph Simon.
  14             Q.   So he's a deputy chief of staff reporting to
  15      Mr. Albins?
  16             A.   Yes, acting deputy chief of staff.
  17             Q.   Is there a chief of staff as well?
  18             A.   An acting chief of staff, yes.
  19             Q.   And who is that person?
  20             A.   Francis Jackson.
  21             Q.   Do you, as the Deputy Executive Associate
  22      Director, have any other Chief of Staff or Deputy
  23      Chief of Staff positions reporting to you?
  24             A.   Not directly to me.          There are two acting
  25      Deputy Chiefs of Staff and then there's -- I don't

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   1      know what you would call his title, but there's a
   2      gentleman who's a detailed supervisor from the field
   3      who handles Congressional and media inquiries, and we
   4      kind of all work together in a suite.                Operationally,
   5      we're not as neatly aligned as your chart.
   6             Q.   The two acting chiefs of staff are
   7      individuals who report only to you?
   8             A.   They report to Ms. Jackson.
   9             Q.   I see.     So if you can remind me, the metrics
  10      document you gave to which Deputy Chief of Staff?
  11             A.   Tom Blank, who is the Chief of Staff for
  12      Mr. Homan, vice Chief of Staff.                That is the block in
  13      the upper right quadrant of your chart.
  14             Q.   I see.     Do you know what Mr. Blank did with
  15      that document?
  16             A.   To the best of my knowledge, he sent it to
  17      DHS headquarters.
  18             Q.   Do you know who at DHS headquarters?
  19             A.   Gene Hamilton.
  20             Q.   And how do you know that?
  21             A.   Because that was the person who originally
  22      requested that we run the information.
  23             Q.   When was this request made?
  24             A.   Sometime in February.
  25             Q.   Of 2017?

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   1             A.   Correct.
   2             Q.   Do you recall Mr. Hamilton requesting work on
   3      any other aspect of DACA?
   4             A.   To my knowledge, no.
   5             Q.   Do you communicate with Mr. Hamilton
   6      directly?
   7             A.   Not usually.     Sometimes if we're at the same
   8      meeting in person, but on a regular, reoccurring basis
   9      in an official capacity, no.
  10             Q.   Have you, in those interactions with
  11      Mr. Hamilton, ever discussed DACA?
  12             A.   No.
  13             Q.   So the only DACA-related communication that
  14      you're aware of with Mr. Hamilton was this chain of
  15      events that you just described with respect to these
  16      metrics?
  17             A.   Yes, sir.
  18             Q.   Have you been asked to generate these metrics
  19      or similar metrics before?
  20             A.   Similar, yes.
  21             Q.   Under a prior administration?
  22             A.   Correct.
  23             Q.   Did you do the same thing with respect to
  24      getting a data set from USCIS and layering it with the
  25      information you have in ICE databases?

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   1              A.   That's correct.
   2              Q.   And who, if you recall, made that request
   3      under the prior administration?
   4              A.   To the best of my recollection, it would have
   5      been most likely either Serena Hoy, who was the senior
   6      advisor to Deputy Secretary Mayorkas.               She tracked a
   7      lot of those metrics in that capacity, or her
   8      capacity, under the previous administration.
   9              Q.   Do you have regular interactions with
  10      Director Homan?
  11              A.   Fairly regularly, yes.
  12              Q.   Would that include in-person meetings as well
  13      as -- well, let me break it up.               Does that include
  14      in-person meetings?
  15              A.   Yes.
  16              Q.   And do you communicate with him by E-mail as
  17      well?
  18              A.   Less frequently now that he's the director,
  19      but occasionally.
  20              Q.   With respect to your interactions with
  21      Mr. Homan, did you ever discuss the issue of DACA?
  22              A.   Only back with the metrics when the metrics
  23      were generated.
  24              Q.   Why did you have to approach him with respect
  25      to the metrics?

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   1                  MS. DAVIS:     I object with respect to the
   2      content of these conversations.                So prior to the DACA
   3      decision at issue is clearly deliberative process
   4      privilege.
   5                  And the witness is instructed not to testify
   6      with respect to the content of conversations.
   7                  MR. LEE:     Are you instructing him not to
   8      answer the specific question, Counsel?
   9                  MS. DAVIS:     Yes.
  10      BY MR. LEE:
  11             Q.   Are you following that instruction?
  12             A.   Yes.
  13             Q.   Prior to September 5, did you ever come to an
  14      understanding as to the rationale for the rescission
  15      of DACA as articulated in Secretary Duke's memo?
  16             A.   I'm sorry.     Could you clarify that?
  17             Q.   Prior to September 5, did you ever develop an
  18      understanding as to the reasons for rescinding DACA
  19      that you see from Secretary Duke's memo?
  20             A.   No.
  21             Q.   Are you aware, for example, that there was a
  22      threat of litigation presented by the state of Texas
  23      and other states in June of 2017?
  24             A.   I was aware of the case, but I wasn't
  25      following it.

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   1             Q.   Do you mean you were aware of the case just
   2      publicly from public sources or -- let me end the
   3      question there.        Is that what you mean, from public
   4      sources?
   5             A.   Yes.
   6             Q.   Did you receive any internal communication
   7      about this threat of litigation?
   8             A.   No.
   9             Q.   Have you ever seen the letter that conveyed
  10      that threat of litigation?
  11             A.   I don't recall it, no.             Unless it was posted
  12      on the Internet, I mean a news source.
  13             Q.   Let's go back to Exhibit 3.             We'll stick with
  14      this exhibit to minimize the amount of paper
  15      shuffling.        If I can take you to the page with Bates
  16      No. -238.
  17                  (Pause in proceedings.)
  18      BY MR. LEE:
  19             Q.   Mr. Miller, I'm referring you to Exhibit 3,
  20      Pages AR238 through -240.            Do you recognize this
  21      document?
  22             A.   No, I don't.
  23             Q.   Okay.     And for the record, this record --
  24      this document is a letter dated June 29, 2017 from a
  25      collection of attorneys general, including the

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   1      attorney general of Texas, Ken Paxton, to the attorney
   2      general of the United States; is that correct?
   3             A.   Yes.
   4             Q.   Okay.   And to confirm, you have not seen this
   5      letter before, until today?
   6             A.   That's correct.
   7             Q.   And you have not been involved in any
   8      discussions internally with respect to the threat of
   9      litigation communicated in this letter?
  10             A.   No.
  11             Q.   Are you familiar with -- are you aware of
  12      any -- I had asked earlier about meetings internally
  13      about the rescission of DACA, and your testimony is
  14      that you do not -- you are not aware of any such
  15      meetings; is that correct?
  16             A.   Yes, sir.
  17             Q.   How about meetings that were interagency,
  18      between DHS and outside agencies with respect to the
  19      possible rescission of DACA?
  20             A.   I would have no knowledge of those.
  21             Q.   I just wanted to make sure I understood your
  22      testimony there.
  23             A.   Sure.   No problem.
  24             Q.   Are you familiar with the -- when you
  25      received the communication from the press secretary on

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   1      the evening of September 4 was -- were there any
   2      documents provided to you for review?
   3              A.   Not that evening.       The next morning.
   4              Q.   So in terms of the communication from the
   5      evening prior, was it just an E-mail communication?
   6              A.   Yes.
   7              Q.   Was there any attachments to that E-mail?
   8              A.   No.
   9              Q.   And I believe you testified earlier that that
  10      communication was regarding your availability for a
  11      press briefing?
  12              A.   Yes.
  13              Q.   Did that communication involve anything else?
  14              A.   It was just my availability, and there was
  15      some confusion because there were -- this was press
  16      and Congressional staff at the same time.              So it was a
  17      bunch of back and forth about who was going to do
  18      what.
  19              Q.   Up until that point, had you reviewed any
  20      draft of the September 5 rescission memo?
  21              A.   No.
  22              Q.   When was the first time you saw the memo
  23      itself?
  24              A.   The morning of September 5.
  25              Q.   Was this before or after it was disseminated

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   1      to the public?
   2             A.   I don't know when it was disseminated to the
   3      public, but I had a copy of it probably a half hour
   4      before the press briefing.
   5             Q.   What time was that press briefing?
   6             A.   If I recall correctly, it was 9:30, I think.
   7             Q.   So you covered one of the ones at 9:30?
   8             A.   Uh-huh.
   9             Q.   And you received the memo at around
  10      9:00 o'clock?
  11             A.   Correct.
  12             Q.   Are you aware that this memo was issued to
  13      the public in conjunction with a number of FAQs,
  14      frequently asked questions, as well?
  15             A.   That's my understanding, yes.
  16             Q.   Have you -- when was the first time you saw
  17      that document?
  18             A.   I received kind of a press packet together
  19      that had FAQs as part of that packet.
  20             Q.   Prior to the morning of September 5, have
  21      you -- had you seen a version of the FAQs before?
  22             A.   No.
  23             Q.   Were you involved in any aspect of
  24      formulating those FAQs?
  25             A.   No.

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   1             Q.   With respect to the operational aspects of
   2      rescinding DACA, have you since taken any steps to put
   3      those operational aspects into place?
   4                  MS. DAVIS:     I'm sorry.          Can you repeat the
   5      question?
   6                  MR. LEE:     Sure.     I can just ask it again.
   7             Q.   Have you taken any steps to implement the
   8      rescission of DACA?
   9             A.   No.    Largely for our workforce, very little
  10      has changed.
  11             Q.   You mentioned the use of a checklist at a
  12      previous point in time when DACA was in effect to
  13      assist the agents with their work when encountering
  14      DACA beneficiaries; is that correct?
  15             A.   Yes.
  16             Q.   Is that a fair characterization?
  17                  To your knowledge, was the checklist used
  18      throughout the summer of 2017 up until the rescission?
  19             A.   Yes.
  20             Q.   Does it still continue to be used?
  21             A.   I'm unsure if they're still using it or
  22      they're just verifying that the people either have
  23      DACA or not.       Now that we're beyond October 5, I think
  24      it's -- the checklist itself is kind of not as useful.
  25      Someone either has the benefit or they don't at this

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   1      point.
   2             Q.   The checklist was for the purposes of
   3      establishing whether someone may be eligible for DACA?
   4             A.   Correct.
   5             Q.   Is it your understanding that this checklist
   6      was no longer used beginning on October 6?
   7             A.   I don't know that for certain.          I know -- I
   8      mean that would be -- had the AD for field operations
   9      asked my opinion, I think that would have been an
  10      appropriate interpretation, but I don't know whether
  11      or not she -- she never asked me directly.              So I don't
  12      know if she has issued that guidance or not.
  13             Q.   You did not make any personal -- you had no
  14      personal involvement with respect to the continued or
  15      discontinued use of that checklist?
  16             A.   Correct.
  17             Q.   Have you -- I believe your earlier testimony
  18      was not much has changed.           So there's not much
  19      operationally that needs to be done in the context of
  20      the rescission of DACA?
  21             A.   Correct.
  22             Q.   So would it be fair to say that you've not
  23      generated any work product -- let me rephrase.               Would
  24      it be fair to say that you have not generated any
  25      directives or operational guidance with respect to the

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   1      rescission of DACA?
   2             A.   That's correct.
   3             Q.   And do you know of any such documents coming
   4      out of Mr. Algins' position?
   5             A.   No.
   6             Q.   Are you aware of any types of directives or
   7      operational guidance that has been generated at the
   8      field level?
   9             A.   I do not.
  10             Q.   Let me take you back to Exhibit 3.           If I can
  11      refer you to Page AR251.          And this is a single-page
  12      document.     It's a letter from the attorney general of
  13      the United States to Acting Secretary Duke.              Do you
  14      see that?
  15             A.   I do.
  16             Q.   Mr. Miller, take a moment to review this
  17      letter, and then can you let me know whether you've
  18      seen this letter before.
  19             A.   Okay.   I have.
  20             Q.   When did you see this document?
  21             A.   It would have either been on September 5 or
  22      6.   I don't recall exactly, but pretty much the same
  23      time as getting the signed memo from the Acting
  24      Secretary.
  25             Q.   Was this part of the press packet you

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   1      received the morning of September 5?
   2             A.   It was not.
   3             Q.   So how did you come to get a copy of this
   4      letter?
   5             A.   I don't recall specifically.                I know we were
   6      E-mailed a copy of the letter, again, with the signed
   7      memo from the Acting Secretary.                But I don't remember
   8      who sent me that E-mail.
   9                  MR. LEE:     Okay.     I think I am at a fairly
  10      natural breaking point, and it is 12:20.                   I think it's
  11      time for lunch.
  12                  MS. DAVIS:     Great.
  13                  THE VIDEOGRAPHER:         We're going off the
  14      record.     The time on the video is 12:21 p.m.
  15                  (A recess was taken from 12:21 p.m.
  16                  to 1:20 p.m.)
  17                  THE VIDEOGRAPHER:         We're back on the record.
  18      The time on the video is 1:20 p.m.
  19                  MS. DAVIS:     And as I mentioned while we were
  20      off the record, Mr. Miller has a quick clarification
  21      that he would like to make.
  22                  MR. LEE:     Please.
  23                  THE WITNESS:      Thank you.            I remembered
  24      another case that I was deposed in, and that was the
  25      Clairmont Apartment case.            I don't remember the

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   1      plaintiff's name but he was represented by the ACLU.
   2      It was in the Middle District of Tennessee involving a
   3      gang enforcement operation when I was Field Office
   4      Director.     I believe I was deposed while I was the
   5      Assistant Director for Field Operations, but it was
   6      related to my involvement in the gang operation during
   7      my tenure in New Orleans.
   8      BY MR. LEE:
   9             Q.   That's very helpful.          Thank you for the
  10      clarification, Mr. Miller.
  11             A.   You're welcome.
  12             Q.   Welcome back from lunch, Mr. Miller.            Earlier
  13      today, we talked about some of the work product you
  14      generated relating to DACA.            And specifically, you
  15      referenced creating a metrics regarding the arrest,
  16      detention, and removal of DACA beneficiaries.               Do you
  17      recall that testimony?
  18             A.   Yes.
  19             Q.   Please correct me if I'm inaccurate in any
  20      way.    To the best of your understanding, that request
  21      for the compilation of those metrics came from
  22      Mr. Hamilton?
  23             A.   Yes.
  24             Q.   And I believe it was routed to you through
  25      another level within ICE; is that correct?

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   1              A.   Yes, sir.
   2              Q.   And was that at the Deputy Director level?
   3              A.   It was through the Chief of Staff.
   4              Q.   The Chief of Staff.          That's right.
   5                   Were you asked -- are the metrics you're
   6      referring to aggregate numbers?
   7              A.   Yes.
   8              Q.   Were they broken up in any way?
   9              A.   Can you clarify that?
  10              Q.   Were the metrics broken up or categorized in
  11      any different ways besides it being in the aggregate?
  12              A.   No.
  13              Q.   Not even by time?
  14              A.   I don't believe so, no.
  15              Q.   So the idea would be for the duration of the
  16      DACA program, how many DACA recipients have been
  17      arrested, detained, or removed?
  18              A.   Yes.   Clarification, it may have been -- they
  19      may have stratified it by fiscal year.              I don't recall
  20      specifically.       I mean I can say that that's common
  21      when we do our reporting, people want to know by
  22      fiscal year and then the aggregate.
  23              Q.   And stratified is a good word.          Thank you for
  24      that.
  25                   Do you have any understanding as to the

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   1      purpose of that request?
   2             A.   I believe it was just to update something
   3      that we had reported previously, and that was the
   4      first ask of the new administration on something we
   5      had generated for the previous administration.
   6             Q.   When you say, "first ask," what do you mean
   7      by that?
   8             A.   The first time the new administration had
   9      asked us to produce metrics on subsequent -- persons
  10      who we took an enforcement action against subsequent
  11      to being granted DACA.
  12             Q.   Was this the first ask of metrics from you
  13      whatsoever from the Trump administration?
  14             A.   Well, I mean it wasn't asked directly to me.
  15      There's been other -- you know, other reporting
  16      requirements that we have on a regular, reoccurring
  17      basis.
  18             Q.   But with respect to the metrics you were
  19      involved in compiling since the beginning of this new
  20      administration, was this request the first one that
  21      you received?
  22             A.   No.
  23             Q.   What were some other metrics that you were
  24      asked to provide for the new administration?
  25                  MS. DAVIS:     Counsel, I'm going to object to

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   1      questions with respect to work product that has been
   2      requested under the deliberative process privilege.                 I
   3      should have made this objection before with respect to
   4      the other work product.          However, I'm going to
   5      instruct the witness to not answer with respect to
   6      work product that was asked of him predecisional to
   7      any decisions that were made in consideration of that
   8      information.
   9                  MR. LEE:     The existence of the work product
  10      or the content of the work product?
  11                  MS. DAVIS:     Well, we've talked about the
  12      content of the work product, which I think reveals
  13      what was asked for and what was considered, or at
  14      least what was asked for, and I think that does expose
  15      an element of the deliberative process predecisional
  16      to policies or decisions that were used -- or that
  17      were made at a higher level.              So I'm going to object
  18      with respect to more questions about the content of
  19      any work product that Mr. Miller created.
  20                  MR. LEE:     As it relates to DACA.
  21                  MS. DAVIS:     As it relates to DACA or to any
  22      other decision that was made by the department in
  23      which this was a request in order to -- you know,
  24      through the deliberative process to consider
  25      information in forming such a decision.

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   1                  MR. LEE:     Well, with respect, Counsel, your
   2      definition of the deliberative process privilege,
   3      there was no limiting principle.                I mean that
   4      essentially exempts -- or your instructions are then
   5      to ask Mr. Miller to essentially not opine on any work
   6      product he's ever done with the federal government.
   7                  Work product is probably work that eventually
   8      laid to some form of action or decision eventually
   9      with the government.         So I cannot think that an
  10      appropriate objection would be that even with respect
  11      to work product that does not relate to DACA that the
  12      deliberative process privilege applies.
  13                  MS. DAVIS:     Okay.      Perhaps we can lay a
  14      foundation, then, with respect to the request, the
  15      existence of work product and, I guess, a particular
  16      decision or consideration that that request was
  17      related to.
  18                  MR. LEE:     That's fair.          And I will do that.
  19      Thank you.
  20             Q.   Mr. Miller, you indicated that you have
  21      compiled metrics to the Trump administration prior to
  22      the specific request relating to the aggregate numbers
  23      of DACA beneficiaries that ICE has taken enforcement
  24      action against; is that correct?
  25             A.   Yes.

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   1             Q.   Were these metrics, these other metrics
   2      related to DACA?
   3             A.   No.
   4             Q.   What was the nature those requests?            What
   5      metrics were you asked to provide is probably a better
   6      question?
   7             A.   Well, enforcement action, a comparator pre
   8      and post PEP, and metrics about UAC and family unit
   9      encounters on the southwest border pre and post the
  10      executive orders.
  11             Q.   When you say, "the executive orders," you're
  12      referring to the February executive orders by
  13      President Trump?
  14             A.   In January.      The ones related to our line of
  15      business were issued in January.
  16             Q.   That's correct, and thanks for the
  17      clarification.
  18                  So to just make sure I understand and make
  19      clear, one of the metrics was metrics involving
  20      unaccompanied minors and family unit encounters on the
  21      southwest border pre and post the January 2017
  22      executive orders?
  23             A.   Correct.
  24             Q.   Thank you.
  25                  Any other metrics not related to DACA?

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   1             A.   No.
   2             Q.   With respect to the metrics you developed --
   3      with respect to the metrics you developed for
   4      enforcement actions against DACA beneficiaries, do you
   5      know if the information you provided was used
   6      publicly?
   7             A.   I do not know.
   8             Q.   Do you recall in any shape or fashion the
   9      number of individuals, DACA beneficiaries that ICE
  10      took enforcement action against according to the
  11      metrics you compiled?
  12                  MS. DAVIS:     And I'm going to object to that
  13      with respect to the deliberative process privilege to
  14      the extent that you're asking for the content of that
  15      metrics system itself.           If he can -- he can answer yes
  16      or no, but I'm going to object to the revelation of
  17      the content of that information.
  18                  MR. LEE:     Okay.     So you're objecting to him
  19      disclosing the number.
  20                  MS. DAVIS:     Correct.        I believe you asked if
  21      he was aware, yes or no.
  22                  THE WITNESS:      Could you restate, please.
  23      BY MR. LEE:
  24             Q.   Well, I assume you are aware that you've
  25      reached a number as a result of that compilation.

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   1             A.   Yes.
   2                  MR. LEE:     And I think where I was going to
   3      was for the number itself.            Which you're objecting?
   4                  MS. DAVIS:     Yes.      Under the deliberative
   5      process privilege.
   6      BY MR. LEE:
   7             Q.   And you intend to follow that instruction?
   8             A.   Yes.
   9             Q.   The metrics that you compiled, I believe you
  10      referenced earlier, required a request for a USCIS
  11      data set; is that correct?
  12             A.   Yes.
  13             Q.   And this USCIS data set included the alien
  14      numbers?
  15             A.   Yes.
  16             Q.   Names?
  17             A.   I believe so, yes.
  18             Q.   Addresses?
  19             A.   That, I don't know.
  20             Q.   Any other information?
  21             A.   I'm not sure.       I didn't review the status
  22      myself.
  23             Q.   But the alien number, the "A" numbers and the
  24      names you recall were part of this data set?
  25             A.   Yes.     CIS keeps most of their data tied to

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   1      the "A" number.        We tie it to a subject identity
   2      number associated with enforcement actions.                   So we
   3      have to -- that's why we can't treat data in the first
   4      person.     We have to get someone else's data set the
   5      way that they compile it, and then run it through our
   6      system of record.
   7             Q.   Do you recall who made the request for this
   8      data set?
   9             A.   Not individually, no.
  10             Q.   It was not you personally?
  11             A.   No.
  12             Q.   Do you know who in fact received the data set
  13      from USCIS in the first instance?                   How it sort of came
  14      to ICE?
  15             A.   I don't.     It would have gone to our
  16      statistical tracking unit, and it's a normal course of
  17      business that we get data sets from other agencies.
  18      So that would have been -- you know, it would have
  19      been a normal course of business for that unit to make
  20      a request and receive the information.
  21             Q.   That's helpful.        And is this statistical
  22      unit -- and I apologize, I forgot --
  23             A.   Statistical tracking unit?
  24             Q.   Statistical tracking unit, is that within ERO
  25      or at sort of the larger ICE level?

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   1              A.   It's within ERO.
   2              Q.   Do you supervise the statistical tracking
   3      unit?
   4              A.   No.
   5              Q.   Who does?
   6              A.   It falls under the assistant director for
   7      field operations.
   8              Q.   And as far as you're aware, the request and
   9      transmission of the USCIS data set went through
  10      standard procedures and was relayed through the
  11      statistical tracking unit?
  12              A.   Correct.
  13              Q.   Is that data set on your personal systems,
  14      your work systems?
  15                   MS. DAVIS:     Objection.          Vague.
  16      BY MR. LEE:
  17              Q.   Your work computer.
  18              A.   My work computer, no.
  19              Q.   The compilation of the metrics, that's on
  20      your computer?
  21              A.   It's in my E-mail archives.
  22              Q.   E-mail archives.
  23                   Do you know if the data set that was
  24      transmitted to the statistical tracking unit, whether
  25      that is preserved by that unit?

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   1             A.   Yes.
   2             Q.   So as far as you know, that database has not
   3      been destroyed?
   4             A.   Yes.
   5             Q.   It has not been; correct?
   6             A.   To my knowledge, it has not been.
   7             Q.   Is it your understanding whether that data
   8      set can be used for other purposes?
   9                  MS. DAVIS:     Objection.          Vague.
  10                  THE WITNESS:      In its current format, not that
  11      I'm aware of, no.
  12      BY MR. LEE:
  13             Q.   But can it be used for different purposes
  14      other than for the compilation of the metrics per the
  15      request from Mr. Hamilton?
  16                  MS. DAVIS:     Objection.          Vague.   Speculative.
  17                  THE WITNESS:      I mean it's a data set.          So I
  18      guess, conceivably, it could be used for other
  19      analysis, but since I'm not in that unit -- you know,
  20      if I were a mathematician, I wouldn't be sitting here
  21      today.
  22      BY MR. LEE:
  23             Q.   We earlier discussed whether any operational
  24      documents had been created with respect to the
  25      implementation of the DACA rescission, and I believe

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   1      your testimony is that not much has changed and no
   2      such documents have been generated.
   3              A.   Correct.
   4              Q.   Is anyone in your office in the process of
   5      working on any such document?
   6              A.   No.
   7              Q.   Okay.   Can I ask you to go back to the
   8      administrative record, please.
   9              A.   Sure.
  10              Q.   And we're going to go back to the November
  11      2014 enforcement priorities memo at Page AR221.                 And
  12      we've taken a look at this earlier today.              Do you
  13      recall?
  14              A.   Yes, I do.
  15              Q.   I think it's fair to say that given the --
  16      given your role in developing this document that you
  17      are familiar with it?
  18              A.   I am.
  19              Q.   Reviewing Pages 3 to 4, do you see that this
  20      memo outlines, very broadly speaking, three priority
  21      levels?
  22              A.   Yes.
  23              Q.   Following on Page 5 you see some discussion
  24      of exercising prosecutorial discretion.              Do you see
  25      that?

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   1             A.   I do.
   2             Q.   Digging a little deeper into sort of the
   3      consultation that occurred with you, did you have a
   4      voice in the development of these three priority
   5      levels?
   6             A.   Yes.
   7             Q.   And I believe your testimony is that the
   8      consultation of this document reached down to the
   9      assistant director position, which was at that time
  10      your position title?
  11             A.   Correct.
  12             Q.   Can I take you just to another document
  13      within this exhibit, and that is at AR229.              Do you
  14      recognize this document?
  15             A.   Yes.
  16             Q.   This document is the February 20, 2017
  17      enforcement priorities memo issued by then Secretary
  18      John Kelly?
  19             A.   Yes.
  20             Q.   Okay.   Can you describe for me how the
  21      enforcement priorities have shifted as a result of the
  22      change from the 2014 memo we just saw to the document
  23      currently in front of you?
  24             A.   I think the most succinct way to say it is
  25      that whether limiting the application of the INA to

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   1      the specific classes or categories or persons, we were
   2      directed to enforce the INA in its totality.
   3             Q.   Does this 2017 memo lay out priorities for
   4      enforcement?
   5             A.   That is not the way that we interpret it.
   6      The priorities are really at the field level to
   7      prioritize those threats to public safety and national
   8      security first, but all persons who are found to be in
   9      the country in violation of the INA are amenable to
  10      arrest.
  11             Q.   Okay.     So perhaps we can address this more
  12      specifically by turning to Page 2 in the Subsection A
  13      entitled, "The Department's Enforcement Priorities."
  14      Do you see that?
  15             A.   Uh-huh.
  16             Q.   In the second paragraph under that
  17      subsection, at the very end of that paragraph it
  18      reads, "Department personnel should prioritize for
  19      removal of those aliens described by Congress in
  20      Sections 212 A-2, A-3, and A-6-C, 235 B and C, and 237
  21      A-2 and 4 of the Immigration and Nationality Act."                 Do
  22      you see that?
  23             A.   I do.
  24             Q.   Okay.     And do you have an understanding as to
  25      what these code provisions refer to?

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   1             A.   Yes.
   2             Q.   Can you describe to me what they refer to?
   3             A.   They refer to criminal aliens, those who have
   4      committed fraud, those who are amenable to expedited
   5      removal, and those that are threats to national
   6      security.
   7             Q.   Okay.   And then going to the next paragraph,
   8      for the record it reads, "Additionally, regardless of
   9      the basis of removability, department personnel should
  10      prioritize removable aliens who have been convicted of
  11      any criminal offense,
  12                  "2, Have been charged with any criminal
  13      offense that has not been resolved,
  14                  "3, Have committed acts which constitute a
  15      chargeable criminal offense,
  16                  "4, Have engaged in fraud or willful
  17      misrepresentation in connection with any official
  18      matter before a government agency,
  19                  "5, Have abused any program related to
  20      benefits,
  21                  "6, Are subject to a final order of removal
  22      but have not complied with their legal obligation to
  23      depart the United States or,
  24                  "7, In the judgment of an immigration officer
  25      otherwise pose a risk to public safety or national

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   1      security."     Do you see that?
   2             A.   I do.
   3             Q.   Did I read that correctly?
   4             A.   Yes.
   5             Q.   I'd like to get a further understanding of
   6      the interpretation given to each of these
   7      subcategories, if I may.
   8             A.   Okay.   Sure.
   9             Q.   With respect to No. 1, "Having been convicted
  10      of any criminal offense."           How is that interpreted by
  11      ICE?
  12             A.   Someone who has been convicted of any
  13      criminal offense.
  14             Q.   And this would include any misdemeanor?
  15             A.   Correct.
  16             Q.   Would that include infractions?
  17             A.   Can you define "infractions"?
  18             Q.   Criminal infractions.
  19             A.   I don't know what that means.
  20             Q.   To the best of your understanding, crimes are
  21      divided into felonies and misdemeanors?
  22             A.   In most states.
  23             Q.   This would include someone who was criminally
  24      convicted of jaywalking?
  25             A.   Yes.

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   1             Q.   And 2, "Have been charged with any criminal
   2      offense that has not been resolved."                Is the
   3      interpretation of this provision anyone who's been
   4      charged but not yet convicted of a particular crime?
   5             A.   If they're charged and not convicted and do
   6      not have a lawful immigration status, yes.
   7             Q.   So this would include someone who was charged
   8      with jaywalking but not yet convicted of it?
   9                  MS. DAVIS:     Object to lack of foundation.
  10                  THE WITNESS:      Yes.
  11      BY MR. LEE:
  12             Q.   "Have committed acts which constitute a
  13      chargeable criminal offense."              Do you see that?
  14             A.   I do.
  15             Q.   Would this include -- at whose
  16      determination -- I'll strike that.
  17                  At whose determination would it be as to
  18      whether the acts constitute a chargeable criminal
  19      offense?
  20             A.   I think a conversation that would normally
  21      happen between our officers and one of the line
  22      attorneys in making a determination in whether or not
  23      it rose to that level.
  24             Q.   Have you encountered that situation yet?
  25             A.   Well, I haven't been on the streets since

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   1      2007.        So no, I haven't personally.
   2              Q.     But your understanding and interpretation of
   3      this is that it would be at the determination of the
   4      agent on the ground in consultation with the Field
   5      Office Director?
   6              A.     In consultation --
   7                     MS. DAVIS:     Objection.          Mischaracterization.
   8                     THE WITNESS:      It would be in consultation
   9      with counsel.        Possibly the district attorney's office
  10      or the state attorney general's office.                   It would
  11      depend on the nature of the crime and what the statute
  12      is in that respective state.
  13      BY MR. LEE:
  14              Q.     I want to understand that a little bit
  15      further.        How does -- is the term "agent" the correct
  16      position title to accord to someone working in the
  17      field for ICE?
  18              A.     Not for ERO.
  19              Q.     Not for ERO.      What would be the correct word?
  20              A.     Officer.
  21              Q.     Officer.     Thank you.
  22                     How would an officer come -- arrive at sort
  23      of the knowledge that there may have been acts which
  24      constitute a chargeable criminal offense?
  25              A.     Through the normal course of their

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   1      investigation, if they're working with our state and
   2      local partners and there are people who are under
   3      investigation.      It happens at the federal level too.
   4      Our federal partners, where they may not have fully
   5      developed whatever criminal case that they're pursuing
   6      either with -- you know, whatever level of
   7      prosecutorial agency you're talking about, and then
   8      they decide -- commonly what the U.S. attorney's
   9      office calls it is to seek an administrative remedy,
  10      which means to apply a civil immigration violation as
  11      opposed to pursuing the criminal case, like in a more
  12      conspiratal (sic) environment.
  13                  I mean there has always been, since '96, a
  14      charge for committing essential elements of a crime.
  15      That's nothing new.        This memo doesn't expand on
  16      something that's existed since 1996.                It's just, you
  17      know, acknowledging the fact that we have the legal
  18      authority to do that.
  19             Q.   Okay.   Can an officer make this
  20      determination, that a particular individual falls
  21      within this sub bullet, No. 3?
  22             A.   I'm sorry.     Can you clarify that.
  23             Q.   Can an officer on his or her own make the
  24      determination based on the series of removal
  25      category -- prioritization categories that a

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   1      particular individual they've encountered falls within
   2      Item 3?
   3             A.   Yes.
   4             Q.   They do not have to consult, necessarily,
   5      with counsel; is that correct?
   6             A.   They don't -- not necessarily to charge
   7      someone with that, but it would be, I would say,
   8      impractical to not consult with counsel first, and so
   9      the prosecutorial -- it's much like at a police
  10      department, which I'm sure you're familiar with.
  11      Again we'll go back to our friends in Sacramento PD.
  12      They can make an arrest, which doesn't necessarily
  13      mean the DA is going to prosecute it.              So a lot of DAs
  14      encourage, you know, to have those conversations, to
  15      have those trainings before they're making the arrest.
  16                  Much the same way, our officers are entitled
  17      or empowered to make those individualized assessments,
  18      which doesn't necessarily mean that counsel is going
  19      to pursue prosecution.         So rather than going down that
  20      path, we encourage them to consult with counsel ahead
  21      of time, especially with kind of overlaying state
  22      violations with federal statute.
  23             Q.   So with No. 3, though, I want to clarify.
  24      We're not talking about someone who's already been
  25      arrested; correct?

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   1             A.   That's going to depend on the individual.
   2      You know, the totality of somebody's immigration and
   3      criminal history is different.              So you may find more
   4      through the investigative process.                 They could be
   5      arrested, to go back to your example, for jaywalking,
   6      but, you know, through the investigation of the
   7      jaywalker, we find that he's involved in on-line
   8      predatorial behavior.        He's doing meth.
   9                  You know, there's a lot that you find out
  10      during an investigation separate and apart -- the
  11      initial contact may be -- you know, I mean generally
  12      speaking, my 20-plus years of law enforcement, most
  13      cities don't actually charge, fingerprint and detain
  14      people for jaywalking.         But to follow on with your
  15      example, if that's happening, there may be more that
  16      that police department or more that that sheriff's
  17      department or more that the state police know about
  18      that individual.
  19                  And so that would be a reasonable line of
  20      questioning to say, "Hey, why" -- something that you
  21      normally cite and release, "Why was this guy
  22      fingerprinted" because we don't know if somebody is in
  23      the jail unless they submit a booking packet to NCIC.
  24      So, you know, there's a reason that the locals didn't
  25      cite and release on something that normally would have

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   1      been cited and been released.
   2             Q.   I guess to just get back to a point of
   3      clarification.      The sub bullet 3 that we're talking
   4      about, I understand it could arise and be triggered
   5      under a lot of different scenarios and circumstances.
   6      But I want to clarify that Bullet 3 can arise in a
   7      situation where no arrest has been made yet.
   8             A.   Absolutely.
   9             Q.   And going back to, then, who has sort of the
  10      discretion and the authority to determine whether a
  11      particular individual falls within this category,
  12      we've just discussed the fact that an ERO officer
  13      himself or herself can make that determination.
  14             A.   Yes.
  15             Q.   And the examples you cited with respect to
  16      consulting with, say, a state AG or state law
  17      enforcement officials, that is something they may do
  18      but need not do?
  19             A.   Correct.
  20             Q.   And just to be clear, this determination also
  21      need not involve any determination by the FOD?
  22             A.   It would require supervisory review for the
  23      issuance of the NTA --
  24             Q.   Okay.
  25             A.   -- but the issuance of, you know, every NTA

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   1      in the field doesn't rise to the level of the FOD.
   2             Q.   Okay.   So it would be some intermediate
   3      supervisory chain at the field level?
   4             A.   Yes, sir.
   5             Q.   Moving to 4, "Have engaged in fraud or
   6      willful misrepresentation in connection with any
   7      official matter before a government agency."                   Does
   8      this encompass any matters outside of DHS?
   9                  MS. DAVIS:     Objection.          Vague.
  10                  THE WITNESS:      I guess in a clear reading of
  11      it, you could say yes.
  12      BY MR. LEE:
  13             Q.   Okay.   And who determines whether fraud or
  14      willful misrepresentation has occurred or has been
  15      engaged in?
  16             A.   I would think that the agency or the agency
  17      that's issuing the NTA or the agency that an ERO
  18      officer may be part of in a task force environment
  19      that has firsthand knowledge and can testify, if need
  20      be, that we'd have to have use authority associated
  21      with that fraud or misrepresentation.                   I would call to
  22      your attention, before we spend a lot of time talking
  23      about fraud, that this was issued to not just ERO but
  24      also CIS and CBP, which are, generally speaking, the
  25      components within DHS that are most involved in fraud

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   1      detection.
   2                  Again we're most involved in, you know, a
   3      population of persons who are already in the interior
   4      of the United States and are generally encountered
   5      through their incarceration, either at the county or
   6      state level.
   7             Q.   And is your interpretation of Bullet 4 -- and
   8      I'm calling them bullets even though this is in
   9      paragraph form.
  10             A.   I understand.      Sure.
  11             Q.   Of Bullet 4 that this includes engaging in
  12      fraud or willful misrepresentation that has not
  13      resulted in any conviction?
  14             A.   That would be my interpretation, yes.
  15             Q.   So this would include persons an officer
  16      believes, based on his or her own assessment, hasn't
  17      engaged in fraud or willful misrepresentation?
  18             A.   Potentially, yes.
  19             Q.   And would the issuance of an NTA, again,
  20      follow that same procedure and supervisory review
  21      process you just discussed?
  22             A.   Yes.
  23             Q.   There is no need with respect to Bullet 4 for
  24      that individual officer to seek any other kind of
  25      approval or sign-off?

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   1             A.   No.
   2             Q.   With No. 5, moving on to Bullet 5, "Abuse any
   3      program related to receipt of public benefits" -- let
   4      me back up to No. 4.         I apologize, Mr. Miller.
   5                  It references "official matter before a
   6      governmental agency."         Do you see that?
   7             A.   I do.
   8             Q.   Do you have any idea as to what is defined as
   9      an official matter before a governmental agency?
  10             A.   I mean other than a common reading of that to
  11      be someone going to a government agency to either
  12      obtain a benefit or service.              I think that would be a
  13      layman's interpretation.           I'm not a fancy attorney
  14      like y'all.       So I have to go with common sense
  15      reading.
  16             Q.   Thank you.     Moving to No. 5, "Abuse any
  17      program related to receipt of public benefits."
  18      Again, would it be accurate to say that this does not
  19      need to result -- this does not require that the
  20      particular individual have been convicted of abusing
  21      the program, the public benefits program; is that
  22      correct?
  23             A.   That would be my interpretation.           Otherwise,
  24      they would have been captioned by Bullet No. 1.
  25             Q.   Okay.    And it would be at, then, the

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   1      officer's determination and assessment as to whether
   2      he or she believes any such abuse is taking place?
   3             A.   I would say that they would have to have, you
   4      know, something sufficient and use authority for that
   5      information to use in court to substantiate any charge
   6      associated with this.
   7             Q.   When you say, "I would say that they would
   8      have something sufficient," is that a conjecture?
   9             A.   Well, all these are hypothetical; right?
  10      You're asking me if I did this.               I told you I haven't
  11      worked the streets since 2007.              So you're asking me
  12      what is in the realm of possibility in 2017.               So 17
  13      years later, everything I'm saying is hypothetical.
  14      Otherwise, we go back to saying I'm not working the
  15      streets anymore.      I'm not arresting people.           I'm not
  16      generating notices to appear, nor as a first line
  17      supervisor am I reviewing them, nor am I an attorney
  18      assessing legal sufficiency.
  19                  So you're asking, you know, what is in the
  20      realm of possibility.        I'm trying to answer that to
  21      the best of my ability.         If you're asking about the
  22      NTAs that I've personally issued since Secretary
  23      Kelly's memo, the answer is I haven't issued any.                  So
  24      maybe I'm not understanding your questions.
  25             Q.   No, I think you're understanding my questions

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   1      just fine.      I am talking about the implementation of
   2      the February 20, 2017 Secretary Kelly memo --
   3              A.   Uh-huh.
   4              Q.   -- during which time you are the deputy
   5      executive associate director of the ERO?
   6              A.   Correct.
   7              Q.   And in that capacity I'm simply asking you
   8      for your understanding and interpretation of these
   9      priority categories listed in this document.               Is that
  10      fair?
  11              A.   I think it is.
  12              Q.   All right.     With respect to the abuse of any
  13      program related to receipt of public benefits, s then
  14      it's your understanding that for an officer to remove
  15      someone based on this -- based on Bullet 5, that they
  16      would need some substantiating document or use
  17      authority?
  18              A.   If an ERO officer was -- I mean there is no
  19      corresponding charge associated with that.              So --
  20      well, under Section 237 there's a similar charge, or a
  21      charge that could be derived from that, and under
  22      Section 237 the burden of proof is upon the
  23      government.      So if -- and generally, it wouldn't be
  24      ERO.
  25                   Again, I direct you to the first page of this

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   1      memo.        We were talking about departmental functions,
   2      not all of which are ERO.            So that's why I kind of,
   3      precedent to our initial conversation, talking about
   4      the criminal alien program, our encounter would be an
   5      institutional environment was commonly at the county
   6      level.
   7                     If they sought to bring that charge against
   8      somebody who was already lawfully admitted, then the
   9      purpose would be upon the government.               So yes, we'd
  10      have to have some evidence that would substantiate
  11      charging somebody with a crime subsequent to their
  12      lawful presence.        I cannot speak to how CIS or CBP are
  13      applying this.
  14              Q.     I definitely understand that you -- I
  15      understand the point that these categories broadly are
  16      being made applicable to more than just ICE.
  17              A.     Right.
  18              Q.     And that's helpful.        Thank you.
  19                     So going back to No. 4, I think with respect
  20      to fraud and willful misrepresentation you also
  21      referenced "use authority."             Can you just explain to
  22      me what you mean by that.
  23              A.     There are instances where information is
  24      known, classified information that we can't use in
  25      immigration court.        So that drives how we charge

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   1      people sometimes.        You may have to charge somebody as
   2      overstaying a B-2 nonimmigrant Visa admission, which
   3      is a pretty baseline, fundamental, noncriminal charge,
   4      when they're actually involved in a much more
   5      dangerous national security conspiracy.
   6                  But if we don't have use authority for that
   7      information, again under Section 237, where the burden
   8      of proof is on the government, we have to be able to
   9      provide something to the satisfaction of the
  10      immigration judge subject to cross-examination or
  11      impeachment by imposing counsel.                And if we don't have
  12      use authority associated with that, then we can't levy
  13      the charge.
  14             Q.   But with that -- I understand that use
  15      authority would be necessary for the purpose of
  16      charging the individual, but the fact that there is
  17      any limitations on the use of that evidence doesn't
  18      mean they fall outside of Bullet No. 4?
  19                  MS. DAVIS:     Objection.          Vague.
  20                  THE WITNESS:      Yeah, could you clarify that?
  21      BY MR. LEE:
  22             Q.   Yeah.   In that situation you just described
  23      with the B-2 Visa, if there was some issue with
  24      whether the information around the fraud or willful
  25      misrepresentation was rooted in evidence that you

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   1      could use, can that individual still fall under this
   2      bullet for the purposes of prioritizing them for
   3      removal?
   4                  MS. DAVIS:      Objection.          Speculation.
   5                  THE WITNESS:       I'm still -- I'm not sure.
   6      Could you restate that because I think what I said and
   7      what you're saying now are two different things, at
   8      least what I'm hearing from you is not consistent with
   9      what I said previously.
  10      BY MR. LEE:
  11             Q.   No.     No.   And that's not my intention.             I
  12      apologize.
  13                  I'm trying to understand the significance of
  14      use authority in the context of these prioritization
  15      categories, these bullets.             Okay?         I understand that
  16      the use authority is connected, if I'm understanding
  17      you correctly, to whether you can charge a particular
  18      person with that provision of the INA.
  19             A.   Correct.
  20             Q.   Okay.     For someone to fall within Bullet 4,
  21      to have engaged in fraud or willful misrepresentation
  22      in connection with any official matter before a
  23      governmental agency such that they would meet this
  24      prioritization category, is the fact that the
  25      evidence -- is it required for the officer to have use

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   1      authority with respect to the evidence surrounding
   2      that fraud or willful misrepresentation?
   3                  MS. DAVIS:     Objection.          Vague.
   4                  THE WITNESS:      That would be case specific.             I
   5      don't think there's a bright line rule.
   6      BY MR. LEE:
   7             Q.   There's no bright line rule?
   8             A.   No.
   9             Q.   What I'm trying to understand, and maybe this
  10      idea is -- and you can educate me if I'm wrong -- is
  11      that an officer can have developed the conclusion that
  12      an individual has engaged in fraud or willful
  13      misrepresentation as described in Bullet 4, but may
  14      also have evidence around that that he cannot use for
  15      the purposes of NTA.
  16             A.   Yes.
  17             Q.   Okay.   And I'm trying to understand simply
  18      because he cannot use that information for purposes of
  19      charging that particular offense in the NTA, does that
  20      mean this person no longer fits within Bullet 4?                 And
  21      I think your testimony is that's case by case?
  22             A.   It's going to be case by case.              That would
  23      have to be discussed with counsel and whether or not
  24      they could substantiate the charge in court based on
  25      the information that they have for use.

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   1              Q.   And is that -- is this process or
   2      case-by-case determination approach documented
   3      anywhere?
   4              A.   Conversations with counsel documented?              Is
   5      that what you're asking?
   6              Q.   No.   The fact that in these situations it
   7      would be a case-by-case determination, potentially
   8      requiring consultation with counsel --
   9              A.   All of the target documents are case by case.
  10      You know, the individual, you know, whether they're
  11      amenable to being put into removal proceedings based
  12      on one charge or multiple charges is going to depend
  13      on the information on that subject.                  You know, they
  14      may be convicted of a felony and also overstayed a
  15      Visa.
  16                   So I mean it's going to depend on the case.
  17      I mean, there's an infinite number of possibilities
  18      when you're talking about, you know, multiple charges
  19      being levied against the person.               It's no different in
  20      the criminal context that a person can be charged with
  21      more than one criminal violation.                  They can likewise
  22      be charged with more than one civil violations.
  23                   And there's also, you know, primary functions
  24      of our organization that, you know, are really not
  25      closely tied to No. 4, which is why it's hard for me

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   1      to give you bright line rules for something that we
   2      generally don't adjudicate.             You know, fraud is
   3      usually, as I previously stated, something that's
   4      examined more closely by USCIS and CBP, either at the
   5      ports of entry or the adjudicative process of benefit
   6      applications.
   7                     So my example on use authority in a national
   8      security case is something that my officers would be
   9      involved in because of our presence in working with
  10      other federal partners.
  11                     But I mean we don't adjudicate benefit
  12      applications, and we don't work at ports of entry.                 So
  13      that's not one of the primary charges that we use.
  14      But given -- you know, now that we're allowed to
  15      enforce the full spectrum of the INA, is it possible?
  16      Sure.        Anything is possible.        There's many charges and
  17      many ways to charge people.
  18              Q.     Just so I understand, with respect to whether
  19      removal proceedings are initiated against someone on
  20      the basis of Bullet 4, that continues to be at the
  21      discretion of the individual officer?
  22              A.     Yes.
  23              Q.     And there's no bright line rule even in the
  24      situations where there's a use authority problem to
  25      consult with anybody else in the agency?

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   1                  MS. DAVIS:     Objection.          Vague.
   2                  THE WITNESS:      That would be case specific
   3      depending on what's not allowed for use and why.
   4      BY MR. LEE:
   5             Q.   And are there any procedures or guidance
   6      documents around when consultation with counsel is
   7      necessary?
   8             A.   I don't know of any specific documents, no.
   9             Q.   And going back to No. 5 with respect to
  10      "Abuse of any programs related to receipt of public
  11      benefits," in that context and the use authority issue
  12      you raised, is your testimony also that the individual
  13      officer can make the determination that someone falls
  14      within this category even if the evidence surrounding
  15      the abuse was limited under the use authority?
  16                  MS. DAVIS:     Objection.          Vague.     Speculative.
  17      I think asked and answered at this point.
  18                  THE WITNESS:      Again, I think the memo taken
  19      in its totality, it clearly states that the officers
  20      can enforce the full spectrum of the INA without
  21      categorical preclusions.           So if you're asking could
  22      any of these be possibly charged.                   To the extent there
  23      is a corresponding charge, which there isn't -- if you
  24      look at the previously -- the statues that you
  25      previously cited and the seven prioritizations,

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   1      they're not mutually exclusive, nor are they all
   2      encompassing, nor is this a prioritization of
   3      everything that's in the INA.
   4                  So I mean I'm really not understanding your
   5      question correctly.       If you're asking could someone
   6      file a charge, yes.       But the charging document itself
   7      is subject to supervisory review, which we've
   8      previously discussed.        So someone may think they're
   9      amenable to charging somebody with a violation and the
  10      supervisor may not concur.
  11      BY MR. LEE:
  12             Q.   Right.   And I'm not talking about whether a
  13      certain offense can be charged in sort of a legal and
  14      evidentiary standard for whether something can be put
  15      onto an NTA.     I'm talking about when an agent or an
  16      officer determines someone falls within these bullets,
  17      separate from what they eventually put on the NTA;
  18      correct?
  19             A.   Potentially, yes.
  20             Q.   It's two different analyses.
  21             A.   Possibly.
  22             Q.   Could be the same, but could be separate;
  23      correct?
  24             A.   Again, we're talking an infinite number.              You
  25      know, we're dealing with people every day, and what

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   1      that person brings to you every day is going to vary.
   2              Q.   And I want to clarify that with respect to
   3      No. 5, regardless of whether the evidence --
   4      regardless of whether there was any use authority
   5      issues surrounding the evidence of the abuse of any
   6      program related to the receipt of public benefits, the
   7      officer retains the discretion to prioritize an
   8      individual for removability based on this No. 5
   9      bullet?
  10                   MS. DAVIS:     Objection.          Vague.   Speculative.
  11                   THE WITNESS:      For arrest, yes.
  12      BY MR. LEE:
  13              Q.   As a precursor to removal?
  14              A.   If the judge orders them removed.              I mean
  15      that's a lengthy process, as I'm sure you're well
  16      aware.
  17              Q.   The life cycle?
  18              A.   Yeah.
  19              Q.   Okay.   And then moving to No. 6, "Subject to
  20      final order of removal but have not complied with
  21      their legal obligation to depart the United States."
  22      I think that's fairly self-explanatory.
  23              A.   For me it is, but so are the other ones.
  24      So...
  25              Q.   Well, you'll be glad to know this is to me as

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   1      well.
   2                   And with No. 7, "In the judgment of an
   3      immigration officer otherwise pose a risk to public
   4      safety or national security."             Here in the context of
   5      ERO would an immigration officer include the ERO
   6      officers on the ground?
   7              A.   Yes.
   8              Q.   And if I'm understanding this Bullet No. 7
   9      correctly, this judgement is again -- this discretion
  10      is -- again, rests with the line officer?
  11              A.   Correct.
  12              Q.   Can you help me understand your
  13      interpretation and implementation of No. 7 with
  14      respect to what would pose a risk -- what
  15      circumstances would pose a risk to public safety or
  16      national security?
  17              A.   Well, frequently, that's when we're having a
  18      conversation about either gang membership, gang
  19      affiliation, gang support, or persons who are involved
  20      or interested in pursuing a relationship with some
  21      kind of terrorist organization.
  22              Q.   Would this be instances not captured by the
  23      other prioritization categories on this page?
  24              A.   Sometimes, yes.
  25              Q.   What would be an example of one that would

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   1      fall within No. 7 but not covered by the prior
   2      categories here?
   3              A.     A lot of soldiers within gangs don't have a
   4      criminal history, but if there's information obtained
   5      through our investigation to show that there's gang
   6      membership or gang affiliation and they're illegally
   7      in the country, and thus, amenable to civil arrest,
   8      it's a way to take that action based on the
   9      investigative information that's available to the
  10      officer.
  11                     Likewise, our officers, they're involved in
  12      task force.        There's frequently, as we discussed
  13      previously, cases where somebody may be on the
  14      periphery of a criminal organization.               They're not
  15      really part of the conspiracy, but there is enough of
  16      an affiliation that we think that there's a colorable
  17      threat if their continued involvement, you know, does
  18      involve either a public safety or a national security
  19      risk.        So we kind of preemptively take the civil
  20      action because they're not part of the criminal
  21      process.
  22              Q.     What is your understanding of how
  23      prosecutorial discretion, as described by this memo,
  24      should be exercised with respect to someone who has
  25      DACA?

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   1              A.   With respect to this, if they're still in
   2      their status -- or not their status because it isn't a
   3      status.      But if the benefit is still current and
   4      active and they haven't either committed a subsequent
   5      criminal violation or there's not a colorable threat
   6      to public safety or national security, then they
   7      should be allowed to continue, you know, to exercise
   8      that benefit until a later date.
   9              Q.   And when you say, "colorable threat to public
  10      safety and national security," who makes that
  11      determination?
  12              A.   That would be something the officer would
  13      have to articulate to the satisfaction of his
  14      supervisor before the NTA was issued.
  15              Q.   Would this include the authority to revoke
  16      DACA?
  17              A.   CIS terminates DACA, but we would have to
  18      make a decision that it's amenable to issuing the
  19      charging document before CIS terminates the benefit.
  20              Q.   And how about the exercise of prosecutorial
  21      discretion with respect to a former DACA grantee,
  22      someone who is no longer -- someone who no longer has
  23      DACA?
  24              A.   If they allow their benefit to expire, then
  25      they go back to whatever they were before they had the

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   1      document -- I mean before they had the benefit, which,
   2      generally speaking, is being present without
   3      admission.        So they're otherwise amenable to arrest.
   4             Q.   Okay.     With respect to how the operational
   5      aspects of this memo as it relates to DACA grantees or
   6      former DACA grantees, have you generated any
   7      documents, policy or operational guidance documents?
   8             A.   No.
   9             Q.   Do you intend to?
  10             A.   No.
  11             Q.   Are you aware of whether any of these
  12      documents are being generated by your office by the
  13      ERO?
  14             A.   No.
  15             Q.   Okay.     And with respect to what we've just
  16      discussed with respect to the operational effects of
  17      these categories -- these prioritization categories in
  18      the February 2017 memo, have there been any policies
  19      or operational guidance documents that's been
  20      generated with respect to these prioritization
  21      categories?
  22             A.   No.
  23             Q.   Are you aware of whether the ERO is preparing
  24      such information or documents?
  25             A.   We are not.

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   1             Q.   Okay.   Do you, as the Deputy Executive
   2      Associate Director, understand whether you or
   3      Mr. Albins have any intention of generating such
   4      documents?
   5             A.   We have no intention.
   6                  MR. LEE:    I'd like to introduce as the next
   7      exhibit what would be No. 25.
   8                  (Deposition Exhibit 25 was marked for
   9                  identification.)
  10      BY MR. LEE:
  11             Q.   I'd like to refer you -- well, let me first
  12      identify the document.
  13                  This document is part of an exhibit to a
  14      Complaint filed in this action.               The substance of the
  15      document is a September 5, 2017 frequently asked
  16      questions rescission of DACA.             Do you see that?
  17             A.   I do.
  18             Q.   Have you seen these FAQs before, sir?
  19             A.   Yes.
  20             Q.   I believe you testified earlier that this was
  21      provided to you as part of the press packet on the
  22      morning of September 5?
  23             A.   That's correct.       Or a version of this.        I
  24      don't know if it's the exact, same.
  25             Q.   I understand.      And if you want to take a

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   1      moment to peruse it, that's fine, but right now I'm
   2      specifically only interested in Question 9.
   3             A.   Okay.
   4             Q.   Here it says -- Question 9 reads, "Can
   5      deferred action received pursuant to DACA be
   6      terminated before it expires?"
   7                  The answer, "Yes.         DACA is an exercise of
   8      deferred action which is a form of prosecutorial
   9      discretion.        Hence, DHS will continue to exercise its
  10      discretionary authority to terminate or deny deferred
  11      action at any time when immigration officials
  12      determine termination or denial of deferred action is
  13      appropriate."        Do you see that?
  14             A.   I do.
  15             Q.   Did I read that correctly?
  16             A.   Yes.
  17             Q.   Did you have any involvement in developing
  18      language with respect to this question?
  19             A.   No.
  20             Q.   Going back to our earlier discussion about
  21      the discretion of immigration officers to issue NTAs
  22      on the basis of the February 2017 priorities memo?
  23             A.   Yes.
  24             Q.   Would this mean that based on any of the
  25      listed prioritization categories that an immigration

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   1      agent could, in his or her discretion, terminate an
   2      individual's DACA protection?
   3              A.   No.
   4              Q.   No.   So -- and why not?
   5              A.   As I stated previously, the termination comes
   6      from USCIS after the NTA was issued, and I think as
   7      I've previously stated, that an officer may prepare an
   8      NTA, but it's subject to supervisory approval.               So an
   9      individual determination by one officer doesn't
  10      necessitate an action by CIS.             It would have to be
  11      viewed by a supervisor.         If in fact the NTA is issued
  12      after supervisory review, CIS would be notified, and
  13      at that point it would be CIS who would terminate
  14      DACA.
  15              Q.   I want to go back to an earlier answer you
  16      provided, and that was with respect to encountering a
  17      DACA grantee on the field -- in the field, and the
  18      idea that an officer would determine whether there was
  19      a colorable threat to public safety or national
  20      security.
  21              A.   Uh-huh.
  22              Q.   Is that standard, a colorable threat to
  23      public safety or national security, is that found in
  24      any official guidance or policy document?
  25              A.   I don't recall, but that has been the

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   1      standard since the program existed.                 That's nothing
   2      unique to today.      I mean that was, you know -- that
   3      has always been if we encounter somebody and we can
   4      determine there's a public safety or national security
   5      threat.     It's only a deferment of an enforcement
   6      action, and if we think there's enough of a threat to
   7      overcome that, then the charging document could be
   8      issued, and CIS will terminate the benefit.                 That's
   9      nothing new in 2017.         That's been since the program
  10      started.
  11             Q.   With the implementation of the 2017 memo --
  12             A.   Uh-huh.
  13             Q.   -- is there anything that would preclude an
  14      officer from issuing an NTA against a DACA grantee
  15      because he believes, for example, under Bullet
  16      No. 2 -- No. 3, excuse me, may have committed acts
  17      which constitute a chargeable criminal offense?
  18                  MS. DAVIS:     Objection.          Vague.   Speculative.
  19      BY MR. LEE:
  20             Q.   You can answer.        I'm sorry.
  21             A.   Could you repeat that?
  22             Q.   Yes, of course.
  23                  With the implementation of the 2017 memo, is
  24      there anything that would preclude an officer from
  25      issuing an NTA against a DACA grantee because he

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   1      believes, for example, that he has committed an act
   2      which constitutes a chargeable criminal offense?
   3                  MS. DAVIS:     Same objection.
   4                  THE WITNESS:      If the supervisory concurs with
   5      the fact patterns laid out by the officer and the
   6      supervisor signs the NTA, yes, they can issue an NTA.
   7      BY MR. LEE:
   8             Q.   So conceivably -- and I understand this is a
   9      hypothetical, but I'm talking about, you know, a
  10      policy that's currently being implemented, with
  11      respect to this policy in encountering a DACA grantee
  12      in the field, it is not -- a colorable threat to
  13      national security and public safety is not the only
  14      grounds by which an agent may determine, an officer
  15      may determine to issue an NTA?
  16             A.   Well, I answered your specific example, which
  17      was committing the essential elements of a crime.                 And
  18      if we feel that that is serious enough to issue an
  19      NTA, then we would consider that a public safety
  20      threat.
  21                  So I mean my previous statement that there
  22      has to be a colorable threat to safety and the
  23      assessment of committing the essential elements of the
  24      crime, at least from an officer's point of view,
  25      committing the essential elements of a crime does pose

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   1      a threat to either person or property.             Otherwise, it
   2      wouldn't be a crime.
   3                  MR. LEE:    I'd like to introduce what was
   4      previously marked as Exhibit 14.
   5                  (Previously marked Exhibit 14 was handed to
   6                  the witness.)
   7                  MR. LEE:    Again, I think the markings of it
   8      may be with another deposition.
   9             Q.   And I'll represent to you this is the same
  10      document we've been using.           I'd like to take your
  11      attention to Question 9, but I guess before I begin,
  12      do you recognize this document?
  13             A.   Not really.
  14             Q.   So to give you a little context, these should
  15      be the FAQs that were issued concurrent with the 2012
  16      announcement of DACA.
  17             A.   Okay.
  18             Q.   And you'll see from the current web page on
  19      the front, with respect to these FAQs, it says it's
  20      archived content and DACA has changed.             So that's sort
  21      of from the perspective of what's going on today.                 But
  22      what follows would be the 2012 FAQs, which I
  23      understand that you were not involved in developing.
  24             A.   Uh-huh.
  25             Q.   You can take a moment if you'd like, but when

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   1      you're ready, I'd like to turn your attention to
   2      Question 9.
   3             A.   Okay.   Sure.
   4             Q.   Question 9 here asks, "If individuals meet
   5      the guidelines for consideration of DACA and are
   6      encountered by CBP or ICE, will they be placed into
   7      removal proceedings?"
   8                  And the answer reads, "DACA is intended, in
   9      part, to allow CBP and ICE to focus on priority cases
  10      under the direction of the Secretary of Homeland
  11      Security if an individual meets the guidelines for
  12      DACA, CBP or ICE should exercise discretion on a
  13      case-by-case basis to prevent qualified individuals
  14      from being apprehended, placed the into removal
  15      proceedings or removed."          Do you see that?
  16             A.   I do.
  17             Q.   Did I read that correctly?
  18             A.   I believe so.
  19             Q.   Was this the policy in effect up until
  20      September 5 of this year?
  21             A.   I'd say in general terms, yes.          I mean I
  22      can't comment on what CIS did in generating these.
  23      That may be CIS's perspective, but I think in general,
  24      this is consistent with what I've said previously here
  25      today.

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   1             Q.   So your testimony today is that from the
   2      perspective of ICE, that ICE, up until September 5 of
   3      this year, exercised its discretion on a case-by-case
   4      basis to prevent qualifying individuals from being
   5      apprehended, placed into removal proceedings or
   6      removed?
   7                  MS. DAVIS:     Objection.          Can you repeat the
   8      question?     Sorry.
   9      BY MR. LEE:
  10             Q.   Yeah.   So your testimony is that from the
  11      perspective of ICE, that up until September 5 of this
  12      year, it continued to exercise its discretion on a
  13      case-by-case basis to prevent qualifying individuals
  14      from being apprehended, placed in -- or placed into
  15      removal proceedings?
  16             A.   I don't know about the temporal part of your
  17      question.     I'm trying to -- this is something that's
  18      historic from 2012, and you're trying to juxtapose it
  19      with a date specific thing.             I'm trying to process
  20      through whether I agree with you or not, because
  21      that's what you're asking; right?                   You're asking
  22      whether I agree with the way you've phrased that, and
  23      I'm not sure that I do.
  24             Q.   Well, I'm just really trying to understand
  25      whether what is indicated in this Q&A, which is that

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   1      ICE will exercise discretion on a case-by-case basis
   2      to prevent qualifying individuals from being
   3      apprehended, placed into removal proceedings or
   4      removed, whether this was being followed by ICE up
   5      until September 5.
   6              A.    I think it's still being followed by ICE
   7      today.       Well, not up to today because we're past
   8      October 5.       But, you know, during the period where
   9      people could seek to extend their DACA benefit, that
  10      was still the case.       And if they are a DACA
  11      beneficiary, it's still the case today.
  12              Q.    So despite the February -- despite the
  13      February 2017 enforcement priorities memo we just
  14      discussed, your position is that ICE continued to
  15      apply this policy with respect to exercising
  16      discretion on a case-by-case basis to prevent
  17      qualifying individuals from being apprehended, placed
  18      into removal proceedings or removed?
  19              A.    Since the DACA -- as I stated previously,
  20      since the DACA program was still in effect in
  21      February, the kind of worksheet that the officers were
  22      using was still being used.            I think both the
  23      president and Secretary Kelly were both clear about
  24      that.
  25              Q.    I'd like to -- let me ask you before I

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   1      forget.     The rest of the answer here refers to a "law
   2      enforcement support center."             Do you see that?
   3             A.   I do.
   4             Q.   Is the LESC something that sits within ICE?
   5             A.   Yes.
   6             Q.   And where would it be sort of as a matter of
   7      organizational chart?
   8             A.   Well, it would be under the assistant
   9      director for enforcement, which it seems to have --
  10             Q.   That's okay.     I see it.
  11             A.   This is all in a different order now.
  12             Q.   Now, this answer reads, "If the individuals
  13      believe that in light of this policy they should not
  14      have been apprehended or placed into removal
  15      proceedings, contact the LESC's hotline."              Do you have
  16      any understanding of what happens when an individual
  17      calls the LESC in this context?
  18             A.   I think in general terms, if the person has
  19      been arrested and not yet charged and there would
  20      be -- they were providing either additional
  21      information or clarifying information, then we would
  22      have done an individual licensed assessment of whether
  23      or not to continue with our enforcement action or to
  24      stop it.     And if a charging document had been issued
  25      that should not have been issued, it would have been

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   1      terminated.
   2             Q.   Was the LESC continuing to take calls from
   3      individuals who believed they were improperly
   4      apprehended or placed into removal proceedings up
   5      until September 5?
   6             A.   I mean that number exists even today.             It's
   7      on the detainer notification, I believe.              It's still
   8      on the detainer notification.              But the detainer
   9      changes a lot.        So I'm trying to recall the current
  10      iteration, but it's always a resource that's
  11      available.        Many resources are available to either
  12      arrestees or detainees or persons that we have --
  13      intend to arrest, that they can, you know, provide
  14      additional information that may not have been known to
  15      ICE at the time of first encounter, or they may not
  16      have chosen to disclose to us the time of first
  17      encounter.
  18             Q.   Has there been any operational changes to how
  19      the LESC operates its hotline with respect to these
  20      qualifying individuals since the rescission of DACA?
  21             A.   No.     I mean people who are DACA beneficiaries
  22      remain beneficiaries.         So that is unchanged.        Given
  23      that our most frequent contact with folks is in a
  24      criminal environment, you know, we would just have
  25      to -- again, if they're alleging that the officers

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   1      erred in either lodging a detainer or issuing a
   2      charging document, the LESC would make that
   3      information available to a higher level manager, and
   4      that they would do a secondary review of the case.
   5             Q.   This hotline continues to be in effect?
   6             A.   To my knowledge, yes.
   7                  MR. LEE:    I'd like to mark as Exhibit 26 a
   8      document that appears to be printed from TWITTER.COM.
   9                  (Deposition Exhibit 26 was marked for
  10                  identification.)
  11      BY MR. LEE:
  12             Q.   Do you see this?
  13             A.   Sure.
  14             Q.   Okay.   In this Twitter printout there appears
  15      to be an image of a memo dated September 6, 2017 from
  16      the acting chief of the U.S. Border Patrol to all
  17      chief patrol agents and all directorate chiefs.                Do
  18      you see that?
  19             A.   I do.
  20             Q.   And it's on the letterhead for the CBP?
  21             A.   Correct.
  22             Q.   Have you seen this memo before?
  23             A.   No.
  24             Q.   I'm going to give you a moment to review this
  25      memo because I have some questions about some of the

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   1      content.     I understand that you have not seen this
   2      particular memo before.
   3             A.   Okay.   It's extremely hard to read as well.
   4             Q.   I apologize for that.
   5                  (The witness reviewed Exhibit 26.)
   6      BY MR. LEE:
   7             Q.   Let me just start simply by indicating the
   8      subject of this memo, if I'm reading correctly,
   9      Mr. Miller, is "Guidance on the Acting Secretary's
  10      Rescission of the Memorandum of June 15, 2012
  11      Establishing DACA."
  12                  Would you agree with me that this appears to
  13      be an operational document issued by CBP in response
  14      to the rescission of DACA on September 5?
  15                  MS. DAVIS:     Objection.          Lack of foundation.
  16                  THE WITNESS:      It appears to be a document
  17      issued to one subcomponent within CBP, is what it
  18      appears to be to me.
  19      BY MR. LEE:
  20             Q.   And this is -- in terms of the subcomponent
  21      being the recipient, I do see that.                 Do you agree with
  22      me that this is an operational document with respect
  23      to implementing the rescission of DACA?
  24                  MS. DAVIS:     Same objection.
  25                  THE WITNESS:      I mean the subject suggests

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   1      that, but I hadn't finished reading it when you
   2      started asking questions.
   3      BY MR. LEE:
   4             Q.   I apologize.      Please take a look.
   5             A.   Like I said --
   6                  (The witness further reviewed Exhibit 26.)
   7                  THE WITNESS:      Sure.
   8      BY MR. LEE:
   9             Q.   Now, Mr. Miller, going to the very last
  10      paragraph, let me see if I can read this correctly.
  11             A.   Good luck.
  12             Q.   According to this memo "When an individual
  13      who claims to have DACA is encountered, an agent must
  14      first process the individual through the E3 system.
  15      An individual capacity pending application, that is it
  16      has been accepted by USCIS for processing for DACA or
  17      DACA renewal should be processed as if they have
  18      deferred action under DACA absent derogatory
  19      information."
  20                  Do you have any understanding of the term
  21      "derogatory information" as used by CBP?
  22             A.   No, I don't.
  23             Q.   Does ICE use this terminology?
  24             A.   We don't use -- I mean I guess you could say
  25      public safety or national security threat.              I mean my

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   1      words that I used with you previously was a colorable
   2      public safety or national security threat.                If you
   3      want to use the word "derogatory," if you chose to use
   4      that word, it would be synonymous, in my mind.                   But
   5      that's the acting chief's word, not mine.                But I
   6      understand what she means by it.
   7             Q.   And in your mind, the operating standard is a
   8      colorable threat to public safety or national
   9      security?
  10             A.   Those are my words.           I mean if you use the
  11      word "derogatory," it would mean public safety or
  12      national security threat.
  13             Q.   In that formulation of a colorable threat to
  14      public safety, I want to get some clarity.                Would that
  15      be the elements of any criminal offense?
  16             A.   Potentially.
  17                  MS. DAVIS:     Objection.          Vague.
  18      BY MR. LEE:
  19             Q.   Potentially could be fulfilling the elements
  20      of any criminal offense; correct?
  21                  MS. DAVIS:     Objection.          Speculative.
  22                  THE WITNESS:      As I said previously, I mean
  23      it's something that the individual officer would have
  24      to articulate to his or her supervisor, and the
  25      supervisor would have to concur to the point of

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   1      issuing the charging document.              Since the individual
   2      officers don't issue the charging documents themselves
   3      and requires supervisory review, it would be incumbent
   4      on the individual officer to articulate what he or she
   5      feels is the threat to public safety or national
   6      security.
   7                  Should the provider concur, then they would
   8      issue the charging document, notify CIS and terminate
   9      the DACA benefit.
  10      BY MR. LEE:
  11             Q.   Going back to this memo, I want to take you
  12      to Page 2, the first full paragraph.               And it reads,
  13      "Where an agent finds derogatory information
  14      indicating that deferred action under DACA may no
  15      longer be appropriate, the agent should" consider
  16      USCIS -- excuse me -- "the agent should contact USCIS
  17      to determine if the deferred action can be terminated
  18      immediately."       Do you see that?
  19             A.   I do.
  20             Q.   Is there any mechanism you're aware of in ICE
  21      where an ICE agent or an ICE officer can contact USCIS
  22      to determine if deferred action can be terminated
  23      immediately?
  24             A.   We issue the charging document first and then
  25      contact CIS for the termination.

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   1             Q.   Is that the only way in which revocation of
   2      DACA can be achieved?
   3             A.   To my knowledge, termination, yes.               That is
   4      how we do it.      I cannot talk to the instructions that
   5      a border patrol chief gives to her subordinates.                   You
   6      would have to talk to Ms. Provost.
   7             Q.   Yes, and all I'm trying to do is understand
   8      kind of if there's any analog device.                  I'm fully
   9      understanding that you are not part of CBP.
  10                  MR. LEE:     I think we are at a good time for a
  11      break.
  12                  MS. DAVIS:     Okay.
  13                  MR. LEE:     Thank you for your patience.
  14                  THE VIDEOGRAPHER:         We're going off the
  15      record.     This is the end of Media Unit No. 2.               Time is
  16      2:40 p.m.
  17                   (A recess was taken from 2:40 p.m. to
  18                   3:02 p.m.)
  19                  THE VIDEOGRAPHER:         We're on the record.         This
  20      begins Media Unit No. 3.           The time on the video is
  21      3:02 p.m.
  22      BY MR. LEE:
  23             Q.   Mr. Miller, welcome back.               Do you understand
  24      you're still under oath?
  25             A.   Yes, sir.

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   1             Q.   Just right before we took a break, you
   2      explained that ICE would issue a charging document
   3      first and then contact USCIS for determination.                Do
   4      you recall that?
   5             A.   Yes.
   6             Q.   I just want to understand that process a
   7      little bit more.       I understand that ICE issues the
   8      charging document, and then what is transmitted to
   9      USCIS?
  10             A.   My understanding is that it's a call to -- I
  11      don't know today.       When I was in the field, we were
  12      contacting the Burlington Benefits Center, I think is
  13      what it's called, or the CIS office in Burlington,
  14      Vermont to let them know that a charging document had
  15      been issued.       I believe that it's still -- to my
  16      knowledge, it's still the same process unless
  17      individual field offices have set something up at the
  18      field office level with their counterparts and CIS.
  19                  Most of our field office -- the office of the
  20      field office director is in a city where CIS also has
  21      an office.
  22             Q.   When you communicate to the benefit center
  23      that an NTA had been issued, is it then a matter of
  24      course that USCIS will revoke the DACA protection?
  25             A.   Terminate, yes.

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   1             Q.   Terminate?
   2             A.   Yes.
   3             Q.   They don't then, themselves, consider whether
   4      to terminate or not?
   5             A.   That's my understanding, correct.
   6             Q.   Okay.   Do you have any knowledge of any
   7      intention on the part of ICE to initiate enforcement
   8      actions against former DACA grantees after --
   9      presently?
  10             A.   No.
  11             Q.   To back up a little bit, you will agree with
  12      me that as a result of the termination -- the
  13      rescission memorandum, that there are going to be
  14      individuals who -- whose DACA protection expires
  15      without the ability for renewal?
  16             A.   Yes, that's my understanding.
  17             Q.   Okay.   And so these individuals, obviously,
  18      are not going to be qualifying individuals for DACA?
  19             A.   Correct.
  20             Q.   And with respect to this growing universe of
  21      individuals who are losing that DACA, are there any
  22      present intentions on the part of ICE to initiate
  23      enforcement actions against them?
  24             A.   No.
  25             Q.   Are there any present intentions on the part

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   1      of ICE to initiate enforcement actions against this
   2      universe of DACA grantees after March 5 of 2018?
   3             A.   No.
   4             Q.   And why is that?
   5             A.   Simply stated, that if they're not a
   6      criminal, then most of our efforts focused on
   7      identifying, locating and arresting criminal aliens.
   8      Certainly if someone was encountered incidental to a
   9      criminal contact and they no longer have a deferred
  10      action benefit, they're amenable to arrest.              But in
  11      terms of proactively seeking noncriminals, you know,
  12      we're pretty much maxed out with our resources and
  13      just focusing on criminal aliens.
  14             Q.   I'd like to switch gears a little bit and
  15      talk about the systems that you maintain at ICE.
  16             A.   Sure.
  17             Q.   As a general matter, if you can help me, do
  18      the immigration components of USCIS, CBP, and ICE
  19      operate systems and databases that are unique to their
  20      agency?
  21             A.   Yes.
  22             Q.   The database, for example, that generated the
  23      data set from USCIS we talked about earlier today --
  24             A.   Correct.
  25             Q.   Do you know the name of that database?

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   1             A.   I do not.
   2             Q.   Have you heard of anything called the
   3      "central index system"?
   4             A.   Yes.
   5             Q.   Okay.   And what is that?
   6             A.   Central index system is basically a database
   7      that has individuals, alien registration numbers,
   8      biographic information, information about some of the
   9      benefits they may have been granted.               It has some
  10      limited case history functionalities, and if they've
  11      been issued -- previously issued any kind of card, a
  12      permanent resident card or employment authorization
  13      card, it may have information about that as well.
  14             Q.   And is there an agency that owns this
  15      database?
  16             A.   It's USCIS.
  17             Q.   And with respect to access to the systems and
  18      databases operated individually by each component, are
  19      there any general protocols as to how a different
  20      component can gain access to that system or database
  21      that's owned by another?
  22             A.   On certain ones that are considered shared
  23      information, officers can get access through -- I
  24      forget what the acronym stands for, but it's called a
  25      PICS identity, and depending on what agency you're

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   1      with and what your job is, your PICS ID will grant you
   2      access to certain databases.             For example, we can look
   3      at the USCIS central index system, and we don't have
   4      authority to put information into that, but we can
   5      query information in there to try to identify an alien
   6      registration number or validate that somebody who is
   7      not in possession of their card at the time of
   8      encounter, that that card has been issued and is
   9      still, you know, I guess still current, for lack of a
  10      better term, if it's something that expires like an
  11      EAD.
  12             Q.   What would be considered shared information?
  13      Which systems or databases would you say was shared
  14      information?
  15             A.   We have access to the central index system.
  16      We have access to CLAIMS.           We have -- some of the
  17      border patrol's arrest information gets ingested into
  18      our system of record, which is called EARM.              And that
  19      information -- EARM information is also available both
  20      to CBP and USCIS if they want to look up case
  21      information about an individual who was in removal
  22      proceedings or was previously in removal proceedings.
  23             Q.   You mentioned something called the PICS ID is
  24      that PI CS?
  25             A.   P-I-C-S.

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   1             Q.   P-I-C-S.     And help me understand, is this the
   2      ID that you need in order to get access to another
   3      system?
   4             A.   It identifies you, you know, as an
   5      individual.        Since these are, you know, for official
   6      use only database systems, everything that we do in
   7      it, there's a record of it.             So if there's any
   8      allegation of misuse or abuse, then, you know, it's
   9      tracked back to the individual officer that accessed
  10      the information.
  11             Q.   So, for example -- let me just understand.
  12      Every ERO employee would have their own PICS ID?
  13             A.   Officers for sure.          Not all support personnel
  14      have a need to access this information.              It would
  15      depend on whether they're direct support of
  16      enforcement.        But, for example, the budget folks most
  17      likely do not have a PICS ID.              They do not have a need
  18      to access this information.
  19             Q.   Do you currently have a PICS ID?
  20             A.   Yes.
  21             Q.   I assume in your previous positions you also
  22      had one?
  23             A.   Yes.
  24             Q.   And as the FOD you also had one?
  25             A.   I've had the same one since August of 1996.

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   1             Q.   Okay.   Beyond using a PICS ID to get access
   2      to a system, is there any other clearance or approval
   3      you need before you access that system?
   4             A.   I mean in general terms, that's worked out in
   5      advance.     Like you would say, when I was an
   6      immigration inspector, I had access to certain systems
   7      that other people didn't.           When I was a deportation
   8      officer, I had access to systems that other people
   9      didn't need to know.        When I was a special agent, I
  10      had different accesses than when I was an inspector.
  11      So a lot of it is tied to the positions and the
  12      expectation of that position.
  13                  Certainly, if there's a specific need based
  14      on an operational need, you can either -- now you
  15      would be going to a different agency.              Back in the INS
  16      days you'd be going to a different program, they were
  17      called, to demonstrate a need to get access for that
  18      system.     If there was general concurrence, you'd get
  19      access.     If there was, you know, need for further
  20      discussion, the senior managers would have that
  21      discussion and make a determination.
  22             Q.   So as a general matter, sort of the
  23      permissions are set sort of based on the role and
  24      responsibility of the particular position?
  25             A.   Yes.

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   1             Q.    Okay.   Back in the day when -- either whether
   2      you know now or back when you were the field office
   3      director, do you know if the officers in the field
   4      have a PICS ID that gave them access to the central
   5      indexing system?
   6             A.    Yes.
   7             Q.    I'm sorry.     I think I should have
   8      said central index system.
   9             A.    I know what you meant.             We just say, "CIS,"
  10      which is confusing because now there's an agency
  11      that's CIS.
  12                   MR. LEE:     And I'm sorry for a technical
  13      issue.      Can we just go off the record for a few
  14      seconds?
  15                   THE VIDEOGRAPHER:         We're going off the
  16      record.      The time on the video is 3:13 p.m.
  17                   (A recess was taken from 3:13 p.m.
  18                   to 3:17 p.m.)
  19                   THE VIDEOGRAPHER:         We're back on the record.
  20      The time on the video is 3:17 p.m.
  21      BY MR. LEE:
  22             Q.    Mr. Miller, are you familiar with what
  23      information is contained in CIS?
  24             A.    Yes.
  25             Q.    You've accessed CIS yourself in the past?

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   1             A.   Correct.
   2             Q.   I take it publicly not in your more senior
   3      positions but earlier in your career?
   4             A.   That's correct.
   5             Q.   And my understanding is that the CIS system
   6      would contain information about DACA beneficiaries; is
   7      that correct?
   8             A.   It may.    You know, so to your point, around
   9      the time that the system was -- I mean that DACA was
  10      implemented as a program.           It was generally around the
  11      same time that I was no longer directly accessing it
  12      and subordinates were, but that is a benefit that may
  13      be captured in there.        Certainly, the employment
  14      authorization document in theory should be entered.                 I
  15      mean it's a human system, and you have to key stroke
  16      information into it.
  17                  So subject to information being key stroked
  18      into it, it should at least show the employment
  19      authorization document.
  20             Q.   And do you know whether the information
  21      underlying the issuance of the benefit, in this case,
  22      the EAD, is that information also captured in the CIS?
  23             A.   Not in the central index, no.
  24             Q.   Where would that information be instead?
  25             A.   To my knowledge it would be in the A file.

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   1             Q.   In the A file?
   2             A.   Correct.
   3             Q.   Would that be the individual file --
   4             A.   Registration file for the individual
   5      applicant, yes.
   6             Q.   And are those also in an electronic system?
   7             A.   Those were the paper files, much like, you
   8      know, your folder there.          And the papers contained
   9      therein.     Each individual form for a person that has a
  10      history with now DHS, previously DOJ, kind of the
  11      totality of their individual history from their first
  12      contact with a component or subcomponent up to the
  13      current date, that information is captured in the
  14      alien registration file.          Some of that information is
  15      available electronically.           A lot of it is just in the
  16      paper file.
  17             Q.   And when you say some of the information is
  18      available electronically, can you give me a little bit
  19      of detail as to --
  20             A.   I mean the database that you're talking about
  21      has name, address, date of entry, current immigration
  22      status, country of citizenship, country of birth.                 I
  23      mean there's a lot of fields that, I guess they're
  24      discretionary fields, but it may have their social.
  25      It may have their driver's license.                It may have their

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   1      FBI number, if they have an FBI number.             It has fields
   2      for case history, again if they're key stroked in.                 It
   3      has fields for cards that were issued by the
   4      department, used by the department generically.
   5                  I mean there's fields for all of that
   6      information, but it's subject to what is key stroked
   7      into it.
   8             Q.   Do you recall, for example, with an EAD my
   9      understanding is and the application form for it, one
  10      of the fields would include information about
  11      individuals' parents, name of father, name of mother.
  12             A.   I can't remember if that's on the EAD
  13      application or not.       I know it's in our arrest report,
  14      but it's been a long time since I've seen the form to
  15      apply for an EAD.
  16             Q.   Have you ever seen the names of a
  17      beneficiary's parents in the CIS?
  18             A.   Absolutely.
  19             Q.   How about the names of any other individuals
  20      associated with the beneficiary?
  21             A.   Not in the central index system, no.
  22             Q.   So as far as you recall, it's the beneficiary
  23      herself or himself and parents and guardians?
  24             A.   Yes.
  25             Q.   And no one else?

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   1             A.   To the best of my recollection, yes.
   2             Q.   Now, to be clear, based on the position of
   3      Yarrow officers and the role they play, their PICS ID
   4      gives them read only access to the CIS?
   5             A.   Correct.
   6             Q.   And they can access this information without
   7      further approval or oversight from anybody else within
   8      the department?
   9             A.   Correct.
  10             Q.   And how about with respect to communication
  11      across these components?          Can a line officer pick up
  12      the phone and speak to someone at USCIS in furtherance
  13      of his or her duties, or does that communication need
  14      to be routed internally through ICE first?
  15             A.   I think it depends on what information they
  16      need and who they're trying to get out.             Certainly, I
  17      mean ICE doesn't have a policy that precludes that
  18      communication.      Whether or not CIS allows it is
  19      something you'd have to ask my counterpart.              A lot of
  20      CIS employees now telework and they have a scheduling
  21      system that's, you know, unique to that individual
  22      adjudicator.     And whether or not he or she is in the
  23      office or adjudicating remotely is something that, you
  24      know, we wouldn't have firsthand knowledge of.
  25                  There are instances where there's a specific

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   1      location that has to be called for specific
   2      information, and that's usually done either by a
   3      second line supervisor, or in some cases, we'd refer
   4      that to chief counsel's office, and he or she would
   5      have a designee as the primary point of contact.
   6             Q.   As far as, you know, there's no sort of set
   7      policy as to when communication can be made directly
   8      to another component versus when that communication
   9      needs to be filtered through the chain of command?
  10             A.   Unless there's specific programs that do
  11      exist, but, you know, in general, if someone wanted to
  12      call and talk to an adjudicator, there's no preclusion
  13      from doing that.
  14             Q.   When you say, "adjudicator," are you talking
  15      about USCIS employees that are making a determination
  16      on applications for benefits?
  17             A.   That's adjudication officer, I believe is
  18      what they're called now.          They used to be called
  19      "examiners."     I believe they're called "adjudication
  20      officers" now.
  21             Q.   Would this also be the case with other
  22      employees at USCIS?       I'm assuming that not all of
  23      their employees are adjudication officers.
  24             A.   I can't speak to how they're structured now.
  25      In the old days we had much more knowledge of -- I'm

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   1      sorry.      During the INS days we had a greater
   2      understanding of how they were structured.                Since they
   3      broke up INS and made all the new agencies, we have
   4      limited visibility into what their positions are
   5      titled and what their roles and responsibilities are,
   6      how the organizations are structured.                You have
   7      individual points of contact for specific programs,
   8      but in terms of like day-to-day interaction, it's much
   9      different now that we're separate agencies.
  10             Q.    So with my understanding of how ICE officers
  11      have access to the CIS, would that access to CIS be a
  12      mechanism for ERO to identify DACA recipients?
  13             A.    I'm sorry.     Can you say that again.
  14             Q.    Would the access by ICE officers to the CIS
  15      allow them to identify -- give them the ability to
  16      identify DACA recipients?
  17             A.    If you're looking at an individual record,
  18      you'd be able to see whether or not the EAD was
  19      issued.      Again, I don't know if they have a code in
  20      the history screen specifically for DACA.                I know that
  21      there is an EAD code for deferred action, but it's not
  22      mutually exclusive to DACA.              It's just the deferred
  23      action code.      So that might be an indicator of whether
  24      or not there's a specific code for DACA and CIS.                   I
  25      don't know that.

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   1             Q.    And the expiration dates of those EADs are
   2      also in the CIS?
   3             A.    If it was put in, yes.
   4             Q.    Right.   Do you know if applications or
   5      applicants for immigration benefits are also in the
   6      CIS?
   7             A.    I don't know at what point CIS creates a
   8      record.      I don't know if it's during the adjudicative
   9      process, when they assign the A number and when they
  10      create a record.       I'd have to refer you to CIS for
  11      that policy.
  12             Q.    Now, with respect to the generation of the
  13      metrics you discussed earlier from Mr. Hamilton, you
  14      explained that the process was to get a data set from
  15      USCIS.      Do you recall that?
  16             A.    Yes.
  17             Q.    Was that data set generated from the central
  18      index system?
  19             A.    I don't know.       You'd have to ask CIS.
  20             Q.    Is your understanding that the data set
  21      provided by USCIS included A numbers of DACA
  22      beneficiaries?
  23             A.    Yes.
  24                   MS. DAVIS:     Objection.          Vague.
  25      BY MR. LEE:

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   1             Q.   So as far as you know, CIS -- USCIS was able
   2      to compile a list of A numbers for those individuals
   3      that it had conferred DACA to?
   4                  MS. DAVIS:     I'm sorry.          Can you repeat the
   5      last part?        That he -- you said -- sorry.
   6      BY MR. LEE:
   7             Q.   As far as you know, Mr. Miller, USCIS is able
   8      to generate a list of A numbers for individuals that
   9      it had conferred DACA?
  10                  MS. DAVIS:     Objection.          Vague.
  11                  THE WITNESS:      Yes.
  12      BY MR. LEE:
  13             Q.   In your time at the ERO, have you ever
  14      received information from USCIS about DACA recipients
  15      other than generating -- this instance of generating
  16      those metrics?
  17             A.   I have not.
  18                  MS. DAVIS:     Objection.          Vague.
  19                  THE WITNESS:      No, I have not.
  20      BY MR. LEE:
  21             Q.   Do you know if -- let me ask, during your
  22      time at ICE, have you ever had occasion to proactively
  23      ask USCIS for information about DACA beneficiaries
  24      other than this instance of generating the metrics?
  25             A.   No.

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   1             Q.   Are you aware of any ICE officers that have
   2      approached USCIS for information on DACA recipients?
   3             A.   No, I'm not.
   4             Q.   Are you aware of any instances of ICE
   5      officers accessing CIS to get information about DACA
   6      recipients?
   7                  MS. DAVIS:     Objection.          Vague.
   8                  THE WITNESS:      I don't know of any instances,
   9      no.
  10      BY MR. LEE:
  11             Q.   And you don't recall that ever happening when
  12      you were more at the field level?
  13             A.   At the field level there may have been
  14      individual instances where we contacted people in
  15      jails, and subsequent to identifying that they had an
  16      existing A number, we'd have to see, you know, what
  17      record was associated with that A number, which is our
  18      queryability in USCIS is limited in what we can query.
  19      It's usually associated with identifying individuals
  20      to determine if they're in a lawful status or have
  21      other benefits that would either preclude us taking an
  22      enforcement action or require us to charge them with
  23      specific charges subsequent to being granted the
  24      benefit.
  25                  For example, if someone is claiming that

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   1      they're a permanent resident and they're not in
   2      possession of their card, we would authenticate that
   3      and then see if there's sufficient evidence to charge
   4      them with a violation.             There are only certain
   5      violations that you can charge a permanent resident
   6      with.        So we would have to kind of access that record
   7      as part of the investigative process.
   8              Q.     Is there, to your understanding, any
   9      mechanism that controls the exchange of information
  10      between USCIS and ICE with respect to DACA
  11      beneficiaries?
  12                     MS. DAVIS:     Objection.          Vague.
  13                     THE WITNESS:      To my knowledge, in the systems
  14      that I have access to, there's no restrictions that
  15      I'm aware of.
  16       BY MR. LEE:
  17              Q.     And in -- would you agree -- let me rephrase
  18      that.        Has the way in which information is exchanged
  19      between USCIS and ICE changed in any way since 2012?
  20              A.     No.
  21              Q.     Let me take you back to what I think I've
  22      already marked Exhibit 14.               And as I represented to
  23      you, Mr. Miller, these are the frequently asked
  24      questions that were generated together with the 2012
  25      announcement of DACA.            And I'd like to take you to

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   1      Question 19.
   2                   Question 19 asks, "Will the information I
   3      share in my request for consideration of DACA be used
   4      for immigration enforcement purposes?"
   5                   Answer, "Information provided in this request
   6      is protected from disclosure to ICE and CBP for the
   7      purpose of immigration enforcement proceedings unless
   8      the requester meets the criteria for the issuance of
   9      an NTA or referral to ICE under the criteria set forth
  10      in USCIS' notice to appear guidance."               Do you see
  11      that?
  12              A.   I do.
  13              Q.   Did I read that correctly?
  14              A.   I think so.
  15              Q.   Have you seen, specifically, this Q&A before?
  16              A.   I may have at some point since 2012, but
  17      again, it's a CIS internal document.               It wouldn't have
  18      been paramount in my day-to-day duties.
  19              Q.   Was there any discussions with you -- well,
  20      let me strike that.
  21                   In your time working in the field, were you
  22      ever -- let me strike that.            I apologize.
  23                   I'm going to take you, actually, to what I
  24      believe I previously marked as the frequently asked
  25      questions issued together with the rescission memo.

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   1      Give me a moment to locate it.
   2                  MS. DAVIS:     25?
   3                  MR. LEE:     Yes.    Exactly.
   4             Q.   And let me take you to Question 8.
   5      Question 8 reads, "Will USCIS share the personal
   6      information of individuals whose pending requests are
   7      denied proactively with ICE for enforcement purposes."
   8                  And the answer reads, "Generally, information
   9      provided in DACA requests will not be proactively
  10      provided to other law enforcement entities, including
  11      ICE and CBP, for the purpose of immigration and
  12      enforcement proceedings unless the requester poses a
  13      risk to national security or public safety or meets
  14      the criteria for an issuance of an NTA or referral to
  15      ICE under the criteria."           Do you see that?
  16             A.   I do.
  17             Q.   Did I read that correctly?
  18             A.   Yes.
  19             Q.   Do you have any understanding with respect to
  20      Question 19 in Exhibit 14 and here Question 8 in
  21      Exhibit 25, as to any changes in the circumstances
  22      under which it would be permissible for information
  23      about DACA beneficiaries to be exchanged between USCIS
  24      and ICE?
  25             A.   No.

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   1             Q.   Is it still currently the department's
   2      position that information provided in requests for
   3      DACA is protected from disclosure to ICE for the
   4      purpose of immigration enforcement proceedings unless
   5      the requester meets the criteria for the issuance of
   6      an NTA or referral to ICE under the criteria set forth
   7      in USCIS' NTA guidance?
   8             A.   I don't know what USCIS NTA guidance is.              So
   9      I can't speak on behalf of CIS and when or if they
  10      issue charging documents.
  11             Q.   You have not had any discussions in 2017 with
  12      USCIS with respect to the information exchange about
  13      DACA grantees?
  14             A.   No, I haven't.
  15             Q.   Are you familiar at all with the NTA
  16      guidance?
  17             A.   Not CIS' NTA guidance, no.
  18             Q.   Now, to clarify, is it the case that both
  19      USCIS and ICE have the authority to issue NTAs?
  20             A.   That is correct, among other agencies, but
  21      yes, those are two within the department.
  22             Q.   And presumably CBP as well?
  23             A.   That's correct.
  24             Q.   And USCIS' NTA guidance is not something that
  25      you're familiar with?

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   1             A.   It is not, nor is it binding on us.
   2             Q.   Does ICE have its own NTA guidance?
   3             A.   No.   Since the end of the priority
   4      enforcement program, we're amenable to issuing NTAs,
   5      anyone who's found to be in violation of the INA.                 So
   6      that's a fundamental part of our training.              So we
   7      don't see a need to issue any subsequent guidance.
   8             Q.   And just to go back to an earlier part of our
   9      discussions, with respect to the FAQs we just
  10      discussed, both in the 2012 FAQs and the 2017 FAQs,
  11      you did not have any role in developing the wording of
  12      those two FAQs?
  13             A.   I did not.
  14             Q.   Did you have any discussions with anyone in
  15      DHS about the wording of those FAQs?
  16             A.   No, I didn't.
  17                   Are you aware of any such conversations
  18      between USCIS and ICE with respect to the wording of
  19      these FAQs relating to information exchanged?
  20             A.   No.
  21             Q.   Do you have any knowledge of any instances
  22      where DACA information was provided by USCIS to ICE
  23      that formed the basis for enforcement action?
  24             A.   No, I do not.
  25             Q.   Is there any intention on the part of ICE to

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   1      use DACA information as a basis for immigration
   2      enforcement actions?
   3             A.   No.
   4             Q.   How about after March 5?
   5             A.   No.
   6                  MR. LEE:    Okay.     I think I'm at a natural
   7      break point.       Let's take five minutes.        Is that okay?
   8                  THE VIDEOGRAPHER:        We're going off the
   9      record.     The time on the video is 3:42 p.m.
  10                  (A recess was taken from 3:42 p.m.
  11                  to 4:02 p.m.)
  12                  THE VIDEOGRAPHER:        We're back on the record.
  13      The time on the video is 4:02 p.m.
  14      BY MR. LEE:
  15             Q.   Mr. Miller.
  16             A.   Good afternoon.
  17             Q.   You mentioned with respect to systems and
  18      databases at DHS a system called "CLAIMS"?
  19             A.   Yes.
  20             Q.   Is that the full name of the database?
  21             A.   That's the acronym.          I don't know what the
  22      full name of the database is.
  23             Q.   Is it just the acronym CLAIMS, or is it
  24      CLAIMS 3 or a number attached to it?
  25             A.   I'm not sure which iteration of CLAIMS

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   1      they're on now.         CLAIMS has been around for a while,
   2      and there's been -- they could be at 3.                    They could be
   3      at 4.        I'm not sure what version of CLAIMS they're at.
   4              Q.     I see.   But it's all based on the same CLAIMS
   5      system?
   6              A.     Yes, sir.
   7              Q.     And can you tell me what information -- well,
   8      let me first ask you which agency owns CLAIMS?
   9              A.     USCIS.
  10              Q.     What does CLAIMS contain?
  11              A.     Information about benefit applications.
  12              Q.     And so by "benefit applications," do you mean
  13      the information contained in applications for
  14      immigration benefits?
  15                     MS. DAVIS:     Objection.          Vague.
  16                     THE WITNESS:      There's structured fields and,
  17      again, to my knowledge, it's all key stroked in.                    So
  18      it has basic biographic information and then what
  19      application was filed and the outcome of the
  20      application.
  21      BY MR. LEE:
  22              Q.     Does this include applications for DACA?
  23              A.     Yes.
  24              Q.     And so what would be key stroked into CLAIMS
  25      would be whatever structured fields are available in

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   1      that system to capture the information on the DACA
   2      application?
   3             A.   Yes, sir.
   4             Q.   Do ICE officers, ERO officers through their
   5      PICS ID have access to CLAIMS?
   6             A.   They're able to get it.             It's an access they
   7      have to request.        It's not part of the basic set of
   8      databases that everyone is granted access to when
   9      they're first hired.
  10             Q.   To request access to CLAIMS, what procedures
  11      would have to be followed?
  12             A.   I don't know in totality because I was never
  13      a PICS officer.      I was never someone who managed PICS
  14      IDs, but to my knowledge, the PICS officer would reach
  15      out to his or her counterpart at USCIS and let them
  16      know that officer so and so PICS ID XYZ needs to be
  17      granted access to CLAIMS.
  18             Q.   Does that need to be substantiated in any
  19      way?
  20             A.   The short answer is yes.                For our officers --
  21      deportation officers, yes.            We used to have a
  22      bifurcated workforce between deportation officers and
  23      immigration enforcement agents, and generally, the
  24      immigration enforcement agents didn't have access to
  25      CLAIMS but the deportation officers did.

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   1             Q.   So I guess to get a little more clarity, how
   2      would that need be substantiated in terms of
   3      justifying the request for the PICS ID to be able to
   4      access CLAIMS?
   5             A.   Our responsibility before we issue a charging
   6      document is to balance both good and bad information,
   7      for lack of a better term.           So while we get the bad
   8      information from FBIC and the NCIC record, we also
   9      have to look at any benefits that may have been
  10      granted to the individual or their parents because of
  11      derivative or acquired citizenship.
  12                  So that's why during our arrest process we
  13      ask information about the parents, confirm information
  14      about the parents, just to ensure that before we take
  15      an enforcement action that the person actually still
  16      meets the definition of an alien because sometimes we
  17      encounter people who don't realize they're U.S.
  18      citizens.     So we have to kind of balance the good with
  19      the bad before the charging document is issued.
  20             Q.   I guess I'm a little unclear.          What in the
  21      CLAIMS system would be providing either that good or
  22      bad information?
  23             A.   CLAIMS would be all good information because
  24      it would be about any benefits that may have been
  25      granted them by CIS.        I mean if you're encountering

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   1      somebody in a jail or a prison, they're not going to
   2      have on their person a permanent resident card or
   3      employment authorization document, or if they have a
   4      pending immigrant Visa that got an approved, got 130,
   5      which is an application for a permanent Visa, they're
   6      not going to have any of that information in their
   7      possession.
   8                  But before you make a determination whether
   9      or not to proceed with a charging document, you need
  10      to check all of that information, either confirm what
  11      they've told you and inform your supervisor, or maybe
  12      there's enough information in there to not issue the
  13      charging document at all.           It's going to depend on the
  14      individual, what he or she did, and, you know, what
  15      benefits have already been granted them or are pending
  16      with CIS.
  17             Q.   So both benefits that may be pending or have
  18      already been granted would be reflected in CLAIMS?
  19             A.   If it's updated, yes.
  20             Q.   So isn't there a fairly widespread need for
  21      officers to have access to CLAIMS?
  22             A.   Absolutely.
  23             Q.   And once an individual gets the access to
  24      CLAIMS through the adjustment of the permissions level
  25      associated with their PICS ID, is that something that

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   1      just carries forward, so to speak?
   2             A.   Generally speaking, yes.
   3             Q.   So it's not a permission that is adjusted for
   4      a specific one-time purpose?
   5             A.   If they maintain the position that they're
   6      in, then the assumption would be that they still need
   7      access.
   8             Q.   Do you have any sense of what proportion of
   9      ERO officers have PICS IDs that give them access to
  10      CLAIMS?
  11             A.   I don't know.      Now that we have what's called
  12      a single career track and everyone is a deportation
  13      officer, hopefully they're evolving to the point where
  14      everybody has access to it because as a deportation
  15      officer, you would have a direct need for it.               The
  16      historic positions, not so much so.
  17             Q.   And with respect to, again, substantiating
  18      the need, I don't understand why they may need access,
  19      but with respect to substantiating or at least some
  20      documentation of this request to get access to CLAIMS,
  21      how does that work?
  22             A.   As I stated, I don't really know.           I was
  23      never a PICS ID -- I was never a PICS officer.               So I
  24      don't know what those officers transmit to USCIS.
  25             Q.   I guess maybe to take a step back, does

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   1      anything need to be transmitted from the ICE officer
   2      to the ICE, PICS officer?            Can this just be done by
   3      phone?      I'm calling the officer to say --
   4             A.    Again, I was never a PICS officer.             So you're
   5      asking me something I cannot possibly answer.                 But I
   6      know when I was a FOD, to set up a PICS account, I
   7      would have to sign -- there's a standard form to issue
   8      a PICS ID, and what would be the baseline databases
   9      that the officer would need access to.              But in terms
  10      of subsequent -- gaining access to additional
  11      databases, I don't have visibility into that.
  12             Q.    And there you were talking about the initial
  13      request for a PICS ID?
  14             A.    Yes.
  15             Q.    Okay.    And with respect to the process after
  16      you've gotten the PICS ID to go back to the PICS ID
  17      officer for an adjustment to the permission level, you
  18      do not know presently what documentation or paperwork
  19      that might be necessary for that to happen?
  20             A.    Correct.
  21             Q.    I'd like to just circle back to a couple of
  22      quick points.        We never discussed any communications
  23      you may have had with DHS personnel about the
  24      potential rescission of DACA.              Do you recall?
  25             A.    Yes.

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   1              Q.   Are you aware that on August 21 an internal
   2      DHS meeting was held to discuss the rescission of
   3      DACA?
   4              A.   No, I'm not.
   5              Q.   Are you aware of whether a meeting with --
   6      including DHS personnel that took place at the White
   7      House occurred on August 24 to discuss the rescission
   8      of DACA?
   9              A.   I'm not aware of that at all.
  10              Q.   Okay.   Since September 5 of this year, have
  11      you had any discussions with anybody with respect to
  12      the rescission of DACA?
  13              A.   No.
  14              Q.   Have you had any discussions with anyone
  15      about the reasons or the basis for the rescission of
  16      DACA?
  17              A.   No.
  18              Q.   Have you had any meetings to discuss
  19      enforcement priorities as it relates to DACA grantees
  20      or former DACA grantees?
  21              A.   No.
  22              Q.   We discussed earlier, you know, whether or
  23      not operational documents out of ERO were being
  24      generated sort of in response to the rescission of
  25      DACA, and you indicated that no such documents have

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   1      been generated; is that correct?
   2              A.   Yes.
   3              Q.   And that there's no present intention to
   4      generate any such documents?
   5              A.   That's correct.
   6              Q.   And there's nobody else in your office
   7      currently working on any such documents?
   8              A.   Not that I'm aware of, no.
   9              Q.   Did you ever make a suggestion to anyone
  10      within DHS that perhaps such operational documents
  11      were necessary?
  12              A.   I didn't, no.
  13              Q.   Did any -- to your knowledge, did anybody
  14      else?
  15              A.   No.
  16              Q.   Did anyone ever instruct you to not produce
  17      any operational documents with respect to the
  18      rescission of DACA?
  19              A.   No.
  20                   (Deposition Exhibit 27 was marked for
  21                   identification.)
  22                   MR. LEE:   I'd like to mark as Exhibit 27 a
  23      document dated April 25, 2017 entitled "Privacy Policy
  24      Guidance Memorandum."
  25              Q.   Mr. Miller, are you familiar with this

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   1      document?
   2             A.   No, I'm not.
   3             Q.   Do you ever recall having received this
   4      document?
   5             A.   I do not recall receiving it, no.
   6             Q.   Is this the first time you're seeing this
   7      document?
   8             A.   Yes.
   9             Q.   Do you have any understanding as to the
  10      department's privacy act protections with respect to
  11      individuals other than U.S. citizens and lawful
  12      permanent residents?
  13             A.   Yes, I do.
  14             Q.   And what is your understanding of those
  15      protections?
  16             A.   The protections are essentially the same
  17      whether the person is legally or illegally in the
  18      United States.
  19             Q.   And has that -- has the protection that you
  20      just described changed in any way during the time
  21      you've been with the ERO?
  22             A.   To my recollection, it was implemented in
  23      2007, and it was unchanged.              I know I said I don't
  24      recall ever receiving this, but our ICE privacy
  25      officer, she had informed us that she felt that what

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   1      DHS was doing was going to be more restrictive in
   2      terms of limiting, be more limiting in what
   3      information we could disclose.
   4             Q.   When did she tell you this?
   5             A.   Probably in, I would say, in May or June.
   6             Q.   Of this year?
   7             A.   Yes, sir.
   8             Q.   When you say, "more limiting in what
   9      information we can disclose," do you mean that the
  10      protections have been tightened or that the
  11      protections have been loosened?
  12             A.   Tightened.
  13             Q.   We touched on this earlier, Mr. Miller.                Has
  14      DHS ever had to analyze or calculate the impact the
  15      rescission of DACA would have on cost of removal,
  16      budgetary impacts of removal?
  17             A.   No, not to my knowledge.                Just as a variable,
  18      as I said previously, we do our budget formulation,
  19      but I don't recall anything specific to DACA
  20      rescission.
  21             Q.   And you have not -- strike that.
  22                  I'd like to go back to Exhibit 23, please,
  23      and discuss the testimony you gave in July 2015 around
  24      the topic of unaccompanied minors.
  25             A.   I'm sorry.     Which one are we looking at?

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   1                  MS. DAVIS:     (Indicating.)
   2                  THE WITNESS:      Okay.
   3      BY MR. LEE:
   4             Q.   Did you come to any conclusion in this
   5      testimony as to the reasons for the surge of
   6      unaccompanied minors arriving at the United States
   7      border?
   8             A.   I don't recall what the conclusion statement
   9      was.    I guess -- if you want me to read what's in
  10      here, I can do that.
  11             Q.   Well, you can certainly take a moment to just
  12      refresh your recollection about this testimony.
  13                  (The witness reviewed Exhibit 23.)
  14                  THE WITNESS:      Okay.
  15      BY MR. LEE:
  16             Q.   In the second paragraph of the very first
  17      page do you see that according to your testimony you
  18      said, "Among the reasons for this increase are push
  19      and pull factors such as better economic conditions in
  20      the United States, the desire to be with family
  21      members who are already present in the United States,
  22      and escalating violence in Central American countries,
  23      e.g., violence, street gangs, and drug cartels."                Do
  24      you see that?
  25             A.   Yes.

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   1             Q.   Did I read that correctly?
   2             A.   Yes.
   3             Q.   Is it still your opinion today as to the
   4      reasons for the increase of unaccompanied minors
   5      arriving in the United States border?
   6             A.   Those are contributing factors, yes.
   7             Q.   Are you aware of any studies or analysis done
   8      with respect to the reasons or drivers for the surge
   9      of unaccompanied minors at the United States border?
  10             A.   Yes.
  11             Q.   I'm sorry.     What was your answer?
  12             A.   Yes.
  13             Q.   Do you recall which studies those were?
  14             A.   Many of internal to both -- many of the
  15      component agencies within DHS have done either
  16      individual assessments based on intelligence that they
  17      have, and some of that has been aggregated at the
  18      department level by intelligence and analysis
  19      components within DHS headquarters.
  20             Q.   And when were these analyses done --
  21      completed?
  22             A.   They've been done iteratively since, you
  23      know, really since the end of 2013.                 Different
  24      organizations have done them at different times.
  25      They've updated and refreshed them and added to them

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   1      as either conditions changed or contributing --
   2      additional contributing factors were identified.
   3             Q.   Are you referring to one single aggregate
   4      intelligence report or referring --
   5             A.   I'm referring to multiple.             There would have
   6      been multiple.
   7             Q.   With respect to these analyses, can you tell
   8      me at whose direction they were created?
   9             A.   I cannot.
  10             Q.   Do you contribute to these analysis yourself?
  11             A.   Our officers do.        I don't personally.
  12             Q.   Is this an annual -- let me break this up.
  13      You're referring to multiple reports that would
  14      analyze specifically the factors driving the surge of
  15      unaccompanied minors -- or the arrival of
  16      unaccompanied minors at the United States border?
  17             A.   Yes.
  18             Q.   Are we talking -- are these reports issued on
  19      an annual basis?
  20             A.   Not to my knowledge, no.
  21             Q.   So one report, I believe you indicated was
  22      completed at the end of 2013; is that correct?
  23             A.   Yes.
  24             Q.   And how about the -- how many reports -- how
  25      many other reports are there besides this one?

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   1             A.   I mean across the USG, I really couldn't
   2      comment on the -- that I have read personally probably
   3      six or seven, and I --
   4             Q.   Oh, USG, U.S. government.
   5             A.   I'm sorry.
   6             Q.   No problem.
   7             A.   U.S. government.
   8             Q.   So you were talking about analyses completed
   9      not just by DHS but other agencies as well?
  10             A.   Yes.
  11             Q.   And when was the most recent report that you
  12      read, issued or completed?
  13             A.   I believe ICE intelligence issued one earlier
  14      this year, in 2017.
  15             Q.   And are you -- are all these reports
  16      housed -- or can be found in the possession of DHS
  17      personnel?
  18             A.   I don't understand your question.
  19             Q.   Do you have possession of these intelligence
  20      reports in the possession of your work systems?
  21             A.   Some are -- they're all in with one system or
  22      another.     Some of them are classified.           They're
  23      classified at various levels.              So where they're held
  24      depends on how they're classified.
  25             Q.   Are they being held within DHS?

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   1             A.    The ones that I know of within DHS are, yes,
   2      housed either within DHS or within one of the
   3      components.
   4             Q.    Are you aware of whether any of these reports
   5      concluded that the DACA program specifically was
   6      responsible for the surge of unaccompanied minors to
   7      the U.S. border?
   8             A.    As I previously stated, these are classified
   9      at different levels.          I'm really uncomfortable talking
  10      with you in an unclassified environment, and I'm
  11      assuming you're not cleared, probably, to read any of
  12      these.      So I really can't answer that question based
  13      on my obligation as someone with a top secret security
  14      clearance.
  15             Q.    You presume correctly.             So I will address
  16      this issue separately with counsel as necessary, but
  17      thank you for that.
  18             A.    Thank you.
  19             Q.    Now, in addition to the reasons we just
  20      identified in your testimony, I believe you made
  21      separate conclusions about the reasons for the surge
  22      of unaccompanied minors at the border in the
  23      declaration that you provided in 2014.
  24             A.    Uh-huh.
  25             Q.    So if I can take you back to Exhibit 24.

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   1             A.   Sure.
   2             Q.   And I will direct your attention to
   3      Paragraph 9 of your declaration --
   4             A.   Okay.
   5             Q.   -- where it reads, in the second sentence, "I
   6      have concluded that implementation of a no bond or
   7      high bond policy would significantly reduce the
   8      unlawful mass migration of Guatemalans, Hondurans, and
   9      Salvadorans."       Do you remember saying that?
  10             A.   I do.
  11             Q.   Did I read that correctly?
  12             A.   Yes, sir.
  13             Q.   And with your reference to the migration of
  14      Guatemalans, Hondurans, and Salvadorans, are you
  15      referring in this declaration to the population of
  16      unaccompanied minors that were arriving at the U.S.
  17      border?
  18             A.   I believe this was specifically addressing
  19      families, but I'd have to go back and reread this to
  20      see whether this was -- which case this was for.
  21                  (The witness reviewed the document.)
  22                  THE WITNESS:     I'll point you to Paragraph 16.
  23      This was specifically about family units.
  24      BY MR. LEE:
  25             Q.   Was this in connection -- was this case in

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   1      connection with the surge of unaccompanied minors in
   2      2014 or a wholly separate issue?
   3             A.   This is a wholly separate issue.            I mean the
   4      surge was concurrent, but this was in support of the
   5      use of bonds, bonding mechanisms as a deterrent to
   6      family unit illegal migration.               Parents with their
   7      children.     Primarily women with their children.
   8             Q.   Did you derive this conclusion from the
   9      intelligence reports that you've reviewed?
  10             A.   In part, yes.
  11                  MR. LEE:     Okay.     I'm going to take us off the
  12      record for a few minutes while I review my notes, if
  13      that's okay.
  14                  MS. DAVIS:     That's fine.
  15                  THE VIDEOGRAPHER:         We're going off the
  16      record.     The time on the video is 4:31 p.m.
  17                  (A recess was taken from 4:31 p.m.
  18                  to 4:49 p.m.)
  19                  THE VIDEOGRAPHER:         We're back on the record.
  20      The time on the video is 4:49 p.m.
  21      BY MR. LEE:
  22             Q.   Mr. Miller, welcome back.
  23             A.   Thank you.
  24             Q.   You understand you're still under oath?
  25             A.   Yes, I do.

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   1              Q.   I just have a couple of final questions.                 I
   2      want to go back to the systems discussions we were
   3      having and address one other system I'm aware of, and
   4      I believe it's called ELIS.              I forgot whether you
   5      referenced this yourself earlier.                    Is this system
   6      E-L-I-S?
   7              A.   I have no firsthand knowledge.                I know that
   8      it exists, but I've never accessed or used it or just
   9      know that it is a CIS system.
  10              Q.   Okay.     And you have no understanding of what
  11      this system contains?
  12              A.   Correct.
  13              Q.   Do you have any understanding as to whether
  14      ICE officers have any kind of access to ELIS?
  15              A.   To my knowledge, no.
  16              Q.   Okay.     So it's not that you know they can
  17      access it.         You just don't know what it contains.              You
  18      don't even know whether any ICE agents can get into
  19      ELIS?
  20              A.   Correct.
  21                   MS. DAVIS:     Objection.          Mischaracterization.
  22      BY MR. LEE:
  23              Q.   Did I mischaracterize your testimony?
  24              A.   No.     When I left the field, I don't think
  25      ELIS existed.         It came into being when I was at

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   1      headquarters, and to my knowledge, we don't have
   2      access to it.
   3                  MR. LEE:    Okay.     Thank you very much.       I
   4      think we can transition quickly to my colleague at
   5      Covington & Burling.
   6                  (Pause in proceedings.)
   7
   8                                EXAMINATION
   9      BY MS. SAXE:
  10             Q.   Good afternoon, Mr. Miller.
  11             A.   Good afternoon.
  12             Q.   Again, my name is Elizabeth Saxe, and I'm
  13      with Covington & Burling, and we represent the Regents
  14      of the University of California and Janet Napolitano.
  15                  I would like to go back to a few topics you
  16      discussed earlier with Mr. Lee.               I thank you for your
  17      patience.     I will do my best not to be too
  18      duplicative.
  19             A.   No problem.
  20             Q.   You described earlier some meetings that you
  21      have participated in with OMB; is that correct?
  22             A.   Yes, ma'am.
  23             Q.   And you testified that a member of President
  24      Trump's domestic policy counsel attended some of those
  25      meetings; is that correct?

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   1             A.   Yes, ma'am.
   2             Q.   And who was that member of the DPC that
   3      attended those meetings?
   4             A.   I cannot remember his name.            There's only
   5      been two meetings that he's been there.               So I don't
   6      remember his name.
   7             Q.   And when were those two meetings?
   8             A.   One was in, I believe either late May or
   9      early June, and the other one was in early October.
  10             Q.   You testified earlier that the subject of
  11      those meetings with OMB were about the budget
  12      formulation on a specific topic; is that correct?
  13             A.   Yes.
  14             Q.   And what was that specific topic that you
  15      were discussing budget formulation for?
  16             A.   It's -- the project is called "historic
  17      fingerprint enrollment."
  18             Q.   And what is that?
  19             A.   It's an effort to go back and enroll persons
  20      who have had -- we believe have had an enforcement
  21      action taken against them under one identity and
  22      obtained a benefit under another identity prior to
  23      electronic fingerprints being utilized by the
  24      department.
  25             Q.   And in either of those two meetings that the

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   1      member from President Trump's domestic policy counsel
   2      participated, was there discussion on -- about budget
   3      formulation related to DACA or DACA rescission?
   4             A.   No.
   5             Q.   Next, I'd like to go back to the September 4,
   6      2017 conversations that you had with the ICE press
   7      secretary.
   8             A.   Uh-huh.
   9             Q.   And can you remind me again what her name is?
  10             A.   Liz Johnson.
  11             Q.   And did Liz Johnson call you to discuss your
  12      participation in the press briefing?
  13             A.   She E-mailed me, and one of her subordinates
  14      did call me to try to clarify the confusion between
  15      the press event and this Congressional staff event.
  16             Q.   And who was the subordinate who called you?
  17             A.   Sarah Rodriguez.
  18             Q.   What was the confusion between the press
  19      event and the Congressional staff event?
  20             A.   They wanted me to do both and they were at
  21      the same time, and I had the Office of Congressional
  22      Relations contacting me to do the staff briefing, and
  23      at the same time Liz was contacting me to do the
  24      presser.     And different people were on different
  25      E-mail chains, and I was the only person on both

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   1      E-mail chains.      I was trying to figure out which they
   2      wanted me to do or if they would move either event.
   3             Q.   Who else was on the E-mail chain regarding
   4      the press event?
   5             A.   I think it was it Liz, Sarah, myself, and
   6      then I was corresponding with Mr. Albins and also
   7      trying to find someone to cover the press event
   8      because I thought they wanted me to do the
   9      Congressional event.        And so I added our current
  10      assistant director for enforcement, Corey Price.
  11             Q.   When you say you were corresponding with
  12      Mr. Albins, was that a separate E-mail chain?
  13             A.   I forwarded the chain that I had received
  14      from Liz to Mr. Albins saying -- finding out which he
  15      wanted me to do, and unbeknownst to me, Congressional
  16      relations had already reached out to him to find
  17      somebody else to do the Congressional because
  18      Congressional wanted me to do the press, which led to
  19      the confusion because I thought I was doing the
  20      Congressional and Corey was doing the press, and
  21      actually, Corey was doing the Congressional and I was
  22      doing the press.
  23             Q.   So did Mr. Albins reply when you forwarded
  24      the E-mail?
  25             A.   Yes.

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   1             Q.   And what did he say?
   2             A.   Essentially that, that he had been dealing
   3      with Congressional separately, and that Corey was
   4      going to do that.        He wanted me to do the press and
   5      have Corey do the Congressional.
   6             Q.   Going back to the E-mail chain that you
   7      referenced about the Congressional event, who else was
   8      on that chain?
   9             A.   Ray Covachi, who is the assistant director
  10      for Congressional relations.              I know he was on it.
  11      Maybe some of the people that work in his office.                 I
  12      don't recall specifically.            Since I was going to do
  13      the press, I kind of dropped off the conversation
  14      about the Congressional stuff.
  15             Q.   Did you have any discussions with Ms. Johnson
  16      prior to the press event about what you would tell the
  17      press?
  18             A.   That morning we went through the press packet
  19      in preparation for the call.
  20             Q.   What items were in the press packet?
  21             A.   There was a schedule --
  22                  MS. DAVIS:     I'm going to object.        I think we
  23      need to lay some foundation with respect to the press
  24      packet to determine if it's deliberative process
  25      privileged.

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   1                  MS. SAXE:    I'm happy to lay a foundation.            I
   2      don't see how it would be subject to the deliberative
   3      process privilege considering that a decision was
   4      already made and that privilege only applies to
   5      predecisional deliberations.
   6                  MS. DAVIS:     Sure.      The decision I have an
   7      issue with is the communication to the public, not the
   8      decision for DACA rescission.              So with respect to that
   9      decision, talking points or other recommendations may
  10      be deliberative process privileged.
  11                  MS. SAXE:    I'm going to go back to my
  12      question, which was what items were in the press
  13      packet.     I'm not sure I see how a catalog of the items
  14      that were in the press packet could be subject to a
  15      deliberative process privilege.
  16                  MS. DAVIS:     Okay.      If your question is what
  17      materials, as in like the title or identification of
  18      the materials, then I think that's fine.              I wouldn't
  19      object to that.      I think my objection would be to the
  20      content of those materials, to the extent that the
  21      deliberative process privilege applies.
  22                  MS. SAXE:    Okay.       Well, why don't we start
  23      there.
  24             Q.   Mr. Miller, do you recall the specific items
  25      that were included in the press packet, the documents?

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   1             A.   To the best of my recollection, because it
   2      was sizable, it had a schedule of events for the day.
   3      It had who would be doing which events in terms of
   4      assignments of task, and then there were FAQs.                  There
   5      were suggested RTQs, or responses to questions, and I
   6      think, essentially, that was what was in it.
   7             Q.   And was the memo from Acting Secretary Duke
   8      in the press packet?
   9             A.   It may have been.        I knew you would
  10      ultimately ask that, and I was trying to recall.                  But
  11      it was a big packet.        As I think I told your
  12      colleague, Mr. Lee earlier, I don't remember if it was
  13      in the press packet or we got it subsequent to that.
  14      I don't remember the exact time that day that I
  15      received it.
  16             Q.   Do you recall what events were scheduled for
  17      the day?
  18             A.   Yes.
  19             Q.   And what were those events?
  20             A.   Not in any particular order.               This may not be
  21      an exhaustive list, but there were certain members
  22      that I think Secretary Duke was going to call.                  There
  23      was the press event that myself and other colleague --
  24      DHS colleagues were doing.           There was the
  25      Congressional staff notification.                  I believe there may

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   1      have been an IGA call and a governmental affairs call
   2      as well.     I wasn't involved in that process at all.
   3                  I know there was one other call, but we had a
   4      scheduling conflict that they wanted me to do, but I
   5      couldn't do it and I don't remember the subject of
   6      that call.     But I mean it was a lengthy schedule from
   7      about 9:30 in the morning until about 3:00 in the
   8      afternoon.
   9             Q.   Was the press event the only event that you
  10      participated in that day?
  11             A.   Yes.
  12             Q.   Who else participated in the press event?
  13             A.   There was a representative from CBP.            I
  14      think -- I can't remember if it was Todd Owen or Todd
  15      Hoffman, and then I can't remember the gentleman's
  16      name from CIS, James.         I can't remember his last name.
  17      I always forget his last name.               But we were the three
  18      principals doing the majority of the talking, with
  19      James doing most of the talking.
  20             Q.   And what is James' position with CIS?
  21             A.   At that time, he was the acting director.
  22      He's currently the deputy director.
  23             Q.   Was it James McCament?
  24             A.   I'm sorry?
  25             Q.   James McCament?

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   1             A.   It may be.
   2             Q.   And Todd Owens is with CBP?
   3             A.   Yes, office of field operations.
   4             Q.   And what is his role?
   5             A.   I'm trying to remember his exact title.                They
   6      have a much different structure than we do because
   7      they have to deal with lawful -- you know, encouraging
   8      lawful actions and discouraging unlawful actions.                   So
   9      they have a rather robust organizational chart.                I
  10      don't remember all their specific titles, but
  11      essentially, if it was Todd Owen, he is -- I believe
  12      he is the deputy over what used to be called
  13      "Inspections."      I don't know what they call it, but
  14      the people who are operating the airports and seaports
  15      that are determining whether or not somebody could be
  16      admitted to the United States.
  17             Q.   What is Todd Kauffman's role?
  18             A.   Todd Hoffman?
  19             Q.   Yeah.
  20             A.   He's subordinate to Todd Owen.          I just don't
  21      remember which of the two Todds was on the call.
  22             Q.   Was the press event a call or an in-person?
  23             A.   It was a call.
  24             Q.   What time of day was it held?
  25             A.   I believe it was 9:30 Eastern or thereabouts.

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   1      It was either 9:30 or 10:00.               I don't remember
   2      specifically.
   3              Q.   How long did the call last?
   4              A.   It was about an hour.
   5              Q.   Going back to the other documents that were
   6      in the press packet, you said there were FAQs?
   7              A.   Yes, ma'am.
   8              Q.   Were those the same FAQs that have since been
   9      posted on the website?
  10              A.   I'd have to compare the two.            Like I said, I
  11      didn't review the press packet beforehand, and the
  12      first time I've read the CIS FAQs is when your
  13      colleague gave them to me today.
  14              Q.   And you weren't involved in drafting those
  15      FAQs?
  16              A.   No, ma'am.
  17              Q.   You said there were also suggested responses
  18      to possible questions from the press included in the
  19      press packet?
  20              A.   Yes.
  21              Q.   Were you involved in drafting those?
  22              A.   No.
  23              Q.   Do you recall what the expected questions
  24      from the press were that were described in those RTQs?
  25                   MS. DAVIS:     Objection with respect to

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   1      privilege, deliberative process privilege.              As I
   2      explained, the suggested RTQs seem to be
   3      recommendations with respect to public statements,
   4      and, you know, as being predecisional to any
   5      statements, I think that they are properly privileged,
   6      and I'm going to instruct him not to answer unless you
   7      have questions with respect to public statements that
   8      he actually made that day.
   9                  MS. SAXE:    I disagree with your assessment
  10      that the deliberative process privilege applies.                By
  11      your definition, that privilege would encompass
  12      essentially every action or communication or piece of
  13      work product that the government prepares, and I don't
  14      think that that is within the scope of that privilege.
  15                  I also don't think that because these
  16      suggested responses were responses to questions that
  17      would be coming from the press and published to the
  18      public, the privilege could apply.
  19                  Are you instructing your client not to
  20      answer?
  21                  MS. DAVIS:     I would instruct him not to
  22      answer with any other information than what was
  23      publicly said on that call that day.
  24      BY MS. SAXE:
  25             Q.   Are you choosing not to answer?

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   1             A.   Yes.
   2             Q.   Do you recall specific questions that you
   3      received from the press that day?
   4             A.   Yes.
   5             Q.   What specific questions do you recall?
   6             A.   I recall being asked what is the process for
   7      the issuance of a notice to appear.                We went through
   8      that process.      I was asked about are there any plans
   9      to take enforcement action against people whose
  10      benefits expire during the course of the maturation,
  11      that two-year period, which there are no plans.                  And
  12      we were asked if that would change after March 6, and
  13      I told them that we have no plans for anything after
  14      March 6.     I believe those were the focus of the
  15      questions of me, or at least the questions that were
  16      referred to ICE.
  17             Q.   What was the process for the issuance of a
  18      notice to appear that you walked through with the
  19      press?
  20             A.   I told them that generally, our encounters
  21      are in a custodial environment.               The officer will
  22      interview the suspected illegal alien, or person who's
  23      violated their status.         If they determine alien
  24      removability, which is our two prong test for probable
  25      cause, then they'll continue with a complete

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   1      interview.      They'll generate the appropriate charging
   2      document, send it for supervisory review, along with
   3      their arrest report, where they lay out more
   4      specifics, and if a supervisor concurs with the
   5      officer's conclusions, the notice to appear will be
   6      issued.
   7                   If the person is amenable to detention, he or
   8      she will be taken to detention.               Otherwise, they'll be
   9      assessed for the appropriate form of supervised
  10      release and placed in a nondetained setting to proceed
  11      with immigration court.
  12              Q.   Did you describe to the press any changes to
  13      that process for a notice to appear that would occur
  14      as a result of the rescission of DACA?
  15              A.   I don't recall if that question was asked of
  16      me.
  17              Q.   Are there any changes to the process for a
  18      notice to appear as a result of the rescission of
  19      DACA?
  20              A.   In terms of the way I described it in a
  21      custodial setting, no.
  22              Q.   The next question you were asked by the press
  23      was whether there were any plans to take enforcement
  24      action against DACA recipients; is that correct?
  25              A.   Yes.

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   1             Q.   And your response was that there were no such
   2      plans to take such enforcement action?
   3             A.   That's correct.
   4             Q.   And the third question was whether there are
   5      any plans to take enforcement action after March 6; is
   6      that correct?
   7             A.   Yes.
   8             Q.   March 6, 2018, I should say.
   9             A.   Correct.
  10             Q.   And your response there was, again, there
  11      were no plans to take such enforcement action after
  12      March 6, 2018?
  13             A.   Correct.
  14             Q.   Did the press ask you any other questions?
  15             A.   Not that I recall.
  16             Q.   Did you make any other statements other than
  17      those three that you described to me?
  18             A.   I made an opening statement, yes.
  19             Q.   What did you say in your opening statement?
  20             A.   To the best of my recollection, essentially,
  21      for ICE enforcement removal operations, nothing has
  22      changed.     Those persons who have the benefit of DACA
  23      keep the benefit of DACA unless, you know, they
  24      demonstrate that they're a public safety or national
  25      security threat, at which time if we conclude that

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   1      they are, we'll issue a notice to appear, and that
   2      benefit will be terminated by CIS.                  That's not a
   3      change to anything since the program's inception.
   4             Q.   Did you make that opening statement based
   5      upon written notes or a written statement?
   6             A.   No.     I just -- you know, that was my opening
   7      statement.        Each of the three of us made an opening
   8      statement.
   9             Q.   You said earlier that prior to the press call
  10      you sat down with Ms. Johnson to go over the press
  11      packet; is that correct?
  12             A.   Yes.
  13             Q.   And were -- did Todd and James also
  14      participate in that conversation?
  15             A.   No.
  16             Q.   Did you discuss with Ms. Johnson the fact
  17      that you would be making an opening statement?
  18             A.   Yes.
  19             Q.   Can you tell me about that discussion?
  20             A.   She asked me if I had any questions after,
  21      you know, reviewing the press packet, and I didn't.
  22      And she asked me what I thought, and I said,
  23      "Essentially, this isn't a change for us," that the
  24      people who have DACA have DACA.                People who don't have
  25      DACA, if encountered, they would be amenable to being

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   1      charged as present without admission.                   Nothing has
   2      changed essentially for us on that day.
   3             Q.   Did Ms. Johnson tell you that you would be
   4      asked to give an opening statement?
   5             A.   Yes.
   6             Q.   Did she discuss with you or make suggestions
   7      about the content of that opening statement?
   8             A.   I told her what I just told you now, and she
   9      was fine with that.
  10             Q.   Do you recall specific questions that the
  11      press had for whichever Todd it was from border patrol
  12      that was at the press event?
  13             A.   It wasn't border patrol.                It was office of
  14      field operations.
  15             Q.   Thank you.     Do you recall specific press
  16      questions for Todd?
  17             A.   Yes.
  18             Q.   What questions do you recall?
  19             A.   They were asking questions about the
  20      adjudication, advance parole for people who are either
  21      out of the country or may seek advanced parole because
  22      of their DACA benefit.          They were most concerned about
  23      coming into the holiday season.
  24             Q.   Do you recall Todd's response to those
  25      questions?

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   1             A.   In general terms, the people who seek
   2      advanced parole or obtain advanced parole from USCIS,
   3      they're always subject to inspection upon return.                 And
   4      if -- you know, if -- just having a grant of advanced
   5      parole doesn't guarantee anyone a right or a privilege
   6      to be paroled into the United States after returning
   7      from a foreign departure, and he clarified that point
   8      but said in terms of the folks who were out, they were
   9      going to continue to recognize that advanced parole
  10      and make individual case-by-case decisions.
  11                  I believe there was a point at which they
  12      were no longer going to take applications for advanced
  13      parole, but I don't recall -- when he articulated that
  14      for the press, I don't recall the specifics of when
  15      they were going to stop -- or stop giving advanced
  16      parole for DACA recipients.            I know that was
  17      discussed.
  18             Q.   Do you recall any other questions that were
  19      asked of Todd?
  20             A.   I do not.
  21             Q.   Do you recall any questions that were asked
  22      of James?
  23             A.   He was asked several, but to be honest, I
  24      wasn't really paying close attention because his were
  25      very specific about the administration of the program,

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   1      and I just wasn't, you know, listening to that.                I was
   2      dealing with other things.
   3             Q.   Do you recall any of the information that
   4      James provided about the administration of the
   5      program?
   6             A.   In general terms, he was reviewing the dates
   7      and kind of laying down, you know, what was going to
   8      be required for renewals at what point in time.                At
   9      what point in time -- there were questions about items
  10      received, but he was laying out like if an application
  11      comes in but isn't adjudicated prior to certain dates,
  12      and what would be returned to the applicants and going
  13      through, like, very specifics of the adjudicative
  14      process.     Since we're not involved in that process, I
  15      wasn't really paying close attention it his answers.
  16             Q.   The suggested responses to press questions
  17      that were included in the press packet, were those
  18      suggested responses to questions that would be asked
  19      specifically of ICE, or did they cover broader topics
  20      that might have been asked of James and Todd?
  21             A.   It was everything.         It came down from the
  22      department.     They were very broad.
  23             Q.   Do you know who drafted those?
  24             A.   I do not.
  25             Q.   Were there questions with suggested responses

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   1      that the press did not ask in that press event?
   2             A.   Possibly.     I mean it was a lengthy document.
   3             Q.   How lengthy?
   4             A.   I think the total document was over 30 pages.
   5      I mean I don't remember specifically each part of it,
   6      how long it was.
   7             Q.   Was that 30 pages the entire press packet?
   8             A.   Yes.
   9             Q.   Is there anything else about that press call
  10      that you haven't told me about so far?
  11             A.   No, ma'am.
  12                  MS. SAXE:     Thank you for your time.            I don't
  13      think I have further questions.
  14                  THE WITNESS:      No problem.           Have a nice day.
  15                  MR. LEE:     I think we're ready to go off the
  16      record.
  17                  THE VIDEOGRAPHER:         We're going off the
  18      record.     The time on the video is 5:18 p.m.
  19                  (A recess was taken from 5:18 p.m.
  20                  to 5:23 p.m.)
  21                  THE VIDEOGRAPHER:         We're back on the record.
  22      The time on the video is 5:23 p.m.
  23                  MS. DAVIS:     I have no questions for the
  24      witness.
  25                  MR. LEE:     Thank you, Counsel.            And for the

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   1      record, before we adjourn, I'd like to state for the
   2      record that based on the pending resolution with
   3      respect to Judge Alsup's order yesterday, that
   4      plaintiffs in these related actions reserve the right
   5      to renotice the deposition of the witness in order to
   6      ask questions related to the deliberative process
   7      privileges that you've asserted today.
   8                  MS. DAVIS:     Okay.      And as we discussed,
   9      defendants reserve their right to seek relief from
  10      that order.
  11                  MR. LEE:     Of course.        Thank you, Counsel.
  12                  THE VIDEOGRAPHER:         We're off the record at
  13      5:24 p.m.     And this concludes today's testimony given
  14      by Philip Miller.        Total number of media units used
  15      was three and will be retained by Veritext Legal
  16      Solutions.
  17                  (Witness excused.)
  18                  (Deposition concluded at 5:24 p.m.)
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                                                                  Page 236

   1                          C E R T I F I C A T E
   2             I do hereby certify that the aforesaid testimony
   3      was taken before me, pursuant to notice, at the time
   4      and place indicated; that said deponent was by me duly
   5      sworn to tell the truth, the whole truth, and nothing
   6      but the truth; that the testimony of said deponent was
   7      correctly recorded in machine shorthand by me and
   8      thereafter transcribed under my supervision with
   9      computer-aided transcription; that the deposition is a
  10      true and correct record of the testimony given by the
  11      witness; and that I am neither of counsel nor kin to
  12      any party in said action, nor interested in the
  13      outcome thereof.
  14
                             <%Signature%>
  15                         Nancy J. Martin, RMR, CSR
  16
  17      Dated:      October 19, 2017
  18
  19
  20
  21      (The foregoing certification of this transcript does
  22      not apply to any reproduction of the same by any
  23      means, unless under the direct control and/or
  24      supervision of the certifying shorthand reporter.)
  25

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   1                         INSTRUCTIONS TO WITNESS
   2
   3                  Please read your deposition over carefully
   4      and make any necessary corrections. You should state
   5      the reason in the appropriate space on the errata
   6      sheet for any corrections that are made.
   7                  After doing so, please sign the errata sheet
   8      and date it.     You are signing same subject to the
   9      changes you have noted on the errata sheet, which will
  10      be attached to your deposition.               It is imperative that
  11      you return the original errata sheet to the deposing
  12      attorney within thirty (30) days of receipt of the
  13      deposition transcript by you.             If you fail to do so,
  14      the deposition transcript may be deemed to be accurate
  15      and may be used in court.
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   1                         ACKNOWLEDGMENT OF DEPONENT
   2
   3                  I hereby declare under penalty of perjury
   4         that I have read the foregoing transcript of my
   5         deposition and except for any corrections or changes
   6         noted on the errata sheet, I hereby subscribe to the
   7         transcript as an accurate record of the statements
   8         made by me.
   9
  10
  11         ________________________________
  12         PHILIP T. MILLER
  13
  14         _________________________
  15         DATE
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   2          IN RE:   REGENTS OF THE UNIVERSITY OF CALIFORNIA
   3                   vs. U.S. DEPARTMENT OF HOMELAND SECURITY
   4          DATE:    10/18/2017
   5          PAGE     LINE                           CORRECTION AND REASON
   6          ____     _____    ___________________________________
   7          ____     _____    ___________________________________
   8          ____     _____    ___________________________________
   9          ____     _____    ___________________________________
  10          ____     _____    ___________________________________
  11          ____     _____    ___________________________________
  12          ____     _____    ___________________________________
  13          ____     _____    ___________________________________
  14          ____     _____    ___________________________________
  15          ____     _____    ___________________________________
  16          ____     _____    ___________________________________
  17          ____     _____    ___________________________________
  18          ____     _____    ___________________________________
  19          ____     _____    ___________________________________
  20          ____     _____    ___________________________________
  21          ____     _____    ___________________________________
  22          ____     _____    ___________________________________
  23
  24          _____________     ___________________________________
  25          (DATE)                        PHILIP T. MILLER

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                                DONALD NEUFELD                          10/18/2017
   MARTIN JONATHAN BATALLA VIDAL v ELAINE C. DUKE

    1IN THE UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
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    )
    4MARTIN JONATHAN BATALLA)
    VIDAL, et al.,)
    5)
    Plaintiffs,)
    6) Case No.
    v) 1:16-CV-04756(NGG)(JO)
    7)
    ELAINE C. DUKE, Acting)
    8Secretary Department of)
    Homeland Security)
    9JEFFERSON BEAUREGARD)
    SESSION III, Attorney)
    10General of the United)
    States,and DONALD J TRUMP,)
    11President of the UNITED)
    STATES,)
    12)
    Defendants.)
    13)
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    15Deposition of DONALD NEUFELD

    16Washington, DC

    17Wednesday, October 18, 2017

    189:16 a.m.

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                                DONALD NEUFELD                          10/18/2017
   MARTIN JONATHAN BATALLA VIDAL v ELAINE C. DUKE                                2

    1IN THE UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
    2

    3--------------------------x
    )
    4MARTIN JONATHAN BATALLA)
    VIDAL, et al.,)
    5)
    Plaintiffs,)
    6) Case No.
    v) 1:16-CV-04756(NGG)(JO)
    7)
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    Homeland Security)
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    10General of the United)
    States,and DONALD J TRUMP,)
    11President of the UNITED)
    STATES,)
    12)
    Defendants.)
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    15Deposition of DONALD NEUFELD, held at US

    16Conference of Mayors, 1620 I Street, NW,

    17Washington 20006 pursuant to Notice, before Donna

    18Marie Lewis, Registered Professional Reporter and

    19Notary Public of and for the District of Columbia.

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    1A P P E A R A N C E S

    2ON BEHALF OF PLAINTIFFS:

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    1APPEARANCES:(Continued)

    2ON BEHALF OF PLAINTIFFS: (Continued)

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    1APPEARANCES: (Continued)

    2

    3ON BEHALF OF DEFENDANTS:

    4UNITED STATES DEPARTMENT OF JUSTICE
    BY:KATE BAILEY, TRIAL ATTORNEY
    5

    6U S DEPARTMENT OF HOMELAND SECURITY
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    12U S DEPARTMENT OF HOMELAND SECURITY
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    13BY: REID COX, ATTORNEY-ADVISOR

    14

    15U S DEPARTMENT OF JUSTICE
    BY: JOHN TYLER, ESQUIRE
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    1I N D E X

    2WITNESS:

    3DONALD NEUFELD

    4EXAMINATION BY:PAGE

    5Mr. Chen11

    6Ms. Khan156

    7Mr. Ventresca171

    8Mr. Newman190

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    10E X H I B I T S

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    1P-R-O-C-E-E-D-I-N-G-S

    2THE VIDEOGRAPHER:Good morning.We are

    3going on the record at 9:16 a.m. on October 18,

    42017.Please note that the microphones are

    5sensitive.They pick up whispering and private

    6conversations and cellular interference.Please

    7turn off all cell phones or place them away from

    8the microphones as they can interfere with the

    9deposition audio.The audio/video recording will

    10continue to take place unless all parties agree to

    11go off the record.

    12This is media unit 1 of the video

    13recorded deposition of Donald Neufeld, taken by

    14counsel for the plaintiff in the matter of Martin

    15Jonathan Batalla Vidal, et al., v. Elaine C. Duke,

    16et al., filed in the United States District Court

    17for the Eastern District of New York, Case

    18number 1:16-CV-04756(NGG)(JO).

    19The deposition is being held at

    20United States Conference of Mayors located at 1620

    21I Street, Northwest, 4th floor, Washington, D C.

    22My name is Gene Aronov.I'm with


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    1Veritext Legal Solutions and I'm the videographer.

    2The court reporter is Donna Lewis from the firm

    3Olender Reporting.

    4I'm not authorized to administer an

    5oath.I'm not related to any party in this

    6action, nor am I financially interested in the

    7outcome.

    8Counsel and all present in the room and

    9everyone attending remotely will now state their

    10appearances and affiliations for the record.If

    11there are any objections to the proceedings,

    12please state them at the time of your appearance

    13beginning with noticing attorney.

    14MR CHEN:David Chen, law student intern

    15with the Jerome N. Frank Legal Services

    16Organization at Yale Law School.

    17MR. WISHNIE:Michael Wishnie, Jerome N.

    18Frank Legal Services Organization, Yale Law

    19School.

    20MS. ROECK:Victoria Roeck, law student

    21intern with Jerome N. Frank Legal Services

    22Organization at Yale Law School.


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    1MR. ROSENTHAL:Joshua Rosenthal,

    2National Immigration Law Center.

    3MS. TUMLIN:Karen Tumlin, National

    4Immigration Law Center --(mumbling)

    5MR. WILHELM:Andrew Wilhelm, Gibson,

    6Dunn & Crutcher for the Garcia matter.

    7MR. VENTRESCA:Ivano Ventresca,

    8Covington & Burling for the University of

    9California and Janet Napolitano.

    10MR. VARGAS:Carlos Vargas -- plaintiff.

    11THE COURT REPORTER:I can't hear you.

    12MR. VARGAS:Carlos Vargas, plaintiff.

    13MR. FOLETTA:Scott Foletta, Make the

    14Road, New York.

    15MS. FUNG FENG:Carolina Fung Feng.

    16MS. KHAN:Sania Khan for the New York

    17Attorney General's Office on behalf of the United

    18States, the New York division.

    19MR. NEWMAN:Michael Newman of the

    20California Department of Justice on behalf of

    21plaintiff states in the California versus DHS

    22matter.


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    1MS. BAILEY:Kate Bailey, United States

    2Department of Justice, on behalf of defendants.

    3MR. FRANKE:Evan Franke, United States

    4Citizenship and Immigration Services on behalf of

    5defendants.

    6MR. COX:Reid Cox, DHS, Office of the

    7General Counsel on behalf of defendants.

    8MR. TYLER:John Tyler, United States

    9Department of Justice on behalf of defendants.

    10THE WITNESS:Donald Neufeld, United

    11States Citizenship and Immigration Services, and

    12I'm the deponent.

    13THE VIDEOGRAPHER:Would the court

    14reporter please swear in the witness.

    15Whereupon,

    16D O N A L DN E W F E L D

    17after having been first duly sworn by the Notary

    18Public was examined and testified as follows:

    19THE VIDEOGRAPHER:You may proceed.

    20MR CHEN:Good morning, Mr. Neufeld.

    21Thank you for being here.My name is David Chen.

    22I'm the law student intern of the Jerome N. Frank


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    1Legal Services Organization at Yale Law School and

    2I'll be taking your deposition today.

    3Before we begin we would like to

    4establish for the record that counsel has agreed

    5to the following stipulations; First, does counsel

    6stipulate that all objections except as to form

    7are preserved?

    8MR. TYLER:Yes.

    9MR CHEN:Second, does counsel stipulate

    10and waive the right to review and sign the

    11transcript of the deposition?

    12MR. TYLER:We do not.

    13MR CHEN:Okay.Noted.

    14EXAMINATION ON BEHALF OF PLAINTIFF

    15BY MR CHEN:

    16QMr. Neufeld, have you ever taken a

    17deposition before?

    18AYes.

    19QWell, just to remind you let me go over

    20some of the ground rules before getting to the

    21questions.First, I will be asking you the

    22questions.If there is something that you do not


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    1understand please let me know.If you answer the

    2question I will assume that you've understood the

    3question.Do you understand?

    4AYes.

    5QIn order for the court reporter to take

    6an accurate transcript of today's deposition I ask

    7that you -- that all of your responses be made

    8verbally.For example, please say yes instead of

    9nodding your head.Do you understand?

    10AYes.

    11QAnd your attorney may make an objection

    12to a question but we will not stop the deposition

    13to address the objections.You are still required

    14to answer the question unless your attorney

    15instructs you not to answer.Do you understand?

    16AYes.

    17QIf you must consult your attorney I ask

    18that you first answer any pending questions unless

    19you need to talk to your attorney about a matter

    20of privilege.Do you understand?

    21AYes.

    22QAnd, Mr. Neufeld, are you taking any


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    1medications or drugs of any kind that might make

    2it difficult for you to understand and answer my

    3questions today?

    4ANo.

    5QDo you suffer from any conditions that

    6would impair your ability to provide accurate and

    7complete testimony?

    8ANo.

    9QIs there any other reason you cannot

    10give full and complete testimony today?

    11ANo.

    12QMr. Neufeld, did you do anything to

    13prepare for today's deposition?

    14AOther than meeting with counsel

    15yesterday, no.

    16QDid you speak with -- did you speak with

    17anyone besides counsel?

    18ANo.

    19QDid you review any documents in

    20preparation for today's deposition?

    21ANo.

    22QHave you brought any materials with you


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    1to assist with your testimony today?

    2ANo.

    3QHow long did you speak with counsel in

    4preparation for today's deposition?

    5AI didn't time it, but it was probably

    6about an hour, hour and a half.

    7QAnd when did you speak with counsel?

    8AYesterday afternoon.

    9QIn total how long have you spent

    10preparing to be deposed?

    11AAn hour, an hour and a half.

    12QOther than what we have discussed have

    13you done anything else to prepare for today's

    14deposition?

    15ANo.

    16QWhen you were deposed previously,

    17Mr. Neufeld, in what case were you deposed?

    18AI don't recall.A few years ago.

    19QWhen?Do you know about when you were

    20last deposed?

    21ASeveral years ago, I don't recall the

    22specific date.


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    1QDo you know generally around what time

    2that was?

    3ANo.

    4QDo you recall in what matter it was

    5concerning that you were deposed?

    6AI do not.

    7QDo you remember what court it was in

    8which you were deposed?

    9ANo.

    10QAnd what was -- do you remember at all

    11what the nature of the case was?

    12ANo.

    13QWere there any other times you were

    14deposed?

    15AI believe there was, but I have a long

    16career and I don't remember specifically another

    17time --

    18Q-- Do you remember how many -- about how

    19many times you were deposed?

    20AI'm only confident of one that I was

    21just referencing.

    22QSo let's turn first to your role at the


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    1Department of Homeland Security.What is your

    2current position at the Department of Homeland

    3Security?

    4AI'm the associate director for Service

    5Center Operations.

    6QFrom this point forward I will refer to

    7Service Center Operations as SCOPS, if that is all

    8right?And for the court reporter, that's spelled

    9S-C-O-P-S.

    10So is SCOPS within USCIS, Mr. Neufeld?

    11AYes.

    12QAnd USCIS is a component within DHS?

    13AYes.

    14QWhen did you begin your role as

    15associate director of SCOPS?

    16AJanuary or February of 2010.

    17QHave you held any other positions at

    18DHS?

    19AYes.

    20QWhat were those positions?

    21AI was the deputy associate director for

    22domestic operations.


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    1QAnd around what time, when were you the

    2deputy associate director for domestic operations?

    3AThat was the position I held before

    4January 2010.

    5QWhen did you begin that position?

    6AI'm not certain but I think that was

    72009 and I don't remember the month.

    8QAnd did you -- did you have any position

    9within DHS before that?

    10AYes.I was the chief of field

    11operations immediately before that and that would

    12have begun in 2007.Again, I'm not clear on the

    13month.

    14QAnd before that?

    15AI was the service center director for

    16the California service center.

    17QAnd how long were you working at that --

    18in that position?

    19AI believe I started that position in

    202003.

    21QIn total, Mr. Neufeld, how long have you

    22been working at DHS?


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    1ASince it was created.

    2QAnd can you give me the date around what

    3time that it was?

    4AI should know this.I think it was

    5March 2010 -- I mean 2003.

    6QAnd were you working in the government

    7prior to that?

    8AYes.

    9QWhere were you working prior to the

    10creation of DHS?

    11AThe Legacy Immigration and

    12Naturalization Service.

    13QHow long had you been working at that

    14agency for?

    15ASince September 1983.

    16QOkay.I want to turn to SCOPS and its

    17role.Can you explain what the SCOPS office does?

    18ASo we are a component within USCIS.The

    19headquarters component where I -- my offices we

    20oversee the operations of five service centers.

    21QCan you expand a bit more on what you

    22mean by the operations of the service centers?


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    1What are those operations?

    2AThe service centers are responsible for

    3adjudicating benefit requests under the

    4Immigration Nationality Act.

    5QDid SCOPS process requests for the

    6Deferred Action for Childhood Arrivals and

    7Accompanying Work Authorization applications?

    8AYes.

    9QSo you are familiar with the DACA

    10program?

    11AYes.

    12QCan you describe your responsibilities

    13as in your role as the associate director of

    14SCOPS?

    15AI oversee the operations of the five

    16service centers.

    17QIs there anything else that you are

    18responsible for?

    19AI represent the interests of service

    20center operations with my colleagues and the rest

    21of the agency and the department.

    22QIs there anything else?


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    1ANo.

    2QDo you oversee the processing of DACA

    3applications?

    4AYes.

    5QSo who reports directly to you,

    6Mr. Neufeld?

    7AThe deputy associate director for

    8service center operations.

    9QWho is that?

    10AThat position is vacant now so there is

    11somebody in an acting capacity.

    12QWho is the acting deputy director?

    13ACarrie Selby.

    14QCarrie Selby.And who reports to Carrie

    15Selby?

    16AThis gets complicated because it is an

    17acting situation.So right now the service center

    18directors are reporting to me through that

    19position, but that's only for this interim period

    20where there is an acting individual.

    21QAnd normally how does the chain of

    22command work?


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    1ANormally the five service center

    2directors would report to the deputy associate

    3director who reports to me.

    4QAre you in regular contact with the

    5directors of the service centers?

    6AYes.

    7QHow often are you in contact with them?

    8AIt varies, but usually at least weekly.

    9QAnd in what form does this contact take

    10place?

    11AUsually by email or telephone or video

    12conferencing, sometimes in person.

    13QDo they compile reports for you or

    14documents on a regular basis?

    15AYes.

    16QDo they keep you apprized of the work

    17performed at the service centers?

    18AYes.

    19QHow often do they update you?

    20AWe have a weekly check-in which they can

    21bring up whatever information they would like to

    22share.


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    1QCan you describe what is communicated

    2during these weekly check-ins?

    3AAny matters of interest.Usually they

    4are operationally focused so whatever issues might

    5be arising at the center that need attention, how

    6well they are performing, where the backlogs are

    7developing, that sort of thing.

    8QAnything else that they might keep you

    9apprized of?

    10AWell, it is open to anything anybody

    11wants to bring up.

    12QAnd do they prepare memoranda in

    13preparation for this check-in?

    14ANo.

    15QDo they -- do they keep you apprized of

    16the number of immigration related requests that

    17each service center has processed?

    18ANot normally.

    19QDo they keep you apprized of the number

    20of DACA applications processed?

    21ANo, not normally.

    22QSo within these weekly check-ins with


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    1the service center directors are there -- is there

    2any agenda created beforehand?

    3AInfrequently.

    4QHow often would sometimes these agendas

    5be created?

    6ASo I believe we started having an

    7agenda, maybe within the last two months and it's

    8been weekly since then.

    9QAre there minutes coming out of these

    10check-ins?

    11ANo.No.

    12QAre there any written records of what

    13was discussed at these check-ins?

    14ANo.

    15QTo whom do you directly report,

    16Mr. Neufeld?

    17ATo the deputy director of USCIS.

    18QWho is that, Mr. Neufeld?

    19AJames McCament.

    20QDo you report to anyone else?

    21ADirectly, no.

    22QSo let's now turn to the processing of


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    1DACA applications that was conducted at your

    2office.As part of your official duties you

    3oversaw the processing of DACA applications.Is

    4that correct?

    5AThat's correct.

    6QSo I want to focus my understanding of

    7that process and I want to focus on the process

    8specifically prior to your office learning about

    9the decision to terminate DACA.So I would like

    10to go step by step through each process beginning

    11with when an individual submits an initial DACA

    12application.Is that all right?

    13AYes.

    14QSo at the beginning of the application

    15process DACA applications are sent to lockboxes.

    16Is that correct?

    17ADo you mean DACA applications?

    18QYes?

    19AYes.

    20QHow many of lockboxes are there?

    21AI don't recall specifically.

    22QAfter arriving at those lockboxes they


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    1are reviewed for completeness.Correct?

    2AYes.

    3QAnd if an application is missing a

    4component, for example there is no attached filing

    5fee or if it's unsigned it would be rejected.

    6Correct?

    7AYes.

    8QHow did SCOPS handle rejected

    9applications?

    10AWe wouldn't be the ones rejecting them.

    11It would be rejected by the lockbox.

    12QHow do -- do you know how the lockbox

    13handled rejected applications?

    14ANo.

    15QWere application -- were applicants

    16notified of the rejection?

    17AI believe so, yes.

    18QDo you know how they were notified?

    19AI believe by letter, with the rejected

    20application would come a notice instructing them

    21that it had been rejected.

    22QYou said that they would be issued a


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    1letter.Is that correct?

    2AI don't know the specific format.What

    3I do know is that when the physical application or

    4request would be rejected that along with that

    5rejection would be some sort of communication

    6explaining that it had been rejected.

    7QWould it be sent back to the applicant?

    8AYes.I am not sure how if they were

    9represented how that would be handled.

    10QWho manages those lockboxes, Mr.

    11Neufeld?

    12AThe Treasury Department.

    13QSo, it would be the Treasury Department

    14that evaluates the applications for completeness

    15and would reject them and send the notice back.

    16Is that correct?

    17AThe Treasury Department has a contract

    18with banks that manage the lockboxes.

    19QIf upon initial review the application

    20moves forward were applicants also notified?

    21ACan you repeat that?

    22QIf upon initial review by the lockboxes


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    1the application moves forward are applicants

    2notified?

    3AThey would receive a receipt notice.

    4QWere renewal applications processed in

    5the same way as initial DACA applications?

    6AWith respect to the lockbox process?

    7QRight now we're still on the lockbox

    8process.

    9AYes.

    10QSo they are reviewed for completion,

    11notified of denial, and receive a receipt if the

    12application is forwarded.Is that correct?

    13AThat's correct.

    14QWhat happens once an application is

    15approved at the lockboxes?

    16AThe lockbox wouldn't approve, they would

    17only accept or reject.

    18QWhat happens if the lockbox -- what

    19happens if an application is accepted by a

    20lockbox?What happens next?

    21AThen the lockbox -- I'm not sure of the

    22process that they use.But they are responsible


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    1for the data entry into our systems.I'm not sure

    2exactly how that process works.I believe they

    3have their own system but they do data entry into

    4it and then it is transmitted to our system so

    5that we have an electronic record of the filing.

    6QWhat system is that?

    7AOur system?

    8QYes.

    9AIt has changed over time.It was

    10initially claims 3.Now it is ELIS.E-L-I-S.

    11(Court reporter requested

    12clarification.)

    13THE WITNESS:E-L-I-S.

    14BY MR CHEN:

    15QDo you know what the system that the

    16lockbox managers use?

    17AI do not.

    18QWho would know?Do you know who would

    19know what system that was?

    20AThe manager of our Office of Intake and

    21Document Production.

    22QWho, what is the name of your manager?


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    1AErnest DeStefano.

    2QOnce the accepted applications are

    3logged do they move on to the service centers?

    4AYes.

    5QAt the service centers who reviewed each

    6DACA application?

    7AThe typical process would be that it

    8would be reviewed by an immigration services

    9officer.

    10QWere DACA applications processed

    11anywhere else besides these service centers?

    12AThey are only adjudicated at service

    13centers.A very small percentage in the last

    14several years have been referred to a field office

    15for interview but they did not make the final

    16decision.They would -- after the interview they

    17would send it back to the service center for the

    18final decision.

    19QDo you know approximately how many

    20applications were referred to a field office for

    21an interview?

    22AIt would be a few hundred.


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    1QDo you know what percentage of that is

    2to the total number of DACA applications?

    3AI do not, but it is a very small

    4percentage.

    5QApproximately how many USCIS immigration

    6officers work at each service center?

    7AIt varies.Most of these -- let me

    8clarify.Things have changed over the years, but

    9for the majority of the time the cases have been

    10processed at either the Nebraska service center.

    11Most of the cases are processed at Nebraska

    12service center or the California service center.

    13The officer component at each of those has also

    14changed.I would imagine that it's around

    15probably 400 adjudicators, officers at each of

    16those centers.

    17QAnd what about with the other three

    18service centers?

    19AVermont service center is approximately

    20the same size.

    21The Texas service center is a smaller

    22center, so it probably -- although it has grown


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    1recently.It's probably closer to the 300 range.

    2The Potomac service center is the newest

    3center.It is the smallest center and I think

    4that they have maybe 200 officers.

    5QAnd so DACA applications are processed,

    6you said that DACA applications are primarily

    7processed in the Nebraska and the California

    8service centers.Is that correct?

    9AThat's correct.

    10QBut the other three service centers also

    11process DACA applications.Is that correct?

    12AThe Vermont service center processes a

    13very small number and those would relate to DACA

    14requests where the requester may have had another

    15benefit request in the T and U nonimmigrant

    16categories or the Violence Against Women Act

    17request.I just don't -- well, the Potomac

    18service center has never processed DACA requests.

    19I don't recall the Texas service center's role. I

    20believe that they have processed them at some

    21point in the past but it was a very short period

    22of time and not very large numbers.


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    1QOnce a DACA application arrives at a

    2service center what happens next?

    3AI don't know specifically.The general

    4process is that the files would be received in the

    5mailroom, processed by a contractor, staged.The

    6system -- in an automated way the system would

    7conduct background checks.And depending on the

    8results of those background checks if there were

    9hits then they would go to a dedicated group of

    10officers at the center that would review the --

    11the information.Other than that the files would

    12sit on a shelf until there was an officer

    13available.The process usually first in, first

    14out.They go to an officer for review.If the

    15officer determines it's approvable then they would

    16approve it.If there were -- if they determined

    17that additional evidence is necessary then they

    18would initiate a request for additional evidence.

    19If it -- they determined that it should be denied

    20then they would deny it.

    21QWhat criteria do INS adjudicators

    22consider when deciding to approve or deny a


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    1request for deferred action?

    2AThe criteria listed in the June 2012

    3memo issued by Janet Napolitano.

    4QDid immigration adjudicators use any

    5other criteria?

    6AAll of the criteria flows from that.It

    7was -- the refinement of that criteria has been

    8developed through publication of FAQs, frequently

    9asked questions on the website.

    10QAnd so are all of the criteria that

    11immigration adjudicators would use, are they on

    12the FAQ website?

    13AYes.

    14QIf the request for deferred action is

    15approved were applicants notified of the approval?

    16AYes.

    17QHow were they notified?

    18AThey would receive an approval notice

    19and they would receive an employment authorization

    20document.

    21QIs that through the mail or through some

    22other communication?


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    1AThe mail.

    2QIf they were denied -- if their

    3application was denied were they notified?

    4AYes.

    5QAre they notified of the reasons for

    6denial?

    7AYes.

    8QCan you give me an example of what a

    9reason for denial might be?

    10AOne of the criteria is they would have

    11to have arrived under the age of 31 before the

    12date of issuance of the memo.So if they -- if

    13they had not demonstrated then the case -- then

    14their request would be denied.

    15QIs there any quality control to ensure

    16that the -- that immigration adjudicators are

    17adjudicating based upon the set criteria?

    18ASo adjudicators are trained and they are

    19closely monitored by their supervisor.Cases are

    20reviewed by their supervisor when they first begin

    21to adjudicate them and then when the supervisor is

    22satisfied that they have demonstrated the


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    1capabilities then typically their cases are not

    2reviewed.

    3QWhat does the training that immigration

    4adjudicators receive involve?

    5AIt would be training provided on site.

    6I don't know the content or the length of time.

    7QWere there training documents or manuals

    8involved?

    9AI'm sure there were.

    10QDo you know what those documents were?

    11ANo.

    12QLet me return back to the notices if an

    13applicant -- an applicant's application is

    14approved.You mentioned before that USCIS used

    15the Claims 3 system and then the ELIS system.

    16Were they notified through those systems?

    17AI don't understand the question.

    18QHow were applicants whose applications

    19were approved, how were they -- how were the

    20notices for them generated?

    21AI'm actually not entirely clear on that

    22process.I know that they would be system


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    1generated notices.But where they are printed,

    2how they are mailed I know has changed over time

    3and I'm not confident I know the current process.

    4QDo you know what the previous process

    5was?

    6AThey would have been generated on site

    7at the center where the adjudicator was assigned

    8and then the contractor would have placed them in

    9the mail.

    10QDo you know how long it took the notice

    11once mailed to reach an individual?

    12AI do not.

    13QDo you know who might know that

    14information?

    15ANo.

    16QWere renewal applications processed in

    17the same way at the service centers as initial

    18applications?

    19ANo.

    20QWhat were the differences?

    21ASo renewal requests, they are processed

    22in ELIS and there is a system processing that goes


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    1on for them that is different than for the initial

    2filing.So an initial request is -- every one of

    3those is presented to an adjudicator and they are

    4reviewing either paper that was filed with it or

    5images of paper that are in the system, scanned

    6into the system.Renewal requests are -- there is

    7a internal process that's automated where

    8depending on the results of background checks,

    9depending on checks that are conducted within the

    10system some cases may go through to completion

    11without being presented individually to an

    12officer.

    13QYou mentioned some cases.How do you --

    14what are those cases that go through without being

    15presented to an officer?

    16AWith the renewal request the individual

    17would have already demonstrated eligibility

    18previously for DACA.So at the time of the

    19renewal request we are basically focused on the

    20results of new background checks that were run and

    21travel.So part of the -- under the DACA program

    22if the individual travels without advance parole


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    1that would -- abroad outside of the United States,

    2that would terminate their DACA status.So the

    3system will check to see if the applicant either

    4answered the question that they had traveled with

    5or without advance parole, but also check other

    6systems to see whether we had record of their

    7travel.If any of those would have come up

    8positive then the case would fall out of the

    9automated process and get referred to an officer

    10for manual review to determine eligibility.So

    11typically the process was mini-checks were

    12conducted.Depending on the results of those

    13checks the case could either be completed

    14automatically in the system or be referred to an

    15individual officer for review.

    16QWere there any other differences between

    17renewal processing and initial application

    18processing?

    19ANot that I can think of.

    20QIf a renewal application was approved

    21were applicants also notified of the approval?

    22AYes.


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    1QAnd how was that approval -- what form

    2did that notice?

    3AThey would receive an approval notice in

    4the mail and the EAD, employment authorization

    5document.

    6QYou said that renewal applications were

    7processed through the ELIS system.Were they

    8processed through any other system?

    9AClaims 3.I'm actually not confident in

    10that answer.

    11QDo you know who would know whether

    12renewal applications were processed through Claims

    133?

    14AIndividual officers might know.I --

    15there -- I don't know -- we have people in our

    16agency who would know that, I just don't recall.

    17QWho in your agency supervises these

    18electronic systems?

    19AThat's the chief of our Office of

    20Information Technology.

    21QWho is the chief of office --

    22AThat position is currently vacant.


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    1QIs there an acting chief officer?

    2AYes.And his name is Keith Jones.

    3QOkay.So I want to focus now on the

    4notice procedures that SCOPS issued to DACA

    5applicants and DACA recipients.Now I'm still

    6focusing on the process prior your office learning

    7about the decision to terminate DACA.

    8Did SCOPS have policies directing

    9adjudicators to send notices to DACA applicants

    10about updates to the status of their application?

    11AI'm not following the question.

    12QDid SCOPS have policies about sending

    13notices to DACA applicants when the status of

    14their application changed when it was updated?

    15AWell, first I need to clarify.SCOPS

    16doesn't have its own policies.We only follow the

    17policies of USCIS.

    18QDoes USCIS have those policies about

    19sending notices?

    20AI'm not sure whether it's by policy or

    21regulation, but we -- nonetheless, we do issue

    22approval notices, the request for evidence.And


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    1that's -- those are policy decisions at some point

    2that were made that people need to be notified of

    3approval, denial.

    4QSo how were those -- how were those

    5decisions to issue those notices made?

    6AAs I said, I don't recall whether they

    7are by regulation.I believe they're caught up by

    8regulation.

    9QWere you involved in the making of those

    10decisions to send notices?

    11ANo.

    12QWere those decisions -- were those

    13policies or regulations written down anywhere?

    14AIf it's a regulation then it's codified

    15in our regulations.

    16QSo how does -- how does an individual

    17employee, immigration adjudicator know to send a

    18notice when, for example, someone is -- someone's

    19application is approved?

    20AWell, as I said the system will generate

    21the notice upon approval in the system by the

    22officer.Same goes for denial notices.


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    1QDo you know when these policies were

    2set?

    3AAre we talking specifically about DACA

    4or all adjudications?

    5QSpecifically about DACA.

    6ASo it would have been since the

    7beginning of the program.

    8QSo since the beginning of the program

    9SCOPS or USCIS had sent these -- had sent notice

    10to DACA recipients when their status changed or

    11updated?

    12AYes.

    13QDid USCIS send notices for when a DACA

    14recipient's DACA status was terminated for

    15whatever reason before it expired?

    16AYes.

    17QDid USCIS ever send notices to DACA

    18recipients notifying them about changes to the

    19DACA program?

    20MR. TYLER:Objection.Vague.

    21BY MR CHEN:

    22QDo you understand the question,


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    1Mr. Neufeld?

    2AI don't know what you mean by changes to

    3the program.

    4QAre you aware of when -- if the DACA

    5program changed since it was first issued in 2012?

    6MR. TYLER:Objection.Vague.

    7THE WITNESS:I still -- I don't know

    8what you mean by program.

    9BY MR CHEN:

    10QThe -- did USCIS ever issue notices to

    11remind DACA recipients to renew their

    12applications?

    13AYes.

    14QAnd about when did they send these

    15notices?

    16AThat changed over time.I think we

    17started initially with sending them a notice at

    18the 120 day point.So, 120 days before their

    19current DACA would have expired we would issue a

    20notice.And then that changed to six months

    21advance notice.

    22QWhen did that change?


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    1AI don't recall specifically, probably at

    2least a year ago.

    3QSo generally it was around 2016, late

    42016?

    5AI don't recall specifically.It might

    6have been earlier.

    7QWhat was the rationale?Why were -- why

    8did that policy change?

    9MR. TYLER:Objection.Lack of

    10foundation.

    11BY MR CHEN:

    12QDo you know when the -- why the policies

    13changed from 120 days to 180 days?

    14AI know that advocacy groups were

    15complaining that that was insufficient notice and

    16that not enough people were applying early enough

    17so that they could prevent a lapse of their DACA

    18status.

    19QDo you know who these advocacy groups

    20were?

    21AI don't recall specific groups.

    22QDo you know generally who these groups


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    1were?

    2ANo.

    3QWere there any other reasons for

    4changing the notice from 120 to 180 days?

    5ANot that I recall.

    6QWere you involved in the establishment

    7of these notice processes?

    8AIn some ways, yes.

    9QCan you explain what ways you were

    10involved?

    11AWith the stand-up of the DACA program

    12there was a -- there were many meetings in the

    13early days comprised of many people from different

    14parts of the agency working through how best to

    15stand up this program and there were many

    16conversations at that time about whether and when

    17to issue reminder notices and I participated in

    18those conversations.

    19QAnd do you know about when those

    20conversations happened?

    21AIn the first 60 days following the

    22issuance of the memo.


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    1QDo you know who else was involved in

    2those conversations?

    3AThere were many people involved in those

    4conversations.I can recall some of them.

    5QCan you name some of the individuals who

    6you can recall?

    7AAli Mayorkas (phonetic), Denice Vanison.

    8Laurie Shalabaum (phonetic).Many different

    9people from counsel.Dan Renaud, Tracy Renaud.

    10Many people.

    11QWere you -- what were some of the

    12factors that you considered in setting those

    13notice policies?

    14AI need to repeat that SCOPS doesn't set

    15policy.So there were many discussions at the

    16executive level.For the most part those

    17conversations were about how to implement policy

    18decisions that were being made at the department

    19level.

    20QAnd can you explain what those policy

    21decisions at the department level were?

    22ALet me think.One of them would have


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    1been -- you know, whether we are going to issue

    2reminder notices again, how far in advance to

    3issue the reminder notices.There were -- there

    4were a lot of issues in the early days surrounding

    5what types of crimes would be disqualifying.

    6QSo are you saying that the policy to

    7issue reminder notices was made at the department

    8level?

    9AI believe so, yes.

    10QDo you know who was involved in making

    11those policies?

    12AAt the department level?

    13QYeah.

    14ANo.Other than our director

    15participated, I'm sure.

    16QDo you know when those policies were

    17set?

    18AWell, the majority of policy decisions

    19needed to be made in the first 60 days because

    20that was the time we had to stand up the program

    21and we needed to inform the public.

    22QSo were the policy to -- was the policy


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    1to make, to issue reminder notices made within the

    260 days?

    3AI believe so, yes.

    4QWere you involved in the making of those

    5policies?

    6AI was involved in discussions about how

    7we could issue notices.I was not in the decision

    8making process for that policy.I was not part of

    9the group that decided that.

    10QWere you consulted at all in that

    11decision to make --

    12AYes.

    13Q-- policy?What was the nature of that

    14consultation?

    15ATo offer how we might implement that

    16policy if it were adopted.

    17QWhat was your recommendation to how

    18SCOPS might implement that policy?

    19MR. TYLER:Object on the grounds of

    20privilege.It is deliberative process

    21information.Direct the witness not to answer.

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    1BY MR CHEN:

    2QWere you -- did you write any memoranda

    3or documents in response to the consultation about

    4how to implement the policy?

    5AI don't believe so.There may be email

    6messages around that subject dating back to that

    7time period.

    8QDo you know -- so around what time were

    9those email messages?

    10AAs I said, this -- all of this was in

    11the first 60 days.

    12QDo you know who were the recipients of

    13those email messages?

    14ANo, because I don't even recall specific

    15email messages.

    16QLet's return to the DACA notices to

    17renew that were sent to DACA applicants.What did

    18these notices say?

    19AI don't know specifically.

    20QDo you remember generally what they

    21said?

    22AIt was a reminder that their DACA time


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    1period was expiring and that they should submit a

    2new -- a request for renewal if they wanted to

    3extend.

    4QWas there a time period that the notices

    5recommended DACA applicants submit their renewals?

    6AThat changed over the course of the

    7years of operation.I believe originally that

    8recommended time period was 120 to 150 days in

    9advance.And then that evolved to -- I'm not

    10certain.I know that we began encouraging people

    11to apply 150 days in advance or more.

    12QDid SCOPS have a name for these notices?

    13How did they refer to the notices?

    14AReminder notices.

    15QReminder notices.Did SCOPS send

    16reminder notices to all DACA recipients whose

    17status was about to expire?

    18AFor a period of time, yes.

    19QWhat period of time was that?

    20AFrom the beginning of the DACA program

    21until -- I don't recall specifically, but within

    22the last year I believe we have stopped issuing


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    1those notices.

    2QWithin the last year, do you know about

    3what time within the last year?

    4ANo.

    5QDo you know who might know that

    6information?

    7AI don't know who, I know there are

    8records that would relate to that.

    9QWhat are the -- do you know who created

    10these records?

    11ANo.

    12QDo you know when these records were

    13created?

    14ANo.

    15QWhat were the nature of these records?

    16Were they memoranda or reports?

    17AI don't know.

    18QSo how are you aware that there are

    19records relating to the termination of these

    20notices?

    21AI know that there were communications to

    22the team that would have been responsible for


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    1development of the capability to issue those

    2notices in ELIS not -- that they did not need to

    3work on that capability.

    4QWho are these individuals that were

    5sending these communications?

    6AI'm not sure.

    7QDid they send them to you?The

    8communications that you referred to, did the --

    9were the communications sent to you, Mr. Neufeld?

    10ANot that I recall.

    11QSo how were you aware, made aware of

    12these communications?

    13AI'm aware that the decision was made and

    14I'm aware that it was communicated in some way. I

    15don't know specifically the vehicle of

    16communication to the developers.

    17QWho informed you that the -- that the

    18decision was made?

    19AKathy Nuebel.

    20QDo you know about when she informed you

    21of that decision?

    22ASeveral months ago.I don't recall more


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    1specifically than that.

    2QWhen, in what form did she inform you?

    3Was this a conversation?

    4AEmail messages.

    5QWho -- do you know who else -- who else

    6was on that email -- sorry, was CCed on that

    7email?

    8AI do not.

    9QDo you recall what the subject of the

    10email was?

    11AThe subject line, I do not.

    12QWas this in response to a previous

    13email?

    14AIt was in response to me raising the

    15question as to whether we would develop that

    16capability in ELIS.

    17QDo you know about when you sent that

    18request?

    19ASeveral months ago is all I can recall.

    20QIn that email that was sent to you, do

    21you remember if there were any attachments to the

    22email?


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    1AI do not recall.

    2QWho is Kathy Nuebel?

    3AShe is the chief of the Office of Policy

    4and Strategy within USCIS.

    5QWere there any other communications

    6about the decision not to -- the decision to stop

    7issuing renewal notices?

    8MR. TYLER:Objection.Lack of

    9foundation.

    10BY MR CHEN:

    11QAre you aware of any other

    12communication?

    13AOf?

    14QAre you aware of any other

    15communications about the decision to terminate

    16those renewal notices?

    17AI'm aware that -- I know that I sent

    18messages to my subordinate team that that

    19capability would not be being developed.

    20QWhen were those -- how were you made

    21aware of those messages?

    22AWell, they were my messages.


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    1QSorry.You -- when did you send these

    2messages?

    3AIt would have been contemporaneous with

    4the rest of these messages and that was several

    5months ago and I don't recall specific dates.

    6QWhat did you -- do you remember what you

    7communicated to your subordinates in those

    8messages?

    9MR. TYLER:Objection.Vague.

    10THE WITNESS:I communicated to them

    11that the capability would not be being developed

    12in ELIS to issue reminder notices.

    13BY MR CHEN:

    14QDo you know why USCIS stopped sending

    15the renewal notices?

    16AI know that I was asked whether there

    17would be costs involved and I answered yes.

    18QWho asked you about those costs?

    19AKathy Nuebel.

    20QDo you know about when she asked you

    21about them?

    22


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    1AIt's all in the same time period that I

    2don't recall specifically.

    3QYou said that there would be costs

    4involved.Do you know what those costs -- what

    5you mean by that?Can you explain further?

    6AWhat I meant by that were the

    7development costs with programming the system to

    8have that capability.

    9QWhat are those development costs?

    10AI don't know specifically.

    11QDid you -- do you know generally what

    12those costs might be?

    13AWe have to pay people to do the

    14programming.

    15QDid you ever communicate to Kathy Nuebel

    16about how much those costs were?

    17AI don't think so because I don't know

    18what they would be specifically.

    19QDid you know generally what those costs

    20were at all?

    21ANot that I recall.

    22MR CHEN:So I am -- for the record, I


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    1am now handing to the court reporter what is

    2marked as Exhibit 1.If you could please mark

    3this as Exhibit 1.

    4(Whereupon, Exhibit No. 1 marked for

    5identification.)

    6MR CHEN:And I'm also handing a copy of

    7what is marked as Exhibit 1 to Mr. Neufeld.

    8MR. TYLER:Do you have additional

    9copies for counsel?

    10MR CHEN:I'm handing a copy to

    11Mr. Tyler.

    12MR. TYLER:Do you have more than one

    13copy so I can --

    14MR. WISHNIE:We don't have sufficient

    15copies for the whole table.

    16MR CHEN:No.But for myself in

    17addition to the deponent?

    18MR. WISHNIE:Yes.

    19MR. TYLER:So there are two copies of

    20that?

    21MR CHEN:Yes.We have one copy just

    22for the deponent and one for the court reporter.


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    1Can I request that this exhibit be marked as

    2Exhibit 38, please.

    3(Whereupon, Exhibit No. 38 was marked

    4for identification.)

    5BY MR CHEN:

    6QAnd for the record the document is

    7titled defendant's objections and responses to

    8plaintiff's first set of interrogatories to

    9defendants dated October 16, 2017.

    10Mr. Neufeld, if you could, it is a long

    11document so you don't need to take -- you don't

    12need to read through the whole thing.But if you

    13could take a look at page 31, please.And

    14familiarize yourself with the last three

    15paragraphs, please.

    16MR. TYLER:Beginning with the automatic

    17generation?

    18MR CHEN:Yes.

    19BY MR CHEN:

    20QCan you let me know when you've

    21familiarized yourself with the document, please?

    22AYes.I've read it.


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    1QOkay.So according to this document the

    2SCOPS transitioned from the Claims 3 system for

    3printing up renewal notices to the electronic

    4print management server.Is that correct?

    5AYes.

    6QDo you know when that transition

    7occurred?

    8AI don't know anything more than what's

    9stated in this document.

    10QAnd it's dated in the document that

    11transition occurred around July 2017.Is that

    12correct?

    13AYes.

    14QAccording to this document -- well,

    15Mr. Neufeld, is it true that the decision not to

    16develop renewal notice, the renewal notice feature

    17in the electronic print management server was due

    18to significant operational costs associated with

    19rebuilding the service?

    20MR. TYLER:Objection.Lack of

    21foundation.

    22


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    1BY MR CHEN:

    2QDo you know if that -- if the decision

    3not to develop the renewal notice feature for the

    4electronic print management server was due to

    5significant operation costs associated with

    6rebuilding the service?

    7AI know that that's what I was told.

    8QWho were you told by, Mr. Neufeld?

    9AKathy Nuebel.

    10QCan you explain the relationship between

    11the electronic print management server, which by

    12the way I will refer to now as EPMS for the

    13record.Can you explain the relationship between

    14the EPMS system and the ELIS system, Mr. Neufeld?

    15ANo.

    16QDo you know who might be able to explain

    17that relationship?

    18ASomeone in our IT shop, so possibly

    19Keith Jones.

    20QIs it true that the renewal notice

    21feature was never developed for the ELIS system?

    22MR. TYLER:Objection.Lack of


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    1foundation.

    2BY MR CHEN:

    3QDo you know whether the renewal notice

    4feature was ever developed for the ELIS system?

    5AYes.

    6QAnd was it developed for the ELIS

    7system?

    8ANo.

    9QSo let me focus first on the migration

    10from the Claims 3 server, the EPMS print server.

    11And I apologize if I am a bit slow on this because

    12there are quite a few technical details.

    13Do you know how many DACA requests in

    14the Claims 3 system were handled by the EPMS

    15system?

    16AI do not.

    17QDo you know how many -- who would know?

    18ANo, I don't.

    19QSo according to this document on page 31

    20in the second paragraph towards the end it states

    21that the overwhelming majority of pending DACA

    22requests were then handled by ELIS and had been


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    1adjudicated in ELIS until approximately February

    21, 2016.

    3Does that refresh your memory about how

    4many DACA applications were then handled in the

    5Claims 3 system?

    6ANo.

    7QDo you know why SCOPS migrated from the

    8Claims 3 system to the EPMS system?

    9AIt's not SCOPS.These are decisions

    10that are made at the agency level, so I don't know

    11the specific reasons.

    12QWould you know the general reason why

    13USCIS migrated?

    14AThat the EPMS is supposed to be more

    15efficient, that was the one reason that I know of.

    16QDo you know of any other reasons?

    17ANo.

    18QCan you explain further what you mean by

    19more efficient?

    20ANo.

    21QWere you involved in the decision to

    22migrate from Claims 3 to the EPMS system?


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    1ANo.

    2QWere you consulted about that decision?

    3ANo.

    4QDo you know who was involved in that

    5decision?

    6AIndividuals in our IT shop would have

    7been involved in that.I don't know specifically

    8who.

    9QAnd did you ever communicate with these

    10individuals in the IT shop about the migration

    11with the decision to migrate?

    12ANot that I recall specifically.

    13QDid you have any general conversations

    14about the migration from the Claims 3 system to

    15the EPMS system?

    16ANot that I recall.

    17QWere you aware that the EPMS print

    18service system did not have the renewal notice

    19functionality when the decision to switch that

    20system was made?

    21ANo.

    22QWere you aware -- were you -- did you


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    1ever become aware that the EPMS system did not

    2have the renewal notice functionality?

    3ANot specifically that it was because of

    4EPMS.I knew that in -- we didn't have -- we no

    5longer had the capability of issuing the reminder

    6notices without specifically programming a system

    7to do that.Whether it was EPMS or Claims 3 I

    8didn't know specifically or I don't remember

    9specifically.

    10QWho made you aware of the fact that

    11you -- that SCOPS did not have the capability?

    12AI believe it was Alex King.

    13QAnd who is Alex King, Mr. Neufeld?

    14AHe is the branch chief with DACA in my

    15SCOPS organization that doesn't -- that has --

    16manages the DACA portfolio for SCOPS.

    17QDo you know when he made you aware that

    18you didn't have this functionality?

    19ANo.

    20QDo you know around what time?

    21ANo.

    22


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    1QDo you remember what -- how Alex King

    2informed you?

    3AYes.He walked into my office.

    4QSo this was a discussion?

    5AYes.

    6QWas there anyone else involved in that

    7discussion?

    8ANo.

    9QAnd did you inquire as to why SCOPS no

    10longer had that functionality?

    11ANot that I recall.

    12QWere you concerned at all that SCOPS no

    13longer had that functionality?

    14MR. TYLER:Objection.Vague.

    15BY MR CHEN:

    16QWere you -- did you inquire as to why

    17there was no -- that SCOPS did not have the

    18functionality to build in renewal notices despite

    19having had renewal notices since the beginning of

    20the program?

    21AI recall noting to myself that that

    22meant that we wouldn't be able to produce reminder


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    1notices that had been the standard practice.

    2QDid the lack of that functionality

    3bother you at all?

    4MR. TYLER:Objection.Vague.

    5THE WITNESS:I don't get bothered by

    6these things.I noted it as something that would

    7need to be addressed one way or the other either

    8that we would either build the capability or we

    9wouldn't be able to continue producing the

    10notices.

    11BY MR CHEN:

    12QDid you have any reaction at all that

    13SCOPS would no longer have this renewal notice

    14capability?

    15MR. TYLER:Objection.Vague.

    16THE WITNESS:I noted, as I said, that a

    17decision would have to be made of whether to build

    18that capability or not.

    19BY MR CHEN:

    20QAnd were you involved in the decision

    21not to build that capability?

    22AI elevated the decision, the need for a


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    1decision to Kathy Nuebel.

    2QDo you know approximately when you

    3elevated that?

    4AAround the same time period.

    5QWhy did you?Do you know why you

    6elevated that -- that information to Kathy Nuebel?

    7ABecause policy decisions are not made

    8within SCOPS.

    9QDid SCOPS ever make an attempt to build

    10in the renewal notice feature?

    11MR. TYLER:Objection.Lack of

    12foundation.

    13THE WITNESS:SCOPS doesn't build

    14capabilities.That's -- that would be our OIT

    15shop.

    16BY MR CHEN:

    17QDo you know if the IT shop attempted to

    18build in the renewal notice feature?

    19AI don't -- I really don't understand

    20your question.You mean after -- like when or?

    21QFor the EPMS system are you aware of

    22whether SCOPS or the IT department within SCOPS


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    1made an attempt to build in the renewal notice

    2feature?

    3AI am not.

    4QDo you know what it would have taken to

    5build in the renewal notice feature for the EPMS?

    6AI do not.

    7QYou said previously that building in the

    8renewal notice feature would have operational

    9costs.Is that true?

    10AIt would -- there would have been costs

    11involved in developing that capability.

    12QWhat was the basis for that knowledge,

    13Mr. Neufeld?

    14AMy general knowledge of how IT systems

    15works.Somebody has to program them to do things

    16and there is a cost associated with that.

    17QDid you ever inform Kathy Nuebel about

    18the specific costs of building in that feature?

    19ANot that I recall.

    20QHas USCIS ever before decided not to

    21notify a specific group of DACA recipients about

    22renewal?


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    1ABefore either of these two times?

    2QYes.

    3ANo.

    4QI want to return to the -- the exhibit

    5that I just handed you on page 31.The document

    6says that USCIS transitioned from the Claims 3

    7system to the ELIS system in which DACA requests

    8have been adjudicated since approximately February

    91, 2016.Is that correct?This is in the --

    10sorry, the first paragraph of page 31, the second

    11sentence.

    12AI'm sorry.What is the question?

    13QIs it correct that USCIS transitioned

    14from the Claims 3 system to the ELIS system in

    15approximately around February 1, 2016?

    16AI believe so, yes.

    17QSo if SCOPS continued its practice of

    18sending out renewal notices 180 days before an

    19applicant's expiration the first notices for cases

    20under the ELIS system would have been sent out

    21approximately August 1, 2017.Is that correct?

    22AYes.


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    1QBut the renewal notice feature was never

    2developed for that ELIS system?Is that correct?

    3ACorrect.

    4QDo you know if the ELIS system issued

    5other types of notices besides renewal notices?

    6AThe technicalities of which system does

    7what I don't know.I know that cases that we

    8processed in ELIS will receive approval notices,

    9receipt notice, request for additional evidence,

    10notices of intent to deny.

    11QDo you know of any other -- any

    12differences between the ELIS system and the Claims

    133 system?

    14MR. TYLER:Objection.Vague.

    15THE WITNESS:They're completely

    16different systems.

    17BY MR CHEN:

    18QSo besides the lack of functionality for

    19renewal notice in ELIS were there other

    20differences regarding notices between the Claims 3

    21system and the ELIS system?

    22MR. TYLER:Objection.Lack of


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    1foundation.Vague.

    2THE WITNESS:I don't know specifically

    3the differences between the two system with

    4respect to notice generation.

    5BY MR CHEN:

    6QDo you know who would know?

    7ASomeone in our OIT shop.

    8QDo you know what the cost of developing

    9ELIS's capacity to issue renewal notices is?

    10ANo.

    11QDo you know what the costs for the ELIS

    12system in developing other notices such as the

    13notices that you've just mentioned?

    14ANo.

    15QIs the ELIS system more sophisticated

    16than the Claims 3 system?

    17MR. TYLER:Objection.Vague.

    18THE WITNESS:If by sophisticated you

    19mean is it -- use different technology, yes.

    20BY MR CHEN:

    21QAt the time that you -- do you know who

    22made the decision to transition to the ELIS


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    1system?

    2ABy individual, no.

    3QDo you know what department made the

    4decision to transition to the ELIS system?

    5AIt's an agency wide decision that I am

    6not sure what role the department plays in that or

    7certainly I don't recall what role it played back

    8when this decision was made.

    9QDid you have any involvement in the

    10decision to transition to the ELIS system?

    11AThere are -- there have been meetings

    12with the development -- over time with the

    13development of capabilities within ELIS and the

    14migration of case processing from Claims 3 to

    15ELIS.And I'm part of a group that the membership

    16and the name of that group has changed over time,

    17but overall this time I have been a participant in

    18meetings where there are discussions about what

    19would be appropriate for development in ELIS with

    20respect to which case types would be migrated from

    21Claims 3 into ELIS.So I would receive updates,

    22participate in discussions.The final decision


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    1about what the migration of case work from Claims

    23 to ELIS is not made by that group, it's made by

    3others and so I don't know.

    4QDo you know by others do you know who

    5you're -- who are you referring to?

    6AI know that our deputy and our director

    7played a role in those decisions.What I don't

    8know is to what level that role was autonomous or

    9they were consulting with others.Or were -- you

    10know, whether the decision was made by others at

    11the department above them.

    12QDid they ever discuss the transition to

    13the ELIS system specifically with respect to DACA

    14applications with you?

    15AYes.

    16QWhen did they discuss this with you?

    17AIt would have been before we migrated,

    18but I don't know how long before.

    19QDid they ever consult you about that

    20migration?

    21AWho is they?

    22QThe deputy and the director that you


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    1mentioned, did they consult you about the decision

    2to migrate specifically DACA applications to the

    3ELIS system?

    4AI don't know if consultation is the

    5right word.There were discussions about the

    6migration of DACA case work from Claims 3 into

    7ELIS, yes.

    8QDo you provide your input into those

    9discussions?

    10MR. TYLER:Objection.Vague.

    11THE WITNESS:I don't know what you mean

    12by input.

    13BY MR CHEN:

    14QDid you ever provide any recommendations

    15about whether DACA applications should migrate to

    16the ELIS system or not?

    17AI don't recall specifically, no.

    18QAt the time that the DACA applications

    19were transitioned to the ELIS system were you

    20aware that ELIS did not have the renewal notice

    21capability?

    22ANo.


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    1QDid you ever become -- when did you

    2become aware that the ELIS system did not have the

    3renewal notice capability?

    4AWhen Alex King came to my office and

    5said so as such.

    6QDo you know if your office had planned

    7to implement the renewal notice capability for the

    8ELIS system?

    9MR. TYLER:Objection.Vague.

    10THE WITNESS:I don't understand.

    11BY MR CHEN:

    12QDo you know why the -- do you know why

    13SCOPS did not implement the renewal notice

    14capability for the ELIS system?

    15ASCOPS doesn't develop IT capabilities.

    16The decision not to build that capability was

    17conveyed to me by Kathy Nuebel.

    18QDo you know why USCIS did not develop

    19those capabilities?

    20ANot specifically.

    21QGenerally, do you know?

    22AI know that I was asked would there be


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    1development costs and I said yes.

    2QWere you asked about any specifics with

    3regard to development costs?

    4ANot that I recall.

    5QDo you know what it would have taken to

    6develop the renewal notice capability through

    7ELIS?

    8MR. TYLER:Objection.Vague.

    9BY MR CHEN:

    10QDo you know how much it would have cost?

    11ANo.

    12QTo implement the renewal notice

    13capability?

    14AI do not.

    15QIn your communications with Kathy

    16Nuebel, was the potential for termination of the

    17DACA program ever discussed?

    18AIn which -- I'm confused.

    19QWhen -- in your discussions with Kathy

    20Nuebel about the renew -- about implementing the

    21renewal notices, was the potential termination of

    22the DACA program ever discussed?


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    1MR. TYLER:Objection.Vague.

    2BY MR CHEN:

    3QDo you understand the question,

    4Mr. Neufeld?

    5AIf you mean in the email exchange about

    6whether or not we should -- when I elevated the

    7question or the issue that we wouldn't have the

    8capability of issuing those reminder notices

    9without investing in that development, did either

    10of us mention DACA being discontinued?I don't

    11recall specifically whether that was part of that

    12discussion.

    13QDo you remember generally if it was part

    14of that discussion?

    15ANo.

    16QDid you ever discuss the potential

    17termination of the DACA program with Kathy Nuebel?

    18AYes.

    19QIn what form did that discussion take

    20place?

    21AIn person, telephone, meetings.

    22QDo you know around when those


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    1discussions took place?

    2AAround when would have been sometime

    3since she arrived, which was after -- sometime

    4after Trump came into office and ever since.

    5QLet's start with the meetings.Were

    6there any -- do you know -- do you recall any

    7specific meetings in which you discussed the

    8potential termination of the DACA program with

    9Kathy Nuebel?

    10AYes.

    11QWhen did those specific meetings --

    12specific meetings occur?

    13AI don't recall the specific date.On

    14September 5th there was the announcement issued

    15about the wind down of DACA.And very shortly

    16before that, I believe it was the week before

    17that, there was a specific meeting that involved

    18Kathy Nuebel discussing the wind down.

    19QAnd did you discuss -- did you discuss

    20the fact that ELIS did not have renewal notice

    21capabilities in that meeting?

    22ANo.


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    1QWho else was part of that meeting?

    2AJames McCament, Tracy Renaud.Gene

    3Hamilton I believe participated by phone.There

    4was another individual -- individual on the phone

    5that I don't recall his name or even where he

    6worked.I believe there may have been one or two

    7others.I couldn't recall specifically who they

    8were.

    9QWhat was the subject of that meeting?

    10Do you remember?

    11AThe wind down of DACA.

    12QWas there an agenda for that meeting?

    13ANo.

    14QWere there any written materials

    15generated for that meeting?

    16ANot that I recall.

    17QDo you know if someone took notes or

    18minutes of that meetings?

    19AI don't believe so.

    20QWere written minutes shared afterwards?

    21ANo.

    22QDo you know what was discussed at that


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    1meeting?

    2AYes.

    3QWhat was the content of the discussion?

    4MR. TYLER:I'll object on the grounds

    5of deliberative process privilege, attorney/client

    6privilege, attorney work product privilege.

    7Directing the witness not to answer.

    8MR CHEN:Just for the record I want to

    9briefly note our objection to the invocation of

    10the deliberative process instruction in this

    11deposition.First, we don't think it's

    12appropriate to invoke that privilege generally in

    13this case because plaintiffs are challenging the

    14agency's decision making process and even if the

    15privilege does apply in this case we don't think

    16the government has met it's burden of making a

    17sufficient showing of the elements in that

    18specific instance.And I want to also note that

    19plaintiff's position is that the defendants have

    20waived attorney/client privilege over any

    21materials that bear on the legality of the DACA

    22program.Defendants stated that one of DHS's


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    1primary reasons for rescinding DACA was its

    2purported illegality, and thus the agency

    3incorporated by reference into it's policy legal

    4arguments about the lawfulness of the DACA

    5program.So I just want to put that in the

    6record.

    7Should we take a break at this point?

    8(Multiple voices discussing going off

    9the record.)

    10THE VIDEOGRAPHER:We are going off of

    11the record.This is the end of media unit number

    121.The time is at 10:41 a.m.

    13(The proceeding recessed from 10:42 a.m.

    14to 10:55 a.m.)

    15THE VIDEOGRAPHER:This is the beginning

    16of media unit number 2.The time is 10:55 a.m.

    17BY MR CHEN:

    18QMr. Neufeld, I want to return back to

    19the renewal notices under the ELIS system and just

    20clarify time lines.So, as you discussed earlier

    21DACA requests were being adjudicated under the

    22ELIS system since approximately February 2016.Is


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    1that correct?

    2AYes.

    3QAnd you had previous -- previously said

    4that ELIS was generating other types of notices

    5besides renewal notices.Is that correct?

    6AYes.

    7QWere those notices printed through the

    8ELIS system?

    9AI don't know.

    10QDo you know if they were printed through

    11the Claims 3 system?

    12AI don't believe a case adjudicated in

    13ELIS would result in Claims 3 printing notices,

    14no.

    15QDo you know if the ELIS system has

    16notice printing capabilities?

    17AI know that cases we adjudicate in ELIS

    18have notices printed.I don't know the mechanics

    19of that process.

    20QDo you know during the transition in

    21February 2016 if ELIS handled only initial DACA

    22applications or did they also handle renewal


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    1applications?

    2AI don't recall.

    3QHas SCOPS ever discontinued sending

    4renewal notices for a period of time since the

    5DACA program was initiated?

    6AOther than what we have been talking

    7about, no.

    8QSo when you were informed that -- so

    9when you were informed about the decision not to

    10rebuild the renewal notice functionality were you

    11concerned that DACA applicants might not

    12issue their -- apply for renewal notices on time?

    13MR. TYLER:Objection, vague.

    14THE WITNESS:I don't have a concern one

    15way or the other.My concern is to implement the

    16policy objectives of the administration.

    17BY MR CHEN:

    18QDid you believe -- did you believe that

    19as a result of not issuing renewal notices that

    20some DACA applicants would not renew on time?

    21MR. TYLER:Objection.Vague.Lacks

    22foundation.


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    1THE WITNESS:I don't have an opinion on

    2that.

    3BY MR CHEN:

    4QDid you have any belief that DACA

    5applicants would not be able to renew on time

    6because they did not receive renewal notices?

    7ANo.

    8QDid SCOPS take other steps to notify

    9DACA recipients about their options for renewal

    10under the ELIS system?

    11AThat's not a function of SCOPS.

    12QDo you know if USCIS took steps to

    13notify DACA recipients about renewing under the

    14ELIS system?

    15AWe have a communications component that

    16communicates on issues of how to apply, when to

    17apply, that sort of thing.And I know that there

    18is information that they post on our website, so

    19yes.

    20QDo you know if the communications team

    21issued any notices to DACA recipients about

    22renewal under the ELIS system?


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    1ANo -- I guess I'm confused about the

    2question.I thought before you were asking about

    3whether we had communicated in some way to DACA

    4holders.

    5QBesides the website do the

    6communications use any other means to communicate

    7that DACA recipients had an option for renewal?

    8MR. TYLER:Objection.Vague.

    9THE WITNESS:I don't know.

    10BY MR CHEN:

    11QDo you know who would know?

    12AOur Office of Communications.Our

    13Office of Customer Service and Public Engagement.

    14QIs that office within SCOPS or is it

    15within USCIS?

    16AThey are components within USCIS.

    17QYou mentioned earlier there would be

    18development costs to implementing renewal notices

    19under the ELIS system, correct?I'm curious, who

    20would have added the renewal notice capabilities?

    21Was that someone within SCOPS or was it an outside

    22vendor?


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    1AIt would not have been SCOPS.

    2QWould it have been an outside vendor?

    3AI'm not sure of the arrangement of how

    4the system gets programmed.It would have been

    5the responsibility of our Office of Information

    6Technology to make that happen and how they do

    7that I do not know.

    8QDo you know if they would have

    9contracted out to an outside vendor?

    10AI know that they do contract out to

    11outside vendors.I don't know how they -- whether

    12they contracted out -- you know, what they

    13contract out to different vendors or what they do

    14in-house.

    15QI want to turn now to your office's

    16implementation of the DACA termination.Are you

    17familiar with Acting Secretary Duke's September 5,

    182017 memo terminating the DACA program?

    19AYes.

    20QWhen did you first learn that the DACA

    21program would be terminated?

    22AWell, I knew that it was a campaign


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    1promise of the president.

    2QWhen did you learn of the final decision

    3to terminate the DACA program?

    4AThe final decision, when it was issued

    5on September 5.

    6QYou did not -- you didn't learn about --

    7you didn't learn that the DACA program would be

    8terminated prior to that date?

    9MR. TYLER:Objection.Vague.

    10THE WITNESS:I learned that they --

    11there was the meeting that I referenced before

    12where there were discussions about the wind down

    13of the DACA program.

    14BY MR CHEN:

    15QAt that meeting were you aware that the

    16DACA program would be terminated?

    17MR. TYLER:Objection.I will direct

    18the witness not to answer on grounds of privilege,

    19deliberative process privilege, attorney/client

    20privilege, attorney work product privilege.

    21MR CHEN:I just want to note for the

    22record that plaintiffs again object to the


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    1deliberative process privilege and the

    2attorney/client privilege instructions for the

    3same reasons as previously stated.I won't keep

    4repeating it, but that objection stands with

    5respect to all deliberative process privilege

    6instructions going forward and attorney/client

    7privilege instructions going forward.

    8BY MR CHEN:

    9QFrom whom were you made aware of the

    10decision to terminate the DACA program?

    11MR. TYLER:Vague.Are you referring to

    12the final decision?

    13BY MR CHEN:

    14QThe final decision?

    15AI learned of it from reading the memo on

    16September 5.

    17QDid you ever receive that memo prior to

    18September 5?

    19ANo.

    20QDid you even receive a draft of that

    21memo?

    22ANo.


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    1QHow did you feel about the decision to

    2terminate DACA?

    3MR. TYLER:Objection.Vague.

    4THE WITNESS:What do you mean by feel?

    5BY MR CHEN:

    6QDid you have any reaction?

    7MR. TYLER:Objection.Vague.

    8BY MR CHEN:

    9QDo you understand the question,

    10Mr. Neufeld?

    11AI don't know what you're getting at.My

    12reaction was I had to implement the direction of

    13the memo.

    14QDid you have an opinion about whether

    15the termination of DACA was a good thing?

    16MR. TYLER:Objection.Calls for a

    17personal opinion.

    18THE WITNESS:I don't have an opinion

    19one way or the other.

    20BY MR CHEN:

    21QSo you had no opinion about the ending

    22of the program you oversaw on a daily basis?


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    1MR. TYLER:Objection.Argumentative,

    2mischaracterizes testimony, vague, and you are

    3asking for a personal opinion.

    4BY MR CHEN:

    5QWere you ever consulted about the

    6implementation of the DACA termination?

    7AYes.

    8QWhen were you consulted?

    9APrior to September 5 and then at times

    10after September 5.

    11QLet's start with consultations prior to

    12September 5.When did those consultations occur?

    13AThe first meeting that I recall is the

    14one that I referenced earlier that was shortly

    15before September 5, probably the week before.

    16QAnd you said that this was an in-person

    17meeting.Is that correct?

    18AMany of us were gathered in person

    19around the table and there were as I recall two

    20participants by phone.

    21QDid you bring any documents to this

    22meeting?


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    1ANo --

    2MR. TYLER:-- Objection.Asked and

    3answered.

    4BY MR CHEN:

    5QWhat was the nature of the consultation?

    6MR. TYLER:Objection.Direct the

    7witness not to answer on grounds of the

    8deliberative process privilege, the

    9attorney/client privilege, the attorney work

    10product.

    11BY MR CHEN:

    12QDid you suggest extending the September

    135 deadline?

    14MR. TYLER:Same objection.Directing

    15the witness not to answer.

    16BY MR CHEN:

    17QDid you suggest sending notices to

    18individuals to renew?

    19MR. TYLER:Same objection.Directing

    20the witness not to answer.

    21BY MR CHEN:

    22QDid SCOPS make any preparations to


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    1change its processing procedures in anticipation

    2of the DACA termination?

    3MR. TYLER:Objection.Vague.

    4THE WITNESS:If you mean did we plan

    5for wind down before the September 5 notice, no.

    6BY MR CHEN:

    7QDid you communicate the decision to

    8terminate DACA to SCOPS employees down the chain

    9of command?

    10AI insured that down the chain of command

    11everyone was aware of the September 5 memo, yes.

    12QAnd when did you make that

    13communication?

    14AI don't recall specifically.

    15QWas that --

    16A-- It would have been on September 5,

    17but when and how I don't recall specifically.

    18QDid your office prepare any memoranda

    19concerning the implementation of the DACA

    20termination?

    21ANo, I don't believe so.

    22QDid your office prepare any other


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    1documents?

    2MR. TYLER:Objection.Vague.

    3BY MR CHEN:

    4QConcerning the implement of the DACA

    5termination?

    6MR. TYLER:Same objection.Vague.

    7THE WITNESS:I don't understand what

    8you mean by documents?

    9BY MR CHEN:

    10QFor example memoranda or reports or

    11notes?

    12MR. TYLER:Same objection.

    13THE WITNESS:I didn't prepare any

    14memorandum following the memo that came from the

    15secretary, no.

    16BY MR CHEN:

    17QDid SCOPS -- did you make any other

    18preparations for the DACA termination?

    19ANo.

    20QWere you involved in drafting documents

    21to the public about the DACA termination?

    22AI don't recall specifically -- SCOPS


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    1doesn't promulgate external messaging on any

    2topic.But it may have been that I saw drafts

    3that the Office of Communications or customer

    4service and public engagement developed.That

    5often happens and probably has happened.I don't

    6recall specifically though.

    7QDo you remember when these -- when you

    8saw these drafts?

    9ANo.

    10QDo you remember if it was prior to

    11September 5?

    12AI didn't see anything drafted on public

    13messaging prior to September 5, no.

    14QWhat were these drafts of, do you

    15remember, Mr. Neufeld?

    16AWhat were -- what drafts are we

    17referring to?

    18QYou mentioned that you saw drafts from

    19the Office of Communications?

    20ANo.I said that it is typical that

    21public messaging goes through a vetting process

    22and SCOPS is one of many components that would be


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    1included in the vetting of such messages.Most

    2likely I or members of my team were involved in

    3messaging that has happened since September 5. I

    4don't recall specifically which messages those

    5would have been.

    6QDo you recall generally what those

    7messages would have been?

    8AWell, I'm responding to your question

    9about DACA communications, so it would have been

    10about DACA communications.

    11QAnd would these drafts have -- would

    12have been website FAQs or news releases?Are

    13those the types of drafts of communications you

    14are referring to?

    15AYes.

    16QDo you remember what these documents

    17said?

    18ANo.

    19MR. TYLER:I'll object.Lack of

    20foundation.

    21BY MR CHEN:

    22QDo you know what these documents said


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    1generally?

    2MR. TYLER:Same objection.Lack of

    3foundation.

    4THE WITNESS:I don't know which

    5specific documents you are referring to.

    6BY MR CHEN:

    7QYou mentioned that other members of your

    8office would have seen these drafts of

    9communications.Who are those members?

    10AMessages relating to DACA in the vetting

    11process would normally be reviewed by Alex King,

    12branch chief responsible for the DACA portfolio.

    13My chief of staff Susan Arroyo.

    14QAnybody else?

    15ACarrie Selby the acting deputy associate

    16director.

    17QDo you know who else would have reviewed

    18these communication drafts?

    19ANo.

    20QSo prior to September 5 besides the

    21meeting that you referenced did you participate in

    22any other discussions about the termination of the


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    1DACA program?

    2ASince the beginning of the DACA program

    3we have talked about the end of the DACA program.

    4QCan you explain more?Can you explain

    5what you mean by talking about the end of the DACA

    6program?

    7AI mean that when it was stood up it was

    8understood that it was a temporary program and

    9that it would likely or maybe terminate or change

    10at some point in the future and those

    11conversations have been ongoing since June 2012.

    12QHow about from since January 20, 2018

    13when President Trump came into office and

    14September 5, besides that one particular meeting

    15you mentioned did you participate in any other

    16discussions about the potential termination of the

    17DACA program?

    18AOther than conversations with others

    19about whether it would or would not -- you know,

    20what would the president decide to do, no.

    21Speculation -- speculative conversations would be

    22how I characterize them.


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    1QMr. Neufeld, apart from the DACA

    2termination memo itself did you receive any other

    3instructions from DHS about how to implement the

    4DACA termination memo?

    5ANot that I recall.

    6QDid you receive any instructions from

    7government officials outside of DHS about how to

    8implement the DACA termination memo?

    9ANo.

    10QDid you receive any instruction about

    11how to process late initial applications received

    12after September 5, 2017?

    13ALate initial applications, yes.

    14QWhat were those instructions?

    15AThat they would be rejected.

    16QWhere in the process would they be

    17rejected?

    18AAt the lockbox.

    19QDid SCOPS receive any instruction about

    20how to process renewal applications received after

    21October 5, 2017?

    22AYes.


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    1QAnd what were those instructions?

    2AThat they would be generally rejected

    3but that we would consider requests for late filed

    4renewal requests coming from Puerto Rico or the

    5Virgin Islands.

    6QWhen you refer to generally rejected

    7were they also -- would they also have been

    8rejected at the lockbox?

    9AYes.

    10QWho provided these instructions?

    11AThe deputy and the director.

    12QAnd do you remember what form these

    13instructions came in?

    14AI remember being told verbally in

    15meetings afterwards -- you know, after September

    165.

    17QWhat were -- do you remember when these

    18meetings took place besides that they were after

    19September 5?

    20ADiscussions about how to handle late

    21renewal filings after October 5 I don't recall

    22specifically, but they happened in the few days


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    1leading up to that and then afterwards, so end of

    2September, early October.

    3QWhat about the instructions about

    4rejecting late initial applications after

    5September 5, 2017?When did you receive those

    6instructions?

    7AShortly after September 5, I don't

    8recall specifically.

    9QDo you remember if it was on the date of

    10September 5 or afterwards?

    11AI don't recall.

    12QSo was there at any point after

    13September 5 when SCOPS received late initial

    14applications but did not have any instructions

    15about how to process those applications?

    16ANo.

    17QSo what did SCOPS do with late initial

    18applications after September 5 but before SCOPS

    19received instructions about how to process them?

    20AThey are currently on hold pending

    21rejection.

    22QWere they on hold at the lockboxes?


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    1AYes.A small number of people have

    2submitted -- I don't know whether they are renewal

    3and initials.I know that for sure they include

    4initial filings that have been misfiled at --

    5directly to one or more of the service centers.

    6Rather then sending to the lockboxes they are

    7supposed to, people have sent to the wrong

    8address.

    9QAnd how were they handled?

    10AThey were initially held and then within

    11the last couple of days we gave the instruction

    12for them to be forwarded to the lockbox.

    13QAnd at the lockboxes were they then

    14subsequently rejected?

    15AI don't know whether they have processed

    16them for rejection.I think they are still on

    17hold, but I'm not sure.

    18QWere you part of any meetings in

    19which --

    20ALet me -- can I clarify?

    21QAbsolutely.

    22AI know that the lockbox is holding some


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    1late filings.I don't recall as we sit here

    2whether they are only renewal applications or if

    3they are renewal requests and initial requests.

    4QSo just to clarify, Mr. Neufeld, you are

    5saying the lockboxes are currently as of this

    6moment holding those late filings?

    7AAs of my last awareness of the issue,

    8yeah, I believe that they were holding some cases.

    9Like I said, I don't remember whether they are

    10both types of filings or just the renewals.

    11Thinking about it more I think it might just be

    12the renewals that they are holding.

    13QSo does this mean, Mr. Neufeld, that

    14immigration officers under SCOPS never saw, never

    15evaluated late initial applications received after

    16September 5, 2017?

    17MR. TYLER:Objection.Vague.

    18THE WITNESS:I think I understand.

    19Officers are not being -- they are not receiving

    20cases that were filed after September 5.

    21BY MR CHEN:

    22QDid officers receive applications


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    1filed -- renewal applications filed after October

    25, 2017?

    3ANo.

    4QYou mentioned earlier that you received

    5instructions about how to process applications

    6received after September 5 and applications

    7received after October 5.Were you in -- were you

    8part of any meetings in which these discussions to

    9formulate these instructions were made?

    10AYes.

    11QAnd can you tell me when?When those

    12meetings occurred?

    13ARelated to renewal filings?

    14QLet's start with initial applications

    15after September 5 and then we can move to renewal

    16filings.So for initial applications?

    17MR. TYLER:What's the question, please?

    18BY MR CHEN:

    19QWere you part of any meetings in which

    20the decision about how to implement -- sorry.

    21Were you part of any meetings in which

    22the decision to create the instructions for


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    1processing late initial applications was

    2formulated?

    3AYes.

    4QWhen were -- when did those meetings

    5occur?

    6AEither on September 5 or shortly

    7thereafter.

    8QDo you know who was present at those

    9meetings?

    10ANo.There have been many meetings

    11involving many people at different times.And

    12when I say that there are meetings where this was

    13discussed I don't recall any meetings being called

    14for the specific purpose of this topic.So the

    15reason I'm having trouble recalling is because

    16they're not meetings that were called solely for

    17this purpose.They're just general meetings that

    18we have at the executive level and they included

    19these discussions at different times and I don't

    20recall the specific dates.

    21QWere there immediate -- were there any

    22meetings within -- that you can recall, within the


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    1week of September 5 in which instructions about

    2how to process late initial applications were

    3discussed?

    4AThere were definitely meetings in which

    5we discussed that topic.I don't recall what

    6dates or times.

    7QDo you remember how many meetings

    8approximately there were?

    9ANo.

    10QDo you keep a calendar of these

    11meetings?

    12AWell, as I said they weren't -- they

    13weren't meetings for the purpose of discussing how

    14to handle late initial filings, so my calendar

    15wouldn't reflect that.

    16QBut --

    17AI have a calendar that has my meetings

    18on it.It only will indicate what was discussed

    19if the person who scheduled the meeting put a

    20subject on the calendar invitation.

    21QYou mentioned that this -- these

    22meetings were between members of the agency


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    1executive level.Is that correct?

    2AYes.

    3QAnd who do you mean by members of the

    4agency executive level?

    5ASo that back in September that would

    6have been the acting director, the acting deputy

    7director, the other associate directors such as

    8myself, the chief of the Office of Policy and

    9Strategy, the Office of Chief Counsel.Beyond

    10that I'm not sure.

    11QDo you remember in these meetings

    12whether you were consulted about how late initial

    13applications would be processed?

    14AI was not consulted about how we would

    15process them.

    16QDid you have any meetings regarding how

    17late renewal applications would be processed?By

    18late renewal applications I mean ones received

    19after October 5, 2017.

    20AAgain, I don't recall any meeting called

    21for that purpose.I do know that we had meetings

    22in which that was discussed.


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    1QDo you know what was discussed at those

    2meetings?

    3AYes.

    4QAnd what was the subject of those

    5discussions?

    6AWell, depending on the meeting it could

    7have been any number of things.

    8QDo you recall some examples of the

    9subjects that were discussed at those meetings?

    10AHow we would handle requests for --

    11handle filings that were received after October 5

    12coming from areas that may have been impacted by

    13the hurricanes.

    14QDo you know approximately when those

    15discussions occurred?

    16AAgain, a few days before October 5 and

    17then thereafter.

    18QWho was -- who was involved in

    19discussions about extending this October 5

    20deadline?

    21AWell, I wouldn't characterize it as

    22extending the October 5 deadline.


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    1QHow would you characterize it?

    2AHow to handle requests that were

    3received after October 5 deadline.

    4QWho was involved in these discussions

    5about how to handle applications?

    6ATracy Renaud, the acting deputy; James

    7McCament, the acting director; Kathy Nuebel,

    8Office of Chief Policy and Strategy; Craig Symons,

    9Office of Chief Counsel.

    10QSo is it true that several days prior to

    11the October 5 deadline USCIS, DHS announced that

    12it would accept late renewals from Puerto Rico and

    13the U S Virgin Islands?

    14AI believe so, yes.That we would

    15consider requests.

    16QDid SCOPS receive any renewal

    17applications filed after October 5 from Puerto

    18Rico or the U S Virgin Islands?

    19AYes.

    20QTo your knowledge about how many did

    21SCOPS receive?

    22AAgain, we don't receive them directly.


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    1They would be filed at the lockbox.I'm aware of

    2six requests that came in from Puerto Rico after

    3October 5 at the lockbox.

    4QAnd what about from the U S Virgin

    5Islands?

    6AI don't know whether we had any from the

    7U S Virgin Islands.

    8QDo you know who -- do you know who would

    9know?

    10AErnest DeStefano, Office of Intake and

    11Document Production.

    12QHow has SCOPS processed these renewals

    13from Puerto Rico or the U S Virgin Islands?

    14AThe requests are filed at the lockbox.

    15The lockbox was instructed by Tracy Renaud who is

    16now back to her regular position as the associate

    17director for management which oversees the lockbox

    18or the Office of Intake and Document Production

    19that oversees the lockbox.She gave instruction

    20to Ernest DeStefano that those, they should review

    21those late filed cases and send them to me for my

    22review with a recommendation.And so as of


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    1yesterday I made the decision to go ahead and

    2accept those six late filings.

    3QSo all six filings from Puerto Rico have

    4been accepted?

    5AI have given the instruction for them to

    6be accepted.I don't know where they are in the

    7process.

    8QAnd by giving the instruction to be

    9accepted you mean that they have been granted the

    10request for deferred action?

    11ANo, I did not mean that.

    12QWhat did you mean?

    13AI mean that the lockbox will receive

    14them and ingest them into the system for normal

    15processing.

    16QAnd so for these applications an

    17immigration officer will review these applications

    18in the same way that they reviewed applications

    19prior to September 5?

    20AYes.

    21QIs that correct?Besides your personal

    22review at the lockbox did this process differ at


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    1all from how DACA normally processes DACA

    2applications prior to September 5?

    3MR. TYLER:Objection.Vague.

    4THE WITNESS:The only processing that's

    5been done is they have been accepted at the

    6lock -- they have been received at the lockbox and

    7I have given the instruction for them to be

    8accepted and processed.

    9BY MR CHEN:

    10QMr. Neufeld, were you consulted in DHS's

    11decision to accept on a case by case basis

    12renewals from Puerto Rico and U S Virgin Islands

    13filed late?

    14ANo.I wouldn't characterize it as

    15consult.

    16QHow would you characterize it?

    17AI would characterize it as me asking

    18what we should do and receiving instruction.

    19QWhen did you ask what SCOPS should do

    20about late filed notices from Puerto Rico?

    21AWhen I became aware that there were late

    22filings.


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    1QSo you did not ask what should be done

    2with these late filings until after October 5?

    3AI was aware that the agency had

    4communicated in some way.I don't remember seeing

    5the actual communication that we would consider

    6late filed requests from Puerto Rico and the

    7Virgin Islands.I don't know -- I don't -- I

    8don't recall whether we had conversations or not

    9about how that process would work.But when they

    10were received then it became -- I needed to know

    11so that's when I asked for sure.Not saying that

    12there weren't any conversation before that, but

    13they weren't decisive if there were any.

    14QPrior to October 5 did you participate

    15in any discussions about how to handle late filed

    16applications?

    17AAs I said there were meetings in which

    18the topic of late filed applications was

    19discussed.I wouldn't necessarily call it being

    20consulted.There was awareness that that would

    21happen.

    22QAnd you participated in those meetings?


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    1AYes.

    2QDo you know if -- do you know if DHS

    3considered waiving or extended the October 5

    4deadline for other applicants outside of Puerto

    5Rico and the U S Virgin Islands?

    6AI do not know.

    7QDo you know who would?

    8AWhoever -- no, I don't know that they

    9happened so I don't know who would.

    10QIn those meetings that you just referred

    11to in which you discussed how to handle U S Virgin

    12Islands and Puerto Rico applications did you --

    13were you aware of discussions of late -- how to

    14handle late applications from other locations?

    15ANo.

    16QWere you ever aware of -- were you ever

    17aware of considering extending or waiving the

    18October deadline -- October 5 deadline for people

    19living in Houston or Florida who were affected by

    20the hurricanes?

    21ANo.

    22QWere you ever aware that extending --


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    1deadline for October 5 for those individuals was

    2ever considered?

    3ANo.

    4QDo you know why DHS did not extend the

    5October 5 deadline for other applicants besides

    6those living in Puerto Rico and the U S Virgin

    7Islands?

    8ANo.

    9QDid you ever inquire about why the

    10October 5 deadline was not extended for other

    11applicants?

    12ANo.

    13QWere you ever concerned that it was not

    14extended for other applicants?

    15MR. TYLER:Objection.Vague.

    16THE WITNESS:My only concern is to

    17understand how I'm supposed to process cases that

    18are filed.

    19BY MR CHEN:

    20QTo your knowledge how many eligible

    21individuals submitted their DACA renewal between

    22September 5 and October 5, 2017?


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    1AI don't know.

    2QDid you receive any reports about how

    3many eligible individuals submitted their DACA

    4renewal applications?

    5AI have received email messages that --

    6indicating a number that are eligible and have not

    7filed.

    8QDo you know what that number -- do you

    9recall what that number was?

    10AThe last number I saw was like 22,000.

    11QDo you remember when was that you

    12received that last communication?

    13AEither Friday or Tuesday.

    14QOf this week?

    15AOf this week, yes.And Friday of last

    16week.

    17QBetween September 25 and October 5, 2017

    18are you aware of any errors SCOPS made in

    19processing individual DACA renewals?

    20MR. TYLER:Objection.Vague.

    21THE WITNESS:I'm not aware of any

    22errors.


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    1BY MR CHEN:

    2QAre you aware of instances in which

    3SCOPS rejected applications filed in that time

    4period that should not have been rejected?

    5ANo.

    6QAre you aware of instances in which

    7applications were accepted in that time period but

    8should not have been accepted?

    9ANo.

    10QMr. Neufeld, when did you first become

    11aware that DHS was considering terminating the

    12DACA program?

    13AI've assumed that they were considering

    14that since the election.

    15QWhat was the basis of that assumption?

    16AMedia reports.

    17QBeside -- besides the media were there

    18any other indications that the DHS was considering

    19terminating the DACA program that you were aware

    20of?

    21MR. TYLER:Objection.Vague.

    22THE WITNESS:I'm --


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    1(Court reporter requested

    2clarification.)

    3THE WITNESS:What are you getting at?

    4I don't understand.

    5BY MR CHEN:

    6QWere there any indications to you

    7besides the media that DHS was actively

    8considering ending the DACA program?

    9AI have assumed that they were from the

    10beginning and I recall one sentence in a

    11conversation that Kathy Nuebel mentioned that the

    12department is -- you know, considering DACA or

    13something along those lines.

    14QWhen did you recall that this sentence

    15was said?

    16AI don't recall specifically, but I

    17would -- it has been several weeks.Like before

    18September 5.Probably in August timeframe, I

    19would imagine.

    20QWas this sentence communicated to you in

    21email?

    22ANo.


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    1QIn a conversation?

    2AYes.

    3QAnd were other people involved in that

    4conversation?

    5ANo.

    6QWhere did that conversation occur?

    7AMy office.

    8QDo you remember what else was discussed

    9as part of that conversation?

    10ANo.

    11QWas there anyone else present at the

    12time?

    13ANo.

    14QSo prior to September 5, 2017 were you

    15aware of any meetings discussing the termination

    16of the DACA program?

    17MR. TYLER:Objection.Asked and

    18answered.

    19BY MR CHEN:

    20QYou can still answer the question,

    21Mr. Neufeld.

    22ACan you repeat the question?


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    1QPrior to September 5 were you aware of

    2any meetings discussing the decision to terminate

    3the DACA program?

    4AI was aware of the one meeting that I

    5attended.

    6QWas -- were there other meetings that

    7you were aware of?

    8ANo.

    9QWere you aware of meetings that you did

    10not attend?

    11MR. TYLER:I'll object on grounds of

    12vagueness.

    13THE WITNESS:I'm not aware of specific

    14meetings.I have an assumption that there were

    15conversations happening at the department level.

    16BY MR CHEN:

    17QWere those conversations ever

    18communicated to you?

    19ANo.

    20QWhat was the basis of that assumption?

    21AMedia reports.

    22QWere you ever consulted about --


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    1specifically about setting the October 5, 2017

    2deadline for renewal applications?

    3AWhat was the question again?

    4QWere you ever consulted specifically

    5about the October 5 -- the decision to set the

    6October 5 deadline?

    7AI don't think so.

    8QDo you know why the October 5 deadline

    9was set?

    10ANo.

    11QWere you ever consulted about the

    12decision to set the March 5, 2018 deadline?

    13AI don't believe so.

    14QDo you know why that date was set?

    15AI don't.

    16QDid you ever have discussions with other

    17government officials about the -- let's start with

    18are you aware of the letter from the Texas

    19Attorney General's Office sent on June 29 about

    20requesting that the government rescind the DACA

    21program?

    22ANo.Had a general awareness that there


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    1were issues going on with the court.I don't

    2recall specifically a letter being issued by a --

    3Q-- Are you aware that the state of Texas

    4sent a letter asking the federal -- asking the

    5Department of Justice and DHS to terminate the

    6DACA programs?

    7ANo.

    8QMr. Neufeld, were you aware of -- were

    9you aware that the state of Texas had requested

    10that the Department of Justice and the Department

    11of Homeland Security terminate the DACA program?

    12MR. TYLER:I'll object to counsel's

    13characterization of the Texas letter.

    14THE WITNESS:I'm aware that in the

    15litigation there basically was a threat made that

    16DACA would be added to the litigation if the DACA

    17program had not been terminated by a certain

    18deadline and I don't recall what it was.

    19BY MR CHEN:

    20QSo did you discuss that threat as you

    21characterized it with other individuals in DHS?

    22AI'm sure it was mentioned.We didn't


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    1discuss in a meaningful way what that -- how that

    2should impact my operations.

    3QDid you discuss it in any other

    4capacity?

    5ANo.What I would say is there was

    6speculation in conversations I had with colleagues

    7about whether that would back prompt something

    8from the department or the president.

    9QDid you have other conversations?

    10ANo.

    11QAre you aware of Attorney General

    12Session's letter recommending to Secretary Duke --

    13Acting Secretary Duke, recommending that DACA be

    14terminated?

    15AYes.

    16QDid you ever have discussions about that

    17letter with other individuals in DHS?

    18MR. TYLER:I'll object to the extent

    19that the question calls for a revelation of the

    20consultive discussions, discussions with counsel

    21in regard to that subject matter.

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    1BY MR CHEN:

    2QSo were you -- did you have discussions

    3with attorney general -- about the -- about the

    4letter with other individuals in DHS?

    5MR. TYLER:I will try to be clear with

    6my objection.To the extent that calls for an

    7answer about what might have occurred at the

    8meetings that Mr. Neufeld has testified about.If

    9it calls for a response that would inform you of

    10the subject matter of that meeting, what was

    11discussed, what factors were discussed I'm

    12directing the witness not to answer that question.

    13BY MR CHEN:

    14QTo be clear, I'm asking specifically

    15whether you have or have not discussed that, the

    16letter with individuals within DHS?

    17MR. TYLER:Same objection applies.

    18MR. WISHNIE:So that the record is

    19clear between objection and instruction, you are

    20instructing him not to answer the yes or no

    21question?

    22MR. TYLER:I'm asking to the extent


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    1that counsel is seeking or his question seeks

    2information about what was discussed at this

    3consultative meeting that Mr. Neufeld has

    4testified in which counsel were present and which

    5the termination of DACA was discussed, if that

    6touches upon that meeting, that discussion then

    7I'm directing him not to answer the question.If

    8you are asking did he have water cooler

    9conversations with colleagues at SCOPS about the

    10AG's letter he can respond to that question.

    11BY MR CHEN:

    12QDid you ever discuss the termination of

    13DACA with Acting Secretary Duke?

    14ANo.

    15QDid you ever discuss the termination of

    16DACA with acting director of USCIS James McCament?

    17AYes.

    18QWhen did you have these discussions?

    19AAgain, the ending of DACA has been a

    20topic of conversation since DACA was instituted

    21and James McCament has been involved in a

    22leadership position of some sort for about that


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    1whole process, that whole time period.

    2QWhen did James McCament become acting

    3director of USCIS?

    4AI don't remember the exact timeframe.

    5It was earlier this year.

    6QDid you have -- did you have meetings

    7with Mr. McCament about discussing the termination

    8of the DACA program?

    9AYes.

    10QSo where -- when did those meetings

    11occur?Let's start with any specific meetings

    12that you remember?

    13AProbably the most recent meeting would

    14have been my biweekly check-in with him in which

    15the topic of the DACA wind down was discussed.

    16QWere there meetings prior to September

    175, 2017 in which you discussed the decision to

    18terminate DACA with Mr. McCament?

    19AYes.

    20QLet's start from that timeline.Can

    21you -- what was -- let's start with the specific

    22meetings you might remember with Mr. McCament.Do


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    1you know when those meetings occurred?

    2AWell, the most significant meeting where

    3it was talked in a real way about something that

    4was likely or possible to happen was the meeting

    5that I have already referenced.It happened the

    6week before the announcement.During that Labor

    7Day weekend there were telephone conversations

    8about that topic as well.

    9QAnd who was part of those -- who were

    10part of those telephone conversations?

    11AThe same individuals that I referenced

    12as being in the meeting that took place the week

    13before.

    14QAnd were these follow up conversations

    15from that first meeting that you mentioned?

    16AYes.

    17QWhat was the subject of discussion of

    18those meetings?

    19AThe wind down of DACA.

    20QSo at that point had you been aware that

    21DHS had already decided to terminate the DACA

    22program?


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    1MR. TYLER:Objection.Vague.

    2Argumentative.

    3THE WITNESS:I will -- it needs to be

    4clear that I didn't know about a decision, a final

    5decision until the final decision was issued on

    6September 5.

    7BY MR CHEN:

    8QSo when you referenced -- when you

    9characterized discussion about the wind down of

    10the DACA program what did you mean by wind down?

    11MR. TYLER:I'm going to direct the

    12witness not to answer.He's obviously referring

    13to the consultative process to which we've

    14objected before.So I'm going to direct the

    15witness not to answer on the same privileges;

    16attorney/client, deliberative process privilege,

    17attorney work product privilege.

    18BY MR CHEN:

    19QSo besides the one meeting that you

    20referred to a week before September 5 as well as

    21the phone conversations were there any other

    22meetings in which you and Mr. McCament were


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    1present about the decision to terminate the DACA

    2program?

    3MR. TYLER:Again, objection.Vague.

    4THE WITNESS:There wasn't a decision

    5until September 5 as far as I know.And so I

    6wouldn't characterize any meeting before then as

    7being about the decision, the final decision.

    8BY MR CHEN:

    9QLet me rephrase that.Were you aware of

    10any -- do you remember any meetings between you

    11and Mr. McCament besides the two conversations

    12that you mentioned about the consideration to

    13terminate the DACA program?

    14AI remember not specific meetings. I

    15remember many references to the possible

    16termination of DACA repeatedly prior to September

    175, but not meetings for the purpose of discussing

    18how to do that or what options might be or

    19anything along those lines.

    20QDid you ever discuss consideration of

    21the DACA termination with anyone outside of DHS?

    22MR. TYLER:Objection.Vague.


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    1BY MR CHEN:

    2QDo you understand the question.

    3Mr. Neufeld?

    4AYes.And I can answer it, yes.

    5QDid you discover -- did you ever discuss

    6the consideration of the termination of DACA

    7within the Department of Justice?

    8AI don't know whether the individual that

    9I referenced previously as being on the

    10telephone -- I don't know whether he worked for

    11DOJ or worked for the department or any other. I

    12know he was a government employee, but I don't

    13know whether he was DHS or DOJ or somebody else.

    14QWas there anyone else potentially within

    15DOJ that -- or you believe within DOJ that you

    16discussed considering the termination of DACA?

    17ANo.

    18QDid you ever discuss the consideration

    19to termination DACA with anyone within the White

    20House?

    21ANo.

    22QSo you previously said that you had


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    1discussed the consideration of termination of DACA

    2with people outside of DHS.Who are those

    3individuals?

    4MR. TYLER:Objection.I believe you

    5mischaracterized testimony.

    6THE WITNESS:I have had conversations

    7since the beginning of DACA about the DACA program

    8and its likely end at some point with neighbors,

    9relatives, many people.

    10BY MR CHEN:

    11QDid you discuss the term -- the

    12considerations to terminate DACA with individuals

    13within the government besides those that you just

    14previously mentioned?

    15AAgain, I have numerous colleagues and

    16the possibility of the termination of DACA was

    17widely discussed, but not in a planning sense.

    18More in terms of its news, it would affect our

    19operations and just a topic of conversation like

    20that.Not for planning purposes or deliberating

    21how to do it.

    22QWere the reasons for the DACA


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    1termination communicated to you?

    2AIn the memo.

    3QWere they communicated to you in any

    4other way?

    5MR. TYLER:I will again object to the

    6extent that you are trying to delve into

    7consultative conversations that the witness has

    8already testified to in which amongst other

    9participants counsel were present.I going to

    10direct that he not answer that question on grounds

    11of privilege.Same privileges that I have been

    12citing to.

    13BY MR CHEN:

    14QJust to be clear, Mr. Neufeld, I'm

    15simply asking whether the reasons were

    16communicated to you or not, besides those in the

    17memo, not the contents of those reasons.

    18MR. TYLER:I'll object on vagueness. I

    19don't know what time we are now talking about.

    20BY MR CHEN:

    21QMy question applies to any time whether

    22the reasons for the DACA termination?


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    1AHow about this.I'm not aware of any

    2other reasons besides those that are stated in the

    3memo.

    4QDid you ever inquire into the reasons

    5why DACA was terminated?

    6ANo.It was clear in the memo.

    7QDid you ever inquire whether there were

    8other reasons besides those in the memo?

    9ANo.

    10QBesides the memo were there reasons for

    11the October 5 deadline ever communicated to you?

    12ANo.

    13QAnd besides the memo were there reasons

    14for the March 5 deadline ever communicated to you

    15--

    16A-- No.

    17QAnd did you ever inquire into the

    18reasons other than those in the memo?

    19ANo.

    20QAbout those deadlines?

    21ANo.

    22MR. WISHNIE:Why don't we go off of the


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    1record for a moment?

    2MR. TYLER:Off record.

    3THE VIDEOGRAPHER:We are going off of

    4the record.This is the end of media unit

    5number 2.The time is 11:59 p.m.

    6(The proceeding recessed from 11:59 a.m.

    7to 12:57 p.m.)

    8THE VIDEOGRAPHER:We are back on the

    9record.This is the beginning of media unit

    10number 3 and it's 12:57 p.m.

    11BY MR CHEN:

    12QMr. Neufeld, I wanted to circle back to

    13the DACA application process a little bit prior to

    14September 5, 2017.In your experience as

    15associate director of SCOPS are you aware of how

    16many DACA applicants apply for renewal, how many

    17file for renewal after they fall out of status, in

    18other words after their applications expire?

    19AI don't know the number.

    20QDo you know generally whether it is --

    21what percentage or how many individuals?

    22AI know -- just to be clear you are


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    1asking about how many people apply for renewal

    2after their original period expired?

    3QYes.

    4AIt has fluctuated.I have seen reports.

    5I don't remember the specifics of them.I know

    6that it is at times it has been -- I think it has

    7been as high as maybe 60 percent that were filing

    8within -- you know, within, ahead of time.And

    9then other times it has been much less.In other

    10words where the majority of our receipts in a

    11particular month might be from folks where their

    12status had already expired.

    13QAnd what is -- what are these reports

    14that you are referring to?

    15AThese are weekly reports that are

    16produced by a contractor who no longer works with

    17us but used to work with us.And now it is

    18somebody in my shop.

    19QAnd they -- these are -- are they

    20updates about the number of DACA applicants, DACA

    21applications that are being processed by SCOPS?

    22AYes.It's -- it's a weekly report


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    1that -- on renewals and initials and it provides a

    2bunch of different data points with respect to the

    3receipts and pending cases.I don't think there

    4is anything on it that is about -- you know, those

    5who have not applied, that sort of thing.It is

    6about the case work that we have either received

    7and have pending or recently completed.

    8QWho are those -- so you said previously

    9it used to be an independent contractor.Do you

    10remember the name of the contractor?

    11AOh, it's been different people in that

    12role.

    13QIs it -- when -- and then you said has

    14transitioned to someone in your office.When did

    15that transition occur?

    16AWe ended the contract and took that work

    17in-house probably maybe two months ago, month and

    18a half, something like that.

    19QAnd who in your -- who in SCOPS had been

    20producing these reports after transitioning

    21in-house?

    22AThe name of the individual, I don't


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    1recall who it got assigned to.I know that it

    2comes under Bob Baco (phonetic) who is the branch

    3chief for the team that compiles all of our

    4reports.

    5QDo you know what office that's within in

    6SCOPS or is there not a particular office that

    7responsibility belongs to?

    8AI don't remember what the title of the

    9branch is.We have a branch that is responsible

    10for pulling reports together out of the systems

    11that we process cases in.

    12QAnd are you aware of any data about the

    13number of DACA renewal applicants that file their

    14renewal notices within two weeks of the deadline

    15for when their statuses would expire?

    16AI have not to my recollection seen any

    17reports like that.

    18QDo you know generally how many people --

    19how many DACA applicants usually file for renewal

    20within two weeks or within a few weeks before

    21their application, their statuses expire?

    22AI don't know.


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    1QSo the reports about individuals who

    2file for renewal applications after their statuses

    3expire, was that information ever known to DHS

    4leadership?

    5AI didn't pass it on to them.I shared

    6those weekly reports, not necessarily every week

    7but fairly frequently with my leadership, the

    8deputy, and the director.And I'm not sure who

    9they may have passed that along to.

    10QAnd were you sharing these reports

    11around -- did you ever stop sharing these reports?

    12AYes.But only for a short period of

    13time.

    14QBut -- so, have you been sharing these

    15reports with DHS leadership or the leadership that

    16you specifically mentioned up until September 5,

    172017?

    18AYes.

    19QRegarding the DACA termination and the

    20decision to termination DACA were you ever

    21consulted about the feasibility of the October 5

    22deadline?


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    1MR. TYLER:Objection.Vague.

    2THE WITNESS:If by consultation you

    3mean operationally -- I guess that would be my

    4question.What do you mean by feasibility?

    5BY MR CHEN:

    6QBefore September 5 did anyone from DHS

    7leadership ask you whether the -- ask whether the

    8October 5 deadline would be feasible?

    9MR. TYLER:I'll object.Vague.

    10THE WITNESS:It's still kind of back to

    11what you mean by feasible.

    12BY MR CHEN:

    13QDid anybody ask whether it would be

    14possible for your office to process renewal

    15applications who were eligible to be renewed by

    16October 5?

    17ANo.

    18QDid anyone inquire into the operational

    19difficulty of or the operational difficulty about

    20processing those renewal applications by October

    215?

    22MR. TYLER:Object.Assumes facts not


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    1in evidence.

    2THE WITNESS:No.

    3BY MR CHEN:

    4QDid anybody consult you about the

    5feasibility of the March 5 deadline?

    6ANo.

    7QSo after September 5 how many renewal,

    8late -- sorry.

    9After October 5, 2017 how many late

    10renewal notices to your knowledge did the USCIS

    11receive?

    12MR. TYLER:Objection.Vague.

    13THE WITNESS:Do you mean how many

    14requests were filed after the deadline?

    15BY MR CHEN:

    16QI'm sorry, yes.So renewal requests.

    17How many -- to your knowledge how many were filed

    18after the renewal deadline on October 5?

    19AI don't know for certain.I believe

    20that I have heard the number 4,000 have been filed

    21after.

    22QAnd where did you hear that from?


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    1AI think from Tracy Renaud.It was when

    2she was -- well, we have had this transition again

    3where she used to be our acting deputy and now she

    4is the associate director for management.But

    5either way she would be over the Office of Intake

    6and Document Production.She is the one I think

    7who has mentioned that number as the number that

    8had been -- come in --

    9QAnd just --

    10ASince October 5.

    11QAnd just to clarify, from October 5

    12until what date did you hear that this number was

    13for?

    14ALast week sometime.

    15QDo you know about how many late renewal

    16applications were from the state of Texas?

    17ANo.

    18QOkay.Do you know how many applications

    19would have been from the state of Florida?

    20ANo.

    21QDo you know who might know this

    22information?


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    1APerhaps the Office of Intake and

    2Document Production.

    3QMr. Neufeld, you stated before that you

    4began your role as associate director of SCOPS

    5around 2010.Is that correct?

    6AThat's correct.

    7QAnd the DACA program was implemented in

    82012.Is that correct?

    9AYes.

    10QSo did you hold your current position

    11when DACA was first implemented?

    12AYes.

    13QWere you involved in this decision to

    14initiate the DACA program?

    15ANo.

    16QWere you involved in the implementation

    17of the DACA program?

    18AYes.

    19QWhat was the nature of your involvement

    20in that implementation?

    21AUltimately I oversee the operations that

    22adjudicate those benefit requests.In the initial


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    1stand up of the program I wasn't involved in

    2deciding whether or when to stand it up.But when

    3the memo came out we had 60 days to stand it up

    4and I was part of the management team that

    5collectively worked out the process that we would

    6employ.

    7QDid you ever -- were you ever consulted

    8about the decision to start to initiate the DACA

    9program prior to its initiation?

    10ANo.

    11QDo you remember if before -- do you

    12remember if around 2010 you co-authored a memo to

    13the director of USCIS recommending that DHS grant

    14deferred action to certain undocumented

    15immigrants?

    16AI remember not co-authoring that memo.

    17QYou remember specifically not

    18co-authoring that memo?

    19AYes.

    20QDo you know then why your name is on it?

    21ABecause whoever drafted it put my name

    22on it.


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    1QDid you have any involvement in the

    2creation of that memo?

    3ANo.

    4QDo you remember -- do you know why

    5whoever drafted it put your name on that memo?

    6ANo.

    7QAre you aware of the contents of that

    8memo at all?

    9AYes, but I've forgotten most of it.But

    10I'm aware.

    11QWhat do you remember from that memo?

    12AIt enumerated many options for the

    13administration to consider with respect to policy

    14objectives that they had.

    15QAnd what were some of the options, do

    16you remember?

    17ASomething along the lines of the DACA

    18program was referenced.I don't think it was

    19called DACA.But deferred action for childhood

    20arrivals -- not called that, but I think that was

    21in there.There was an option to embrace some

    22court decisions saying that TPS -- a grant of


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    1temporary protected status would allow for folks

    2to adjust status even if they had entered

    3illegally.

    4QDid the memo site any benefits to the

    5grant of deferred action to these young

    6immigrants?

    7AI don't remember.

    8QDid you authorize that memo?

    9ANo.

    10QDid that memo ultimately recommend that

    11DHS should grant deferred action to certain young

    12immigrants?

    13AI don't remember.That memo was a

    14draft, is the important thing to keep in mind.

    15QIs it your understanding that there are

    16policy benefits to the DACA program?

    17MR. TYLER:Objection.Vague.Asking

    18for personal opinion.

    19BY MR CHEN:

    20QYou can still answer the question,

    21Mr. Neufeld.

    22AI'm aware that the people who decided to


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    1institute it felt that there were benefits in

    2doing so.

    3QWhat do you think?

    4MR. TYLER:Same objection.Vague.

    5Personal -- asks for personal opinion.

    6THE WITNESS:Are you really asking my

    7personal opinion about DACA?

    8BY MR CHEN:

    9QI'm interested in what you think about

    10the policy benefits of the DACA program?

    11AI think that it is unclear what

    12ultimately the benefits are.Clearly it benefits

    13individuals who receive it for the short run. I

    14haven't formed an opinion on whether it is good

    15for the country or not.

    16QDo you know if these -- the benefits

    17that you said other people had considered were

    18considered in the decision to terminate the DACA

    19program?

    20MR. TYLER:I'm sorry.Could you repeat

    21that question?

    22


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    1BY MR CHEN:

    2QDo you know if the benefits that you

    3were aware of, were they considered in the

    4decision to terminate the DACA program?

    5MR. TYLER:Objection.It's vague.

    6Lack of foundation.

    7THE WITNESS:I don't know what was

    8considered in the termination of the program.

    9BY MR CHEN:

    10QIn your tenure as associate director of

    11SCOPS are you aware of any documents of DHS

    12concerning the legality of the DACA program?

    13AI'm aware of the Sessions letter or memo

    14or whatever it was that cited that.

    15QAny other documents that you are aware

    16of?

    17ANo.

    18QAre you aware of any documents produced

    19by the Department of Justice about the legality of

    20the DACA program?

    21ANo.

    22QAre you aware of any documents produced


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    1by the White House about the legality of the

    2program?

    3ANo.

    4QAre you aware of any communications

    5between DHS and the state of Texas related to the

    6termination of the DACA program?

    7MR. TYLER:Objection.Vague.

    8THE WITNESS:I'm not aware of any

    9communication between the department and the state

    10of Texas.

    11BY MR CHEN:

    12QWhat about the state attorney general of

    13Texas?

    14MR. TYLER:Same objection.

    15THE WITNESS:I don't have visibility to

    16communications between the department and the

    17state of Texas, the attorney general.

    18BY MR CHEN:

    19QIn any communications about the DACA

    20termination has anyone said anything about

    21immigrants that was offensive?

    22ANo.


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    1QYou mentioned previously that you have

    2spoken with acting director of the USCIS James

    3McCament about the DACA termination.Correct?

    4AYes.

    5QIn those conversations has he ever

    6referred to DACA recipients as criminals?

    7AAs a population, no.

    8QHas he ever referred to individual DACA

    9recipients as criminals?

    10MR. TYLER:Objection.Vague.

    11THE WITNESS:I will say that all of us

    12who are managing the program are aware that some

    13applicants are criminals and we have terminated

    14DACA -- people with DACA because of criminal

    15activity and that has definitely been discussed.

    16BY MR CHEN:

    17QHas he ever suggested that DACA

    18recipients don't deserve to be in this country?

    19ANo.

    20QDo you understand the term racial slur?

    21AAs is commonly meant, yes.

    22MR. TYLER:I'll still object on grounds


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    1of vagueness.

    2BY MR CHEN:

    3QHas he ever used a racial slur in these

    4conversations?

    5ANo.

    6QHas he ever referred to DACA recipients

    7as a population by race?

    8ANo.

    9QHas he ever referred to individual DACA

    10recipients by race?

    11MR. TYLER:Objection.Vague.

    12THE WITNESS:When there are discussions

    13about particular cases where the individual is

    14from might be part of the facts that are

    15considered -- not facts that are considered, but

    16we would know that somebody is from Mexico or from

    17wherever in discussing that.

    18BY MR CHEN:

    19QAnd has he ever mentioned reasons for

    20terminating DACA besides the legality of the DACA

    21program?

    22ANo.


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    1QAnd you mentioned previously that you

    2have been in meetings and conversations with Gene

    3Hamilton about the DACA program.Is that correct?

    4AYes.

    5QAnd so, has he ever referred to DACA

    6recipients as criminals?

    7MR. TYLER:I'll object again to the

    8extent he has identified Mr. Hamilton as having

    9taken part in this meeting that the substance of

    10which we are objecting to on three privileges.So

    11to the extent you are asking him to go back to

    12that meeting and report what was said by whom I'm

    13going to object on grounds of deliberative process

    14privilege, attorney/client privilege, and attorney

    15work product privilege.

    16MR. WISHNIE:And you are also going to

    17instruct the witness?Is that right?I want to

    18make a clear record here for the court.

    19MR. TYLER:-- Yes.

    20BY MR CHEN:

    21QOutside of that meeting, same question,

    22have you heard Mr. Hamilton refer to DACA


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    1recipients as criminals?

    2ANo --

    3MR. TYLER:-- Objection.Lack of

    4foundation.You can answer.

    5THE WITNESS:No.

    6BY MR CHEN:

    7QHas Mr. Hamilton ever suggested that

    8DACA recipients do not deserve to be in this

    9country according to your -- to your knowledge?

    10MR. TYLER:Objection.Lack of

    11foundation.

    12THE WITNESS:No.

    13BY MR CHEN:

    14QTo your knowledge has Mr. Hamilton ever

    15used a racial slur to refer to DACA recipients?

    16ANo.

    17QAnd to your knowledge has he ever

    18referred to DACA recipients as a population by

    19race?

    20ANo.

    21QAnd to your knowledge has Mr. Hamilton

    22ever mentioned reasons to terminate DACA besides


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    1the legality of the DACA program?

    2MR. TYLER:Object.I will direct the

    3witness not to answer if this question elicits

    4conversations that took place in this meeting.

    5BY MR CHEN:

    6QTo your knowledge outside of the

    7meeting?

    8ANo.

    9MR. WISHNIE:Let's just have a moment.

    10We are just about done.We can stay on the record

    11for a moment.

    12BY MR CHEN:

    13QI want to return just really quickly to

    14the late filed applications after October 5.So

    15you mentioned that there were six applications

    16filed late from Puerto Rico.Is that correct?

    17AThat's correct.

    18QYou also mentioned that you had approved

    19all six or accepted is the term that you used?

    20ADirected that they be accepted.

    21QYou directed that they be accepted.And

    22did you use any criteria -- what criteria did you


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    1apply to evaluate whether they should be accepted?

    2AWhether or not the hurricane that

    3impacted Puerto Rico played a role in preventing

    4the timely filing.

    5QAnd you concluded that it had played

    6some role in the filing of these six applications.

    7Is that correct?

    8AYes.

    9QHow did you come to that conclusion?

    10AFive of them were postmarked shortly

    11before October 5 and it was reasonable to conclude

    12that the hurricane likely impacted the timely

    13delivery -- you know, that they would be received

    14before October 5.The other one was filed shortly

    15afterward and as I recall the requester stated

    16that the hurricane had impacted them getting it

    17timely filed.

    18QAnd you had also mentioned that after

    19October 5 you had -- SCOPS had received about

    204,000 late file notices.Is that correct?

    21ANo.What I said is that Tracy Renaud

    22indicated to me that it was approximately 4,000


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    1that had been filed at the lockbox.

    2QDo you know if those 4,000 were all

    3rejected?

    4AI don't know whether they have in fact

    5been rejected or if they have been flagged for

    6rejection but not yet processed.

    7QDo you know if SCOPS or USCIS plans to

    8reject those 4,000 applications?

    9AYes, that is the current plan.

    10QDo you know if the October 5 deadline

    11caused more applications than usual between the 30

    12day window of October 5 -- sorry, September 5 and

    13October 5?

    14ANo, I don't.

    15QDo you know how many usually -- how many

    16applications, renewal applications are usually

    17filed within a 30-day period?

    18AI do not.I see reports but I don't

    19remember what the numbers are.

    20QAnd would those -- are these reports

    21that you are referring to the same reports that

    22you mentioned -- mentioned before updating you


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    1about the work of SCOPS?

    2AYes.

    3QDid the October 5 deadline cause any

    4operational difficulties at SCOPS?

    5MR. TYLER:Objection.Vague.

    6THE WITNESS:I can answer to the extent

    7that the deadline is a deadline, is a filing

    8deadline.And so there aren't any impacts from

    9the filing deadline that we would experience in

    10service in our operations.

    11BY MR CHEN:

    12QDid the number of applications that came

    13in between -- within that time period cause any

    14operational difficulties?

    15ANo.

    16QAnd finally with the 4,000 notices that

    17Ms. Renaud let you know about that was filed after

    18October 5, do you know if SCOPS is considering the

    19filing -- the postmark date as a reason to

    20consider these applications on a case by case

    21basis?

    22AIt's not a SCOPS's decision.Lockboxes


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    1are the ones that handle it.And what they do

    2comes from direction that they receive through the

    3Office of Intake and Document Production.But all

    4of that is just reflective of the instruction that

    5the department or USCIS policy or decision on

    6that.And all of that is to say the -- it's a

    7long way of saying that they are not considering

    8postmarks.It has to be physically received by

    9the filing deadline.

    10MR CHEN:Okay.Nothing further from

    11Batalla Vidal plaintiffs.

    12MR. TYLER:Going off of the record for

    13change of counsel.

    14THE VIDEOGRAPHER:We are going off of

    15the record.The time is 1:23 p.m.

    16(Whereupon, proceedings recessed from

    171:23 p.m. to 1:26 p.m.)

    18THE VIDEOGRAPHER:We are back on the

    19record.The time is 1:26 p.m.

    20EXAMINATION ON DEFENDANTS

    21BY MS. KHAN:

    22QHi, Mr. Neufeld.My name is Sania Khan.


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    1I'm from the New York State Attorney General's

    2Office and I represent the plaintiff states which

    3comprises 17 states that are part of the New York

    4v. Trump litigation which is being heard alongside

    5the Batalla Vidal litigation.But you don't have

    6to worry about that.

    7So I just have a few questions for you

    8today.The first question is how would you

    9describe your three most important job duties?

    10AWell, they're all related.I oversee

    11the operations, service center operations and so I

    12make sure that the group of people that work in

    13the service centers have what they need to

    14effectively do their jobs.I'm also responsible

    15to make sure that they are performing their work

    16with a high degree of accuracy and quality.And

    17to the extent possible that we are making timely

    18decisions for those who file.

    19QOkay.Who those -- for those who file

    20DACA or generally?

    21AFor everything.

    22QOkay.So in the context of accuracy


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    1would efficiency be part of this operational duty?

    2AYes, we need to be efficient so that we

    3can make the best use of the resources that we

    4have so that we can timely process requests.

    5QHow do you -- how do you become more

    6efficient?

    7AThrough constant review of our processes

    8and thinking of ways to be more efficient.I hate

    9to use the same word, but -- you know, ways that

    10we can achieve the same thing with less of an

    11investment of the cost or resources.

    12QSo if you could describe to me in a very

    13practical sense how those analyses are done to

    14become more efficient?

    15MR. TYLER:I'll object.It calls for a

    16narrative answer.You can break it down, please.

    17BY MS. KHAN:

    18QDo you -- do you create analyses with

    19regard to the efficiency of -- of the operations?

    20ANo.We have various ways of looking at

    21efficiency.

    22QWhat are those ways?


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    1AThat primary way is to look at the

    2number of cases that are completed and the

    3investment of officer hours that was required to

    4achieve that number of completions.

    5QSo in the context of -- sorry.Are we

    6still on the record?Okay.Sorry.

    7So in the context of DACA specifically

    8how did you measure -- how did you measure

    9efficiency of the implementation of the program?

    10AFrom an efficiency perspective again, it

    11was what level of resources were invested to

    12achieve the completions that we did.

    13QWere there any other sort of operational

    14measurements done on the implementation of DACA?

    15MR. TYLER:Objection.Vague.

    16BY MS. KHAN:

    17QYou can still answer it.

    18ACan you repeat the question?

    19QSure.Were there any operation -- on

    20the operational measurements or metrics used on

    21the implementation of DACA?

    22ACertainly.So that weekly report that I


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    1discussed previously gives a lot of like I said

    2different data points.And among them are -- is

    3an identification of the number of cases and

    4waiting for a particular action and how long they

    5have been waiting for that action to occur.

    6QAre there any -- are there any analyses

    7or data collection done -- strike that actually.

    8Is there any data collection done as to

    9the demographics of the DACA applicants?

    10MR. TYLER:Objection.Vague.

    11BY MS. KHAN:

    12QYou can answer.

    13AI think I can answer this way.That the

    14office -- let me get this straight.The Office of

    15Performance and Quality produces -- I think it's a

    16quarterly report that gives some demographic

    17characteristics of the filing population.

    18QWho sees that quarterly report?

    19AIt's published on the website.

    20QSo I'm going to go down a list of

    21specific types of data and I just want to know if

    22any of these types of data were ever compiled by


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    1your team.So specifically were there any -- was

    2there any data or analyses done as to how many

    3DACA grantees are federal government employees?

    4ANot by my team.

    5QWas there any data analyses done as to

    6how many DACA grantees are small business owners?

    7ANot by my team.

    8QWas there any data analyses compiled as

    9to the average income of DACA grantees?

    10ANot by my team.

    11QThe same question for how many DACA

    12grantees are home owners?

    13ANot by my team.

    14QHow many DACA -- the same question for

    15how many DACA grantees are in the military?

    16ANot by my team.

    17QSame question for DACA grantees who are

    18doctors?

    19ANot by my team.

    20QSame question for DACA grantees who are

    21teachers?

    22ANot by my team.


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    1QWas there any analysis done as to the

    2impact of the recision of DACA on the operational

    3aspect of your -- of what you oversee?

    4MR. TYLER:Objection.Vague.

    5BY MS. KHAN:

    6QYou can still answer.

    7AI don't -- can you restate?

    8QYeah, I can restate it.So were there

    9any analyses done as to the economic impact of the

    10rescission of DACA by your team?

    11MR. TYLER:Same objection.Vague.

    12THE WITNESS:Economic impact on what?

    13BY MS. KHAN:

    14QOn your -- on the operational aspect of

    15your team?

    16MR. TYLER:Still vague.Objection.

    17BY MS. KHAN:

    18QOkay.Let me start over.So --

    19AMaybe I can say it this way.I don't do

    20economic analysis of the costs of the programs

    21that we administer.That would be done by the

    22chief financial officer.


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    1QRight.I apologize.I think this is --

    2this is on me.The economic -- so you talked

    3earlier about the costs of the database change,

    4the costs of creating a new system for renewal

    5notices.Is that correct?

    6AYes.

    7QOkay.So would you measure that as an

    8economic cost in the context of the operational

    9system of the implementation of DACA?

    10AI wouldn't.Like I said, ultimately the

    11CFO would look to all of the costs of

    12administering the program.

    13QSo what analyses were done with regard

    14to the DACA program?

    15MR. TYLER:Objection.Lack of

    16foundation.Vague.

    17BY MS. KHAN:

    18QYou can still answer.

    19AYeah, but I don't understand what you

    20are asking.

    21QOkay.That's a valid point.Were there

    22any analyses done as to the efficacy of DACA --


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    1strike that.

    2Give me one second.

    3So were you ever questioned about the

    4potential operational impact of the termination of

    5DACA?

    6MR. TYLER:Objection.Vague.

    7BY MS. KHAN:

    8QYou can still answer if you understand

    9it.

    10AI don't know what you mean by

    11operational impacts.

    12QHow it would -- I'm asking were you ever

    13asked about how the recision of DACA would impact

    14your job, for example?

    15ANo.

    16QOkay.Were you asked about how it would

    17impact the service centers?

    18ANo.

    19QWere you asked about how the recision of

    20DACA would impact anyone that you -- that you

    21supervise?

    22MR. TYLER:I'll object on the grounds


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    1of vagueness.

    2THE WITNESS:I was not asked about how

    3ending of DACA would impact the people that I

    4supervise.

    5BY MS. KHAN:

    6QOkay.Moving on.Are you aware of the

    7information sharing policies with regard to DACA

    8applications and grantees?

    9AI'm aware that there are some. I

    10don't -- I don't know the ins and outs

    11specifically what is allowed and what is not

    12allowed.

    13QWhat are you aware of?

    14AThat there is a -- somewhere near where

    15the requester signs there is a statement that

    16spells out what the policies are.

    17QAnd were you ever asked about those

    18policies when they were being formulated?

    19MR. TYLER:Objection.Vague.

    20THE WITNESS:I wasn't asked about them,

    21no.There were discussions early on in that 60

    22day period, again, as to what that language should


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    1be.I don't recall specifics of those

    2conversations other than that they happened.

    3BY MS. KHAN:

    4QOkay.So are you aware of what the

    5current policy is with regard to information

    6sharing of DACA applicants or grantees?

    7AAgain, I have a general awareness that

    8there are restrictions on the proper use of it.

    9But I wouldn't want to say specifically because I

    10will get it wrong.

    11QOkay.So it's safe to say that you are

    12not aware of any change in policy on that front?

    13AThat's correct.

    14QDid you provide any sort of statistical

    15information with regard to -- strike that.

    16Were you asked to provide any

    17statistical information in the context of the DACA

    18program with regard to the recision?

    19MR. TYLER:Objection.Vague.

    20THE WITNESS:Do you mean the

    21termination?I'm not --

    22


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    1BY MS. KHAN:

    2Q-- Yes.Yes.The termination of DACA.

    3ANo.

    4QYou were not asked to provide any sort

    5of statistical information on the operational

    6aspects of the DACA program?

    7MR. TYLER:Objection.

    8BY MS. KHAN:

    9QIn the context -- it's a long quest --

    10in the context of the termination?

    11MR. TYLER:Objection.Vague.

    12THE WITNESS:I can answer it this way.

    13I wasn't -- SCOPS has the weekly report that we

    14have produced weekly for a long time.That report

    15continues to be produced and I was not asked for

    16any other sort of reporting besides that.

    17BY MS. KHAN:

    18QAnd just to be clear, who does the

    19weekly report go to?

    20AIt comes into me and then I forward it

    21to James McCament and back until recently Tracy

    22Renaud in her capacity as the deputy.And Kathy


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    1Nuebel who is the chief of policy and strategy.

    2QAnd are you aware if any of those

    3individuals then forward it on to anyone else?

    4AI am not aware.

    5QHave you ever met an unaccompanied

    6minor?

    7MR. TYLER:Objection.Vague.

    8THE WITNESS:What do you mean by

    9unaccompanied minor?

    10BY MS. KHAN:

    11QSomeone who is DACA eligible?

    12AWell, in my position I have met with

    13members of the community advocating and among them

    14were people who had DACA, so yes.

    15QAnd what was your impression in those

    16meetings?

    17MR. TYLER:Objection.Vague.Calls

    18for personal opinion.

    19THE WITNESS:My opinion with respect to

    20what?

    21BY MS. KHAN:

    22QTo who they are, how they are?


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    1MR. TYLER:Same objection.

    2THE WITNESS:We weren't there for me to

    3form opinions about whether they are good people

    4or not and I didn't form an opinion along those

    5lines.I was there to listen to what they had to

    6say at the time.

    7BY MS. KHAN:

    8QWas any of that done in the context of

    9your professional duties?

    10AYes.What I'm talking about was all in

    11my professional duties.

    12QDid that -- did that -- those meetings

    13for example, did they impact any decisions that

    14you made in the operational context?

    15ASo the one meeting that I can think of

    16that comes clear is a meeting at the DHS

    17headquarters that was attended by Ali Mayorkas,

    18the deputy secretary at the time, and others.And

    19it was different advocacy groups for DACA that

    20were basically pressing for even speedier

    21processing of their cases.

    22QAnd what did you do?


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    1MR. TYLER:Objection.Vague.

    2THE WITNESS:We listened to their

    3concerns and took that, considered that as a

    4reason among many why timely processing is

    5important.But timely processing is important for

    6just about everything that we do.

    7MS. KHAN:I don't think I have any

    8further question at this point.

    9THE WITNESS:Thank you.

    10MS. KHAN:Thank you.

    11(Court reporter requests clarification.)

    12THE COURT REPORTER:Another examiner?

    13MS. KHAN:Yes.There's about three

    14more.

    15MR. VENTRESCA:Sorry.

    16THE COURT REPORTER:That's all right.

    17I just need to get the name.

    18MR. VENTRESCA:Musical chairs exercise

    19here.

    20THE COURT REPORTER:And you are?

    21MR. VENTRESCA:Ivano Ventresca.

    22THE COURT REPORTER:And you're on here?


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    1MR. VENTRESCA:Hopefully.I should be

    2the second one.

    3EXAMINATION ON BEHALF OF DEFENDANTS

    4BY MR. VENTRESCA:

    5QHi, Mr. Neufeld.My name is Ivano

    6Ventresca. I'm with Covington and Burling and we

    7represent the University of California and Janet

    8Napolitano in the North District of California

    9cases.I'm going to try not to repeat any ground

    10to not make the day any longer, but I'm just going

    11to have some follow up questions.First I would

    12like to mark this as Exhibit 38.I'm not sure

    13where we are on the -- 39.39.Copies for the

    14record.

    15(Whereupon, Exhibit No. 39 was marked

    16for identification.)

    17BY MR. VENTRESCA:

    18QFor the record this is the declaration

    19of Donald W. Neufeld filed in the state of Texas

    20v. United States of America case in the Southern

    21District of Texas.Mr. Neufeld, do you recognize

    22this document?


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    1AYes.

    2QIs this the declaration that you filed

    3in the state of Texas v. United States case in the

    4Southern District of Texas on January 30, 2015?

    5AI have not reread through the whole

    6thing, but it looks like it probably is.

    7QIf you turn to --

    8AIt's got my signature.

    9QYeah.I was going to say if you turn to

    10the last page.So it is your signature?

    11AYes.

    12QAnd you declared under penalty of

    13perjury that what you submitted in this

    14declaration was true and correct?

    15AYes.

    16QSo you don't need to read the whole

    17thing.I'm just going to direct you to a couple

    18of pages.But first, who asked you to prepare

    19this declaration?

    20AOh, I don't remember.

    21QDo you remember what the purpose of the

    22declaration was?


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    1AWell, not specifically.I don't know --

    2what do you mean what was the purpose?

    3QWell, do you know why you were asked to

    4submit a declaration in this case, this case being

    5the Texas case?

    6AIf I'm not mistaken I did at least two

    7of them.

    8QRight.I think you did three.

    9AThree.Okay.Yeah.So I don't -- I

    10don't know without reading this I don't remember,

    11I don't know which one this one is.

    12QOkay.Well, I would like to direct you

    13to paragraph 15.It's on page -- did you find it?

    14AYes.

    15QCould you just read the first sentence

    16of paragraph 15?

    17AOut loud?

    18QYes, please.

    19AA DACA request is denied when a USCIS

    20adjudicator on a case by case basis determines

    21that the requester has not demonstrated that they

    22satisfy the guidelines for DACA or when an


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    1adjudicator determines that deferred action should

    2be denied even though the threshold guidelines are

    3met.

    4QSo do you agree that the USCIS

    5adjudicator could deny a deferred action request

    6under DACA even if the category guidelines for

    7DACA were met?

    8AYes.

    9QSo could we next turn to paragraph 18

    10which should just be on the flip side of the page.

    11And so turning to the first sentence of paragraph

    1218.I can read this one aloud.It says; even if

    13it is determined that a requester has satisfied

    14the threshold DACA guidelines the USCIS may

    15exercise discretion to deny a request where other

    16factors make the grant of deferred action

    17inappropriate.

    18Do you agree with that statement?

    19AYes.

    20QAnd then in paragraph -- the next two

    21sentences in paragraph 18 give examples of when

    22USCIS exercises that discretion.Is that right?


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    1AYes.

    2QOkay.And that third sentence that

    3starts with, as another example.It states; when

    4USCIS learned that a DACA requester falsely

    5claimed to be a U S citizen and had prior removal

    6as an exercise of discretion USCIS denied their

    7request even though those issues are not

    8specifically part of the DACA guidelines.

    9Do you agree with that statement?

    10AI'm sure that it is accurate.I don't

    11remember that case at this point in time.

    12QSo that statement that you made says

    13that there was a case in which USCIS denied a DACA

    14request even where the DACA guidelines were not

    15met?

    16AYes.

    17QOkay.And then if we could turn to

    18paragraph 24 which is a couple of pages.So at

    19the very -- the very last sentence paragraph of

    2024.Well, it's the -- well, it's the last full

    21sentence.It states; requests have also been

    22denied on the basis that deferred action was not


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    1appropriate for other reasons not expressly set

    2forth in 2012 DACA memorandum such as evidence of

    3immigration fraud.

    4Do you agree with that statement?

    5AYes.

    6QAnd so is that consistent with what we

    7just discussed in that there were cases in which

    8USCIS denied DACA requests even where the

    9guidelines of DACA were met?

    10AYes.

    11QAnd then the sentence in paragraph 24

    12that's going to go onto the next page starts;

    13until very recently USCIS lacked any ability to

    14automatically track and sort the reasons for DACA

    15denials and it still lacks the ability to do so

    16for all DACA denials except for very recent ones.

    17Is it correct -- does that statement

    18mean that as of this date of the declaration

    19January 30, 2015 USCIS had the ability to track

    20the reasons for DACA denials?

    21AYes, but I don't know the specific ways

    22we can categorize the type of denial.


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    1QOkay.So to follow up on that.So as

    2of this -- as of the day of this declaration, so

    3January 30, 2015 could USCIS determine if a DACA

    4request was denied on the basis of discretion?

    5AI don't know.

    6QOkay.And just to wrap up this

    7declaration.On the very last page on your

    8signature page.So the last sentence above the, I

    9declare, sentence.So that sentence states;

    10finally in DACA USCIS exercises its discretion by

    11otherwise denying a request for other factors not

    12included in the guidelines but make the grant of

    13deferred action inappropriate.

    14So again, is that consistent with what

    15we have been discussing in that USCIS will deny,

    16could deny DACA requests even where the DACA

    17guidelines were met?

    18AYes.

    19QOkay.So I would like to switch

    20documents now.And this has already been marked I

    21believe as Exhibit 3.It's the administrative

    22record, specifically the recision memorandum. I


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    1think it has been called the Duke memorandum.

    2THE COURT REPORTER:Did you want it

    3marked?

    4MR. VENTRESCA:Well, it's part of what

    5was Exhibit 3.So we can mark it if that's

    6easier.

    7MR. TYLER:This is so I'm clear -- this

    8is my first deposition.This is a continuation of

    9exhibits that have been entered in the previous

    10depositions?

    11MR. VENTRESCA:Yes.So the

    12administrative record was previously entered and

    13this is just part of it.So we can mark it, or.

    14THE COURT REPORTER:Mark it as what?

    1540 or three?

    16MR. VENTRESCA:Three.No?

    17MR. COX:Except for that's not all of

    18three.Three, that is the whole administrative

    19record.

    20MR. TYLER:If you've identified -- you,

    21counsel, has identified Exhibit 3 to be the entire

    22administrative record then I don't know that we


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    1can refer to this as Exhibit 3.

    2MR. VENTRESCA:Okay.We can make it

    3Exhibit 40.

    4MR. NEWMAN:Can we go off of the

    5record, please?

    6THE VIDEOGRAPHER:Off of the record.

    7The time is 1:52 p.m.

    8(Whereupon, Exhibit No. 3 previously

    9marked was identified.)

    10(The proceeding recessed from 1:52 p.m.

    11to 1:55 p.m.)

    12THE VIDEOGRAPHER:We are back on the

    13record.The time is 1:55 p.m.

    14BY MR. VENTRESCA:

    15QMr. Neufeld, I'm going to show you a

    16portion of Exhibit 3 that starts with the Bates

    17page number ending in 252 and ends with Bates page

    18number 256.For the record it is the recision of

    19the June 15, 2012 memorandum.Do you recognize

    20the document?

    21AYes.

    22QI would like to turn your attention to


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    1footnote one which is on the Bates page number

    2ending in 253.Do you see that?

    3AYes.

    4QCould you read me footnote one?

    5ASignificantly while the DACA denial

    6notice indicates the decision to deny is made in

    7the unreviewable discretion of USCIS, USCIS has

    8not been able to identify specific denial cases

    9where an applicant appeared to satisfy the

    10programmatic categorical criteria as outlined in

    11the June 15, 2012 memorandum but still had his or

    12her application denied based solely upon

    13discretion.

    14QIs that a correct statement?

    15MR. TYLER:Objection.Foundation.

    16Form.

    17THE WITNESS:I don't know whether it's

    18correct.

    19BY MR. VENTRESCA:

    20QSo when you in your declaration, which

    21was Exhibit 39, at paragraph 18 stated that USCIS

    22learned that a DACA requester falsely claimed to


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    1be a U S citizen and had prior removals, as an

    2exercise of discretion USCIS denied the request

    3even though those issues are not specifically part

    4of the DACA guidelines is that not an example of

    5a -- as this memorandum states, the denial case

    6where the applicant appeared to satisfied the

    7programmatic categorical criteria?

    8AThe difficulty I have with saying

    9whether that's accurate or not is understanding

    10what was intended by identify.

    11QWhat is your understanding?

    12AI didn't write it so I don't know. I

    13know that in my declaration I was made aware of

    14cases that were -- that we had denied -- the

    15examples of cases that were denied were presented

    16to me by my staff whom I have every reason to

    17believe was accurate.

    18QRight.

    19AHowever, I didn't personally review

    20those cases and I don't know whether those cases,

    21how those cases -- I don't know if the cases are

    22identified in some way that you could pull them


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    1and review them without reviewing all of the cases

    2to find them.

    3QBut you were able to identify those

    4cases, you or your staff?Is that right?

    5AMy staff were able to recall that there

    6were cases that had been denied with these fact

    7patterns.

    8QCould you tell me who --

    9A-- did it -- it's a different thing to

    10say -- again, it comes down to what does identify

    11mean.If it means -- you know -- you know,

    12specific information and that is now identifiable

    13with a case number and whatnot, then I don't know

    14whether we're able to now identify those specific

    15cases that were referenced in my declaration.

    16QOkay.So could you tell me who on your

    17staff identified the cases referenced in your

    18declaration?

    19AI believe it was Jerry Rigdon who had

    20the position that is now encumbered by Alex King

    21that I have referred to about before.So it is

    22the branch chief for the branch that has the DACA


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    1portfolio.

    2QCould you spell his last name?

    3AR-I-G-D-O-N.

    4QAnyone else?

    5ANo.

    6QSo Jerry Rigdon would have the

    7individual who could have identified?

    8AAs I recall -- it is going back a couple

    9of years now.It's a little fuzzy, but I think

    10that was him.

    11QDo you know how Jerry would have found

    12these cases?

    13AI don't, other than that he was in

    14regular communication with the teams at the

    15centers that were adjudicating cases.

    16QIs there a reason why Mr. Rigdon would

    17have been able to find these cases but Acting

    18Secretary Duke would not have been able to find

    19these cases?

    20MR. TYLER:Objection.Vague.Lack of

    21foundation.

    22THE WITNESS:Can you repeat the


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    1question?

    2BY MR. VENTRESCA:

    3QSure.Let's start.So it seems -- do

    4you agree that Acting Secretary Duke -- well, let

    5me rephrase.Do you agree that USCIS as

    6represented in the memorandum did not identify

    7specific denial cases where USCIS exercised

    8discretion?

    9MR. TYLER:I'll object to the form of

    10the question.I mean the document speaks for

    11itself, so.I object on form and vagueness.

    12BY MR. VENTRESCA:

    13QYou can answer.

    14AI don't understand what you're asking

    15me.

    16QSo in this memorandum USCIS did not

    17identify specific denial cases where USCIS

    18exercised discretion to deny a DACA request.Your

    19staff was able to find such specific cases.Do

    20you know why your staff was able to find such

    21cases but USCIS in this memo was not able to find

    22those cases?


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    1AI think it comes back again to what does

    2identify mean.I don't recall the specific

    3circumstances of how the examples were brought to

    4my attention.I don't know or at least I don't

    5remember whether they were coming from the memory

    6of adjudicators who had adjudicated those cases,

    7which is different than identifying those cases

    8from the 800,000 that we've adjudicated and

    9putting your finger on that's the case that we're

    10talking about.There is a difference.And so

    11that's -- I think that's to me where the tension

    12is coming from here.

    13QWere you consulted about the substance

    14of this footnote?

    15AI don't recall being consulted.

    16QDid you review this footnote before it

    17was published in its final form?

    18ANot that I recall.

    19QAnd could you give me your understanding

    20of the meaning of the word identified that make

    21this footnote accurate?

    22AIt's the difference between putting


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    1your -- being able to put your finger on a case,

    2pull it, and review it now versus somebody

    3remembering that they adjudicated this case.Both

    4you can say -- the case could have been

    5adjudicated but the fact that we can't identify it

    6now in the stack of 800,000 is the difference I'm

    7talking about.

    8QDid anyone ask -- did anyone at USCIS or

    9DHS ask to review your declaration that you

    10submitted on January 30, 2016?

    11MR. TYLER:Objection.Lack of

    12foundation.

    13THE WITNESS:Nobody asked me to review

    14my declaration.

    15BY MR. VENTRESCA:

    16QDo you know if anyone at DHS reviewed

    17that declaration in the preparation of this

    18recision memorandum?

    19AI do not know.

    20QJust a couple more questions.We'll

    21switch -- switch topics.You recently testified

    22about that immigration advocacy groups that you


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    1had met with them about the change in the

    2processing times.Is that right?

    3ANo.The purpose of the meeting was for

    4them to convey their desire that the processing

    5times be quicker.

    6QAre you aware if immigration advocacy

    7groups were consulted with respect to the recision

    8of DACA?

    9AI'm not aware.

    10QAnd you are aware that DACA recipients

    11serve in the military?

    12AI'm aware of that, yes.

    13QAre you aware of whether of any of their

    14supervising officers were contacted with respect

    15to the recision of DACA?

    16AI'm not aware.

    17QAnd are you aware that DACA recipients

    18are students at schools and universities?

    19AYes.

    20QAre you aware of whether those

    21universities were contacted with respect to the

    22recision of DACA?


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    1AI'm not aware.

    2QAnd are you aware that DACA recipients

    3are employers?

    4AI believe so.

    5QDo you know if any of the employees of

    6DACA recipients have been contacted with respect

    7to the recision of DACA?

    8AI'm not aware.

    9QAnd one kind of final set of questions.

    10Have you overseen deferred -- other deferred

    11action programs besides DACA?

    12AProgram is a word that has different

    13meanings, but within -- the SCOPS portfolio of

    14benefit adjudications includes requests under the

    15Violence Against Women Act, VAWA, and T's and U's,

    16nonimmigrants.And as I recall -- I don't recall

    17the specifics.All three of those I think have

    18some of those requests can result in deferred

    19action being authorized.

    20QOkay.For ease I'll refer to them as

    21deferred action programs here.

    22MR. TYLER:I will object to counsel's


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    1characterization of them as programs.

    2BY MR. VENTRESCA:

    3QHave you overseen deferred action

    4programs that have ended, as in they have

    5terminated or lapsed?

    6ANot that I recall and I don't believe

    7so.

    8QAre you aware of any discussions with

    9respect to terminating the deferred action

    10requests that you have discussed, the Violence

    11Against Women Act and the T and U visas -- of any

    12discussions to termination those programs due the

    13litigation risk?

    14ANot that I'm aware of.

    15QHave you -- are you aware of any

    16discussions to terminate those programs due to

    17their illegality?

    18MR. TYLER:I again object to counsel's

    19mischaracterization of these as programs.

    20THE WITNESS:I'm not aware of any

    21discussions to change the way deferred action is

    22handled for those programs for any reason.


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    1MR. VENTRESCA:Okay.That's all I

    2have.

    3(Court reporter request.)

    4THE VIDEOGRAPHER:We are going off of

    5the record.The time is 2:05 p.m.

    6(Whereupon, the proceeding recessed from

    72:05 p.m. to 2:16 p.m.)

    8THE VIDEOGRAPHER:We are back on the

    9record.This is the beginning of media unit

    10number 4.The time is 2:16 p.m.

    11EXAMINATION ON BEHALF OF DEFENDANTS

    12BY MR. NEWMAN:

    13QHello, sir.My name is Michael Newman

    14from the California Attorney General's Office on

    15behalf the state of California.Thank you very

    16much.I have a few additional questions.

    17ASure.

    18QIs it accurate to say that you stated in

    19your earlier testimony that you had 4,000

    20applications received at the lockbox after October

    215 of this year?

    22AWhat I said was Tracy Renaud indicated


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    1that there were about 4,000 that had been filed

    2after October 5 and were at the lockbox.And I

    3have to say that I don't know for a fact whether

    4those are just renewals or could include some

    5initial filings.I just don't know.

    6QIs it also accurate to state that you

    7said that you anticipate all of those will be

    8rejected?

    9AYes.

    10QOkay.Do you have any data on the

    11rejected applications?

    12MR. TYLER:Objection.Vagueness.

    13BY MR. NEWMAN:

    14QI can rephrase.Do you capture any data

    15regarding the applications?

    16ASCOPS does not, but OIDP would have data

    17on rejected requests.

    18QWhat would that data include?

    19AI don't know specifically.I have not

    20seen a report.

    21QAre you aware as to whether that data

    22will be released publicly?


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    1AI'm not aware.

    2QYou referenced a report.Do you

    3generally get those reports?

    4AI'm saying I haven't seen a report.I'm

    5sure that they capture that data.

    6QOkay.You have not seen a report?

    7AOn the number of rejected -- sorry. I

    8have not seen a report of the reject -- number of

    9rejected requests after either of the deadlines,

    10at least not to my recollection.

    11QOkay.And I apologize.It was my fault

    12on the misunderstanding.I asked you before about

    13a report on the data regarding the rejected

    14application.Are you referring to data as only

    15the number of applications?

    16AThat was the reference I was making, but

    17I haven't seen any other data either.

    18QOkay.Have you seen data regarding the

    19location of filing or of mailing of the

    20applications?

    21AI have seen -- I'm aware of the six

    22cases that came from Puerto Rico because they were


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    1flagged for my attention to review.Other than

    2that I have not seen specific data on rejected

    3filings based on state of origin or anything else.

    4QAre you aware of whether the 4,000

    5applications currently in the lockbox,

    6approximately, will be recorded, will have their

    7data recorded as regards a number of data points

    8including state of origin?

    9MR. TYLER:I will object on this

    10ground.Counsel is -- the deponent has testified

    11that he heard hearsay statements about a 4,000

    12number.So it is just that.So I will object to

    13counsel's characterization of this as fact.

    14MR. NEWMAN:Okay.

    15MR. TYLER:This 4,000 number.

    16MR. NEWMAN:Okay.

    17THE WITNESS:So the question is what?

    18BY MR. NEWMAN:

    19QThe question is are you aware of data

    20points that are obtained from applications that

    21come into the lockbox?

    22AI am not aware of specific data points.


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    1QOkay.You stated earlier that you were

    2aware of information sharing policies but not

    3involved in the development of the policy.Are

    4both of those statements about your earlier

    5statement correct?

    6MR. TYLER:I'll object.Compound.

    7THE WITNESS:What is the first part of

    8that question?

    9BY MR. NEWMAN:

    10QOkay.I will ask it separately.Do you

    11recall stating earlier that you were aware of

    12information sharing policies generally?

    13AYes.

    14QIs it accurate to state that you

    15testified earlier that you were not involved in

    16the development of the policies?

    17AThat's difficult for this reasons; I

    18didn't have a role in developing, in deciding what

    19the policy would be.I was engaged in discussions

    20about the wording that was used on the -- you

    21know, around the signature block on the form

    22itself.


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    1QWhen you say form, are you referring to

    2the form that the applicant needs to file?

    3AThe form I-821D.

    4QAre you involved in any way in

    5evaluating information sharing requests regarding

    6the information on these forms?

    7MR. TYLER:I'll object.Vagueness.

    8Vague.

    9THE WITNESS:I'm confused about what --

    10what do you mean by information sharing and

    11involvement?

    12BY MR. NEWMAN:

    13QI will represent to you that there may

    14be requests at various times from different people

    15both within Department of Homeland Security and

    16outside the Department of Homeland Security to

    17obtain information regarding DACA applicants.

    18AI would not be involved in handling

    19those requests.

    20QDo you know who is?

    21AIt would depend on what the request

    22specifically was.


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    1QCan you delineate the different manners

    2in which requests would be made for information

    3and who would handle those?

    4MR. TYLER:Objection.Compound.

    5Vague.

    6THE WITNESS:So depending -- I don't

    7have a lot of personal knowledge about how

    8information is shared with other components in the

    9department or externally.I am aware, unless it

    10has changed, that there -- I believe there is a

    11form that an individual in ICE can submit to

    12request information.Other than the general

    13awareness that that form exists I don't know who

    14processes it or what the content is or anything

    15along those lines.

    16BY MR. NEWMAN:

    17QWho does process it?

    18AI just -- I don't know.

    19QDo you have any indication of what

    20bureau or sub-unit of the Department of Homeland

    21Security processes it?

    22ANo.This -- the context that I'm


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    1talking about it would be a request coming into

    2USCIS from another component outside of USCIS

    3asking for information.I don't know who would

    4process that.You know, what information they

    5have to review or anything.Just generally aware

    6that there is a form for that.

    7QAt any point are you made aware of

    8whether a request is granted?

    9ANo.

    10QDo any of your subordinates have

    11responsibility for collating data?

    12MR. TYLER:Objection.Vague.

    13THE WITNESS:If you mean in reference

    14to responding to a information request?

    15BY MR. NEWMAN:

    16QI'm sorry.

    17AThen my guess here is that it depends on

    18where that information exists.So it would not

    19surprise me that I have people in service

    20center -- in service centers responding to

    21requests.But I'm personally not involved in that

    22and I have not had visibility much into the


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    1specifics of that process.

    2QSo just --

    3AThese are requests for records, is the

    4context that I'm talking about.Not data about

    5like the number of people filing or anything.

    6It's about specific information that's tied to a

    7specific individual.So those are records

    8requests.

    9The records policies are not managed by

    10SCOPS, they are managed by our records division in

    11the -- I forget the name.The IRIS director.But

    12I don't remember what I-R-I-S stands for.

    13And many records are housed by that

    14director under that division.And so I would

    15imagine many of these requests would be processed

    16by them.If they relate to an active file that we

    17would have in our holdings then I'm sure that we

    18are involved in some way, my staff would be

    19involved in some way in responding to that.But

    20to what level or what decisions they have to make

    21I'm not personally knowledgeable.

    22QWould the process that you just


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    1delineated be the process whether it comes from

    2within the Department of Homeland Security or

    3outside of the Department of Homeland Security or

    4would there be a different process?

    5AI don't know of any other process.

    6QOkay.Would the same process apply for

    7both Immigration and Customs Enforcement as for

    8Customs and Border Patrol?

    9MR. TYLER:Objection.Vague.

    10THE WITNESS:The form that I was

    11referencing, I believe, I'm not certain. I

    12believe it's for use by any other DHS component

    13that would include CBP or ICE.

    14BY MR. NEWMAN:

    15QDo you have actual knowledge of any

    16instance in which one of your subordinates was

    17involved in collecting information in response to

    18one of the requests that we have just been

    19referencing?

    20MR. TYLER:Objection.Vague.

    21THE WITNESS:I -- I don't have

    22knowledge of specific requests and how they were


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    1handled.I know that we have at each service

    2center there is a background check unit and there

    3is a center fraud detection office component.

    4Either of those components can interact with law

    5enforcement to include ICE and CBP.And I don't

    6know -- I don't have visibilty to the day-to-day

    7interactions that happen with respect to specific

    8case handling.

    9BY MR. NEWMAN:

    10QAre you aware of any changes in policy

    11regarding handling of requests for information

    12within the last year?

    13ANo.

    14QHave you ever been involved -- you

    15testified earlier -- I will stop.Let me rephrase

    16the question.

    17You testified earlier that you had not

    18been involved in the winding down of any other

    19deferred action program.Is that correct?

    20AWell, I took issue with calling them

    21programs, but I have not been involved in changes

    22that would affect large numbers of deferred action


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    1requests.

    2QOkay.So my question is a little

    3broader than that.Have you been involved in any

    4capacity with the winding down of any program in

    5your federal government career?

    6MR. TYLER:Objection.Vague.

    7THE WITNESS:I have a long career and

    8over the course of that career laws have been

    9enacted that changed things and so I have been

    10involved in those.I have been involved in the

    11sunset of 245(i), numerous other statutes that

    12have expired or changes that have been made by

    13Congress, policy changes from administrations.

    14BY MR. NEWMAN:

    15QAnd you reference that you had an issue

    16with calling it -- with calling DACA a program?

    17AWell, not so much whether DACA is a

    18program, but you were asking me whether I had been

    19involved in the wind down of other deferred action

    20programs.And I wouldn't personally categorize

    21the other context in which we make decision about

    22deferred action as being related to -- as being


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    1programmatic.So in the T, U, and VAWA -- the T,

    2U, and VAWA adjudication, that's a program in my

    3mind.Deferred action goes along with those

    4programs, but it is not an independent program.

    5QSo are you aware of any other programs

    6that you just referenced as independent programs?

    7AInvolving deferred action --

    8QInvolving deferred action?

    9A-- that SCOPS adjudicates?No.

    10QDoes the VAWA program utilize renewal

    11notices for people to renew their status under

    12that program?

    13ANo.

    14QDoes the U visa program utilize renewal

    15notices to renew status under that program?

    16AI don't believe so, no.

    17QDoes the T visa program utilize renewal

    18notices to renew status under that program?

    19ANot that I'm aware of, no.

    20QWhen you were first assigned the

    21responsibility of overseeing the wind down process

    22within -- by your subordinates of DACA program,


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    1did you come up with a plan or some other road map

    2to guide your subordinates in engaging in the wind

    3down?

    4AIt depends on what you mean by plan.So

    5we need -- we are in the process of figuring out

    6the allocation of resources for the coming year

    7and so as we are working on that larger -- you

    8know, allocation of resources.The DACA workload

    9is one of them.And yes, we are aware of the fact

    10that the DACA program is going away so we will

    11consider that in how we allocate resources.But

    12that's pretty much the extent -- extent of it.

    13From an operational perspective our work just goes

    14away.

    15QWhen you use the word resources do you

    16mean anything other that employees or staff?

    17ANo.I mean staff.

    18QOkay.Are there any nonemployee costs

    19associated with the wind down of the DACA program?

    20ADo you mean costs that are incurred

    21because the program is winding down?

    22QYes.


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    1AI'm not aware of any other than whatever

    2costs there are with notices and with the

    3communications strategy, that sort of thing.I'm

    4sure there is a cost to that.

    5QDid you have any contracts in place with

    6contractors to assist with the administration of

    7the DACA program?

    8MR. TYLER:Objection.Vague.

    9THE WITNESS:We have contractors in --

    10that SCOPS utilizes at the service centers in

    11support of all of the benefit requests that we

    12handle there including DACA.And so frankly,

    13those expenses will be reduced when the DACA

    14workload goes away.

    15BY MR. NEWMAN:

    16QSo when you say the expenses are being

    17reduced are you terminating contracts?

    18ANo.

    19QSo are there services for which you have

    20contracted to implement DACA that you are now not

    21going to be utilizing as a result of the

    22non-implementation of DACA?


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    1AWe -- SCOPS has one contract that would

    2be impacted at all by DACA, that's the overarching

    3contract that provides basic essentially clerical

    4services at all of the service centers.And for

    5the most part those services are paid for by the

    6piece.And so when the work is reduced then we

    7pay them less because they are doing less work.

    8But there is not a contract that is going away

    9because of DACA.

    10QOkay.We spoke a little earlier about

    11the strategic plan that you put in place for the

    12wind down of DACA.Is that correct?

    13AYou asked me a question.

    14QIs there any point at which that

    15strategic plan has been not been fulfilled or

    16there have been any issues with the implementation

    17of that strategic plan?

    18MR. TYLER:I'll object, compound.I'll

    19object on grounds, vague.What you mean by

    20strategic plan.

    21THE WITNESS:If you could restate the

    22question that would be helpful.


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    1BY MR. NEWMAN:

    2QHave you had any technical difficulties

    3with the wind down of DACA?

    4ANo.

    5QDid you have to engage in any training

    6of the line staff related to the wind down

    7process?

    8ANo.As I said, the main operational

    9impact here is that the workload is going away, so

    10that the important thing for employees to

    11understand is that it is going away and when its

    12going away.The actual adjudications aren't

    13changing that I can -- I can't think of anything

    14that's changing specifically with respect to the

    15adjudications.

    16What will be important for them to

    17understand -- because the cases have not been

    18delivered for adjudication yet.They will need to

    19understand that for example the six cases that are

    20being accepted after the filing deadline, that

    21those are okay to process even though the memo

    22would indicate that they can't be accepted after


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    1October 5.

    2QDo you have any plans to train them on

    3the processing of additional applications like you

    4just delineated?

    5MR. TYLER:Objection.Vague.

    6THE WITNESS:These are precisely six

    7cases, so it's not going to involve a lot of

    8training.It would be just conveying to the folks

    9who adjudicate them that they are okay to process.

    10BY MR. NEWMAN:

    11QAnd how do you intend to communicate

    12that?

    13AI actually haven't thought of that yet.

    14QYou said you were asked about the costs

    15associated with the wind down of DACA and you

    16replied that there were costs?

    17MR. TYLER:I'll object to counsel's

    18characterization of the testimony.

    19THE WITNESS:I don't recall saying

    20that.

    21BY MR. NEWMAN:

    22QOkay.Were you ever asked about costs


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    1of winding down DACA?

    2ANo.

    3QDo you anticipate that you will have any

    4remaining workload on DACA following the March 5

    5termination date of DACA?

    6MR. TYLER:Objection.Speculation.

    7THE WITNESS:We are projecting that we

    8will still have work remaining to be adjudicated

    9after March 5.

    10BY MR. NEWMAN:

    11QWhat will that work consist of?

    12AWhatever cases that we have not gotten

    13around to completing.

    14MR. NEWMAN:Okay.I have no further

    15questions.

    16MR. TYLER:Done?

    17MR. NEWMAN:Do we need to confer before

    18we terminate?

    19MR. TYLER:Off of the record.

    20THE VIDEOGRAPHER:We are going off of

    21the record.The time is 2:38 p.m.

    22(The proceeding recessed from 2:38 p.m.


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    1to 2:40 p.m.)

    2THE VIDEOGRAPHER:We are back on the

    3record.The time is 2:40 p.m.We are off of the

    4record at 2:40 p.m.And this concludes today's

    5testimony given by Donald Neufeld.Total number

    6of units used is four and will be retained by

    7Veritext Legal Solutions.

    8(Whereupon, at 2:40 p.m., the above

    9proceedings was adjourned.)

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    1REPORTER'S CERTIFICATE

    2I, DONNA M. LEWIS, RPR, Certified

    3Shorthand Reporter, certify;

    4That the foregoing proceedings were

    5taken before me at the time and place therein set

    6forth, at which time the witness, Donald Neufeld,

    7was put under oath by me;

    8That the testimony of the witness, the

    9questions propounded and all objections and

    10statements made at the time of the examination

    11were recorded stenographically by me and were

    12thereafter transcribed;

    13I declare that I am not of counsel to

    14any of the parties, nor in any way interested in

    15the outcome of this action.

    16As witness, my hand and notary seal this

    1719th day of October, 2017.

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    19_________________________
    Donna M. Lewis, RPR
    20Notary Public

    21My Commission expires:
    March 14, 2018
    22


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